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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
                                                             1
    NEIMAN MARCUS GROUP LTD LLC, et al.,                              ) Case No. 20-32519 (DRJ)
                                                                      )
                              Debtors.                                ) (Jointly Administered)
                                                                      )

               NOTICE OF FILING EXHIBIT TO THE DISCLOSURE STATEMENT

       PLEASE TAKE NOTICE that on June 6, 2020, the above-captioned debtors and debtors
in possession (collectively, the “Debtors”) filed the Disclosure Statement for the Debtors’ Joint
Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 772] and the
Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Docket
No. 771].

       PLEASE TAKE FURTHER NOTICE that on July 30, 2020, the Debtors’ filed the
Disclosure Statement for the Debtors’ First Amended Joint Plan of Reorganization Pursuant to
Chapter 11 of the Bankruptcy Code [Docket No. 1390] and the Debtors’ First Amended Joint Plan
of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1388].

          PLEASE TAKE FURTHER NOTICE that on July 30, 2020, the United States
Bankruptcy Court for the Southern District of Texas (the “Court”) entered an order [Docket No.
1400] (the “Disclosure Statement Order”): 2 (a) authorizing Neiman Marcus Group LTD LLC and
its affiliated debtors and debtors in possession (collectively, the “Debtors”), to solicit acceptances
for the Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the
Bankruptcy Code (as modified, amended, or supplemented from time to time, the “Plan”);
(b) approving the Disclosure Statement for the Debtors’ First Amended Joint Plan of
Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”) as
containing “adequate information” pursuant to section 1125 of the Bankruptcy Code;
(c) approving the solicitation materials and documents to be included in the solicitation packages;

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530); Bergdorf Graphics, Inc.
      (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings LLC
      (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage
      Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust
      (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664);
      NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term
      Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group
      LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The Debtors’
      service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
2
      Capitalized terms used but not defined herein shall have the meanings set forth to them in the Disclosure Statement
      Order.
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and (d) approving procedures for soliciting, receiving, and tabulating votes on the Plan and for
filing objections to the Plan.

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file as Exhibit A the
solicitation version of the Plan included in the Solicitation Package distributed to Holders of
Claims and Interests pursuant to the Disclosure Statement Order.

       PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a redline of
the Plan.

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file as Exhibit C the
solicitation version of the Disclosure Statement included in the Solicitation Package distributed to
Holders of Claims and Interests pursuant to the Disclosure Statement Order.

       PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit D is a redline of
the Disclosure Statement.

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the following
documents as the solicitation version of the materials included in the Solicitation Package
distributed to Holders of Claims and Interests pursuant to the Disclosure Statement Order:

               x   Exhibit E - the Disclosure Statement Order;

               x   Exhibit F - the Solicitation and Voting Procedures;

               x   Exhibit G - the Ballots;

               x   Exhibit H - the Cover Letter;

               x   Exhibit I - the Confirmation Hearing Notice;

               x   Exhibit J - the Non-Voting Status Notices to Holders of Unimpaired Claims
                   Presumed to Accept, Holders of Impaired Claims Deemed to Reject, and
                   Holders of Disputed Claims;

               x   Exhibit K - the list of all of the Debtors’ store leases indicating which leases
                   are intended to be assumed or rejected;

               x   Exhibit L - the Exit Rights Offering Procedures;

               x   Exhibit M - the term sheet setting forth the general terms of the 2L MyT
                   Distribution;

               x   Exhibit N - the Sponsors’ term sheet setting forth the general terms of the 3L
                   MyT Distribution; and

               x   Exhibit O - the Consenting 3L Parties’ term sheet setting forth the general
                   terms of the 3L MyT Distribution.

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       PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter
11 cases are available free of charge by visiting http://cases.stretto.com/NMG or by calling (877)
670-2127 (Toll Free) or (949) 504-4475 (International). You may also obtain copies of any
pleadings by visiting the Court’s website at https://ecf.txsb.uscourts.gov in accordance with the
procedures and fees set forth therein.




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Houston, Texas
August 6, 2020

/s/ Matthew D. Cavenaugh
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                                    Certificate of Service

        I certify that on August 6, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Matthew D. Cavenaugh
                                                     Matthew D. Cavenaugh
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                                Exhibit A

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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

                                                                         )
       In re:                                                            )   Chapter 11
                                                                         )
                                                       1
       NEIMAN MARCUS GROUP LTD LLC, et al.,                              )   Case No. 20-32519 (DRJ)
                                                                         )
                                  Debtors.                               )   (Jointly Administered)
                                                                         )
                       DEBTORS’ FIRST AMENDED JOINT PLAN OF REORGANIZATION
                PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE (SOLICITATION VERSION)

Matthew D. Cavenaugh (TX Bar No. 24062656)                      Anup Sathy, P.C. (admitted pro hac vice)
Jennifer F. Wertz (TX Bar No. 24072822)                         Chad J. Husnick, P.C. (admitted pro hac vice)
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                                                                Co-Counsel to the Debtors
                                                                and Debtors in Possession
Dated: August 3, 2020


   1      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
          number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman, Inc. (5530); Bergdorf Graphics, Inc.
          (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings, LLC
          (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage
          Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust
          (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664);
          NMG Notes Propco LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term
          Loan Propco LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group LLC
          (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The location of the
          debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.

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                                                 INTRODUCTION

         The Debtors propose this Plan for the resolution of the outstanding Claims against and Interests in the Debtors
pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the
meanings ascribed to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes,
the Plan constitutes a separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to
the Bankruptcy Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for
a discussion of the Debtors’ history, businesses, assets, results of operations, historical financial information, and
projections of future operations, as well as a summary and description of this Plan, the Restructuring Transactions,
and certain related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

      ALL HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

       1.       “2013 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2020.

          2.      “2013 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2013 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        3.       “2013 Term Loans Deficiency Claim” means any 2013 Term Loans Claim that is not a 2013 Term
Loans Secured Claim.

        4.     “2013 Term Loans Lenders” means those banks, financial institutions, and other lenders holding
2013 Term Loans under the Term Loan Credit Agreement.

         5.       “2013 Term Loans Secured Claim” means any 2013 Term Loans Claim that is a Secured Claim.

       6.       “2019 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2023.

          7.      “2019 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2019 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        8.      “2019 Term Loans Deficiency Claim” means any 2019 Term Loans Claim that is not a 2019 Term
Loans Secured Claim.

        9.     “2019 Term Loan Lenders” means those banks, financial institutions, and other lenders holding
2019 Term Loans under the Term Loan Credit Agreement.

         10.      “2019 Term Loans Secured Claim” means any 2019 Term Loans Claim that is a Secured Claim.

        11.     “2028 Debentures” means the 7.125% Senior Debentures due 2028 issued pursuant to the 2028
Debentures Indenture.




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        12.       “2028 Debentures Indenture” means that certain indenture dated as of May 27, 1998, as
supplemented by the first supplemental indenture, dated as of July 11, 2006, the second supplemental indenture, dated
as of August 14, 2006, and the third supplemental indenture, dated as of June 7, 2019, by and among The Neiman
Marcus Group LLC (f/k/a The Neiman Marcus Group, Inc.), the guarantors party thereto and Wilmington Savings
Fund Society, FSB (as successor to The Bank of New York Mellon Trust Company, N.A.), as trustee.

          13.     “2028 Debentures Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2028 Debentures.

        14.     “2028 Debentures Deficiency Claim” means any 2028 Debentures Claim that is not a 2028
Debentures Secured Claim.

         15.      “2028 Debentures Secured Claim” means any 2028 Debentures Claim that is a Secured Claim.

        16.      “2028 Debentures Trustee” means Wilmington Savings Fund Society, FSB, solely in its capacity as
successor to The Bank of New York Mellon Trust Company, N.A., or any successor thereto.

         17.      “2L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Second Lien Noteholders with respect to MyTheresa, as set forth in
the Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such security
or instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through the New
MyT Documents.

         18.       “3L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Third Lien Noteholders with respect to MyTheresa, as set forth in the
Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such security or
instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through the New MyT
Documents.

         19.      “ABL Agent” means Deutsche Bank AG New York Branch, solely in its capacity as administrative
and collateral agent under the ABL Credit Agreement.

         20.     “ABL Credit Agreement” means that certain Revolving Credit Agreement, dated as of October 25,
2013, by and among NMG LTD and certain Debtors, as co-borrowers, each of the guarantors party thereto, the ABL
Agent, and the ABL Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

       21.      “ABL Lenders” means those banks, financial institutions, and other lenders party to the ABL Credit
Agreement from time to time.

       22.        “ABL Loans” means those certain loans issued under and on the terms set forth in the ABL Credit
Agreement.

         23.    “ABL Loan Claim” means any Claim arising under, derived from, secured by, based on, or related
to the ABL Loans and the guarantees in respect thereof under the ABL Credit Agreement.

         24.      “ABL Loan Secured Claim” means any ABL Loan Claim that is a Secured Claim.



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         25.       “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of the
Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; and (c) all fees and charges assessed against
the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930.

        26.      “Administrative Claims Bar Date” means the deadline for filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date.

         27.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        28.      “Agents” means any administrative agent, collateral agent, or similar Entity under any of the ABL
Credit Agreement, the Term Loan Credit Agreement, the Exit Facility Credit Agreement, and the DIP Credit
Agreement, including any successors thereto.

         29.      “Aggregate DIP Equity Fees” means the: (a) DIP Backstop Fee; and (b) DIP Exit Fee.

         30.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that
is evidenced by a Proof of Claim Filed by the Claims Bar Date or a request for payment of an Administrative Claim
Filed by the Administrative Claim Bar Date, as applicable (or for which Claim under the Plan, the Bankruptcy Code,
or pursuant to a Final Order, a Proof of Claim or request for payment of Administrative Claim is not or shall not be
required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed,
and for which no Proof of Claim, as applicable, has been timely Filed; or (c) a Claim allowed pursuant to the Plan or
a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above,
such Claim shall be considered Allowed only if and to the extent that with respect to such Claim no objection to the
allowance thereof is interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by
a Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed,
and for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by a Final Order,
is not considered Allowed and shall be expunged without further action by the Debtors and without further notice to
any party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no
Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such
Entity pays in full the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For the
avoidance of doubt, a Proof of Claim Filed after the Claims Bar Date or a request for payment of an Administrative
Claim Filed after the Administrative Claim Bar Date, as applicable, shall not be Allowed for any purposes whatsoever
absent entry of a Final Order allowing such late-filed Claim. “Allow” and “Allowing” shall have correlative meanings.

         31.       “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in interest
have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or
under similar or related state or federal statutes and common law.

         32.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

         33.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         34.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

        35.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

          36.       “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

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        37.     “Cash Pay Notes” means those certain 8.000% senior unsecured notes due 2021 issued pursuant to
the Cash Pay Notes Indenture.

        38.      “Cash Pay Notes Claims” means all Claims against the Debtors arising under, derived from, or
based upon the Cash Pay Notes Indenture and the Cash Pay Notes.

         39.      “Cash Pay Notes Indenture” means that certain indenture, dated as of October 25, 2013, by and
among the Notes Issuers, the guarantors party thereto, and the Cash Pay Notes Trustee, as supplemented by the first
supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental indenture, dated
as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time to time.

        40.      “Cash Pay Notes Trustee” means UMB Bank, N.A., solely in its capacity as successor to Drivetrain
Trust Company LLC and U.S. Bank National Association, or any successor thereto, as trustee under the Cash Pay
Notes Indenture.

          41.       “Causes of Action” means any action, claim, cause of action, controversy, demand, right, action,
lien, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset, power,
privilege, and license of any kind or character whatsoever, whether known, unknown, contingent or non-
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Cause of Action” includes: (a) any
right of setoff, counterclaim, or recoupment and any Claim for breach of contract or for breach of duties imposed by
law or in equity; (b) any Claim based on or relating to, or in any manner arising from, in whole or in part, tort, breach
of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or voidable transaction law,
violation of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim pursuant to Section 362 or chapter 5 of the Bankruptcy
Code or similar local, state, or federal U.S. or non-U.S. law; (d) any Claim or defense including fraud, mistake, duress,
and usury, and any other defenses set forth in section 558 of title 11 of the United States Code; (e) any state or foreign
law pertaining to actual or constructive fraudulent transfer, fraudulent conveyance, or voidable transactions; and
(f) any “lender liability” or equitable subordination claims or defenses.

          42.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           43.    “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

        44.       “Claims and Noticing Agent” means Stretto, the claims, noticing, and solicitation agent retained by
the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

          45.      “Claims Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
must be Filed with respect to such Claims, other than Administrative Claims, Claims held by Governmental Units, or
other Claims or Interests for which the Bankruptcy Court entered an order excluding the holders of such Claims or
Interests from the requirement of Filing Proofs of Claim.

         46.    “Claims Register” means the official register of Claims and Interests in the Debtors maintained by
the Claims and Noticing Agent.

         47.      “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
section 1122(a) of the Bankruptcy Code.

           48.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

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        49.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       50.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

         51.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on confirmation of the
Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         52.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         53.      “Consenting 2L Parties” means Holders of Second Lien Notes Claims that are or become parties to
the Restructuring Support Agreement.

         54.      “Consenting 3L Parties” means Holders of Third Lien Notes Claims that are or become parties to
the Restructuring Support Agreement.

          55.      “Consenting Debentures Parties” means Holders of 2028 Debentures Claims that are or become
parties to the Restructuring Support Agreement.

        56.    “Consenting Lender Fees and Expenses” has the meaning ascribed to such term in the Restructuring
Support Agreement.

         57.      “Consenting Noteholder Group” means the group or committee of Consenting Noteholders
represented by the Consenting Noteholder Group Advisors.

        58.     “Consenting Noteholder Group Advisors” means, collectively, Paul, Weiss, Rifkind, Wharton &
Garrison LLP, Porter Hedges LLP, and Houlihan Lokey, Inc.

        59.    “Consenting Noteholders” means the Noteholders that are or become party to the Restructuring
Support Agreement.

         60.      “Consenting Parent” means NMG, Inc.

         61.       “Consenting Term Loan Lender Group” means the group of Consenting Term Loan Lenders
represented by the Consenting Term Loan Lender Group Advisors, the membership of which, for purposes of this
Plan, shall not change after the Petition Date absent the consent of each current member of the group or committee.

        62.     “Consenting Term Loan Lender Group Advisors” means, collectively, Wachtell, Lipton, Rosen &
Katz, Vinson & Elkins LLP, and Ducera Partners LLC.

         63.       “Consenting Term Loan Lenders” means the Holders of Term Loan Claims that are or become party
to the Restructuring Support Agreement.

         64.     “Consenting Sponsors” means, collectively: (a) Ares Corporate Opportunities Fund III, L.P.;
(b) Ares Corporate Opportunities Fund IV, L.P.; (c) CPP Investment Board USRE Inc.; and (d) the foregoing Entities’
investment funds or vehicles that directly or indirectly hold or control equity interests in the Debtors, but not including
any operating portfolio company of any of the foregoing.

       65.      “Consenting Stakeholders” means any party (other than the Debtors) to the Restructuring Support
Agreement, including (a) each Consenting Debentures Party; (b) each Consenting Noteholder; (c) each Consenting
Term Loan Lender; (d) the Consenting Parent; and (e) each Consenting Sponsor.

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         66.      “Consummation” means the occurrence of the Effective Date.

         67.      “Creditors Committee” means the Official Committee of Unsecured Creditors in these chapter 11
cases.

        68.       “Cure” means a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

         69.     “Debtors” means, collectively, each of the following: Neiman Marcus Group LTD LLC, Bergdorf
Goodman Inc., Bergdorf Graphics, Inc., BG Productions, Inc., Mariposa Borrower, Inc., Mariposa Intermediate
Holdings LLC, NEMA Beverage Corporation, NEMA Beverage Holding Corporation, NEMA Beverage Parent
Corporation, NM Bermuda, LLC, NM Financial Services, Inc., NM Nevada Trust, NMG California Salon LLC, NMG
Florida Salon LLC, NMG Global Mobility, Inc., NMG Notes PropCo LLC, NMG Salon Holdings LLC, NMG Salons
LLC, NMG Term Loan PropCo LLC, NMG Texas Salon LLC, NMGP, LLC, The Neiman Marcus Group LLC, The
NMG Subsidiary LLC, and Worth Avenue Leasing Company.

         70.      “Debtor Release” means the release set forth in Article VIII.C of this Plan.

          71.      “Definitive Documentation” means the definitive documents and agreements governing the
Restructuring Transactions (including any related orders, agreements, instruments, schedules, or exhibits) that are
contemplated by and referenced in the Plan (as amended, modified, or supplemented from time to time), including the
following: (a) the Plan (and all exhibits, ballots, solicitation procedures, and other documents and instruments related
thereto); (b) Definitive Documents (as defined in the Restructuring Support Agreement); (c) the Confirmation Order;
(d) the order of the Bankruptcy Court approving the Disclosure Statement and the other Solicitation Materials; (e) the
Plan Supplement; (f) the DIP Orders, the DIP Credit Agreement, and the other DIP documents, and related
documentation; (g) the Exit Credit Agreement; (h) the Governance Documents (as defined in the Restructuring
Support Agreement); (i) the New MyT Documents, and (j) all other material documents necessary or customarily
required to consummate the Restructuring Transactions.

         72.      “Description of Transaction Steps” means the description of the steps to be carried out to effectuate
the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement.

        73.     “DIP Agent” means Cortland Products Corp., as administrative and collateral agent under the DIP
Credit Agreement.

          74.      “DIP Backstop Fee” means a backstop fee equal to 6.0% of the full principal commitment of the
DIP Facility, payable in shares of New Equity in an aggregate amount equal to the DIP Backstop Fee (expressed in
dollars) divided by 65.0% of the Plan Equity Value, and payable ratably to each member of the Consenting Term Loan
Lender Group and Consenting Noteholder Group in accordance with its DIP Facility backstop commitment.

       75.       “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit
agreement, dated as of May 11, 2020, by and among Mariposa Intermediate Holdings LLC, NMG LTD, NMG, and
NMG Subsidiary, the guarantors party thereto, the DIP Agent, and the DIP Lenders, as approved by the DIP Order.

         76.      “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other agreements,
documents, instruments, and amendments related thereto, including the DIP Order and any guaranty agreements,
pledge and collateral agreements, UCC financing statements or other perfection documents, intercreditor agreements,
subordination agreements, fee letters, commitment letters, and other security agreements.

         77.      “DIP Credit Party” means, individually or collectively, the DIP Agent and/or the DIP Lenders.

         78.      “DIP Exit Fee” means an exit fee equal to 3.0% of the full principal commitment of the DIP Facility,
payable in shares of New Equity in an aggregate amount equal to the DIP Exit Fee (expressed in dollars) divided by
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65.0% of the Plan Equity Value, and payable ratably to each DIP Lender based on such DIP Lender’s DIP Facility
Claims immediately prior to satisfaction in full thereof.

       79.        “DIP Facility” means that certain debtor-in-possession credit facility created under the DIP Credit
Agreement.

         80.       “DIP Facility Claim” means any and all Claims held by any of the DIP Lenders or the DIP Agent
arising under, derived from, or based upon the DIP Credit Agreement, any other agreement, instrument or document
executed at any time in connection therewith, including, without limitation, all Obligations under (and as defined in)
the DIP Credit Agreement Documents, or the DIP Order.

       81.        “DIP Lenders” means the banks, financial institutions, and other lenders under the DIP Credit
Agreement.

         82.      “DIP Order” means, collectively, the Interim DIP Order and the Final DIP Order.

          83.     “Disbursing Agent” means, as applicable, the Reorganized Debtors or any Entity the Reorganized
Debtors select to make or to facilitate distributions in accordance with the Plan, which Entity may include the Claims
and Noticing Agent; provided, however, that with respect to the (a) Second Lien Notes, the Disbursing Agent shall
consult with the Second Lien Notes Trustee with respect to distributions to the Second Lien Noteholders on account
of the Second Lien Notes Claim to be made in accordance with the Plan; (b) Third Lien Notes, the Third Lien Notes
Trustee shall make or facilitate distributions to the Third Lien Noteholders on account of the Third Lien Notes Claim
in accordance with the Plan; and (c) General Unsecured Claims, the GUC Claims Administrator shall make or facilitate
distributions to Holders of General Unsecured Claims in accordance with the Plan.

         84.     “Disclosure Statement” means the Disclosure Statement Relating to the Debtors’ First Amended
Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules
thereto.

        85.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

         86.      “Disinterested Manager Settlement” has the meaning assigned to such term in Article IV.A.

          87.       “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed;
(b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect to
which a party in interest has filed a Proof of Claim or otherwise made a written request to a Debtor for payment,
without any further notice to or action, order, or approval of the Bankruptcy Court.

         88.      “Distribution Record Date” means, other than with respect to publicly held securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be the first
day of the Confirmation Hearing.

         89.      “DTC” means the Depository Trust Company.

          90.      “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A. of the Plan have been satisfied or waived in accordance with Article IX.B. of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        91.       “Employment Obligations” means any existing obligations to employees to be assumed, reinstated,
or honored, as applicable, in accordance with Article IV.O of the Plan.

         92.      “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

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         93.      “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code.

         94.      “ERISA” means Title IV of the Employee Retirement Income Security Act of 1974, as amended.

         95.       “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

         96.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) the Creditors Committee and each of its members; and (c) with respect to each of the foregoing entities, each such
Entity’s current and former predecessors, successors, Affiliates (regardless of whether such interests are held directly
or indirectly), subsidiaries, direct and indirect equity holders, Professionals, and advisors.

         97.     “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

          98.       “Existing Equity Interests” means any Equity Security, including all issued, unissued, authorized,
or outstanding shares of capital stock and any other common stock, preferred stock, limited liability company interests,
and any other equity, ownership, or profit interests of Mariposa Intermediate, including all options, warrants, rights,
stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable, or exchangeable securities, or other agreements, arrangements, or commitments of any
character relating to, or whose value is related to, any such interest or other ownership interest in Mariposa
Intermediate, whether or not arising under or in connection with any employment agreement and whether or not
certificated, transferable, preferred, common, voting, or denominated “stock” or a similar security.

          99. “Existing MYT Transaction Documents” means (a) the Letter Agreement made and entered into as of
June 7, 2019, by and between MYT Parent Co. and MYT Holding Co. pertaining to, among other things, the MYT
Waterfall (as defined therein); (b) the Amended and Restated Certificate of Incorporation of MYT Holding Co., as
filed with the Secretary of State of Delaware on June 5, 2019; (c) the Certificate of Designation of Cumulative Series
A Preferred Stock of MYT Holding Co., as filed with the Secretary of State of Delaware on June 6, 2019; (d) the
Certificate of Designation of Cumulative Series B Preferred Stock of MYT Holding Co., as filed with the Secretary
of State of Delaware on June 6, 2019; (e) the Guarantee and Collateral Agreement, dated as of June 7, 2019, among
MYT Parent Co., each Grantor party thereto, and Ankura Trust Company, LLC, as Trustee and as Collateral Agent;
and (f) the Pledge Agreement, dated and effective as of June 7, 2019, between MYT Parent Co., as the Pledgor, MYT
Holding Co., Wilmington Trust, National Association, as the 8.000% Third Lien Notes Trustee as 8.750% Third Lien
Notes Trustee and Collateral Agent.

          100.     “Exit Facility” means either (a) the new financing in the aggregate principal amount of $750 million,
consisting of a new term loan facility and/or, to the extent agreed upon by the Debtors, the Consenting Term Loan
Lender Group and the Consenting Noteholder Group, secured notes, in each case consistent with the terms and
conditions set forth in the Exit Facility Term Sheet and entered into on the Effective Date on the terms and conditions
set forth in the Exit Facility Documents or (b) another secured exit financing (including in the form of secured notes)
in the approximate aggregate principal amount of $750 million entered into in connection with the consummation of
the Plan, on terms mutually agreed among the Consenting Term Loan Lender Group, the Consenting Noteholder
Group and the Debtors.

           101.     “Exit Facility Credit Agreement” means the credit agreement governing the Exit Facility, which
shall (i) be on the terms set forth in the Exit Facility Term Sheet and otherwise in accordance with this Agreement and
(ii) become effective on the Effective Date.

         102.     “Exit Facility Documents” means the agreements memorializing the Exit Facility, including the
Exit Facility Credit Agreement and any amendments, modifications, supplements thereto, and together with any
related notes, certificates, agreements, intercreditor agreements, security agreements, mortgages, deeds of trust,
documents, and instruments (including any amendments, restatements, supplements, or modifications of any of the
foregoing) related to or executed in connection with the Exit Facility.


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            103.   “Exit Facility Lenders” means those lenders party to the Exit Facility Credit Agreement.

         104.     “Exit Facility Term Sheet” means the Exit Facility Term Sheet attached as Exhibit 2 to Exhibit B of
the Restructuring Support Agreement.

         105.    “Exit Rights” means the rights to participate in the Exit Facility in accordance with the Exit Rights
Offering Procedures.

         106.     “Exit Rights Offering Procedures” means the procedures for participation in the Exit Facility set
forth in the “Exit Loan Rights Offering Procedures” in the form attached to the Disclosure Statement Order as
Schedule 12.

         107.     “Exit Term Loan Backstop Fee” means a backstop fee equal to 6.50% of the aggregate principal
amount of the fully committed Exit Facility, payable in shares of New Equity in the aggregate amount equal to such
fee divided by 65.0% of the Plan Equity Value, and payable ratably to each of the Exit Term Loan Backstop Parties
based on such Exit Term Loan Backstop Parties’ commitment percentage to fund the full amount of the Exit Facility.

          108.     “Exit Term Loan Backstop Parties” means the parties listed on Schedule 1 to Exhibit 2 to Exhibit B
to the Restructuring Support Agreement (as such Schedule shall have been amended from time to time in accordance
with the terms thereof, including pursuant to the Exit Syndication Procedures (as defined in the Restructuring Support
Agreement)).

        109.      “Exit Term Loan Equity Fees” means (a) the Exit Term Loan Backstop Fee; and (b) the Exit Term
Loan Participation Fee.

          110.      “Exit Term Loan Participation Fee” means a fee equal to 30.0% of New Equity (subject to dilution
from the Management Incentive Plan and New Warrants), payable ratably to each 2019 Term Loan Lender, 2013
Term Loan Lender, 2028 Debentures Holder, Second Lien Noteholder, and/or Third Lien Noteholder who commits
to participate in the Exit Facility in accordance with the Exit Rights Offering Procedures and, if required to do so,
funds its commitment and, unless the Exit Facility takes the form described in clause (b) of the definition of Exit
Facility, funds its commitment.

            111.   “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        112.     “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the Chapter
11 Cases. “Filed” and “Filing” shall have correlative meanings.

         113.    “FILO Claim” means any Claim arising under, derived from, secured by, based on, or related to,
and the guarantees in respect thereof under the FILO Facility.

       114.        “FILO Facility” means the $100.0 million last-out term loan facility under the ABL Credit
Agreement.

            115.   “FILO Secured Claim” means any FILO Claim that is a Secured Claim.

            116.   “FILO Lenders” means those banks, financial institutions, and other lenders under the FILO
Facility.

          117.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment could be appealed or from which certiorari
could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no modification of such
order, or has otherwise been dismissed with prejudice.
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         118.     “Final DIP Order” means the Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition
Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
(III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 850].

         119.     “Funded-Debt General Unsecured Claim” means any Cash Pay Notes Claim or PIK Toggle Notes
Claim.

         120.      “General Unsecured Claim” means any Claim that is not (a) an Administrative Claim, (b) a
Professional Fee Claim, (c) a Priority Tax Claim, (d) a DIP Facility Claim, (e) an Other Secured Claim, (f) an Other
Priority Claim, (g) an ABL Loan Secured Claim, (h) a FILO Secured Claim, (i) a 2019 Term Loans Secured Claim,
(j) a 2013 Term Loans Secured Claim, (k) a 2028 Debentures Secured Claim, (l) a Second Lien Notes Secured Claim,
(m) a Third Lien Notes Secured Claim, an (n) an Intercompany Claim; (o) a 2013 Term Loans Deficiency Claim; (p)
a 2019 Term Loans Deficiency Claim; (q) a 2028 Debentures Deficiency Claim; (r) a Second Lien Notes Deficiency
Claim; or (s) a Third Lien Notes Deficiency Claim.

         121.    “Governance Term Sheet” means the Governance Term Sheet attached as Exhibit F to the
Restructuring Support Agreement.

         122.     “Governing Body” means the board of directors, board of managers, manager, general partner,
investment committee, special committee, or such similar governing body of any of the Debtors or the Reorganized
Debtors, as applicable.

        123.    “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.

        124.    “GUC Claims Administrator” means any Entity the Creditors Committee appoints to reconcile
General Unsecured Claims after the Effective Date. The GUC Claims Administrator shall be identified in the Plan
Supplement and shall have a budget of $1.5 million, which shall be funded by the Reorganized Debtors.

         125.     “Holder” means an Entity holding a Claim or Interest.

         126.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        127.      “Indentures” means the 2028 Debenture Indenture, the Cash Pay Notes Indenture, the PIK Toggle
Notes Indenture, the Second Lien Notes Indenture, and the Third Lien Notes Indentures.

         128.       “Intercompany Claims” means any Claim against a Debtor that is held by another Debtor or a direct
or indirect subsidiary of a Debtor.

        129.     “Intercompany Interests” means an Interest in a Debtor held by another Debtor and, for the
avoidance of doubt, excludes the Existing Equity Interests.

         130.     “Interest” means, collectively, (a) any Equity Security, or any other equity or ownership interest
(including any such interest in a partnership, limited liability company, or other Entity), in any Debtor, (b) any other
rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
repurchase rights, convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other ownership interest
in any Debtor, and (c) any and all Claims that are otherwise determined by the Court to be an equity interest, including
any Claim or debt that is recharacterized as an equity interest or subject to subornation as an equity interest pursuant
to section 510(b) of the Bankruptcy Code.

         131.     “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
(III) Modifying the Automatic Stay (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket
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         132.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

        133.      “Insurance Policies” means all insurance policies that have been issued at any time that provide
coverage, benefits, or proceeds to any of the Debtors (or their predecessors) and all agreements, documents, or
instruments relating thereto.

          134.      “Insurer” means any company or other Entity that issued an Insurance Policy, any third party
administrator of or for any Insurance Policy or self-insured claims, and any respective predecessors, successors, and/or
affiliates of any of the foregoing.

         135.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

         136.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        137.     “Management Incentive Plan” means the management incentive plan to be adopted by the New
Board on or substantially contemporaneously with the Effective Date.

         138.   “Mariposa Borrower” means Mariposa Borrower, Inc., a Delaware corporation and a direct
subsidiary of NMG LTD.

       139.       “Mariposa Intermediate” means Mariposa Intermediate Holdings LLC, a Delaware limited liability
company.

      140.     “MYT Holding Co.” means MYT Holding Co., a Delaware corporation and direct subsidiary of
MYT Parent Co.

         141.     “MYT Parent Co.” means MYT Parent Co., a Delaware corporation and direct subsidiary of NMG,
Inc.

          142.    “MYT Series A Preferred Stock” means the shares of Series A Preferred Stock, par value $0.001 per
share, issued by MYT Holding Co.

          143.    “MYT Series B Preferred Stock” means the shares of Series B Preferred Stock, par value $0.001 per
share, issued by MYT Holding Co.

         144.     “MyTheresa” means collectively, MYT Parent Co. and each of its subsidiaries.

         145.     “MyTheresa Guarantee and Collateral Agreement” means the Guarantee and Collateral Agreement,
dated as of June 7, 2019, among MYT Parent Co., each Grantor Party thereto, and Ankura Trust Company, LLC, as
Trustee and as Collateral Agent.

        146.   “Neiman Retirement Plan” means the Neiman Marcus Group LLC Retirement Plan, which is
sponsored by NMG and is a qualified defined benefit pension plan under the Internal Revenue Code and covered by
ERISA.

         147.     “New Board” means the board of directors or the board of managers of Reorganized Neiman.

         148.     “New Equity” means the common equity interests in Reorganized Neiman to be authorized, issued,
or reserved on the Effective Date pursuant to the Plan.

          149.    “New Equity Documentation” means any and all documentation required to implement, issue, and
distribute the New Equity.

         150.     “New Equity Holders” means Holders of Claims entitled to receive New Equity under Article III of
the Plan and the participants in the Management Incentive Plan.
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         151.      “New MyT Documents” means any agreements and/or transactions necessary and appropriate to
ensure that the economic and governance rights of the Second Lien Noteholders, the Third Lien Noteholders, the
Consenting Sponsors, and the Consenting Parent with respect to MyTheresa are consistent with their prepetition rights,
claims and controls, the Existing MyT Transaction Documents and the Transaction Support Agreement (including
documentation that gives effect to and preserves the economic and governance effect of the turnover and waterfall
provisions concerning MyTheresa set forth in the Transaction Support Agreement and the equivalent provisions in
any other prepetition documents and agreements, except to the extent expressly waived in the Plan), which documents,
agreements and/or transactions shall be acceptable to the Consenting Parent, the Required Consenting Noteholders,
the Consenting Sponsors, the Required Consenting Term Loan Lenders (solely with respect to their own rights and
obligations thereunder and matters related to the Reorganized Debtors, if any), and the Debtors (such consent not to
be unreasonably withheld, conditioned, or delayed). The Sponsors, Consenting 2L Parties and Consenting 3L Parties
shall agree in principle on the general terms of the New MyT Documents, including the 2L MyT Distribution and the
3L MyT Distribution, and the parties reserve their rights with respect to definitive documents to be filed with the Plan
Supplement.

         152.     “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, consistent with the Restructuring Support Agreement and section 1123(a)(6)
of the Bankruptcy Code, as applicable and, in each case, in form and substance reasonably acceptable to the Debtors,
and the Required Consenting Stakeholders to the extent set forth in the Restructuring Support Agreement and
otherwise consistent with the Restructuring Support Agreement .

          153.     “New Warrants” means warrants exercisable for 25.0% of the New Equity (subject to dilution from
the Management Incentive Plan) with a seven-year tenor (and no Black-Scholes protection) and at an aggregate equity
value strike price equal to $2.025 billion.

         154.    “New Warrant Agreement” means that certain agreement providing for, among other things, the
issuance and terms of the New Warrants, the form of which shall be Filed pursuant to the Plan Supplement.

          155.    “NMG” means The Neiman Marcus Group LLC, a Delaware limited liability company.

          156.    “NMG, Inc.” means Neiman Marcus Group, Inc., a Delaware corporation.

          157.    “NMG LTD” means Neiman Marcus Group LTD LLC, a Delaware limited liability company.

          158.    “NMG Subsidiary” means The NMG Subsidiary LLC, a Delaware limited liability company.

        159.    “Non-Funded Debt General Unsecured Claim” means any General Unsecured Claim that is not a
  Cash Pay Notes Claim or PIK Toggle Notes Claim.

          160.    "Notes Issuers" means NMG LTD, NMG, NMG Subsidiary, and Mariposa Borrower.

          161.     “Noteholders” means, collectively, the Holders of Second Lien Notes Claims and Third Lien Notes
Claims.

        162.       “Other Priority Claims” means any Claim, other than an Administrative Claim or a Priority Tax
Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        163.     “Other Secured Claims” means any Secured Claim against the Debtors other than a 2013 Term
Loans Secured Claim, a 2019 Term Loans Secured Claim, 2028 Debentures Secured Claim, Second Lien Notes
Secured Claim, or a Third Lien Notes Secured Claim.

          164.    “PBGC” means the Pension Benefit Guaranty Corporation.

          165.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.
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         166.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

        167.     “PIK Toggle Notes Claim” means all Claims against the Debtors arising under, derived from, or
based upon the PIK Toggle Notes Indenture and the PIK Toggle Notes.

         168.     “PIK Toggle Notes” means those certain 8.750%/9.500% Senior PIK Toggle Notes due 2021 issued
pursuant to the PIK Toggle Notes Indenture.

         169.     “PIK Toggle Notes Indenture” means that certain indenture, dated as of October 25, 2013, by and
among the Notes Issuers, the guarantors party thereto, and the PIK Toggle Notes Trustee, as supplemented by the first
supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental indenture, dated
as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time to time.

       170.    “PIK Toggle Notes Trustee” means UMB Bank, N.A., as successor to Drivetrain Trust Company
LLC and U.S. Bank National Association, or any successor thereto, as trustee under the PIK Toggle Notes Indenture.

        171.    “Plan” means this Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter 11 of
the Bankruptcy Code, including the Plan Supplement, which is incorporated herein by reference.

          172.      “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with the Plan.

         173.     “Plan Equity Value” means the deemed per share value of the New Equity.

        174.    “Plan Securities” means, collectively, the New Equity, the New Warrants, the 2L MyT Distribution,
the 3L MyT Distribution, and the MYT Series B Preferred Stock issued under the Plan.

         175.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than fourteen (14) days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest, including the
following: (a) the New Organizational Documents; (b) the identity and members of the New Board and any executive
management for the Reorganized Debtors; (c) the Schedule of Retained Causes of Action; (d) the Exit Facility
Documents; (e) the Description of Transaction Steps; (f) the Schedules of Assumed and Rejected Contracts; (g) the
New MyT Documents; (h) the 2L MyT Distribution; (i) the 3L MyT Distribution; (j) the key terms of the Management
Incentive Plan; (k) the Tax Sharing Agreement (if agreed pursuant to Article VI.F); (l) the ABL Treatment Instrument
(as defined in the Disclosure Statement Order and if applicable); (m) the FILO Treatment Instrument (as defined in
the Disclosure Statement Order and if applicable); (n) the identity of the GUC Claims Administrator; and (o) any
additional documents Filed with the Bankruptcy Court prior to the Effective Date as amendments to the Plan
Supplement.

         176.     “Prepetition Secured Parties” shall have the meaning ascribed to such term in the DIP Order.

        177.      “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

          178.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

         179.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

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          180.      “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses of Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.B of the Plan.

        181.    “Professional Fee Claim” means a Claim by a professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

        182.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         183.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the Administrative Claims Bar Date, as applicable.

         184.    “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests, that
the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

          185.     “Released Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the 2028
Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting Noteholder
Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders
of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the following clause
(o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each of their respective
current and former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors, partners, attorneys
(including any other attorneys or professionals retained by any current or former director or manager in his or her
capacity as director or manager of an Entity), accountants, investment bankers, and other professional advisors;
provided that in each case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases contained
in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the
releases contained in the Plan that is not resolved before Confirmation.

          186.     “Releasing Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the 2028
Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting Noteholder
Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders
of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the following clause
(o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each of their respective
current and former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors, partners, attorneys
(including any other attorneys or professionals retained by any current or former director or manger in his or her
capacity as director or manager of an Entity), accountants, investment bankers, and other professional advisors;
provided that in each case, an Entity shall not be a Releasing Party if it: (x) elects to opt out of the releases contained
in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the
releases contained in the Plan that is not resolved before Confirmation.

        187.      “Reorganized Debtors” means, collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date. For purposes of this Plan, Reorganized Neiman shall be
a Reorganized Debtor.

         188.     “Reorganized Neiman” means either: (a) NMG LTD, as reorganized pursuant to and under the Plan,
or any successor or assign thereto, by merger, amalgamation, consolidation, or otherwise, on or after the Effective
Date; or (b) to the extent agreed reasonably by the Debtors, the Required Consenting Term Loan Lenders, the
Consenting Parent (such consent not to be unreasonably withheld, conditioned, or delayed), the Consenting Sponsors,
and the Required Consenting Noteholders, (x) Mariposa Intermediate, as reorganized pursuant to and under the Plan,
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or any successor or assign thereto, by merger, amalgamation, consolidation or otherwise, on or after the Effective Date
or (y) a new corporation or limited liability company that may be formed to, among other things, directly or indirectly
acquire substantially all of the assets and/or stock of the Debtors and issue the New Equity to be distributed pursuant
to the Plan.

         189.      “Required Consenting 2L Noteholders” means, as of the relevant date, Consenting 2L Parties
holding at least a majority of the aggregate outstanding principal amount of Second Lien Notes that are held by the
Consenting 2L Parties.

        190.      “Required Consenting 3L Noteholders” means, as of the relevant date, Consenting 3L Parties
holding at least a majority of the aggregate outstanding principal amount of Third Lien Notes that are held by the
Consenting 3L Parties.

         191.      “Required Consenting Debentures Parties” means as of the relevant date, Consenting Debentures
Parties holding at least a majority of the aggregate outstanding principal amount of 2028 Debentures that are held by
Consenting Debentures Parties.

        192.     “Required Consenting Noteholders” means, as of the relevant date, the Required Consenting 2L
Noteholders and the Required Consenting 3L Noteholders.

        193.     “Required Consenting Stakeholders” means the Required Consenting Term Loan Lenders, the
Required Consenting Debenture Parties, the Required Consenting Noteholders, the Consenting Parent, and each of
the Consenting Sponsors.

         194.     “Required Consenting Term Loan Lenders” means, as of the relevant date, Consenting Term Loan
Lenders comprising not fewer than three (3) unaffiliated Consenting Term Loan Lenders holding at least 66.67% of
the aggregate outstanding principal amount of Term Loans that are held by Consenting Term Loan Lenders.

         195.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

         196.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as
of May 7, 2020, by and among the Debtors and the other parties thereto, as may be amended, modified, or
supplemented from time to time, in accordance with its terms. In the event the Restructuring Support Agreement is
terminated, any reference herein to the Restructuring Support Agreement shall mean the Restructuring Support
Agreement as in effect immediately prior to such termination and any reference to any party to the Restructuring
Support Agreement shall mean the parties to the Restructuring Support Agreement immediately prior to such
termination.

         197.      “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time with the consent (such consent not to be unreasonably withheld) of the Required
Consenting Term Loan Lenders; the Required Consenting Noteholders; the Required Consenting Debentures Parties;
and the Debtors.

          198.    “Schedules” means, collectively, the schedules of assets and liabilities, Schedule of Retained Causes
of Action, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code, the
official bankruptcy forms, and the Bankruptcy Rules, as they may be amended, modified, or supplemented from time
to time.

        199.      “Schedules of Assumed and Rejected Contracts” means the schedules of certain Executory Contracts
and Unexpired Leases to be assumed, assumed and assigned, or rejected by the Debtors pursuant to the Plan, as the
same may be amended, modified, or supplemented from time to time by the Debtors, which schedules shall be
acceptable to the Required Consenting Term Loan Lenders and the Required Consenting Noteholders.



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        200.    “Second Lien Notes” means those certain 14.0% Second Lien Notes due 2024 issued pursuant to the
Second Lien Notes Indenture.

         201.     “Second Lien Noteholder” means any Holder of Second Lien Notes.

        202.     “Second Lien Notes Claim” means any Claim against the Debtors arising under, derived from, or
based upon the Second Lien Notes Indenture and the Second Lien Notes.

        203.     “Second Lien Notes Deficiency Claim” means any Second Lien Notes Claim that is not a Second
Lien Notes Secured Claim.

        204.      “Second Lien Notes Indenture” means that certain indenture, dated as of June 7, 2019, by and among
the Notes Issuers, the guarantors party thereto, and the Second Lien Notes Trustee.

         205.     “Second Lien Notes Secured Claims” means any Second Lien Notes Claim that is a Secured Claim.

         206.     “Second Lien Notes Trustee” means Ankura Trust Company, LLC, or any successor thereto, in its
capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or related to the
Second Lien Note Indenture.

         207.       “Secured Claim” means a Claim: (a) secured by a valid, perfected and enforceable Lien on collateral
to the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code
or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         208.      “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.

         209.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         210.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         211.     “Segregated Cash” means the Cash of the Debtors held in segregated collateral accounts.

          212.       “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan, which shall include the Exit Rights Offering Procedures
and a list of all of the Debtors’ store leases indicating which leases are intended to be assumed or rejected.

         213.     “Sponsor Contribution” has the meaning assigned to such term in Article IV.A.

        214.    “Sponsors” means any party that directly or indirectly holds or controls equity interests in the
Consenting Parent, including the Consenting Sponsors.

         215. “Tax Sharing Agreement” means a tax sharing agreement between NMG, Inc. and its non-Debtor
  subsidiaries that are part of the consolidated U.S. federal income tax group (and any similar state and local tax
  group), and the Debtors that are part of the consolidated U.S. federal income tax group (and any similar state and
  local tax group) that provides for the allocation of responsibility for various tax costs of the consolidated group
  members, allocations of refunds of any tax refunds received by or on behalf of members of the consolidated group,
  allocation of costs relating to the preparation and filing of tax returns of the consolidated group, and conduct of tax
  contests and allocation of costs relating to tax contests and other similar matters.

        216.      “Term Loan Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
administrative agent and collateral agent under the Term Loan Credit Agreement.
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         217.    “Term Loan Credit Agreement” means that certain credit agreement, dated as of October 25, 2013,
by and among Neiman Marcus Group LTD LLC, The Neiman Marcus Group LLC, and NMG Subsidiary, as
borrowers, Mariposa Intermediate Holdings LLC, each of the other guarantors party thereto, the Term Loan Agent,
and the Term Loan Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

        218.    “Term Loan Lenders” means those banks, financial institutions, and other lenders party to the Term
Loan Credit Agreement from time to time.

         219.     “Term Loans” means, collectively, the 2019 Terms Loans and the 2013 Term Loans.

         220.     “Third Lien Noteholder” means any Holder of Third Lien Notes Claims.

         221.     “Third Lien Notes” means those certain 8.000% and 8.750% Third Lien Notes due 2024 issued
pursuant to the Third Lien Notes Indentures.

        222.     “Third Lien Notes Claim” means any Claim against the Debtors arising under, derived from, or
based upon the Third Lien Notes Indentures and the Third Lien Notes.

        223.    “Third Lien Notes Deficiency Claim” means any Third Lien Notes Claim that is not a Third Lien
Notes Secured Claim.

       224.      “Third Lien Notes Indentures” means those certain indentures, dated as of June 7, 2019, by and
among the Notes Issuers, the guarantors party thereto, and the Third Lien Notes Trustee, as amended, restated,
supplemented or otherwise modified from time to time.

         225.     “Third Lien Notes Secured Claims” means any Third Lien Notes Claim that is a Secured Claim.

          226.     “Third Lien Notes Trustee” means Wilmington Trust, National Association (or any successor
thereto), in its capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or
related to the Third Lien Note Indentures.

         227.     “Third-Party Release” means the release set forth in Article VIII.D of this Plan.

         228.      “Transaction Support Agreement” means that certain Transaction Support Agreement, together with
all exhibits, annexes, and schedules thereto, dated as of March 15, 2019, and as amended on April 10, 2019, by and
among NMG, Inc. and its subsidiaries, the Consenting Sponsors, an ad hoc committee of holders of 2013 Term Loans,
an ad hoc committee of holders of Cash Pay Notes and PIK Toggle Notes, and each of the additional parties who
delivered a joinder thereto.

        229.     “Trustee” means any trustee or agent or similar Entity under the Second Lien Notes Indenture, Third
Lien Notes Indentures, 2028 Debentures Indenture, Cash Pay Notes Indenture, and PIK Toggle Notes Indenture.

        230.      “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          231.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
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particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document created or entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) unless otherwise specified, the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation”; (10) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (11) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(12) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (13) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (14) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (15) any immaterial effectuating provisions may be interpreted by the Reorganized Debtors
in such a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity; (16) all references herein to consent, acceptance, or
approval may be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail; and (17) unless otherwise specified, any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.




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F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan, and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan shall control (unless stated otherwise in such Plan document or in the Confirmation
Order). In the event of an inconsistency between the Confirmation Order and the Plan, the Confirmation Order shall
control.

H.       Consent Rights.

          Notwithstanding anything herein to the contrary, any and all consent rights of the parties to the Restructuring
Support Agreement set forth in the Restructuring Support Agreement with respect to the form and substance of this
Plan, all exhibits to the Plan, the Plan Supplement, and the Definitive Documentation, including any amendments,
restatements, supplements, or other modifications to such agreements and documents, and any consents, waivers, or
other deviations under or from any such documents, shall be incorporated herein by this reference (including to the
applicable definitions in section A hereof) and be fully enforceable as if stated in full herein.

                                   ARTICLE II.
 ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, PRIORITY CLAIMS, AND UNITED STATES
                            TRUSTEE STATUTORY FEES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Facility Claims,
Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the
United States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to
the amount of such Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim
is Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or,
if not then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if
such Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on
which an order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
course of their business after the Petition Date in accordance with the terms and conditions of the particular transaction
giving rise to such Allowed Administrative Claim without any further action by the Holders of such Allowed
Administrative Claim; (4) at such time and upon such terms as may be agreed upon by such Holder and the Debtors
or the Reorganized Debtors, as applicable; or (5) at such time and upon such terms as set forth in an order of the
Bankruptcy Court.

         Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are DIP Facility Claims, Professional Fee Claims, or Cure Claims, requests for payment of Administrative
Claims must be Filed with the Bankruptcy Court and served on the Debtors pursuant to the procedures specified in
the Confirmation Order and the notice of entry of the Confirmation Order no later than the Administrative Claims Bar
Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for payment of such
Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting such Administrative
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Claims against the Debtors or their property and such Administrative Claims shall be deemed discharged as of the
Effective Date.

B.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional
Fee Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account,
which the Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional
Fee Amount on the Effective Date.

         2.   Professional Fee Escrow Account.

          On the Effective Date, the Reorganized Debtors shall, without duplication of any account or amount
established for the benefit of Professionals pursuant to a DIP Order, establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be
considered property of the Estates of the Debtors or the Reorganized Debtors. The amount of Professional Fee Claims
owing to the Professionals shall be paid in Cash to such Professionals by the Reorganized Debtors from the
Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are Allowed.
When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in the
Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further action or
order of the Bankruptcy Court.

         3.   Professional Fee Amount.

          Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than two (2) Business Days before the Effective Date; provided, however, that such
estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of the Professional’s
final request for payment of Filed Professional Fee Claims. If a Professional does not provide an estimate, the Debtors
or Reorganized Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

C.       DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed for all purposes as fully Secured Claims in an amount
equal to (i) the principal amount outstanding under the DIP Facility on such date, (ii) all interest accrued and unpaid
thereon to the date of payment, and (iii) any and all accrued and unpaid fees, expenses, and indemnification or other
obligations of any kind payable under the DIP Credit Agreement Documents. Such DIP Facility Claims shall not be
subject to any avoidance, reduction, setoff, offset, recoupment, recharacterization, subordination (whether equitable,
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contractual, or otherwise), counterclaim, cross-claim, defense, disallowance, impairment, objection, or any other
challenge under any applicable law or regulation by any Entity.

          Except to the extent that a Holder of an Allowed DIP Facility Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of each Allowed DIP Facility Claim, on the Effective
Date, each Holder thereof shall receive payment in full in Cash, other than the Aggregate DIP Equity Fees, which
shall be payable in full in New Equity.

D.           Priority Tax Claims.

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.           United States Trustee Statutory Fees

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee quarterly fees
under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtors’ or Reorganized
Debtors’ business (or such amount agreed to with the United States Trustee or ordered by the Bankruptcy Court), for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first.

                                           ARTICLE III.
                      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.           Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with section 1122 and
1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular Class
only to the extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class
and has not been paid, released, or otherwise satisfied prior to the Effective Date.

             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                  Claims and Interests                      Status                   Voting Rights
 Class 1         Other Secured Claims                              Unimpaired    Not Entitled to Vote (Deemed to Accept)

 Class 2         Other Priority Claims                             Unimpaired    Not Entitled to Vote (Deemed to Accept)

 Class 3         ABL Loan Secured Claims                           Impaired      Entitled to Vote

 Class 4         FILO Secured Claims                               Impaired      Entitled to Vote

 Class 5         2019 Term Loans Claims                          Impaired        Entitled to Vote

 Class 6         2013 Term Loans Claims                          Impaired        Entitled to Vote

 Class 7         2028 Debentures Claims                            Impaired      Entitled to Vote


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     Class                   Claims and Interests                         Status                 Voting Rights
 Class 8          Second Lien Notes Claims                             Impaired    Entitled to Vote

 Class 9          Third Lien Notes Claims                              Impaired    Entitled to Vote

 Class 10         Funded-Debt General Unsecured Claims                 Impaired    Entitled to Vote

 Class 11         Non-Funded Debt General Unsecured Claims             Impaired    Entitled to Vote
                                                                    Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 12         Intercompany Claims
                                                                    Impaired       Reject)
                                                                    Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 13         Intercompany Interests
                                                                    Impaired       Reject)
 Class 14         Existing Equity Interests                            Impaired    Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such
Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized
Debtors and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or
as soon as reasonably practicable thereafter.

             1.   Class 1 - Other Secured Claims

                      (a)        Classification: Class 1 consists of any Other Secured Claims.

                      (b)        Treatment: Each Holder of an Allowed Other Secured Claim shall receive, in full and final
                                 satisfaction of such Claim, at the option of the Debtors, in consultation with the Required
                                 Consenting Term Loan Lenders and the Required Consenting Noteholders, either:

                                 (i)          payment in full in Cash of such Holder’s Allowed Other Secured Claim;

                                 (ii)         delivery of the collateral securing such Holder’s Allowed Other Secured Claim
                                              and payment of any interest required under section 506(b) of the Bankruptcy
                                              Code;

                                 (iii)        Reinstatement of such Holder’s Allowed Other Secured Claim; or

                                 (iv)         such other treatment rendering such Holder’s Allowed Other Secured Claim
                                              Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                      (c)        Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                                 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                                 Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                                 Plan.




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  2.   Class 2 - Other Priority Claims

           (a)      Classification: Class 2 consists of any Other Priority Claims.

           (b)      Treatment: Each Holder of an Allowed Other Priority Claim shall receive, in full and final
                    satisfaction of such Claim, at the option of the Debtors, either:

                    (i)      payment in full in Cash;

                    (ii)     Reinstatement of such Holder’s Allowed Other Priority Claim; or

                    (iii)    such other treatment rendering such Holder’s Allowed Other Priority Claim
                             Unimpaired in accordance with section 1124 of the Bankruptcy Code.

           (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Claims in Class 2 are
                    conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                    Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                    Plan.

  3.   Class 3 - ABL Loan Secured Claims

           (a)      Classification: Class 3 consists of any ABL Loan Secured Claims.

           (b)      Treatment: Each Holder of an Allowed ABL Loan Secured Claim shall receive, in full and
                    final satisfaction of such Claim,

                    (i)      payment in full in Cash;

                    (ii)     consensual refinancing or other consensual modification of the ABL Loans giving
                             rise to such ABL Loan Secured Claims; or

                    (iii)    other treatment consistent with the Bankruptcy Code and the Disclosure
                             Statement Order.

           (c)      Voting: Class 3 is Impaired under the Plan and Holders of Allowed Claims in Class 3 are
                    entitled to vote to accept or reject the Plan.

  4.   Class 4 - FILO Secured Claims

           (a)      Classification: Class 4 consists of any FILO Secured Claims.

           (b)      Treatment: Each Holder of an Allowed FILO Secured Claim shall receive, in full and final
                    satisfaction of such Claim

                    (i)      payment in full in Cash;

                    (ii)     consensual refinancing or other consensual modification of the FILO Facility
                             giving rise to such FILO Secured Claims; or

                    (iii)    other treatment consistent with the Bankruptcy Code and the Disclosure




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                            Statement Order.

           (c)     Voting: Class 4 is Impaired under the Plan and Holders of Allowed Claims in Class 4 are
                   entitled to vote to accept or reject the Plan.

  5.   Class 5 - 2019 Term Loans Claims

           (a)     Classification: Class 5 consists of any 2019 Term Loans Claims.

           (b)     Allowance: On the Effective Date, the 2019 Term Loans Claims shall be Allowed in the
                   aggregate principal amount of $2,240,501,378.16, plus accrued and unpaid allowed interest
                   on such principal amount, plus any other unpaid premiums, fees, costs, or other amount
                   due and owing pursuant to the Term Loan Credit Agreement, in each case up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date, each Holder of an Allowed 2019 Term Loans Claim
                   shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                   in:

                   (i)      87.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                            the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise
                            of the New Warrants, and subject to upward adjustment if Class 6 does not vote
                            in favor of the Plan; and

                   (ii)     87.5% of the Exit Rights, subject to upward adjustment if Class 6 does not vote
                            in favor of the Plan.

           (d)     Voting: Class 5 is Impaired under the Plan and Holders of Allowed Claims in Class 5 are
                   entitled to vote to accept or reject the Plan.

  6.   Class 6 - 2013 Term Loans Claims

           (a)     Classification: Class 6 consists of any 2013 Term Loans Claims.

           (b)     Allowance: On the Effective Date, the 2013 Term Loans Claims shall be Allowed in the
                   aggregate principal amount of $12,597,197.75, plus accrued and unpaid allowed interest
                   on such principal amount, plus any other unpaid premiums, fees, costs or other amount due
                   and owing pursuant to the Term Loan Credit Agreement, in each case up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date:

                   (i)      if Class 6 votes in favor of the Plan, each Holder of an Allowed 2013 Term Loans
                            Claim shall receive, in full and final satisfaction of such Claim, its Pro Rata share
                            of and interest in (a) 0.2% of the New Equity, subject to dilution by the
                            Management Incentive Plan, the Exit Term Loan Equity Fees, the Aggregate DIP
                            Equity Fees, and the exercise of the New Warrants, and (b) 0.2% of the Exit
                            Rights; or

                   (ii)     if Class 6 votes to reject the Plan, each Holder of an Allowed 2013 Term Loans
                            Claim shall receive, in full and final satisfaction of such Claim, value as of the
                            Effective Date equal to the Allowed amount of such Claim, provided that such
                            value shall not exceed the value of each Holder’s interest in the estate’s interest


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                            in the property securing such Claim.

           (d)     Voting: Class 6 is Impaired under the Plan and Holders of Allowed Claims in Class 6 are
                   entitled to vote to accept or reject the Plan.

  7.   Class 7 - 2028 Debentures Claims

           (a)     Classification: Class 7 consists of any 2028 Debentures Claims.

           (b)     Allowance: On the Effective Date, the 2028 Debentures Claims shall be Allowed in the
                   aggregate principal amount of $125,000,000, plus accrued and allowed unpaid interest on
                   such principal amount, plus any other unpaid premiums, fees, costs, or any other amounts
                   due and owing pursuant to the 2028 Debentures Indenture, in each case up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date, each Holder of an Allowed 2028 Debentures Claim
                   shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                   in:

                   (i)      2.8% of the New Equity, subject to dilution by the Management Incentive Plan,
                            Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise of
                            New Warrants and subject to upward adjustment if Class 6 does not vote in favor
                            of the Plan; and

                   (ii)     2.8% of the Exit Rights, subject to upward adjustment if Class 6 does not vote in
                            favor of the Plan.

           (d)     Voting: Class 7 is Impaired under the Plan and Holders of Allowed Claims in Class 7 are
                   entitled to vote to accept or reject the Plan.

  8.   Class 8 - Second Lien Notes Claims

           (a)     Classification: Class 8 consists of any Second Lien Notes Claims.

           (b)     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed in the
                   aggregate principal amount of $561,733,333, plus accrued and unpaid allowed interest on
                   such principal amount, plus any other unpaid premiums, fees costs, or other amounts due
                   and owing pursuant to the Second Lien Notes Indenture, in each case up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date, each Holder of an Allowed Second Lien Notes Claim
                   shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                   in:

                   (i)      1.0% of the New Equity, subject to dilution by the Management Incentive Plan,
                            the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise




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                            of the New Warrants;

                   (ii)     1.0% of the Exit Rights;

                   (iii)    the New Warrants; and

                   (iv)     the 2L MyT Distribution.

           (d)     Voting: Class 8 is Impaired under the Plan and Holders of Allowed Claims in Class 8 are
                   entitled to vote to accept or reject the Plan.

  9.   Class 9 - Third Lien Notes Claims

           (a)     Classification: Class 9 consists of any Third Lien Notes Claims.

           (b)     Allowance: On the Effective Date, the Third Lien Notes Claims shall be Allowed in the
                   aggregate principal amount of $1,228,383,150, plus accrued and unpaid allowed interest
                   on such principal amount, plus any other unpaid premiums, fees, costs, or other amounts
                   due and owing pursuant to the Third Lien Notes Indenture, in each case, up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date, each Holder of an Allowed Third Lien Notes Claim
                   shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                   in:

                   (i)      8.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                            the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise
                            of the New Warrants; and

                   (ii)     8.5% of the Exit Rights; and

                   (iii)    the 3L MyT Distribution.

           (d)     Voting: Class 9 is Impaired under the Plan and Holders of Allowed Claims in Class 9 are
                   entitled to vote to accept or reject the Plan.

  10. Class 10 - Funded-Debt General Unsecured Claims

           (a)     Classification: Class 10 consists of all Funded-Debt General Unsecured Claims.

           (b)     Treatment: Each Holder of an Allowed Funded Debt General Unsecured Claim shall
                   receive, in full and final satisfaction of such Claim, on or as reasonably practicable after
                   the Effective Date, its Pro Rata share (determined based on all Allowed General Unsecured
                   Claims, together with Holders of Allowed Non-Funded Debt General Unsecured Claims)
                   of (A) the Sponsor Contribution and (B) $10,000,000 of Cash to be funded by the Debtors
                   or Reorganized Debtors.

           (c)     Voting: Class 10 is Impaired under the Plan and Holders of Allowed Claims in Class 10
                   are entitled to vote to accept or reject the Plan.




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  11. Class 11 - Non-Funded Debt General Unsecured Claims

          (a)      Classification: Class 11 consists of all Non-Funded Debt General Unsecured Claims.

          (b)      Treatment: Each Holder of an Allowed Non-Funded Debt General Unsecured Claim shall
                   receive, in full and final satisfaction of such Claim, on or as reasonably practicable after
                   the Effective Date, its Pro Rata share (determined based on all Allowed General Unsecured
                   Claims, together with Holders of Allowed Funded-Debt General Unsecured Claims) of (A)
                   the Sponsor Contribution and (B) $10,000,000 of Cash to be funded by the Debtors or
                   Reorganized Debtors.

          (c)      Voting: Class 11 is Impaired under the Plan and Holders of Allowed Claims in Class 11
                   are entitled to vote to accept or reject the Plan.

  12. Class 12 - Intercompany Claims

          (a)      Classification: Class 12 consists of all Intercompany Claims.

          (b)      Treatment: Intercompany Claims shall be, at the option of the Reorganized Debtors, in
                   consultation with the Consenting Term Loan Lender Group and the Consenting Noteholder
                   Group, either:

                   (i)      Reinstated; or

                   (ii)     cancelled, released, and extinguished without any distribution on account of such
                            Claims.

          (c)      Voting: Class 12 is Unimpaired if the Class 12 Claims are Reinstated or Impaired if the
                   Class 12 Claims are cancelled. Holders of Class 12 Claims are conclusively deemed to
                   have accepted the Plan pursuant to section 1126(f) or rejected the Plan pursuant to section
                   1126(g) of the Bankruptcy Code. Holders of Class 12 Claims are therefore not entitled to
                   vote to accept or reject the Plan.

  13. Class 13 - Intercompany Interests

          (a)      Classification: Class 13 consists of all Intercompany Interests.

          (b)      Treatment: Intercompany Interests shall be, at the option of Reorganized Debtors, in
                   consultation with the Consenting Term Loan Lender Group and the Consenting Noteholder
                   Group, either:

                   (i)      Reinstated; or

                   (ii)     cancelled, released, and extinguished without any distribution on account of such
                            Interests.

          (c)      Voting: Class 13 is Unimpaired if the Class 13 Interests are Reinstated or Impaired if the
                   Class 13 Interests are cancelled. Holders of Class 13 Interests are conclusively deemed to
                   have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the
                   Plan pursuant to section 1126(g) of the Bankruptcy Code. Holders of Class 13 Interests
                   are therefore not entitled to vote to accept or reject the Plan.




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         14. Class 14 - Existing Equity Interests

                  (a)      Classification: Class 14 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, Existing Equity Interests will be cancelled, released,
                           and extinguished without any distribution on account of such Existing Equity Interests.

                  (c)      Voting: Class 14 is Impaired under the Plan and Holders of Class 14 Interests are
                           conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                           Bankruptcy Code. Holders of Class 14 Interests are therefore not entitled to vote to accept
                           or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding legal and equitable defenses to, or
setoffs or recoupments against, any such Unimpaired Claims.

D.       Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Equity, and in exchange for the Debtors’
and Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall seek
Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of
Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the Plan to the
extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including
by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests
Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.


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I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the Restructuring Support Agreement,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests; Disinterested Manager Settlement.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, among
the Debtors, the parties to the Restructuring Support Agreement, the Releasing Parties, the Released Parties, and the
Holders of Claims and Interests in Classes 1 through 14 of the Plan. Distributions made to Holders of Allowed Claims
and Allowed Interests in any Class are intended to be final. Notably, the Plan reflects a good faith compromise and
settlement by the disinterested manager of NMG LTD, on behalf of the Debtors, the Consenting Parent, the Consenting
Sponsors, and the Debtors’ secured lenders and bondholders otherwise entitled to assert deficiency claims of any
potential estate claims or causes of actions against the Consenting Parent and the Sponsors (the “Disinterested
Manager Settlement”). In full and final satisfaction of potential Claims the Estates may have against the Consenting
Parent, its directors and officers, and the Sponsors, the Consenting Parent and Consenting Sponsors shall cause to be
delivered to Reorganized Neiman on the Effective Date the sum of 140,000,000 shares of MYT Series B Preferred
Stock which shares of MYT Series B Preferred Stock, for the avoidance of doubt, shall include all rights associated
with the MYT Series B Preferred Stock and any cumulative dividends accrued through the Effective Date of the Plan
or thereafter (the “Sponsor Contribution”). In connection with the Disinterested Manager Settlement, the Consenting
Term Loan Lenders will, subject to confirmation of the Plan, waive their challenges to the security/ownership interests
of the Debtors’ consignors.

          The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such Claims,
Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to
be and shall be final.

B.       Restructuring Transactions.

          On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any transactions
and shall take any actions as may be necessary or appropriate to effectuate the Restructuring Transactions (as agreed
and in accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder), including to establish Reorganized Neiman and, if applicable, to transfer assets of the Debtors to
Reorganized Neiman or a subsidiary thereof. The applicable Debtors or the Reorganized Debtors will take any actions
as may be necessary or advisable to effect a corporate restructuring of the overall corporate structure of the Debtors,
to the extent agreed in accordance with the consent rights in the Restructuring Support Agreement and provided herein,
in the Description of Transaction Steps, or in the Definitive Documentation, including the issuance of all securities,
notes, instruments, certificates, and other documents required to be issued pursuant to the Plan, one or more
intercompany mergers, consolidations, amalgamations, arrangements, continuances, restructurings, conversions,
dissolutions, transfers, liquidations, or other corporate transactions.

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          On the Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any of
the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear of all Liens, Claims, charges,
Causes of Action, or other encumbrances. To the extent provided in the Description of Transaction Steps, each Debtor,
other than Reorganized Neiman, may be deemed dissolved in accordance with applicable law, without any further
notice to or action, order, or approval of the Bankruptcy Court or any other Entity. Reorganized Neiman shall be the
issuer of New Equity to the applicable Holders of Claims and Interests as set forth herein.

           The actions to implement the Restructuring Transactions may include, in each case if and as agreed in
accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable parties may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, duty, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable law; (4) all transactions necessary to provide for the purchase of substantially all of the assets or Interests
of any of the Debtors by one or more Entities to be wholly owned by Reorganized Neiman, which purchase, if
applicable, may be structured as a taxable transaction for United States federal income tax purposes; and (5) all other
actions that the applicable parties determine to be necessary, including making filings or recordings that may be
required by applicable law in connection with the Plan.

C.       The Reorganized Debtors.

         On the Effective Date, the New Board shall be established, and each Reorganized Debtor shall adopt its New
Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements, documents,
and instruments and to take any other actions contemplated under the Plan as necessary to consummate the Plan.

D.       Sources of Consideration for Plan Distributions.

         1.   Exit Facility.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of which will be
set forth in the Exit Facility Documents. Confirmation of the Plan shall be deemed approval of the Exit Facility and
the Exit Facility Documents, as applicable, and all transactions contemplated thereby, and all actions to be taken,
undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection therewith, including
the payment of all fees, indemnities, expenses, and other payments provided for therein and authorization of the
Reorganized Debtors to enter into and execute the Exit Facility Documents and such other documents as may be
required to effectuate the treatment afforded by the Exit Facility.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the Exit Facility
Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the Exit Facility Documents, (c) shall be
deemed automatically perfected on the Effective Date, subject only to such Liens and security interests as may be
permitted under the Exit Facility Documents, and (d) shall not be subject to recharacterization or equitable
subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances
under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the persons and
entities granted such Liens and security interests shall be authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other law that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order and any such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties.
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         2.   New Equity.

         On the Effective Date, upon cancellation of the Existing Equity Interests, Reorganized Neiman shall issue
the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan. The issuance of the New
Equity, including New Equity reserved under the Management Incentive Plan, shall be authorized without the need
for any further corporate action and without any further action by the Holders of Claims or Interests or the Debtors or
the Reorganized Debtors, as applicable.

         All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable. Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance.

         3.   New Warrants

        On the Effective Date, Reorganized Neiman shall issue the New Warrants in accordance with the New
Warrant Agreement and distribute them to the Holders of Claims in Class 8, in accordance with Article VI.D.2. All
of the New Warrants issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable.

         4.   2L MyT Distribution

          On the Effective Date, one or more applicable parties shall issue a security or instrument in accordance with
the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders of Claims in Class 8, in
accordance with Article VI.D.2 of the Plan. Upon issuance, the 2L MyT Distribution shall be duly authorized, validly
issued, fully paid, and non assessable.

         5.   3L MyT Distribution

          On the Effective Date, one or more applicable parties shall issue a security or instrument in accordance with
the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders of Claims in Class 9, in
accordance with Article VI.D.2 of the Plan. Upon Issuance, the 3L MyT Distribution shall be duly authorized, validly
issued, fully paid, and non assessable.

         6.   General Unsecured Creditor Recovery

         On the Effective Date, the Sponsor Contribution and $10,000,000 of Cash will be available for distribution
to Holders of Allowed General Unsecured Claims in accordance with the treatment set forth in the Plan for Classes
10 and 11. The GUC Claims Administrator shall have responsibility for reconciling General Unsecured Claims,
including asserting any objections thereto; provided, that the Debtors or Reorganized Debtors shall retain the right to
object to asserted Class 10 Claims.

E.       Limited Waiver of Transaction Support Agreement and MyTheresa Turnover Provision

         Notwithstanding anything to the contrary in the Plan, in connection with the Disinterested Manager
Settlement, the Consenting Parent, the Sponsors, and any applicable creditors expressly waive any right they may
have to enforce a turnover of the Sponsor Contribution or any other consideration pursuant to this Plan that might be
enforceable against the Debtors or any of their creditors pursuant to the Existing MYT Transaction Documents and
the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements; provided, that to the extent the Consenting 2L Parties and the Consenting 3L Parties do
not agree to waive the Second Lien Notes Deficiency Claims and the Third Lien Notes Deficiency Claims, (i) the
turnover and waterfall provisions concerning MyTheresa as set forth in the Existing MYT Transaction Documents
and the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements, shall apply with respect to such distributions in respect of such Claims, and (ii) the Parent
and Sponsors agree that any recovery received by Parent or Sponsors pursuant to turnover of distributions received
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on account of the Second Lien Notes Deficiency Claim and the Third Lien Notes Deficiency Claims shall be
distributed to Holders of Allowed General Unsecured Claims. The Sponsors acknowledge and support the waiver of
turnover rights in connection with the Disinterested Manager Settlement for purposes of this Plan only and only to the
extent necessary to implement the terms of this Plan. To the extent the Plan is not effectuated, all rights are reserved.

F.       Corporate Existence.

          Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor shall continue
to exist after the Effective Date as a separate corporate Entity, limited liability company, partnership, or other form,
as the case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as the
case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is incorporated or
formed and pursuant to the respective certificate of incorporation and bylaws (or other formation documents) in effect
prior to the Effective Date, except to the extent such certificate of incorporation and by-laws (or other formation
documents) are amended under the Plan or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval (other than any requisite
filings required under applicable state, provincial, or federal law).

G.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated
herein, on the Effective Date, all property in each Debtor’s Estate, all Causes of Action, and any property acquired by
any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens,
Claims, charges, Causes of Action, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

H.       Cancellation of Existing Agreements and Interests.

          On the later of the Effective Date and the date on which distributions are made pursuant to the Plan (if not
made on the Effective Date), except for the purpose of evidencing a right to and allowing Holders of Claims and
Interests to receive a distribution under the Plan or to the extent otherwise specifically provided for in the Plan or set
forth in the Description of Restructuring Transactions, (a) all notes, instruments, certificates, and other documents
evidencing Claims or Interests, and any other certificate, equity security, share, note, bond, indenture, purchase right,
option, warrant, or other instrument or document directly or indirectly evidencing or creating any indebtedness or
obligation of or ownership interest in the Debtors giving rise to any Claim or Interest (except such agreements,
certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or ownership interest
in the Debtors that are reinstated or amended and restated pursuant to the Plan), shall be cancelled, and the obligations
of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled, discharged, and of
no force or effect, and the Agents and Trustees shall not have any continuing duties or obligations thereunder and
shall be discharged; and (b) the obligations of the Debtors pursuant, relating, or pertaining to any credit document or
agreement, the Indentures, any agreements, certificates of designation, bylaws or certificate, or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
options, or other instruments or documents evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtors (except such agreements, certificates, notes, or other instruments evidencing indebtedness or
obligation of or ownership interest in the Debtors that are specifically reinstated, amended and reinstated, or entered
into pursuant to the Plan) shall be released and discharged; provided, however, that the applicable credit document,
agreement, or Indentures shall continue in effect for the purposes of: (i) allowing the Agents and Trustees to receive
distributions from the Debtors and to make further distributions to the applicable Holders of Claims (subject to any
applicable charging liens), and allowing such Holders to accept distributions, on account of such Claims;
(ii) preserving the Agents’ and Trustees’ rights to payment of reasonable and documented fees and expenses (to be
documented in accordance with the terms of the applicable credit document(s), agreement(s), or Indenture(s)), and
allowing the maintenance, exercise, and enforcement of any applicable charging lien and priority of payment rights
for the payment of reasonable and documented fees and expenses (to be documented in accordance with the terms of
the applicable credit document(s), agreement(s), or Indenture(s)), including the Agent’s or Trustee’s charging liens

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and priority of payment rights pursuant and subject to the terms of the applicable credit document(s), agreement(s),
or Indenture(s), or any related or ancillary document, instrument, agreement, or principle of law, against any money
or property distributed or allocable on account of such Claims, as applicable; (iii) seeking compensation and
reimbursement for any reasonable and documented fees and expenses incurred by or on behalf of the Agents and
Trustees in connection with the implementation of the Plan; (iv) allowing the Agents and Trustees to enforce their
respective rights, claims, and interests against any Entity that is not a Released Party; (v) preserving the right of Agents
and Trustees to exculpation and, indemnification from the Debtors or any other Entity pursuant and subject to the
terms of the applicable credit document(s), agreement(s), or Indenture(s), and permitting each of the Agents and
Trustees to maintain, enforce, and exercise its respective charging liens in connection therewith; (vi) maintaining,
enforcing, and exercising any right or obligation to compensation, indemnification, exculpation, expense
reimbursement, or contribution, or any other claim or entitlement that the Agents and Trustees may have under the
applicable credit document(s), agreement(s), or Indenture(s), permitting each of the Agents and Trustees to maintain,
enforce, and exercise its respective charging liens in connection therewith; (vii) permitting the Agents and Trustees to
perform any functions that are necessary to effectuate the forgoing; and (viii) preserving the Agents’ and Trustees’
right to appear and be heard in the Chapter 11 Cases or in any other proceeding in the Bankruptcy Court, including
but not limited to enforcing any obligations owed to it under the Plan, Confirmation Order, or under the applicable
credit document(s), agreement(s), or Indenture(s); provided that (a) nothing in this Plan shall affect the discharge of
Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan and (b) except as otherwise provided in
the Plan, the terms and provisions of the Plan shall not modify any existing contract or agreement that would in any
way be inconsistent with distributions under the Plan; provided, further, that all provisions in credit documents,
agreements, or Indentures that by their own terms survive the termination, discharge, expiration, or maturity thereof,
shall also survive and continue in full force and effect. On the Effective Date, each holder of a certificate or instrument
evidencing a Claim that is discharged by the Plan shall be deemed to have surrendered such certificate or instrument
in accordance with the applicable Indenture(s) or credit agreement that governs the rights of such holder of such Claim.
Such surrendered certificate or instrument shall be deemed cancelled as set forth in, and subject to the exceptions set
forth in, this Article VI.H.

         On and after the Effective Date, the duties and responsibilities of the Agents and Trustees under the respective
credit agreement or document or Indenture(s), as applicable, shall be discharged and released, except (i) to the extent
required to effectuate the Plan including, but not limited to, making distributions under the Plan to the holders of
Allowed Claims under their respective credit agreement or document or Indenture(s) and (ii) with respect to any rights
of the Agents and Trustees to payment of reasonable and documented fees, expenses, and indemnification obligations
(to be documented in accordance with the terms of the applicable credit document(s), agreement(s), or Indenture(s))
as against any money or property distributable to holders of Claims or Interests pursuant and subject to the terms of
the applicable credit document(s), agreement(s), or Indenture(s), including any rights to priority of payment and/or to
exercise charging liens. After the performance by the Agents and Trustees and their respective representatives and
professionals of any obligations and duties required under or related to the Plan or the Confirmation Order, the Agents
and Trustees shall be deemed to be forever relieved of and released from any obligations and duties arising thereunder.

          After the Effective Date, the distributions to holders on account of Second Lien Notes Claims, and the
payment of all fees and expenses of, and other amounts due to, the Second Lien Notes Trustees (including, without
limitation, attorneys’ fees and expenses), the Debtors or the Reorganized Debtors, at their expense, may, in their sole
discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence the release of any and all
mortgages, deeds of trust, Liens, pledges, and other security interests with respect to the Second Lien Notes Claims,
including, without limitation, the preparation and filing, in form, substance, and content reasonably acceptable to the
Second Lien Notes Trustees, of any and all documents necessary to terminate, satisfy, or release any mortgages, deeds
of trust, Liens, pledges, and other security interests held by the Second Lien Notes Trustees, including, without
limitation, UCC-3 termination statements.

         On and after the final distribution on account of the Allowed Second Lien Notes Claims, the Second Lien
Notes shall be deemed to be worthless, and the DTC shall take down the relevant positions at the request of the Second
Lien Notes Trustee without any requirement of indemnification or security on the part of the Second Lien Notes
Trustee.

          After the Effective Date, the distributions to holders on account of Third Lien Notes Claims, and the payment
of all fees and expenses of the Third Lien Notes Trustees (including, without limitation, attorneys’ fees and expenses),
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the Debtors or the Reorganized Debtors, at their expense, may, in their sole discretion, take any action necessary to
terminate, cancel, extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens, pledges, and
other security interests with respect to the Third Lien Notes Claims, including, without limitation, the preparation and
filing, in form, substance, and content reasonably acceptable to the Third Lien Notes Trustees, of any and all
documents necessary to terminate, satisfy, or release any mortgages, deeds of trust, Liens, pledges, and other security
interests held by the Third Lien Notes Trustees, including, without limitation, UCC-3 termination statements.

          On and after the final distribution on account of the Allowed Third Lien Notes Claims, the Third Lien Notes
shall be deemed to be worthless, and DTC shall take down the relevant positions at the request of the Third Lien Notes
Trustee without any requirement of indemnification or security on the part of the Third Lien Notes Trustee.

          After the Effective Date, the distributions to Holders on account of Cash Pay Notes Claims and PIK Toggle
Notes Claims, and the payment of all fees and expenses of, and other amounts due to, the Cash Pay Notes Trustee and
PIK Toggle Notes Trustee (including, without limitation, attorneys’ fees and expenses), the Debtors or the
Reorganized Debtors, at their expense, may, in their sole discretion, take any action necessary to terminate, cancel,
extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens, pledges, and other security
interests with respect to the Cash Pay Notes Claims and PIK Toggle Notes Claims, including, without limitation, the
preparation and filing, in form, substance, and content reasonably acceptable to the Cash Pay Notes Trustee and PIK
Toggle Notes Trustee, of any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of
trust, Liens, pledges, and other security interests held by the Cash Pay Notes Trustee and PIK Toggle Notes Trustee,
including, without limitation, UCC-3 termination statements.

I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Employment Obligations; (2) selection of
the directors, officers, or managers for the Reorganized Debtors; (3) the distribution of the New Equity;
(4) implementation of the Restructuring Transactions; (5) entry into the Exit Facility Documents; (6) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (7) adoption of the New
Organizational Documents; (8) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (9) the amendment of the MYT Series B Preferred Stock certificate of designation
and technical modification of related documents to give effect to the distributions of the MYT Series B Preferred
Stock contemplated by the Plan; and (10) all other acts or actions contemplated or reasonably necessary or appropriate
to promptly consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or
after the Effective Date). All matters provided for in the Plan involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate action required by the Debtors or the Reorganized Debtor, as applicable, in
connection with the Plan shall be deemed to have occurred and shall be in effect, without any requirement of further
action by the security Holders, directors, officers, or managers of the Debtors or the Reorganized Debtors, as
applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the Reorganized
Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated under the Plan (or necessary or desirable to effect the transactions
contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the New Equity, the
New Organizational Documents, the Exit Facility, the Exit Facility Documents, and any and all other agreements,
documents, securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by
this Article IV.I shall be effective notwithstanding any requirements under non-bankruptcy law.

J.       New Organizational Documents.

         The New Organizational Documents shall, among other things: (a) authorize the issuance and distribution of,
and reservation of New Equity underlying, the New Warrants to the entities entitled to receive such Interests under
the Plan; and (b) pursuant to and only to the extent required by section 1123(a)(6) of the Bankruptcy Code, prohibit
the issuance of non-voting equity Securities.

        On or immediately prior to the Effective Date, each of the Reorganized Debtors will file its New
Organizational Documents with the applicable Secretaries of State and/or other applicable authorities in its state of

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incorporation or formation in accordance with the applicable laws of their respective state of incorporation or
formation, to the extent required for such New Organizational Documents to become effective. After the Effective
Date, each Reorganized Debtor may amend and restate their formation, organizational, and constituent documents as
permitted by the laws of its respective jurisdiction of formation and the terms of such documents.

         On the Effective Date, the Consenting Parent shall, at the expense of the Debtors, change its corporate name
and will no longer be known as Neiman Marcus Group, Inc. or any other corporate name that references “Neiman
Marcus” or could otherwise reasonably be confused with the Reorganized Debtors.

K.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors of the Debtors shall expire,
and the members for the initial term of the New Board shall be appointed. The initial members of the New Board will
be identified in the Plan Supplement, to the extent known at the time of filing, pursuant to the terms of the
Restructuring Support Agreement. Each such member and officer of the Reorganized Debtors shall serve from and
after the Effective Date pursuant to the terms of the New Organizational Documents and other constituent documents
of the Reorganized Debtors.

          The New Board shall consist of seven directors, or such other number as approved pursuant to the
Governance Term Sheet and shall initially be comprised of (i) the then-serving Chief Executive Officer of the
Reorganized Debtors; (ii) three directors designated by Pacific Investment Management Company LLC (“PIMCO”);
(iii) one director designated by Davidson Kempner Capital Management LP; (iv) one director designated by Sixth
Street Partners, LLC; and (v) one independent director designated by holders of New Equity (other than PIMCO)
representing at least 50% of the New Equity to be outstanding as of the Effective Date (other than New Equity to be
issued to PIMCO).

L.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, Reorganized Neiman and the New Board are authorized to and may issue,
execute, deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary to effectuate, implement, and further evidence the terms and conditions of
the Plan and the Securities issued pursuant to the Plan in the name of and on behalf of Reorganized Neiman, without
the need for any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

M.       Certain Securities Law Matters

          The Plan Securities will be issued without registration under the Securities Act or any similar federal, state,
or local law in reliance upon section 1145 of the Bankruptcy Code and/or section 4(a)(2) under the Securities Act.
The Plan Securities issued under the Plan in reliance upon section 1145 of the Bankruptcy Code are exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. state
or local law requiring registration prior to the offering, issuance, distribution, or sale of securities. The Plan Securities
issued pursuant to section 1145 of the Bankruptcy Code: (a) are not “restricted securities” as defined in Rule 144(a)(3)
under the Securities Act; and (b) are freely tradable and transferable by any holder thereof that (i) is not an “affiliate”
of the Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate”
within ninety (90) days of such transfer, (iii) has not acquired the Plan Securities from an “affiliate” within one year
of such transfer, and (iv) is not an Entity that is an “underwriter” as defined in section 1145(b) of the Bankruptcy
Code. Such Plan Securities will be freely tradable in the United States by the recipients thereof, subject to the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 1145(b)
of the Bankruptcy Code, and compliance with applicable securities laws and any rules and regulations of the United
States Securities and Exchange Commission, if any, applicable at the time of any future transfer of such Securities or
instruments and subject to any restrictions in the New Organizational Documents, the New Warrant Agreement, and
the New MyT Documents, as applicable. To the extent the Plan Securities are issued pursuant to section 4(a)(2) under
the Securities Act, they will be considered “restricted securities” as defined by Rule 144 of the Securities Act and may
not be resold under the Securities Act and applicable state securities laws absent an effective registration statement,
or pursuant to an applicable exemption from registration, under the Securities Act and pursuant to applicable state
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securities laws. The New Equity issued pursuant to this Plan will (i) be DTC eligible, (ii) entitle the beneficial owner
of such securities on a confidential basis to certain information as set forth in the Governance Term Sheet, and (iii)
entitle the beneficial owner to attend quarterly management calls with Q&A (which may be joint with lenders);
provided, that the foregoing shall not be required with respect to such securities to the extent that, as a result thereof,
the Reorganized Debtors will be (or will be required to be) an SEC registered entity.

           DTC shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a legal
opinion regarding whether such securities are exempt from registration and/or eligible for DTC book-entry delivery,
settlement, and depository services. Notwithstanding anything to the contrary in the Plan, no legal opinion regarding
the offering, issuance, and distribution of any Securities contemplated by the Plan, including, for the avoidance of
doubt, whether the New Equity is exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services shall be required.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant
of collateral as security for any or all of the Exit Facility; or (6) the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of, contemplated
by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sales or use tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental
officials or agents shall forego the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, recordation
fee, or governmental assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of section 1146(c) of
the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall accept for
filing and recordation any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

O.       Employee Matters.

         The Reorganized Debtors shall: (a) assume all qualified pension plans and collective bargaining agreements;
and (b) assume or reject, as the case may be, each of the written contracts, agreements, policies, programs and plans
for compensation, bonuses, reimbursement, health care benefits, disability benefits, deferred compensation benefits,
travel benefits, vacation and sick leave benefits, savings, severance benefits, retirement benefits, welfare benefits,
relocation programs, life insurance and accidental death and dismemberment insurance, including written contracts,
agreements, policies, programs and plans for bonuses and other incentives or compensation for the Debtors’ current
and former employees, directors, officers, and managers, including executive compensation programs and existing
compensation arrangements for the employees of the Debtors, in each case to the extent set forth in the Schedules of
Assumed and Rejected Contracts. Except to the extent provided by Article VIII of the Plan, nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or the Reorganized Debtors’ defenses, claims, Causes of Action, or
other rights with respect to any such employment agreements. Notwithstanding the foregoing, pursuant to
section 1129(a)(13) of the Bankruptcy Code, from and after the Effective Date, all retiree benefits (as such term is
defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with applicable law.

         With respect to the Neiman Retirement Plan, no provision of the Disclosure Statement, this Plan, the
Confirmation Order, or section 1141 of the Bankruptcy Code shall be construed to discharge, release, or relieve the
Reorganized Debtors from liabilities or requirements imposed under ERISA or the Internal Revenue Code with respect

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to the Neiman Retirement Plan solely as a result of the Debtors’ reorganization proceedings or confirmation of this
Plan. The PBGC and the Neiman Retirement Plan will not be enjoined or precluded from enforcing any liability
arising under ERISA or the Internal Revenue Code with respect to the Neiman Retirement Plan as a result of the
Debtors’ reorganization proceedings, this Plan’s provisions, or this Plan’s confirmation; provided, however, that
nothing herein affects any of the Debtors’ or the Reorganized Debtors’ rights related thereto and all such rights are
fully preserved.

P.       Management Incentive Plan.

         The New Board shall be authorized to implement the Management Incentive Plan on or after the Effective
Date, the form of which shall be included in the Plan Supplement.

Q.       Preservation of Causes of Action; Waiver of Avoidance Actions.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action, whether arising before or after the Petition Date, including any actions specifically enumerated in
the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the Causes
of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan, including in Article
VIII.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the Plan,
the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action
against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including
Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, Reorganized Neiman expressly
reserve all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any
Entity shall vest in Reorganized Neiman, except as otherwise expressly provided in the Plan, including Article VIII
of the Plan. The Reorganized Debtors, through its authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy Court.

       On the Effective Date, the Reorganized Debtors shall waive and release all Avoidance Actions and
Avoidance Actions shall not be Retained Causes of Action.

R.       MyTheresa

         This Plan is not intended to affect, alter or impair any stakeholder’s economic and governance rights with
respect to MyTheresa, except as to the Sponsor Contribution and as otherwise set forth herein.

          Upon the occurrence of the Effective Date, each Second Lien Noteholder shall also receive its respective
share of the 2L MyT Distribution on account of its prepetition rights, claims, and interests with respect to MyTheresa.
For the avoidance of doubt, (a) the Second Lien Noteholders’ rights in respect of the limited guarantee under the
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MyTheresa Guarantee and Collateral Agreement, and all claims related thereto against non-Debtors, shall not be
affected by the Plan and shall be preserved through the New MYT Documents, and (b) the 2L MyT Distribution is
intended to effectuate such preservation and shall not represent a claim against or interest in the Reorganized Debtors.

         Upon the occurrence of the Effective Date, each Third Lien Noteholder shall also receive its respective share
of the 3L MyT Distribution on account of its prepetition rights, claims, and interests with respect to MyTheresa. For
the avoidance of doubt, the (a) Third Lien Noteholders’ rights in respect of the pledge of 50% of the common stock
of MYT Holding Co., and all claims against non-Debtors related thereto, shall not be affected by the Plan and shall
be preserved through the New MYT Documents, and (b) the 3L MyT Distribution is intended to effectuate such
preservation and shall not represent a claim against or interest in the Reorganized Debtors.

         In furtherance of the foregoing, except to the extent expressly waived in the Plan, the Plan Supplement shall
contain documentation sufficient to give ongoing effect to the turnover and waterfall provisions concerning
MyTheresa as set forth in the Existing MYT Transaction Documents and the Transaction Support Agreement, and the
equivalent turnover and waterfall provisions in any other prepetition documents and agreements, which, if agreed
among the Consenting Parent, the Required Consenting Noteholders, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed), and the Required Consenting Term Loan Lenders
(such consent not to be unreasonably withheld, conditioned, or delayed), shall be restated pursuant to the terms of one
or more tradeable securities with terms consistent with those contemplated by the Restructuring Support Agreement
and otherwise to be agreed and consented to on the same basis by such parties.

S.       Closing the Chapter 11 Cases.

          Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Reorganized Debtors, the Required
Consenting Term Loan Lenders, the Required Consenting Noteholders, and the Required Consenting Debentures
Parties, and all contested matters relating to each of the Debtors, including objections to Claims, shall be administered
and heard in such Chapter 11 Case.


                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease
(including those set forth as assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed
as of the Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code, unless
such Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned, or rejected by the
Debtors; (2) previously expired or terminated pursuant to its own terms; (3) is identified as rejected on the Schedules
of Assumed and Rejected Contracts; or (4) is the subject of a motion to reject that is pending on the Effective Date.
On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease that is
identified as rejected on the Schedules of Assumed and Rejected Contracts shall be deemed rejected as of the Effective
Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

          Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments, and rejections, as
applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, and the Schedules of Assumed
and Rejected Contracts, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions to
assume, assume and assign, or reject Executory Contracts or Unexpired Leases pending on the Effective Date shall be
subject to approval by the Bankruptcy Court on or after the Effective Date by a Final Order. Unless otherwise specified
in the Plan Supplement, the Schedules of Assumed and Rejected Contracts, or an applicable Court order, assumptions,
assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Executory Contract and Unexpired Lease assumed pursuant to the Plan or by
any order of the Bankruptcy Court, which has not been assigned to a third party prior to the Confirmation Date, shall

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re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms,
except as such terms may be modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing
and providing for its assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan,
the Debtors or the Reorganized Debtors, as applicable, shall have the right to alter, amend, modify, or supplement the
Schedules of Assumed and Rejected Contracts identified in this Article V.A of the Plan and in the Plan Supplement
at any time through and including 45 days after the Effective Date; provided, however, that after the date of the
Confirmation Hearing, the Debtors may not subsequently reject any Unexpired Lease previously designated as
assumed or assumed and assigned on the Schedules of Assumed and Rejected Contracts absent the consent of the
applicable lessor.

         To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed and
assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached
by, the assumption or assumption and assignment of such Executory Contract or Unexpired Lease (including
any “change of control” provision), then such provision shall be deemed modified such that the transactions
contemplated by the Plan shall not entitle the non-Debtor party or parties to such Executory Contract or Unexpired
Lease to terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
respect thereto.

B.       Indemnification Obligations.

          Upon the Effective Date and consummation of the Plan on the terms set forth herein, all indemnification
obligations in place as of the Effective Date under the Debtors’ organizational documents (including in the by-laws,
certificates of incorporation or formation, limited liability company agreements, and other organizational or formation
documents,) for the current and former directors, officers, managers, and employees of the Debtors, as applicable,
shall be assumed and remain in full force and effect after the Effective Date, and shall not be modified, reduced,
discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective of
when such obligation arose; provided, however, that the foregoing shall not apply to any obligations to indemnify any
person or entity (other than natural-person managers or officers in their capacities as such serving as of the Effective
Date, including the disinterested managers of Mariposa Intermediate and NMG LTD, respectively) in connection with
any claims or causes of action related to the designation of MyTheresa as an unrestricted subsidiary or the distribution
of MyTheresa by or through certain Debtors to NMG, Inc. and related transactions.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on the Debtors or
Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or
the Reorganized Debtors, the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, and be subject to the permanent injunction set forth in Article VIII.F of the
Plan, including any Claims against any Debtor listed on the Schedules as unliquidated, contingent, or disputed.
All Allowed Claims arising from the rejection by any Debtor of any Executory Contract or Unexpired Lease shall be
treated as a General Unsecured Claim in accordance with Article III.B and Article III.C of the Plan.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall pay Cures, if any, on the Effective Date or as
soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for payment of Cure that differ from the amounts paid or proposed
to be paid by the Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court on

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or before thirty (30) days after the Effective Date. Any such request that is not timely filed shall be disallowed and
forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any other party in interest or any further notice to
or action, order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and
discharged upon payment by the Debtors or the Reorganized Debtors of the Cure; provided that nothing herein shall
prevent the Reorganized Debtors from paying any Cure despite the failure of the relevant counterparty to File such
request for payment of such Cure. The Reorganized Debtors also may settle any Cure without any further notice to
or action, order, or approval of the Bankruptcy Court. In addition, any objection to the assumption of an Executory
Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or before 30 days after the
Effective Date. Any such objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or
Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such objection is timely filed. Any
counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed assumption of
any Executory Contract or Unexpired Lease will be deemed to have consented to such assumption.

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure amount in Cash
on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such Executory
Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any
payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure payments
required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order or orders
resolving the dispute and approving the assumption; provided that the Reorganized Debtors may settle any such
dispute without any further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity;
provided, further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving
any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the Reorganized
Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is subject to dispute,
whether by amending the Schedules of Assumed and Rejected Contracts in accordance with Article V.A of the Plan
or otherwise.

          At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall provide for
notices of proposed assumption or assumption and assignment and proposed Cure amounts to be sent to applicable
third parties, which notices will include procedures for objecting thereto and resolution of disputes by the Bankruptcy
Court. Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or
assumption and assignment or related Cure amount must be Filed, served, and actually received by the Debtors no
later than seven days prior to the first day of the Confirmation Hearing. Any counterparty to an Executory Contract
or Unexpired Lease that fails to timely object to the proposed assumption or Cure amount will be deemed to have
assented to such assumption or assumption and assignment and cure amount.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article V.D shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all Proofs of
Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant to this
Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed or
assumed and assigned shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired
Leases related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options, rights

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of first refusal, and any other interests, unless any of the foregoing agreements has been previously rejected or
repudiated or is rejected or repudiated under the Plan.
         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any Claims
that may arise in connection therewith.
F.       Surety Bonds.

          On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers as set forth
in the Order (I) Authorizing the Debtors to Continue Their Surety Bond Program and (II) Granting Related
Relief [Docket No. 244] shall be deemed reaffirmed by the Reorganized Debtors, including as applicable: (i) surety
payment and indemnity agreements, setting forth the sureties’ rights against the Debtors, and the Debtors’ obligations
to pay and indemnify the sureties from any loss, cost, or expense that the sureties may incur, in each case, on account
of the issuance of any surety bonds on behalf of the Debtors; (ii) surety collateral agreements governing collateral, if
any, in connection with the Debtors’ surety bonds; and/or (iii) ordinary course premium payments to any surety for
the Debtors’ surety bonds.

G.       Insurance Policies.

          Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, the Plan Supplement, the
Confirmation Order, any bar date notice or claim objection, any other document related to any of the foregoing, or
any other order of the Bankruptcy Court (including, without limitation, any other provision that purports to be
preemptory or supervening, grants an injunction, discharge or release, or requires a party to opt out of any releases):
(1) on the Effective Date, the Debtors shall be deemed to have assumed all Insurance Policies in their entirety pursuant
to sections 105 and 365 of the Bankruptcy Code and such Insurance Policies shall revest in the Reorganized Debtors,
and the Reorganized Debtors shall remain liable in full for all of their and the Debtors’ obligations thereunder,
regardless of whether such obligations arise before or after the Effective Date, without the requirement or need for
any Insurer to file a Proof of Claim, an Administrative Claim, a Cure claim, or to object to any Cure amount; (2)
nothing shall alter, modify, amend, affect, impair, or prejudice the legal, equitable, or contractual rights, obligations,
and defenses of the Insurers, the Debtors (or, after the Effective Date, the Reorganized Debtors), or any other
individual or Entity, as applicable, under any Insurance Policies, and all such rights and obligations shall be determined
under the Insurance Policies and applicable non-bankruptcy law as if the Chapter 11 Cases had not occurred; and (3)
the automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in Article VIII of the Plan,
if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit:
(a) claimants with valid workers’ compensation claims or direct action claims against an Insurer under applicable non-
bankruptcy law to proceed with their claims; (b) the Insurers to administer, handle, defend, settle, and/or pay, in the
ordinary course of business and without further order of this Bankruptcy Court, (i) workers’ compensation claims, (ii)
claims where a claimant asserts a direct action claim against any Insurer under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its
claim, and (iii) all costs in relation to each of the foregoing; (c) the Insurers to draw against any or all of the collateral
or security provided by or on behalf of the Debtors (or the Reorganized Debtors, as applicable) at any time and to hold
the proceeds thereof as security for the obligations of the Debtors (and the Reorganized Debtors, as applicable) and/or
apply such proceeds to the obligations of the Debtors (and the Reorganized Debtors, as applicable) under the Insurance
Policies, in such order as the applicable Insurer may determine; and (d) the Insurers to cancel any Insurance Policy,
and take other actions relating to the Insurance Policies (including effectuating a setoff), to the extent permissible
under applicable non-bankruptcy law, and in accordance with the terms of the Insurance Policies.

H.       Reservation of Rights.

        Nothing contained in the Plan or the Plan Supplement, shall constitute an admission by the Debtors that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors
have any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have


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thirty (30) days following entry of a Final Order resolving such dispute to alter its treatment of such contract or lease
under the Plan.

I.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

J.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan or Confirmation Order, on the Effective Date (or if a Claim or Interest
is not an Allowed Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes
an Allowed Claim or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an Allowed
Claim or Allowed Interest (as applicable) shall receive the full amount of the distributions that the Plan provides for
Allowed Claims or Allowed Interest (as applicable) in the applicable Class. In the event that any payment or act under
the Plan is required to be made or performed on a date that is not a Business Day, then the making of such payment
or the performance of such act may be completed on the next succeeding Business Day, but shall be deemed to have
been completed as of the required date. If and to the extent that there are Disputed Claims or Disputed Interests,
distributions on account of any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions
set forth in Article VII hereof. Except as otherwise provided in the Plan, holders of Claims or Interests shall not be
entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless of whether such
distributions are delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Disbursing Agent on the Effective Date. The
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise
ordered, all costs and expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.




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         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the manner of
such distributions shall be determined at the discretion of the Reorganized Debtors; provided further that the address
for each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder.

         Subject to the Second Lien Notes Trustee’s charging lien and priority of payment rights, distributions of the
(i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the form of a distribution by
a Debtor, the 2L MyT Distribution in respect of Allowed Second Lien Notes Claims will be made through the facilities
of DTC in accordance with DTC’s customary practices; provided, however, that such distributions will only be issued
in accordance with DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a single holder
for purposes of distributions.

           The Second Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Second Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the
Plan with Holders of the Second Lien Notes Claims to the extent consistent with the customary practices of DTC, and
all distributions of (i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the form
of a distribution by a Debtor, the 2L MyT Distribution, to be made to Holders of Second Lien Notes Claims shall be
delivered to the Second Lien Notes Trustee in a form that is eligible to be distributed through the facilities of DTC.

         Without in any way limiting the provisions of the Second Lien Notes Indenture, to the extent the Second Lien
Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date, including,
without limitation, reasonable and documented professional fees, related to or in connection with the Plan, the
Confirmation Order, or the Second Lien Notes Indenture (as applicable), including, without limitation, in connection
with making distributions to Holders of Second Lien Notes Claims under the Plan, the Second Lien Notes Trustee
shall be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval, payment, in
Cash, of reasonable compensation for such services and reimbursement of such expenses (including, without
limitation, reasonable and documented attorneys’ fees and expenses) incurred in connection with such services. Upon
presentation of a summary invoice, payment of such compensation and reimbursement of such expenses shall be made
as soon as reasonably practicable, but in any case within the earlier of (i) the date upon which the Second Lien Notes
Trustee releases any Liens under the Plan or (ii) ten (10) days following the Second Lien Notes Trustee’s notification
to the Reorganized Debtors of the amount of such costs or expenses. On the Effective Date, the Debtors shall pay to
the Second Lien Notes Trustee the amount of $23,500 for compensation for its services pursuant to Section 7.6 of the
Second Lien Notes Indenture and the Schedule of Fees entered into in connection with the Second Lien Notes
Indenture. This payment shall be in addition to all other fees and expenses the Second Lien Notes Trustee is entitled
to receive under the Plan, the Confirmation Order and the Second Lien Notes Indenture or otherwise. The Second
Lien Notes Trustee shall not bear any responsibility or liability for any distributions made under or pursuant to the
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Plan; provided, however, that the Second Lien Notes Trustee will not be relieved of any such responsibility or liability
to the extent inconsistent with the provisions of the Second Lien Notes Indenture.

          Subject to the Third Lien Notes Trustee’s charging lien and priority of payment rights, distributions of (i) the
New Equity and (ii) to the extent the 3L MyT Distribution takes the form of a distribution by a Debtor, the 3L MyT
Distribution, in respect of Allowed Third Lien Notes Claims will be made through the facilities of DTC in accordance
with DTC’s customary practices; provided, however, that such distributions will only be issued in accordance with
DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a single holder for purposes of
distributions.

           The Third Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Third Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the Plan
with Holders of the Third Lien Notes Claims to the extent consistent with the customary practices of DTC, and all
distributions of (i) the New Equity, (ii) the New Warrants, and (iii) to the extent the 3L MyT Distribution takes the
form of a distribution by a Debtor, the 3L MyT Distribution, to be made to Holders of Third Lien Notes Claims shall
be delivered to the Third Lien Notes Trustee in a form that is eligible to be distributed through the facilities of DTC.

          Without in any way limiting the provisions of the Third Lien Notes Indentures, to the extent the Third Lien
Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date, including,
without limitation, reasonable and documented, professional fees, related to or in connection with the Plan, the
Confirmation Order, or the Third Lien Notes Indentures (as applicable), including, without limitation, in connection
with making distributions to Holders of Third Lien Notes Claims under the Plan, the Third Lien Notes Trustee shall
be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval, payment, in Cash,
of reasonable compensation for such services and reimbursement of such expenses (including, without limitation,
reasonable and documented attorneys’ fees and expenses) incurred in connection with such services. Upon
presentation of a summary invoice, payment of such compensation and reimbursement of such expenses shall be made
as soon as reasonably practicable, but in any case within the earlier of (i) the date upon which the Third Lien Notes
Trustee releases any Liens under the Plan or (ii) ten (10) days following the Third Lien Notes Trustee’s notification
to the Reorganized Debtors of the amount of such costs or expenses. On the Effective Date, the Debtors shall pay to
the Third Lien Notes Trustee the amount of $[____] for compensation for its services pursuant to Section 7.6 of the
Third Lien Notes Indentures and the Schedule of Fees entered into in connection with the Third Lien Notes Indentures.
This payment shall be in addition to all other fees and expenses the Third Lien Notes Trustee is entitled to receive
under the Plan, the Confirmation Order and the Third Lien Notes Indentures or otherwise. The Third Lien Notes
Trustee shall not bear any responsibility or liability for any distributions made under or pursuant to the Plan; provided,
however, that the Third Lien Notes Trustee will not be relieved of any such responsibility or liability to the extent
inconsistent with the provisions of the Second Lien Notes Indenture.

          Subject to the Cash Pay Notes Trustee’s and PIK Toggle Trustee’s charging lien and priority of payment
rights, distributions of the Series B Preferred Stock and Cash in respect of Allowed Funded-Debt General Unsecured
Claims will be made, to the extent practicable, through the facilities of DTC in accordance with DTC’s customary
practices. For the avoidance of doubt, DTC shall be considered a single holder for purposes of distributions.
Notwithstanding anything to the contrary in this Plan, the Cash Pay Notes and PIK Toggle Notes shall remain
outstanding solely so that the Debtors may continue to make all distributions, including post-Effective Date
distributions, to Holders of Allowed Funded-Debt General Unsecured Claims pursuant to the Plan.

         3.   De Minimis Distributions; Minimum Distributions.

          No fractional shares of New Equity shall be distributed and no Cash shall be distributed in lieu of such
fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed Interest
(as applicable) would otherwise result in the issuance of a number of shares of New Equity that is not a whole number,
the actual distribution of shares of New Equity shall be rounded as follows: (a) fractions of one-half (½) or greater
shall be rounded to the next higher whole number and (b) fractions of less than one-half (½) shall be rounded to the
next lower whole number with no further payment therefore. The total number of authorized shares of New Equity to
be distributed to Holders of Allowed Claims and Allowed Interests (as applicable) shall be adjusted as necessary to
account for the foregoing rounding.

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          The Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim or an Allowed
Interest on account of such Allowed Claim or Allowed Interest of New Equity, New Warrants, Exit Rights, if
applicable, or Cash where such distribution is valued, in the reasonable discretion of the Disbursing Agent, at less than
$100.00, and each Claim or Interest to which this limitation applies shall be discharged pursuant to Article VIII of the
Plan and its Holder shall be forever barred pursuant to Article VIII of the Plan from asserting that Claim against or
Interest in the Reorganized Debtors or their property.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that either (a) a distribution to any Holder is returned as undeliverable or (b) the Holder of an
Allowed Claim or Allowed Interest does not respond to a request by the Debtors or the Disbursing Agent for
information necessary to facilitate a particular distribution, no distribution to such Holder shall be made unless and
until the Disbursing Agent has determined the then-current address of such Holder or received the necessary
information to facilitate a particular distribution, at which time such distribution shall be made to such Holder without
interest, dividends, or other accruals of any kind; provided that such distributions shall be deemed unclaimed property
under section 347(b) of the Bankruptcy Code on the date that is six months after the later of (x) the Effective Date and
(y) the date of the distribution. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding
any applicable local, state, federal, or foreign escheat, abandoned, or unclaimed property laws to the contrary), and
the Claim or Interest of any Holder to such property or interest in property shall be discharged and forever barred.

E.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax
withholding and reporting requirements imposed on them by any Governmental Unit, and all distributions made
pursuant to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Reorganized Debtors and the Disbursing Agent shall (x) be authorized to take all actions
necessary to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions, or establishing any other
mechanisms they believe are reasonable and appropriate and (y) shall reasonably cooperate with the relevant recipients
to minimize any such withholding to the extent permitted by applicable Law. The Reorganized Debtors reserve the
right to allocate all distributions made under the Plan in compliance with all applicable wage garnishments, alimony,
child support, and other spousal awards, Liens, and encumbrances.

          The Debtors and the Consenting Stakeholders will negotiate in good faith with respect to the Debtors’ and
Consenting Parent’s (and Consenting Parent’s non-Debtor subsidiaries’) rights and responsibilities with respect to the
tax assets and obligations of the consolidated tax group (and any state and local tax group), which may be documented
in a Tax Sharing Agreement, and the Debtors’ and Consenting Parent’s (and Consenting Parent’s non-Debtor
subsidiaries’) rights and responsibilities with respect to the foregoing are reserved subject to resolution of the
foregoing and absent resolution of the foregoing, any claims or causes of action with respect to these rights and
obligations shall not be included in the releases in Article VIII of the Plan.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.



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H.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan or the Confirmation Order, or required by applicable
bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any prepetition Claims against
the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to interest accruing on or after
the Petition Date on any such prepetition Claim. Additionally, and without limiting the foregoing, interest shall not
accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a final
distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

I.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal (National Edition), on the Effective
Date.

J.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and Holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of
competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of any
Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all claims,
rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the applicable Holder.
In no event shall any Holder of Claims against, or Interests in, the Debtors be entitled to recoup any such Claim or
Interest against any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless
such Holder actually has performed such recoupment and provided notice thereof in writing to the Debtors in
accordance with Article XII.G of the Plan on or before the Effective Date, notwithstanding any indication in any Proof
of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result
in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the 14-day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to pay in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately

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upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, payment distributions to Holders of Allowed Claims covered by
Insurance Policies shall be in accordance with the provisions of any applicable Insurance Policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold
against any other Entity, including Insurers under any policies of Insurance Policies, nor shall anything contained
herein constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
Insurers.

                                ARTICLE VII.
  PROCEDURES FOR RESOLVING CONTINGENT, AND UNLIQUIDATED CLAIMS OR INTERESTS


A.       Allowance of Claims.

         After the Effective Date and subject to the terms of this Plan, each of the Reorganized Debtors and the GUC
Claims Administrator, as applicable, shall have and retain any and all rights and defenses such Debtor had with respect
to any Claim or Interest immediately prior to the Effective Date. The Debtors may affirmatively determine to deem
Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors and
the GUC Claims Administrator, as applicable, shall have the sole authority: (1) to File, withdraw, or litigate to
judgment, objections to Claims or Interests; (2) to settle or compromise any Disputed Claim without any further notice
to or action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy
Court. For the avoidance of doubt, except as otherwise provided herein, from and after the Effective Date, each
Reorganized Debtor and the GUC Claims Administrator, as applicable, shall have and retain any and all rights and
defenses that any Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, or the GUC Claims
Administrator, as applicable, may (but are not required to) at any time request that the Bankruptcy Court estimate any
Claim pursuant to applicable law, including, without limitation, pursuant to section 502(c) of the Bankruptcy Code
for any reason, regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and
1334 to estimate any such Claim, including during the litigation of any objection to any Claim or during the pendency
of any appeal relating to such objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has
been expunged from the Claims Register, but that either is subject to appeal or has not been the subject of a Final
Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
that the Bankruptcy Court estimates any Claim, such estimated amount shall constitute a maximum limitation on such
Claim for all purposes under the Plan (including for purposes of distributions and discharge) and may be used as
evidence in any supplemental proceedings, and the Debtors or Reorganized Debtors may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any Holder of a Claim that has been estimated pursuant to section 502(c) of the
Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has Filed a
motion requesting the right to seek such reconsideration on or before seven (7) days after the date on which such
Claim is estimated. Each of the foregoing Claims and objection, estimation, and resolution procedures are cumulative
and not exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.
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D.       Adjustment to Claims or Interests without Objection.

          Any Claim or Interest that has been paid, satisfied, amended, superseded, cancelled, or otherwise expunged
(including pursuant to the Plan) may be adjusted or expunged on the Claims Register at the direction of the
Reorganized Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the GUC
Claims Administrator having to File an application, motion, complaint, objection, or any other legal proceeding
seeking to object to such Claim or Interest and without any further notice to or action, order, or approval of the
Bankruptcy Court. Additionally, any Claim or Interest that is duplicative or redundant with another Claim or Interest
against the same Debtor may be adjusted or expunged on the Claims Register at the direction of the Reorganized
Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the GUC Claims
Administrator having to File an application, motion, complaint, objection, or any other legal proceeding seeking to
object to such Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors, the Reorganized
Debtors, or the GUC Claims Administrator, as applicable, or by a Final Order of the Bankruptcy Court for objecting
to such claims.

F.       Amendments to Proofs of Claim

         A Proof of Claim against any Debtor may be amended before the Confirmation Date only as agreed upon by
the Debtors or the GUC Claims Administrator, as applicable, and the Holder of such Claim or Interest or as otherwise
permitted by the Bankruptcy Court, the Bankruptcy Rules, or applicable nonbankruptcy law. On or after the Effective
Date, except as provided in the Plan or the Confirmation Order, a Proof of Claim may not be Filed or amended without
the prior authorization of the Bankruptcy Court or the Reorganized Debtors or the GUC Claims Administrator, as
applicable, and any such new or amended Proof of Claim Filed shall be deemed disallowed in full and expunged
without any further action, order, or approval of the Bankruptcy Court absent prior Bankruptcy Court approval or
agreement by the Debtors, Reorganized Debtors, or the GUC Claims Administrator, as applicable; provided that the
foregoing shall not apply to Administrative Claims other than 503(b)(9) Claims.

G.       Disallowance of Claims or Interests.

        Except as otherwise provided herein or as agreed to by the Reorganized Debtors and/or the GUC
Claims Administrator, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date shall be
deemed disallowed and expunged as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account
of such Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order.

                                        ARTICLE VIII.
                  SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Debtor Intercompany Claims resolved or compromised after the
Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities
of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties, regardless
of whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
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the Debtors before the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event of
default” by the Debtors or Affiliates with respect to any Claim or Interest that existed immediately before or on account
of the filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests subject to the
Effective Date occurring.

B.         Release of Liens.

          Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or any
contract, instrument, release, or other agreement or document created pursuant to the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to reinstate in accordance with Article III.B.1 hereof, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall
be fully released and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds
of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors
and assigns. Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property
of any Debtor (including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Lien, including the execution, delivery, and filing or recording of such releases.
The presentation or filing of the Confirmation Order to or with any federal, state, provincial, or local agency
or department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.

C.         Releases by the Debtors.

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after
the Effective Date, each Released Party is deemed released and discharged by the Debtors, the Reorganized
Debtors, and their Estates from any and all Causes of Action, including any derivative claims asserted on behalf
of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, or that any Holder of any Claim or Interest could have asserted on behalf of the Debtors, based on or
relating to, or in any manner arising from, in whole or in part:
     (a)   the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
           preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
           of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
           including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
           under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
         the Effective Date.


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        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,
without limitation, the Released Parties’ contributions to facilitating the Restructuring and implementing the
Plan; (b) a good faith settlement and compromise of the Claims released by the Debtor Release; (c) in the best
interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given
and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized
Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.



D.         Releases by Holders of Claims and Interests.

        As of the Effective Date, each Releasing Party is deemed to have released and discharged each Debtor,
Reorganized Debtor, and Released Party from any and all Causes of Action, including any derivative claims
asserted on behalf of the Debtors, that such Entity would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in part:
      (a) the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
          preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
           of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
           including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
           under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
         the Effective Date.
        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).


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         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for
the good and valuable consideration provided by the Released Parties; (d) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (e) in the best interests of the Debtors and their
Estates; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing;
and (h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the
Third-Party Release.

E.      Exculpation.

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, filing, or termination of the Restructuring Support Agreement and
related prepetition transactions, the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document (including providing any legal opinion requested
by any Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such legal
opinion) created or entered into in connection with the Disclosure Statement or the Plan, the filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, except for claims related to any act or omission that
is determined in a final order to have constituted actual fraud, willful misconduct, or gross negligence, but in
all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.      Injunction.

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may hold claims or
interests that have been released pursuant to the Plan, shall be discharged pursuant to the Plan, or are subject
to exculpation pursuant to the Plan, are permanently enjoined, from and after the Effective Date, from taking
any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, or any of the Released
Parties: (i) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such claims or interests; (ii) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against such Entities on account of
or in connection with or with respect to any such claims or interests; (iii) creating, perfecting, or enforcing any
lien or encumbrance of any kind against such Entities or the property or the estates of such Entities on account
of or in connection with or with respect to any such claims or interests; (iv) asserting any right of setoff,
subrogation, or recoupment of any kind against any obligation due from such Entities or against the property
of such Entities on account of or in connection with or with respect to any such claims or interests unless such

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Entity has timely asserted such setoff right in a document filed with the Bankruptcy Court explicitly preserving
such setoff, and notwithstanding an indication of a claim or interest or otherwise that such Entity asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (v) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such claims or interests released or settled pursuant to the Plan.

G.         Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.         Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.         Reimbursement or Contribution.

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to section
502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of allowance or
disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of the Bankruptcy
Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent or (2) the relevant
Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been
entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                          ARTICLE IX.
                       CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.         Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date of the Plan that the following conditions shall have been satisfied
or waived pursuant to the provisions of Article IX.B hereof:

              1.   the Confirmation Order shall have been entered and shall not have been stayed;

              2. the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
     documents that are necessary to implement and effectuate the Restructuring Transactions, including the Plan, the
     Restructuring Support Agreement shall remain in full force and effect, and there shall have been no determination
     by the Debtors, including by the disinterested managers on behalf of the Debtors, to not grant any of the releases to
     Consenting Stakeholders contemplated by the Restructuring Support Agreement;

              3.   the Final DIP Order shall remain in full force and effect;

              4. the final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
     therein, and all other schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the
     Restructuring Support Agreement in all material respects, and shall have been filed in a manner consistent with the
     Restructuring Support Agreement;

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             5. all Allowed Professional Fee Claims shall have been paid in full or amounts sufficient to pay such
     Allowed Professional Fee Claims after the Effective Date shall have been placed in the Professional Fee Escrow
     Account pending approval of the Professional Fee Claims by the Bankruptcy Court;

             6. the fees and expenses of the Consenting Noteholder Group Advisors, as well as the Consenting Lender
     Fees and Expenses, shall have been paid in full in accordance with the Restructuring Support Agreement

              7. the Restructuring Support Agreement shall remain in full force and effect and shall not have been
     terminated;

              8. entry into the Exit Facility Documents, and all conditions precedent to the consummation of such Exit
     Facility Documents, shall have been waived or satisfied in accordance with their terms thereof and the closing of
     such Exit Facility Documents shall have occurred;

              9. entry into the Definitive Documentation (including, without limitation, the New MYT Documents) as
     contemplated under the Restructuring Support Agreement, and all conditions to the entry into and/or consummation
     of such Definitive Documentation, as applicable, shall have been waived or satisfied in accordance with their terms
     and the terms of the Restructuring Support Agreement; and

              10. the New Equity shall have been issued by Reorganized Neiman.

B.         Waiver of Conditions.

         The conditions to Confirmation and Consummation set forth in this Article IX may be waived by the Debtors
only with the prior written consent of the Consenting Parent (to the extent material or adverse to the interests of the
Consenting Parent), the Consenting Sponsors (to the extent material or adverse to the interests of the Consenting
Sponsors), Required Consenting Term Loan Lenders, the Required Consenting Noteholders, and the Required
Consenting Debentures Parties (email shall suffice), without notice, leave, or order of the Bankruptcy Court or any
formal action other than proceedings to confirm or consummate the Plan.

C.         Effect of Failure of Conditions.

          If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors, Claims, or
Interests; (2) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity;
or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or
Interests, or any other Entity.

                                          ARTICLE X.
                     MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.         Modification and Amendments.

          Except as otherwise specifically provided in the Plan and to the extent permitted by the Restructuring Support
Agreement, the Debtors reserve the right to modify the Plan, whether such modification is material or immaterial, and
seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to those restrictions on modifications set forth in the Plan and the requirements of section 1127 of the
Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections
1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke
or withdraw, or, to alter, amend, or modify the Plan with respect to such Debtor, one or more times, after Confirmation,
and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan,
or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.



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B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                ARTICLE XI.
                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

          1.    allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
status, or amount of any Claim or Interest, including the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims or Interests;

         2.    decide and resolve all matters related to the granting and denying, in whole or in part, any applications
for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the Bankruptcy
Code or the Plan;

         3.      resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to section
365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or Unexpired
Lease that is assumed; (c) the Reorganized Debtors amending, modifying, or supplementing, after the Effective Date,
pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and
Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is
or was executory or expired;

        4.    ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
accomplished pursuant to the provisions of the Plan;

         5.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective Date;

         6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         7.     enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents created
in connection with the Plan or the Disclosure Statement;
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        8.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

          9. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection with
the Plan;

          10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
restrain interference by any Entity with Consummation or enforcement of the Plan;

         11. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;

         12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Article VI.K hereof;

         13. enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
stayed, reversed, revoked, or vacated;

        14. determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

         15.    enter an order concluding or closing the Chapter 11 Cases;

         16.    adjudicate any and all disputes arising from or relating to distributions under the Plan;

         17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         18. determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
of the Bankruptcy Code;

        19. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

         20. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code;

         21. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions and releases granted in the Plan, including under Article VIII hereof, regardless
of whether such termination occurred prior to or after the Effective Date;

         22.    enforce all orders previously entered by the Bankruptcy Court; and

         23.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the Exit Facility shall
be governed by the jurisdictional provisions therein and the Bankruptcy Court shall not retain any jurisdiction with
respect thereto.


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                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the Plan
Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized
Debtors, and any and all Holders of Claims or Interests (irrespective of whether such Claims or Interests are deemed
to have accepted the Plan), all Entities that are parties to or are subject to the settlements, compromises, releases,
discharges, and injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all non-
Debtor parties to Executory Contracts and Unexpired Leases with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may File with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and members
thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases. The
Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of or
advisors to any statutory committees after the Effective Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the
Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.




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G.      Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

        1.   if to the Debtors, to:

                   Neiman Marcus Group LTD LLC
                   One Marcus Square
                   1618 Main Street
                   Dallas, TX 75201
                   Attention: Tracy M. Preston
                   Email address: tracy_preston@neimanmarcus.com

                   with copies to:

                   Kirkland & Ellis LLP
                   300 North LaSalle
                   Chicago, Illinois 60654
                   Facsimile: (312) 862-2200
                   Attention: Anup Sathy, P.C., Chad J. Husnick, P.C., Dan Latona, and Carole Wurzelbacher
                   E-mail addresses: anup.sathy@kirkland.com, chad.husnick@kirkland.com,
                   dan.latona@kirkland.com, carole.wurzelbacher@kirkland.com

                   -and-

                   Kirkland & Ellis LLP
                   601 Lexington Avenue
                   New York, New York 10022
                   Facsimile: (212) 446-4900
                   Attention: Matthew C. Fagen, Gary Kavarsky, Maya Ben Meir, and Lara Luo
                   E-mail addresses: matthew.fagen@kirkland.com, gary.kavarsky@kirkland.com,
                   maya.benmeir@kirkland.com, lara.luo@kirkland.com

        2.   if to the Official Committee of Unsecured Creditors, to:

                   Cole Schotz P.C.
                   301 Commerce Street, Suite 1700
                   Fort Worth, Texas 76102
                   Attention: Michael D. Warner and Benjamin L. Wallen
                   E-mail addresses: mwarner@coleschotz.com, bwallen@coleschotz.com

                   -and-

                   Pachulski Stang Ziehl & Jones LLP
                   10100 Santa Monica Boulevard, 13th Floor
                   Los Angeles, California 90067-4100
                   Attention: Richard M. Pachulski, Jeffrey N. Pomerantz, Alan J. Kornfeld, Maxim B. Litvak,
                   Steven W. Golden
                   E-mail addresses: rpachulski@pszjlaw.com, jpomerantz@pszjlaw.com, akornfeld@pszjlaw.com,
                   mlitvak@pszjlaw.com, sgolden@pszjlaw.com



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        After the Effective Date, the Debtors have authority to send a notice to Entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents pursuant
to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

          Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement) supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://cases.stretto.com/nmg or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall
control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, but only so as to be consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not
be deleted or modified without the Debtors’ consent, provided, that any such deletion or modification must be
consistent with the Restructuring Support Agreement; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code, the
Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold under
the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized Debtors
will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of votes on
the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous
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M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument, including
the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority, secured or not
subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if such agreement
was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court prior to the
Confirmation Date.



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Dated: August 3, 2020


                                        /s/ Mark Weinsten
                                        Mark Weinsten
                                        Chief Restructuring Officer of
                                        Neiman Marcus Group LTD LLC




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                                Exhibit B

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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

                                                                       )
   In re:                                                              )   Chapter 11
                                                                       )
                                                    1
   NEIMAN MARCUS GROUP LTD LLC, et al.,                                )   Case No. 20-32519 (DRJ)
                                                                       )
                                Debtors.                               )   (Jointly Administered)
                                                                       )
                   DEBTORS’ FIRST AMENDED JOINT PLAN OF REORGANIZATION
            PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE (SOLICITATION VERSION)¶

   THIS PLAN IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT BEEN APPROVED BY THE
   BANKRUPTCY COURT. THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF
   THE PLAN. ACCEPTANCE OR REJECTION MAY NOT BE SOLICITED UNTIL A DISCLOSURE
   STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THE INFORMATION IN THE
   PLAN IS SUBJECT TO CHANGE. THIS PLAN IS NOT AN OFFER TO SELL ANY SECURITIES AND IS
   NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.

                                                              ¶
Matthew D. Cavenaugh (TX Bar No. 24062656)                     Anup Sathy, P.C. (admitted pro hac vice)
Jennifer F. Wertz (TX Bar No. 24072822)                        Chad J. Husnick, P.C. (admitted pro hac vice)
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1401 McKinney Street, Suite 1900                               Chicago, Illinois 60654
Houston, Texas 77010                                           Telephone:         (312) 862-2000
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Email:            mcavenaugh@jw.com                                               chad.husnick@kirkland.com

Co-Counsel to the Debtors                                      -and-
and Debtors in Possession
                                                               Matthew C. Fagen (admitted pro hac vice)
                                                               KIRKLAND & ELLIS LLP
                                                               KIRKLAND & ELLIS INTERNATIONAL LLP
                                                               601 Lexington Avenue
                                                               New York, New York 10022
                                                               Telephone:      (212) 446-4800
   1
         The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
       number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman, Inc. (5530); Bergdorf Graphics, Inc.
       (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings, LLC (5829);
       NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage Parent
       Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust (3700);
       NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664); NMG
       Notes Propco LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term Loan Propco
       LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The
       NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The location of the debtors’ service
       address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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                                             Facsimile:      (212) 446-4900
                                             Email:          matthew.fagen@kirkland.com

                                             Co-Counsel to the Debtors
                                             and Debtors in Possession
Dated: July 30,August 3, 2020




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                                                INTRODUCTION

         The Debtors propose this Plan for the resolution of the outstanding Claims against and Interests in the
Debtors pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise defined
have the meanings ascribed to such terms in Article I.A of this Plan. Although proposed jointly for administrative
purposes, the Plan constitutes a separate Plan for each Debtor for the resolution of outstanding Claims and Interests
pursuant to the Bankruptcy Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure
Statement for a discussion of the Debtors’ history, businesses, assets, results of operations, historical financial
information, and projections of future operations, as well as a summary and description of this Plan, the
Restructuring Transactions, and certain related matters. The Debtors are the proponents of the Plan within the
meaning of section 1129 of the Bankruptcy Code.

       ALL HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                             Article I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                            COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

       1.       “2013 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2020.

          2.       “2013 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2013 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        3.       “2013 Term Loans Deficiency Claim” means any 2013 Term Loans Claim that is not a 2013 Term
Loans Secured Claim.

        4.     “2013 Term Loans Lenders” means those banks, financial institutions, and other lenders holding
2013 Term Loans under the Term Loan Credit Agreement.

         5.       “2013 Term Loans Secured Claim” means any 2013 Term Loans Claim that is a Secured Claim.

       6.       “2019 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2023.

          7.       “2019 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2019 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        8.      “2019 Term Loans Deficiency Claim” means any 2019 Term Loans Claim that is not a 2019 Term
Loans Secured Claim.

        9.     “2019 Term Loan Lenders” means those banks, financial institutions, and other lenders holding
2019 Term Loans under the Term Loan Credit Agreement.

         10.      “2019 Term Loans Secured Claim” means any 2019 Term Loans Claim that is a Secured Claim.

        11.      “2028 Debentures” means the 7.125% Senior Debentures due 2028 issued pursuant to the 2028
Debentures Indenture.




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         12.      “2028 Debentures Indenture” means that certain indenture dated as of May 27, 1998, as
supplemented by the first supplemental indenture, dated as of July 11, 2006, the second supplemental indenture,
dated as of August 14, 2006, and the third supplemental indenture, dated as of June 7, 2019, by and among The
Neiman Marcus Group LLC (f/k/a The Neiman Marcus Group, Inc.), the guarantors party thereto and Wilmington
Savings Fund Society, FSB (as successor to The Bank of New York Mellon Trust Company, N.A.), as trustee.

          13.     “2028 Debentures Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2028 Debentures.

        14.     “2028 Debentures Deficiency Claim” means any 2028 Debentures Claim that is not a 2028
Debentures Secured Claim.

         15.      “2028 Debentures Secured Claim” means any 2028 Debentures Claim that is a Secured Claim.

         16.      “2028 Debentures Trustee” means Wilmington Savings Fund Society, FSB, solely in its capacity
as successor to The Bank of New York Mellon Trust Company, N.A., or any successor thereto.

         17.      “2L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Second Lien Noteholders with respect to MyTheresa, as set forth in
the Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such
security or instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through
the New MyT Documents.

         18.       “3L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Third Lien Noteholders with respect to MyTheresa, as set forth in the
Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such security or
instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through the New MyT
Documents.

         19.      “ABL Agent” means Deutsche Bank AG New York Branch, solely in its capacity as administrative
and collateral agent under the ABL Credit Agreement.

         20.     “ABL Credit Agreement” means that certain Revolving Credit Agreement, dated as of October 25,
2013, by and among NMG LTD and certain Debtors, as co-borrowers, each of the guarantors party thereto, the ABL
Agent, and the ABL Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

       21.      “ABL Lenders” means those banks, financial institutions, and other lenders party to the ABL Credit
Agreement from time to time.

       22.        “ABL Loans” means those certain loans issued under and on the terms set forth in the ABL Credit
Agreement.

         23.    “ABL Loan Claim” means any Claim arising under, derived from, secured by, based on, or related
to the ABL Loans and the guarantees in respect thereof under the ABL Credit Agreement.

         24.      “ABL Loan Secured Claim” means any ABL Loan Claim that is a Secured Claim.


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         25.       “Administrative Claim” means a Claim for costs and expenses of administration of the Estates
under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and
necessary costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the
businesses of the Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; and (c) all fees and charges
assessed against the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930.

        26.      “Administrative Claims Bar Date” means the deadline for filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date.

         27.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        28.      “Agents” means any administrative agent, collateral agent, or similar Entity under any of the ABL
Credit Agreement, the Term Loan Credit Agreement, the Exit Facility Credit Agreement, and the DIP Credit
Agreement, including any successors thereto.

         29.      “Aggregate DIP Equity Fees” means the: (a) DIP Backstop Fee; and (b) DIP Exit Fee.

         30.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that
is evidenced by a Proof of Claim Filed by the Claims Bar Date or a request for payment of an Administrative Claim
Filed by the Administrative Claim Bar Date, as applicable (or for which Claim under the Plan, the Bankruptcy Code,
or pursuant to a Final Order, a Proof of Claim or request for payment of Administrative Claim is not or shall not be
required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed,
and for which no Proof of Claim, as applicable, has been timely Filed; or (c) a Claim allowed pursuant to the Plan or
a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above,
such Claim shall be considered Allowed only if and to the extent that with respect to such Claim no objection to the
allowance thereof is interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed
by a Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or
disputed, and for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by a
Final Order, is not considered Allowed and shall be expunged without further action by the Debtors and without
further notice to any party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the
contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed
unless and until such Entity pays in full the amount that it owes the applicable Debtor or Reorganized Debtor, as
applicable. For the avoidance of doubt, a Proof of Claim Filed after the Claims Bar Date or a request for payment of
an Administrative Claim Filed after the Administrative Claim Bar Date, as applicable, shall not be Allowed for any
purposes whatsoever absent entry of a Final Order allowing such late-filed Claim. “Allow” and “Allowing” shall
have correlative meanings.

          31.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims,
actions, or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in
interest have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy
Code or under similar or related state or federal statutes and common law.

         32.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

         33.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         34.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section
2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

        35.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

          36.       “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.
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         37.     “Cash Pay Notes” means those certain 8.000% senior unsecured notes due 2021 issued pursuant to
the Cash Pay Notes Indenture.

        38.      “Cash Pay Notes Claims” means all Claims against the Debtors arising under, derived from, or
based upon the Cash Pay Notes Indenture and the Cash Pay Notes.

         39.      “Cash Pay Notes Indenture” means that certain indenture, dated as of October 25, 2013, by and
among the Notes Issuers, the guarantors party thereto, and the Cash Pay Notes Trustee, as supplemented by the first
supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental indenture, dated
as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time to time.

         40.      “Cash Pay Notes Trustee” means UMB Bank, N.A., solely in its capacity as successor to
Drivetrain Trust Company LLC and U.S. Bank National Association, or any successor thereto, as trustee under the
Cash Pay Notes Indenture.

          41.       “Causes of Action” means any action, claim, cause of action, controversy, demand, right, action,
lien, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset, power,
privilege, and license of any kind or character whatsoever, whether known, unknown, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Cause of Action” includes: (a)
any right of setoff, counterclaim, or recoupment and any Claim for breach of contract or for breach of duties imposed
by law or in equity; (b) any Claim based on or relating to, or in any manner arising from, in whole or in part, tort,
breach of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or voidable transaction
law, violation of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim pursuant to Section 362 or chapter 5 of the
Bankruptcy Code or similar local, state, or federal U.S. or non-U.S. law; (d) any Claim or defense including fraud,
mistake, duress, and usury, and any other defenses set forth in section 558 of title 11 of the United States Code; (e)
any state or foreign law pertaining to actual or constructive fraudulent transfer, fraudulent conveyance, or voidable
transactions; and (f) any “lender liability” or equitable subordination claims or defenses.

          42.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           43.    “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

        44.       “Claims and Noticing Agent” means Stretto, the claims, noticing, and solicitation agent retained by
the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

          45.      “Claims Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
must be Filed with respect to such Claims, other than Administrative Claims, Claims held by Governmental Units, or
other Claims or Interests for which the Bankruptcy Court entered an order excluding the holders of such Claims or
Interests from the requirement of Filing Proofs of Claim.

         46.     “Claims Register” means the official register of Claims and Interests in the Debtors maintained by
the Claims and Noticing Agent.

        47.      “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to section
1122(a) of the Bankruptcy Code.

           48.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

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        49.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of
the Chapter 11 Cases.

        50.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation
Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

         51.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on confirmation of the
Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         52.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         53.       “Consenting 2L Parties” means Holders of Second Lien Notes Claims that are or become parties
to the Restructuring Support Agreement.

         54.      “Consenting 3L Parties” means Holders of Third Lien Notes Claims that are or become parties to
the Restructuring Support Agreement.

          55.      “Consenting Debentures Parties” means Holders of 2028 Debentures Claims that are or become
parties to the Restructuring Support Agreement.

         56.     “Consenting Lender Fees and Expenses” has the meaning ascribed to such term in the
Restructuring Support Agreement.

         57.      “Consenting Noteholder Group” means the group or committee of Consenting Noteholders
represented by the Consenting Noteholder Group Advisors.

        58.     “Consenting Noteholder Group Advisors” means, collectively, Paul, Weiss, Rifkind, Wharton &
Garrison LLP, Porter Hedges LLP, and Houlihan Lokey, Inc.

        59.    “Consenting Noteholders” means the Noteholders that are or become party to the Restructuring
Support Agreement.

        60.      “Consenting Parent” means NMG, Inc.

         61.       “Consenting Term Loan Lender Group” means the group of Consenting Term Loan Lenders
represented by the Consenting Term Loan Lender Group Advisors, the membership of which, for purposes of this
Plan, shall not change after the Petition Date absent the consent of each current member of the group or committee.

        62.     “Consenting Term Loan Lender Group Advisors” means, collectively, Wachtell, Lipton, Rosen &
Katz, Vinson & Elkins LLP, and Ducera Partners LLC.

          63.      “Consenting Term Loan Lenders” means the Holders of Term Loan Claims that are or become
party to the Restructuring Support Agreement.

         64.     “Consenting Sponsors” means, collectively: (a) Ares Corporate Opportunities Fund III, L.P.; (b)
Ares Corporate Opportunities Fund IV, L.P.; (c) CPP Investment Board USRE Inc.; and (d) the foregoing Entities’
investment funds or vehicles that directly or indirectly hold or control equity interests in the Debtors, but not
including any operating portfolio company of any of the foregoing.

       65.      “Consenting Stakeholders” means any party (other than the Debtors) to the Restructuring Support
Agreement, including (a) each Consenting Debentures Party; (b) each Consenting Noteholder; (c) each Consenting
Term Loan Lender; (d) the Consenting Parent; and (e) each Consenting Sponsor.

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         66.     “Consummation” means the occurrence of the Effective Date.

         67.     “Creditors Committee” means the Official Committee of Unsecured Creditors in these chapter 11
cases.

        68.       “Cure” means a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

        69.    “Debtors” means, collectively, each of the following: Neiman Marcus Group LTD LLC, Bergdorf
Goodman Inc., Bergdorf Graphics, Inc., BG Productions, Inc., Mariposa Borrower, Inc., Mariposa Intermediate
Holdings LLC, NEMA Beverage Corporation, NEMA Beverage Holding Corporation, NEMA Beverage Parent
Corporation, NM Bermuda, LLC, NM Financial Services, Inc., NM Nevada Trust, NMG California Salon LLC,
NMG Florida Salon LLC, NMG Global Mobility, Inc., NMG Notes PropCo LLC, NMG Salon Holdings LLC, NMG
Salons LLC, NMG Term Loan PropCo LLC, NMG Texas Salon LLC, NMGP, LLC, The Neiman Marcus Group
LLC, The NMG Subsidiary LLC, and Worth Avenue Leasing Company.

         70.     “Debtor Release” means the release set forth in Article VIII.C of this Plan.

          71.       “Definitive Documentation” means the definitive documents and agreements governing the
Restructuring Transactions (including any related orders, agreements, instruments, schedules, or exhibits) that are
contemplated by and referenced in the Plan (as amended, modified, or supplemented from time to time), including
the following: (a) the Plan (and all exhibits, ballots, solicitation procedures, and other documents and instruments
related thereto); (b) Definitive Documents (as defined in the Restructuring Support Agreement); (c) the Confirmation
Order; (d) the order of the Bankruptcy Court approving the Disclosure Statement and the other Solicitation
Materials; (e) the Plan Supplement; (f) the DIP Orders, the DIP Credit Agreement, and the other DIP documents,
and related documentation; (g) the Exit Credit Agreement; (h) the Governance Documents (as defined in the
Restructuring Support Agreement); (i) the New MyT Documents, and (j) all other material documents necessary or
customarily required to consummate the Restructuring Transactions.

         72.      “Description of Transaction Steps” means the description of the steps to be carried out to
effectuate the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement.

        73.     “DIP Agent” means Cortland Products Corp., as administrative and collateral agent under the DIP
Credit Agreement.

         74.      “DIP Backstop Fee” means a backstop fee equal to 6.0% of the full principal commitment of the
DIP Facility, payable in shares of New Equity in an aggregate amount equal to the DIP Backstop Fee (expressed in
dollars) divided by 65.0% of the Plan Equity Value, and payable ratably to each member of the Consenting Term
Loan Lender Group and Consenting Noteholder Group in accordance with its DIP Facility backstop commitment.

       75.       “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit
agreement, dated as of May 11, 2020, by and among Mariposa Intermediate Holdings LLC, NMG LTD, NMG, and
NMG Subsidiary, the guarantors party thereto, the DIP Agent, and the DIP Lenders, as approved by the DIP Order.

        76.       “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other agreements,
documents, instruments, and amendments related thereto, including the DIP Order and any guaranty agreements,
pledge and collateral agreements, UCC financing statements or other perfection documents, intercreditor agreements,
subordination agreements, fee letters, commitment letters, and other security agreements.

         77.     “DIP Credit Party” means, individually or collectively, the DIP Agent and/or the DIP Lenders.

          78.      “DIP Exit Fee” means an exit fee equal to 3.0% of the full principal commitment of the DIP
Facility, payable in shares of New Equity in an aggregate amount equal to the DIP Exit Fee (expressed in dollars)
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divided by 65.0% of the Plan Equity Value, and payable ratably to each DIP Lender based on such DIP Lender’s
DIP Facility Claims immediately prior to satisfaction in full thereof.

       79.        “DIP Facility” means that certain debtor-in-possession credit facility created under the DIP Credit
Agreement.

         80.      “DIP Facility Claim” means any and all Claims held by any of the DIP Lenders or the DIP Agent
arising under, derived from, or based upon the DIP Credit Agreement, any other agreement, instrument or document
executed at any time in connection therewith, including, without limitation, all Obligations under (and as defined in)
the DIP Credit Agreement Documents, or the DIP Order.

       81.        “DIP Lenders” means the banks, financial institutions, and other lenders under the DIP Credit
Agreement.

         82.      “DIP Order” means, collectively, the Interim DIP Order and the Final DIP Order.

         83.      “Disbursing Agent” means, as applicable, the Reorganized Debtors or any Entity the Reorganized
Debtors select to make or to facilitate distributions in accordance with the Plan, which Entity may include the Claims
and Noticing Agent; provided, however, that with respect to the (a) Second Lien Notes, the Disbursing Agent shall
consult with the Second Lien Notes Trustee with respect to distributions to the Second Lien Noteholders on account
of the Second Lien Notes Claim to be made in accordance with the Plan and; (b) Third Lien Notes, the Third Lien
Notes Trustee shall make or facilitate distributions to the Third Lien Noteholders on account of the Third Lien Notes
Claim in accordance with the Plan; and (c) General Unsecured Claims, the GUC Claims Administrator shall
make or facilitate distributions to Holders of General Unsecured Claims in accordance with the Plan.

         84.     “Disclosure Statement” means the Disclosure Statement Relating to the Debtors’ First Amended
Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules
thereto.

        85.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

         86.      “Disinterested Manager Settlement” has the meaning assigned to such term in Article IV.A.

          87.      “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed; (b)
that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect to
which a party in interest has filed a Proof of Claim or otherwise made a written request to a Debtor for payment,
without any further notice to or action, order, or approval of the Bankruptcy Court.

         88.      “Distribution Record Date” means, other than with respect to publicly held securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be the first
day of the Confirmation Hearing.

         89.      “DTC” means the Depository Trust Company.

          90.      “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A. of the Plan have been satisfied or waived in accordance with Article IX.B. of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        91.       “Employment Obligations” means any existing obligations to employees to be assumed, reinstated,
or honored, as applicable, in accordance with Article IV.O of the Plan.

         92.      “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

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         93.      “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy
Code.

         94.      “ERISA” means Title IV of the Employee Retirement Income Security Act of 1974, as amended.

         95.      “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

         96.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) any official committees appointed in the Chapter 11 Casesthe Creditors Committee and each of their
respectiveits members; and (c) with respect to each of the foregoing entities, each such Entity’s current and former
predecessors, successors, Affiliates (regardless of whether such interests are held directly or indirectly), subsidiaries,
direct and indirect equity holders, Professionals, and advisors.

         97.     “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

          98.       “Existing Equity Interests” means any Equity Security, including all issued, unissued, authorized,
or outstanding shares of capital stock and any other common stock, preferred stock, limited liability company
interests, and any other equity, ownership, or profit interests of Mariposa Intermediate, including all options,
warrants, rights, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, repurchase
rights, convertible, exercisable, or exchangeable securities, or other agreements, arrangements, or commitments of
any character relating to, or whose value is related to, any such interest or other ownership interest in Mariposa
Intermediate, whether or not arising under or in connection with any employment agreement and whether or not
certificated, transferable, preferred, common, voting, or denominated “stock” or a similar security.

          99. “Existing MYT Transaction Documents” means (a) the Letter Agreement made and entered into as of
June 7, 2019, by and between MYT Parent Co. and MYT Holding Co. pertaining to, among other things, the MYT
Waterfall (as defined therein); (b) the Amended and Restated Certificate of Incorporation of MYT Holding Co., as
filed with the Secretary of State of Delaware on June 5, 2019; (c) the Certificate of Designation of Cumulative Series
A Preferred Stock of MYT Holding Co., as filed with the Secretary of State of Delaware on June 6, 2019; (d) the
Certificate of Designation of Cumulative Series B Preferred Stock of MYT Holding Co., as filed with the Secretary
of State of Delaware on June 6, 2019; (e) the Guarantee and Collateral Agreement, dated as of June 7, 2019, among
MYT Parent Co., each Grantor party thereto, and Ankura Trust Company, LLC, as Trustee and as Collateral Agent;
and (f) the Pledge Agreement, dated and effective as of June 7, 2019, between MYT Parent Co., as the Pledgor,
MYT Holding Co., Wilmington Trust, National Association, as the 8.000% Third Lien Notes Trustee as 8.750%
Third Lien Notes Trustee and Collateral Agent.

         100.     “Exit Facility” means either (a) the new financing in the aggregate principal amount of $750
million, consisting of a new term loan facility and/or, to the extent agreed upon by the Debtors, the Consenting Term
Loan Lender Group and the Consenting Noteholder Group, secured notes, in each case consistent with the terms and
conditions set forth in the Exit Facility Term Sheet and entered into on the Effective Date on the terms and
conditions set forth in the Exit Facility Documents or (b) another secured exit financing (including in the form of
secured notes) in the approximate aggregate principal amount of $750 million entered into in connection with the
consummation of the Plan, on terms mutually agreed among the Consenting Term Loan Lender Group, the
Consenting Noteholder Group and the Debtors.

          101.     “Exit Facility Credit Agreement” means the credit agreement governing the Exit Facility, which
shall (i) be on the terms set forth in the Exit Facility Term Sheet and otherwise in accordance with this Agreement
and (ii) become effective on the Effective Date.

         102.     “Exit Facility Documents” means the agreements memorializing the Exit Facility, including the
Exit Facility Credit Agreement and any amendments, modifications, supplements thereto, and together with any
related notes, certificates, agreements, intercreditor agreements, security agreements, mortgages, deeds of trust,

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documents, and instruments (including any amendments, restatements, supplements, or modifications of any of the
foregoing) related to or executed in connection with the Exit Facility.

            103.   “Exit Facility Lenders” means those lenders party to the Exit Facility Credit Agreement.

         104.     “Exit Facility Term Sheet” means the Exit Facility Term Sheet attached as Exhibit 2 to Exhibit B
of the Restructuring Support Agreement.

         105.    “Exit Rights” means the rights to participate in the Exit Facility in accordance with the Exit Rights
Offering Procedures.

         106.     “Exit Rights Offering Procedures” means the procedures for participation in the Exit Facility set
forth in the “Exit Loan Rights Offering Procedures” in the form attached to the Disclosure Statement Order as
Schedule 12.

         107.     “Exit Term Loan Backstop Fee” means a backstop fee equal to 6.50% of the aggregate principal
amount of the fully committed Exit Facility, payable in shares of New Equity in the aggregate amount equal to such
fee divided by 65.0% of the Plan Equity Value, and payable ratably to each of the Exit Term Loan Backstop Parties
based on such Exit Term Loan Backstop Parties’ commitment percentage to fund the full amount of the Exit Facility.

         108.    “Exit Term Loan Backstop Parties” means the parties listed on Schedule 1 to Exhibit 2 to Exhibit
B to the Restructuring Support Agreement (as such Schedule shall have been amended from time to time in
accordance with the terms thereof, including pursuant to the Exit Syndication Procedures (as defined in the
Restructuring Support Agreement)).

        109.      “Exit Term Loan Equity Fees” means (a) the Exit Term Loan Backstop Fee; and (b) the Exit Term
Loan Participation Fee.

          110.     “Exit Term Loan Participation Fee” means a fee equal to 30.0% of New Equity (subject to dilution
from the Management Incentive Plan and New Warrants), payable ratably to each 2019 Term Loan Lender, 2013
Term Loan Lender, 2028 Debentures Holder, Second Lien Noteholder, and/or Third Lien Noteholder who commits
to participate in the Exit Facility in accordance with the Exit Rights Offering Procedures and, if required to do so,
funds its commitment and, unless the Exit Facility takes the form described in clause (b) of the definition of
Exit Facility, funds its commitment.

            111.   “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        112.     “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the
Chapter 11 Cases. “Filed” and “Filing” shall have correlative meanings.

         113.    “FILO Claim” means any Claim arising under, derived from, secured by, based on, or related to,
and the guarantees in respect thereof under the FILO Facility.

       114.        “FILO Facility” means the $100.0 million last-out term loan facility under the ABL Credit
Agreement.

            115.   “FILO Secured Claim” means any FILO Claim that is a Secured Claim.

            116.   “FILO Lenders” means those banks, financial institutions, and other lenders under the FILO
Facility.

        117.       “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may be
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filed has been resolved by the highest court to which the order or judgment could be appealed or from which
certiorari could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no
modification of such order, or has otherwise been dismissed with prejudice.

        118.     “Final DIP Order” means the Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition
Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 850].

         119.     “Funded-Debt General Unsecured Claim” means any Cash Pay Notes Claim or PIK Toggle Notes
Claim.

         120.       “General Unsecured Claim” means any Claim that is not (a) an Administrative Claim, (b) a
Professional Fee Claim, (c) a Priority Tax Claim, (d) a DIP Facility Claim, (e) an Other Secured Claim, (f) an Other
Priority Claim, (g) an ABL Loan Secured Claim, (h) a FILO Secured Claim, (i) a 2019 Term Loans Secured Claim,
(j) a 2013 Term Loans Secured Claim, (k) a 2028 Debentures Secured Claim, (l) a Second Lien Notes Secured
Claim, (m) a Third Lien Notes Secured Claim, an (n) an Intercompany Claim; (o) a 2013 Term Loans Deficiency
Claim; (p) a 2019 Term Loans Deficiency Claim; (q) a 2028 Debentures Deficiency Claim; (r) a Second Lien Notes
Deficiency Claim; or (s) a Third Lien Notes Deficiency Claim.

         121.     “Governance Term Sheet” means the Governance Term Sheet attached as Exhibit F to the
Restructuring Support Agreement.

         122.     “Governing Body” means the board of directors, board of managers, manager, general partner,
investment committee, special committee, or such similar governing body of any of the Debtors or the Reorganized
Debtors, as applicable.

        123.    “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.

         124.    “GUC Claims Administrator” means any Entity the Debtors and Creditors Committee appoints to
reconcile General Unsecured Claims after the Effective Date. The GUC Claims Administrator shall be identified in
the Plan Supplement and shall have a budget of $1.5 million, which shall be funded by the Reorganized Debtors.

         125.     “Holder” means an Entity holding a Claim or Interest.

         126.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        127.      “Indentures” means the 2028 Debenture Indenture, the Cash Pay Notes Indenture, the PIK Toggle
Notes Indenture, the Second Lien Notes Indenture, and the Third Lien Notes Indentures.

          128.       “Intercompany Claims” means any Claim against a Debtor that is held by another Debtor or a
direct or indirect subsidiary of a Debtor.

        129.     “Intercompany Interests” means an Interest in a Debtor held by another Debtor and, for the
avoidance of doubt, excludes the Existing Equity Interests.

         130.     “Interest” means, collectively, (a) any Equity Security, or any other equity or ownership interest
(including any such interest in a partnership, limited liability company, or other Entity), in any Debtor, (b) any other
rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
repurchase rights, convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other ownership interest
in any Debtor, and (c) any and all Claims that are otherwise determined by the Court to be an equity interest,
including any Claim or debt that is recharacterized as an equity interest or subject to subornation as an equity interest
pursuant to section 510(b) of the Bankruptcy Code.

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         131.    “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to (A) Obtain
Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
Parties, (III) Modifying the Automatic Stay (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
[Docket No. 254].

          132.   “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

        133.       “Insurance Policies” means all insurance policies that have been issued at any time that provide
coverage, benefits, or proceeds to any of the Debtors (or their predecessors) and all agreements, documents, or
instruments relating thereto.

         134.       “Insurer” means any company or other Entity that issued an Insurance Policy, any third party
administrator of or for any Insurance Policy or self-insured claims, and any respective predecessors, successors,
and/or affiliates of any of the foregoing.

          135.   “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

          136.   “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        137.     “Management Incentive Plan” means the management incentive plan to be adopted by the New
Board on or substantially contemporaneously with the Effective Date.

         138.   “Mariposa Borrower” means Mariposa Borrower, Inc., a Delaware corporation and a direct
subsidiary of NMG LTD.

           139.   “Mariposa Intermediate” means Mariposa Intermediate Holdings LLC, a Delaware limited
liability company.

      140.     “MYT Holding Co.” means MYT Holding Co., a Delaware corporation and direct subsidiary of
MYT Parent Co.

          141.   “MYT Parent Co.” means MYT Parent Co., a Delaware corporation and direct subsidiary of NMG,
Inc.¶

        142.     “MYT Series A Preferred Stock” means the shares of Series A Preferred Stock, par value
$0.001 per share, issued by MYT Holding Co.

        143.      142. “MYT Series B Preferred Stock” means the shares of Series B Preferred Stock, par value
$0.001 per share, issued by MYT Holding Co.

          144.   143. “MyTheresa” means collectively, MYT Parent Co. and each of its subsidiaries.

       145.     144. “MyTheresa Guarantee and Collateral Agreement” means the Guarantee and Collateral
Agreement, dated as of June 7, 2019, among MYT Parent Co., each Grantor Party thereto, and Ankura Trust
Company, LLC, as Trustee and as Collateral Agent.

        146.   145. “Neiman Retirement Plan” means the Neiman Marcus Group LLC Retirement Plan, which is
sponsored by NMG and is a qualified defined benefit pension plan under the Internal Revenue Code and covered by
ERISA.

          147.   146. “New Board” means the board of directors or the board of managers of Reorganized Neiman.

         148.      147. “New Equity” means the common equity interests in Reorganized Neiman to be authorized,
issued, or reserved on the Effective Date pursuant to the Plan.

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          149.     148. “New Equity Documentation” means any and all documentation required to implement, issue,
and distribute the New Equity.

          150.     149. “New Equity Holders” means Holders of Claims entitled to receive New Equity under Article
III of the Plan and the participants in the Management Incentive Plan.

          151.      150. “New MyT Documents” means any agreements and/or transactions necessary and appropriate
to ensure that the economic and governance rights of the Second Lien Noteholders, the Third Lien Noteholders, the
Consenting Sponsors, and the Consenting Parent with respect to MyTheresa are consistent with their prepetition
rights, claims and controls, the Existing MyT Transaction Documents and the Transaction Support Agreement
(including documentation that gives effect to and preserves the economic and governance effect of the turnover and
waterfall provisions concerning MyTheresa set forth in the Transaction Support Agreement and the equivalent
provisions in any other prepetition documents and agreements, except to the extent expressly waived in the Plan),
which documents, agreements and/or transactions shall be acceptable to the Consenting Parent, the Required
Consenting Noteholders, the Consenting Sponsors, the Required Consenting Term Loan Lenders (solely with respect
to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if any), and the
Debtors (such consent not to be unreasonably withheld, conditioned, or delayed). The Sponsors, Consenting 2L
Parties and Consenting 3L Parties shall agree in principle on the general terms of the New MyT Documents,
including the 2L MyT Distribution and the 3L MyT Distribution, and the parties reserve their rights with respect to
definitive documents to be filed with the Plan Supplement. To the extent the applicable parties cannot reach
resolution in principle on the key terms, embodied in short form term sheets, prior to the commencement of
solicitation, the launch of solicitation will be delayed pending such resolution.

         152.     151. “New Organizational Documents” means the documents providing for corporate governance
of the Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, consistent with the Restructuring Support Agreement and section 1123(a)(6)
of the Bankruptcy Code, as applicable and, in each case, in form and substance reasonably acceptable to the Debtors,
and the Required Consenting Stakeholders to the extent set forth in the Restructuring Support Agreement and
otherwise consistent with the Restructuring Support Agreement .

         153.      152. “New Warrants” means warrants exercisable for 25.0% of the New Equity (subject to dilution
from the Management Incentive Plan) with a seven-year tenor (and no Black-Scholes protection) and at an aggregate
equity value strike price equal to $2.025 billion.

         154.     153. “New Warrant Agreement” means that certain agreement providing for, among other things,
the issuance and terms of the New Warrants, the form of which shall be Filed pursuant to the Plan Supplement.

        155.     154. “NMG” means The Neiman Marcus Group LLC, a Delaware limited liability company.

        156.     155. “NMG, Inc.” means Neiman Marcus Group, Inc., a Delaware corporation.

        157.     156. “NMG LTD” means Neiman Marcus Group LTD LLC, a Delaware limited liability company.

        158.     157. “NMG Subsidiary” means The NMG Subsidiary LLC, a Delaware limited liability company.

          159. 158.       “Non-Funded Debt General Unsecured Claim” means any General Unsecured Claim that
  is not a Cash Pay Notes Claim or PIK Toggle Notes Claim.

        160.     159. "Notes Issuers" means NMG LTD, NMG, NMG Subsidiary, and Mariposa Borrower.

        161.     160. “Noteholders” means, collectively, the Holders of Second Lien Notes Claims and Third Lien
Notes Claims.

        162.      161. “Other Priority Claims” means any Claim, other than an Administrative Claim or a Priority
Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.
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        163.    162. “Other Secured Claims” means any Secured Claim against the Debtors other than a 2013
Term Loans Secured Claim, a 2019 Term Loans Secured Claim, 2028 Debentures Secured Claim, Second Lien
Notes Secured Claim, or a Third Lien Notes Secured Claim.

        164.     163. “PBGC” means the Pension Benefit Guaranty Corporation.

        165.     164. “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

        166.     165. “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

         167.    166. “PIK Toggle Notes Claim” means all Claims against the Debtors arising under, derived from,
or based upon the PIK Toggle Notes Indenture and the PIK Toggle Notes.

         168.     167. “PIK Toggle Notes” means those certain 8.750%/9.500% Senior PIK Toggle Notes due 2021
issued pursuant to the PIK Toggle Notes Indenture.

          169.    168. “PIK Toggle Notes Indenture” means that certain indenture, dated as of October 25, 2013, by
and among the Notes Issuers, the guarantors party thereto, and the PIK Toggle Notes Trustee, as supplemented by
the first supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental
indenture, dated as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time
to time.

         170. 169. “PIK Toggle Notes Trustee” means UMB Bank, N.A., as successor to Drivetrain Trust
Company LLC and U.S. Bank National Association, or any successor thereto, as trustee under the PIK Toggle Notes
Indenture.

        171.      170. “Plan” means this Debtors’ First Amended Joint Plan of Reorganization Pursuant to
Chapter 11 of the Bankruptcy Code, including the Plan Supplement, which is incorporated herein by reference.

          172.      171. “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with the Plan.

        173.     172. “Plan Equity Value” means the deemed per share value of the New Equity.

        174.      173. “Plan Securities” means, collectively, the New Equity, the New Warrants, the 2L MyT
Distribution, the 3L MyT Distribution, and the MYT Series B Preferred Stock issued under the Plan.¶

         175.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than fourteen (14) days before the
Confirmation Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest,
including the following: (a)(a) the New Organizational Documents; (b)(b) the identity and members of the New
Board and any executive management for the Reorganized Debtors; (c)(c) the Schedule of Retained Causes of
Action; (d)(d) the Exit Facility Documents; (f)(e) the Description of Transaction Steps; (g)(f) the Schedules of
Assumed and Rejected Contracts; (h)(g) the New MyT Documents; (i)(h) the 2L MyT Distribution; (j)(i) the 3L
MyT Distribution; (k)(j) the key terms of the Management Incentive Plan; (g)(k) the Tax Sharing Agreement (if
agreed pursuant to Article VI.F); (h)(l) the ABL Treatment Instrument (as defined in the Disclosure Statement Order
and if applicable); (i)(m) the FILO Treatment Instrument (as defined in the Disclosure Statement Order and if
applicable); (j)(n) the identity of the GUC Claims Administrator; and (k)(o) any additional documents Filed with the
Bankruptcy Court prior to the Effective Date as amendments to the Plan Supplement.

        176.     174. “Prepetition Secured Parties” shall have the meaning ascribed to such term in the DIP Order.


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         177.     175. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         178.      176. “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

          179.     177. “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in
accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered
prior to or on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code;
or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

         180.      178. “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and
other unpaid fees and expenses of Professionals estimate they have incurred or will incur in rendering services to the
Debtors as set forth in Article II.B of the Plan.

         181.   179. “Professional Fee Claim” means a Claim by a professional seeking an award by the
Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred through and
including the Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the
Bankruptcy Code.

        182.     180. “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors
with Cash on the Effective Date in an amount equal to the Professional Fee Amount.

        183.     181. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11
Cases by the Claims Bar Date or the Administrative Claims Bar Date, as applicable.

         184.     182. “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests,
that the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

         185.      183. “Released Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b)
the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the 2028
Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting Noteholder
Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee; (m) all
Holders of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the
following clause (o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each
of their respective current and former directors, officers, members, employees, partners, managers, independent
contractors, agents, representatives, principals, professionals, advisory board members, consultants, financial
advisors, partners, attorneys (including any other attorneys or professionals retained by any current or former
director or manager in his or her capacity as director or manager of an Entity), accountants, investment bankers, and
other professional advisors; provided that in each case, an Entity shall not be a Released Party if it: (x) elects to opt
out of the releases contained in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter
11 Cases an objection to the releases contained in the Plan that is not resolved before Confirmation.

         186.     184. “Releasing Party” means each of, and in each case in its capacity as such: (a) the Debtors;
(b) the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the
2028 Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting
Noteholder Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee;
(m) all Holders of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the
following clause (o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each
of their respective current and former directors, officers, members, employees, partners, managers, independent
contractors, agents, representatives, principals, professionals, advisory board members, consultants, financial
advisors, partners, attorneys (including any other attorneys or professionals retained by any current or former
director or manger in his or her capacity as director or manager of an Entity), accountants, investment bankers, and
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other professional advisors; provided that in each case, an Entity shall not be a Releasing Party if it: (x) elects to opt
out of the releases contained in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter
11 Cases an objection to the releases contained in the Plan that is not resolved before Confirmation.

          187.    185. “Reorganized Debtors” means, collectively, a Debtor, or any successor or assign thereto, by
merger, consolidation, or otherwise, on and after the Effective Date. For purposes of this Plan, Reorganized Neiman
shall be a Reorganized Debtor.

          188.     186. “Reorganized Neiman” means either: (a) NMG LTD, as reorganized pursuant to and under
the Plan, or any successor or assign thereto, by merger, amalgamation, consolidation, or otherwise, on or after the
Effective Date; or (b) to the extent agreed reasonably by the Debtors, the Required Consenting Term Loan Lenders,
the Consenting Parent (such consent not to be unreasonably withheld, conditioned, or delayed), the Consenting
Sponsors, and the Required Consenting Noteholders, (x) Mariposa Intermediate, as reorganized pursuant to and
under the Plan, or any successor or assign thereto, by merger, amalgamation, consolidation or otherwise, on or after
the Effective Date or (y) a new corporation or limited liability company that may be formed to, among other things,
directly or indirectly acquire substantially all of the assets and/or stock of the Debtors and issue the New Equity to be
distributed pursuant to the Plan.

         189.      187. “Required Consenting 2L Noteholders” means, as of the relevant date, Consenting 2L Parties
holding at least a majority of the aggregate outstanding principal amount of Second Lien Notes that are held by the
Consenting 2L Parties.

        190.      188. “Required Consenting 3L Noteholders” means, as of the relevant date, Consenting 3L Parties
holding at least a majority of the aggregate outstanding principal amount of Third Lien Notes that are held by the
Consenting 3L Parties.

         191.    189. “Required Consenting Debentures Parties” means as of the relevant date, Consenting
Debentures Parties holding at least a majority of the aggregate outstanding principal amount of 2028 Debentures that
are held by Consenting Debentures Parties.

        192.     190. “Required Consenting Noteholders” means, as of the relevant date, the Required Consenting
2L Noteholders and the Required Consenting 3L Noteholders.

        193.     191. “Required Consenting Stakeholders” means the Required Consenting Term Loan Lenders, the
Required Consenting Debenture Parties, the Required Consenting Noteholders, the Consenting Parent, and each of
the Consenting Sponsors.

         194.   192. “Required Consenting Term Loan Lenders” means, as of the relevant date, Consenting Term
Loan Lenders comprising not fewer than three (3) unaffiliated Consenting Term Loan Lenders holding at least
66.67% of the aggregate outstanding principal amount of Term Loans that are held by Consenting Term Loan
Lenders.

         195.     193. “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

         196.    194. “Restructuring Support Agreement” means that certain Restructuring Support Agreement,
dated as of May 7, 2020, by and among the Debtors and the other parties thereto, as may be amended, modified, or
supplemented from time to time, in accordance with its terms. In the event the Restructuring Support Agreement is
terminated, any reference herein to the Restructuring Support Agreement shall mean the Restructuring Support
Agreement as in effect immediately prior to such termination and any reference to any party to the Restructuring
Support Agreement shall mean the parties to the Restructuring Support Agreement immediately prior to such
termination.

         197.     195. “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of
the Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified,
or supplemented from time to time with the consent (such consent not to be unreasonably withheld) of the Required
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Consenting Term Loan Lenders; the Required Consenting Noteholders; the Required Consenting Debentures Parties;
and the Debtors.

        198.       196. “Schedules” means, collectively, the schedules of assets and liabilities, Schedule of Retained
Causes of Action, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, the official bankruptcy forms, and the Bankruptcy Rules, as they may be amended, modified, or supplemented
from time to time.

          199.    197. “Schedules of Assumed and Rejected Contracts” means the schedules of certain Executory
Contracts and Unexpired Leases to be assumed, assumed and assigned, or rejected by the Debtors pursuant to the
Plan, as the same may be amended, modified, or supplemented from time to time by the Debtors, which schedules
shall be acceptable to the Required Consenting Term Loan Lenders and the Required Consenting Noteholders.

         200.    198. “Second Lien Notes” means those certain 14.0% Second Lien Notes due 2024 issued pursuant
to the Second Lien Notes Indenture.

         201.     199. “Second Lien Noteholder” means any Holder of Second Lien Notes.

         202.     200. “Second Lien Notes Claim” means any Claim against the Debtors arising under, derived from,
or based upon the Second Lien Notes Indenture and the Second Lien Notes.

        203.    201. “Second Lien Notes Deficiency Claim” means any Second Lien Notes Claim that is not a
Second Lien Notes Secured Claim.

        204.     202. “Second Lien Notes Indenture” means that certain indenture, dated as of June 7, 2019, by and
among the Notes Issuers, the guarantors party thereto, and the Second Lien Notes Trustee.

         205.     203. “Second Lien Notes Secured Claims” means any Second Lien Notes Claim that is a Secured
Claim.

          206.     204. “Second Lien Notes Trustee” means Ankura Trust Company, LLC, or any successor thereto,
in its capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or related to
the Second Lien Note Indenture.

          207.    205. “Secured Claim” means a Claim: (a) secured by a valid, perfected and enforceable Lien on
collateral to the extent of the value of such collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          208.     206. “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be
entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of
time limitations), including any related Secured Claim for penalties.

        209.     207. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or
any similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

         210.     208. “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         211.     209. “Segregated Cash” means the Cash of the Debtors held in segregated collateral accounts.

          212.       210. “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan, which shall include the Exit Rights Offering Procedures
and a list of all of the Debtors’ store leases indicating which leases are intended to be assumed or rejected.

         213.     211. “Sponsor Contribution” has the meaning assigned to such term in Article IV.A.
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        214.     212. “Sponsors” means any party that directly or indirectly holds or controls equity interests in the
Consenting Parent, including the Consenting Sponsors.

         215. 213. “Tax Sharing Agreement” means a tax sharing agreement between NMG, Inc. and its
  non-Debtor subsidiaries that are part of the consolidated U.S. federal income tax group (and any similar state and
  local tax group), and the Debtors that are part of the consolidated U.S. federal income tax group (and any similar
  state and local tax group) that provides for the allocation of responsibility for various tax costs of the consolidated
  group members, allocations of refunds of any tax refunds received by or on behalf of members of the consolidated
  group, allocation of costs relating to the preparation and filing of tax returns of the consolidated group, and
  conduct of tax contests and allocation of costs relating to tax contests and other similar matters.

         216.     214. “Term Loan Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
administrative agent and collateral agent under the Term Loan Credit Agreement.

         217.    215. “Term Loan Credit Agreement” means that certain credit agreement, dated as of October 25,
2013, by and among Neiman Marcus Group LTD LLC, The Neiman Marcus Group LLC, and NMG Subsidiary, as
borrowers, Mariposa Intermediate Holdings LLC, each of the other guarantors party thereto, the Term Loan Agent,
and the Term Loan Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

       218.     216. “Term Loan Lenders” means those banks, financial institutions, and other lenders party to the
Term Loan Credit Agreement from time to time.

         219.     217. “Term Loans” means, collectively, the 2019 Terms Loans and the 2013 Term Loans.

         220.     218. “Third Lien Noteholder” means any Holder of Third Lien Notes Claims.

         221.     219. “Third Lien Notes” means those certain 8.000% and 8.750% Third Lien Notes due 2024
issued pursuant to the Third Lien Notes Indentures.

         222.     220. “Third Lien Notes Claim” means any Claim against the Debtors arising under, derived from,
or based upon the Third Lien Notes Indentures and the Third Lien Notes.

        223.     221. “Third Lien Notes Deficiency Claim” means any Third Lien Notes Claim that is not a Third
Lien Notes Secured Claim.

        224.     222. “Third Lien Notes Indentures” means those certain indentures, dated as of June 7, 2019, by
and among the Notes Issuers, the guarantors party thereto, and the Third Lien Notes Trustee, as amended, restated,
supplemented or otherwise modified from time to time.

         225.     223. “Third Lien Notes Secured Claims” means any Third Lien Notes Claim that is a Secured
Claim.

          226.     224. “Third Lien Notes Trustee” means Wilmington Trust, National Association (or any successor
thereto), in its capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or
related to the Third Lien Note Indentures.

         227.     225. “Third-Party Release” means the release set forth in Article VIII.D of this Plan.

         228.      226. “Transaction Support Agreement” means that certain Transaction Support Agreement,
together with all exhibits, annexes, and schedules thereto, dated as of March 15, 2019, and as amended on April 10,
2019, by and among NMG, Inc. and its subsidiaries, the Consenting Sponsors, an ad hoc committee of holders of
2013 Term Loans, an ad hoc committee of holders of Cash Pay Notes and PIK Toggle Notes, and each of the
additional parties who delivered a joinder thereto.

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        229.     227. “Trustee” means any trustee or agent or similar Entity under the Second Lien Notes
Indenture, Third Lien Notes Indentures, 2028 Debentures Indenture, Cash Pay Notes Indenture, and PIK Toggle
Notes Indenture.

         230.    228. “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

          231.      229. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing
document, schedule, or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document,
schedule, or exhibit, as it may thereafter be amended, modified, or supplemented in accordance with the Plan or
Confirmation Order, as applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles” are references to
Articles hereof or hereto; (6) unless otherwise specified, all references herein to exhibits are references to exhibits in
the Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in
its entirety rather than to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of
incorporation, by-law, instrument, release, or other agreement or document created or entered into in connection with
the Plan, the rights and obligations arising pursuant to the Plan shall be governed by, and construed and enforced in
accordance with the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) unless
otherwise specified, the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (10) captions and headings to
Articles are inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (11) unless otherwise specified herein, the rules of construction set forth in section 102 of
the Bankruptcy Code shall apply; (12) any term used in capitalized form herein that is not otherwise defined but that
is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be; (13) all references to docket numbers of documents
Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system;
(14) all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (15) any immaterial effectuating provisions
may be interpreted by the Reorganized Debtors in such a manner that is consistent with the overall purpose and
intent of the Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other
Entity; (16) all references herein to consent, acceptance, or approval may be conveyed by counsel for the respective
parties that have such consent, acceptance, or approval rights, including by electronic mail; and (17) unless otherwise
specified, any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
thereafter.

C.       Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day.




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D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to
the principles of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations
Law), shall govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control), and corporate governance matters;
provided that corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not
incorporated in New York shall be governed by the laws of the state of incorporation or formation of the relevant
Debtor or the Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan, and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan shall control (unless stated otherwise in such Plan document or in the Confirmation
Order). In the event of an inconsistency between the Confirmation Order and the Plan, the Confirmation Order shall
control.

H.       Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consent rights of the parties to the
Restructuring Support Agreement set forth in the Restructuring Support Agreement with respect to the form and
substance of this Plan, all exhibits to the Plan, the Plan Supplement, and the Definitive Documentation, including any
amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this
reference (including to the applicable definitions in section A hereof) and be fully enforceable as if stated in full
herein.

                                    Article II.
 ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, PRIORITY CLAIMS, AND UNITED STATES
                            TRUSTEE STATUTORY FEES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Facility Claims,
Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes
of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the
United States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to
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the amount of such Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim
is Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or,
if not then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2)
if such Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on
which an order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
course of their business after the Petition Date in accordance with the terms and conditions of the particular
transaction giving rise to such Allowed Administrative Claim without any further action by the Holders of such
Allowed Administrative Claim; (4) at such time and upon such terms as may be agreed upon by such Holder and the
Debtors or the Reorganized Debtors, as applicable; or (5) at such time and upon such terms as set forth in an order of
the Bankruptcy Court.

         Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are DIP Facility Claims, Professional Fee Claims, or Cure Claims, requests for payment of
Administrative Claims must be Filed with the Bankruptcy Court and served on the Debtors pursuant to the
procedures specified in the Confirmation Order and the notice of entry of the Confirmation Order no later than the
Administrative Claims Bar Date. Holders of Administrative Claims that are required to, but do not, File and serve a
request for payment of such Administrative Claims by such date shall be forever barred, estopped, and enjoined from
asserting such Administrative Claims against the Debtors or their property and such Administrative Claims shall be
deemed discharged as of the Effective Date.

B.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

          All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay
Professional Fee Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee
Escrow Account, which the Reorganized Debtors will establish in trust for the Professionals and fund with Cash
equal to the Professional Fee Amount on the Effective Date.

         2.   Professional Fee Escrow Account.

          On the Effective Date, the Reorganized Debtors shall, without duplication of any account or amount
established for the benefit of Professionals pursuant to a DIP Order, establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be
considered property of the Estates of the Debtors or the Reorganized Debtors. The amount of Professional Fee
Claims owing to the Professionals shall be paid in Cash to such Professionals by the Reorganized Debtors from the
Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are Allowed.
When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in the
Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further action or
order of the Bankruptcy Court.

         3.   Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than two (2) Business Days before the Effective Date; provided, however, that such
estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of the Professional’s
final request for payment of Filed Professional Fee Claims. If a Professional does not provide an estimate, the
Debtors or Reorganized Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

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         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

C.       DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed for all purposes as fully Secured Claims in an
amount equal to (i) the principal amount outstanding under the DIP Facility on such date, (ii) all interest accrued and
unpaid thereon to the date of payment, and (iii) any and all accrued and unpaid fees, expenses, and indemnification
or other obligations of any kind payable under the DIP Credit Agreement Documents. Such DIP Facility Claims
shall not be subject to any avoidance, reduction, setoff, offset, recoupment, recharacterization, subordination
(whether equitable, contractual, or otherwise), counterclaim, cross-claim, defense, disallowance, impairment,
objection, or any other challenge under any applicable law or regulation by any Entity.

          Except to the extent that a Holder of an Allowed DIP Facility Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of each Allowed DIP Facility Claim, on the Effective
Date, each Holder thereof shall receive payment in full in Cash, other than the Aggregate DIP Equity Fees, which
shall be payable in full in New Equity.

D.       Priority Tax Claims.

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in section
1129(a)(9)(C) of the Bankruptcy Code.

E.       United States Trustee Statutory Fees

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee quarterly fees
under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtors’ or Reorganized
Debtors’ business (or such amount agreed to with the United States Trustee or ordered by the Bankruptcy Court), for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed,
whichever occurs first.

                                         Article III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article
II of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with section 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that
Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.
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             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                   Claims and Interests                     Status                    Voting Rights
 Class 1         Other Secured Claims                              Unimpaired     Not Entitled to Vote (Deemed to Accept)

 Class 2         Other Priority Claims                             Unimpaired     Not Entitled to Vote (Deemed to Accept)

 Class 3         ABL Loan Secured Claims                           Impaired       Entitled to Vote

 Class 4         FILO Secured Claims                               Impaired       Entitled to Vote

 Class 5         2019 Term Loans Claims                            Impaired       Entitled to Vote

 Class 6         2013 Term Loans Claims                            Impaired       Entitled to Vote

 Class 7         2028 Debentures Claims                            Impaired       Entitled to Vote

 Class 8         Second Lien Notes Claims                          Impaired       Entitled to Vote

 Class 9         Third Lien Notes Claims                           Impaired       Entitled to Vote

 Class 10        Funded-Debt General Unsecured Claims              Impaired       Entitled to Vote

 Class 11        Non-Funded Debt General Unsecured Claims          Impaired       Entitled to Vote
                                                                   Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 12        Intercompany Claims
                                                                   Impaired       Reject)
                                                                   Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 13        Intercompany Interests
                                                                   Impaired       Reject)
 Class 14        Existing Equity Interests                         Impaired       Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for
such Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the
Reorganized Debtors and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise
indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the
Effective Date or as soon as reasonably practicable thereafter.




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  1.   Class 1 - Other Secured Claims

           (a)      Classification: Class 1 consists of any Other Secured Claims.

           (b)      Treatment: Each Holder of an Allowed Other Secured Claim shall receive, in full and
                    final satisfaction of such Claim, at the option of the Debtors, in consultation with the
                    Required Consenting Term Loan Lenders and the Required Consenting Noteholders,
                    either:

                    (i)      payment in full in Cash of such Holder’s Allowed Other Secured Claim;

                    (ii)     delivery of the collateral securing such Holder’s Allowed Other Secured Claim
                             and payment of any interest required under section 506(b) of the Bankruptcy
                             Code;

                    (iii)    Reinstatement of such Holder’s Allowed Other Secured Claim; or

                    (iv)     such other treatment rendering such Holder’s Allowed Other Secured Claim
                             Unimpaired in accordance with section 1124 of the Bankruptcy Code.

           (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                    conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                    Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                    Plan.

  2.   Class 2 - Other Priority Claims

           (a)      Classification: Class 2 consists of any Other Priority Claims.

           (b)      Treatment: Each Holder of an Allowed Other Priority Claim shall receive, in full and
                    final satisfaction of such Claim, at the option of the Debtors, either:

                    (i)      payment in full in Cash;

                    (ii)     Reinstatement of such Holder’s Allowed Other Priority Claim; or

                    (iii)    such other treatment rendering such Holder’s Allowed Other Priority Claim
                             Unimpaired in accordance with section 1124 of the Bankruptcy Code.

           (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Claims in Class 2 are
                    conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                    Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                    Plan.




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  3.   Class 3 - ABL Loan Secured Claims

           (a)     Classification: Class 3 consists of any ABL Loan Secured Claims.

           (b)     Treatment: Each Holder of an Allowed ABL Loan Secured Claim shall receive, in full
                   and final satisfaction of such Claim,

                   (i)     payment in full in Cash;

                   (ii)    consensual refinancing or other consensual modification of the ABL Loans
                           giving rise to such ABL Loan Secured Claims; or

                   (iii)   other treatment consistent with the Bankruptcy Code and the Disclosure
                           Statement Order.

           (c)     Voting: Class 3 is Impaired under the Plan and Holders of Allowed Claims in Class 3 are
                   entitled to vote to accept or reject the Plan.

  4.   Class 4 - FILO Secured Claims

           (a)     Classification: Class 4 consists of any FILO Secured Claims.

           (b)     Treatment: Each Holder of an Allowed FILO Secured Claim shall receive, in full and
                   final satisfaction of such Claim

                   (i)     payment in full in Cash;

                   (ii)    consensual refinancing or other consensual modification of the FILO Facility
                           giving rise to such FILO Secured Claims; or

                   (iii)   other treatment consistent with the Bankruptcy Code and the Disclosure
                           Statement Order.

           (c)     Voting: Class 4 is Impaired under the Plan and Holders of Allowed Claims in Class 4 are
                   entitled to vote to accept or reject the Plan.

  5.   Class 5 - 2019 Term Loans Claims

           (a)     Classification: Class 5 consists of any 2019 Term Loans Claims.

           (b)     Allowance: On the Effective Date, the 2019 Term Loans Claims shall be Allowed in the
                   aggregate principal amount of $2,240,501,378.16, plus accrued and unpaid allowed
                   interest on such principal amount, plus any other unpaid premiums, fees, costs, or other
                   amount due and owing pursuant to the Term Loan Credit Agreement, in each case up to
                   but not including the Petition Date.




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           (c)     Treatment: On the Effective Date, each Holder of an Allowed 2019 Term Loans Claim
                   shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                   in:

                   (i)      87.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                            the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the
                            exercise of the New Warrants, and subject to upward adjustment if Class 6 does
                            not vote in favor of the Plan; and

                   (ii)     87.5% of the Exit Rights, subject to upward adjustment if Class 6 does not vote
                            in favor of the Plan.

           (d)     Voting: Class 5 is Impaired under the Plan and Holders of Allowed Claims in Class 5 are
                   entitled to vote to accept or reject the Plan.

  6.   Class 6 - 2013 Term Loans Claims

           (a)     Classification: Class 6 consists of any 2013 Term Loans Claims.

           (b)     Allowance: On the Effective Date, the 2013 Term Loans Claims shall be Allowed in the
                   aggregate principal amount of $12,597,197.75, plus accrued and unpaid allowed interest
                   on such principal amount, plus any other unpaid premiums, fees, costs or other amount
                   due and owing pursuant to the Term Loan Credit Agreement, in each case up to but not
                   including the Petition Date.

           (c)     Treatment: On the Effective Date:

                   (i)      if Class 6 votes in favor of the Plan, each Holder of an Allowed 2013 Term
                            Loans Claim shall receive, in full and final satisfaction of such Claim, its Pro
                            Rata share of and interest in (a) 0.2% of the New Equity, subject to dilution by
                            the Management Incentive Plan, the Exit Term Loan Equity Fees, the Aggregate
                            DIP Equity Fees, and the exercise of the New Warrants, and (b) 0.2% of the Exit
                            Rights; or

                   (ii)     if Class 6 votes to reject the Plan, each Holder of an Allowed 2013 Term Loans
                            Claim shall receive, in full and final satisfaction of such Claim, value as of the
                            Effective Date equal to the Allowed amount of such Claim, provided that such
                            value shall not exceed the value of each Holder’s interest in the estate’s interest
                            in the property securing such Claim.

           (d)     Voting: Class 6 is Impaired under the Plan and Holders of Allowed Claims in Class 6 are
                   entitled to vote to accept or reject the Plan.

  7.   Class 7 - 2028 Debentures Claims

           (a)     Classification: Class 7 consists of any 2028 Debentures Claims.

           (b)     Allowance: On the Effective Date, the 2028 Debentures Claims shall be Allowed in the
                   aggregate principal amount of $125,000,000, plus accrued and allowed unpaid interest on
                   such principal amount, plus any other unpaid premiums, fees, costs, or any other amounts
                   due and owing pursuant to the 2028 Debentures Indenture, in each case up to but not
                   including the Petition Date.




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           (c)      Treatment: On the Effective Date, each Holder of an Allowed 2028 Debentures Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      2.8% of the New Equity, subject to dilution by the Management Incentive Plan,
                             Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise of
                             New Warrants and subject to upward adjustment if Class 6 does not vote in favor
                             of the Plan; and

                    (ii)     2.8% of the Exit Rights, subject to upward adjustment if Class 6 does not vote in
                             favor of the Plan.

           (d)      Voting: Class 7 is Impaired under the Plan and Holders of Allowed Claims in Class 7 are
                    entitled to vote to accept or reject the Plan.

  8.   Class 8 - Second Lien Notes Claims

           (a)      Classification: Class 8 consists of any Second Lien Notes Claims.

           (b)      Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed in the
                    aggregate principal amount of $561,733,333, plus accrued and unpaid allowed interest on
                    such principal amount, plus any other unpaid premiums, fees costs, or other amounts due
                    and owing pursuant to the Second Lien Notes Indenture, in each case up to but not
                    including the Petition Date.

           (c)      Treatment: On the Effective Date, each Holder of an Allowed Second Lien Notes Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      1.0% of the New Equity, subject to dilution by the Management Incentive Plan,
                             the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the
                             exercise of the New Warrants;

                    (ii)     1.0% of the Exit Rights;

                    (iii)    the New Warrants; and

                    (iv)     the 2L MyT Distribution.

           (d)      Voting: Class 8 is Impaired under the Plan and Holders of Allowed Claims in Class 8 are
                    entitled to vote to accept or reject the Plan.

  9.   Class 9 - Third Lien Notes Claims

           (a)      Classification: Class 9 consists of any Third Lien Notes Claims.

           (b)      Allowance: On the Effective Date, the Third Lien Notes Claims shall be Allowed in the
                    aggregate principal amount of $1,228,383,150, plus accrued and unpaid allowed interest
                    on such principal amount, plus any other unpaid premiums, fees, costs, or other amounts
                    due and owing pursuant to the Third Lien Notes Indenture, in each case, up to but not
                    including the Petition Date.




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          (c)     Treatment: On the Effective Date, each Holder of an Allowed Third Lien Notes Claim
                  shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                  in:

                  (i)      8.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                           the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the
                           exercise of the New Warrants; and

                  (ii)     8.5% of the Exit Rights; and

                  (iii)    the 3L MyT Distribution.

          (d)     Voting: Class 9 is Impaired under the Plan and Holders of Allowed Claims in Class 9 are
                  entitled to vote to accept or reject the Plan.

  10. Class 10 - Funded-Debt General Unsecured Claims

          (a)     Classification: Class 10 consists of all Funded-Debt General Unsecured Claims.

          (b)     Treatment: Each Holder of an Allowed Funded Debt General Unsecured Claim shall
                  receive, in full and final satisfaction of such Claim, on or as reasonably practicable after
                  the Effective Date, its Pro Rata share (determined based on all Allowed General
                  Unsecured Claims, together with Holders of Allowed Non-Funded Debt General
                  Unsecured Claims) of (A) the Sponsor Contribution and (B) $10,000,000 of Cash to be
                  funded by the Debtors or Reorganized Debtors.

          (c)     Voting: Class 10 is Impaired under the Plan and Holders of Allowed Claims in Class 10
                  are entitled to vote to accept or reject the Plan.

  11. Class 11 - Non-Funded Debt General Unsecured Claims

          (a)     Classification: Class 11 consists of all Non-Funded Debt General Unsecured Claims.

          (b)     Treatment: Each Holder of an Allowed Non-Funded Debt General Unsecured Claim
                  shall receive, in full and final satisfaction of such Claim, on or as reasonably practicable
                  after the Effective Date, its Pro Rata share (determined based on all Allowed General
                  Unsecured Claims, together with Holders of Allowed Funded-Debt General Unsecured
                  Claims) of (A) the Sponsor Contribution and (B) $10,000,000 of Cash to be funded by
                  the Debtors or Reorganized Debtors.

          (c)     Voting: Class 11 is Impaired under the Plan and Holders of Allowed Claims in Class 11
                  are entitled to vote to accept or reject the Plan.

  12. Class 12 - Intercompany Claims

          (a)     Classification: Class 12 consists of all Intercompany Claims.

          (b)     Treatment: Intercompany Claims shall be, at the option of the Reorganized Debtors, in
                  consultation with the Consenting Term Loan Lender Group and the Consenting
                  Noteholder Group, either:




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                          (i)      Reinstated; or

                          (ii)     cancelled, released, and extinguished without any distribution on account of such
                                   Claims.

                 (c)      Voting: Class 12 is Unimpaired if the Class 12 Claims are Reinstated or Impaired if the
                          Class 12 Claims are cancelled. Holders of Class 12 Claims are conclusively deemed to
                          have accepted the Plan pursuant to section 1126(f) or rejected the Plan pursuant to section
                          1126(g) of the Bankruptcy Code. Holders of Class 12 Claims are therefore not entitled to
                          vote to accept or reject the Plan.

        13. Class 13 - Intercompany Interests

                 (a)      Classification: Class 13 consists of all Intercompany Interests.

                 (b)      Treatment: Intercompany Interests shall be, at the option of Reorganized Debtors, in
                          consultation with the Consenting Term Loan Lender Group and the Consenting
                          Noteholder Group, either:

                          (i)      Reinstated; or

                          (ii)     cancelled, released, and extinguished without any distribution on account of such
                                   Interests.

                 (c)      Voting: Class 13 is Unimpaired if the Class 13 Interests are Reinstated or Impaired if the
                          Class 13 Interests are cancelled. Holders of Class 13 Interests are conclusively deemed to
                          have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the
                          Plan pursuant to section 1126(g) of the Bankruptcy Code. Holders of Class 13 Interests
                          are therefore not entitled to vote to accept or reject the Plan.

        14. Class 14 - Existing Equity Interests

                 (a)      Classification: Class 14 consists of all Existing Equity Interests.

                 (b)      Treatment: On the Effective Date, Existing Equity Interests will be cancelled, released,
                          and extinguished without any distribution on account of such Existing Equity Interests.

                 (c)      Voting: Class 14 is Impaired under the Plan and Holders of Class 14 Interests are
                          conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                          Bankruptcy Code. Holders of Class 14 Interests are therefore not entitled to vote to
                          accept or reject the Plan.

C.      Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
Reorganized Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding legal and equitable
defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

D.      Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

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E.       Voting Classes, Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Equity, and in exchange for the
Debtors’ and Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of
Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall
seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the
Plan to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires
modification, including by modifying the treatment applicable to a Class of Claims or Interests to render such Class
of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights
relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the Restructuring
Support Agreement, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest
in accordance with any contractual, legal, or equitable subordination relating thereto.

                                            Article IV.
                              MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests; Disinterested Manager Settlement.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall
constitute a good faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to
the Plan, among the Debtors, the parties to the Restructuring Support Agreement, the Releasing Parties, the Released
Parties, and the Holders of Claims and Interests in Classes 1 through 14 of the Plan. Distributions made to Holders
of Allowed Claims and Allowed Interests in any Class are intended to be final. Notably, the Plan reflects a good
faith compromise and settlement by the disinterested manager of NMG LTD, on behalf of the Debtors, the


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Consenting Parent, the Consenting Sponsors, [the Creditors Committee],2 and the Debtors’ secured lenders and
bondholders otherwise entitled to assert deficiency claims of any potential estate claims or causes of actions against
the Consenting Parent and the Sponsors (the “Disinterested Manager Settlement”). In full and final satisfaction of
potential Claims the Estates may have against the Consenting Parent, its directors and officers, and the Sponsors, the
Consenting Parent and Consenting Sponsors shall cause to be delivered to Reorganized Neiman on the Effective
Date the sum of 140,000,000 shares of MYT Series B Preferred Stock, which shares of MYT Series B Preferred
Stock, for the avoidance of doubt, shall include all rights associated with the MYT Series B Preferred Stock and any
cumulative dividends accrued through the Effective Date of the Plan or thereafter (the “Sponsor Contribution”). In
connection with the Disinterested Manager Settlement, the Consenting Term Loan Lenders will, subject to
confirmation of the Plan, waive their challenges to the security/ownership interests of the Debtors’ consignors. [The
Creditors Committee supports the Disinterested Manager Settlement.]3

           The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such Claims,
Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise
is fair, equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof,
all distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended
to be and shall be final.

B.       Restructuring Transactions.

          On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any transactions
and shall take any actions as may be necessary or appropriate to effectuate the Restructuring Transactions (as agreed
and in accordance with the Restructuring Support Agreement and subject to the applicable consent and approval
rights thereunder), including to establish Reorganized Neiman and, if applicable, to transfer assets of the Debtors to
Reorganized Neiman or a subsidiary thereof. The applicable Debtors or the Reorganized Debtors will take any
actions as may be necessary or advisable to effect a corporate restructuring of the overall corporate structure of the
Debtors, to the extent agreed in accordance with the consent rights in the Restructuring Support Agreement and
provided herein, in the Description of Transaction Steps, or in the Definitive Documentation, including the issuance
of all securities, notes, instruments, certificates, and other documents required to be issued pursuant to the Plan, one
or more intercompany mergers, consolidations, amalgamations, arrangements, continuances, restructurings,
conversions, dissolutions, transfers, liquidations, or other corporate transactions.

          On the Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any of
the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear of all Liens, Claims, charges,
Causes of Action, or other encumbrances. To the extent provided in the Description of Transaction Steps, each
Debtor, other than Reorganized Neiman, may be deemed dissolved in accordance with applicable law, without any
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity. Reorganized Neiman
shall be the issuer of New Equity to the applicable Holders of Claims and Interests as set forth herein.

         The actions to implement the Restructuring Transactions may include, in each case if and as agreed in
accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable parties may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,

2  [The Debtors are awaiting confirmation of the support of the Creditors Committee and statements regarding
 support and conditionality are anticipated to be made on the record of the Disclosure Statement Hearing. The Plan
 and Disclosure Statement will be modified accordingly prior to solicitation.]
3 [The Debtors are awaiting confirmation of the support of the Creditors Committee and statements regarding
 support and conditionality are anticipated to be made on the record of the Disclosure Statement Hearing. The Plan
 and Disclosure Statement will be modified accordingly prior to solicitation.]
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liability, duty, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable law; (4) all transactions necessary to provide for the purchase of substantially all of the assets or
Interests of any of the Debtors by one or more Entities to be wholly owned by Reorganized Neiman, which purchase,
if applicable, may be structured as a taxable transaction for United States federal income tax purposes; and (5) all
other actions that the applicable parties determine to be necessary, including making filings or recordings that may
be required by applicable law in connection with the Plan.

C.       The Reorganized Debtors.

          On the Effective Date, the New Board shall be established, and each Reorganized Debtor shall adopt its
New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under the Plan as necessary to consummate
the Plan.

D.       Sources of Consideration for Plan Distributions.

         1.   Exit Facility.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of which will be
set forth in the Exit Facility Documents. Confirmation of the Plan shall be deemed approval of the Exit Facility and
the Exit Facility Documents, as applicable, and all transactions contemplated thereby, and all actions to be taken,
undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection therewith,
including the payment of all fees, indemnities, expenses, and other payments provided for therein and authorization
of the Reorganized Debtors to enter into and execute the Exit Facility Documents and such other documents as may
be required to effectuate the treatment afforded by the Exit Facility.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the Exit
Facility Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens on, and
security interests in, the collateral granted thereunder in accordance with the terms of the Exit Facility Documents,
(c) shall be deemed automatically perfected on the Effective Date, subject only to such Liens and security interests as
may be permitted under the Exit Facility Documents, and (d) shall not be subject to recharacterization or equitable
subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances
under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the persons and
entities granted such Liens and security interests shall be authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests under
the provisions of the applicable state, federal, or other law that would be applicable in the absence of the Plan and
the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order and any such filings, recordings, approvals, and consents shall not be required), and will
thereafter cooperate to make all other filings and recordings that otherwise would be necessary under applicable law
to give notice of such Liens and security interests to third parties.

         2.   New Equity.

        On the Effective Date, upon cancellation of the Existing Equity Interests, Reorganized Neiman shall issue
the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan. The issuance of the
New Equity, including New Equity reserved under the Management Incentive Plan, shall be authorized without the
need for any further corporate action and without any further action by the Holders of Claims or Interests or the
Debtors or the Reorganized Debtors, as applicable.

         All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable. Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the

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instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance.

         3.   New Warrants

        On the Effective Date, Reorganized Neiman shall issue the New Warrants in accordance with the New
Warrant Agreement and distribute them to the Holders of Claims in Class 8, in accordance with Article VI.D.2. All
of the New Warrants issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable.¶

         4.   2L MyT Distribution¶

         On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders
of Claims in Class 8, in accordance with Article VI.D.2 of the Plan. Upon issuance, the 2L MyT Distribution
shall be duly authorized, validly issued, fully paid, and non assessable.¶
         ¶
         5.   3L MyT Distribution¶

         On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders
of Claims in Class 9, in accordance with Article VI.D.2 of the Plan. Upon Issuance, the 3L MyT Distribution
shall be duly authorized, validly issued, fully paid, and non assessable.¶

         6.   4. General Unsecured Creditor Recovery

        140,000,000 shares of MYT Series B Preferred StockOn the Effective Date, the Sponsor Contribution
and $10,000,000 of Cash will be available for distribution to Holders of Allowed General Unsecured Claims in
accordance with the treatment set forth in the Plan for Classes 10 and 11. The GUC Claims Administrator shall
have responsibility for reconciling General Unsecured Claims, including asserting any objections thereto;
provided, that the Debtors or Reorganized Debtors shall retain the right to object to asserted Class 10 Claims.

E.       Limited Waiver of Transaction Support Agreement and MyTheresa Turnover Provision

          Notwithstanding anything to the contrary in the Plan, in connection with the Disinterested Manager
Settlement, the Consenting Parent, the Sponsors, and any applicable creditors expressly waive any right they may
have to enforce a turnover of the Sponsor Contribution or any other consideration pursuant to this Plan that might be
enforceable against the Debtors or any of their creditors pursuant to the Existing MYT Transaction Documents and
the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements; provided, that to the extent the Consenting 2L Parties and the Consenting 3L Parties do
not agree to waive the Second Lien Notes Deficiency Claims and the Third Lien Notes Deficiency Claims, (i) the
turnover and waterfall provisions concerning MyTheresa as set forth in the Existing MYT Transaction Documents
and the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements, shall apply with respect to such distributions in respect of such Claims, and (ii) the
Parent and Sponsors agree that any recovery received by Parent or Sponsors pursuant to turnover of distributions
received on account of the Second Lien Notes Deficiency Claim and the Third Lien Notes Deficiency Claims shall
be distributed to Holders of Allowed General Unsecured Claims. The Sponsors acknowledge and support the
waiver of turnover rights in connection with the Disinterested Manager Settlement for purposes of this Plan only and
only to the extent necessary to implement the terms of this Plan. To the extent the Plan is not effectuated, all
rights are reserved.




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F.       Corporate Existence.

         Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor shall
continue to exist after the Effective Date as a separate corporate Entity, limited liability company, partnership, or
other form, as the case may be, with all the powers of a corporation, limited liability company, partnership, or other
form, as the case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is
incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or other formation
documents) in effect prior to the Effective Date, except to the extent such certificate of incorporation and by-laws (or
other formation documents) are amended under the Plan or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to the Plan and require no further action or approval
(other than any requisite filings required under applicable state, provincial, or federal law).

G.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated
herein, on the Effective Date, all property in each Debtor’s Estate, all Causes of Action, and any property acquired
by any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all
Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the Effective Date, except as
otherwise provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose
of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by
the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

H.       Cancellation of Existing Agreements and Interests.

          On the later of the Effective Date and the date on which distributions are made pursuant to the Plan (if not
made on the Effective Date), except for the purpose of evidencing a right to and allowing Holders of Claims and
Interests to receive a distribution under the Plan or to the extent otherwise specifically provided for in the Plan or set
forth in the Description of Restructuring Transactions, (a) all notes, instruments, certificates, and other documents
evidencing Claims or Interests, and any other certificate, equity security, share, note, bond, indenture, purchase
right, option, warrant, or other instrument or document directly or indirectly evidencing or creating any indebtedness
or obligation of or ownership interest in the Debtors giving rise to any Claim or Interest (except such agreements,
certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or ownership interest
in the Debtors that are reinstated or amended and restated pursuant to the Plan), shall be cancelled, and the
obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled,
discharged, and of no force or effect, and the Agents and Trustees shall not have any continuing duties or obligations
thereunder and shall be discharged; and (b) the obligations of the Debtors pursuant, relating, or pertaining to any
credit document or agreement, the Indentures, any agreements, certificates of designation, bylaws or certificate, or
articles of incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase
rights, options, or other instruments or documents evidencing or creating any indebtedness or obligation of or
ownership interest in the Debtors (except such agreements, certificates, notes, or other instruments evidencing
indebtedness or obligation of or ownership interest in the Debtors that are specifically reinstated, amended and
reinstated, or entered into pursuant to the Plan) shall be released and discharged; provided, however, that the
applicable credit document, agreement, or Indentures shall continue in effect for the purposes of: (i) allowing the
Agents and Trustees to receive distributions from the Debtors and to make further distributions to the applicable
Holders of Claims (subject to any applicable charging liens), and allowing such Holders to accept distributions, on
account of such Claims; (ii) preserving the Agents’ and Trustees’ rights to payment of reasonable and documented
fees and expenses (to be documented in accordance with the terms of the applicable credit document(s),
agreement(s), or Indenture(s)), and allowing the maintenance, exercise, and enforcement of any applicable charging
lien and priority of payment rights for the payment of reasonable and documented fees and expenses (to be
documented in accordance with the terms of the applicable credit document(s), agreement(s), or Indenture(s)),
including the Agent’s or Trustee’s charging liens and priority of payment rights pursuant and subject to the terms of
the applicable credit document(s), agreement(s), or Indenture(s), or any related or ancillary document, instrument,
agreement, or principle of law, against any money or property distributed or allocable on account of such Claims, as
applicable; (iii) seeking compensation and reimbursement for any reasonable and documented fees and expenses
incurred by or on behalf of the Agents and Trustees in connection with the implementation of the Plan; (iv) allowing
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the Agents and Trustees to enforce their respective rights, claims, and interests against any Entity that is not a
Released Party; (v) preserving the right of Agents and Trustees to exculpation and, indemnification from the Debtors
or any other Entity pursuant and subject to the terms of the applicable credit document(s), agreement(s), or
Indenture(s), and permitting each of the Agents and Trustees to maintain, enforce, and exercise its respective
charging liens in connection therewith; (vi) maintaining, enforcing, and exercising any right or obligation to
compensation, indemnification, exculpation, expense reimbursement, or contribution, or any other claim or
entitlement that the Agents and Trustees may have under the applicable credit document(s), agreement(s), or
Indenture(s), permitting each of the Agents and Trustees to maintain, enforce, and exercise its respective charging
liens in connection therewith; (vii) permitting the Agents and Trustees to perform any functions that are necessary to
effectuate the forgoing; and (viii) preserving the Agents’ and Trustees’ right to appear and be heard in the Chapter 11
Cases or in any other proceeding in the Bankruptcy Court, including but not limited to enforcing any obligations
owed to it under the Plan, Confirmation Order, or under the applicable credit document(s), agreement(s), or
Indenture(s); provided that (a) nothing in this Plan shall affect the discharge of Claims pursuant to the Bankruptcy
Code, the Confirmation Order, or the Plan and (b) except as otherwise provided in the Plan, the terms and provisions
of the Plan shall not modify any existing contract or agreement that would in any way be inconsistent with
distributions under the Plan; provided, further, that all provisions in credit documents, agreements, or Indentures that
by their own terms survive the termination, discharge, expiration, or maturity thereof, shall also survive and continue
in full force and effect. On the Effective Date, each holder of a certificate or instrument evidencing a Claim that is
discharged by the Plan shall be deemed to have surrendered such certificate or instrument in accordance with the
applicable Indenture(s) or credit agreement that governs the rights of such holder of such Claim. Such surrendered
certificate or instrument shall be deemed cancelled as set forth in, and subject to the exceptions set forth in, this
Article IVVI.GH.

          On and after the Effective Date, the duties and responsibilities of the Agents and Trustees under the
respective credit agreement or document or Indenture(s), as applicable, shall be discharged and released, except (i)
to the extent required to effectuate the Plan including, but not limited to, making distributions under the Plan to the
holders of Allowed Claims under their respective credit agreement or document or Indenture(s) and (ii) with respect
to any rights of the Agents and Trustees to payment of reasonable and documented fees, expenses, and
indemnification obligations (to be documented in accordance with the terms of the applicable credit document(s),
agreement(s), or Indenture(s)) as against any money or property distributable to holders of Claims or Interests
pursuant and subject to the terms of the applicable credit document(s), agreement(s), or Indenture(s), including any
rights to priority of payment and/or to exercise charging liens. After the performance by the Agents and Trustees and
their respective representatives and professionals of any obligations and duties required under or related to the Plan
or the Confirmation Order, the Agents and Trustees shall be deemed to be forever relieved of and released from any
obligations and duties arising thereunder.

         After the Effective Date, the distributions to holders on account of Second Lien Notes Claims, and the
payment of all fees and expenses of, and other amounts due to, the Second Lien Notes Trustees (including, without
limitation, attorneys’ fees and expenses), the Debtors or the Reorganized Debtors, at their expense, may, in their sole
discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence the release of any and all
mortgages, deeds of trust, Liens, pledges, and other security interests with respect to the Second Lien Notes Claims,
including, without limitation, the preparation and filing, in form, substance, and content reasonably acceptable to the
Second Lien Notes Trustees, of any and all documents necessary to terminate, satisfy, or release any mortgages,
deeds of trust, Liens, pledges, and other security interests held by the Second Lien Notes Trustees, including, without
limitation, UCC-3 termination statements.

        On and after the final distribution on account of the Allowed Second Lien Notes Claims, the Second Lien
Notes shall be deemed to be worthless, and the DTC shall take down the relevant positions at the request of the
Second Lien Notes Trustee without any requirement of indemnification or security on the part of the Second Lien
Notes Trustee.

        After the Effective Date, the distributions to holders on account of Third Lien Notes Claims, and the
payment of all fees and expenses of the Third Lien Notes Trustees (including, without limitation, attorneys’ fees and
expenses), the Debtors or the Reorganized Debtors, at their expense, may, in their sole discretion, take any action
necessary to terminate, cancel, extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens,

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pledges, and other security interests with respect to the Third Lien Notes Claims, including, without limitation, the
preparation and filing, in form, substance, and content reasonably acceptable to the Third Lien Notes Trustees, of
any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of trust, Liens, pledges, and
other security interests held by the Third Lien Notes Trustees, including, without limitation, UCC-3 termination
statements.

         On and after the final distribution on account of the Allowed Third Lien Notes Claims, the Third Lien Notes
shall be deemed to be worthless, and DTC shall take down the relevant positions at the request of the Third Lien
Notes Trustee without any requirement of indemnification or security on the part of the Third Lien Notes Trustee.¶

         After the Effective Date, the distributions to Holders on account of Cash Pay Notes Claims and PIK
Toggle Notes Claims, and the payment of all fees and expenses of, and other amounts due to, the Cash Pay
Notes Trustee and PIK Toggle Notes Trustee (including, without limitation, attorneys’ fees and expenses), the
Debtors or the Reorganized Debtors, at their expense, may, in their sole discretion, take any action necessary
to terminate, cancel, extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens,
pledges, and other security interests with respect to the Cash Pay Notes Claims and PIK Toggle Notes Claims,
including, without limitation, the preparation and filing, in form, substance, and content reasonably
acceptable to the Cash Pay Notes Trustee and PIK Toggle Notes Trustee, of any and all documents necessary
to terminate, satisfy, or release any mortgages, deeds of trust, Liens, pledges, and other security interests held
by the Cash Pay Notes Trustee and PIK Toggle Notes Trustee, including, without limitation, UCC-3
termination statements.

I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Employment Obligations; (2) selection of
the directors, officers, or managers for the Reorganized Debtors; (3) the distribution of the New Equity; (4)
implementation of the Restructuring Transactions; (5) entry into the Exit Facility Documents; (6) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (7) adoption of the New
Organizational Documents; (8) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; and (9) the amendment of the MYT Series B Preferred Stock certificate of
designation and technical modification of related documents to give effect to the distributions of the MYT
Series B Preferred Stock contemplated by the Plan; and (10) all other acts or actions contemplated or reasonably
necessary or appropriate to promptly consummate the Restructuring Transactions contemplated by the Plan (whether
to occur before, on, or after the Effective Date). All matters provided for in the Plan involving the corporate
structure of the Debtors or the Reorganized Debtors, and any corporate action required by the Debtors or the
Reorganized Debtor, as applicable, in connection with the Plan shall be deemed to have occurred and shall be in
effect, without any requirement of further action by the security Holders, directors, officers, or managers of the
Debtors or the Reorganized Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate
officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to
issue, execute, and deliver the agreements, documents, securities, and instruments contemplated under the Plan (or
necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Reorganized Debtors, including the New Equity, the New Organizational Documents, the Exit Facility, the Exit
Facility Documents, and any and all other agreements, documents, securities, and instruments relating to the
foregoing. The authorizations and approvals contemplated by this Article IV.I shall be effective notwithstanding any
requirements under non-bankruptcy law.

J.       New Organizational Documents.

          The New Organizational Documents shall, among other things: (a) authorize the issuance and distribution
of, and reservation of New Equity underlying, the New Warrants to the entities entitled to receive such Interests
under the Plan; and (b) pursuant to and only to the extent required by section 1123(a)(6) of the Bankruptcy Code,
prohibit the issuance of non-voting equity Securities.


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         On or immediately prior to the Effective Date, each of the Reorganized Debtors will file its New
Organizational Documents with the applicable Secretaries of State and/or other applicable authorities in its state of
incorporation or formation in accordance with the applicable laws of their respective state of incorporation or
formation, to the extent required for such New Organizational Documents to become effective. After the Effective
Date, each Reorganized Debtor may amend and restate their formation, organizational, and constituent documents as
permitted by the laws of its respective jurisdiction of formation and the terms of such documents.

         On the Effective Date, the Consenting Parent shall, at the expense of the Debtors, change its corporate name
and will no longer be known as Neiman Marcus Group, Inc. or any other corporate name that references “Neiman
Marcus” or could otherwise reasonably be confused with the Reorganized Debtors.

K.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors of the Debtors shall
expire, and the members for the initial term of the New Board shall be appointed. The initial members of the New
Board will be identified in the Plan Supplement, to the extent known at the time of filing, pursuant to the terms of the
Restructuring Support Agreement. Each such member and officer of the Reorganized Debtors shall serve from and
after the Effective Date pursuant to the terms of the New Organizational Documents and other constituent documents
of the Reorganized Debtors.

          The New Board shall consist of seven directors, or such other number as approved pursuant to the
Governance Term Sheet and shall initially be comprised of (i) the then-serving Chief Executive Officer of the
Reorganized Debtors; (ii) three directors designated by Pacific Investment Management Company LLC (“PIMCO”);
(iii) one director designated by Davidson Kempner Capital Management LP; (iv) one director designated by Sixth
Street Partners, LLC; and (v) one independent director designated by holders of New Equity (other than PIMCO)
representing at least 50% of the New Equity to be outstanding as of the Effective Date (other than New Equity to be
issued to PIMCO).

L.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, Reorganized Neiman and the New Board are authorized to and may issue,
execute, deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary to effectuate, implement, and further evidence the terms and conditions of
the Plan and the Securities issued pursuant to the Plan in the name of and on behalf of Reorganized Neiman, without
the need for any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

M.       Certain Securities Law Matters

          Shares of New Equity issued under theThe Plan Securities will be issued without registration under the
Securities Act or any similar federal, state, or local law in reliance upon section 1145 of the Bankruptcy Code.
Shares of New Equity and/or section 4(a)(2) under the Securities Act. The Plan Securities issued under the Plan
in reliance upon section 1145 of the Bankruptcy Code are exempt from, among other things, the registration
requirements of Section 5 of the Securities Act and any other applicable U.S. state or local law requiring registration
prior to the offering, issuance, distribution, or sale of securities. PursuantThe Plan Securities issued pursuant to
section 1145 of the Bankruptcy Code, the New Equity issued under the Plan: (a) isare not a “restricted securityies”
as defined in Rule 144(a)(3) under the Securities Act; and (b) isare freely tradable and transferable by any holder
thereof that (i) is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act,
(ii) has not been such an “affiliate” within ninety (90) days of such transfer, (iii) has not acquired the New
EquityPlan Securities from an “affiliate” within one year of such transfer, and (iv) is not an Entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code. Such New EquityPlan Securities will be freely
tradable in the United States by the recipients thereof, subject to the provisions of section 1145(b)(1) of the
Bankruptcy Code relating to the definition of an underwriter in section 1145(b) of the Bankruptcy Code, and
compliance with applicable securities laws and any rules and regulations of the United States Securities and
Exchange Commission, if any, applicable at the time of any future transfer of such Securities or instruments and
subject to any restrictions in the New Organizational Documents, the New Warrant Agreement, and the New
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MyT Documents, as applicable. To the extent the Plan Securities are issued pursuant to section 4(a)(2) under
the Securities Act, they will be considered “restricted securities” as defined by Rule 144 of the Securities Act
and may not be resold under the Securities Act and applicable state securities laws absent an effective
registration statement, or pursuant to an applicable exemption from registration, under the Securities Act
and pursuant to applicable state securities laws. The New Equity issued pursuant to this Plan will (i) be DTC
eligible, (ii) entitle the beneficial owner of such securities on a confidential basis to certain information as set forth
in the Governance Term Sheet, and (iii) entitle the beneficial owner to attend quarterly management calls with Q&A
(which may be joint with lenders); provided, that the foregoing shall not be required with respect to such securities to
the extent that, as a result thereof, the Reorganized Debtors will be (or will be required to be) an SEC registered
entity.

           DTC shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a
legal opinion regarding whether such securities are exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services. Notwithstanding anything to the contrary in the Plan, no legal opinion
regarding the offering, issuance, and distribution of any Securities contemplated by the Plan, including, for the
avoidance of doubt, whether the New Equity is exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services shall be required.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant
of collateral as security for any or all of the Exit Facility; or (6) the making, delivery, or recording of any deed or
other instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of
sale, assignments, or other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sales or use tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar
tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental assessment and accept
for filing and recordation any of the foregoing instruments or other documents without the payment of any such tax,
recordation fee, or governmental assessment. All filing or recording officers (or any other Person with authority over
any of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of section
1146(c) of the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment.

O.       Employee Matters.

          The Reorganized Debtors shall: (a) assume all qualified pension plans and collective bargaining
agreements; and (b) assume or reject, as the case may be, each of the written contracts, agreements, policies,
programs and plans for compensation, bonuses, reimbursement, health care benefits, disability benefits, deferred
compensation benefits, travel benefits, vacation and sick leave benefits, savings, severance benefits, retirement
benefits, welfare benefits, relocation programs, life insurance and accidental death and dismemberment insurance,
including written contracts, agreements, policies, programs and plans for bonuses and other incentives or
compensation for the Debtors’ current and former employees, directors, officers, and managers, including executive
compensation programs and existing compensation arrangements for the employees of the Debtors, in each case to
the extent set forth in the Schedules of Assumed and Rejected Contracts. Except to the extent provided by Article
VIII of the Plan, nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or the Reorganized
Debtors’ defenses, claims, Causes of Action, or other rights with respect to any such employment agreements.
Notwithstanding the foregoing, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the Effective
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Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall continue to
be paid in accordance with applicable law.

             With respect to the Neiman Retirement Plan, no provision of the Disclosure Statement, this Plan, the
Confirmation Order, or section 1141 of the Bankruptcy Code shall be construed to discharge, release, or relieve the
Reorganized Debtors from liabilities or requirements imposed under ERISA or the Internal Revenue Code with
respect to the Neiman Retirement Plan solely as a result of the Debtors’ reorganization proceedings or confirmation
of this Plan. The PBGC and the Neiman Retirement Plan will not be enjoined or precluded from enforcing any
liability arising under ERISA or the Internal Revenue Code with respect to the Neiman Retirement Plan as a result of
the Debtors’ reorganization proceedings, this Plan’s provisions, or this Plan’s confirmation; provided, however, that
nothing herein affects any of the Debtors’ or the Reorganized Debtors’ rights related thereto and all such rights are
fully preserved.

P.       Management Incentive Plan.

         The New Board shall be authorized to implement the Management Incentive Plan on or after the Effective
Date, the form of which shall be included in the Plan Supplement.

Q.       Preservation of Causes of Action; Waiver of Avoidance Actions.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action, whether arising before or after the Petition Date, including any actions specifically enumerated in
the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the Causes
of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan, including in
Article VIII.

         The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with
the best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the
Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication
that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of
Action against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to
prosecute any and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan,
including Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived,
relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, Reorganized
Neiman expressly reserve all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against
any Entity shall vest in Reorganized Neiman, except as otherwise expressly provided in the Plan, including Article
VIII of the Plan. The Reorganized Debtors, through its authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy Court.

       TheOn the Effective Date, the Reorganized Debtors shall waive and release all Avoidance Actions and
Avoidance Actions shall not be Retained Causes of Action.



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R.       MyTheresa

         This Plan is not intended to affect, alter or impair any stakeholder’s economic and governance rights with
respect to MyTheresa, except as to the Sponsor Contribution and as otherwise set forth herein.

         Upon the occurrence of the Effective Date, each Second Lien Noteholder shall also receive its respective
share of the 2L MyT Distribution on account of its prepetition rights, claims, and interests with respect to
MyTheresa. For the avoidance of doubt, (a) the Second Lien Noteholders’ rights in respect of the limited guarantee
under the MyTheresa Guarantee and Collateral Agreement, and all claims related thereto against non-Debtors, shall
not be affected by the Plan and shall be preserved through the New MYT Documents, and (b) the 2L MyT
Distribution is intended to effectuate such preservation and shall not represent a claim against or interest in the
Reorganized Debtors.

         Upon the occurrence of the Effective Date, each Third Lien Noteholder shall also receive its respective
share of the 3L MyT Distribution on account of its prepetition rights, claims, and interests with respect to
MyTheresa. For the avoidance of doubt, the (a) Third Lien Noteholders’ rights in respect of the pledge of 50% of
the common stock of MYT Holding Co., and all claims against non-Debtors related thereto, shall not be affected by
the Plan and shall be preserved through the New MYT Documents, and (b) the 3L MyT Distribution is intended to
effectuate such preservation and shall not represent a claim against or interest in the Reorganized Debtors.

         In furtherance of the foregoing, except to the extent expressly waived in the Plan, the Plan Supplement shall
contain documentation sufficient to give ongoing effect to the turnover and waterfall provisions concerning
MyTheresa as set forth in the Existing MYT Transaction Documents and the Transaction Support Agreement, and
the equivalent turnover and waterfall provisions in any other prepetition documents and agreements, which, if agreed
among the Consenting Parent, the Required Consenting Noteholders, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed), and the Required Consenting Term Loan Lenders
(such consent not to be unreasonably withheld, conditioned, or delayed), shall be restated pursuant to the terms of
one or more tradeable securities with terms consistent with those contemplated by the Restructuring Support
Agreement and otherwise to be agreed and consented to on the same basis by such parties.

S.       Closing the Chapter 11 Cases.

         Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Reorganized Debtors, the Required
Consenting Term Loan Lenders, the Required Consenting Noteholders, and the Required Consenting Debentures
Parties, and all contested matters relating to each of the Debtors, including objections to Claims, shall be
administered and heard in such Chapter 11 Case.


                                       Article V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease
(including those set forth as assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed
as of the Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code, unless
such Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned, or rejected by the
Debtors; (2) previously expired or terminated pursuant to its own terms; (3) is identified as rejected on the Schedules
of Assumed and Rejected Contracts; or (4) is the subject of a motion to reject that is pending on the Effective Date.
On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease that is
identified as rejected on the Schedules of Assumed and Rejected Contracts shall be deemed rejected as of the
Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.



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         Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments, and rejections, as
applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, and the Schedules of Assumed
and Rejected Contracts, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions
to assume, assume and assign, or reject Executory Contracts or Unexpired Leases pending on the Effective Date
shall be subject to approval by the Bankruptcy Court on or after the Effective Date by a Final Order. Unless
otherwise specified in the Plan Supplement, the Schedules of Assumed and Rejected Contracts, or an applicable
Court order, assumptions, assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases
pursuant to the Plan are effective as of the Effective Date. Each Executory Contract and Unexpired Lease assumed
pursuant to the Plan or by any order of the Bankruptcy Court, which has not been assigned to a third party prior to
the Confirmation Date, shall re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in
accordance with its terms, except as such terms may be modified by the provisions of the Plan or any order of the
Bankruptcy Court authorizing and providing for its assumption under applicable federal law. Notwithstanding
anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, shall have the right to
alter, amend, modify, or supplement the Schedules of Assumed and Rejected Contracts identified in this Article V.A
of the Plan and in the Plan Supplement at any time through and including 45 days after the Effective Date; provided,
however, that after the date of the Confirmation Hearing, the Debtors may not subsequently reject any Unexpired
Lease previously designated as assumed or assumed and assigned on the Schedules of Assumed and Rejected
Contracts absent the consent of the applicable lessor.

         To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed and
assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any “change of control” provision), then such provision shall be deemed modified such that the
transactions contemplated by the Plan shall not entitle the non-Debtor party or parties to such Executory Contract or
Unexpired Lease to terminate such Executory Contract or Unexpired Lease or to exercise any other default-related
rights with respect thereto.

B.       Indemnification Obligations.

          Upon the Effective Date and consummation of the Plan on the terms set forth herein, all indemnification
obligations in place as of the Effective Date under the Debtors’ organizational documents (including in the by-laws,
certificates of incorporation or formation, limited liability company agreements, and other organizational or
formation documents,) for the current and former directors, officers, managers, and employees of the Debtors, as
applicable, shall be assumed and remain in full force and effect after the Effective Date, and shall not be modified,
reduced, discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired and unaffected,
irrespective of when such obligation arose; provided, however, that the foregoing shall not apply to any obligations
to indemnify any person or entity (other than natural-person managers or officers in their capacities as such serving
as of the Effective Date, including the disinterested managers of Mariposa Intermediate and NMG LTD,
respectively) in connection with any claims or causes of action related to the designation of MyTheresa as an
unrestricted subsidiary or the distribution of MyTheresa by or through certain Debtors to NMG, Inc. and related
transactions.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on the Debtors or
Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection. Any Claims arising from the
rejection of an Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time
will be automatically disallowed, forever barred from assertion, and shall not be enforceable against the
Debtors or the Reorganized Debtors, the Estates, or their property without the need for any objection by the
Reorganized Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be
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deemed fully satisfied, released, and discharged, and be subject to the permanent injunction set forth in
Article VIII.F of the Plan, including any Claims against any Debtor listed on the Schedules as unliquidated,
contingent, or disputed. All Allowed Claims arising from the rejection by any Debtor of any Executory Contract or
Unexpired Lease shall be treated as a General Unsecured Claim in accordance with Article III.B and Article III.C of
the Plan.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall pay Cures, if any, on the Effective Date or as
soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for payment of Cure that differ from the amounts paid or
proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy
Court on or before thirty (30) days after the Effective Date. Any such request that is not timely filed shall be
disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any other party in interest or
any further notice to or action, order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied,
released, and discharged upon payment by the Debtors or the Reorganized Debtors of the Cure; provided that
nothing herein shall prevent the Reorganized Debtors from paying any Cure despite the failure of the relevant
counterparty to File such request for payment of such Cure. The Reorganized Debtors also may settle any Cure
without any further notice to or action, order, or approval of the Bankruptcy Court. In addition, any objection to the
assumption of an Executory Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on
or before 30 days after the Effective Date. Any such objection will be scheduled to be heard by the Bankruptcy
Court at the Debtors’ or Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such
objection is timely filed. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object to
the proposed assumption of any Executory Contract or Unexpired Lease will be deemed to have consented to such
assumption.

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure amount in
Cash on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such
Executory Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of
any payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure payments
required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order or orders
resolving the dispute and approving the assumption; provided that the Reorganized Debtors may settle any such
dispute without any further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity;
provided, further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving
any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the Reorganized
Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is subject to dispute,
whether by amending the Schedules of Assumed and Rejected Contracts in accordance with Article V.A of the Plan
or otherwise.

         At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall provide for
notices of proposed assumption or assumption and assignment and proposed Cure amounts to be sent to applicable
third parties, which notices will include procedures for objecting thereto and resolution of disputes by the
Bankruptcy Court. Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption or assumption and assignment or related Cure amount must be Filed, served, and actually received by the
Debtors no later than seven days prior to the first day of the Confirmation Hearing. Any counterparty to an
Executory Contract or Unexpired Lease that fails to timely object to the proposed assumption or Cure amount will be
deemed to have assented to such assumption or assumption and assignment and cure amount.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article V.CD shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
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in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all Proofs of
Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11
Cases, including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant
to this Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed or
assumed and assigned shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired
Leases related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options, rights
of first refusal, and any other interests, unless any of the foregoing agreements has been previously rejected or
repudiated or is rejected or repudiated under the Plan.
         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any
Claims that may arise in connection therewith.
F.       Surety Bonds.

          On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers as set forth
in the Order (I) Authorizing the Debtors to Continue Their Surety Bond Program and (II) Granting Related Relief
[Docket No. 244] shall be deemed reaffirmed by the Reorganized Debtors, including as applicable: (i) surety
payment and indemnity agreements, setting forth the sureties’ rights against the Debtors, and the Debtors’ obligations
to pay and indemnify the sureties from any loss, cost, or expense that the sureties may incur, in each case, on account
of the issuance of any surety bonds on behalf of the Debtors; (ii) surety collateral agreements governing collateral, if
any, in connection with the Debtors’ surety bonds; and/or (iii) ordinary course premium payments to any surety for
the Debtors’ surety bonds.

G.       Insurance Policies.

         Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, the Plan Supplement, the
Confirmation Order, any bar date notice or claim objection, any other document related to any of the foregoing, or
any other order of the Bankruptcy Court (including, without limitation, any other provision that purports to be
preemptory or supervening, grants an injunction, discharge or release, or requires a party to opt out of any releases):
(1) on the Effective Date, the Debtors shall be deemed to have assumed all Insurance Policies in their entirety
pursuant to sections 105 and 365 of the Bankruptcy Code and such Insurance Policies shall revest in the Reorganized
Debtors, and the Reorganized Debtors shall remain liable in full for all of their and the Debtors’ obligations
thereunder, regardless of whether such obligations arise before or after the Effective Date, without the requirement or
need for any Insurer to file a Proof of Claim, an Administrative Claim, a Cure claim, or to object to any Cure
amount; (2) nothing shall alter, modify, amend, affect, impair, or prejudice the legal, equitable, or contractual rights,
obligations, and defenses of the Insurers, the Debtors (or, after the Effective Date, the Reorganized Debtors), or any
other individual or Entity, as applicable, under any Insurance Policies, and all such rights and obligations shall be
determined under the Insurance Policies and applicable non-bankruptcy law as if the Chapter 11 Cases had not
occurred; and (3) the automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in Article
VIII of the Plan, if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy
Court, solely to permit: (a) claimants with valid workers’ compensation claims or direct action claims against an
Insurer under applicable non-bankruptcy law to proceed with their claims; (b) the Insurers to administer, handle,
defend, settle, and/or pay, in the ordinary course of business and without further order of this Bankruptcy Court, (i)
workers’ compensation claims, (ii) claims where a claimant asserts a direct action claim against any Insurer under
applicable non-bankruptcy law, or an order has been entered by this Bankruptcy Court granting a claimant relief
from the automatic stay to proceed with its claim, and (iii) all costs in relation to each of the foregoing; (c) the
Insurers to draw against any or all of the collateral or security provided by or on behalf of the Debtors (or the
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Reorganized Debtors, as applicable) at any time and to hold the proceeds thereof as security for the obligations of
the Debtors (and the Reorganized Debtors, as applicable) and/or apply such proceeds to the obligations of the
Debtors (and the Reorganized Debtors, as applicable) under the Insurance Policies, in such order as the applicable
Insurer may determine; and (d) the Insurers to cancel any Insurance Policy, and take other actions relating to the
Insurance Policies (including effectuating a setoff), to the extent permissible under applicable non-bankruptcy law,
and in accordance with the terms of the Insurance Policies.

H.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement, shall constitute an admission by the Debtors that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors
have any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter its treatment of such contract or lease
under the Plan.

I.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section
365(d)(4) of the Bankruptcy Code.

J.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                               Article VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan or Confirmation Order, on the Effective Date (or if a Claim or
Interest is not an Allowed Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest
becomes an Allowed Claim or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an
Allowed Claim or Allowed Interest (as applicable) shall receive the full amount of the distributions that the Plan
provides for Allowed Claims or Allowed Interest (as applicable) in the applicable Class. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a Business Day, then the
making of such payment or the performance of such act may be completed on the next succeeding Business Day, but
shall be deemed to have been completed as of the required date. If and to the extent that there are Disputed Claims
or Disputed Interests, distributions on account of any such Disputed Claims or Disputed Interests shall be made
pursuant to the provisions set forth in Article VII hereof. Except as otherwise provided in the Plan, holders of
Claims or Interests shall not be entitled to interest, dividends, or accruals on the distributions provided for in the
Plan, regardless of whether such distributions are delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Disbursing Agent on the Effective Date. The
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so
otherwise ordered, all costs and expenses of procuring any such bond or surety shall be borne by the Reorganized
Debtors.
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C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the manner of
such distributions shall be determined at the discretion of the Reorganized Debtors; provided further that the address
for each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder.

           Subject to the Second Lien Notes Trustee’s charging lien and priority of payment rights, distributions of the
(i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the form of a distribution by
a Debtor, the 2L MyT Distribution in respect of Allowed Second Lien Notes Claims will be made through the
facilities of DTC in accordance with DTC’s customary practices; provided, however, that such distributions will only
be issued in accordance with DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a
single holder for purposes of distributions.

           The Second Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Second Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the
Plan with Holders of the Second Lien Notes Claims to the extent consistent with the customary practices of DTC,
and all distributions of (i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the
form of a distribution by a Debtor, the 2L MyT Distribution, to be made to Holders of Second Lien Notes Claims
shall be delivered to the Second Lien Notes Trustee in a form that is eligible to be distributed through the facilities of
DTC.

         Without in any way limiting the provisions of the Second Lien Notes Indenture, to the extent the Second
Lien Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date,
including, without limitation, reasonable and documented professional fees, related to or in connection with the Plan,
the Confirmation Order, or the Second Lien Notes Indenture (as applicable), including, without limitation, in
connection with making distributions to Holders of Second Lien Notes Claims under the Plan, the Second Lien Notes
Trustee shall be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval,
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payment, in Cash, asof reasonable compensation for such services and reimbursement of such expenses (including,
without limitation, reasonable and documented attorneys’ fees and expenses) incurred in connection with such
services. Upon presentation of a summary invoice, payment of such compensation and reimbursement of such
expenses shall be made as soon as reasonably practicable, but in any case within the earlier of (i) the date upon
which the Second Lien Notes Trustee releases any Liens under the Plan or (ii) ten (10) days following the Second
Lien Notes Trustee’s notification to the Reorganized Debtors of the amount of such costs or expenses. On the
Effective Date, the Debtors shall pay to the Second Lien Notes Trustee the amount of $23,500 for compensation for
its services pursuant to Section 7.6 of the Second Lien Notes Indenture and the Schedule of Fees entered into in
connection with the Second Lien Notes Indenture. This payment shall be in addition to all other fees and expenses
the Second Lien Notes Trustee is entitled to receive under the Plan, the Confirmation Order and the Second Lien
Notes Indenture or otherwise. The Second Lien Notes Trustee shall not bear any responsibility or liability for any
distributions made under or pursuant to the Plan; provided, however, that the Second Lien Notes Trustee will not be
relieved of any such responsibility or liability to the extent inconsistent with the provisions of the Second Lien Notes
Indenture.

         Subject to the Third Lien Notes Trustee’s charging lien and priority of payment rights, distributions of (i)
the New Equity and (ii) to the extent the 3L MyT Distribution takes the form of a distribution by a Debtor, the
3L MyT Distribution, in respect of Allowed Third Lien Notes Claims will be made through the facilities of DTC in
accordance with DTC’s customary practices; provided, however, that such New Equitydistributions will only be
issued in accordance with DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a single
holder for purposes of distributions.

          The Third Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Third Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the
Plan with hHolders of the Third Lien Notes Claims to the extent consistent with the customary practices of DTC, and
all distributions of New Equity to be made to holders(i) the New Equity, (ii) the New Warrants, and (iii) to the
extent the 3L MyT Distribution takes the form of a distribution by a Debtor, the 3L MyT Distribution, to be
made to Holders of Third Lien Notes Claims shall be delivered to the Third Lien Notes Trustee in a form that is
eligible to be distributed through the facilities of DTC. To¶

         Without in any way limiting the provisions of the Third Lien Notes Indentures, to the extent the Third
Lien Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date,
including, without limitation, reasonable and documented, professional fees, related to or in connection with the
Plan, the Confirmation Order, or the Third Lien Notes Indentures (as applicable), including, without limitation, in
connection with making distributions to Holders of Third Lien Notes Claims under the Plan, the Third Lien Notes
Trustee shall be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval,
payment, in Cash, asof reasonable compensation for such services and reimbursement of such expenses (including,
without limitation, reasonable and documented attorneys’ fees and expenses) incurred in connection with such
services. Upon presentation of a summary invoice, payment of such compensation and reimbursement of such
expenses willshall be made as soon as reasonably practicable, but in any case within the earlier of (i) the date upon
which the Third Lien Notes Trustee releases andy Liens under the Plan or (ii) ten (10) days following the Third Lien
Notes Trustee’s notification to the Debtors or Reorganized Debtors, as applicable, of the amount of such costs or
expenses. On the Effective Date, the Debtors shall pay to the Third Lien Notes Trustee the amount of $[____]
for compensation for its services pursuant to Section 7.6 of the Third Lien Notes Indentures and the Schedule
of Fees entered into in connection with the Third Lien Notes Indentures. This payment shall be in addition to
all other fees and expenses the Third Lien Notes Trustee is entitled to receive under the Plan, the
Confirmation Order and the Third Lien Notes Indentures or otherwise. The Third Lien Notes Trustee shall
not bear any responsibility or liability for any distributions made under or pursuant to the Plan; provided,
however, that the Third Lien Notes Trustee will not be relieved of any such responsibility or liability to the
extent inconsistent with the provisions of the Second Lien Notes Indenture.¶

       Subject to the Cash Pay Notes Trustee’s and PIK Toggle Trustee’s charging lien and priority of
payment rights, distributions of the Series B Preferred Stock and Cash in respect of Allowed Funded-Debt
General Unsecured Claims will be made, to the extent practicable, through the facilities of DTC in
accordance with DTC’s customary practices. For the avoidance of doubt, DTC shall be considered a single
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holder for purposes of distributions. Notwithstanding anything to the contrary in this Plan, the Cash Pay
Notes and PIK Toggle Notes shall remain outstanding solely so that the Debtors may continue to make all
distributions, including post-Effective Date distributions, to Holders of Allowed Funded-Debt General
Unsecured Claims pursuant to the Plan.

         3.   De Minimis Distributions; Minimum Distributions.

         No fractional shares of New Equity shall be distributed and no Cash shall be distributed in lieu of such
fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed Interest
(as applicable) would otherwise result in the issuance of a number of shares of New Equity that is not a whole
number, the actual distribution of shares of New Equity shall be rounded as follows: (a) fractions of one-half (½) or
greater shall be rounded to the next higher whole number and (b) fractions of less than one-half (½) shall be rounded
to the next lower whole number with no further payment therefore. The total number of authorized shares of New
Equity to be distributed to Holders of Allowed Claims and Allowed Interests (as applicable) shall be adjusted as
necessary to account for the foregoing rounding.

         The Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim or an Allowed
Interest on account of such Allowed Claim or Allowed Interest of New Equity, New Warrants, Exit Rights, if
applicable, or Cash where such distribution is valued, in the reasonable discretion of the Disbursing Agent, at less
than $100.00, and each Claim or Interest to which this limitation applies shall be discharged pursuant to Article VIII
of the Plan and its Holder shall be forever barred pursuant to Article VIII of the Plan from asserting that Claim
against or Interest in the Reorganized Debtors or their property.

         4.   Undeliverable Distributions and Unclaimed Property.

         In the event that either (a) a distribution to any Holder is returned as undeliverable or (b) the Holder of an
Allowed Claim or Allowed Interest does not respond to a request by the Debtors or the Disbursing Agent for
information necessary to facilitate a particular distribution, no distribution to such Holder shall be made unless and
until the Disbursing Agent has determined the then-current address of such Holder or received the necessary
information to facilitate a particular distribution, at which time such distribution shall be made to such Holder
without interest, dividends, or other accruals of any kind; provided that such distributions shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code on the date that is six months after the later of (x) the
Effective Date and (y) the date of the distribution. After such date, all unclaimed property or interests in property
shall revert to the Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court
(notwithstanding any applicable local, state, federal, or foreign escheat, abandoned, or unclaimed property laws to
the contrary), and the Claim or Interest of any Holder to such property or interest in property shall be discharged and
forever barred.

E.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax
withholding and reporting requirements imposed on them by any Governmental Unit, and all distributions made
pursuant to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Reorganized Debtors and the Disbursing Agent shall (x) be authorized to take all
actions necessary to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions, or establishing any other
mechanisms they believe are reasonable and appropriate and (y) shall reasonably cooperate with the relevant
recipients to minimize any such withholding to the extent permitted by applicable Law. The Reorganized Debtors

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reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.

         The Debtors and the Consenting Stakeholders will negotiate in good faith with respect to the Debtors’ and
Consenting Parent’s (and Consenting Parent’s non-Debtor subsidiaries’) rights and responsibilities with respect to
the tax assets and obligations of the consolidated tax group (and any state and local tax group), which may be
documented in a Tax Sharing Agreement, and the Debtors’ and Consenting Parent’s (and Consenting Parent’s
non-Debtor subsidiaries’) rights and responsibilities with respect to the foregoing are reserved subject to resolution
of the foregoing and absent resolution of the foregoing, any claims or causes of action with respect to these rights
and obligations shall not be included in the releases in Article VIII of the Plan.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

H.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan or the Confirmation Order, or required by applicable
bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any prepetition Claims
against the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to interest accruing on
or after the Petition Date on any such prepetition Claim. Additionally, and without limiting the foregoing, interest
shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a
final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed
Claim.

I.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable currency as published in The Wall Street Journal (National Edition), on the
Effective Date.

J.       Setoffs and Recoupment.

         Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant
Reorganized Debtor(s) and Holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the
allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of
any and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against
the applicable Holder. In no event shall any Holder of Claims against, or Interests in, the Debtors be entitled to
recoup any such Claim or Interest against any claim, right, or Cause of Action of the Debtors or the Reorganized
Debtors, as applicable, unless such Holder actually has performed such recoupment and provided notice thereof in
writing to the Debtors in accordance with Article XII.G of the Plan on or before the Effective Date, notwithstanding
any indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of
recoupment.




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K.       Claims Paid or Payable by Third Parties.

        1.    Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall
be disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph,
to the extent a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party
that is not a Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days
of receipt thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s
total recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as
of the date of any such distribution under the Plan. The failure of such Holder to timely repay or return such
distribution shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal
Judgment Rate on such amount owed for each Business Day after the 14-day grace period specified above until the
amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to pay in full or in
part a Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then
immediately upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim
objection having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, payment distributions to Holders of Allowed Claims covered by
Insurance Policies shall be in accordance with the provisions of any applicable Insurance Policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold
against any other Entity, including Insurers under any policies of Insurance Policies, nor shall anything contained
herein constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
Insurers.

                                  Article VII.
  PROCEDURES FOR RESOLVING CONTINGENT, AND UNLIQUIDATED CLAIMS OR INTERESTS


A.      Allowance of Claims.

        After the Effective Date and subject to the terms of this Plan, each of the Reorganized Debtors and the
GUC Claims Administrator, as applicable, shall have and retain any and all rights and defenses such Debtor had
with respect to any Claim or Interest immediately prior to the Effective Date. The Debtors may affirmatively
determine to deem Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable
non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors
and the GUC Claims Administrator, as applicable, shall have the sole authority: (1) to File, withdraw, or litigate
to judgment, objections to Claims or Interests; (2) to settle or compromise any Disputed Claim without any further
notice to or action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register
to reflect any such settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after the Effective
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Date, each Reorganized Debtor and the GUC Claims Administrator, as applicable, shall have and retain any and
all rights and defenses suchthat any Debtor had immediately prior to the Effective Date with respect to any Disputed
Claim or Interest.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, or the GUC Claims
Administrator, as applicable, may (but are not required to) at any time request that the Bankruptcy Court estimate
any Claim pursuant to applicable law, including, without limitation, pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction under 28
U.S.C. §§ 157 and 1334 to estimate any such Claim, including during the litigation of any objection to any Claim or
during the pendency of any appeal relating to such objection. Notwithstanding any provision to the contrary in the
Plan, a Claim that has been expunged from the Claims Register, but that either is subject to appeal or has not been
the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the
Bankruptcy Court. In the event that the Bankruptcy Court estimates any Claim, such estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including for purposes of
distributions and discharge) and may be used as evidence in any supplemental proceedings, and the Debtors or
Reorganized Debtors may elect to pursue any supplemental proceedings to object to any ultimate distribution on
such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of a Claim that
has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek
reconsideration of such estimation unless such Holder has Filed a motion requesting the right to seek such
reconsideration on or before seven (7) days after the date on which such Claim is estimated. Each of the foregoing
Claims and objection, estimation, and resolution procedures are cumulative and not exclusive of one another.
Claims may be estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

D.       Adjustment to Claims or Interests without Objection.

         Any Claim or Interest that has been paid, satisfied, amended, superseded, cancelled, or otherwise expunged
(including pursuant to the Plan) may be adjusted or expunged on the Claims Register at the direction of the
Reorganized Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the
GUC Claims Administrator having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or approval
of the Bankruptcy Court. Additionally, any Claim or Interest that is duplicative or redundant with another Claim or
Interest against the same Debtor may be adjusted or expunged on the Claims Register at the direction of the
Reorganized Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the
GUC Claims Administrator having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or approval
of the Bankruptcy Court.

E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors or, the
Reorganized Debtors, or the GUC Claims Administrator, as applicable, or by a Final Order of the Bankruptcy
Court for objecting to such claims.

F.       Amendments to Proofs of Claim

         A Proof of Claim against any Debtor may be amended before the Confirmation Date only as agreed upon by
the Debtors or the GUC Claims Administrator, as applicable, and the Holder of such Claim or Interest or as
otherwise permitted by the Bankruptcy Court, the Bankruptcy Rules, or applicable nonbankruptcy law. On or after
the Effective Date, except as provided in the Plan or the Confirmation Order, a Proof of Claim may not be Filed or
amended without the prior authorization of the Bankruptcy Court or the Reorganized Debtors or the GUC Claims
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Administrator, as applicable, and any such new or amended Proof of Claim Filed shall be deemed disallowed in
full and expunged without any further action, order, or approval of the Bankruptcy Court absent prior Bankruptcy
Court approval or agreement by the Debtors or, Reorganized Debtors, or the GUC Claims Administrator, as
applicable; provided that the foregoing shall not apply to Administrative Claims other than 503(b)(9) Claims.

G.       Disallowance of Claims or Interests.¶

          All Claims and Interests of any Entity from which property is recoverable under sections 542, 543, 550, or
553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a transferee of a transfer that is
avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be deemed
disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may not receive any
distributions on account of such Claims until such time as such Causes of Action against that Entity have been settled
or a Bankruptcy Court order with respect thereto has been entered and all sums due, if any, to the Debtors by that
Entity have been turned over or paid to the Debtors or the Reorganized Debtors.

        Except as otherwise provided herein or as agreed to by the Reorganized Debtors and/or the GUC
Claims Administrator, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date shall be
deemed disallowed and expunged as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account
of such Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order.

                                         Article VIII.
                  SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

           Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Debtor Intercompany Claims resolved or compromised after the
Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties,
regardless of whether any property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any
liability (including withdrawal liability) to the extent such Claims or Interests relate to services performed by
employees of the Debtors before the Effective Date and that arise from a termination of employment, any contingent
or non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event of
default” by the Debtors or Affiliates with respect to any Claim or Interest that existed immediately before or on
account of the filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective
Date. The Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests subject
to the Effective Date occurring.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or
any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case
of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective
Date, except for Other Secured Claims that the Debtors elect to reinstate in accordance with Article III.B.1
hereof, all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the
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Estates shall be fully released and discharged, and all of the right, title, and interest of any Holder of such
mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors
and their successors and assigns. Any Holder of such Secured Claim (and the applicable agents for such
Holder) shall be authorized and directed, at the sole cost and expense of the Reorganized Debtors, to release
any collateral or other property of any Debtor (including any cash collateral and possessory collateral) held
by such Holder (and the applicable agents for such Holder), and to take such actions as may be reasonably
requested by the Reorganized Debtors to evidence the release of such Lien, including the execution, delivery,
and filing or recording of such releases. The presentation or filing of the Confirmation Order to or with any
federal, state, provincial, or local agency or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.

C.         Releases by the Debtors.

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and
after the Effective Date, each Released Party is deemed released and discharged by the Debtors, the
Reorganized Debtors, and their Estates from any and all Causes of Action, including any derivative claims
asserted on behalf of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
Holder of any Claim or Interest, or that any Holder of any Claim or Interest could have asserted on behalf of
the Debtors, based on or relating to, or in any manner arising from, in whole or in part:
     (a)   the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
           preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the
           pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of the
           Plan, including the issuance or distribution of Securities pursuant to the Plan, or the distribution of
           property under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or
         before the Effective Date.
        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (a) in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to facilitating the Restructuring and
implementing the Plan; (b) a good faith settlement and compromise of the Claims released by the Debtor
Release; (c) in the best interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and
reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to any of the


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Debtors, the Reorganized Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released
pursuant to the Debtor Release.4



D.         Releases by Holders of Claims and Interests.

        As of the Effective Date, each Releasing Party is deemed to have released and discharged each
Debtor, Reorganized Debtor, and Released Party from any and all Causes of Action, including any derivative
claims asserted on behalf of the Debtors, that such Entity would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in part:
      (a) the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
          preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the
           pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of the
           Plan, including the issuance or distribution of Securities pursuant to the Plan, or the distribution of
           property under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or
         before the Effective Date.
        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for
the good and valuable consideration provided by the Released Parties; (d) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (e) in the best interests of the Debtors and
their Estates; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for
hearing; and (h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released
pursuant to the Third-Party Release.

E.         Exculpation.

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
4     The Debtor releases in this Plan are subject to the investigation of the disinterested manager of Mariposa
    Intermediate, the Debtor parent of NMG LTD, and the disinterested managers of NMG LTD, and subject to
    revision pending the outcome of these investigations.
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preparation, dissemination, negotiation, filing, or termination of the Restructuring Support Agreement and
related prepetition transactions, the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document (including providing any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation Order in
lieu of such legal opinion) created or entered into in connection with the Disclosure Statement or the Plan, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance of Securities pursuant to the Plan, or the distribution
of property under the Plan or any other related agreement, except for claims related to any act or omission
that is determined in a final order to have constituted actual fraud, willful misconduct, or gross negligence,
but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of
the Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws with
regard to the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.

         The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.       Injunction.

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may hold claims or
interests that have been released pursuant to the Plan, shall be discharged pursuant to the Plan, or are
subject to exculpation pursuant to the Plan, are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, or any
of the Released Parties: (i) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such claims or interests; (ii) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree, or order against
such Entities on account of or in connection with or with respect to any such claims or interests; (iii) creating,
perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the property or the
estates of such Entities on account of or in connection with or with respect to any such claims or interests; (iv)
asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due from such
Entities or against the property of such Entities on account of or in connection with or with respect to any
such claims or interests unless such Entity has timely asserted such setoff right in a document filed with the
Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication of a claim or interest
or otherwise that such Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable law
or otherwise; and (v) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such claims or interests released or settled pursuant to
the Plan.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
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Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.         Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.         Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                           Article IX.
                       CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.         Conditions Precedent to the Effective Date.

          It shall be a condition to the Effective Date of the Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.B hereof:

              1.   the Confirmation Order shall have been entered and shall not have been stayed;

               2. the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
     documents that are necessary to implement and effectuate the Restructuring Transactions, including the Plan, and
     the Restructuring Support Agreement shall remain in full force and effect, and there shall have been no
     determination by the Debtors, including by the disinterested managers on behalf of the Debtors, to not grant any of
     the releases to Consenting Stakeholders contemplated by the Restructuring Support Agreement;

              3.   the Final DIP Order shall remain in full force and effect;

              4. the final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
     therein, and all other schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the
     Restructuring Support Agreement in all material respects, and shall have been filed in a manner consistent with the
     Restructuring Support Agreement;

             5. all Allowed Professional Fee Claims shall have been paid in full or amounts sufficient to pay such
     Allowed Professional Fee Claims after the Effective Date shall have been placed in the Professional Fee Escrow
     Account pending approval of the Professional Fee Claims by the Bankruptcy Court;

             6. the fees and expenses of the Consenting Noteholder Group Advisors, as well as the Consenting
     Lender Fees and Expenses, shall have been paid in full in accordance with the Restructuring Support Agreement

              7. the Restructuring Support Agreement shall remain in full force and effect and shall not have been
     terminated;

              8. entry into the Exit Facility Documents, and all conditions precedent to the consummation of such
     Exit Facility Documents, shall have been waived or satisfied in accordance with their terms thereof and the closing
     of such Exit Facility Documents shall have occurred;

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           9. entry into the Definitive Documentation (including, without limitation, the New MYT Documents) as
  contemplated under the Restructuring Support Agreement, and all conditions to the entry into and/or
  consummation of such Definitive Documentation, as applicable, shall have been waived or satisfied in accordance
  with their terms and the terms of the Restructuring Support Agreement; and

           10. the New Equity shall have been issued by Reorganized Neiman.

B.       Waiver of Conditions.

         The conditions to Confirmation and Consummation set forth in this Article IX may be waived by the
Debtors only with the prior written consent of the Consenting Parent (to the extent material or adverse to the interests
of the Consenting Parent), the Consenting Sponsors (to the extent material or adverse to the interests of the
Consenting Sponsors), Required Consenting Term Loan Lenders, the Required Consenting Noteholders, and the
Required Consenting Debentures Parties (email shall suffice), without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

          If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors, Claims, or
Interests; (2) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any other
Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims
or Interests, or any other Entity.

                                         Article X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in the Plan and to the extent permitted by the Restructuring
Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is material or
immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on
such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements of
section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its
respective rights to revoke or withdraw, or, to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

        To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors
revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null
and void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to
an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory
Contracts or Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the
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Plan, shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of
any Claims or Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an
admission, acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                Article XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

        1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
amount, or allowance of Claims or Interests;

         2.     decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
Bankruptcy Code or the Plan;

         3.      resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to section
365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or Unexpired
Lease that is assumed; (c) the Reorganized Debtors amending, modifying, or supplementing, after the Effective Date,
pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and
Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease
is or was executory or expired;

        4.    ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
accomplished pursuant to the provisions of the Plan;

         5.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective Date;

         6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         7.     enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents created
in connection with the Plan or the Disclosure Statement;

        8.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

         9.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection
with the Plan;

          10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
restrain interference by any Entity with Consummation or enforcement of the Plan;

         11. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;
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         12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Article VI.K hereof;

        13. enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

         14. determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or document
created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

         15.    enter an order concluding or closing the Chapter 11 Cases;

         16.    adjudicate any and all disputes arising from or relating to distributions under the Plan;

         17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         18. determine requests for the payment of Claims and Interests entitled to priority pursuant to section
507 of the Bankruptcy Code;

        19. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

         20. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code;

         21. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions and releases granted in the Plan, including under Article VIII hereof, regardless
of whether such termination occurred prior to or after the Effective Date;

         22.    enforce all orders previously entered by the Bankruptcy Court; and

         23.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the Exit Facility shall
be governed by the jurisdictional provisions therein and the Bankruptcy Court shall not retain any jurisdiction with
respect thereto.

                                                Article XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

          Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt,
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims or Interests (irrespective of whether such Claims or
Interests are deemed to have accepted the Plan), all Entities that are parties to or are subject to the settlements,
compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring property under the
Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors.



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B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may File with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and
deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof)
until the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Effective Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date
does not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be
deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests
prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

         1.   if to the Debtors, to:

                    Neiman Marcus Group LTD LLC
                    One Marcus Square
                    1618 Main Street
                    Dallas, TX 75201
                    Attention: Tracy M. Preston
                    Email address: tracy_preston@neimanmarcus.com

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                  with copies to:

                  Kirkland & Ellis LLP
                  300 North LaSalle
                  Chicago, Illinois 60654
                  Facsimile: (312) 862-2200
                  Attention: Anup Sathy, P.C., Chad J. Husnick, P.C., Dan Latona, and Carole Wurzelbacher
                  E-mail addresses: anup.sathy@kirkland.com, chad.husnick@kirkland.com,
                  dan.latona@kirkland.com, carole.wurzelbacher@kirkland.com

                  -and-

                  Kirkland & Ellis LLP
                  601 Lexington Avenue
                  New York, New York 10022
                  Facsimile: (212) 446-4900
                  Attention: Matthew C. Fagen, Gary Kavarsky, Maya Ben Meir, and Lara Luo
                  E-mail addresses: matthew.fagen@kirkland.com, gary.kavarsky@kirkland.com,
                  maya.benmeir@kirkland.com, lara.luo@kirkland.com

         2.   if to the Official Committee of Unsecured Creditors, to:

                  Cole Schotz P.C.
                  301 Commerce Street, Suite 1700
                  Fort Worth, Texas 76102
                  Attention: Michael D. Warner and Benjamin L. Wallen
                  E-mail addresses: mwarner@coleschotz.com, bwallen@coleschotz.com

                  -and-

                  Pachulski Stang Ziehl & Jones LLP
                  10100 Santa Monica Boulevard, 13th Floor
                  Los Angeles, California 90067-4100
                  Attention: Richard M. Pachulski, Jeffrey N. Pomerantz, Alan J. Kornfeld, Maxim B. Litvak,
                  Steven W. Golden
                  E-mail addresses: rpachulski@pszjlaw.com, jpomerantz@pszjlaw.com, akornfeld@pszjlaw.com,
                  mlitvak@pszjlaw.com, sgolden@pszjlaw.com

         After the Effective Date, the Debtors have authority to send a notice to Entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents
pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

       Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement) supersedes all previous and
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contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://cases.stretto.com/nmg or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, but only so as to be consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may
not be deleted or modified without the Debtors’ consent, provided, that any such deletion or modification must be
consistent with the Restructuring Support Agreement; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

          Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders,
officers, directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.

M.       Closing of Chapter 11 Cases.

         The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy
Court to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.




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Dated: July 30,August 3, 2020


                                         /s/ Mark Weinsten
                                         Mark Weinsten
                                         Chief Restructuring Officer of
                                         Neiman Marcus Group LTD LLC




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                    interwovenSite://DMS.KIRKLAND.COM/LEGAL/70177103
Document 1 ID
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                    #70177103v12<LEGAL> - NMG - Amended Plan [Filing
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                    interwovenSite://DMS.KIRKLAND.COM/LEGAL/70252881
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                    #70252881v12<LEGAL> - NMG - Amended Plan for
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Statistics:
                    Count
Insertions                            239
Deletions                             201
Moved from                              0
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Style change                            0
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                                 Exhibit C

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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                             )
    In re:                                                                   ) Chapter 11
                                                                             )
                                                                   1
    NEIMAN MARCUS GROUP LTD LLC, et al.,                                     ) Case No. 20-32519 (DRJ)
                                                                             )
                                Debtors.                                     ) (Jointly Administered)
                                                                             )

                            DISCLOSURE STATEMENT
                 FOR THE DEBTORS’ FIRST AMENDED JOINT PLAN OF
         REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

    Matthew D. Cavenaugh (TX Bar No. 24062656)                          Anup Sathy, P.C. (admitted pro hac vice)
    Jennifer F. Wertz (TX Bar No. 24072822)                             Chad J. Husnick, P.C. (admitted pro hac vice)
    Kristhy M. Peguero (TX Bar No. 24102776)                            KIRKLAND & ELLIS LLP
    Veronica A. Polnick (TX Bar No. 24079148)                           KIRKLAND & ELLIS INTERNATIONAL LLP
    JACKSON WALKER LLP                                                  300 North LaSalle Street
    1401 McKinney Street, Suite 1900                                    Chicago, Illinois 60654
    Houston, Texas 77010                                                Telephone:         (312) 862-2000
    Telephone:        (713) 752-4200                                    Facsimile:         (312) 862-2200
    Facsimile: (713) 752-4221                                           Email:             anup.sathy@kirkland.com
    Email:            mcavenaugh@jw.com                                                    chad.husnick@kirkland.com
                                                                        -and-
    Co-Counsel to the Debtors
    and Debtors in Possession                                           Matthew C. Fagen (admitted pro hac vice)
                                                                        KIRKLAND & ELLIS LLP
                                                                        KIRKLAND & ELLIS INTERNATIONAL LLP
                                                                        601 Lexington Avenue
                                                                        New York, New York 10022
                                                                        Telephone:      (212) 446-4800
                                                                        Facsimile:      (212) 446-4900
                                                                        Email:          matthew.fagen@kirkland.com
    Dated: August 3, 2020
                                                                        Co-Counsel to the Debtors
                                                                        and Debtors in Possession




1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530); Bergdorf Graphics, Inc. (9271); BG Productions,
      Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation
      (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC
      (2943); NM Financial Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida
      Salon LLC (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236);
      NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The
      Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996).
      The Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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     THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE
STATEMENT TO HOLDERS OF CLAIMS AND INTERESTS FOR PURPOSES OF SOLICITING
VOTES TO ACCEPT OR REJECT THE DEBTORS’ FIRST AMENDED JOINT PLAN OF
REORGANIZATION REORGANIZATION PURSUANT TO CHAPTER 11 OF THE
BANKRUPTCY CODE. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE RELIED
UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. BEFORE DECIDING
WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER ENTITLED TO VOTE
SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE
STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE X HEREIN.

      THE PLAN IS SUPPORTED BY THE DEBTORS AND CERTAIN PARTIES IN
INTEREST THAT HAVE EXECUTED THE RESTRUCTURING SUPPORT AGREEMENT,
INCLUDING HOLDERS OF APPROXIMATELY 99 PERCENT OF THE DEBTORS’ FIRST
LIEN TERM LOANS, 100 PERCENT OF THEIR SECOND LIEN NOTES, 70 PERCENT OF
THEIR THIRD LIEN NOTES, AND 78 PERCENT OF THEIR DEBENTURES. THE CREDITORS
COMMITTEE SUPPORTS THE PLAN SUBJECT TO THE CONDITIONS SET FORTH HEREIN.

      HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS
OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL,
OR TAX ADVICE. THE DEBTORS URGE EACH HOLDER OF A CLAIM OR INTEREST TO
CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL, FINANCIAL,
SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS DISCLOSURE
STATEMENT, THE PLAN, AND THE PROPOSED TRANSACTIONS CONTEMPLATED
THEREBY. FURTHERMORE, THE COURT’S APPROVAL OF THE ADEQUACY OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT
CONSTITUTE THE COURT’S APPROVAL OF THE PLAN.

     THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS,
SUMMARIES OF THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN
ANTICIPATED EVENTS IN THE DEBTORS’ CHAPTER 11 CASES. ALTHOUGH THE
DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE, THESE
SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE EXTENT THAT THEY DO
NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY
PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE EVENT OF
ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS
DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY
OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH
OTHER DOCUMENTS WILL GOVERN FOR ALL PURPOSES.            THE DEBTORS’
MANAGEMENT, EXCEPT WHERE OTHERWISE SPECIFICALLY NOTED, HAS PROVIDED
THE FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT. THE
DEBTORS DO NOT REPRESENT OR WARRANT THAT THE INFORMATION CONTAINED
HEREIN OR ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY OR
OMISSION.

     IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON
FINANCIAL DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON
VARIOUS ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESS. WHILE THE DEBTORS
BELIEVE THAT SUCH FINANCIAL INFORMATION FAIRLY REFLECTS THE FINANCIAL
CONDITION OF THE DEBTORS AS OF THE DATE HEREOF AND THAT THE ASSUMPTIONS
REGARDING FUTURE EVENTS REFLECT REASONABLE BUSINESS JUDGMENTS, NO
REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY OF THE


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FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS REGARDING THE
DEBTORS’ BUSINESS AND THEIR FUTURE RESULTS AND OPERATIONS. THE DEBTORS
EXPRESSLY CAUTION READERS NOT TO PLACE UNDUE RELIANCE ON ANY FORWARD
LOOKING STATEMENTS CONTAINED HEREIN.

     THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE
CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE
DEBTORS AND THE GUC CLAIMS ADMINISTRATOR, AS APPLICABLE, MAY SEEK TO
INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS AFTER
THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF
WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR
OBJECTIONS TO CLAIMS.

     THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE
DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE
DEBTORS MAY SUBSEQUENTLY UPDATE THE INFORMATION IN THIS DISCLOSURE
STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO SO, AND EXPRESSLY
DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD LOOKING STATEMENTS,
WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE.
HOLDERS OF CLAIMS OR INTERESTS REVIEWING THIS DISCLOSURE STATEMENT
SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS SET FORTH
HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT WAS FILED.
INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION, MODIFICATION,
OR AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO FILE AN AMENDED OR
MODIFIED PLAN AND RELATED DISCLOSURE STATEMENT FROM TIME TO TIME,
SUBJECT TO THE TERMS OF THE PLAN AND RESTRUCTURING SUPPORT AGREEMENT.

     THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY
INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH IS
CONTAINED IN THIS DISCLOSURE STATEMENT.        THE DEBTORS HAVE NOT
AUTHORIZED ANY REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE
OF THEIR PROPERTY OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.

     IF THE PLAN IS CONFIRMED BY THE COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS AND INTERESTS (INCLUDING THOSE HOLDERS OF
CLAIMS AND INTERESTS WHO MAY BE ELIGIBLE TO SUBMIT BALLOTS BUT DO NOT
SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, OR WHO ARE NOT ENTITLED TO
VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND THE
RESTRUCTURING TRANSACTION CONTEMPLATED THEREBY.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS
NOT NECESSARILY PREPARED IN ACCORDANCE WITH FEDERAL OR STATE
SECURITIES LAWS OR OTHER SIMILAR LAWS.

     THIS DISCLOSURE STATEMENT WAS NOT FILED WITH THE SECURITIES AND
EXCHANGE COMMISSION OR ANY STATE AUTHORITY AND NEITHER THE SECURITIES
AND EXCHANGE COMMISSION NOR ANY STATE AUTHORITY HAVE PASSED UPON THE
ACCURACY OR ADEQUACY OF THIS DISCLOSURE STATEMENT OR UPON THE MERITS
OF THE PLAN.



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      THE SECURITIES DESCRIBED HEREIN WILL BE ISSUED WITHOUT
REGISTRATION UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED,
(THE “SECURITIES ACT”) OR ANY SIMILAR FEDERAL, STATE OR LOCAL LAW, IN
RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 1145 OF THE BANKRUPTCY
CODE TO THE MAXIMUM EXTENT PERMITTED AND APPLICABLE AND TO THE EXTENT
THAT SECTION 1145 IS EITHER NOT PERMITTED OR NOT APPLICABLE, THE
EXEMPTION SET FORTH IN SECTION 4(A)(2) OF THE SECURITIES ACT, THE EXEMPTION
SET FORTH IN SECTION 701 PROMULGATED UNDER THE SECURITIES ACT OR
ANOTHER EXEMPTION THEREUNDER. IN ACCORDANCE WITH SECTION 1125(E) OF
THE BANKRUPTCY CODE, A DEBTOR OR ANY OF ITS AGENTS THAT PARTICIPATES, IN
GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE
BANKRUPTCY CODE, IN THE OFFER, ISSUANCE, SALE, OR PURCHASE OF A SECURITY,
OFFERED OR SOLD UNDER THE PLAN, OF THE DEBTOR, OF AN AFFILIATE
PARTICIPATING IN A JOINT PLAN WITH THE DEBTOR, OR OF A NEWLY ORGANIZED
SUCCESSOR TO THE DEBTOR UNDER THE PLAN, IS NOT LIABLE, ON ACCOUNT OF
SUCH PARTICIPATION, FOR VIOLATION OF ANY APPLICABLE LAW, RULE, OR
REGULATION GOVERNING THE OFFER, ISSUANCE, SALE, OR PURCHASE OF
SECURITIES.




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EXHIBIT A   Plan of Reorganization

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I.         INTRODUCTION

        Neiman Marcus Group LTD LLC (“NMG LTD LLC”) and its debtor affiliates, as debtors and
debtors in possession (collectively, the “Debtors” or “NMG”), submit this disclosure statement (as
amended, modified, or supplemented, from time to time, the “Disclosure Statement”) pursuant to section
1125 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) to Holders of Claims
against and Interests in the Debtors in connection with the solicitation of acceptances with respect to the
Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (as
                                                                      2
amended, modified, or supplemented, from time to time, the “Plan”). A copy of the Plan is attached hereto
as Exhibit A and incorporated herein by reference.

THE DEBTORS BELIEVE THIS IS THE BEST AVAILABLE ALTERNATIVE FOR
COMPLETING THE CHAPTER 11 CASES. THE DEBTORS STRONGLY RECOMMEND THAT
YOU VOTE TO ACCEPT THE PLAN.


II.        PRELIMINARY STATEMENT

        For over 100 years, the Debtors have been the leader in retail luxury, innovation, and customer
experiences. Since opening in 1907 with just one store in Dallas, Texas, the Debtors have strategically
grown to 67 stores across the United States, including their marquee luxury Neiman Marcus and Bergdorf
Goodman locations, Horchow e-commerce website, and off-price Last Call stores. Each Neiman Marcus
and Bergdorf Goodman store offers a distinctive selection of apparel, handbags, shoes, cosmetics, and
precious and designer jewelry from premier luxury and fashion designers. Horchow offers luxury home
furnishings and accessories, and Last Call provides a more affordable option for price-sensitive yet
fashion-minded customers. To complement its store footprint, NMG operates the largest luxury
e-commerce platform in the world. More than 30 percent of NMG’s total annual revenue is from online
sales. The Debtors’ non-Debtor affiliates own and operate a single store under the THERESA brand and
an e-commerce platform under the MyTheresa brand. As of the Petition Date, the Debtors have funded-
debt obligations of approximately $5.5 billion.

         In 2019, NMG de-stressed its capital structure in a comprehensive and highly consensual series of
amend-and-extend transactions (the “Recapitalization Transactions”) with holders of over 91 percent of the
Unsecured Notes (as defined below) and holders of over 99 percent of 2013 Term Loans (as defined below).
This transaction afforded NMG meaningful runway and flexibility to meet its earnings targets and
implement new cost-savings and business initiatives to address adverse macro trends in the retail industry,
such as a general transition from brick-and-mortar to online retail channels, and a shift in consumer
demographics. Prior to February 2020, NMG was on track to meet all of its budget, earnings, and savings
targets for the fiscal year ending in July 2020. NMG also posted comparable store sales growth for seven
of the ten previous quarters and significantly expanded gross margins during the last holiday season in line
with its goal of profitable and sustainable growth.


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      Capitalized terms used but not immediately defined in this Disclosure Statement shall have the meanings assigned to them
      elsewhere in this Disclosure Statement, in the Declaration of Mark Weinsten, Chief Restructuring Officer of Neiman Marcus
      Group LTD LLC, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 86] (the “First Day
      Declaration”), the Plan, or the Debtors’ Motion For Entry of an Order (I) Approving the Adequacy of the Disclosure Statement,
      (II) Approving The Solicitation and Notice Procedures With Respect to Confirmation of The Debtors’ Proposed Joint Plan of
      Reorganization, (III) Approving The Forms of Ballots and Notices in Connection Therewith, (V) Scheduling Certain Dates
      With Respect Thereto, and (VI) Granting Related Relief [Docket No. 773], as applicable. The summary of the Plan provided
      herein is qualified in its entirety by reference to the Plan. In the case of any inconsistency between this Disclosure Statement
      and the Plan, the Plan will govern.




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        Then, on March 11, 2020, the World Health Organization declared COVID-19 a pandemic.
In response to COVID-19, national, state, and local governments in the United States and throughout the
world imposed quarantines, social distancing protocols, and shelter-in-place orders. To protect the health
and safety of NMG’s customers and employees, on March 18, 2020, NMG voluntarily closed all of its
stores and dramatically reduced supply chain operations.3 These unprecedented events have severely
impacted NMG’s business and liquidity.

        To navigate these market conditions, NMG knew it needed to proactively address its liquidity
position and capital structure. NMG engaged Kirkland & Ellis LLP (“Kirkland”) as restructuring counsel
and Lazard Frères & Co. LLC (“Lazard”) as investment banker to work with NMG and BRG to analyze
financing needs and consider NMG’s capital structure alternatives. NMG encouraged its term loan lenders
and noteholders to organize and retain advisors. An ad hoc group of lenders who collectively hold
approximately 78 percent of NMG’s term loan debt and 78 percent of the Company’s debentures (the “Term
Loan Lender Group”) quickly organized and retained Wachtell, Lipton, Rosen & Katz (“Wachtell”) as
counsel and Ducera Partners LLC (“Ducera”) as investment banker to represent the Term Loan Lender
Group in negotiations with NMG. Shortly thereafter, an ad hoc group of holders of approximately
99 percent of NMG’s Second Lien Notes (as defined below) and approximately 70 percent of NMG’s Third
Lien Notes (as defined below) (collectively, the “Noteholder Group”) also organized and retained Paul,
Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”) as counsel and Houlihan Lokey, Inc.
(“Houlihan”) to represent the Noteholder Group in negotiations with NMG.

        Following several weeks of extensive, arm’s length negotiations, NMG and the Term Loan Lender
Group were extremely close to reaching agreement on a comprehensive, pre-negotiated restructuring that
would substantially deleverage the Debtors’ balance sheet, a fully-backstopped $625 million postpetition
financing facility, and a fully-backstopped $750 million exit facility (the “Exit Facility”).

         To further the Debtors’ evaluation of their capital structure alternatives and negotiations with their
stakeholders, on April 28, 2020, Mariposa Intermediate Holdings LLC (“Holdings”), the Debtor parent of
NMG LTD LLC, appointed disinterested manager Anthony Horton to its Board of Managers, and NMG
LTD LLC appointed disinterested managers Marc Beilinson and Scott Vogel to its Board of Managers.
Holdings has retained Katten Muchin Rosenman LLP as legal counsel and Alix Partners LLP as financial
advisor to advise Mr. Horton with respect to certain matters delegated to Mr. Horton, as described in more
detail herein. At a status conference held before the Court on June 19, 2020, the Debtors reported that Mr.
Beilinson had tendered his resignation as a disinterested manager of Neiman Marcus Group LTD LLC due
to unforeseen health concerns. NMG LTD LLC has retained Willkie Farr & Gallagher LLP as legal counsel
and Alvarez & Marsal North America, LLC as financial advisors to advise Mr. Vogel with respect to certain
matters delegated to Mr. Vogel, as described in more detail herein. Around this time, NMG received a
modified restructuring proposal from the Noteholder Group, including upsizing the postpetition financing
facility to $675 million (the “DIP Facility”). NMG believed that further stakeholder support for its
restructuring plans would provide significant additional value to its stakeholders and actively pursued a
tri-party negotiation with the Term Loan Lender Group and Noteholder Group to achieve more consensus.

        NMG’s efforts to garner additional support for its restructuring process have borne fruit. NMG’s
proposed restructuring pursuant to its restructuring support agreement (the “Restructuring Support
Agreement”) and proposed Plan will substantially deleverage NMG’s balance sheet and allow the Debtors
to emerge from these cases as a stronger, better-capitalized enterprise positioned for sustained success.
Pursuant to the Restructuring Support Agreement, the Plan has a remarkable level of support throughout
the Debtors’ capital structure: with the submission of joinders to the Restructuring Support Agreement
following the Petition Date, holders of approximately 99 percent of the Debtors’ Term Loans, 100 percent

3   Nearly all stores have since opened.




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of their Second Lien Notes, 70 percent of their Third Lien Notes, and 78 percent of their 2028 Debentures
(as defined below), and 100 percent of the direct equity ownership in the Debtors have committed to support
the Debtors’ restructuring.

        The material terms of the Plan are as follows:

            x   each holder of 2019 Term Loans, 2028 Debentures, Second Lien Notes, and Third Lien
                Notes was eligible to participate in the DIP Facility pursuant to syndication procedures
                implemented following entry of the Interim DIP Order;

            x   holders of claims on account of the Asset-Based Revolving Credit Facility and FILO
                Facility will receive value, as of the effective date of the Plan, equal to the allowed amount
                of such claims, as applicable, in each case not to exceed the value of such holders’ interests
                in the Debtors’ interest in the property securing such claims;

            x   holders of 2019 Term Loan Claims shall receive their pro rata share of and interest in (a)
                87.5 percent of the reorganized equity (subject to dilution) and (b) 87.5 percent of the rights
                to participate in the Exit Facility (the “Exit Rights”), subject, in each case, to upward
                adjustment if the holders of 2013 Term Loan Claims do not vote in favor of the Plan;

            x   if the class of 2013 Term Loan Claims votes in favor of the Plan, holders of 2013 Term
                Loans shall receive their pro rata share of and interest in (a) 0.2 percent of the reorganized
                equity (subject to dilution) and (b) 0.2 percent of the Exit Rights, or, if the class of 2013
                Term Loan Claims does not vote in favor of the Plan, holders of 2013 Term Loan Claims
                will receive value, as of the Effective Date of the Plan, equal to the allowed amount of such
                claims not to exceed the value of each holder’s interest in the estate’s interest in the
                property securing such claims;

            x   holders of 2028 Debentures Claims will receive their pro rata share of and interest in (a)
                2.8 percent of the reorganized equity (subject to dilution) and (b) 2.8 percent of the Exit
                Rights, subject, in each case, to upward adjustment if the holders of 2013 Term Loan
                Claims do not vote in favor of the Plan;

            x   holders of Second Lien Notes Claims shall receive their pro rata share of and interest in (a)
                1.0 percent of the reorganized equity (subject to dilution), (b) 1.0 percent of the Exit Rights,




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                      and (c) seven-year warrants (no Black-Scholes protection) to purchase up to 25.0 percent
                      of the reorganized equity at an agreed-upon strike price;

                  x   holders of Third Lien Notes Claims shall receive their pro rata share of and interest in (a)
                      8.5 percent of reorganized equity (subject to dilution) and (b) 8.5 percent of the Exit Rights;

                  x   holders of Funded-Debt General Unsecured Claims shall receive their pro rata share
                      (together with Holders of Allowed Non-Funded Debt General Unsecured Claims) of (A)
                      140,000,000 shares of MYT Series B Preferred Stock and (B) $10,000,000 of Cash;

                  x   holders of Non-Funded Debt General Unsecured Claims shall receive their pro rata share
                      (together with Holders of Allowed Funded-Debt General Unsecured Claims) of (A)
                      140,000,000 shares of MYT Series B Preferred Stock and (B) $10,000,000 of Cash;4 and

                  x   stakeholders’ economic and governance rights with respect to MyTheresa shall be
                      consistent with such stakeholders’ prepetition rights, claims, and controls, except as to the
                      Sponsor Contribution and as otherwise set forth in the Plan.

         The Restructuring Transactions embodied by the Plan and Restructuring Support Agreement are a
significant achievement for the Debtors in the wake of a historically challenging operating environment.
The Debtors strongly believe that the Plan is in the best interests of the Debtors’ estates, and represents the
best available alternative at this time. The Debtors are confident that they can implement the Restructuring
Transactions contemplated by the Plan to maximize stakeholder recoveries and ensure that NMG can
efficiently emerge from chapter 11 and continue to fulfill its promise as leaders in luxury, innovation, and
customer experiences. For these reasons, the Debtors strongly recommend that Holders of Claims or
Interests entitled to vote on the Plan vote to accept the Plan.



III.       QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND
           THE PLAN

             A.        What is Chapter 11?

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition to
permitting debtor rehabilitation, chapter 11 promotes equality of treatment for creditors and similarly
situated equity interest holders, subject to the priority of distributions prescribed by the Bankruptcy Code.

        The commencement of a chapter 11 case creates an estate that comprises all of the legal and
equitable interests of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code
provides that the debtor may continue to operate its business and remain in possession of its property as a
“debtor in possession.” Consummating a chapter 11 plan is the principal objective of a chapter 11 case. A
bankruptcy court’s confirmation of a plan binds the debtor, any person acquiring property under the plan,
any creditor or equity interest holder of the debtor, and any other entity as may be ordered by the bankruptcy
court. Subject to certain limited exceptions, the order issued by a bankruptcy court confirming a plan
provides for the treatment of the debtor’s liabilities in accordance with the terms of the confirmed plan.



4      The Debtors and Creditors Committee are considering the addition of a convenience class, and if such a class is created, a
       portion of the cash consideration currently contemplated for distribution to Holders of Allowed General Unsecured Claims
       shall be proposed to be made available to Holders of Allowed General Unsecured Claims in such potential convenience class.




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         B.         Why are the Debtors sending this Disclosure Statement?

        The Debtors are seeking to obtain Court approval of the Plan. Before soliciting acceptances of
the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure statement
containing adequate information of a kind, and in sufficient detail, to enable a hypothetical reasonable
investor to make an informed judgment regarding acceptance of the Plan and to share such disclosure
statement with all holders of claims or interests whose votes on the Plan are being solicited. This Disclosure
Statement is being submitted in accordance with these requirements.

         C.         Am I entitled to vote on the Plan?

         Your ability to vote on, and your distribution under, the Plan, if any, depends on what type of Claim
or Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of the Plan
pursuant to section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s respective
voting status is set forth below.

  Class            Claim / Equity Interests                 Status                     Voting Rights
    1         Other Secured Claims                        Unimpaired          Not Entitled to Vote (Deemed to
                                                                                          Accept)
     2        Other Priority Claims                       Unimpaired          Not Entitled to Vote (Deemed to
                                                                                          Accept)
    3         ABL Loan Secured Claims                      Impaired                   Entitled to Vote
    4         FILO Secured Claims                          Impaired                   Entitled to Vote
    5         2019 Term Loans Claims                       Impaired                   Entitled to Vote
    6         2013 Term Loans Claims                       Impaired                   Entitled to Vote
    7         2028 Debentures Claims                       Impaired                   Entitled to Vote
    8         Second Lien Notes Claims                     Impaired                   Entitled to Vote
    9         Third Lien Notes Claims                      Impaired                   Entitled to Vote
    10        Funded Debt General Unsecured                Impaired                   Entitled to Vote
              Claims
    11        Non-Funded Debt General                      Impaired                   Entitled to Vote
              Unsecured Claims
    12        Intercompany Claims                   Unimpaired/Impaired       Not Entitled to Vote (Deemed to
                                                                                      Accept / Reject)
    13        Intercompany Interests                Unimpaired/Impaired       Not Entitled to Vote (Deemed to
                                                                                      Accept / Reject)
    14        Existing Equity Interests                    Impaired           Not Entitled to Vote (Deemed to
                                                                                           Reject)

         D.         What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims and
Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may vary from
the final amounts allowed by the Court. Your ability to receive distributions under the Plan depends upon
the ability of the Debtors to obtain Confirmation and meet the conditions necessary to consummate the Plan.

     THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE.




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     PLEASE REFERENCE THE PLAN FOR A COMPLETE DESCRIPTION OF THE
DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS.5

                                        SUMMARY OF EXPECTED RECOVERIES
                                                                                                                             Projected
                                                                                                        Projected            Recovery
             Claim/Equity                                                                               Amount of             Under
    Class      Interest                 Treatment of Claim and Equity Interest                           Claims              the Plan
                                  Classified Claims Against and Interests in the Debtors

     1      Other Secured          Each Holder of an Allowed Other Secured Claim                             N/A              100.0%
            Claims                 shall receive, in full and final satisfaction of such
                                   Claim, at the option of the Debtors, in consultation
                                   with the Required Consenting Term Loan Lenders
                                   and the Required Consenting Noteholders, either:
                                   (i) payment in full in Cash of such Holder’s
                                   Allowed Other Secured Claim; (ii) delivery of the
                                   collateral securing such Holder’s Allowed Other
                                   Secured Claim and payment of any interest
                                   required under section 506(b) of the Bankruptcy
                                   Code; (iii) Reinstatement of such Holder’s
                                   Allowed Other Secured Claim; or (iv) such other
                                   treatment rendering such Holder’s Allowed Other
                                   Secured Claim Unimpaired in accordance with
                                   section 1124 of the Bankruptcy Code.
     2      Other Priority         Each Holder of an Allowed Other Priority Claim                            N/A              100.0%
            Claims                 shall receive, in full and final satisfaction of such
                                   Claim, at the option of the Debtors, either:
                                   (i) payment in full in Cash; (ii) Reinstatement of
                                   such Holder’s Allowed Other Priority Claim; or
                                   (iii) such other treatment rendering such Holder’s
                                   Allowed Other Priority Claim Unimpaired in
                                   accordance with section 1124 of the Bankruptcy
                                   Code.
     3      ABL Loan       Each Holder of an Allowed ABL Loan Secured                                  $749,000,000           100.0%
            Secured Claims Claim shall receive, in full and final satisfaction of
                           such Claim, (i) payment in full in Cash, (ii)
                           consensual refinancing or other consensual
                           modification of the ABL Loans giving rise to such
                           ABL Loan Secured Claims, or (iii) other treatment
                           consistent with the Bankruptcy Code and the
                           Disclosure Statement Order.

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      The recoveries set forth below may change based upon changes in the amount of Claims that are “Allowed” as well as other
      factors related to the Debtors’ business operations and general economic conditions and the valuation of the consideration that
      may be provided to Holders of Claims and Interest, which is some instances are not currently knowable. “Allowed” shall
      mean, as to a claim or an interest (each as defined in the Bankruptcy Code), a claim or an interest allowed under the Plan,
      under the Bankruptcy Code, or by a final order, as applicable.




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                           SUMMARY OF EXPECTED RECOVERIES
                                                                                                Projected
                                                                                Projected       Recovery
        Claim/Equity                                                            Amount of        Under
Class     Interest         Treatment of Claim and Equity Interest                Claims         the Plan
                       Classified Claims Against and Interests in the Debtors
 4      FILO Secured   Each Holder of an Allowed FILO Secured Claim            $100,000,000      100.0%
        Claims         shall receive, in full and final satisfaction of such
                       Claim, (i) payment in full in Cash, (ii) consensual
                       refinancing or other consensual modification of the
                       FILO Facility giving rise to such FILO Secured
                       Claims, or (iii) other treatment consistent with the
                       Bankruptcy Code and the Disclosure Statement
                       Order.
 5      2019 Term      On the Effective Date, each Holder of an Allowed        $2,254,942,973    32.99%
        Loans Claims   2019 Term Loans Claim shall receive, in full and
                       final satisfaction of such Claim, its Pro Rata share
                       of and interest in: (i) 87.5% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, the Exit Term Loan Equity Fees, the
                       Aggregate DIP Equity Fees, and the exercise of the
                       New Warrants, and subject to upward adjustment if
                       Class 6 does not vote in favor of the Plan; and (ii)
                       87.5% of the Exit Rights, subject to upward
                       adjustment if Class 6 does not vote in favor of the
                       Plan.
 6      2013 Term      On the Effective Date: (i) if Class 6 votes in favor     $12,641,822      12.75%
        Loans Claims   of the Plan, each Holder of an Allowed 2013 Term
                       Loans Claim shall receive, in full and final
                       satisfaction of such Claim, its Pro Rata share of and
                       interest in (a) 0.2% of the New Equity, subject to
                       dilution by the Management Incentive Plan, the
                       Exit Term Loan Equity Fees, the Aggregate DIP
                       Equity Fees, and the exercise of the New Warrants,
                       and (b) 0.2% of the Exit Rights; or (ii) if Class 6
                       votes to reject the Plan, each Holder of an Allowed
                       2013 Term Loans Claim shall receive, in full and
                       final satisfaction of such Claim, value as of
                       the Effective Date equal to the Allowed amount of
                       such Claim, provided that such value shall not
                       exceed the value of each Holder’s interest in the
                       estate’s interest in the property securing such
                       Claim.
 7      2028           On the Effective Date, each Holder of an Allowed        $128,859,375      18.76%
        Debentures     2028 Debentures Claim shall receive, in full and
        Claims         final satisfaction of such Claim, its Pro Rata share
                       of and interest in: (i) 2.8% of the New Equity,


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                                      SUMMARY OF EXPECTED RECOVERIES
                                                                                                                        Projected
                                                                                                    Projected           Recovery
             Claim/Equity                                                                           Amount of            Under
    Class      Interest                Treatment of Claim and Equity Interest                        Claims             the Plan
                                 Classified Claims Against and Interests in the Debtors
                                  subject to dilution by the Management Incentive
                                  Plan, Exit Term Loan Equity Fees, the Aggregate
                                  DIP Equity Fees, and the exercise of New Warrants
                                  and subject to upward adjustment if Class 6 does
                                  not vote in favor of the Plan; and (ii) 2.8% of the
                                  Exit Rights, subject to upward adjustment if Class
                                  6 does not vote in favor of the Plan.
     8      Second Lien           On the Effective Date, each Holder of an Allowed                 $605,805,994           1.40%
            Notes Claims          Second Lien Notes Claim shall receive, in full and
                                  final satisfaction of such Claim, its Pro Rata share
                                  of and interest in: (i) 1.0% of the New Equity,
                                  subject to dilution by the Management Incentive
                                  Plan, the Exit Term Loan Equity Fees, the
                                  Aggregate DIP Equity Fees, and the exercise of the
                                  New Warrants; (ii) 1.0% of the Exit Rights; (iii) the
                                  New Warrants; and (iv) the 2L MyT Distribution.
     9      Third Lien            On the Effective Date, each Holder of an Allowed                $1,285,583,214          5.62%
            Notes Claims          Third Lien Notes Claim shall receive, in full and
                                  final satisfaction of such Claim, its Pro Rata share
                                  of and interest in: (i) 8.5% of the New Equity,
                                  subject to dilution by the Management Incentive
                                  Plan, the Exit Term Loan Equity Fees, the
                                  Aggregate DIP Equity Fees, and the exercise of the
                                  New Warrants; (ii) 8.5% of the Exit Rights; and
                                  (iii) the 3L MyT Distribution.
     10     Funded-Debt           Each Holder of an Allowed Funded Debt General                   $137,300,0006           1.7%7-
            General               Unsecured Claim shall receive, in full and final                                        34.4%8
            Unsecured             satisfaction of such Claim, on or as reasonably
            Claims                practicable after the Effective Date, its Pro Rata
                                  share (determined based on all Allowed General
                                  Unsecured Claims, together with Holders of
                                  Allowed Non-Funded Debt General Unsecured

6     The projected amount of all Funded-Debt General Unsecured Claims and Non-Funded Debt General Unsecured Claims
      excludes approximately $3.20 billion to $3.67 billion of Deficiency Claims on account of 2019 Term Loan Deficiency Claims,
      2028 Debentures Deficiency Claims, Second Lien Notes Deficiency Claims, and Third Lien Notes Deficiency Claims, which
      are effectively proposed to be waived as part of the Disinterested Manager Settlement.

7     Low-end projection assumes the MYT Series B Preferred Stock is worth $0 in the aggregate.

8     High-end projection assumes the MYT Series B Preferred Stock is worth $275 million in the aggregate.




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                                      SUMMARY OF EXPECTED RECOVERIES
                                                                                                                        Projected
                                                                                                    Projected           Recovery
             Claim/Equity                                                                           Amount of            Under
    Class      Interest                Treatment of Claim and Equity Interest                        Claims             the Plan
                                 Classified Claims Against and Interests in the Debtors
                                  Claims) of (A) the Sponsor Contribution and (B)
                                  $10,000,000 of Cash to be funded by the Debtors
                                  or Reorganized Debtors.
     11     Non-Funded            Each Holder of an Allowed Non-Funded Debt                       $339,700,000-          1.7%11-
            Debt General          General Unsecured Claim shall receive, in full and              $434,700,00010         34.4%12;
            Unsecured             final satisfaction of such Claim, on or as reasonably
            Claim                 practicable after the Effective Date, its Pro Rata
                                  share (determined based on all Allowed General
                                  Unsecured Claims, together with Holders of
                                  Allowed Funded-Debt General Unsecured Claims)
                                  of (A) the Sponsor Contribution and (B)
                                  $10,000,000 of Cash to be funded by the Debtors
                                  or Reorganized Debtors.9
     12     Intercompany          Intercompany Claims shall be, at the option of the                     N/A               0% /
            Claims                Reorganized Debtors, in consultation with the                                            100%
                                  Consenting Term Loan Lender Group and the
                                  Consenting Noteholder Group, either:            (i)
                                  Reinstated; or (ii) cancelled, released, and
                                  extinguished without any distribution on account of
                                  such Claims.
     13     Intercompany          Intercompany Interests shall be, at the option of                      N/A               0% /
            Interests             Reorganized Debtors, in consultation with the                                            100%
                                  Consenting Term Loan Lender Group and the
                                  Consenting Noteholder Group, either:            (i)
                                  Reinstated; or (ii) cancelled, released, and
                                  extinguished without any distribution on account of
                                  such Interests.
     14     Existing Equity       On the Effective Date, Existing Equity Interests                       N/A                0%
            Interests             will be cancelled, released, and extinguished

9     The Debtors and Creditors Committee are considering the addition of a convenience class, and if such a class is created, a
      portion of the cash consideration currently contemplated for distribution to Holders of Allowed General Unsecured Claims
      shall be proposed to be made available to Holders of Allowed General Unsecured Claims in such potential convenience class.

10    The projected amount of all Funded-Debt General Unsecured Claims and Non-Funded Debt General Unsecured Claims
      excludes approximately $3.20 billion to $3.67 billion of Deficiency Claims on account of 2019 Term Loan Deficiency Claims,
      2028 Debentures Deficiency Claims, Second Lien Notes Deficiency Claims, and Third Lien Notes Deficiency Claims, which
      are effectively proposed to be waived as part of the Disinterested Manager Settlement.

11    Low-end projection assumes the MYT Series B Preferred Stock is worth $0 in the aggregate.

12    High-end projection assumes the MYT Series B Preferred Stock is worth $275 million in the aggregate.




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                                SUMMARY OF EXPECTED RECOVERIES
                                                                                                       Projected
                                                                                      Projected        Recovery
          Claim/Equity                                                                Amount of         Under
 Class      Interest            Treatment of Claim and Equity Interest                 Claims          the Plan
                           Classified Claims Against and Interests in the Debtors
                            without any distribution on account of such
                            Existing Equity Interests.

        In the event the Debtors contemplate potentially providing any treatment to Holders of ABL Loan
Secured Claims and/or FILO Secured Claims, other than payment in full in Cash or consensually
refinancing the respective loans, the Debtors shall file detailed term sheets (the “ABL Treatment Term
Sheet” and “FILO Treatment Term Sheet”, respectively) with respect to any such other treatment by
July 31, 2020, which shall include the principal economic terms of any instrument proposed to be provided
(including the tenor, rate, and amortization schedule), any material borrowing base or collateral mechanics,
any material covenants or baskets, and any other material deviations from the existing ABL Credit
Agreement. To the extent the Debtors contemplate potentially providing any treatment to Holders of ABL
Loan Secured Claims and/or FILO Secured Claims, other than payment in full in Cash or consensually
refinancing such loans by the filing of the initial Plan Supplement, the initial Plan Supplement shall include
the credit agreements or other instruments relating to such treatment (the “ABL Treatment Instrument” and
“FILO Treatment Instrument”, respectively), which shall not deviate materially from the ABL Treatment
Term Sheet and/or FILO Treatment Term Sheet, as applicable.

         E.      What will I receive from the Debtors if I hold an Administrative Claim, Professional
                 Fee Claim, DIP Facility Claim, Priority Tax Claim, or United States Trustee
                 Statutory Fee Claim?

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP
Facility Claims, Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are
excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

                         Administrative Claims.

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or
the Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than
Holders of Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter
123 of title 28 of the United States Code) will receive in full and final satisfaction of its Administrative
Claim an amount of Cash equal to the amount of such Allowed Administrative Claim in accordance with
the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the Effective
Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not
Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing
such Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if
such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course
of their business after the Petition Date in accordance with the terms and conditions of the particular
transaction giving rise to such Allowed Administrative Claim without any further action by the Holders of
such Allowed Administrative Claim; (4) at such time and upon such terms as may be agreed upon by such




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Holder and the Debtors or the Reorganized Debtors, as applicable; or (5) at such time and upon such terms
as set forth in an order of the Bankruptcy Court.

         Except as otherwise provided in Article II.A of the Plan, and except with respect to Administrative
Claims that are DIP Facility Claims, Professional Fee Claims, or Cure Claims, requests for payment of
Administrative Claims must be Filed with the Bankruptcy Court and served on the Debtors pursuant to the
procedures specified in the Confirmation Order and the notice of entry of the Confirmation Order no later
than the Administrative Claims Bar Date. Holders of Administrative Claims that are required to, but do
not, File and serve a request for payment of such Administrative Claims by such date shall be forever barred,
estopped, and enjoined from asserting such Administrative Claims against the Debtors or their property and
such Administrative Claims shall be deemed discharged as of the Effective Date.

                         Professional Fee Claims.

                         i.      Final Fee Applications and Payment of Professional Fee Claims.

         All requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the
Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee
Claims after notice and a hearing in accordance with the procedures established by the Bankruptcy Court.
The Reorganized Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court
allows, including from the Professional Fee Escrow Account, which the Reorganized Debtors will establish
in trust for the Professionals and fund with Cash equal to the Professional Fee Amount on the Effective
Date.

                         ii.     Professional Fee Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, without duplication of any account or amount
established for the benefit of Professionals pursuant to a DIP Order, establish and fund the Professional Fee
Escrow Account with Cash equal to the Professional Fee Amount, which shall be funded by the
Reorganized Debtors. The Professional Fee Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized
Debtors. The amount of Professional Fee Claims owing to the Professionals shall be paid in Cash to such
Professionals by the Reorganized Debtors from the Professional Fee Escrow Account as soon as reasonably
practicable after such Professional Fee Claims are Allowed. When all such Allowed amounts owing to
Professionals have been paid in full, any remaining amount in the Professional Fee Escrow Account shall
promptly be paid to the Reorganized Debtors without any further action or order of the Bankruptcy Court.

                         iii.    Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees
and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall
deliver such estimate to the Debtors no later than two (2) Business Days before the Effective Date; provided,
however, that such estimate shall not be deemed to limit the amount of the fees and expenses that are the
subject of the Professional’s final request for payment of Filed Professional Fee Claims. If a Professional
does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid and unbilled
fees and expenses of such Professional.

                         iv.     Post-Confirmation Fees and Expenses.

       Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the
Debtors shall, in the ordinary course of business and without any further notice to or action, order, or


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approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other
fees and expenses related to implementation of the Plan and Consummation incurred by the Debtors. Upon
the Confirmation Date, any requirement that Professionals comply with sections 327 through 331, 363, and
1103 of the Bankruptcy Code in seeking retention or compensation for services rendered after such date
shall terminate, and the Debtors may employ and pay any Professional in the ordinary course of business
without any further notice to or action, order, or approval of the Bankruptcy Court.

                         DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed for all purposes as fully Secured Claims
in an amount equal to (i) the principal amount outstanding under the DIP Facility on such date, (ii) all
interest accrued and unpaid thereon to the date of payment, and (iii) any and all accrued and unpaid fees,
expenses, and indemnification or other obligations of any kind payable under the DIP Credit Agreement
Documents. Such DIP Facility Claims shall not be subject to any avoidance, reduction, setoff, offset,
recoupment, recharacterization, subordination (whether equitable, contractual, or otherwise), counterclaim,
cross-claim, defense, disallowance, impairment, objection, or any other challenge under any applicable law
or regulation by any Entity.

        Except to the extent that a Holder of an Allowed DIP Facility Claim agrees to a less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of each Allowed DIP Facility
Claim, on the Effective Date, each Holder thereof shall receive payment in full in Cash, other than the
Aggregate DIP Equity Fees, which shall be payable in full in New Equity.

                         Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance
with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

                         United States Trustee Statutory Fees.

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
quarterly fees under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on
all disbursements, including Plan payments and disbursements in and outside the ordinary course of the
Debtors’ or Reorganized Debtors’ business (or such amount agreed to with the United States Trustee or
ordered by the Bankruptcy Court), for each quarter (including any fraction thereof) until the Chapter 11
Cases are converted, dismissed, or closed, whichever occurs first.

         F.      Are any regulatory approvals required to consummate the Plan?

        No. There are no known regulatory approvals that are required to consummate the Plan. However,
to the extent such any such regulatory approvals or other authorizations, consents, rulings, or documents
are necessary to implement and effectuate the Plan, it is a condition precedent to the Effective Date that
they be obtained.

         G.     What happens to my recovery if the Plan is not confirmed or does not go effective?

        In the event that the Plan is not confirmed or does not go effective, there is no assurance that
the Debtors will be able to reorganize their businesses. It is possible that any alternative to the Plan may
provide Holders of Claims and Interests with less than they would have received pursuant to the Plan. For
a more detailed description of the consequences of an extended chapter 11 case, or of a liquidation scenario,



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see “Confirmation of the Plan - Best Interests of Creditors/Liquidation Analysis,” which begins on page 67
of this Disclosure Statement, and the Liquidation Analysis attached as Exhibit E.

         H.       If the Plan provides that I get a distribution, do I get it upon Confirmation or when
                  the Plan goes effective, and what is meant by “Confirmation,” “Effective Date,” and
                  “Consummation?”

        “Confirmation” of the Plan refers to approval of the Plan by the Court. Confirmation of the Plan
does not guarantee that you will receive the distribution indicated under the Plan. After Confirmation of
the Plan by the Court, there are conditions that need to be satisfied or waived so that the Plan can go
effective. Initial distributions to holders of Allowed Claims will only be made on the date the Plan becomes
effective/is consummated—the “Effective Date”—or as soon as practicable thereafter, as specified in the
Plan. See “Confirmation of the Plan,” which begins on page 66 of this Disclosure Statement, for a
discussion of the conditions precedent to consummation of the Plan.

         I.       What will I receive from the Debtors if I hold a General Unsecured Claim?

         140,000,000 shares of MYT Series B Preferred Stock and $10,000,000 of Cash will be available
for distribution to Holders of Allowed General Unsecured Claims in accordance with the treatment set forth
in the Plan for Classes 10 and 11. The Debtors and Creditors Committee are considering the addition of
a convenience class, and if such a class is created, a portion of the cash consideration currently contemplated
for distribution to Holders of Allowed General Unsecured Claims shall be proposed to be made available
to Holders of Allowed General Unsecured Claims in such potential convenience class.

         J.       Will there be releases and exculpation granted to parties in interest as part of
                  the Plan?

        Yes, the Plan proposes to release the Released Parties and to exculpate the Exculpated Parties.
The Debtors’ releases, third-party releases, and exculpation provisions included in the Plan (as reflected
below) are an integral part of the Debtors’ overall restructuring efforts and were an essential element of the
negotiations between the Debtors and their key constituencies in obtaining their support for the Plan.
Nevertheless, the proposed releases are subject to the investigations of the Disinterested Managers (as
defined below), and the Debtors reserve the right to modify the release provisions to the extent necessary
to comport with the findings of the investigations.

         As defined in the Plan, “Released Party” means each of, and in each case in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the
Term Loan Lenders; (f) the 2028 Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien
Noteholders; (i) the Consenting Noteholder Group; (j) the Consenting Term Loan Lender Group; (k) the
DIP Lenders; (l) each Agent and Trustee; (m) all Holders of Claims and Interests; (n) each current and
former Affiliate of each Entity in clause (a) through the following clause (o); and (o) with respect to each
of the foregoing Entities in clauses (a) through this clause (o), each of their respective current and former
directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors,
partners, attorneys (including any other attorneys or professionals retained by any current or former director
or manager in his or her capacity as director or manager of an Entity), accountants, investment bankers, and
other professional advisors; provided that in each case, an Entity shall not be a Released Party if it: (x)
elects to opt out of the releases contained in the Plan; or (y) timely files with the Bankruptcy Court on the
docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is not resolved before
Confirmation.




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         As defined in the Plan, “Releasing Party” means each of, and in each case in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the
Term Loan Lenders; (f) the 2028 Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien
Noteholders; (i) the Consenting Noteholder Group; (j) the Consenting Term Loan Lender Group; (k) the
DIP Lenders; (l) each Agent and Trustee; (m) all Holders of Claims and Interests; (n) each current and
former Affiliate of each Entity in clause (a) through the following clause (o); and (o) with respect to each
of the foregoing Entities in clauses (a) through this clause (o), each of their respective current and former
directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors,
partners, attorneys (including any other attorneys or professionals retained by any current or former director
or manger in his or her capacity as director or manager of an Entity), accountants, investment bankers, and
other professional advisors; provided that in each case, an Entity shall not be a Releasing Party if it: (x)
elects to opt out of the releases contained in the Plan; or (y) timely files with the Bankruptcy Court on the
docket of the Chapter 11 Cases an objection to the releases contained in the Plan that is not resolved before
Confirmation.

        As defined in the Plan, “Exculpated Parties” means, collectively, and in each case in its capacity as
such: (a) the Debtors; (b) the Creditors Committee and each of its members; and (c) with respect to each
of the foregoing entities, each such Entity’s current and former predecessors, successors, Affiliates
(regardless of whether such interests are held directly or indirectly), subsidiaries, direct and indirect equity
holders, Professionals, and advisors.

        The Debtors believe that all of the Released Parties and the Exculpated Parties have made
substantial and valuable contributions to the Debtors’ restructuring through efforts to negotiate and
implement the Plan, which will maximize and preserve the going-concern value of the Debtors for the
benefit of all parties in interest. Accordingly, each of the Released Parties and the Exculpated Parties
warrants the benefit of the release and exculpation provisions.

         All Holders of Claims that (i) vote to accept or are deemed to accept the Plan or (ii) are in voting
Classes that abstain from voting on the Plan and do not opt out of the release provisions contained in
Article VIII of the Plan or timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases an
objection to the releases contained in the Plan that is not resolved before Confirmation will be deemed to
have expressly, unconditionally, generally, individually, and collectively released and discharged all
Claims and Causes of Action against the Debtors and the Released Parties. The releases represent an
integral element of the Plan.

        Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
Appeals for the Fifth Circuit. Moreover, the Debtors will present evidence at the Confirmation Hearing to
demonstrate the basis for and propriety of the release and exculpation provisions. As set forth in
Article VIII of the Plan, the releases (as well as the definitions of Released Parties and Releasing Parties)
are subject to approval by the Court at the Confirmation Hearing.

                         Discharge of Claims and Termination of Interests.

      PURSUANT TO SECTION 1141(D) OF THE BANKRUPTCY CODE, AND EXCEPT AS
OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN OR IN ANY CONTRACT, INSTRUMENT,
OR OTHER AGREEMENT OR DOCUMENT CREATED PURSUANT TO THE PLAN, THE
DISTRIBUTIONS, RIGHTS, AND TREATMENT THAT ARE PROVIDED IN THE PLAN SHALL BE
IN COMPLETE SATISFACTION, DISCHARGE, AND RELEASE, EFFECTIVE AS OF THE
EFFECTIVE DATE, OF CLAIMS (INCLUDING ANY DEBTOR INTERCOMPANY CLAIMS


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RESOLVED OR COMPROMISED AFTER THE EFFECTIVE DATE BY THE REORGANIZED
DEBTORS), INTERESTS, AND CAUSES OF ACTION OF ANY NATURE WHATSOEVER,
INCLUDING ANY INTEREST ACCRUED ON CLAIMS OR INTERESTS FROM AND AFTER THE
PETITION DATE, WHETHER KNOWN OR UNKNOWN, AGAINST, LIABILITIES OF, LIENS ON,
OBLIGATIONS OF, RIGHTS AGAINST, AND INTERESTS IN, THE DEBTORS OR ANY OF THEIR
ASSETS OR PROPERTIES, REGARDLESS OF WHETHER ANY PROPERTY SHALL HAVE BEEN
DISTRIBUTED OR RETAINED PURSUANT TO THE PLAN ON ACCOUNT OF SUCH CLAIMS AND
INTERESTS, INCLUDING DEMANDS, LIABILITIES, AND CAUSES OF ACTION THAT AROSE
BEFORE THE EFFECTIVE DATE, ANY LIABILITY (INCLUDING WITHDRAWAL LIABILITY) TO
THE EXTENT SUCH CLAIMS OR INTERESTS RELATE TO SERVICES PERFORMED BY
EMPLOYEES OF THE DEBTORS BEFORE THE EFFECTIVE DATE AND THAT ARISE FROM A
TERMINATION OF EMPLOYMENT, ANY CONTINGENT OR NON-CONTINGENT LIABILITY ON
ACCOUNT OF REPRESENTATIONS OR WARRANTIES ISSUED ON OR BEFORE THE
EFFECTIVE DATE, AND ALL DEBTS OF THE KIND SPECIFIED IN SECTIONS 502(G), 502(H), OR
502(I) OF THE BANKRUPTCY CODE, IN EACH CASE WHETHER OR NOT: (1) A PROOF OF
CLAIM BASED UPON SUCH DEBT OR RIGHT IS FILED OR DEEMED FILED PURSUANT TO
SECTION 501 OF THE BANKRUPTCY CODE; (2) A CLAIM OR INTEREST BASED UPON SUCH
DEBT, RIGHT, OR INTEREST IS ALLOWED PURSUANT TO SECTION 502 OF THE
BANKRUPTCY CODE; OR (3) THE HOLDER OF SUCH A CLAIM OR INTEREST HAS ACCEPTED
THE PLAN. ANY DEFAULT OR “EVENT OF DEFAULT” BY THE DEBTORS OR AFFILIATES
WITH RESPECT TO ANY CLAIM OR INTEREST THAT EXISTED IMMEDIATELY BEFORE OR
ON ACCOUNT OF THE FILING OF THE CHAPTER 11 CASES SHALL BE DEEMED CURED (AND
NO LONGER CONTINUING) AS OF THE EFFECTIVE DATE. THE CONFIRMATION ORDER
SHALL BE A JUDICIAL DETERMINATION OF THE DISCHARGE OF ALL CLAIMS AND
INTERESTS SUBJECT TO THE EFFECTIVE DATE OCCURRING.

                  Release of Liens.

      EXCEPT AS OTHERWISE PROVIDED IN THE EXIT FACILITY DOCUMENTS, THE PLAN,
THE CONFIRMATION ORDER, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER
AGREEMENT OR DOCUMENT CREATED PURSUANT TO THE PLAN, ON THE EFFECTIVE
DATE AND CONCURRENTLY WITH THE APPLICABLE DISTRIBUTIONS MADE PURSUANT TO
THE PLAN AND, IN THE CASE OF A SECURED CLAIM, SATISFACTION IN FULL OF THE
PORTION OF THE SECURED CLAIM THAT IS ALLOWED AS OF THE EFFECTIVE DATE,
EXCEPT FOR OTHER SECURED CLAIMS THAT THE DEBTORS ELECT TO REINSTATE IN
ACCORDANCE WITH ARTICLE III.B OF THE PLAN, ALL MORTGAGES, DEEDS OF TRUST,
LIENS, PLEDGES, OR OTHER SECURITY INTERESTS AGAINST ANY PROPERTY OF THE
ESTATES SHALL BE FULLY RELEASED AND DISCHARGED, AND ALL OF THE RIGHT, TITLE,
AND INTEREST OF ANY HOLDER OF SUCH MORTGAGES, DEEDS OF TRUST, LIENS,
PLEDGES, OR OTHER SECURITY INTERESTS SHALL REVERT TO THE REORGANIZED
DEBTORS AND THEIR SUCCESSORS AND ASSIGNS. ANY HOLDER OF SUCH SECURED
CLAIM (AND THE APPLICABLE AGENTS FOR SUCH HOLDER) SHALL BE AUTHORIZED AND
DIRECTED, AT THE SOLE COST AND EXPENSE OF THE REORGANIZED DEBTORS, TO
RELEASE ANY COLLATERAL OR OTHER PROPERTY OF ANY DEBTOR (INCLUDING ANY
CASH COLLATERAL AND POSSESSORY COLLATERAL) HELD BY SUCH HOLDER (AND THE
APPLICABLE AGENTS FOR SUCH HOLDER), AND TO TAKE SUCH ACTIONS AS MAY BE
REASONABLY REQUESTED BY THE REORGANIZED DEBTORS TO EVIDENCE THE RELEASE
OF SUCH LIEN, INCLUDING THE EXECUTION, DELIVERY, AND FILING OR RECORDING OF
SUCH RELEASES. THE PRESENTATION OR FILING OF THE CONFIRMATION ORDER TO OR
WITH ANY FEDERAL, STATE, PROVINCIAL, OR LOCAL AGENCY OR DEPARTMENT SHALL




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CONSTITUTE GOOD AND SUFFICIENT EVIDENCE OF, BUT SHALL NOT BE REQUIRED TO
EFFECT, THE TERMINATION OF SUCH LIENS.

                  Releases by the Debtors.

      PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD AND
VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED
PARTY IS DEEMED RELEASED AND DISCHARGED BY THE DEBTORS, THE REORGANIZED
DEBTORS, AND THEIR ESTATES FROM ANY AND ALL CAUSES OF ACTION, INCLUDING ANY
DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE DEBTORS, THAT THE DEBTORS, THE
REORGANIZED DEBTORS, OR THEIR ESTATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST, OR THAT ANY HOLDER OF ANY
CLAIM OR INTEREST COULD HAVE ASSERTED ON BEHALF OF THE DEBTORS, BASED ON
OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART:
  A.   THE DEBTORS, THE DEBTORS’ RESTRUCTURING EFFORTS, INTERCOMPANY
       TRANSACTIONS,    THE    FORMULATION,   PREPARATION,    DISSEMINATION,
       NEGOTIATION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT;
  B.   ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
       OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL OPINION
       REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT,
       INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN
       OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
       CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED
       INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
       DISCLOSURE STATEMENT, OR THE PLAN;
  C.   THE CHAPTER 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF
       THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
       CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
       INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE
       PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
       RELATED AGREEMENT; OR
  D.   ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
       OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
RELEASES SET FORTH ABOVE DO NOT RELEASE ANY POST-EFFECTIVE DATE
OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE
SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN AND DO
NOT RELEASE ANY AGREEMENTS UNDER THE TRANSACTION SUPPORT AGREEMENT OR
ANY DOCUMENTS OR AGREEMENTS EXECUTED IN CONNECTION THEREWITH RELATED
TO ANY PARTY’S RIGHTS, CLAIMS, AND CONTROLS WITH RESPECT TO MYTHERESA
(INCLUDING BUT NOT LIMITED TO THE WATERFALL AND TURNOVER PROVISIONS SET
FORTH IN THE EXISTING MYT TRANSACTION DOCUMENTS AND THE TRANSACTION
SUPPORT AGREEMENT, AND THE EQUIVALENT TURNOVER AND WATERFALL PROVISIONS
IN ANY OTHER PREPETITION DOCUMENTS AND AGREEMENTS, EXCEPT TO THE EXTENT
EXPRESSLY WAIVED IN THE PLAN).




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      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE DEBTOR RELEASE,
WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND DEFINITIONS
CONTAINED IN THE PLAN, AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY
COURT’S FINDING THAT THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND
VALUABLE CONSIDERATION PROVIDED BY THE RELEASED PARTIES, INCLUDING,
WITHOUT LIMITATION, THE RELEASED PARTIES’ CONTRIBUTIONS TO FACILITATING THE
RESTRUCTURING AND IMPLEMENTING THE PLAN; (B) A GOOD FAITH SETTLEMENT AND
COMPROMISE OF THE CLAIMS RELEASED BY THE DEBTOR RELEASE; (C) IN THE BEST
INTERESTS OF THE DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR,
EQUITABLE, AND REASONABLE; (E) GIVEN AND MADE AFTER DUE NOTICE AND
OPPORTUNITY FOR HEARING; AND (F) A BAR TO ANY OF THE DEBTORS, THE
REORGANIZED DEBTORS, OR THE DEBTORS’ ESTATES ASSERTING ANY CLAIM OR CAUSE
OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

                  Releases by Holders of Claims and Interests.

      AS OF THE EFFECTIVE DATE, EACH RELEASING PARTY IS DEEMED TO HAVE
RELEASED AND DISCHARGED EACH DEBTOR, REORGANIZED DEBTOR, AND RELEASED
PARTY FROM ANY AND ALL CAUSES OF ACTION, INCLUDING ANY DERIVATIVE CLAIMS
ASSERTED ON BEHALF OF THE DEBTORS, THAT SUCH ENTITY WOULD HAVE BEEN
LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED
ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART:
  A. THE DEBTORS, THE DEBTORS’ RESTRUCTURING EFFORTS, INTERCOMPANY
     TRANSACTIONS,    THE    FORMULATION,   PREPARATION,    DISSEMINATION,
     NEGOTIATION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT;
  B. ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
     OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL OPINION
     REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT,
     INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN
     OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
     CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED
     INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
     DISCLOSURE STATEMENT, OR THE PLAN;
  C. THE CHAPTER 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF
     THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
     CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
     INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE
     PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
     RELATED AGREEMENT; OR
  D. ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
     OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
RELEASES SET FORTH ABOVE DO NOT RELEASE ANY POST-EFFECTIVE DATE
OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE
SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN AND DO
NOT RELEASE ANY AGREEMENTS UNDER THE TRANSACTION SUPPORT AGREEMENT OR
ANY DOCUMENTS OR AGREEMENTS EXECUTED IN CONNECTION THEREWITH RELATED


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TO ANY PARTY’S RIGHTS, CLAIMS, AND CONTROLS WITH RESPECT TO MYTHERESA
(INCLUDING BUT NOT LIMITED TO THE WATERFALL AND TURNOVER PROVISIONS SET
FORTH IN THE EXISTING MYT TRANSACTION DOCUMENTS AND THE TRANSACTION
SUPPORT AGREEMENT, AND THE EQUIVALENT TURNOVER AND WATERFALL PROVISIONS
IN ANY OTHER PREPETITION DOCUMENTS AND AGREEMENTS, EXCEPT TO THE EXTENT
EXPRESSLY WAIVED IN THE PLAN).

       ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE THIRD-PARTY
RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND
DEFINITIONS CONTAINED HEREIN, AND, FURTHER, SHALL CONSTITUTE THE
BANKRUPTCY COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS: (A) CONSENSUAL;
(B) ESSENTIAL TO THE CONFIRMATION OF THE PLAN; (C) GIVEN IN EXCHANGE FOR THE
GOOD AND VALUABLE CONSIDERATION PROVIDED BY THE RELEASED PARTIES; (D) A
GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-
PARTY RELEASE; (E) IN THE BEST INTERESTS OF THE DEBTORS AND THEIR ESTATES; (F)
FAIR, EQUITABLE, AND REASONABLE; (G) GIVEN AND MADE AFTER DUE NOTICE AND
OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY OF THE RELEASING PARTIES
ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT TO THE THIRD-
PARTY RELEASE.

                  Exculpation.

      EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO EXCULPATED
PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED PARTY IS HEREBY RELEASED
AND EXCULPATED FROM ANY CAUSE OF ACTION FOR ANY CLAIM RELATED TO ANY ACT
OR OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF, THE CHAPTER
11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, FILING,
OR TERMINATION OF THE RESTRUCTURING SUPPORT AGREEMENT AND RELATED
PREPETITION TRANSACTIONS, THE DISCLOSURE STATEMENT, THE PLAN, OR ANY
RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE OR OTHER
AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL OPINION REQUESTED
BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT, INSTRUMENT, DOCUMENT,
OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN OR THE RELIANCE BY ANY
EXCULPATED PARTY ON THE PLAN OR THE CONFIRMATION ORDER IN LIEU OF SUCH
LEGAL OPINION) CREATED OR ENTERED INTO IN CONNECTION WITH THE DISCLOSURE
STATEMENT OR THE PLAN, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT OF
CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND
IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OF SECURITIES PURSUANT
TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
RELATED AGREEMENT, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT
IS DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL
MISCONDUCT, OR GROSS NEGLIGENCE, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE
ENTITLED TO REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO
THEIR DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN. THE EXCULPATED
PARTIES HAVE, AND UPON COMPLETION OF THE PLAN SHALL BE DEEMED TO HAVE,
PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE LAWS WITH
REGARD TO THE SOLICITATION OF, AND DISTRIBUTION OF, CONSIDERATION PURSUANT
TO THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS
SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW,




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RULE, OR REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN.

      THE EXCULPATED PARTIES AND OTHER PARTIES SET FORTH ABOVE HAVE, AND
UPON CONFIRMATION OF THE PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN
GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE LAWS WITH REGARD TO THE
SOLICITATION OF VOTES AND DISTRIBUTION OF CONSIDERATION PURSUANT TO THE
PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS SHALL
NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR
REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE
PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN.

                        Injunction.

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR OBLIGATIONS
ISSUED OR REQUIRED TO BE PAID PURSUANT TO THE PLAN OR THE CONFIRMATION
ORDER, ALL ENTITIES THAT HAVE HELD, HOLD, OR MAY HOLD CLAIMS OR INTERESTS
THAT HAVE BEEN RELEASED PURSUANT TO THE PLAN, SHALL BE DISCHARGED
PURSUANT TO THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT TO THE PLAN,
ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING
ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE DEBTORS, THE
REORGANIZED DEBTORS, OR ANY OF THE RELEASED PARTIES: (I) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; (II) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING BY ANY
MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH
ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY LIEN OR
ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE PROPERTY OR THE
ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT
TO ANY SUCH CLAIMS OR INTERESTS; (IV) ASSERTING ANY RIGHT OF SETOFF,
SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM
SUCH ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS UNLESS
SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED WITH
THE BANKRUPTCY COURT EXPLICITLY PRESERVING SUCH SETOFF, AND
NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT
SUCH ENTITY ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF
PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR CONTINUING
IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR
IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS RELEASED
OR SETTLED PURSUANT TO THE PLAN.

         K.      What impact does a potential Claims Bar Date have on my Claim?

        On June 25, 2020, the Bankruptcy Court entered the Order (I) Settling Bar Dates for Filing Proofs
of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing Amended Schedules
Bar Date and Rejection Damages Bar Date, (III) Approving the Form of and Manner for Filing Proofs of
Claim, Including Section 503(b)(9) Requests, (IV) Approving Notice of Bar Dates, and (V) Granting Related
Relief [Docket No. 1014] (the “Bar Date Order”), setting bar dates by which the following entities holding
Claims against the Debtors that arose (or that are deemed to have arisen) prior to the Petition Date



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(including, without limitation, Class 10: General Unsecured Claims), must file proofs of claim (the “Bar
Date”): (a) any entity whose claim against a Debtor is not listed in the applicable Debtor’s Schedules or is
listed as contingent, unliquidated, or disputed if such entity desires to participate in any of these Chapter 11
Cases or share in any distribution in any of these Chapter 11 Cases; (b) any entity that believes that its claim
is improperly classified in the Schedules or is listed in an incorrect amount and that desires to have its claim
allowed in a different classification or amount other than that identified in the Schedules; (c) any entity that
believes that its prepetition claims as listed in the Schedules is not an obligation of the specific Debtor
against which the claim is listed and that desires to have its claim allowed against a Debtor other than that
identified in the Schedules; and (d) any entity that believes that its claim against a Debtor is or may be an
administrative expense pursuant to section 503(b)(9) of the Bankruptcy Code.

         In accordance with Bankruptcy Rule 3003(c)(2), if any person or entity that is required, but fails,
to file a proof of claim on or before the applicable Bar Date: (a) such person or entity may be forever
barred, estopped, and enjoined from asserting such Claim against the Debtors (or filing a proof of claim
with respect thereto); (b) the Debtors and their property may be forever discharged from any and all
indebtedness or liability with respect to or arising from such Claim; (c) such person or entity may not
receive any distribution in the Chapter 11 Cases on account of that Claim; and (d) such person or entity
may not be permitted to vote on any plan or plans of reorganization for the Debtors on account of these
barred Claims or receive further notices regarding such Claim. Except in the cases of governmental units
and certain other exceptions expressly set forth in the Bar Date Order, all proofs of claims of any
person or entity that is required to file a proof of claim must have been filed so that they were actually
received on or before July 20, 2020, at 5:00 p.m. (prevailing Central Time). All governmental units
holding claims that arose prior to the Petition Date must file proofs of claims so they are actually
received on or before November 3, 2020, at 5:00 p.m. (prevailing Central Time).

         L.       What is the deadline to vote on the Plan?

       The Voting Deadline is August 31, 2020, at 4:00 p.m. (prevailing Central Time). The Voting
Deadline for any counterparty to an Unexpired Lease which is identified as rejected on a Schedules of
Assumed and Rejected Contracts filed later than one Business Day prior to the Voting Deadline shall be
extended to the date of the Confirmation Hearing.

         M.       How do I vote for or against the Plan?

         Detailed instructions regarding how to vote on the Plan are contained on the Ballots distributed to
holders of Claims and Interests that are entitled to vote on the Plan. For your vote to be counted, your
Ballot must be completed and signed so that it is actually received by August 31, 2020 at 4:00 p.m.
(prevailing Central Time) at the following address:


                            Neiman Marcus Group LTD LLC Ballot Processing
                                               c/o Stretto
                                       410 Exchange, Suite 100
                                       Irvine, California 92602



        For more detail on voting and solicitation procedures, see Article XI of this Disclosure Statement.




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           N.     Who do I contact if I have additional questions with respect to this Disclosure
                  Statement or the Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the notice
and claims agent, Stretto (the “Notice and Claims Agent”):

      By regular, hand delivery, or
                                          By electronic mail at:                By telephone at:
           overnight mail at:
       Neiman Marcus Group LTD
                   LLC                                                     877-670-2127 (Toll-Free)
                                       NMGInquiries@stretto.com
                c/o Stretto                                               949-504-4475 (International)
        410 Exchange, Suite 100
        Irvine, California 92602

         Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in
the Chapter 11 Cases are available upon written request to the Notice and Claims Agent at the address
above or by downloading the exhibits and documents from the website of the Debtors’ notice, claims, and
solicitation agent at http://cases.stretto.com/NMG (free of charge) or the Court’s website at
https://ecf.txsb.uscourts.gov/ (for a fee).

           O.     Do the Debtors recommend voting in favor of the Plan?

         Yes. The Debtors believe the Plan provides for a larger distribution to the Debtors’ creditors than
would otherwise result from any other available alternative. The Debtors believe the Plan is in the best
interest of all Holders of Claims and Interests and that other alternatives fail to realize or recognize the
value inherent under the Plan.

           P.     What is the effect of the Plan on the Debtors’ ongoing business?

         The Debtors are seeking to reorganize under chapter 11 of the Bankruptcy Code. Confirmation
means that the Debtors will not be liquidated or forced to go out of business. Following Confirmation,
the Plan will be consummated on the Effective Date, which is a date selected by the Debtors that is a
Business Day on which: (a) no stay of the Confirmation Order is in effect; (b) all conditions precedent
specified in Article IX.A of the Plan have been satisfied or waived (in accordance with Article IX.B of
the Plan); and (c) the Plan is declared effective. On or after the Effective Date, and unless otherwise
provided in the Plan, the Reorganized Debtors may operate or wind-down their businesses, as applicable,
and, except as otherwise provided by the Plan, may use, acquire, or dispose of property and compromise or
settle any Claims, Interests, or Causes of Action without supervision or approval by the Court and free of
any restrictions of the Bankruptcy Code or Bankruptcy Rules. Additionally, upon the Effective Date, all
actions contemplated by the Plan will be deemed authorized and approved.

IV.       IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

           A.     Additional Important Information.

         The confirmation and effectiveness of the Plan are subject to certain material conditions precedent
described herein and set forth in Article IX of the Plan. There is no assurance that the Plan will be
confirmed, or if confirmed, that the conditions required to be satisfied for the Plan to go effective will be
satisfied (or waived).




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       You are encouraged to read this Disclosure Statement in its entirety, including the section entitled
“Risk Factors” and the Plan before submitting your ballot to vote on the Plan.

        The Court’s approval of this Disclosure Statement does not constitute a guarantee by the Court
of the accuracy or completeness of the information contained herein or an endorsement by the Court of
the merits of the Plan.

         Summaries of the Plan and statements made in this Disclosure Statement are qualified in their
entirety by reference to the Plan. The summaries of the financial information and the documents annexed
to this Disclosure Statement or otherwise incorporated herein by reference are qualified in their entirety by
reference to those documents. The statements contained in this Disclosure Statement are made only as of
the date of this Disclosure Statement, and there is no assurance that the statements contained herein will be
correct at any time after such date. Except as otherwise provided in the Plan or in accordance with
applicable law, the Debtors are under no duty to update or supplement this Disclosure Statement.

        The information contained in this Disclosure Statement is included for purposes of soliciting
acceptances to, and Confirmation of, the Plan and may not be relied on for any other purpose. In the event
of any inconsistency between the Disclosure Statement and the Plan, the relevant provisions of the Plan
will govern.

         This Disclosure Statement has not been approved or disapproved by the SEC or any similar federal,
state, local or foreign regulatory agency, nor has the SEC or any other agency passed upon the accuracy or
adequacy of the statements contained in this Disclosure Statement.

        The Debtors have sought to ensure the accuracy of the financial information provided in
this Disclosure Statement; however, the financial information contained in this Disclosure Statement or
incorporated herein by reference has not been, and will not be, audited or reviewed by the Debtors’
independent auditors unless explicitly provided otherwise.

        Upon Confirmation of the Plan, certain of the securities described in this Disclosure Statement will
be issued without registration under the Securities Act, or similar federal, state, local, or foreign laws, in
reliance upon the exemption set forth in (a) section 1145 of the Bankruptcy Code and/or (b) section 4(a)(2)
of the Securities Act or Regulation D promulgated thereunder. Other securities may be issued pursuant to
other applicable exemptions under the federal securities laws, if any. All securities issued pursuant to the
exemption from registration set forth in section 4(a)(2) of the Securities Act or Regulation D promulgated
thereunder will be considered “restricted securities” and may not be transferred except pursuant to an
effective registration statement under the Securities Act or an available exemption therefrom.

        The Debtors make statements in this Disclosure Statement that are considered forward-looking
statements under federal securities laws. The Debtors consider all statements regarding anticipated or future
matters, to be forward-looking statements. Forward-looking statements may include statements about:

            x   the Debtors’:

                     o   business strategy, plans, objectives, and expectations;

                     o   estimated future net reserves and present value thereof;

                     o   technology, supply chain and other operations;

                     o   brand partner and vendor relationships;




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                    o   arrangements with brand partners, suppliers or other institutions as they relate to:
                        (i) the manner in which goods are made available, (ii) the levels of merchandise
                        made available and (iii) the pricing and payment terms with respect to such
                        purchases;

                    o   financial condition, revenues, cash flows, and expenses;

                    o   levels of indebtedness and compliance with debt covenants;

                    o   financial strategy, budget, projections, and operating results;

                    o   amount, nature, and timing of capital expenditures;

                    o   access to capital and terms of such capital;

                    o   liquidity and cost savings as a result of the closing the Debtors’ stores;

                    o   capital resources and liquidity, including access to additional borrowing capacity
                        under the DIP Facility and the Exit Facility, and ability to satisfy future cash
                        obligations; and

                    o   integration and benefits of asset and property acquisitions or the effects of asset
                        and property acquisitions or dispositions on the Debtors’ cash position and levels
                        of indebtedness.

            x   costs of developing the Debtors’ properties and conducting other operations;

            x   general economic and business conditions;

            x   the outcome of pending and future litigation;

            x   the competitive nature of the luxury retail industry;

            x   uncertainty regarding the Debtors’ future operating results;

            x   variations in the market demand for, and prices of, the Debtors’ key product lines;

            x   the impact of regional or global pandemics or other public health issues; and

            x   the potential adoption of new governmental regulations that affect the Debtors’ business.

         Statements concerning the foregoing and other matters are not guarantees of the Reorganized
Debtors’ future performance. There are risks, uncertainties, and other important factors that could cause
the Debtors’ actual performance or achievements to be different from those they may project, and
the Debtors undertake no obligation to update the projections made herein. These risks, uncertainties, and
factors may include: the Debtors’ ability to confirm and consummate the Plan; the Debtors’ ability to
reduce its overall financial leverage; the potential adverse impact of the Chapter 11 Cases on the Debtors’
operations, management, and employees, and the risks associated with operating the Debtors’ business
during the Chapter 11 Cases; customer and vendor responses to the Chapter 11 Cases; the Debtors’ inability
to discharge or settle Claims during the Chapter 11 Cases; general economic, business and market
conditions and the impact of the recent COVID-19 outbreak; currency fluctuations; interest rate
fluctuations; price increases; exposure to litigation; a decline in the Debtors’ market share due to
competition or price pressure by customers; the Debtors’ ability to implement cost reduction initiatives in
a timely manner; the Debtors’ ability to divest existing businesses; financial conditions of the Debtors’


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customers; adverse tax changes; limited access to capital resources; changes in domestic and foreign laws
and regulations; trade balance; natural disasters; geopolitical instability; and the effects of governmental
regulation on the Debtors’ businesses.

V.      OVERVIEW OF THE PLAN

         The Plan provides for the reorganization of the Debtors as a going concern and will significantly
reduce long-term debt and annual interest payments and preserve the Debtors’ existing liquidity, resulting
in a stronger, delivered balance sheet. Specifically, the Plan contemplates a restructuring of the Debtors
through a debt-for-equity conversion. The key terms of the Plan are as follows:

         A.       The Restructuring Transactions.

         On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any
transactions and shall take any actions as may be necessary or appropriate to effectuate the Restructuring
Transactions (as agreed and in accordance with the Restructuring Support Agreement and subject to the
applicable consent and approval rights thereunder), including to establish Reorganized Neiman and, if
applicable, to transfer assets of the Debtors to Reorganized Neiman or a subsidiary thereof. The applicable
Debtors or the Reorganized Debtors will take any actions as may be necessary or advisable to effect a
corporate restructuring of the overall corporate structure of the Debtors, to the extent agreed in accordance
with the consent rights in the Restructuring Support Agreement and provided herein, in the Description of
Transaction Steps, or in the Definitive Documentation, including the issuance of all securities, notes,
instruments, certificates, and other documents required to be issued pursuant to the Plan, one or more
intercompany mergers, consolidations, amalgamations, arrangements, continuances, restructurings,
conversions, dissolutions, transfers, liquidations, or other corporate transactions.

        On the Effective Date, all property in each Estate, all Causes of Action, and any property acquired
by any of the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear of all Liens,
Claims, charges, Causes of Action, or other encumbrances. To the extent provided in the Description of
Transaction Steps, each Debtor, other than Reorganized Neiman, may be deemed dissolved in accordance
with applicable law, without any further notice to or action, order, or approval of the Bankruptcy Court or
any other Entity. Reorganized Neiman shall be the issuer of New Equity to the applicable Holders of
Claims and Interests as set forth herein.

         The actions to implement the Restructuring Transactions may include, in each case if and as agreed
in accordance with the Restructuring Support Agreement and subject to the applicable consent and approval
rights thereunder: (1) the execution and delivery of appropriate agreements or other documents of merger,
amalgamation, consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance,
dissolution, sale, purchase, or reorganization containing terms that are consistent with the terms of the Plan
and that satisfy the applicable requirements of applicable law and any other terms to which the applicable
parties may agree; (2) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, right, liability, duty, debt, or obligation on terms consistent
with the terms of the Plan and having other terms for which the applicable parties agree; (3) the filing of
appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable law; (4) all
transactions necessary to provide for the purchase of substantially all of the assets or Interests of any of the
Debtors by one or more Entities to be wholly owned by Reorganized Neiman, which purchase, if applicable,
may be structured as a taxable transaction for United States federal income tax purposes; and (5) all other
actions that the applicable parties determine to be necessary, including making filings or recordings that
may be required by applicable law in connection with the Plan.




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         B.      Sources of Consideration for Plan Distributions.

                         Exit Facility.

         On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of which
will be set forth in the Exit Facility Documents. Confirmation of the Plan shall be deemed approval of the
Exit Facility and the Exit Facility Documents, as applicable, and all transactions contemplated thereby, and
all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized Debtors
in connection therewith, including the payment of all fees, indemnities, expenses, and other payments
provided for therein and authorization of the Reorganized Debtors to enter into and execute the Exit Facility
Documents and such other documents as may be required to effectuate the treatment afforded by the Exit
Facility.

                 On the Effective Date, all of the Liens and security interests to be granted in accordance
with the Exit Facility Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted thereunder in accordance with the
terms of the Exit Facility Documents, (c) shall be deemed automatically perfected on the Effective Date,
subject only to such Liens and security interests as may be permitted under the Exit Facility Documents,
and (d) shall not be subject to recharacterization or equitable subordination for any purposes whatsoever
and shall not constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or any
applicable non-bankruptcy law. The Reorganized Debtors and the persons and entities granted such Liens
and security interests shall be authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other law that would be applicable in the absence of the Plan
and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order and any such filings, recordings, approvals, and consents shall not be
required), and will thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable law to give notice of such Liens and security interests to third parties.

                         New Equity.

         On the Effective Date, upon cancellation of the Existing Equity Interests, Reorganized Neiman
shall issue the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan.
The issuance of the New Equity, including New Equity reserved under the Management Incentive Plan,
shall be authorized without the need for any further corporate action and without any further action by the
Holders of Claims or Interests or the Debtors or the Reorganized Debtors, as applicable.

         All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully
paid, and non-assessable. Each distribution and issuance referred to in Article VI of the Plan shall be
governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and
by the terms and conditions of the instruments evidencing or relating to such distribution or issuance, which
terms and conditions shall bind each Entity receiving such distribution or issuance.

                         New Warrants.

         On the Effective Date, Reorganized Neiman shall issue the New Warrants in accordance with the
New Warrant Agreement and distribute them to the Holders of Claims in Class 8, in accordance with Article
VI.D.2 of the Plan. All of the New Warrants issued pursuant to the Plan shall be duly authorized, validly
issued, fully paid, and non assessable.




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                         2L MyT Distribution.

        On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders
of Claims in Class 8, in accordance with Article VI.D.2 of the Plan. Upon issuance, the 2L MyT
Distribution shall be duly authorized, validly issued, fully paid, and non assessable.

                         3L MyT Distribution.

        On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders
of Claims in Class 9, in accordance with Article VI.D.2 of the Plan. Upon issuance, the 3L MyT
Distribution shall be duly authorized, validly issued, fully paid, and non assessable.

                         General Unsecured Creditor Recovery.

         On the Effective Date, the Sponsor Contribution and $10,000,000 of Cash will be available for
distribution to Holders of Allowed General Unsecured Claims in accordance with the treatment set forth in
the Plan for Classes 10 and 11. The GUC Claims Administrator shall have responsibility for reconciling
General Unsecured Claims, including asserting any objections thereto; provided, that the Debtors or
Reorganized Debtors shall retain the right to object to asserted Class 10 Claims. The Debtors and Creditors
Committee are considering the addition of a convenience class, and if such a class is created, a portion of
the cash consideration currently contemplated for distribution to Holders of Allowed General Unsecured
Claims shall be proposed to be made available to Holders of Allowed General Unsecured Claims in such
potential convenience class.

         C.       Management Incentive Plan.

        The New Board shall be authorized to implement the Management Incentive Plan on or after the
Effective Date, the form of which shall be included in the Plan Supplement.

         D.       Releases.

         The Plan contains certain releases (as described more fully in Article III.J of this Disclosure
Statement), including mutual releases among the Debtors, Reorganized Debtors, and certain of their key
stakeholders. Additionally, all Holders of Claims or Interests that do not to opt out of the releases contained
in the Plan; or timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to
its inclusion as a Releasing Party under the releases contained in the Plan that is not resolved before
Confirmation will be deemed to have expressly, unconditionally, generally, individually, and collectively
consented to the release and discharge of all Claims and Causes of Action against the Debtors and the
Released Parties to the extent set forth in the Plan.

         E.      Directors and Officers of the Reorganized Debtors.

        As of the Effective Date, the term of the current members of the board of directors of the Debtors
shall expire, and the members for the initial term of the New Board shall be appointed. The initial members
of the New Board will be identified in the Plan Supplement, to the extent known at the time of filing,
pursuant to the terms of the Restructuring Support Agreement. Each such member and officer of the
Reorganized Debtors shall serve from and after the Effective Date pursuant to the terms of the New
Organizational Documents and other constituent documents of the Reorganized Debtors.




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        The New Board shall consist of seven directors, or such other number as approved pursuant to the
Governance Term Sheet and shall initially be comprised of (i) the then-serving Chief Executive Officer of
the Reorganized Debtors; (ii) three directors designated by Pacific Investment Management Company LLC
(“PIMCO”); (iii) one director designated by Davidson Kempner Capital Management LP; (iv) one director
designated by Sixth Street Partners, LLC; and (v) one independent director designated by holders of New
Equity (other than PIMCO) representing at least 50% of the New Equity to be outstanding as of the Effective
Date (other than New Equity to be issued to PIMCO).

VI.     THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS OVERVIEW

         A.       NMG’s Corporate History.

                         A Century of Luxury and Innovation

         On September 10, 1907, the first Neiman Marcus store opened its doors at the corner of Elm and
Murphy in Dallas with the goal of offering style, quality, and unparalleled service. NMG has always
worked hard to provide more than “just” shopping and in the process created experiences and traditions
over the decades. For example, NMG started the first weekly retail fashion show in the 1920s. It still
sponsors fashion shows as charity events today. In the 1930s, NMG drew national attention as the first
retailer outside of New York City to run national ad campaigns in Vogue and Harper’s Bazaar. NMG has
continued to reinvent the publishing of fashion with the now-traditional Christmas Book (1939), campaigns
like the Art of Fashion (1994), and its fashion magazine the book (1996).

        In the 1940s, NMG worked to bring the industry together to celebrate fashion talent with The
Neiman Marcus Award for Distinguished Service in the Field of Fashion—the Oscar of the fashion
industry—with famous winners such as Coco Chanel and Yves Saint Laurent. Beginning in the 1950s,
NMG formalized its combination of art and style by starting the Neiman Marcus Art Collection, which
includes thousands of pieces and often features local artists.

          NMG has rebuilt itself from the ground up twice due to devastating fires at its flagship location (the
first in 1913 and the second in 1964). In 1971, NMG expanded outside of Texas for the first time, building
a store in Bal Harbour, Florida. Today, there are 43 Neiman Marcus brand stores nationwide, each of which
offers a distinctive selection of apparel, handbags, shoes, cosmetics, and precious and designer jewelry
from premier luxury and fashion designers.

        In 1972, NMG acquired the famous Fifth Avenue landmark, Bergdorf Goodman. The acquisition
gave NMG a foothold in New York City, the sole NMG location in the nation’s fashion capital until the
opening of Neiman Marcus’s Hudson Yards location in spring 2019. In 1988, NMG deepened and
expanded its product offerings with the acquisition of the Horchow Collection, a luxury décor and furniture
brand. In 1999, NMG took its business online, launching NeimanMarcus.com. Since then, NMG’s online
platform has grown into the largest luxury e-commerce platform in the world, accounting for over 30
percent of NMG’s total revenue.

         Presently, NMG also operates Last Call, an off-price fashion brand catering to price sensitive yet
fashion-minded customers. As part of its go-forward business model, NMG will be focusing on its
full-price stores and moving away from the Last Call segment.

                         2013: Ares and CPPIB Acquire Neiman Marcus

        Before 2005, Debtor The Neiman Marcus Group LLC (“NMG LLC”) (f/k/a The Neiman Marcus
Group, Inc.) was publicly traded on the New York Stock Exchange. In 2005, affiliates of TPG and Warburg




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Pincus took NMG LLC private through the entity that is now Debtor Neiman Marcus Group LTD LLC
(“NMG LTD LLC”) (f/k/a Neiman Marcus Group LTD Inc. and Neiman Marcus, Inc.).

         In October 2013, affiliates of Ares and CPPIB (the “Sponsors”) acquired NMG LTD LLC (the
“Acquisition”) through non-debtor parent Neiman Marcus Group, Inc. (“NMG Inc.”) (f/k/a/ NM Mariposa
Holdings, Inc.) and Debtor Mariposa Intermediate Holdings LLC (“Mariposa Holdings”). This resulted in
the following core organizational structure:




         In connection with the Acquisition, both NMG LLC and NMG LTD LLC were renamed and
converted into Delaware limited liability companies. Consistent with the Delaware Limited Liability
Company Act, each of NMG LLC, NMG LTD LLC, and Mariposa Holdings were member-managed
limited liability companies with no board of directors or managers. The ultimate parent entity NMG Inc.
has a board of directors.

        NMG Inc. has never been an obligor or guarantor of any of the Debtors’ debt. Instead, the Debtors’
funded debt obligations have always been issued or guaranteed by Mariposa Holdings, NMG LTD LLC,
NMG LLC, and certain of their guarantor subsidiaries. Following the Acquisition, the Debtors’ funded
debt consisted of (a) a $2.8 billion senior secured term loan facility maturing in October 2020 (the “2013
Term Loan Facility”), (b) a $900.0 million senior secured asset-based revolving credit facility (the “Asset-
Based Revolving Credit Facility” or “ABL Facility”), (c) two series of Unsecured Notes, including $960.0
million in aggregate principal amount of 8.000% Senior Cash Pay Notes due 2021 (the “Unsecured Cash
Pay Notes”) and $600.0 million in aggregate principal amount of 8.750%/9.500% Senior PIK Toggle Notes
due 2021 (the “Unsecured PIK Toggle Notes” and, together with the Cash Pay Notes, the “Unsecured
Notes”), and (d) $125.0 million in 7.125% Senior Debentures due 2028 (the “2028 Debentures”).

        The debt agreements governing these obligations included restrictive covenants limiting NMG
LTD LLC and certain of its subsidiaries from paying dividends, making investments, disposing of assets or
taking other actions. These restrictions did not apply to unrestricted subsidiaries, which were generally
permitted to engage in transactions without being subject to the covenants. The debt agreements also
contained exceptions to the covenants known as “baskets” that allowed NMG LTD LLC and its restricted
subsidiaries to engage in certain transactions either without limitation or up to specified dollar amounts.




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         Neiman Marcus had significant flexibility afforded by the ability to designate entities as
unrestricted subsidiaries and the very broad baskets under the debt agreements. This included the express
right to distribute the equity of unrestricted subsidiaries.

                        2014: Neiman Marcus Purchases MyTheresa and Designates It Unrestricted
                        Under the Term Loan and ABL Credit Facilities

         In late 2014, the Debtors acquired the online business of MyTheresa and its physical store in
Munich. Since then, MyTheresa has operated on a standalone basis, with its own CEO, CFO and
management team, as well as separate vendors, suppliers, and bank lenders. MyTheresa has never issued
a dividend to the Debtors, NMG Inc. or the Sponsors. In fact, while MyTheresa has experienced growth in
top-line sales and EBITDA since 2014, it has repeatedly generated negative free cash flow, including in the
years leading up to the Distribution. Neiman Marcus has not relied on MyTheresa as a basis to fund its
operations or debt expenses.

         The Debtors paid approximately $196 million for MyTheresa in 2014, plus $57 million in two
contingent earn-out payments to MyTheresa’s prior owners in the following years. After the acquisition,
the German entities that operate MyTheresa sat under a series of German and Luxembourg holding entities
until the Recapitalization Transactions in 2019. The highest-level foreign holding entity was Mariposa
Luxembourg I S.á.r.l., which in turn was wholly owned by the Debtors’ former subsidiary, NMG
International LLC (f/k/a NMG International, Inc.):




        From late 2014 onwards, NMG International had no other assets besides the MyTheresa holding
and operating entities. As a result, under the Term Loan and ABL Credit Facilities, NMG International
was not a guarantor, but was treated as a foreign subsidiary holding company and 65% of its equity interests
were pledged (on a first-lien basis) in favor of the senior secured lenders. The unsecured noteholders had
no security interest in the equity interests of NMG International. Despite the pledge of 65% NMG



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International’s equity interests in favor of the senior secured lenders, no MyTheresa entity’s equity was
directly pledged in support of any of the Debtors’ obligations at any point.

         Simultaneously with the acquisition of the MyTheresa entities and the creation of the Luxembourg
holding entities in late 2014, NMG LTD LLC designated all of the then-existing MyTheresa subsidiaries
as unrestricted subsidiaries under both the Term Loan and ABL Credit Facilities. In making these
designations, NMG LTD LLC relied on specific baskets that it was permitted to use for this purpose. NMG
LTD LLC had several hundred million dollars of spare basket capacity under the Term Loan and ABL
Credit Facilities after the designations. As a result, from late 2014 onwards, the MyTheresa entities were
unrestricted subsidiaries that could have been distributed by the Debtors under the Term Loan and ABL
Credit Facilities. NMG LTD LLC delivered notices of the designations to the agents under both the Term
Loan and ABL Facilities. In recurring quarterly officer’s certificates provided to the agents, the MyTheresa
entities were also listed as unrestricted subsidiaries.

                         Early 2017: Neiman Marcus Uses Agreed-Upon Baskets To Designate
                         MyTheresa As Unrestricted and Create Unrestricted PropCo

         In early 2017, the Debtors retained Lazard to explore potential liability management transactions,
including asset sales, debt exchanges and other strategic transactions. Neiman Marcus, its advisors and the
Sponsors focused on two options: a potential transaction involving MyTheresa and a potential “PropCo”
transaction. Both transactions would involve designating MyTheresa as an unrestricted subsidiary under
the Indentures and “PropCo” as an unrestricted subsidiary under all of the Debtors’ debt agreements. Once
MyTheresa and PropCo—which would receive real properties from the Debtors valued in an amount
permitted under the debt agreements—were unrestricted subsidiaries and no longer subject to the
restrictions under the debt agreements, they would provide the Debtors with flexibility to address their
capital structure in the future.

        Neiman Marcus’ management worked with its financial and legal advisors to calculate available
basket capacity. The company also obtained third-party valuations from Duff & Phelps of MyTheresa
(approximately $282 million) and the three properties—stores in San Antonio, Texas and McLean, Virginia
and a distribution center in Longview, Texas—that would be contributed to PropCo (approximately $73
million) to determine how much basket capacity was required. This analysis showed that the Debtors had
several hundred million dollars of spare basket capacity available after the designations.

        On March 10, 2017, the NMG Inc. board unanimously approved the designation of MyTheresa (the
“Designation”) and the designation of and contribution of three properties to PropCo (the “PropCo
Transaction”). NMG LTD LLC publicly announced both transactions on March 14, 2017 with its quarterly
earnings. Since then, no creditor has ever brought a claim alleging that the Designation or the PropCo
Transaction violated any of Neiman Marcus’ debt agreements, including the indentures governing the
Unsecured Notes, or resulted in an event of default.

        Before the Debtors completed the Designation and the PropCo Transaction in spring 2017, they
also considered distributing MyTheresa, however, the Debtors did not proceed with the distribution at the
time. In spring 2017, the Debtors were considering a sale of their U.S. operations, called Project Harry, to
another luxury retailer. After that transaction terminated, the parties began negotiations on a different deal,
called Project Einstein, during the first half of 2018 that would have resulted in the Debtors obtaining
another luxury retailer’s operations in exchange for the Debtors’ real estate interests. Those discussions
ended in late July 2018. Only then did the Debtors decide to distribute MyTheresa in connection with the
amend-and-extend negotiations that led to the Recapitalization Transaction.




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                         March 2017 - August 2018: Neiman Marcus Considers Various Strategic
                         Transactions And Creditor Negotiations

        Between March 2017 and August 2018, Neiman Marcus considered multiple strategic transactions
including Project Harry and Project Einstein. Despite many months of negotiations and substantial
expenditure of time and resources around these strategic transactions, Neiman Marcus ultimately chose not
to proceed with those transactions.

        Following the Designation and PropCo Transaction, Neiman Marcus also conducted on-and-off
negotiations with its creditors’ advisors on a “standalone” amend-and-extend (i.e., a transaction that did not
involve a broader strategic transaction). In May 2017, the Debtors signed an NDA with counsel to an ad
hoc group of term loan lenders (Wachtell). In August 2017, the Debtors signed NDAs with a financial
advisor to the same ad hoc group of Term Loan Lenders (Ducera) and a financial advisor to an ad hoc group
of Unsecured Noteholders (Houlihan). In September 2017, the Debtors signed an NDA with counsel to the
ad hoc group of Unsecured Noteholders (Paul Weiss).

        While under NDA, the Debtors provided these advisors with diligence materials concerning the
Debtors, their business, and the Designation and PropCo Transaction. In November 2017, Neiman Marcus
provided a proposed term sheet for potential circulation to these advisors’ clients. The term sheet
contemplated a potential amend-and-extend transaction and “a dividend of MyTheresa.” The members of
the ad hoc lender groups never entered into confidentiality agreements and standalone amend-and-extend
discussions fell apart by early 2018 as the Debtors focused on Project Einstein.

                         September 2018: The Debtors Distribute MyTheresa To NMG Inc.

         After negotiations over Project Einstein ended in late July 2018, Neiman Marcus immediately
focused on completing a “standalone” amend-and-extend transaction with its creditors in late 2018. The
distribution of MyTheresa was a key component of the amend-and-extend transaction.

          In early August 2018, the Debtors’ advisors prepared an “Amendment and Extension Checklist” of
steps necessary to achieve an extension of their debt maturities. The second step on the checklist after
initial advisor diligence was the “MyTheresa Distribution.” The Debtors planned to launch the amend-and-
extend transaction simultaneously with the public announcement of the distribution and the release of
earnings on September 14, 2018. At an NMG Inc. board meeting in August 2018 discussing the possibility
of re-engaging with creditors, Lazard described the distribution of MyTheresa as a “core” part of any
amend-and-extend transaction.

        Neiman Marcus’ debt agreements expressly permitted the distribution of ownership interests in
unrestricted subsidiaries without limit. As the MyTheresa entities were all unrestricted subsidiaries in
September 2018, there was no contractual prohibition on the distribution. No creditor has ever brought a
claim alleging that the Distribution violated any of Neiman Marcus’s debt agreements, including the
Indentures, or resulted in an event of default.

        The Debtors’ management also conducted good faith efforts to evaluate the Debtors’ solvency prior
to any potential distribution. In fall 2018, the Debtors’ business had significantly improved compared to
early 2017 when the Debtors last discussed a potential distribution. The company was on the verge of
completing its fourth consecutive quarter of positive sales, all of Neiman Marcus’ stores were four-wall
EBITDA positive, and Adjusted EBITDA had increased more than 16% as compared to the same quarter
in 2017. The Debtors also had approximately $800 million in liquidity in fall 2018. Despite these results,
testimony has indicated that the Debtors would not have been able to obtain a third-party solvency opinion
because of their near-term maturities. Accordingly, the Debtors’ Chief Financial Officer at the time, Adam




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Orvos, and other members of the Debtors’ finance, accounting and legal teams assessed the Debtors’
solvency.

         On the balance sheet, the Debtors started with their ordinary course books and records, which are
audited annually by Ernst & Young on a consolidated basis. The Debtors then used an annual valuation of
the Debtors prepared by Duff & Phelps that the Debtors received the week before the distribution to adjust
the book values of their assets to fair market values. The Debtors rely on these Duff & Phelps valuations
each year to determine their equity value for stock option awards and for impairment analyses. Consistent
with its typical practice, Duff & Phelps used a DCF and comparable companies analysis in September 2018
to determine the fair value of the Debtors as of April 30 2018. In part because of variability in the Debtors’
projections, Duff & Phelps had increased the small stock premium beginning in 2017, which would in turn
increase the weighted average cost of capital and reduce the valuation of the Debtors. Ernst & Young also
audits the results of these annual valuations. After making the fair value adjustments, the Debtors then took
a $100 million valuation “haircut” for conservatism and to ensure any potential changes in asset value
between the “as of” date of the Duff & Phelps valuation (April 30, 2018) and the distribution were reflected.
The analysis showed that following the distribution, the Debtors would be solvent by $327 million.

         The Debtors then used their ordinary course projections for the cash flow and adequate
capitalization tests. They stress tested their projections by assuming that revenues in fiscal year 2019 would
decline by 5% rather than increase by 1.7% as projected. The Debtors selected this downside scenario
based on the recent decline they had experienced when implementing NMG One. The Debtors then
assumed that the $300 million decline in revenue would reduce Adjusted EBITDA by $180 million—
another conservative assumption given the Debtors’ historical margins and steps they would take to mitigate
these losses in a downturn. Even assuming that the Debtors would need to borrow the $180 million under
their ABL Facility in a downside scenario, they still would have approximately $380-$695 million of
availability under their $900 million ABL Facility.

        The Debtors relied on Lazard for the final piece of the adequate capitalization test—whether they
would be able to refinance their near-term debt maturities—as no one at the company had the necessary
experience to determine the likelihood of a successful refinancing. Lazard told the Debtors and ultimately
the NMG Inc. Board that they were highly confident that they would be able to complete a successful
refinancing, especially following the distribution of MyTheresa.

          The Debtors’ the Chief Financial Officer, Mr. Orvos, prepared memoranda to each of the members
of the Debtors attesting to their solvency before and after the distribution of MyTheresa. The memoranda
concluded that both before and after a potential distribution, the Debtors would be solvent on a balance
sheet basis and, for the following 12 months, Neiman Marcus would be able to pay its debts as they came
due, would not have unreasonably small assets to conduct its business, and the distribution would not impair
its ability to continue as a going concern. The memoranda made clear that the Debtors’ projections assumed
a refinancing of the Debtors’ funded debt at maturity and noted Mr. Orvos’ reliance on Lazard. All of the
conclusions in Mr. Orvos’ memoranda were proved correct.

         Mr. Orvos presented his memoranda to the NMG Inc. board on September 14, 2018. The NMG
Inc. board, including its independent members, unanimously approved the MyTheresa distribution.
Mechanically, the distribution took the form of a chain of distributions from wholly owned subsidiaries to
their sole parent entities. First NMG International LLC distributed its equity interests in Mariposa
Luxembourg I to its parent NMG LLC, which in turn distributed the equity interests to NMG LTD LLC,
which in turn distributed the equity interests to Mariposa Holdings, which in turn distributed the equity
interests to the ultimate parent NMG Inc. (the “Distribution”). The Mariposa Luxembourg I shares were
never distributed above NMG Inc. to the Sponsors. The Debtors publicly announced the Distribution on
September 18, 2018.



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                        Fall 2018 - Spring 2019: Neiman Marcus and Creditors Holding Over 90% of
                        Its Debt Negotiate A&E Transactions That Result In An Agreed-Upon
                        Waterfall For A Potential MyTheresa Sale Or IPO

       Discussions with Neiman Marcus’ creditors commenced immediately after the Distribution was
announced. Members of the ad hoc groups agreed to become restricted in October 2018.

        The first round of negotiations among Neiman Marcus and its lender groups did not result in an
agreement. Term sheets were blown out on November 30, 2018 as the Debtors headed into the critical
holiday period. The parties initially took diametrically opposed positions on MyTheresa. Neiman Marcus
proposed that its creditors agree to the Distribution. The unsecured bondholders demanded that MyTheresa
be returned, no longer be treated as unrestricted, and provide preferred equity in NMG International. The
term loan lenders demanded a full guarantee from NMG Inc. and a first lien pledge on the equity interests
of a MyTheresa Holding Company.

        After the blowout, Marble Ridge filed a lawsuit in Dallas County challenging the Distribution as a
fraudulent transfer. That suit was dismissed with prejudice on standing grounds in March 2019. Marble
Ridge replaced the indenture trustee with UMB in August 2019, and directed UMB to file suit in New York
Supreme Court, in August 2019. The parties fully briefed motions to dismiss when the Debtors filed for
chapter 11. No other creditors ever brought suit concerning the Designation, PropCo Transaction, or the
Distribution. No one—including Marble Ridge and UMB—has ever alleged in any lawsuit that the Debtors
defaulted or otherwise violated any aspect of their debt agreements through the Designation, the PropCo
Transaction or the Distribution.

         After the holiday period, Neiman Marcus and its creditors re-engaged in amend-and-extend
negotiations. Following arms’-length negotiations in January and February 2019, the parties reached an
agreement in principle on a global amend-and-extend transaction that would also resolve any potential
disputes over the Designation, Distribution, and PropCo Transaction. On March 1, 2019, Neiman Marcus
publicly announced that agreement in principle with its creditors to restructure the company’s debt
obligations and extend its debt maturities by three years. This agreement was further documented in a
Transaction Support Agreement dated March 25, 2019 (the “TSA”). Holders of approximately 99.5 percent
of the aggregate principal amount of the Term Loans and 91.5 percent of the Unsecured Notes—which
collectively represented over $4.2 billion of Neiman Marcus’ debt—ultimately participated in the
Recapitalization Transactions. The majority holder of the company’s 2028 Debentures also consented to
the Recapitalization Transactions. Marble Ridge and another unsecured noteholder were the only material
holdouts.

         The Recapitalization Transactions included Neiman Marcus providing significant economic
interests in MyTheresa to participating creditors. The Recapitalization Transactions provided holders of
Unsecured Notes with an opportunity to exchange their existing notes for two types of consideration that
entitled them to distributions in the event of a future sale or IPO of MyTheresa.

        First, participating Unsecured Noteholders received new Third Lien Notes that were secured by
various interests in the Debtors’ assets. The Third Lien Notes were also supported by an equity pledge
from MYT Parent Co., a newly formed U.S. holding company of the MyTheresa entities which is wholly-
owned by NMG Inc., and would be paid down at par with 50 percent of any MyTheresa monetization
proceeds over approximately $700 million (with the hurdle increasing by at least $50 million per year due
to a 10% dividend owed on $500 million of preferred stock ahead of the Third Lien Notes).

         Second, exchanging holders of Unsecured Notes also received their pro rata share of $250.0 million
in Series A preferred stock the (“MYT Series A Preferred Stock”) of MYT Holding Co., a holding company
of MyTheresa entities and direct subsidiary of MYT Parent Co., that entitled those holders to priority


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distributions of up to $250 million of proceeds plus a 10% annual dividend in the event of a sale or other
monetization of MyTheresa.

        The Sponsors and a group of Unsecured Noteholders also invested $550 million of new money into
the company as consideration for new Second Lien Notes. The proceeds from the new money investment
were used to pay down $526.9 million of Term Loans. The Second Lien Notes are guaranteed on a senior
secured basis up to $200 million by three holding companies of MyTheresa, and are entitled to the first
$200 million of proceeds from any sale or IPO of MyTheresa.

        As part of the hard-fought amend-and-extend negotiations, these creditors agreed that the Sponsors
could obtain two other indirect sources of recovery from any sale or IPO of MyTheresa. MYT Parent Co.
obtained (i) 250,000,000 shares of Series B Preferred Stock (the “MYT Series B Preferred Stock”) of MYT
Holding Co. that would recover up to $250 million plus a 10% annual dividend only in the event of a
monetization event that yielded over the $450 million (plus dividends) that was required to go to the Second
Lien Notes and MYT Series A Preferred Stock; and (ii) common equity entitled to 50 percent of any
MyTheresa monetization proceeds over approximately $700 million (subject to increase each year due to
the preferred equity dividends), with the other 50 percent of those proceeds used to pay down the Third
Lien Notes.

        Collectively, these agreements among creditors created a waterfall (the “MYT Waterfall”) that
specified how all amounts from any potential MyTheresa sale or IPO would be distributed:




        Accordingly, pursuant to the MYT Waterfall, any monetization of MyTheresa at $500 million or
less would result in substantially all of the proceeds going to the former unsecured noteholders who
participated in the Recapitalization Transactions.

        The UCC has indicated that it does not intend to challenge the $200 million senior secured
guarantee or the $250 million in Series A preferred equity or the associated dividends (of which $25 million
has already accrued and which would continue to accrue at 10% per year until a monetization event).

                        Summer 2019: The Recapitalization Transactions Close and An Extensive
                        Sale Process For MyTheresa Generates Limited Interest

          The Recapitalization Transactions closed on June 7, 2019. To implement the Recapitalization
Transactions, the Mariposa Luxembourg I shares that had been distributed to NMG Inc. were moved into a
series of new MyTheresa holding entities that provided the agreed-upon guarantees, pledges, and preferred
equity to participating creditors. Specifically, NMG, Inc. contributed its interests in Mariposa Luxembourg
I S.a.r.l. (“Lux I”) through a series of newly formed Delaware holding entities: MYT Parent Co., MYT
Holding Co., and MYT Intermediate Holding Co.


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         On July 24, 2019, MYT Intermediate Holding Co. contributed its interests in Lux I into a newly-
formed Dutch company, MYT Netherlands Parent B.V (“MYT Netherlands Parent”). In late summer 2019,
another Luxembourg holding company, Mariposa Luxembourg II S.á.r.l., was merged into Lux I. Lux I
was then merged into MYT Netherlands Parent, with MYT Netherlands Parent as the surviving entity
resulting in the following organizational structure and grants of interests for the MyTheresa entities:




        Beginning in May 2019, Lazard commenced a multi-month sale process with respect to MyTheresa.
Lazard sent out over 50 teasers and provided confidential information memoranda to more than two dozen
potential bidders. Lazard’s marketing materials highlighted the challenges with valuing online retailers,
and touted MyTheresa’s “impressive topline growth” of 28.5% between FY16 and FY18 and EBITDA
margin of 5–7% between 2016 and 2018 but noted MyTheresa experienced near zero or negative free cash
flow for this same time period.

         Despite Lazard’s extensive marketing efforts, the sale process ended in July 2019 because the
highest and best non-binding indicative offer received was only for approximately $525 million. That was
the last market-based indication of the value of MyTheresa.

         B.      NMG’s Business Operations.

                         Customer Loyalty and Customer Service.

        Neiman Marcus and Bergdorf Goodman have a longstanding heritage of providing the highest level
of personalized, concierge-style service to its customers. While many retailers have suffered in recent years
given the movement away from brick-and-mortar shopping, NMG is positioned to succeed in the digital
era.

        First, NMG has a history of rewarding loyalty. With the 1984 roll-out of InCircle, NMG’s loyalty
program, NMG became the first luxury retailer to offer a customer loyalty program. In turn, Neiman
Marcus and Bergdorf Goodman customers have rewarded NMG with high levels of engagement and loyalty
over the years. Approximately 45 percent of NMG’s revenues come from status-holding InCircle rewards


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members. Further, Neiman Marcus and Bergdorf Goodman have multi-year relationships with true luxury
customers, as illustrated by the fact that NMG makes 40 percent of its sales from Neiman Marcus and
Bergdorf Goodman to customers who spend $10,000 or more annually, with an average annual spend from
these customers of $50,000.

         Second, Neiman Marcus and Bergdorf Goodman have always entailed more than shopping. While
other brick-and-mortar stores have been ill-equipped to compete with online-only retailers, Neiman Marcus
and Bergdorf Goodman stores offer a variety of in-person experiences that make every visit an immersive
luxury event. Neiman Marcus and Bergdorf Goodman stores feature stunning architecture, beautiful art,
and professional and well-trained sales associates to enhance the shopping experience. Additionally,
Neiman Marcus and Bergdorf Goodman operate 46 restaurants, bars, and cafes, and also offer in store
services and experiences such as spas with makeup, hair, nail, massage, and waxing treatments. Neiman
Marcus and Bergdorf Goodman stores also host events, including private shopping events and charity
events.

         Third, NMG is well positioned for the digital age. When customers want a blend of convenient,
quick, and high-service access to luxury brands, Neiman Marcus and Bergdorf Goodman provide an
enhanced online experience that is superior to other luxury players. NMG operates online platforms that
have 17 million visits per month and provide omni-channel services and shared inventory. In addition,
Neiman Marcus launched 65 digital stylists more than a year ago that are personal shoppers for top online
customers and equipped its 5,200 sales associates with clienteling tools that allow them to sell and close a
transaction digitally without requiring in-store presence. The significant investments in IT tools and new
roles to better integrate its bricks and mortar and online operations have resulted in a better customer
omni-channel experience, thereby increasing sales and gross margins.

                        NMG’s Brands.

        NMG offers brands to provide luxury in every aspect of its customers’ lives.

         Neiman Marcus. The Neiman Marcus brand caters to affluent luxury customers. Neiman Marcus
operates 43 full-line stores in marquee retail locations in major U.S. markets and its global $1 billion e-
commerce platform, neimanmarcus.com. The Neiman Marcus stores are designed to provide a modern,
luxurious ambiance by blending art, architecture, and technology. Neiman Marcus offers distinctive luxury
merchandise, including women’s couture and designer apparel, contemporary sportswear, handbags, shoes,
cosmetics, men’s clothing and accessories, precious and designer jewelry, home, children’s apparel, and
gift items.

        Bergdorf Goodman. Bergdorf Goodman is the premier retailer of ultra-high end branded goods in
the world. Bergdorf Goodman operates primarily through its two full-line stores in landmark locations on
Fifth Avenue in New York City and its global e-commerce platform, bergdorfgoodman.com and the
Bergdorf Goodman App. Bergdorf Goodman is known for its high-luxury women’s couture and designer
apparel, contemporary sportswear, handbags, shoes, cosmetics, men’s clothing and accessories, precious
and designer jewelry, home, children’s apparel, and gift items.

        Horchow. Horchow is a leading online resource for luxury furniture, fine linens, and unique décor.
Horchow was founded by Roger Horchow in 1973 as the first luxury mail-order catalog without a
brick-and-mortar store. Today, Horchow conducts the majority of its business through its e-commerce
platform, horchow.com.

        Last Call. Last Call is the off-price segment of NMG’s fashion goods business. Customers
purchase merchandise through 22 Last Call stores and its online platform, lastcall.com. Merchandise
offered under the Last Call brand primarily includes end-of-season and post-season clearance goods sourced



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directly from the Neiman Marcus or lower price-point merchandise purchased directly from designers.
During fiscal year 2017, NMG began assessing its Last Call footprint and closed four of its Last Call stores.
In fiscal year 2020, NMG closed two more Last Call stores, and on March 11, 2020, prior to temporarily
closing all of its stores, NMG announced that it would permanently close most of its 22 remaining Last Call
stores to focus on NMG’s core luxury business.

        Under each of NMG’s primary brands, NMG offers its customers a curated and compelling
assortment of narrowly distributed merchandise from luxury and high-fashion designers. NMG is the retail
partner of choice for luxury designers as it offers access to loyal and affluent customers and adheres to strict
presentation, marketing, and promotional standards. Neiman Marcus and Bergdorf Goodman also have a
long history of identifying, partnering with, and nurturing emerging designers with the potential for rapid
growth. The combined offering from established and emerging designers ensures NMG’s merchandise
assortment remains unique, compelling, and relevant as fashion trends evolve.

         C.       Critical Components of the Debtors’ Cost Structure.

                         Supply Chain.

         NMG maintains an integrated supply chain aimed at ensuring the uninterrupted flow of
merchandise to its brick-and-mortar locations and the fulfillment of orders from its e-commerce platform.
A substantial majority of NMG’s merchandise is delivered to NMG from various designers as finished
goods and is manufactured in numerous locations, primarily in Europe, the United States, and, to a lesser
extent, Asia. NMG’s women’s and men’s apparel and fashion accessories merchandise categories are
especially dependent upon NMG’s relationships with designers. NMG monitors and evaluates the sales
performance and profitability of each designer and adjusts future purchasing decisions based on this
analysis. NMG has no guaranteed supply arrangements with its principal merchandising sources. In
addition, NMG’s designer base is diverse, with only two designers representing more than five percent of
NMG’s merchandise-sale revenues in fiscal year 2019. The breadth of NMG’s sourcing helps mitigate
risks associated with any single brand or designer.

        NMG manages its inventory on an omni-channel basis, and its processes and facilities are designed
to optimize merchandise productivity. For the last several years, NMG has utilized an integrated
merchandising and distribution system, referred to as “NMG One.” NMG One was designed to enable
NMG to purchase, share, manage, and sell its inventories across its omni-channel operations and brands
more efficiently.

          The majority of NMG’s merchandise is initially received at one of its centralized distribution
facilities. NMG utilizes distribution facilities in Longview, Texas, the Dallas-Fort Worth area, Whittier,
California, and Pittston, Pennsylvania, as well as two regional service centers in the United States. NMG’s
distribution facilities are linked electronically to its various merchandising teams to facilitate the
distribution of goods to NMG’s stores.

                         Employee Compensation and Benefits.

        NMG employs approximately 13,200 employees, including approximately 9,545 full-time
employees and approximately 3,655 part-time employees. NMG offers its employees the ability to
participate in a number of insurance and benefits programs, including health benefits, vision and dental
coverage, prescription drug benefits programs, workers’ compensation, life insurance, accidental death and
dismemberment insurance, disability benefits, retirement plans, and other employee benefit plans.

       In addition, Debtor The Neiman Marcus Group LLC sponsors The Neiman Marcus Group LLC
Retirement Plan (the “Neiman Retirement Plan”) for certain current and former employees, which is a



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qualified defined benefit pension plan under the Internal Revenue Code and covered by Title IV of the
Employee Retirement Income Security Act of 1974 (“ERISA”). The Neiman Retirement Plan has been
frozen since 2008, and benefit levels were frozen for all participants in 2010. The Neiman Retirement Plan
provides current and future pension benefits to approximately 10,680 participants. As of August 2019,
NMG had projected Neiman Retirement Plan obligations of approximately $659 million.

        NMG pays annual premiums to the Pension Benefit Guaranty Corporation (the “PBGC”) in
connection with the Neiman Retirement Plan. The PBGC is a wholly-owned United States government
corporation and agency created under Title IV of ERISA to administer the federal pension insurance
program and to guarantee the payment of certain pension benefits upon termination of a pension plan
covered by Title IV of ERISA. The PBGC asserts that the other Debtors are each members of The Neiman
Marcus Group LLC’s controlled group, as defined in 29 U.S.C. § 1301(a)(14).

         During the bankruptcy proceeding, the Neiman Retirement Plan may terminate under the distress
termination provisions of 29 U.S.C. § 1341(c) or under the provisions for the PBGC initiation of termination
under 29 U.S.C. § 1342(a). If the Neiman Retirement Plan terminates, the PBGC will assert a claim that
the sponsor of the Neiman Retirement Plan and all members of its controlled group are jointly and severally
liable for the unfunded benefit liabilities of the terminated Neiman Retirement Plan. The PBGC will file
an estimated contingent claim, subject to termination of the Neiman Retirement Plan during the bankruptcy
proceeding, against each of the Debtors for unfunded benefit liabilities in the amount of approximately
$300,000,000. The PBGC will assert that this termination liability contingent claim is entitled to priority
under 11 U.S.C. §§ 507(a)(2) and (a)(8) in unliquidated amounts. The Debtors and Reorganized Debtors
reserve all rights relating to any asserted liability, including but not limited to contesting the validity and
amount of any such claims.

          The PBGC will assert that the sponsor of the Neiman Retirement Plan and all other members of its
controlled group are obligated to pay the contributions necessary to satisfy the minimum funding standards
under sections 412 and 430 of the Internal Revenue Code and sections 302 and 303 of ERISA. The PBGC
will file an unliquidated claim against each of the Debtors for any unpaid required minimum contributions
owed to the Neiman Retirement Plan. The PBGC will assert that the claim for required minimum
contributions owed is entitled to priority under 11 U.S.C. §§ 507(a)(2) and(a)(5) in the amounts of the
unpaid contributions. The Debtors and Reorganized Debtors reserve all rights relating to any asserted
liability, including but not limited to contesting the validity and amount of any such claims.

         The PBGC will assert that the sponsor of the Neiman Retirement Plan and all other members of its
controlled group are jointly and severally liable to the PBGC for all premium obligations owed to the
Neiman Retirement Plan. The PBGC will file a claim against each of the Debtors for unpaid statutory
premiums, if any, owed to the PBGC on behalf of the Neiman Retirement Plan in an unliquidated amount.
The Debtors and Reorganized Debtors reserve all rights relating to any asserted liability, including but not
limited to contesting the validity and amount of any such claims.

        If the Neiman Retirement Plan terminates in a distress or the PBGC-initiated termination during
the course of the bankruptcy proceeding, the PBGC will assert that the sponsor of the Neiman Retirement
Plan and its controlled group are liable to the PBGC for a termination premium at the rate of $1,250 per
plan participant per year for three years under 29 U.S.C. § 1306(a)(7). The PBGC will assert that if the
Neiman Retirement Plan is terminated prior to confirmation of the Plan, the obligation to the PBGC for
termination premiums does not exist until after the Plan is confirmed and the Debtors have exited
bankruptcy. The PBGC will assert that under these circumstances, termination premiums are not a
dischargeable claim or debt within the meaning of the Bankruptcy Code. The PBGC estimates that the
amount of the termination premium liability for the Neiman Retirement Plan would total approximately
$39,210,000. The Debtors and Reorganized Debtors respectfully disagree with many of the PBGC’s



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foregoing assertions and reserve all rights relating to any asserted liability, including but not limited to
contesting the validity and amount of any such claims.

        On the Effective Date, The Neiman Marcus Group LLC shall continue the Neiman Retirement Plan
in accordance with and subject to its terms (as such terms may be amended from time to time) and applicable
non-bankruptcy law (and the Reorganized Debtors reserve all rights thereunder), and as a consequence the
PBGC and the Debtors agree that all the PBGC claims will be deemed withdrawn as of the Effective Date
without incurring liability in the bankruptcy and without any further action of the Debtors or
the Reorganized Debtors or the PBGC and without any further action, order, or approval of the Bankruptcy
Court.

         With respect to the Neiman Retirement Plan, no provision of the Disclosure Statement, Plan,
Confirmation Order, or section 1141 of the Bankruptcy Code shall be construed to discharge, release, or
relieve the Reorganized Debtors from liabilities or requirements imposed under ERISA or the Internal
Revenue Code with respect to the Neiman Retirement Plan solely as a result of the Debtors’ reorganization
proceedings or confirmation of the Plan. The PBGC and the Neiman Retirement Plan will not be enjoined
or precluded from enforcing any liability arising under ERISA or the Internal Revenue Code with respect
to the Neiman Retirement Plan as a result of the Debtors’ reorganization proceedings, the Plan’s provisions
or the Plan’s confirmation; provided, however, that nothing herein or in the Plan affects any of the Debtors’
or the Reorganized Debtors’ rights related thereto and all such rights are fully preserved.

                            Real Estate Portfolio.

         While NMG has industry-leading e-commerce platforms, the full experience is enriched by a
customer experience in one of NMG’s stores. NMG’s stores are located in prime locations and feature
engaging, luxury shopping environments. NMG’s stores are located within driving distance of 70 percent
of high-net worth individuals in the United States. Several locations include restaurant offerings to allow
for a relaxed and extended experience. From the beginning, NMG has focused on selling an experience.
This remains true today. In addition to knowledgeable, professional, and well-trained sales associates,
NMG’s stores feature in-store events, including trunk shows by leading designers that feature the latest
fashions, and exclusive shopping experiences curated for the most discerning luxury clientele.

         In response to the COVID-19 crisis, NMG has closely monitored local government orders and,
since March 18, 2020, closed all of its retail stores to in-person shopping until further notice. Where
permitted, NMG is maintaining limited staff to fulfill online orders from store merchandise, and since
the Petition Date, NMG opened approximately 12 stores for present appointment.

          D.       Prepetition Capital Structure.13

        As of the Petition Date, the Debtors’ capital structure consists of outstanding funded-debt
obligations in the aggregate principal amount of approximately $5.1 billion. As further described below,
the Debtors’ significant funded debt obligations include: (a) a $900.0 million Asset-Based Revolving
Credit Facility, of which $749.0 million has been drawn; (b) a $100.0 million last-out term loan facility (the
“FILO Facility”); (c) a $2,253.1 million senior secured term loan facility (the “Term Loan Facility”), which
is comprised of $12.6 million outstanding of 2013 Term Loans with the original maturity date of October
25, 2020, $1,193.8 million outstanding of 2019 Term Loans with an extended maturity date of October 25,
2023, which pay interest entirely in cash, and $1,046.7 million outstanding of term loans with an extended
maturity date of October 25, 2023, which pay interest partially in cash and partially in kind;

13   In the event of any inconsistencies between the summaries set forth below and the provisions of the documents governing
     such prepetition debt, the provisions governing such prepetition debt, as applicable, shall control.




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(d) $561.7 million aggregate principal amount of 14.0% Second Lien Notes due 2024 (the “Second Lien
Notes”); (e) $730.5 million aggregate principal amount of 8.000% Senior Secured Third Lien Notes due
2024 (the “8.000% Third Lien Notes”); (f) $497.8 million aggregate principal amount of 8.750% Senior
Secured Third Lien Notes due 2024 (the “8.750% Third Lien Notes” and, together with the 8.000% Third
Lien Notes, the “Third Lien Notes”); (g) $80.7 million aggregate principal amount of 8.000% Senior Cash
Pay Notes due 2021 (the “Unsecured Cash Pay Notes”); (h) $56.6 million aggregate principal amount of
8.750%/9.500% Senior PIK Toggle Notes due 2021 (the “Unsecured PIK Toggle Notes” and, together with
the Unsecured Cash Pay Notes, the “Unsecured Notes”); and (i) $125.0 million aggregate principal amount
of 7.125% Senior Debentures due 2028. The following table summarizes the Debtors’ outstanding funded-
debt obligations as of the Petition Date:

                                                                                         Principal Amount
                                                                                            Outstanding
       Funded Debt                             Maturity Date         Interest Rate        (in thousands)
       Asset-Based Revolving Credit Facility    July 25, 2021           variable             $749,000
       FILO Facility                            July 25, 2021           variable             $100,000
       Cash Pay 2019 Term Loans                October 25, 2023         variable            $1,193,815
       Cash Pay/PIK 2019 Term Loans            October 25, 2023         variable            $1,046,687
       2013 Term Loans                         October 25, 2020         variable             $12,597
       14.0% Second Lien Notes                  April 25, 2024    8.0% cash / 6.0% PIK       $561,733
       8.000% Third Lien Notes                 October 25, 2024         8.000%               $730,534
       8.750% Third Lien Notes                 October 25, 2024         8.750%               $497,849
       8.000% Cash Pay Notes                   October 15, 2021         8.000%               $80,680
       8.750%/9.500% Senior PIK Toggle
                                               October 15, 2021         8.750%               $56,584
       Notes
       7.125% Senior Debentures                  June 1, 2028           7.125%               $125,000
       Total                                                                                $5,154,479


        A chart summarizing the relative priorities of various stakeholders to the collateral packages
described below is attached as Exhibit G.

                           The Asset-Based Revolving Credit Facility.

         The Debtors are party to that certain Credit Agreement, dated as of October 25, 2013 (as amended,
restated, amended and restated, supplemented, or otherwise modified from time to time, the “ABL Credit
Agreement”), by and among NMG, as borrower, certain of the Debtors as co-borrowers party thereto
(together with NMG, the “ABL Borrowers”), Holdings, and certain of NMG’s current and future, direct
and indirect, wholly owned subsidiaries (the “ABL Subsidiary Guarantors”), as guarantors, the FILO
Facility lenders, Deutsche Bank AG New York Branch, as administrative agent and as collateral agent,
TPG Specialty Lending, Inc., as agent for the FILO Facility lenders, and the lenders from time to time party
thereto. The Asset-Based Revolving Credit Facility has a maximum committed borrowing capacity of
$900.0 million (subject to a borrowing base) and matures on July 25, 2021 (subject to the terms of the ABL
Credit Agreement).

        The obligations under the Asset Based Revolving Credit Facility are secured by substantially all of
the assets of Holdings, the ABL Borrowers, and the ABL Subsidiary Guarantors, including a first priority
security interest in personal property consisting of inventory and related accounts, cash, deposit accounts,
all payments received by the ABL Borrowers or the ABL Subsidiary Guarantors from credit card clearing
houses and processors or otherwise in respect of all credit card charges for sales of inventory by the ABL


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Borrowers and the ABL Subsidiary Guarantors, certain related assets and proceeds of the foregoing
(together, the “ABL Priority Collateral”).

         In addition, the obligations under the Asset-Based Revolving Credit Facility are secured by certain
other interests such as: (a) a fourth-priority pledge of 100 percent of NMG’s capital stock held by Holdings,
(b) a fourth-priority security interest on certain owned and leased real property and equipment, (c) a fourth-
priority security interest in Term Loan PropCo (as defined below), and (d) a fourth-priority security interest
in the Notes Priority Collateral (as defined below).

        As of the Petition Date, approximately $749.0 million in borrowings and approximately $9.3
million of letters of credit are outstanding under the Asset-Based Revolving Credit Facility, and there is
approximately $141.7 million of unused commitments. As of the Petition Date, there was extremely limited
availability under the Asset-Based Revolving Credit Facility.

                          The FILO Facility.

        The FILO Facility is governed by the ABL Credit Agreement and has a maximum committed
borrowing capacity of $100.0 million, subject to a borrowing base. The FILO Facility matures concurrently
with the Asset-Based Revolving Credit Facility on July 25, 2021 (subject to the terms of the ABL Credit
Agreement).

         As of the Petition Date, NMG had outstanding borrowings of $100.0 million under the FILO
Facility. All obligations under the FILO Facility are guaranteed by the same entities that guarantee the
Asset-Based Revolving Credit Facility and are secured by the same collateral as the Asset-Based Revolving
Credit Facility, but will be last-out in payment as set forth in the FILO Credit Agreement.

                          The Term Loan Facility.

        The Debtors are party to that Credit Agreement, dated as of October 23, 2013 (as amended, restated,
amended and restated, supplemented or otherwise modified from time to time), by and among NMG, The
Neiman Marcus Group LLC, and The NMG Subsidiary LLC, as borrowers (the “Term Loan Borrowers”),
Holdings and certain of NMG’s current and future subsidiaries, as guarantors (the “TL Subsidiary
Guarantors”), Credit Suisse AG, Cayman Islands Branch, as administrative agent and collateral agent, and
the lenders from time to time party thereto.

         All obligations under the Term Loan Facility, and the guarantees of those obligations, are secured
by substantially all of the assets of Holdings, the Term Loan Borrowers, and the TL Subsidiary Guarantors,
including (a) a first-priority security interest in, and mortgages on, a significant portion of NMG’s owned
real property and equipment and substantially all other tangible and intangible assets of the Term Loan
Borrowers, Holdings, and certain subsidiary guarantors (the “Original Term Loan Priority Collateral”);
(b) a second priority security interest in the ABL Priority Collateral; and (c) solely with respect to the 2019
Term Loans, (i) a first priority security interest in certain future foreign assets, intercompany debt, and
certain additional equity interests of new subsidiary guarantors, (ii) a first-priority security interest in, and
mortgages on, certain of the borrowers’ and any subsidiary guarantors’ owned real estate interests, real
estate leasehold interests, and other real property interests (“2019 Term Loan Priority Real Estate
Collateral”), (iii) a first-priority security interest in the equity interests of NMG Term Loan PropCo LLC,
a special purpose entity that is a subsidiary of NMG (the “Term Loan PropCo”) formed solely to hold
certain real estate leases that cannot be mortgaged directly to secure the 2019 Term Loans under the Term
Loan Facility (the collateral described in the foregoing subclauses (i), (ii), and (iii), together with the
Original Term Loan Priority Collateral, collectively, the “Term Loan Priority Collateral”), and (iv) a third-
priority security interest in the Notes Priority Collateral.




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        As of the Petition Date, the outstanding balance under the Term Loan Facility was $2,253.1 million
comprised of (a) $12.6 million outstanding of stub term loans with the original maturity date of October
25, 2020 (the “2013 Term Loans”), (b) $1,193.8 million outstanding of term loans with an extended
maturity date of October 25, 2023 which pay interest entirely in cash (the “Cash Pay 2019 Term Loans”),
and (c) $1,046.7 million outstanding of term loans with an extended maturity date of October 25, 2023
which pay interest partially in cash and partially in kind (the “Cash Pay/PIK 2019 Term Loans” and,
together with the Cash Pay 2019 Term Loans, the “2019 Term Loans,” and together with the 2013 Term
Loans, the “Term Loans”).

                         The Second Lien Notes.

        In connection with the Recapitalization Transactions (as defined below), NMG, The Neiman
Marcus Group LLC, Mariposa Borrower, Inc., and The NMG Subsidiary LLC (collectively, the “Notes
Issuers”) issued $550.0 million aggregate principal amount of Second Lien Notes under the Indenture, dated
June 7, 2019 (as amended, restated, amended and restated, supplemented, or otherwise modified from time
to time), with the Notes Issuers, as issuers, Ankura Trust Company, LLC, as trustee and notes collateral
agent, and certain of the Debtors as guarantors.

         The Second Lien Notes and related guarantees are secured by collateral that includes (a) a second-
priority security interest in the Original Term Loan Priority Collateral and the Term Loan Priority
Collateral, (b) a second priority interest in certain previously unencumbered real estate related to certain
full line Neiman Marcus stores (the “Notes Priority Real Estate Collateral”) mortgageable to the collateral
agent, and the equity interests of a special purpose entity and subsidiary of NMG (“Notes PropCo”) formed
to hold certain real estate leases that cannot be mortgaged directly to the collateral agent (together, the
“Notes Priority Collateral”) (subject to a cap on recovery equal to $200.0 million less any amounts
recovered against those assets by holders of the Third Lien Notes issued in connection with the
Recapitalization Transactions (as defined below)), (c) a third-priority security interest in the ABL Priority
Collateral, and (d) a senior secured guarantee of up to $200.0 million by three holding companies of the
MyTheresa Operating Companies—non-debtors MYT Holding Co., MYT Intermediate Holding Co., and
MYT Netherlands Parent B.V.—and a first priority pledge of the assets of such guarantors subject to
customary exceptions (the “Limited Guarantee Collateral”).

        As of the Petition Date, $561.7 million in aggregate principal amount of Second Lien Notes remains
outstanding. The Second Lien Notes mature on April 25, 2024 and require semiannual coupon payments
of 8.0% cash interest and 6.0% PIK interest on April 15 and October 15. The Debtors did not pay the
coupon payment due on April 15, 2020.

                         The Third Lien Notes.

         In connection with the Recapitalization Transactions (as defined below), the Notes Issuers issued
(a) approximately $730.5 million aggregate principal amount of 8.000% Third Lien Notes under the
Indenture, dated June 7, 2019 (as amended, restated, amended and restated, supplemented, or otherwise
modified from time to time), with the Notes Issuers, as issuers, Wilmington Trust, National Association, as
trustee and notes collateral agent, and certain of the Debtors as guarantors, and (b) approximately $497.8
million aggregate principal amount of 8.750% Third Lien Notes under the Indenture, dated June 7, 2019,
with the Notes Issuers, as issuers, Wilmington Trust, National Association, as trustee and notes collateral
agent, and certain of the Debtors as guarantors. Interest on the Third Lien Notes is payable semiannually
in arrears on April 15 and October 15. The Third Lien Notes mature on October 25, 2024. The Debtors
did not pay the coupon payment due on April 15, 2020.

       The Third Lien Notes are secured by collateral that includes (a) a first-priority security interest in
the Notes Priority Collateral (subject to a cap on recovery equal to $200.0 million), (b) a third-priority



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security interest in the Original Term Loan Priority Collateral and the Term Loan Priority Collateral, (c) a
first priority pledge of 50 percent of the common equity interests of non-debtor MYT Holding Co., a holding
company of the MyTheresa business, and (d) a fourth priority security interest in the ABL Priority
Collateral. In addition, the Third Lien Notes are guaranteed, subject to certain exceptions, by each of
NMG’s current and future domestic subsidiaries and future foreign subsidiaries on a senior secured basis.

                         The Unsecured Notes.

        On October 21, 2013, NMG and Mariposa Borrower, Inc. issued $960 million aggregate principal
amount of Unsecured Cash Pay Notes under the Indenture, dated October 21, 2013 (as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time), with UMB Bank, N.A. (as
successor to U.S. Bank, N.A. and Drivetrain Trust Company LLC), as trustee. As of the Petition Date, the
outstanding balance under the Unsecured Cash Pay Notes was $80.7 million. Interest on the Unsecured
Cash Pay Notes is payable semi-annually in arrears on each April 15 and October 15. The Unsecured Cash
Pay Notes mature on October 15, 2021 and are guaranteed by the same entities that guarantee the Third
Lien Notes. The Debtors did not pay the coupon payment due on April 15, 2020.

        On October 21, 2013, NMG and Mariposa Borrower, Inc. issued $600 million aggregate principal
amount of Unsecured PIK Toggle Notes under the Indenture, dated October 21, 2013 (as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time), with NMG as issuer,
Mariposa Borrower, Inc., as co-issuer, certain Debtors, as guarantors, and UMB Bank, N.A. (as successor
to U.S. Bank, N.A. and Drivetrain Trust Company LLC) as trustee. As of the Petition Date, the outstanding
balance under the Unsecured PIK Toggle Notes was $56.6 million. Interest on the Unsecured PIK Toggle
Notes is payable semi-annually in arrears on each April 15 and October 15. The Unsecured PIK Toggle
Notes mature on October 15, 2021 and are guaranteed by the same entities that guarantee the Third Lien
Notes. The Debtors did not pay the coupon payment due on April 15, 2020.

                         The 2028 Debentures.

         On May 27, 1998, the Neiman Marcus Group LLC issued $125.0 million aggregate principal
amount of 2028 Debentures under the Indenture, dated May 27, 1998 (as amended, restated, amended and
restated, supplemented, or otherwise modified from time to time), with Wilmington Savings Fund Society,
FSB (as successor to The Bank of New York Mellon Trust Company), as trustee. The 2028 Debentures
mature on June 1, 2028.

        The 2028 Debentures are secured by “equal and ratable” liens on certain owned real estate
properties, real estate ground leases, and real estate operating leases of NMG and on shares of capital stock
and indebtedness of certain NMG’s subsidiaries, in each case pari passu with the 2019 Term Loans. The
2028 Debentures are guaranteed on a senior basis by NMG, Term Loan PropCo, and Notes PropCo. The
guarantees are full and unconditional. The 2028 Debentures are not otherwise guaranteed by any of The
Neiman Marcus Group LLC’s subsidiaries.

                         Preferred Stock of Non-Debtor MyTheresa Holding Co.

        In connection with the Recapitalization Transactions (as defined below), Parent formed three new
Delaware subsidiaries (the “MyTheresa Holding Companies”) and contributed the MyTheresa Operating
Companies to the MyTheresa Holding Companies. Further, validly tendered Unsecured Notes were
exchanged for aggregate consideration consisting of new Third Lien Notes and the MYT Series A Preferred
Stock. In addition, MYT Holding Co. issued the MYT Series B Preferred Stock to its direct parent and a
MyTheresa Holding Company, MYT Parent Co.




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VII.     EVENTS LEADING TO THE CHAPTER 11 FILINGS

         A.     The Unprecedented Spread Of COVID And Store Closures Results In Neiman
                Marcus Preparing for A Chapter 11 Filing

         Between the Distribution in September 2018 and March 2020, the Debtors made all of their
regularly scheduled debt payments as they came due—a total of nearly $550 million—and were on track to
meet or exceed all of their budget, earnings, and savings targets for the fiscal year ending in July 2020. The
Debtors also had posted comparable store sales growth for seven of the ten previous quarters and
significantly expanded gross margins during the last holiday season in line with its goal of profitable and
sustainable growth.

        All of that progress came to a halt in March, as governments in the United States and throughout
the world imposed quarantines, social distancing protocols, and shelter-in-place orders in response to
COVID-19. On March 18, 2020, the Debtors voluntarily closed all of their stores to protect the health and
safety of NMG’s customers and employees and dramatically reduced supply chain operations.

        With the unexpected temporary closure of all of NMG’s brick-and-mortar locations, the Debtors
experienced an immediate reduction in cash flow of approximately 65–75%. The Debtors implemented a
number of strategies to address the capital structure and liquidity challenges, including furloughing 80–
90% of their employees, eliminating or deferring most capital expense projects, limiting cash disbursements
and new inventory, reducing employee salaries and wages company-wide, and seeking concessions from
brand partners and landlords. Almost all stores have subsequently opened.

                         Landlord Engagement.

        Strong relationships with the Debtors’ landlords will be critical to the Debtors’ success during these
Chapter 11 Cases. Prior to the Petition Date, NMG engaged in fruitful rent relief negotiations with its
landlords.

         NMG and its advisors contacted nearly all of NMG’s landlords to discuss potential postpetition
rent concessions and other relief on a landlord-by-landlord basis. NMG’s landlords were generally
supportive and responsive, and NMG reached several agreements in principle, representing millions of
dollars in rent deferrals in April, May, and June 2020. The Debtors have continued to discuss rent deferrals,
rent concessions, and other forms of relief during these Chapter 11 Cases and will continue to do so.

                         Furlough Program.

         Due to the unprecedented and unforeseen disruption to the Debtors’ business caused by COVID-19,
the Debtors made the incredibly difficult decision to implement temporary salary reductions and both partial
and full furloughs that will affect nearly all of the Debtors’ employees (the “Furlough Program”). While the
Debtors initially maintained wages and salaries for their employees, effective April 5, 2020, the Debtors
placed approximately 11,282 full- and part-time employees on temporary furlough (the “Furloughed
Employees”) and reduced the salaries of all non-furloughed exempt employees. The Debtors committed to
a 60-day Furlough Program, although ongoing developments concerning COVID-19 and related
governmental actions remain highly uncertain and may lead to extensions. During the duration of the
Furlough Program, Furloughed Employees will remain on unpaid leave unless otherwise scheduled to work,
but will remain eligible to participate in any health benefits programs in which such Furloughed Employees
are currently enrolled. The Debtors will also maintain approximately 2,208 active employees to maintain
the Debtors’ limited business operations. The Debtors anticipate that the Furloughed Employees will return
to work once the public health crisis subsides.




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        B.       Restructuring Support Agreement and DIP Financing, and Exit Facility.

                         Restructuring Support Agreement.

        The Restructuring Support Agreement contemplates a comprehensive reorganization achieved
through the Plan (as defined below) that will result in a substantial deleveraging of the Debtors’ balance
sheet by as much as $4 billion and provide the Debtors with $750 million of fully-committed new capital.

        Pursuant to the Restructuring Support Agreement, the Plan is intended to minimize any potential
adverse effects to the Debtors’ businesses, customers, and trade partners as a result of the restructuring, and
will position the Debtors for a timely emergence from bankruptcy.

                         DIP Financing.

         In response to the outbreak of COVID-19, since March 2020, the Debtors, in consultation with their
advisors, Lazard, BRG, and Kirkland, reviewed and evaluated potential financing alternatives and cash
requirements necessary to operate their businesses as a going concern. The Debtors concluded that an out
of court restructuring was not viable and that current cash was insufficient for the Debtors to operate during
these Chapter 11 Cases. Given these conclusions, and the Debtors’ work with their advisors, the Debtors
determined that procuring sufficient financing at the start of these cases would be essential to fund its
operating costs, its working capital needs, and these Chapter 11 Cases. The Debtors further determined
that this financing was needed to pursue a value maximizing restructuring for the benefit of the Debtors’
stakeholders. The Debtors’ DIP budget forecasting also analyzes the effect of various COVID-19 scenarios
impacting, among other things, (i) the timing of reopening stores, (ii) the potential shut down of the Debtors’
e commerce operations, and (iii) various recovery trajectories. Based on those discussions, the Debtors,
together with their advisors, determined that they require immediate access to DIP financing to fund the
costs of administering these Chapter 11 Cases, near term working capital needs, and ongoing business
operations.

        The Debtors looked for financing from sources within their existing capital structure as well as
third parties. No third-party lender provided the Debtors with a proposed out-of-court or postpetition
financing facility that was executable. As early as March 25, 2020, the Term Loan Lender Group engaged
with the Debtors regarding potential postpetition financing. In addition, after several rounds of hard fought
negotiations, the Term Loan Lender Group and Noteholder Group reached an agreement that provided for
an additional $50 million in liquidity under the DIP Facility and would allow the Noteholder Group to
backstop a portion of the DIP Facility.

         After extensive, arm’s length negotiations with the Term Loan Lender Group and the Noteholder
Group, and as noted in the Debtors’ motion seeking authorization to enter into the DIP Facility on an interim
and final basis [Docket No. 104], the Debtors were able to secure the proposed $675 million DIP Facility,
open to all Prepetition Term Loan Lenders, and, after further negotiations, to the holders of the Second and
Third Lien Notes, backstopped by the Term Loan Lender Group and the Noteholder Group. The DIP
Facility is secured by a perfected first priming lien on substantially all of the Debtors’ assets except for a
second lien on the collateral of the lenders under the ABL Facility (the “ABL Lenders”). As such, the DIP
Facility does not purport to prime the ABL Lenders’ collateral. The Prepetition Term Loan Lenders and
the holders of the Third Lien Notes, Second Lien Notes, and 2028 Debentures have consented to granting
a priming lien on their collateral.

                         Committed Exit Facility.

       Concurrently with the negotiations regarding the DIP Facility, the Debtors and their advisors
engaged in good faith, arm’s length negotiations with the same group of creditors that agreed to provide the



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DIP Facility, namely the Term Loan Lender Group and the Noteholder Group, on a $750 million Exit
Facility, backstopped by the Term Loan Lender Group (excluding the holders of the 2028 Debentures) and
the Noteholder Group, which is necessary to ensure the successful restructuring of the Debtors, especially
since the long term implications of COVID-19 are still unknown.

VIII.   MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE CHAPTER 11
        CASES

        A.      Expected Timetable of the Chapter 11 Cases.

        The Restructuring Support Agreement contains certain milestones in relation to the Chapter 11
Cases that apply unless extended or waived in writing. The Debtors intend to move as quickly to comply
with the remaining milestones, including:

        x    confirmation of a chapter 11 plan by September 4, 2020; and

        x    emergence from chapter 11 by December 3, 2020.

         Should the Debtors’ projected timelines prove accurate, and consistent with certain milestones set
forth in the Restructuring Support Agreement, the Debtors could emerge from chapter 11 within 210 days
of the Petition Date (which is December 3, 2020) and still maintain access to the DIP Facility. No
assurances can be made, however, that the Court will enter various orders on the timetable
anticipated by the Debtors or that certain conditions precedent to the Effective Date will have
occurred by the outside date under the Restructuring Support Agreement.

        B.      Corporate Structure upon Emergence.

        Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor shall
continue to exist after the Effective Date as a separate corporate Entity, limited liability company,
partnership, or other form, as the case may be, with all the powers of a corporation, limited liability
company, partnership, or other form, as the case may be, pursuant to the applicable law in the jurisdiction
in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the
extent such certificate of incorporation and by-laws (or other formation documents) are amended under the
Plan or otherwise, and to the extent such documents are amended, such documents are deemed to be
amended pursuant to the Plan and require no further action or approval (other than any requisite filings
required under applicable state, provincial, or federal law).

        C.      First/Second Day Relief.

         On the Petition Date, along with their voluntary petitions for relief under chapter 11 of
the Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”)
requesting various types of relief which were approved by the Court. The relief granted enabled the Debtors
to preserve value and efficiently administer the Chapter 11 Cases, including, among other things: (a) an
order authorizing the Debtors to obtain postpetition financing and use cash collateral during the Chapter 11
Cases, and granting certain adequate protection to certain secured parties; (b) an order authorizing
the Debtors to continue using their existing cash management system, honor certain prepetition obligations
related thereto, maintain existing business forms, and continue to perform intercompany transactions; (c) an
order authorizing the Debtors to pay certain prepetition taxes and fees; (d) an order authorizing the Debtors
to pay their obligations under insurance policies entered into prepetition, continue paying brokerage fees,
honor the terms of their premium financing agreement and pay premiums thereunder, enter into new
premium financing agreements in the ordinary course of business, and renew, supplement, modify, and


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purchase insurance coverage in the ordinary course of business; (e) an order authorizing the Debtors to
maintain the surety bond program, entering into and performing under any other agreements related to the
surety bond program, and paying any prepetition or postpetition obligations related to the surety bond
program, including any amounts owed on account of brokerage fees; (f) an order granting authority to pay
employees’ wage Claims and related obligations in the ordinary course of business and continue certain
employee benefit programs; (f) an order authorizing the Debtors to make payment on account of prepetition
Claims of certain critical vendors, lien claimants, customs and regulatory claimants, and 503(b)(9)
claimants; (g) an order approving procedures for, among other things, determining adequate assurance for
utility providers, prohibiting utility providers from altering, refusing, or discontinuing services, and
determining that the Debtors are not required to provide additional adequate assurance; (h) an order
authorizing the Debtors to continue administer the customer programs and charity donation programs, and
satisfy prepetition obligations related thereto; and (i) an order authorizing the Debtors to retain Stretto14 as
claims, noticing, and solicitation agent.

        On June 2, 2020, the Debtors held their second day hearing before the Bankruptcy Court. At the
second day hearing, the Bankruptcy Court granted certain of the relief requested under the First Day
Motions on a final basis, including approving procedures for, among other things, determining adequate
assurance for utility providers, authority for the Debtors to continue using their existing cash management
system, authority to pay certain trade claimants, and authority to use cash collateral.

        A brief description of each of the First Day Motions and the evidence in support thereof is set forth
in the First Day Declaration, filed on the Petition Date. The First Day Motions, and all orders for relief
granted in the Chapter 11 Cases, can be viewed free of charge at https://cases.stretto.com/NMG/.

           D.       Approval of the DIP Facility.

        Based on the Debtors’ need for debtor-in-possession financing and their conclusion that the DIP
Facility represents the best terms available, the Debtors filed a motion on the Petition Date seeking
authorization to enter into the DIP Facility on an interim and final basis (the “DIP Motion”). On May
8 2020, the Court approved the DIP Motion on an interim basis [Docket No. 284]. On June 16, 2020, the
Court approved the DIP Motion on a final basis [Docket No. 850].

           E.       Other Procedural and Administrative Motions.

        The Debtors also filed several other motions subsequent to the Petition Date to further facilitate the
smooth and efficient administration of the Chapter 11 Cases and reduce the administrative burdens
associated therewith, including:

         x      Ordinary Course Professionals Motion. On June 2, 2020, the Debtors filed the Debtors’ Motion
                for Entry of an Order Authorizing the Retention and Compensation of Certain Professionals
                Utilized in the Ordinary Course of Business [Docket No. 740] (the “OCP Motion”). The OCP
                Motion sought to establish procedures for the retention and compensation of certain
                professionals utilized by the Debtors in the ordinary course operation of their businesses. On
                June 25, 2020, the Court approved the OCP Motion [Docket No. 1009].

         x      Interim Compensation Motion. On June 3, 2020, the Debtors filed the Debtors’ Motion for
                Entry of an Order Establishing Procedures for Interim Compensation and Reimbursement of
                Expenses for Professionals [Docket No. 749] (the “Interim Compensation Motion”).
                The Interim Compensation Motion sought to establish procedures for the allowance and

14   “Stretto” is the trade name of Bankruptcy Management Solutions, Inc., and its subsidiaries.




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              payment of compensation and reimbursement of expenses for attorneys and other professionals
              whose retentions are approved by the Bankruptcy Court pursuant to sections 327 or 1103 of
              the Bankruptcy Code and who will be required to file applications for allowance of
              compensation and reimbursement of expenses pursuant to sections 330 and 331 of
              the Bankruptcy Code. On June 26, 2020, the Court approved the Interim Compensation Motion
              [Docket No. 1070].

         F.      Retention of the Debtors’ Professionals.

         To assist the Debtors in carrying out their duties as debtors-in-possession and to otherwise represent
the Debtors’ interests in the Chapter 11 Cases, on June 3-4, 2020, the Debtors filed applications requesting
that the Court authorize the Debtors to retain and employ the following advisors pursuant to sections 327
and 328 of the Bankruptcy Code: (a) Kirkland & Ellis LLP as counsel to the Debtors [Docket No. 748];
(b) Jackson Walker LLP as co-counsel to the Debtors [Docket No. 750]; (c) Lazard Frères & Co. LLC, Inc.
as investment banker to the Debtors [Docket No. 762]; (d) Berkeley Research Group, LLC to provide the
Debtors a Chief Restructuring Officer and certain additional personnel [Docket No. 751]; (e) Katten Muchin
Rosenman LLP as counsel to Holdings at the sole direction of Anthony Horton as disinterested manager of
Holdings [Docket No. 765]; and (f) Willkie Farr & Gallagher LLP as counsel to NMG LTD LLC at the
sole direction of Scott Vogel as the disinterested manager of NMG LTD LLC [Docket No. 763]. On June
26, 2020, the Debtors filed an application requesting that the Court authorize the Debtors to retain and
employ Alvarez & Marsal North America, LLC, as financial advisors to NMG LTD LLC at the sole
direction of Scott Vogel as the disinterested manager of NMG LTD LLC, pursuant to sections 327 and 328
of the Bankruptcy Code [Docket No. 1050]. On June 25-26, 2020, the Court approved the retention of the
following advisors: (a) Kirkland & Ellis LLP [Docket No. 1071]; (b) Jackson Walker LLP [Docket No.
750]; and (c) Berkeley Research Group, LLC [Docket No. 1072]. On July 7-8, 2020, the Court approved
the retention of the following advisors: (a) Katten Muchin Rosenman LLP [Docket No. 1156]; (b) Willkie
Farr & Gallagher LLP [Docket No. 1132]; and (c) Alvarez & Marsal North America, LLC [Docket No.
1131]. On July 16, 2020, the Court approved the retention of Lazard Frères & Co. LLC [Docket No. 1224].

         G.      Schedules of Assets and Liabilities and Statements of Financial Affairs.

          On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order
Extending Time to File Schedules of Assets and Liabilities, Schedules of Current Income and Expenditures,
Schedules of Executory Contracts and Unexpired Leases, and Statements of Financial Affairs [Docket
No. 10] seeking an extension of the time within which the Debtors must file their schedules of assets and
liabilities and statements of financial affairs (collectively, the “Schedules”) until June 19, 2020 for a total
of 44 days from the Petition Date, which the Court granted on May 8, 2020 [Docket No. 240]. The Debtors
filed their Schedules on June 19, 2020.

         H.      Establishment of a Claims Bar Date.

         As described more fully in Article III.K of this Disclosure Statement, on June 25, 2020, the
Bankruptcy Court entered the Bar Date Order setting the Bar Date by which the entities holding Claims
against the Debtors that arose (or that are deemed to have arisen) prior to the Petition Date (including,
without limitation, Class 10: General Unsecured Claims) must file proofs of claim. The Bar Date Order
establishes July 20, 2020 as the general claims bar date and November 3, 2020 as the governmental claims
bar date. Any party required to file a proof of claim under the Bar Date Order that failed to do so before
the applicable bar date will be forever barred, estopped, and enjoined from asserting such claim against the
Debtors and the Debtors will be forever discharged from any indebtedness or liability relating to such claim.
Such party will not be permitted to vote to accept or reject the Plan or receive any recovery under the Plan.




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         I.      Store Closing Process.

        On July 3, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Authorizing and
Approving the Conduct of Store Closing Sales, with Such Sales to be Free and Clear of all Liens, Claims,
and Encumbrances, and (III) Granting Related Relief [Docket No. 1115] (the “Store Closing Motion”)
seeking to implement a key component of their restructuring strategy and optimize their operations by
closing underperforming or geographically less desirable stores, or stores that no longer align with the
Debtors’ go-forward business plan. The Store Closing Motion is scheduled to be heard before the Court
on July 27, 2020. Pursuant to the Store Closing Motion, the Debtors seek to conduct store closing
procedures at seventeen (17) Last Call stores. The Debtors also seek authority to conduct store closing
procedures at additional stores after notice and, if necessary, a hearing.

        The Debtors continue to evaluate their approximately 59 additional stores and leases to determine
whether or not to assume or reject Unexpired Leases, continue store operations, or conduct real property
sales. The Debtors are in the middle of negotiations with many of their landlords regarding the terms of
the Debtors’ Unexpired Leases in an effort to procure favorable lease terms such that stores can continue
to operate. The Debtors believe that these negotiations have generally been successful, and the resulting
savings will accrue to the benefit of the Debtors’ estates and improve the profitability of the Debtors as a
going-concern.

         J.      Appointment of the Creditors Committee.

         On May 19, 2020, the United States Trustee for the Southern District of Texas (the “United States
Trustee”) filed the Notice of Appointment of Committee of Unsecured Creditors [Docket No. 455] notifying
parties in interest that the United States Trustee had appointed a statutory committee of unsecured creditors
(the “Creditors Committee”) in the Chapter 11 Cases. The Creditors Committee is currently composed of
the following members: Wilmington Trust, National Association, Pension Benefit Guaranty Corporation,
UMB Bank, N.A., Marble Ridge Capital LP, on behalf of Marble Ridge Master Fund LP, Simon Property
Group, Inc., Chanel, Inc., Kering Americas, Inc., Estée Lauder Companies, and Ebates Performance
Marketing, Inc. The Creditors Committee has retained Pachulski Stang Ziehl & Jones as its legal counsel
and MIII Partners, LLC as its financial advisor.

         K.       The Debtors Appoint Disinterested Managers With Independent Advisors To
                  Investigate Potential Estate Claims, And The Creditors Committee And The
                  Disinterested Managers Proceed With Their Investigations

        Since 2013, the Debtors have conducted their businesses through member-managed LLCs as
discussed above. The top member of the Neiman Marcus organization is non-debtor NMG Inc., which has
a board of directors.

        In April 2020, in anticipation of a Chapter 11 filing, the NMG Inc. board unanimously agreed to
modify the LLC agreements of Mariposa Holdings and NMG LTD LLC to create Boards of Managers at
those entities that would control the Debtors’ businesses, including making all decisions with respect to
these chapter 11 cases. Neiman Marcus’ CEO, Geoffroy van Raemdonck, sits on both Boards of Managers
along with one Disinterested Manager at Holdings (Anthony Horton) and one at NMG LTD LLC (Scott
Vogel). No representative of the Sponsors sits on either Board of Managers.

         Each of the Boards of Managers executed a full delegation of authority to the Disinterested
Managers to determine in their sole judgment whether a conflict exists with respect to any issue in
connection with the Debtors’ chapter 11 cases. To the extent the Disinterested Managers determine there
is a conflict, the Disinterested Managers have full authority to assess and act upon the conflict matter. Since



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its appointment, the Creditors Committee also began its own investigation of the Designation, PropCo
Transaction, Distribution and Recapitalization Transactions.

        Since the Disinterested Managers and the Creditors Committee began their investigations (each
with their own legal counsel and financial advisors), the Debtors have produced more than 76,000
documents to the Disinterested Managers and the Creditors Committee. The Sponsors, Lazard and Duff &
Phelps have produced more than 20,000 additional documents. To date, the Creditors Committee and the
Disinterested Managers have deposed ten witnesses: four Debtor witnesses (three of whom were involved
in preparing the solvency analysis and the Debtors’ 30(b)(6) representative, its current Chief Financial
Officer), two corporate representatives of Lazard, NMG Inc. independent board member Norman Axelrod,
Ares’ corporate representative and NMG Inc. board member Dennis Gies, the former chairman of the NMG
Inc. board and Ares co-founder David Kaplan, and CPPIB’s corporate representative and NMG Inc. board
member Cesare Ruggiero. Additional depositions are scheduled in July and August.

                        Disinterested Manager Investigation.

         Mr. Vogel has conducted his investigation (the “Disinterested Manager Investigation”) with
alacrity to ensure that the disputes related to the MyT Transactions do not delay the Debtors’ ability to
timely exit from these chapter 11 cases. Among other things, as part of the Disinterested Manager
Investigation, Mr. Vogel (with his advisors at Willkie and A&M) has:

        x   reviewed over 80,000 documents from, among others, the Debtors and their advisors; the
            Sponsors; and Parent;

        x   in close coordination with counsel to the Committee, deposed ten representatives and financial
            advisors of those entities, with additional depositions scheduled to occur;

        x   analyzed financial issues relevant to the Disinterested Manager Investigation, including
            whether the Company was insolvent at the time of the Distribution; and

        x   analyzed legal issues relevant to the Disinterested Manager Investigation, including potential
            claims and related recoveries the estates might obtain through litigation.

        Based on the work completed to date, Mr. Vogel concluded that there is a strong possibility that
the Company was insolvent at the time of the Distribution, and therefore that the releases in favor of the
Parent, directors and officers, and the Sponsors set forth in the Plan should only be granted to the extent
substantial additional value is provided to the Debtors on account of the Distribution. As part of the
Disinterested Manager Investigation, Mr. Vogel identified several potential claims belonging to the estate
based on information obtained in the Disinterested Manager Investigation. Mr. Vogel’s views on those
claims, based on the substantial discovery taken to date, are described generally below.

                        (a)      The Estate Likely Has a Viable Constructive Fraudulent Conveyance
                                 Claim Against NMG Inc.

         A prepetition transaction dispensing of a debtor’s assets may constitute a fraudulent conveyance if
(a) the debtor received less than reasonably equivalent value in exchange for the asset, and (b) the debtor
was insolvent at the time of such transfer or became insolvent as a result of the transfer. As noted above,
the Distribution was structured as a dividend, and therefore the Debtors received no value in exchange for
the MyT Interests. The issue of solvency is the primary dispute in these cases.




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        Based on analyses performed by A&M and the discovery obtained thus far as part of the
Disinterested Manager Investigation, Mr. Vogel believes that a court of competent jurisdiction likely would
conclude that the Company was insolvent at the time of the Distribution.

                         (b)      Claims Against NMG Inc., its Directors and Officers, and the Sponsors

         Mr. Vogel is continuing to investigate the viability of a substantial number of additional claims
arising out of the MyT Transactions that could be asserted against NMG Inc., its directors and officers, the
Sponsors, and the parties’ respective representatives.

        Potential claims against NMG Inc. include actual fraudulent conveyance, unjust enrichment,
unlawful dividend, and aiding and abetting breach of fiduciary duty claims. With respect to the directors
and officers of NMG Inc., potential claims against them include breach of fiduciary duty, unlawful
dividends, and aiding and abetting breaches of fiduciary duty. Claims against the Sponsors could include
aiding and abetting breach of fiduciary duty, civil conspiracy to breach fiduciary duty, civil conspiracy to
defraud, civil conspiracy to commit fraudulent transfer, aiding and abetting fraudulent transfer, and unjust
enrichment.

         Mr. Vogel believes that the appropriate remedy for any and all of the MyT Claims should be
measured in accordance with section 550 of the Bankruptcy Code. Section 550 provides that upon a finding
of a successful fraudulent transfer claim, “the trustee may recover, for the benefit of the estate, the property
transferred, or, if the court so orders, the value of such property.” 11 U.S.C. § 550(a). Accordingly, whether
the estates pursue a constructive fraudulent conveyance action or a multitude of claims against a variety of
defendants, Mr. Vogel does not believe the evidence adduced in discovery would support damages in excess
of the value of the property transferred.

                         Committee Investigation

         Since late May 2020, the Creditors Committee has conducted an investigation (the “Committee
Investigation”) regarding the estates’ potential claims against NMG Inc., the Sponsors, and their respective
non-Debtor affiliates, board members, and representatives (excluding officers running the business, the
“Litigation Targets”). As part of the Committee Investigation, the Creditors Committee and its expert
valuation consultant, The Michel-Shaked Group, have reviewed hundreds of thousands of pages of
documents by the Litigation Targets and their professionals and conducted numerous depositions of
relevant witnesses.

         On July 17, 2020, the Creditors Committee filed with the Bankruptcy Court (i) the Preliminary
Report of the Official Committee of Unsecured Creditors Regarding the Bankruptcy Estates’ Litigation
Claims Against Neiman Marcus Group, Inc., the Sponsors and Directors of Neiman Marcus Group, Inc.,
and Other Parties (the “Preliminary Report”); (ii) the Appendix to the Preliminary Report of the Official
Committee of Unsecured Creditors Regarding the Bankruptcy Estates’ Litigation Claims Against Neiman
Marcus Group, Inc., the Sponsors and Directors of Neiman Marcus Group, Inc., and Other Parties
(the “Appendix”); (iii) the Initial Expert Report of The Michel-Shaked Group (the “Expert Report”); and
(iv) the Executive Summary to the Expert Report (the “Expert Summary,” and, together with the Preliminary
Report, Appendix, and Expert Report, the “Reports”). Based on the Committee Investigation to date and
as outlined in detail in the Reports, the Creditors Committee has reached the conclusion that the Designation
and/or Distribution of MyTheresa gave rise to, among other potential actionable claims, actionable claims
for: (1) constructive fraudulent transfer claims, (2) intentional fraudulent transfer claims, and (3) breach of
fiduciary duty claims against the Debtors’ member-managers and the directors of the Parent.




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         L.     Disinterested Manager Settlement

         The disinterested manager of NMG LTD, Mr. Vogel, with the assistance of counsel and advisors,
has undertaken an investigation into potential conflict matters and potential estate claims, and causes of
action. As a result of his investigation, Mr. Vogel determined that he could not support the releases of
certain equityholders of the Debtors absent fair consideration on account of the release of estate claims and
causes of action with respect such parties. Mr. Vogel spent several weeks negotiating at arms’ length with
the Sponsors, the Creditors Committee, and the Term Loan Lenders. Mr. Horton, in connection with his
ongoing investigation, has been kept apprised on a real-time basis of such settlement negotiations.

         Ultimately, after several rounds of negotiation, Mr. Vogel, on behalf of the Debtors, the Consenting
Sponsors, and the Consenting Term Loan Lenders reached a settlement on account of the potential estate
claims and causes of action against the Consenting Parent and the Sponsors (the “Disinterested Manager
Settlement”) that Mr. Vogel believes is fair, reasonable, and in the best interests of creditors. Pursuant to
the Disinterested Manager Settlement, the Consenting Parent and the Consenting Sponsors will agree to
return to the Debtors, for distribution to Holders of Allowed General Unsecured Claims in accordance with
the treatment provided to Classes 10 and 11 in the Plan, 140 million shares (56% of the total shares) of
MYT Series B Preferred Stock. Additionally, the Consenting Term Loan Lenders will agree that the
Reorganized Debtors will contribute $10 million of Cash for distribution to Holders of General Unsecured
Claims in accordance with the treatment provided to Classes 10 and 11 in the Plan. And the Plan has been
modified to incorporate an effective waiver of the Deficiency Claims that may be asserted by Holders of
2019 Term Loan Claims, 2013 Term Loan Claims, 2028 Debenture Claims, Second Lien Notes Claims,
and Third Lien Notes Claims, that would otherwise be significantly dilutive to recoveries of Holders of
Allowed General Unsecured Claims. The Creditors Committee supports the Disinterested Manager
Settlement. The Creditors Committee’s support of the Plan is conditioned upon: (i) the Sponsors,
Consenting 2L Parties and Consenting 3L Parties agreeing on the general terms of the New MyT
Documents, including the 2L MyT Distribution and the 3L MyT Distribution; (ii) the amendment of
documents relating to the MYT Series B Preferred Stock to provide the same mandatory redemption,
ranking, change of control, reporting, monetization opportunity (at the appropriate level of the MYT
waterfall) and other protections consistent with the MYT Series A Preferred Stock; and (iii) the final
documentation implementing the Plan being satisfactory to the Creditors Committee. The Debtors and
Creditors Committee are considering the addition of a convenience class, and if such a class is created, a
portion of the cash consideration currently contemplated for distribution to Holders of Allowed General
Unsecured Claims shall be proposed to be made available to Holders of Allowed General Unsecured Claims
in such potential convenience class.

         In addition, notwithstanding anything to the contrary in the Plan, in connection with the
Disinterested Manager Settlement, the Consenting Parent, the Consenting Sponsors, and any applicable
creditors expressly waive any right they may have to enforce a turnover of any consideration provided
pursuant to the Plan that might be enforceable against the Debtors or any of their creditors pursuant to the
Existing MYT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements in connection with the Plan
and only to the extent necessary to implement the terms of the Plan; provided, that to the extent the
Consenting 2L Parties and the Consenting 3L Parties do not agree to waive the Second Lien Notes
Deficiency Claims and the Third Lien Notes Deficiency Claims, (i) the turnover and waterfall provisions
concerning MyTheresa as set forth in the Existing MYT Transaction Documents and the Transaction
Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements, shall apply with respect to distributions in respect of such Claims and (ii) the
Parent and Sponsors agree that any recovery received by Parent or Sponsors pursuant to turnover of
distributions received on account of the Second Lien Notes Deficiency Claims and the Third Lien Notes
Deficiency Claims shall be distributed to Holders of Allowed Funded-Debt General Unsecured Claims and


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Allowed Non-Funded Debt General Unsecured Claims. To the extent the Plan is not effectuated, all rights
are reserved.

         The Debtors and Mr. Vogel believe that the Disinterested Manager Settlement provides a fair and
reasonable return to the Debtors, for the benefit of the Holders of Allowed General Unsecured Claims, for
the release of any potential estate claims and causes of action against the Sponsors and related parties. The
return of 56% of the MYT Series B Preferred Stock, $10,000,000 cash contribution effectively by the
Consenting Term Loan Lenders, and modification of the Plan to ensure that Holders of Deficiency Claims
on account of 2019 Term Loan Claims 2013 Term Loan Claims, 2028 Debenture Claims, Second Lien
Note Claims, and Third Lien Note Claims do not share in the distribution to Holders of Allowed General
Unsecured Claims, provides General Unsecured Creditors substantially more value than they would receive
if the estate retained the claims and causes of action and succeeded in a claim to return all of the MYT
Series B Preferred Stock held by the Sponsors.

         M.     Other Litigation Matters.

         In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings,
collection proceedings, and claims arising out of their business operations. The Debtors cannot predict with
certainty the outcome of these lawsuits, legal proceedings, and claims.

         With certain exceptions, the filing of the Chapter 11 Cases operates as a stay with respect to
commencement or continuation of litigation against the Debtors that was or could have been commenced
before the commencement of the Chapter 11 Cases. In addition, the Debtors’ liability with respect to
litigation stayed by the commencement of the Chapter 11 Cases generally is subject to discharge, settlement,
and release upon confirmation of a plan under chapter 11, with certain exceptions. Therefore, certain
litigation Claims against the Debtors may be subject to discharge in connection with the Chapter 11 Cases.

         N.     Treatment of Executory Contracts and Unexpired Leases.

                         Assumption and Rejection of Executory Contracts and Unexpired Leases.

        On the Effective Date, except as otherwise provided in the Plan, each Executory Contract and
Unexpired Lease, including the Debtors’ non-qualified compensation plans, (including those set forth as
assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed as of the Effective
Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such
Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned, or rejected
by the Debtors; (2) previously expired or terminated pursuant to its own terms; (3) is identified as rejected
on the Schedules of Assumed and Rejected Contracts; or (4) is the subject of a motion to reject that is
pending on the Effective Date. On the Effective Date, except as otherwise provided herein, each Executory
Contract and Unexpired Lease that is identified as rejected on the Schedules of Assumed and Rejected
Contracts shall be deemed rejected as of the Effective Date by the applicable Debtor pursuant to sections
365 and 1123 of the Bankruptcy Code.

         Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence
of the Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments,
and rejections, as applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, and
the Schedules of Assumed and Rejected Contracts, as applicable, pursuant to sections 365(a) and 1123 of
the Bankruptcy Code. Any motions to assume, assume and assign, or reject Executory Contracts or
Unexpired Leases pending on the Effective Date shall be subject to approval by the Bankruptcy Court on
or after the Effective Date by a Final Order. Unless otherwise specified in the Plan Supplement, the
Schedules of Assumed and Rejected Contracts, or an applicable Court order, assumptions, assumptions and
assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective


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as of the Effective Date. Each Executory Contract and Unexpired Lease assumed pursuant to the Plan or
by any order of the Bankruptcy Court, which has not been assigned to a third party prior to the Confirmation
Date, shall re vest in and be fully enforceable by the applicable contracting Reorganized Debtor in
accordance with its terms, except as such terms may be modified by the provisions of the Plan or any order
of the Bankruptcy Court authorizing and providing for its assumption under applicable federal law.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable,
shall have the right to alter, amend, modify, or supplement the Schedules of Assumed and Rejected
Contracts identified in Article V.A of the Plan and in the Plan Supplement at any time through and including
45 days after the Effective Date; provided, however, that after the date of the Confirmation Hearing, the
Debtors may not subsequently reject any Unexpired Lease previously designated as assumed or assumed
and assigned on the Schedules of Assumed and Rejected Contracts absent the consent of the applicable
lessor.

        To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed
and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or
deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non Debtor party or parties
to such Executory Contract or Unexpired Lease to terminate such Executory Contract or Unexpired Lease
or to exercise any other default-related rights with respect thereto.

                         Indemnification Obligation.

         Upon the Effective Date and consummation of the Plan on the terms set forth in the Plan, all
indemnification obligations in place as of the Effective Date under the Debtors’ organizational documents
(including in the by-laws, certificates of incorporation or formation, limited liability company agreements,
and other organizational or formation documents,) for the current and former directors, officers, managers,
and employees of the Debtors, as applicable, shall be assumed and remain in full force and effect after the
Effective Date, and shall not be modified, reduced, discharged, impaired, or otherwise affected in any way,
and shall survive Unimpaired and unaffected, irrespective of when such obligation arose; provided,
however, that the foregoing shall not apply to any obligations to indemnify any person or entity (other than
natural-person managers or officers in their capacities as such serving as of the Effective Date, including
the disinterested managers of Mariposa Intermediate and NMG LTD, respectively) in connection with any
claims or causes of action related to the designation of MyTheresa as an unrestricted subsidiary or the
distribution of MyTheresa by or through certain Debtors to NMG, Inc. and related transactions.

                         Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with
respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the
Plan or the Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on
the Debtors or Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of
an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection. Any
Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed with the
Bankruptcy Court within such time will be automatically disallowed, forever barred from assertion,
and shall not be enforceable against the Debtors or the Reorganized Debtors, the Estates, or their
property without the need for any objection by the Reorganized Debtors or further notice to, or
action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out
of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, and be subject to the permanent injunction set forth in Article VIII.F. of
the Plan, including any Claims against any Debtor listed on the Schedules as unliquidated,



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contingent, or disputed. All Allowed Claims arising from the rejection by any Debtor of any Executory
Contract or Unexpired Lease shall be treated as a General Unsecured Claim in accordance with
Article III.C. of the Plan.

                         Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall pay Cures, if any, on the Effective
Date or as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties
to the applicable Executory Contract or Unexpired Lease, all requests for payment of Cure that differ from
the amounts paid or proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty must
be Filed with the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such request
that is not timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion, and
shall not be enforceable against any Reorganized Debtor, without the need for any objection by the
Reorganized Debtors or any other party in interest or any further notice to or action, order, or approval of
the Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and discharged upon payment
by the Debtors or the Reorganized Debtors of the Cure; provided that nothing herein shall prevent the
Reorganized Debtors from paying any Cure despite the failure of the relevant counterparty to File such
request for payment of such Cure. The Reorganized Debtors also may settle any Cure without any further
notice to or action, order, or approval of the Bankruptcy Court. In addition, any objection to the assumption
of an Executory Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on
or before 30 days after the Effective Date. Any such objection will be scheduled to be heard by the
Bankruptcy Court at the Debtors’ or Reorganized Debtors’, as applicable, first scheduled omnibus hearing
for which such objection is timely filed. Any counterparty to an Executory Contract or Unexpired Lease
that fails to timely object to the proposed assumption of any Executory Contract or Unexpired Lease will
be deemed to have consented to such assumption.

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
of the Cure amount in Cash on the Effective Date, subject to the limitation described below, or on such
other terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the
event of a dispute regarding (1) the amount of any payments to cure such a default, (2) the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed, or (3) any other matter pertaining to assumption, the Cure payments required by section 365(b)(1)
of the Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the dispute
and approving the assumption; provided that the Reorganized Debtors may settle any such dispute without
any further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity; provided,
further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving
any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the
Reorganized Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is
subject to dispute, whether by amending the Schedules of Assumed and Rejected Contracts in accordance
with Article V.A of the Plan or otherwise.

         At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall
provide for notices of proposed assumption or assumption and assignment and proposed Cure amounts to
be sent to applicable third parties, which notices will include procedures for objecting thereto and resolution
of disputes by the Bankruptcy Court. Any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption or assumption and assignment or related Cure amount must be
Filed, served, and actually received by the Debtors no later than seven days prior to the first day of the
Confirmation Hearing. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely




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object to the proposed assumption or Cure amount will be deemed to have assented to such assumption or
assumption and assignment and cure amount.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and
full payment of any applicable Cure pursuant to Article V.D of the Plan shall result in the full release and
satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts or Unexpired
Leases that have been assumed in the Chapter 11 Cases, including pursuant to the Confirmation Order, and
for which any Cure has been fully paid pursuant to Article V.D of the Plan, shall be deemed disallowed and
expunged as of the Effective Date without the need for any objection thereto or any further notice to or
action, order, or approval of the Bankruptcy Court.

         O.      The Surety Bond Program.

         On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers as
set forth in the Order (I) Authorizing the Debtors to Continue Their Surety Bond Program and (II) Granting
Related Relief [Docket No. 244] shall be deemed reaffirmed by the Reorganized Debtors, including as
applicable: (i) surety payment and indemnity agreements, setting forth the sureties’ rights against the
Debtors, and the Debtors’ obligations to pay and indemnify the sureties from any loss, cost, or expense that
the sureties may incur, in each case, on account of the issuance of any surety bonds on behalf of the Debtors;
(ii) surety collateral agreements governing collateral, if any, in connection with the Debtors’ surety bonds;
and/or (iii) ordinary course premium payments to any surety for the Debtors’ surety bonds.

IX.     PROJECTED FINANCIAL INFORMATION

        A projected consolidated income statement is attached hereto as Exhibit C.

         Creditors and other interested parties should see the below “Risk Factors” for a discussion of certain
factors that may affect the future financial performance of the Reorganized Debtors.

X.      RISK FACTORS

         Holders of Claims and Interests should read and consider carefully the risk factors set forth below
before voting to accept or reject the Plan. Although there are many risk factors discussed below, these
factors should not be regarded as constituting the only risks present in connection with the Debtors’ business
or the Plan and its implementation.

         A.       Bankruptcy Law Considerations.

        The occurrence or non-occurrence of any or all of the following contingencies, and any others,
could affect distributions available to Holders of Allowed Claims and Interests under the Plan but will not
necessarily affect the validity of the vote of the Impaired Classes to accept or reject the Plan or necessarily
require a re-solicitation of the votes of Holders of Claims and Interests in such Impaired Classes.

                          Parties in Interest May Object to the Plan’s Classification of Claims and
                          Interests.

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest
in a particular class only if such claim or equity interest is substantially similar to the other claims or equity
interests in such class. The Debtors believe that the classification of the Claims and Interests under the Plan


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complies with the requirements set forth in the Bankruptcy Code because the Debtors created Classes of
Claims and Interests each encompassing Claims or Interests, as applicable, that are substantially similar to
the other Claims or Interests, as applicable, in each such Class. Nevertheless, there can be no assurance
that the Court will reach the same conclusion.

                         The Conditions Precedent to the Effective Date of the Plan May Not Occur.

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number of
conditions precedent. If such conditions precedent are not met or waived, the Effective Date will not take
place.

                         The Debtors May Fail to Satisfy Vote Requirements.

         If votes are received in number and amount sufficient to enable the Court to confirm the Plan,
the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event
sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan of
reorganization, subject to the terms of the Restructuring Support Agreement. There can be no assurance
that the terms of any such alternative chapter 11 plan of reorganization would be similar or as favorable to
the Holders of Allowed Claims and Interests as those proposed in the Plan.

                         The Debtors May Not Be Able to Secure Confirmation of the Plan.

         Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11
plan, and requires, among other things, a finding by the Court that: (a) such plan “does not unfairly
discriminate” and is “fair and equitable” with respect to any non-accepting classes; (b) confirmation of such
plan is not likely to be followed by a liquidation or a need for further financial reorganization unless such
liquidation or reorganization is contemplated by the plan; and (c) the value of distributions to non-accepting
holders of claims and equity interests within a particular class under such plan will not be less than the
value of distributions such holders would receive if the debtors were liquidated under chapter 7 of
the Bankruptcy Code.

         Even though certain creditors have agreed pursuant to the Restructuring Support Agreement to
support the Plan, there can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance that the Court will
confirm the Plan. A non-accepting Holder of an Allowed Claim or Interest might challenge either the
adequacy of this Disclosure Statement or whether the balloting procedures and voting results satisfy the
requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the Court determines that this
Disclosure Statement, the balloting procedures, and voting results are appropriate, the Court could still
decline to confirm the Plan if it finds that any of the statutory requirements for Confirmation are not met.
If a chapter 11 plan of reorganization is not confirmed by the Court, it is unclear whether the Debtors will
be able to reorganize their business and what, if anything, Holders of Allowed Claims and Interests against
them would ultimately receive on account of such Allowed Claims and Interests.

        The effectiveness of the Plan is also subject to certain conditions as described in Article IX of
the Plan. If the Plan is not confirmed, it is unclear what distributions, if any, Holders of Allowed Claims
and Interests will receive on account of such Allowed Claims and Interests.

        The Debtors, subject to the terms and conditions of the Plan and the Restructuring Support
Agreement, reserve the right to modify the terms and conditions of the Plan as necessary for Confirmation.
Any such modifications could result in less favorable treatment of any non-accepting Class, as well as any
Class junior to such non-accepting Class, than the treatment currently provided in the Plan. Such a less




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favorable treatment could include a distribution of property with a lesser value than currently provided in
the Plan or no distribution whatsoever under the Plan.

                         Nonconsensual Confirmation.

         In the event that any impaired class of claims or interests does not accept a chapter 11 plan, a
bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one impaired class
(as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with such acceptance being
determined without including the vote of any “insider” in such class), and, as to each impaired class that
has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate unfairly”
and is “fair and equitable” with respect to the dissenting impaired class(es). The Debtors believe that
the Plan satisfies these requirements, and the Debtors may request such nonconsensual Confirmation in
accordance with subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that
the Court will reach this conclusion. In addition, the pursuit of nonconsensual Confirmation or
Consummation of the Plan may result in, among other things, increased expenses relating to professional
compensation.

                         Continued Risk Upon Confirmation.

        Even if a chapter 11 plan of reorganization is consummated, the Debtors will continue to face a
number of risks, including certain risks that are beyond their control, such as further deterioration or other
changes in economic conditions, changes in the industry, potential revaluing of their assets due to
chapter 11 proceedings, changes in consumer demand for, and acceptance of, their products, and increasing
expenses. Some of these concerns and effects typically become more acute when a case under
the Bankruptcy Code continues for a protracted period without indication of how or when the case may be
completed. As a result of these risks and others, there is no guarantee that a chapter 11 plan of
reorganization reflecting the Plan will achieve the Debtors’ stated goals.

         In addition, at the outset of the Chapter 11 Cases, the Bankruptcy Code will give the Debtors the
exclusive right to propose the Plan and will prohibit creditors and others from proposing a plan.
The Debtors will have retained the exclusive right to propose the Plan upon filing their petitions for
chapter 11 relief. If the Court terminates that right, however, or the exclusivity period expires, the Debtors’
ability to achieve confirmation of the Plan and achieve the Debtors’ stated goals may be adversely affected.

        Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan, the Debtors
may need to raise additional funds through public or private debt or equity financing or other various means
to fund the Debtors’ business after the completion of the proceedings related to the Chapter 11 Cases.
Additional financing, if required, may not be available on commercially reasonable terms, if at all.

                         The Chapter 11 Cases May Be Converted to Cases Under Chapter 7 of
                         the Bankruptcy Code.

         If the Court finds that it would be in the best interest of creditors and/or the debtor in a chapter 11
case, the Court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the Bankruptcy Code.
In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtor’s assets for
distribution in accordance with the priorities established by the Bankruptcy Code. The Debtors believe that
liquidation under chapter 7 would result in significantly smaller distributions being made to creditors than
those provided for in a chapter 11 plan because of (a) the likelihood that the assets would have to be sold
or otherwise disposed of in a disorderly fashion over a short period of time rather than reorganizing or
selling in a controlled manner affecting the business as a going concern, (b) additional administrative
expenses involved in the appointment of a chapter 7 trustee, and (c) additional expenses and Claims, some
of which would be entitled to priority, that would be generated during the liquidation, and including Claims


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resulting from the rejection of Unexpired Leases and other Executory Contracts in connection with
cessation of operations.

                         The Debtors May Object to the Amount or Classification of a Claim.

        Except as otherwise provided in the Plan, the Debtors and the GUC Claims Administrator, as
applicable, reserve the right to object to the amount or classification of any Claim or Interest under the Plan,
subject to the terms of the Restructuring Support Agreement. The estimates set forth in this Disclosure
Statement cannot be relied upon by any Holder of a Claim or Interest where such Claim or Interest is subject
to an objection. Any Holder of a Claim or Interest that is subject to an objection thus may not receive its
expected share of the estimated distributions described in this Disclosure Statement.

                         Risk of Non-Occurrence of the Effective Date.

        Although the Debtors believe that the Effective Date may occur quickly after the Confirmation
Date, there can be no assurance as to such timing or as to whether the Effective Date will, in fact, occur.

                         Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
                         the Plan.

         The distributions available to Holders of Allowed Claims and Interests under the Plan can be
affected by a variety of contingencies, including, without limitation, whether the Court orders certain
Allowed Claims or Interests to be subordinated to other Allowed Claims or Interests. The occurrence of
any and all such contingencies, which could affect distributions available to Holders of Allowed Claims
and Interests under the Plan, will not affect the validity of the vote taken by the Impaired Classes to accept
or reject the Plan or require any sort of revote by the Impaired Classes.

         The estimated Claims, Interests, and creditor recoveries that will be forth in this Disclosure
Statement are based on various assumptions, and the actual Allowed amounts of Claims and Interests may
significantly differ from the estimates. Should one or more of the underlying assumptions ultimately prove
to be incorrect, the actual Allowed amounts of Claims or Interests may vary from the estimated Claims and
Interests contained in this Disclosure Statement. Moreover, the Debtors cannot determine with any
certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such differences
may materially and adversely affect, among other things, the percentage recoveries to Holders of Allowed
Claims and Interests under the Plan.

                         Releases, Injunctions, and Exculpations Provisions May Not Be Approved.

         Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including a
release of liens and third-party releases that may otherwise be asserted against the Debtors, Reorganized
Debtors, or Released Parties, as applicable. The releases, injunctions, and exculpations (including, for the
avoidance of doubt, the definitions of Released Parties, Releasing Parties, and Exculpated Parties) provided
in the Plan are subject to the approval of the parties in interest and may not be approved. If the releases are
not approved, certain parties may not be considered Released Parties, Releasing Parties, or Exculpated
Parties, and certain Released Parties may withdraw their support for the Plan.

         B.       Risks Related to Recoveries under the Plan.

                         The Debtors May Not Be Able to Achieve Their Financial Projections.

        The Financial Projections attached hereto as Exhibit C represent the Debtors’ management team’s
best estimate of the Debtors’ future financial performance, which is necessarily based on certain



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assumptions regarding the anticipated future performance of the Reorganized Debtors’ operations, as well
as the United States and world economies in general and the retail industry, which has been particularly
affected by the recent COVID-19 outbreak and actions taken in response thereto. While the Debtors believe
that the Financial Projections attached hereto as Exhibit C are reasonable, there can be no assurance that
they will be realized. If the Debtors do not achieve their projected financial results, (a) the value of the
New Equity may be negatively affected, and the recoveries by Holders of General Unsecured Claims that
receive New Equity may be negatively affected, (b) the Debtors may lack sufficient liquidity to continue
operating as planned after the Effective Date and (c) the Debtors may be unable to service their debt
obligations as they come due. Moreover, the financial condition and results of operations of the
Reorganized Debtors from and after the Effective Date may not be comparable to the financial condition
or results of operations reflected in the Debtors’ historical financial statements.

                        Reorganized Neiman’s Plan Securities May Not Be Publicly Traded.

         There can be no assurance that an active market for the Plan Securities will develop, nor can any
assurance be given as to the prices at which such stock might be traded. The Plan Securities to be issued
under the Plan will not be listed on or traded on any nationally recognized market or exchange. Further,
the Plan Securities to be issued under the Plan has not been registered under the Securities Act, any state
securities laws or the laws of any other jurisdiction. Absent such registration, the Plan Securities may be
offered or sold only in transactions that are not subject to, or that are exempt from, the registration
requirements of the Securities Act and other applicable securities laws. As explained in more detail in
Article XIII of this Disclosure Statement, most recipients of Plan Securities will be able to resell such
securities without registration pursuant to the exemption from registration provided by section 1145 of the
Bankruptcy Code, subject to any restrictions set forth in the certificate of incorporation and bylaws of
Reorganized Neiman, the New Warrant Agreement, and the New MyT Documents.

                        The Value of the MYT Series B Preferred Stock is Uncertain.

        The Plan contemplates distribution of a portion of the MYT Series B Preferred Stock to Holders of
Allowed General Unsecured Claims. The ultimate value of the MYT Series B Preferred Stock depends on
the value of MyTheresa, which is uncertain.

         C.      Risks Related to the Debtors’ and the Reorganized Debtors’ Business.

                        The Debtors and the Reorganized Debtors May Not Be Able to Generate
                        Sufficient Cash to Service All of Their Indebtedness.

         The Debtors‘ and the Reorganized Debtors’ ability to make scheduled payments on, or refinance
their debt obligations, including the DIP Facility and the Exit Facility, depends on the Debtors’ and the
Reorganized Debtors’ financial condition and operating performance, which are subject to prevailing
economic, industry, and competitive conditions and to certain financial, business, legislative, regulatory,
and other factors beyond their control (including the factors discussed in Article X.C of this Disclosure
Statement). For example, if the Debtors are mandated or recommended to keep any currently-closed retail
stores and/or distribution centers closed to contain the spread of the COVID-19 outbreak, or to close re-
opened stores, cash flows may significantly be limited. The Debtors and the Reorganized Debtors may be
unable to maintain a level of cash flow from operating activities sufficient to permit them to pay the
principal, premium, if any, and interest on their indebtedness, including the DIP Facility and the Exit
Facility.




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                          The Debtors Will Be Subject to the Risks and Uncertainties Associated with
                          the Chapter 11 Cases.

         For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and execute a
business plan, and continue as a going concern, will be subject to the risks and uncertainties associated with
bankruptcy. These risks include the following: (a) ability to develop, confirm, and consummate the
restructuring transactions specified in the Plan or an alternative restructuring transaction; (b) ability to
obtain court approval with respect to motions filed in the Chapter 11 Cases from time to time; (c) ability to
maintain relationships with brand partners, service providers, customers, employees, and other third parties;
(d) ability to maintain contracts that are critical to the Debtors’ operations; (e) ability of third parties to seek
and obtain court approval to terminate contracts and other agreements with the Debtors; (f) ability of third
parties to seek and obtain court approval to terminate or shorten the exclusivity period for the Debtors to
propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert the Chapter 11 Cases
to chapter 7 proceedings; and (g) the actions and decisions of the Debtors’ creditors and other third parties
who have interests in the Chapter 11 Cases that may be inconsistent with the Debtors’ plans.

         These risks and uncertainties could affect the Debtors’ business and operations in various ways.
For example, negative events associated with the Chapter 11 Cases could adversely affect the Debtors’
relationships with brand partners, service providers, customers, employees, and other third parties, which
in turn could adversely affect the Debtors’ operations and financial condition. In addition, the Debtors will
need the prior approval of the Court for transactions outside the ordinary course of business, which may
limit the Debtors’ ability to respond timely to certain events or take advantage of certain opportunities.
Because of the risks and uncertainties associated with the Chapter 11 Cases, the Debtors cannot accurately
predict or quantify the ultimate impact of events that occur during the Chapter 11 Cases that may be
inconsistent with the Debtors’ plans.

                          Recent Global Economic Trends, especially in Response to the COVID-19
                          Outbreak Could Adversely Affect the Debtors’ Business, Results of
                          Operations and Financial Condition, Primarily Through Disruption of
                          the Debtors’ Retail Stores.

         Recent global economic conditions, including disruption of financial markets, could adversely
affect the Debtors’ business, results of operations and financial condition, primarily through disrupting their
customers’ businesses. Higher rates of unemployment and lower levels of business activity generally
adversely affect the level of demand for certain of the Debtors’ products and services. In addition,
continuation or worsening of general market conditions in the U.S. economy or other national economies
important to the Debtors’ business may adversely affect the Debtors’ customers’ level of spending, ability
to obtain financing for purchases and ability to make timely payments to the Debtors for their products and
services, which could require the Debtors to increase the Debtors’ allowance for doubtful accounts,
negatively impact their days sales outstanding and adversely affect their results of operations.

         The recent outbreak of COVID-19 has significantly disrupted financial markets. This outbreak and
the actions taken by federal, state and local governments in response to the outbreak have significantly
affected virtually all facets of the U.S. and global economies. Restrictions on and public concern regarding
travel and public interaction have materially curtailed retail and hospitality activity. The COVID-19
outbreak resulted in the temporary closure of all of the Debtors’ retail stores, almost all of which have since
opened. A substantial majority of the Debtors’ merchandise is manufactured in numerous locations,
primarily in Europe, the United States, and, to a lesser extent, Asia. The timely delivery of merchandise to
the Debtors’ by their brand partners could be adversely affected by supply chain disruptions and travel
restrictions which could, in turn, negatively impact the Debtors’ ability to meet customers’ demand.




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        Global financial markets have experienced significant volatility and losses as a result of the recent
COVID-19 outbreak. Any resulting economic downturn could negatively impact customer demand and
spending in the impacted regions and cause an oversupply of goods that could result in meaningful margin
pressure. In response to anticipated liquidity pressures stemming from a potential downturn, many
companies are exploring liquidity options, including drawing on revolving debt facilities. Subsequent to
the end of the second quarter of fiscal year 2020, the Debtors’ opted to draw down $225.0 million of
additional borrowings under their Asset-Based Revolving Credit Facility to ensure that cash on-hand is
adequate to address any potential disruptions related to the COVID-19 outbreak and the related response.

         The Debtors are closely monitoring developments in connection with this outbreak. Restrictions
on travel, quarantines and other measures imposed in response to the COVID-19 outbreak, as well as
ongoing concern regarding the virus’ potential impact, have had and will likely continue to have a negative
effect on economies and financial markets, including supply chain shortages and other business disruptions.
The Debtors expect the outbreak will materially affect results in the current and potentially future operating
periods; however, the duration and extent of potential supply chain, demand and other disruptions is highly
uncertain and will depend on future developments with respect to the spread and severity of the virus. An
extended period of further economic deterioration could exacerbate the other risks described herein.

          Additional effects of the recent conditions in the global economy include higher rates of
unemployment, consumer hesitancy, and limited availability of credit, each of which may constrict
the Debtors’ business operations. These have had an effect on the Debtors’ revenue growth and incoming
payments, and the impact may continue. If these or other conditions limit the Debtors’ ability to grow
revenue or cause the Debtors’ revenue to decline and the Debtors cannot reduce costs on a timely basis or
at all, the Debtors’ operating results may be materially and adversely affected.

                         Operating in Bankruptcy for a Long Period of Time May Harm the Debtors’
                         Business.

         The Debtors’ future results will be dependent upon the successful confirmation and implementation
of a plan of reorganization. A long period of operations under Court protection could have a material
adverse effect on the Debtors’ business, financial condition, results of operations, and liquidity. So long as
the proceedings related to the Chapter 11 Cases continue, senior management will be required to spend a
significant amount of time and effort dealing with the reorganization instead of focusing exclusively on
business operations. A prolonged period of operating under Court protection also may make it more
difficult to retain management and other key personnel necessary to the success and growth of the Debtors’
businesses. In addition, the longer the proceedings related to the Chapter 11 Cases continue, the more likely
it is that customers and brand partners will lose confidence in the Debtors’ ability to reorganize their
business successfully and will seek to establish alternative commercial relationships.

        So long as the proceedings related to the Chapter 11 Cases continue, the Debtors will be required
to incur substantial costs for professional fees and other expenses associated with the administration of
the Chapter 11 Cases.

          Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for the
liabilities that will be subject to a plan of reorganization. Even after a plan of reorganization is approved
and implemented, the Debtors’ operating results may be adversely affected by the possible reluctance of
prospective lenders and other counterparties to do business with a company that recently emerged from
bankruptcy protection and operates in the luxury retail industry which has been dramatically affected by
the recent COVID-19 outbreak.




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                         Financial Results May Be Volatile and May Not Reflect Historical Trends.

         During the Chapter 11 Cases, the Debtors expect that their financial results will continue to be
volatile as asset impairments, asset dispositions, restructuring activities and expenses, contract terminations
and rejections, and claims assessments significantly impact the Debtors’ consolidated financial statements.
Moreover, there have been mandates from federal, state and local authorities requiring forced closures of
non-essential retailers in response to the recent COVID-19 outbreak. The duration of such closures and the
extent of the outbreak’s effects on the Debtors’ business is highly uncertain and will depend on future
developments with respect to the spread and severity of COVID-19. As a result, the Debtors’ historical
financial performance likely will not be indicative of their financial performance after the Petition Date.

        In addition, if the Debtors emerge from chapter 11, the amounts reported in subsequent
consolidated financial statements may materially change relative to historical consolidated financial
statements, including as a result of revisions to the Debtors’ operating plans pursuant to a plan of
reorganization. The Debtors also may be required to adopt fresh start accounting, in which case their assets
and liabilities will be recorded at fair value as of the fresh start reporting date, which may differ materially
from the recorded values of assets and liabilities on the Debtors’ consolidated balance sheets. The Debtors’
financial results after the application of fresh start accounting also may be different from historical trends.

                         The Reorganized Debtors May Be Adversely Affected by Potential Litigation,
                         Including Litigation Arising Out of the Chapter 11 Cases.

         In the future, the Reorganized Debtors may become party to litigation. Any claims against
the Debtors, whether meritorious or not, could be time-consuming, result in costly litigation, damage
the Debtors’ reputation, require significant amounts of management time and divert significant
resources. If any of these legal proceedings were to be determined adversely to the Debtors, or the Debtors
were to enter into a settlement arrangement, the Debtors could be exposed to monetary damages or limits
on the Debtors’ ability to operate their business, which could have an adverse effect on the Debtors’
business, financial condition and results of operations. It is also possible that certain parties will commence
litigation with respect to the treatment of their Claims or Interests under the Plan. It is not possible to
predict the potential litigation that the Reorganized Debtors may become party to, nor the final resolution
of such litigation. The impact of any such litigation on the Reorganized Debtors’ businesses and financial
stability, however, could be material.

                         The Loss of Key Personnel Could Adversely Affect the Debtors’ Operations.

         The Debtors’ operations are dependent on a relatively small group of key management personnel,
including the Debtors’ executive officers. The Debtors’ recent liquidity issues and the Chapter 11 Cases
have created distractions and uncertainty for key management personnel and employees. Because
competition for experienced personnel in the retail industry can be significant, the Debtors may be unable
to find acceptable replacements with comparable skills and experience and the loss of such key management
personnel could adversely affect the Debtors’ ability to operate their business. In addition, a loss of key
personnel or material erosion of employee morale at the corporate and/or field levels could have a material
adverse effect on the Debtors’ ability to meet customer and counterparty expectations, thereby adversely
affecting the Debtors’ businesses and the results of operations.

XI.     SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on
the Plan, is being distributed to the Holders of Claims and Interests in those Classes that are entitled to vote
to accept or reject the Plan. The procedures and instructions for voting and related deadlines are set forth
in the exhibits annexed to the Disclosure Statement Order [Docket No. 1400].


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         In addition to the materials contained the Solicitation Package, the Debtors are distributing (a) draft
amendments to the MYT Series B Preferred Stock certificate of designation and related documents and
(b) preliminary term sheets for the general terms of the New MyT Documents. Furthermore, the Debtors
have agreed to include two versions of the term sheet setting forth the general terms of the 3L MyT
Distribution, which are separately supported by (a) the Sponsors and (b) Consenting 3L Parties. Open
issues remain with respect to the terms of the 3L MyT Distribution, and the parties intend to negotiate such
terms during the solicitation period. The documents and term sheets described in this paragraph shall be
preliminary and subject to further revision, and all applicable parties reserve their rights thereto in all
respects.

        The Disclosure Statement Order is incorporated herein by reference and should be read in
conjunction with this Disclosure Statement and in formulating a decision to vote to accept or reject
the Plan.

 THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
                DISCLOSURE STATEMENT IS ONLY A SUMMARY.
  PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A
  MORE COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

         A.       Holders of Claims and Interests Entitled to Vote on the Plan.

        Under the provisions of the Bankruptcy Code, not all holders of claims against or interests in a
debtor are entitled to vote on a chapter 11 plan. The table in Article III.C of this Disclosure Statement
provides a summary of the status and voting rights of each Class (and, therefore, of each Holder within such
Class absent an objection to the Holder’s Claim or Interest) under the Plan.

        As shown in the table, the Debtors are soliciting votes to accept or reject the Plan only from Holders
of Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10, and 11 (collectively, the “Voting Classes”). Holders of Claims
in the Voting Classes are Impaired under the Plan and may, in certain circumstances, receive a distribution
under the Plan. Accordingly, Holders of Claims and Interests in the Voting Classes have the right to vote
to accept or reject the Plan.

        The Debtors are not soliciting votes from Holders of Claims and Interests in Classes 1, 2, 12, 13,
and 14. Additionally, the Disclosure Statement Order provides that certain Holders of Claims and Interests
in the Voting Classes, such as those Holders whose Claims and Interests have been disallowed or are subject
to a pending objection, are not entitled to vote to accept or reject the Plan.

         B.       Voting Record Date.

         The Voting Record Date is July 15, 2020. The Voting Record Date is the date on which it will
be determined which Holders of Claims and Interests in the Voting Classes are entitled to vote to accept or
reject the Plan and whether Claims and Interests have been properly assigned or transferred under
Bankruptcy Rule 3001(e) such that an assignee or transferee, as applicable, can vote to accept or reject the
Plan as the Holder of a Claim or Interest.

         C.       Voting on the Plan.

       The Voting Deadline is August 31, 2020, at 4:00 p.m. prevailing Central Time. The Voting
Deadline for any counterparty to an Unexpired Lease which is identified as rejected on a Schedules of
Assumed and Rejected Contracts filed later than one Business Day prior to the Voting Deadline shall be
extended to the date of the Confirmation Hearing. In order to be counted as votes to accept or reject the


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Plan, all Ballots must be properly executed, completed, and delivered (either by using the return envelope
provided, by first class mail, overnight courier, or personal delivery) so that the Ballots are actually
received by the Notice and Claims Agent on or before the Voting Deadline at the following address:

                                        DELIVERY OF BALLOTS

                 NEIMAN MARCUS GROUP LTD LLC BALLOTS PROCESSING
                                   C/O STRETTO
                             410 EXCHANGE, SUITE 100
                            IRVINE, CALIFORNIA 92602


                                                      OR

                            ONLINE PORTAL AT https://balloting.stretto.com/

        PLEASE SELECT JUST ONE OPTION TO SUBMIT YOUR VOTE:
 EITHER RETURN A PROPERLY EXECUTED PAPER BALLOT WITH YOUR VOTE

                                                      OR

             VOTE ELECTRONICALLY THROUGH THE CUSTOMIZED,
          ONLINE BALLOTING PORTAL ON THE DEBTORS’ CASE WEBSITE
                   MAINTAINED BY STRETTO (“E-BALLOT”)

   Holders of claims or interests who cast a ballot via e-ballot should NOT also submit a
                                       paper ballot.

     E-BALLOT SHALL BE THE EXCLUSIVE MEANS OF VOTING
ELECTRONICALLY. STRETTO SHALL NOT ACCEPT VOTES SUBMITTED VIA E-
MAIL, FACSIMILE, OR ANY ELECTRONIC METHODS OTHER THAN E-BALLOT;
PROVIDED THAT STRETTO SHALL ACCEPT MASTER BALLOTS FROM
NOMINEES SUBMITTED VIA E-MAIL TO STRETTO.

     IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING
PROCESS, PLEASE CONTACT THE STRETTO TOLL FREE AT 877-670-2127 (TOLL
FREE) OR 949-504-4475 (INTERNATIONAL). ANY BALLOT RECEIVED AFTER THE
VOTING DEADLINE OR OTHERWISE NOT IN COMPLIANCE WITH THE
DISCLOSURE STATEMENT ORDER WILL NOT BE COUNTED EXCEPT AS
OTHERWISE PROVIDED FOR IN THE SOLICITATION PROCEDURES OR IN THE
SOLE AND ABSOLUTE DISCRETION OF THE DEBTORS.

         D.      Ballots Not Counted.

         No ballot will be counted toward Confirmation if, among other things: (i) it is illegible or
contains insufficient information to permit the identification of the Holder of the Claim; (ii) it was
transmitted by facsimile or other electronic means (other than the E-Ballot Portal); (iii) it was cast by an
entity that is not entitled to vote on the Plan; (iv) it was cast for a Claim listed in the Debtors’ schedules as
contingent, unliquidated or disputed for which the applicable Claims Bar Date has passed and no proof of



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claim was timely filed; (v) it was cast for a Claim that is subject to an objection pending as of the Voting
Record Date (unless temporarily allowed in accordance with the Disclosure Statement Order and the
solicitation procedures); (vi) it was sent to the Debtors, the Debtors’ agents/representatives (other than
the Notice and Claims Agent), an administrative agent (except as otherwise permitted by the Disclosure
Statement Order), or the Debtors’ financial or legal advisors instead of the Notice and Claims Agent; (vii) it
lacks an original signature, with the understanding that the voting party’s electronic signature through e-
ballot will be deemed an original signature; or (viii) it is not clearly marked to either accept or reject the
Plan or it is marked both to accept and reject the Plan. Please refer to the Disclosure Statement Order
for additional requirements with respect to voting to accept or reject the Plan.

          E.    Certain Voting Matters

        It has recently come to the attention of the Debtors and the Second Lien Notes Trustee that the
outstanding principal amount of the Second Lien Notes shown on DTC’s books includes PIK interest of
approximately $16,852,000 (the “PIK Amount”) that was due on April 15, 2020. However, PIK interest
was not in fact capitalized because, on that date, as the Debtors did not authorize or issue the PIK interest
(nor did they pay the cash interest due and payable on that date). Thus, the outstanding principal balance
of the Second Lien Notes on DTC’s records on and after April 15, 2020 should be reduced by the PIK
Amount.

         Accordingly, the outstanding principal amount of the Second Lien Notes as of the Petition Date
on DTC’s records should be $561,733,333 (not $578,585,309), with the PIK Amount showing as accrued
but unpaid interest thereon. The Debtors or the Second Lien Notes Trustee may seek a court order in
connection with Confirmation that will rectify the DTC records to reflect the correct outstanding principal
amount of the Second Lien Notes as of the Petition Date ($561,733,333) for purposes of the Debtors
making distributions to Holders of Second Lien Notes Claims under the Plan. The Debtors’ use of the the
principal amount currently stated on DTC’s books ($578,585,309) for voting purposes is not expected to
affect acceptance or rejection of the Plan by Class 8. However, such use shall not ratify the use of such
amount for any other purpose in the Chapter 11 Cases.


XII.     CONFIRMATION OF THE PLAN

          A.    Confirmation Hearing.

        The Court has scheduled the Confirmation Hearing for September 4, 2020 at 9:00 a.m. (prevailing
Central Time). The Confirmation Hearing may be adjourned from time to time without further notice.

         Objections to Confirmation of the Plan must be filed and served on the Debtors, and certain other
parties, by no later than August 31, 2020, at 4:00 p.m. (prevailing Central Time) in accordance with the
notice of the Confirmation Hearing that accompanies this Disclosure Statement and the Disclosure
Statement Order attached hereto as Exhibit B and incorporated herein by reference.

         The Debtors will publish the notice of the Confirmation Hearing, which will contain the deadline
for objections to the Plan and the date and time of the Confirmation Hearing, in New York Times (national
edition) and Dallas Morning News, to provide notification to those persons who may not receive notice by
mail. The Debtors may also publish the notice of the Confirmation Hearing in such trade or other
publications as the Debtors may choose.




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         B.      Requirements for Confirmation of the Plan.

         Among the requirements for Confirmation of the Plan pursuant to section 1129 of the Bankruptcy
Code are: (1) the Plan is accepted by all Impaired Classes of Claims or Interests, or if rejected by an
Impaired Class, the Plan “does not discriminate unfairly” and is “fair and equitable” as to the rejecting
Impaired Class; (2) the Plan is feasible; and (3) the Plan is in the “best interests” of holders of Claims and
Interests.

         At the Confirmation Hearing, the Court will determine whether the Plan satisfies all of the
requirements of section 1129 of the Bankruptcy Code. The Debtors believe that: (1) the Plan satisfies, or
will satisfy, all of the necessary statutory requirements of chapter 11; (2) the Debtors have complied, or
will have complied, with all of the necessary requirements of chapter 11; and (3) the Plan has been proposed
in good faith.

         C.      Best Interests of Creditors/Liquidation Analysis.

        Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a
bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each
impaired class, that each holder of a claim or an equity interest in such impaired class either (1) has accepted
the plan or (2) will receive or retain under the plan property of a value that is not less than the amount that
the non-accepting holder would receive or retain if the debtors liquidated under chapter 7.

         Attached hereto as Exhibit E and incorporated herein by reference is a liquidation analysis
(the “Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’ advisors. As
reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors businesses under
chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be realized by
Holders of Claims and Interests as compared to distributions contemplated under the Plan. Consequently,
the Debtors and their management believe that Confirmation of the Plan will provide a substantially greater
return to Holders of Claims and Interests than would a liquidation under chapter 7 of the Bankruptcy Code.

         If the Plan is not confirmed, and the Debtors fail to propose and confirm an alternative plan of
reorganization, the Debtors’ businesses may be liquidated pursuant to the provisions of a chapter 11
liquidating plan. In liquidations under chapter 11, the Debtors’ assets could be sold in an orderly fashion
over a more extended period of time than in a liquidation under chapter 7. Thus, a chapter 11 liquidation
may result in larger recoveries than a chapter 7 liquidation, but the delay in distributions could result in
lower present values received and higher administrative costs. Any distribution to Holders of Claims and
Interests under a chapter 11 liquidation plan would most likely be substantially delayed. Most importantly,
the Debtors believe that any distributions to creditors in a chapter 11 liquidation scenario would fail to
capture the significant going concern value of their businesses. Accordingly, the Debtors believe that a
chapter 11 liquidation would not result in distributions as favorable as those under the Plan.

         D.      Feasibility.

          Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of reorganization
is not likely to be followed by the liquidation, or the need for further financial reorganization of the debtor,
or any successor to the debtor (unless such liquidation or reorganization is proposed in such plan of
reorganization).

         To determine whether the Plan meets this feasibility requirement, the Debtors have analyzed their
ability to meet their respective obligations under the Plan. As part of this analysis, the Debtors have
prepared their Financial Projections. Creditors and other interested parties should review Article X of this



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Disclosure Statement entitled “Risk Factors” for a discussion of certain factors that may affect the future
financial performance of the Reorganized Debtors.

        The Financial Projections are attached hereto as Exhibit C and incorporated herein by reference.
Based upon the Financial Projections, the Debtors believe the Plan will meet the feasibility requirements
of the Bankruptcy Code.

           E.       Acceptance by Impaired Classes.

         The Bankruptcy Code requires, as a condition to confirmation, except as described in the following
section, that each class of claims or equity interests impaired under a plan, accept the plan. A class that is
not “impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of acceptances
                                             15
with respect to such a class is not required.

        Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired claims
as acceptance by holders of at least two-thirds in a dollar amount and more than one-half in a number of
allowed claims in that class, counting only those claims that have actually voted to accept or to reject the
plan. Thus, a class of claims will have voted to accept the plan only if two-thirds in amount and a majority
in number actually cast their ballots in favor of acceptance.

         Section 1126(d) of the Bankruptcy Code provides that a class of impaired interests has accepted a
plan if the holders of at least two-third’s in amount of the allowed interests of such class have voted to
accept the plan.

        Pursuant to Article III of the Plan, if a Class contains Claims or Interests eligible to vote and no
holders of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the holders of
such Claims or Interests in such Class shall be deemed to have accepted the Plan.

           F.       No Unfair Discrimination.

        The “unfair discrimination” test applies to classes of claims or interests that are of equal priority
and are receiving different treatment under a plan. The test does not require that the treatment be the same
or equivalent, but that treatment be “fair.” In general, bankruptcy courts consider whether a plan
discriminates unfairly in its treatment of classes of claims or interests of equal rank (e.g., classes of the
same legal character). Bankruptcy courts will take into account a number of factors in determining whether
a plan discriminates unfairly. A plan could treat two classes of unsecured creditors differently without
unfairly discriminating against either class.

           G.       Fair and Equitable Test.

        The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100 percent of
the amount of the allowed claims in the class. As to the dissenting class, the test sets different standards
depending upon the type of claims or equity interests in the class. The Debtors submit that if the Debtors
were to “cramdown” the Plan pursuant to section 1129(b) of the Bankruptcy Code, the Plan is structured so

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     A class of claims is “impaired” within the meaning of section 1124 of the Bankruptcy Code unless the plan (a) leaves unaltered
     the legal, equitable and contractual rights to which the claim or equity interest entitles the Holder of such claim or equity
     interest or (b) cures any default, reinstates the original terms of such obligation, compensates the Holder for certain damages
     or losses, as applicable, and does not otherwise alter the legal, equitable, or contractual rights to which such claim or equity
     interest entitles the Holder of such claim or equity interest.




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that it would not “discriminate unfairly” and would satisfy the “fair and equitable” requirement. With
respect to the unfair discrimination requirement, all Classes under the Plan are provided treatment that is
substantially equivalent to the treatment that is provided to other Classes that have equal rank. With respect
to the fair and equitable requirement, no Class under the Plan will receive more than 100 percent of the
amount of Allowed Claims in that Class. The Debtors believe that the Plan and the treatment of all Classes
of Claims or Interests under the Plan satisfy the foregoing requirements for nonconsensual Confirmation of
the Plan.

         H.      Valuation of the Debtors.

         In conjunction with formulating the Plan and satisfying their obligations under section 1129 of the
Bankruptcy Code, the Debtors determined that it was necessary to estimate the post-Confirmation going
concern value of the Debtors. Accordingly, the Debtors, with the assistance of their advisors, produced the
valuation analysis that is set forth in Exhibit D attached hereto and incorporated herein by reference
(the “Valuation Analysis”). As set forth in the Valuation Analysis, the Debtors’ going-concern value
recoveries to creditors under the Plan are substantially higher than the recoveries such creditors would
receive in a hypothetical liquidation of the Debtors’ enterprise under chapter 7 of the Bankruptcy Code, as
illustrated in the Liquidation Analysis. Accordingly, the Valuation Analysis further supports the Debtors’
conclusion that the treatment of Classes under the Plan is fair and equitable and otherwise satisfies the
Bankruptcy Code’s requirements for confirmation.

XIII.   CERTAIN SECURITIES LAW MATTERS

         A.      Plan Securities.

        The Plan provides for Reorganized Neiman and certain of its non-Debtor affiliates to distribute,
among other things, the Plan Securities, to certain Holders of Allowed Claims. The Debtors believe that
the Plan Securities will be “securities,” as defined in Section 2(a)(1) of the Securities Act, Section 101 of
the Bankruptcy Code, and all applicable state securities laws.

         B.      Issuance and Resale of Securities Under the Plan.

                          Exemptions from Registration Requirements of the Securities Act and
                          Applicable State Securities Laws.

         Section 1145(a)(1) of the Bankruptcy Code exempts the offer or sale of securities under a plan of
reorganization from registration under Section 5 of the Securities Act and state laws if three principal
requirements are satisfied: (a) the securities must be issued “under a plan” of reorganization by the debtor
or its successor under a plan or by an affiliate participating in a joint plan of reorganization with the debtor;
(b) the recipients of the securities must hold a claim against, an interest in, or a claim for administrative
expenses in the case concerning the debtor or such affiliate; and (c) the securities must be issued in exchange
for the recipient’s claim against or interest in the debtor or such affiliate, or “principally” in such exchange
and “partly” for cash or property. In reliance upon these exemptions, and/or section 4(a)(2) under the
Securities Act, the Debtors believe that the offer, issuance and distribution under the Plan of (i) the New
Equity to the Holders of Allowed Claims entitled to receive the New Equity under Article II and Article III
of the Plan and the participants in the Management Incentive Plan, if any, (ii) the New Warrants to the
Holders of Allowed Claims entitled to receive the New Warrants under Article III of the Plan, and (iii) the
2L MyT Distribution, 3L MyT Distribution and the distribution of Series B Preferred Stock following the
filing of the Chapter 11 Cases may be made without registration under the Securities Act or any applicable
state securities laws.




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         To the extent that the offer, issuance and distribution of the Plan Securities to the Holders of
Allowed Claims following the filing of the Chapter 11 Cases is covered by section 1145 of the Bankruptcy
Code, subject to compliance with the New Organizational Documents, the New Warrant Agreement and
the New MyT Documents, such Plan Securities may be resold without registration under the Securities Act
or other federal securities laws, unless such holder is an “underwriter” (as discussed below) with respect to
such securities, as that term is defined in section 1145(b)(1) of the Bankruptcy Code. In addition, any Plan
Securities governed by section 1145 of the Bankruptcy Code generally may be able to be resold without
registration under applicable state securities laws pursuant to various exemptions provided by the applicable
states; however, the availability of such exemptions cannot be known unless applicable individual state
securities laws are examined.

        Recipients of the Plan Securities are advised to consult with their own legal advisors as to the
availability of any exemption from registration under the Bankruptcy Code, the Securities Act and any
applicable state securities laws.

                         Resale of Certain Plan Securities; Definition of Underwriter.

         Section 1145(b)(1) of the Bankruptcy Code defines an “underwriter” as one who, except with
respect to “ordinary trading transactions” of an entity that is not an “issuer”: (a) purchases a claim against,
interest in, or claim for an administrative expense in the case concerning, the debtor, if such purchase is
with a view to distribution of any security received or to be received in exchange for such claim or interest;
(b) offers to sell securities offered or sold under a plan for the Holders of such securities; (c) offers to buy
securities offered or sold under a plan from the Holders of such securities, if such offer to buy is (i) with a
view to distribution of such securities and (ii) under an agreement made in connection with the plan, with
the consummation of the plan, or with the offer or sale of securities under the plan; or (d) is an issuer of the
securities within the meaning of section 2(a)(11) of the Securities Act. In addition, a person who receives
a fee in exchange for purchasing an issuer’s securities could also be considered an underwriter within the
meaning of section 2(a)(11) of the Securities Act.

         The definition of an “issuer” for purposes of whether a person is an underwriter under section
1145(b)(1)(D) of the Bankruptcy Code, by reference to section 2(a)(11) of the Securities Act, includes as
“statutory underwriters” all persons who, directly or indirectly, through one or more intermediaries, control,
are controlled by, or are under common control with, an issuer of securities. The reference to “issuer,” as
used in the definition of “underwriter” contained in section 2(a)(11) of the Securities Act, is intended to
cover “Controlling Persons” of the issuer of the securities. “Control,” as defined in Rule 405 of the
Securities Act, means the possession, directly or indirectly, of the power to direct or cause the direction of
the management and policies of a person, whether through the ownership of voting securities, by contract,
or otherwise. Accordingly, an officer or director of a reorganized debtor or its successor under a plan of
reorganization may be deemed to be a “Controlling Person” of the debtor or successor, particularly if the
management position or directorship is coupled with ownership of a significant percentage of the
reorganized debtor’s or its successor’s voting securities. In addition, the legislative history of section 1145
of the Bankruptcy Code suggests that a creditor who owns ten percent (10%) or more of a class of securities
of a reorganized debtor may be presumed to be a “Controlling Person” and, therefore, an underwriter.

        Resales of the Plan Securities by Entities deemed to be “underwriters” (which definition includes
“Controlling Persons”) are not exempted by section 1145 of the Bankruptcy Code from registration under
the Securities Act or other applicable law. Under certain circumstances, holders of such Plan Securities
who are deemed to be “underwriters” may be entitled to resell their Plan Securities pursuant to the limited
safe harbor resale provisions of Rule 144 of the Securities Act. Generally, Rule 144 of the Securities Act
would permit the public sale of securities received by such person if the required holding period has been




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met and if current information regarding the issuer is publicly available and volume limitations, manner of
sale requirements and certain other conditions are met.

         Whether any particular person would be deemed to be an “underwriter” (including whether the
person is a “Controlling Person”) with respect to such Plan Securities would depend upon various facts and
circumstances applicable to that person. Accordingly, the Debtors express no view as to whether any person
would be deemed an “underwriter” with respect to the Plan Securities issued to the Holders of Allowed
Claims entitled to receive the Plan Securities under the Plan, and, in turn, whether any person may freely
resell such Plan Securities. The Debtors recommend that potential recipients of Plan Securities consult
their own counsel concerning their ability to freely trade such securities under applicable federal securities
law and state securities laws.

                         Resale of Plan Securities Issued Pursuant to Section 4(a)(2) Under the
                         Securities Act.

         Any Plan Securities distributed pursuant to section 4(a)(2) under the Securities Act will be offered,
issued and distributed without registration under the Securities Act and applicable state securities laws and
in reliance upon the exemption set forth therein. Such issuances will not be exempt under section 1145 of
the Bankruptcy Code because those securities are not being issued in exchange for an existing Claim against
the Debtors. Therefore, such Plan Securities issued pursuant to section 4(a)(2) under the Securities Act will
be considered “restricted securities” as defined by Rule 144 of the Securities Act and may not be resold
under the Securities Act and applicable state securities laws absent an effective registration statement, or
pursuant to an applicable exemption from registration, under the Securities Act and pursuant to applicable
state securities laws. Generally, Rule 144 of the Securities Act would permit the public sale of securities
received by such person after a specified holding period if current information regarding the issuer is
publicly available and certain other conditions are met, and, if such seller is an affiliate of the issuer, if
volume limitations and manner of sale requirements are met. The Debtors express no view as to whether
any person may freely resell the Plan Securities issued pursuant to section 4(a)(2) under the Securities Act.
The Debtors recommend that potential recipients of the Plan Securities issued pursuant to section 4(a)(2)
under the Securities Act consult their own counsel concerning their ability to freely trade such securities
without registration under the federal securities laws and applicable state securities laws.

      IN VIEW OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION OF WHETHER
A RECIPIENT OF SECURITIES MAY BE AN UNDERWRITER OR AN AFFILIATE OF THE
REORGANIZED DEBTORS, THE DEBTORS MAKE NO REPRESENTATIONS CONCERNING THE
RIGHT OF ANY PERSON TO TRADE IN SECURITIES TO BE DISTRIBUTED PURSUANT TO THE
PLAN. ACCORDINGLY, THE DEBTORS RECOMMEND THAT POTENTIAL RECIPIENTS OF




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SECURITIES CONSULT THEIR OWN COUNSEL CONCERNING WHETHER THEY MAY FREELY
TRADE SUCH SECURITIES.

XIV.    CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE
        PLAN

         A.     Introduction.The following discussion is a summary of certain U.S. federal income tax
                 consequences of the consummation of the Plan to the Debtors, Reorganized Neiman, and
                 to certain Holders. The following summary does not address the U.S. federal income tax
                 consequences to Holders not entitled to vote to accept or reject the Plan. This summary
                 is based on the U.S. Internal Revenue Code of 1986, as amended (“IRC”), the U.S.
                 Treasury Regulations promulgated thereunder (the “Treasury Regulations”), judicial
                 authorities, published administrative positions of the U.S. Internal Revenue Service (the
                 “IRS”), and other applicable authorities (collectively, “Applicable Tax Law”), all as in
                 effect on the date of this Disclosure Statement and all of which are subject to change or
                 differing interpretations, possibly with retroactive effect. Due to the lack of definitive
                 judicial and administrative authority in a number of areas, substantial uncertainty may
                 exist with respect to some of the tax consequences described below. No opinion of
                 counsel has been obtained and the Debtors do not intend to seek a ruling from the IRS as
                 to any of the tax consequences of the Plan discussed below. The discussion below is not
                 binding upon the IRS or the courts. No assurance can be given that the IRS would not
                 assert, or that a court would not sustain, a different position than any position discussed
                 herein.

         This discussion does not purport to address all aspects of U.S. federal income taxation that may be
relevant to certain Holders in light of their individual circumstances. This discussion does not address tax
issues with respect to such Holders subject to special treatment under the U.S. federal income tax laws
(including, for example, banks, governmental authorities or agencies, pass-through entities, beneficial
owners of pass-through entities, subchapter S corporations, dealers and traders in securities, insurance
companies, financial institutions, tax-exempt organizations, controlled foreign corporations, passive
foreign investment companies, U.S. Holders (as defined below) whose functional currency is not the U.S.
dollar, small business investment companies, Persons who are related to the Debtors within the meaning of
the IRC, Persons using a mark-to-market method of accounting, Holders who are themselves in bankruptcy,
real estate investment companies and regulated investment companies and those holding, or who will hold,
consideration received pursuant to the Plan as part of a hedge, straddle, conversion, or other integrated
transaction). No aspect of state, local, estate, gift, or non-U.S. taxation is addressed. Furthermore, this
summary assumes that a Holder holds only Claims in a single Class and holds Claims as “capital assets”
(within the meaning of section 1221 of the IRC). This summary also assumes that the various debt and
other arrangements to which the Debtors and Reorganized Neiman are or will be a party will be respected
for U.S. federal income tax purposes in accordance with their form, and, to the extent relevant, that the
Claims constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the IRC. This
summary does not discuss differences in tax consequences to Holders that act or receive consideration in a
capacity other than any other Holder of a Claim of the same Class or Classes, and the tax consequences for
such Holders may differ materially from that described below. This summary does not address the U.S.
federal income tax consequences to Holders (a) whose Claims are Unimpaired or otherwise entitled to
payment in full in Cash under the Plan, or (b) that are deemed to reject the Plan.

        For purposes of this discussion, a “U.S. Holder” is a Holder that for U.S. federal income tax
purposes is: (1) an individual who is a citizen or resident of the United States; (2) a corporation created or
organized under the laws of the United States, any state thereof or the District of Columbia; (3) an estate
the income of which is subject to U.S. federal income taxation regardless of the source of such income; or


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(4) a trust (a) if a court within the United States is able to exercise primary jurisdiction over the trust’s
administration and one or more United States persons (within the meaning of section 7701(a)(30) of the
IRC) has authority to control all substantial decisions of the trust or (b) that has a valid election in effect
under applicable Treasury Regulations to be treated as a United States person (within the meaning of section
7701(a)(30) of the IRC). For purposes of this discussion, a “Non-U.S. Holder” is any Holder that is not a
U.S. Holder other than any partnership (or other entity treated as a partnership or other pass-through entity
for U.S. federal income tax purposes).

        If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal
income tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner) generally will
depend upon the status of the partner (or other beneficial owner) and the activities of the partner (or other
beneficial owner) and the entity. Partnerships (or other pass-through entities) and partners (or other
beneficial owners) of partnerships (or other pass-through entities) that are Holders are urged to consult their
own respective tax advisors regarding the U.S. federal income tax consequences of the Plan.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE
INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER. ALL HOLDERS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE U.S. FEDERAL, STATE,
LOCAL, AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.

         B.      Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors and
                  Reorganized Neiman.

                         Characterization of the Restructuring Transactions.

         The Restructuring Transactions are expected to be structured as a recapitalization of Reorganized
Neiman (which is expected to be NMG LTD LLC) pursuant to which the New Equity (which is expected
to constitute all of the stock of Reorganized Neiman), together with the other consideration distributed
pursuant to the Plan, is issued to the applicable Holders in exchange for their applicable Claims and the
Existing Equity Interests are cancelled, released, and extinguished without any distribution or other
consideration on account thereof. Accordingly, because Reorganized Neiman and certain of the other
Debtors are members of a consolidated group for U.S. federal income tax purposes the common parent of
which is a non-Debtor entity, the issuance of the New Equity (and cancellation of the Existing Equity
Interests) pursuant to the Plan is expected to cause Reorganized Neiman and its subsidiaries to cease to be
members of such consolidated group and therefore cause certain members of such consolidated group
(including certain of the Debtors) to recognize certain taxable deferred intercompany gains for U.S. federal
(and applicable state and local) income tax purposes. However, as a result of such transactions, Holdings,
as the Debtor parent of Reorganized Neiman, is expected take a worthless stock deduction with respect to
its tax basis in the Existing Equity Interests. The deferred intercompany gain recognized by the Debtors in
connection with the Restructuring Transactions is expected to be fully offset by such worthless stock
deduction and is therefore not expected to result in a cash tax payment obligation for the Debtors. As a
result of such worthless stock deduction, Reorganized Neiman’s carryforward of 163(j) Deductions (as
defined below) is expected to be reduced in accordance with applicable Treasury Regulations.

                         Cancellation of Debt and Reduction of Tax Attributes.

       In general, absent an exception, a taxpayer will realize and recognize cancellation of indebtedness
income (“COD Income”) upon satisfaction of its outstanding indebtedness for total consideration less than
the amount of such indebtedness. The amount of COD Income, in general, is the excess of (a) the “adjusted


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issue price” (within the meaning of the Treasury Regulations) of the indebtedness satisfied, over (b) the
sum of (i) the issue price of new debt instruments, (ii) the fair market value of other non-cash consideration
(including stock of the taxpayer or a party related to the taxpayer), and (iii) the amount of cash, in each
case, given in satisfaction of such indebtedness at the time of the exchange.

         A taxpayer will not, however, be required to include COD Income in gross income pursuant to
section 108 of the IRC if the taxpayer is under the jurisdiction of a court in a case under chapter 11 of the
Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding. Instead, as a consequence
of such exclusion, a taxpayer must reduce its net operating losses and certain other tax attributes
(collectively, “Tax Attributes”) and aggregate tax basis in assets (including the stock of subsidiaries) by the
amount of COD Income that it excluded from gross income pursuant to section 108 of the IRC. Such
reduction in Tax Attributes and aggregate tax basis occurs only after the tax for the year of the debt
discharge has been determined. In general, Tax Attributes and aggregate tax basis will be reduced in the
following order: (a) net operating losses (“NOLs”) and NOL carryforwards; (b) general business credit
carryovers; (c) minimum tax credit carryovers; (d) capital loss carryovers; (e) tax basis in assets, which
includes the stock of subsidiaries (but not below the amount of liabilities to which the debtor remains subject
immediately after the discharge); (f) passive activity loss and credit carryovers; and (g) foreign tax credits
carryovers. Alternatively, a debtor with COD Income may elect first to reduce the basis of its depreciable
assets pursuant to section 108(b)(5) of the IRC. In the absence of contrary guidance, it appears to be the
case that interest expense deductions allowable under section 163(j) of the Code (and carryforwards of any
such deductions) (“163(j) Deductions”) are not subject to reduction under these rules. Any excess COD
Income over the amount of available items described in clauses (a) through (g), above, will generally not
give rise to U.S. federal income tax and will generally have no other U.S. federal income tax impact. Where
the taxpayer joins in the filing of a consolidated U.S. federal income tax return, applicable Treasury
Regulations require, in certain circumstances, that certain tax attributes of other members of the group also
be reduced.

        The Debtors are expected to realize COD Income in connection with the Restructuring
Transactions, with an attendant reduction in Tax Attributes (but in the case of tax basis where no election
is made to reduce the basis of depreciable assets as described above, only to the extent such tax basis
exceeds the amount of the Debtors’ liabilities, as determined for these purposes, immediately after the
Effective Date). The exact amount of any COD Income that will be realized by the Debtors will not be
determinable until the consummation of the Plan because the amount of COD Income will depend, in part,
on the issue price of new debt instruments and the value of non-cash consideration (including the New
Equity), neither of which can be determined until after the Plan is consummated.

                              Limitation on NOLs, 163(j) Deductions, and Other Tax Attributes.

         After giving effect to the reduction in Tax Attributes and aggregate tax basis pursuant to excluded
COD Income and the worthless stock deduction (as described above), the ability of Reorganized Neiman
and its subsidiaries to use any remaining Tax Attributes post-emergence will be subject to certain limitations
under sections 382 and 383 of the IRC.16

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     The IRS issued proposed regulations in September 2019, that would revoke IRS Notice 2003-65 and make substantial changes
     to the way limitations under section 382 of the IRC are calculated. The changes would decrease the limitation set forth in
     section 382 of the IRC in most cases and potentially cause entities that would have had a net unrealized built-in gain under
     Notice 2003-65 to instead have a net unrealized built-in loss, which would result in additional limitations on the ability to
     deduct Pre-Change Losses. Additionally, the IRS issued further proposed regulations in January 2020, that would provide
     certain transition relief for the application of any finalized regulation. Under such transition relief, any finalized regulations
     would apply only to ownership changes occurring 31 days after the regulations are finalized and certain specified and
     identifiable transactions would be subject to a “grandfathering” rule that allows for application of the prior IRS Notice 2003-
     65 rules. Additionally, the “grandfathering” rule would also apply as long as a company files its chapter 11 case on or before


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         Under sections 382 and 383 of the IRC, if the Debtors undergo an “ownership change” as defined
under section 382 of the IRC, the amount of any remaining NOL carryforwards, tax credit carryforwards,
163(j) Deductions, and possibly certain other attributes (potentially including losses and deductions that
have accrued economically but are unrecognized as of the date of the ownership change and cost recovery
deductions) of the Debtors allocable to periods prior to the Effective Date (collectively, “Pre-Change
Losses”) that may be utilized to offset future taxable income generally are subject to an annual limitation.
For this purpose, if a corporation (or consolidated group) has a net unrealized built-in loss at the time of an
ownership change (taking into account most assets and items of “built-in” income and deductions), then
generally built-in losses (including amortization or depreciation deductions attributable to such built-in
losses) recognized during the following five years (up to the amount of the original net unrealized built-in
loss) will be treated as Pre-Change Losses and similarly will be subject to the annual limitation. In general,
a corporation’s (or consolidated group’s) net unrealized built-in loss will be deemed to be zero unless it is
greater than the lesser of (a) $10,000,000 or (b) 15 percent of the fair market value of its assets (with certain
adjustments) before the ownership change.

         The rules of section 382 of the IRC are complicated, but an ownership change is expected to occur
as a result of the Restructuring Transactions. If such an ownership change occurs, the ability of Reorganized
Neiman and its subsidiaries to use the Pre-Change Losses will be subject to limitation unless an exception
to the general rules of section 382 of the IRC applies.

                             (a)       General Section 382 Annual Limitation.

         In general, the amount of the annual limitation to which a corporation that undergoes an “ownership
change” would be subject is equal to the product of (a) the fair market value of the stock of the corporation
(or parent of the consolidated group) immediately before the “ownership change” (with certain
adjustments), and (b) the “long-term tax-exempt rate” (which is the highest of the adjusted federal long-
term rates in effect for any month in the 3-calendar-month period ending with the calendar month in which
the ownership change occurs, currently 1.09 percent for June 2020). Under certain circumstances, the
annual limitation may be increased to the extent that the corporation (or parent of the consolidated group)
has an overall built-in gain in its assets at the time of the ownership change. If the corporation or
consolidated group has such “net unrealized built-in gain” at the time of an ownership change (taking into
account most assets and items of “built-in” income, gain, loss, and deduction), any built-in gains recognized
(or, according to the currently effective IRS Notice 2003-65, treated as recognized) during the following
five year period (up to the amount of the original net unrealized built-in gain) generally will increase the
annual limitation in the year of such recognition, such that the loss corporation or consolidated group would
be permitted to use its pre-change losses against such built-in gain income in addition to its otherwise
applicable annual limitation. Section 383 of the IRC applies a similar limitation to capital loss
carryforwards and tax credits. Any unused limitation may be carried forward, thereby increasing the annual
limitation in the subsequent taxable year. If the corporation or consolidated group does not continue its
historic business or use a significant portion of its historic assets in a new business for at least two years
after the ownership change, the annual limitation resulting from the ownership change is reduced to zero,
thereby precluding any utilization of the corporation’s pre-change losses (absent any increases due to
recognized built-in gains). As discussed below, however, special rules may apply in the case of a
corporation that experiences an ownership change as the result of a bankruptcy proceeding.




    the day that is 31 days following the issuance of final regulations, even where the applicable ownership change occurs more
    than 31 days after finalization of the regulations. Because the Debtors have already filed their chapter 11 cases any such
    finalized regulations would not be applicable and, accordingly, the remainder of this discussion assumes that IRS Notice 2003-
    65 will apply to the Reorganized Debtors.




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                         (b)      Special Bankruptcy Exceptions.

         Special rules may apply in the case of a corporation that experiences an “ownership change” as a
result of a bankruptcy proceeding. An exception to the foregoing annual limitation rules generally applies
when so-called “qualified creditors” of a debtor corporation in chapter 11 receive, in respect of their Claims,
at least 50 percent of the vote and value of the stock of the debtor corporation (or a controlling corporation
if also in chapter 11) as reorganized pursuant to a confirmed chapter 11 plan (the “382(l)(5) Exception”).
If the requirements of the 382(l)(5) Exception are satisfied, a debtor’s Pre-Change Losses would not be
limited on an annual basis, but, instead, NOL carryforwards would be reduced by the amount of any interest
deductions claimed by the debtor during the three taxable years preceding the effective date of the plan of
reorganization and during the part of the taxable year prior to and including the effective date of the plan
of reorganization in respect of all debt converted into stock pursuant to the reorganization. If the 382(l)(5)
Exception applies and Reorganized Neiman undergo another “ownership change” within two years after
the Effective Date, then Reorganized Neiman’s Pre-Change Losses thereafter would be effectively
eliminated in their entirety.

         Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because the
debtor corporation does not qualify for it or the debtor corporation otherwise elects not to utilize
the 382(l)(5) Exception), another exception will generally apply (the “382(l)(6) Exception”). Under
the 382(l)(6) Exception, the annual limitation will be calculated by reference to the lesser of (a) the value
of the debtor corporation’s new stock (with certain adjustments) immediately after the ownership change
or (b) the value of such debtor corporation’s assets (determined without regard to liabilities) immediately
before the ownership change. This differs from the ordinary rule that requires the fair market value of a
debtor corporation that undergoes an “ownership change” to be determined before the events giving rise to
the change. The 382(l)(6) Exception also differs from the 382(l)(5) Exception in that, under it, a debtor
corporation is not required to reduce its NOL carryforwards by the amount of interest deductions claimed
within the prior three-year period (and during the part of the taxable year prior to and including the effective
date of the plan of reorganization), and a debtor corporation may undergo a change of ownership within
two years without automatically triggering the elimination of its Pre-Change Losses. The resulting
limitation would be determined under the regular rules for ownership changes.

        The Debtors have not determined whether the 382(l)(5) Exception will be available or, if it is
available, whether Reorganized Neiman will elect out of its application. However, Reorganized Neiman
and its subsidiaries do not expect to have significant NOL carryforwards after the completion of the
Restructuring Transactions.

         C.      Certain U.S. Federal Income Tax Consequences of the Plan to U.S. Holders of
                  Allowed Claims Entitled to Vote.

        The following discussion assumes that the Debtors will undertake the Restructuring Transactions
currently contemplated by the Plan. U.S. Holders are urged to consult their own tax advisors regarding the
tax consequences of the Restructuring Transactions.

                         Consequences to Holders of Class 5, Class 6, Class 7, Class 8, and Class 9
                         Claims.

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release, and discharge
of their Claims, (a) each U.S. Holder of an Allowed 2019 Term Loans Secured Claim, an Allowed 2013
Term Loans Secured Claim, or an Allowed 2028 Debentures Secured Claim shall receive its Pro Rata share
of the New Equity and the Exit Rights (b) each U.S. Holder of an Allowed Second Lien Notes Secured
Claim shall receive its Pro Rata share of the New Equity, the Exit Rights, the New Warrants, and the 2L



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MyT Distribution, and (c) each U.S. Holder of an Allowed Third Lien Notes Secured Claim shall receive
its Pro Rata share of the New Equity, the Exit Rights, the New Warrants, and the 3L MyT Distribution.

         The U.S. federal income tax consequences to a U.S. Holder of a Claim will depend, in part, on
whether the Claim surrendered constitutes a “security” of Reorganized Neiman for U.S. federal income tax
purposes. Neither the IRC nor the Treasury Regulations promulgated thereunder define the term “security.”
Whether a debt instrument constitutes a “security” is determined based on all relevant facts and
circumstances, but most authorities have held that the length of the term of a debt instrument at initial
issuance is an important factor in determining whether such instrument is a security for U.S. federal income
tax purposes. These authorities have indicated that a term of less than five years is evidence that the
instrument is not a security, whereas a term of ten years or more is evidence that the instrument is a security.
There are numerous other factors that could be taken into account in determining whether a debt instrument
is a security, including the security for payment, the creditworthiness of the obligor, the subordination or
lack thereof with respect to other creditors, the right to vote or otherwise participate in the management of
the obligor, the convertibility of the instrument into an equity interest of the obligor, whether payments of
interest are fixed, variable, or contingent, and whether such payments are made on a current basis or
accrued. As a general matter, unsecured trade claims entered into or incurred in the ordinary course of
business do not constitute “securities.” The stated maturity of the Allowed 2013 Term Loans Secured
Claims is seven years and due to prior restructuring transactions, the term to maturity of such Claims for
U.S. federal income tax purposes is expected to be treated as no less than six and a half years. Similarly,
the Allowed 2019 Term Loans Secured Claims were issued as part of a modification of previously existing
2013 Term Loans in a transaction that was expected to be treated as a “recapitalization” for U.S. federal
income tax purposes and are therefore expected to retain the same maturity as the Allowed 2013 Term
Loans Secured Claims described in the foregoing sentence. The Allowed 2028 Debentures Secured Claims
were originally issued with a term to maturity of ten years. The Allowed Third Lien Notes Secured Claims
were issued in a transaction expected to be treated as a tax-free “recapitalization” for U.S. federal income
tax purposes in exchange for other debt instruments treated as “securities” for U.S. federal income tax
purposes. The Allowed Second Lien Notes Secured Claims were originally issued for cash with a term to
maturity of less than five years. Accordingly, although it is not free from doubt, the Debtors intend to take
the position (and the following discussion assumes) that each of the Class 5, Class 6, Class 7, and Class 9
Claims constitute “securities” and that the Class 8 Claims do not constitute “securities.” U.S. Holders are
urged to consult their own tax advisors regarding the potentially different tax treatment that could apply if
their Claims were treated other than as described in the foregoing sentence.

         Because the Class 5, Class 6, Class 7, and Class 9 Claims are expected to constitute “securities,” a
U.S. Holder of such a Claim is expected to be treated as receiving its distribution under the Plan in a
transaction treated as a “recapitalization” for U.S. federal income tax purposes. As discussed below, the
Exit Rights are expected to be treated as options to acquire a portion of the Exit Facility for U.S. federal
income tax purposes. Whether an option to acquire debt instrument is a “security” for U.S. federal income
tax purposes is uncertain and the Debtors intend to take the position (and the remainder of this discussion
assumes) that the Exit Rights are not “securities.” However, as discussed below, there may be situations in
which the holders of Exit Rights are not required to fund cash in exchange for the Exit Facility upon exercise
of their Exit Rights and in such cases, the treatment of the Exit Rights as “securities” (and any receipt of
the Exit Term Loan Participation Fee) for U.S. federal income tax purposes is not clear and may be different
than described herein. U.S. Holders are urged to consult their own tax advisors regarding the potentially
different tax treatment that could apply if the Exit Rights were treated as “securities.” Additionally, the 3L
MyT Distribution is expected to consist of one or more instruments issued by a different entity than the
issuer of the Class 9 Claims. Accordingly, the Debtors intend to take the position that, although not free
from doubt, the 3L MyT Distribution will be be treated as “other property” received by holders of Class 9
Claims in such recapitalization transaction.



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         Accordingly, a U.S. Holder of a Class 5, Class 6, or Class 7, or Class 9 Claim is expected to
recognize gain (but not loss) as a result of the Restructuring Transactions. Any gain recognized generally
will equal the lesser of (a) the amount of gain realized on the exchange (computed as the difference, if any,
between the amount realized on the exchange and the U.S. Holder’s adjusted tax basis in its Claims) and
(b) for U.S. Holders of Class 5, Class 6, or Class 7 Claims, the value of the Exit Rights received in the
exchange (excluding any amounts attributable to accrued and unpaid interest on an existing Claim) or, for
U.S. Holders of Class 9 Claims, the value of the Exit Rights and the 3L MyT Distribution received in the
exchange (excluding any amounts attributable to accrued and unpaid interest on an existing Claim). In
general, a U.S. Holder would obtain an initial tax basis in the New Equity and the New Warrants, as
applicable, received in the exchange equal to its adjusted tax basis in its existing Claim surrendered,
increased by any gain recognized on the exchange and decreased by the value of the Exit Rights received
in the exchange (in the case of a U.S. Holder of a Class 5, Class 6, or Class 7 Claim) or the value of the
Exit Rights and the 3L MyT Distribution received in the exchange (in the case of a U.S. Holder of a Class
9 Claim), if any (excluding any amounts attributable to accrued and unpaid interest on the applicable
existing Claim). A U.S. Holder must allocate this aggregate tax basis between the New Equity and the New
Warrants, as applicable, depending on their relative fair market values on the Effective Date. The U.S.
Holder’s holding period for the New Equity and the New Warrants, as applicable, received in the exchange
(excluding any amounts attributable to accrued and unpaid interest on an existing Claim) will generally
include its holding period for its existing Claims. A U.S. Holder should obtain a tax basis in the Exit Rights
equal to their fair market value.

         Because the Class 8 Claims are not expected to constitute “securities,” each U.S. Holder of a Class
8 Claim will be treated as receiving its distribution under the Plan in a taxable exchange under section 1001
of the IRC. Other than with respect to any amounts received that are attributable to accrued but untaxed
interest, the U.S. Holder should recognize gain or loss in an amount equal to the difference, if any, between
(a) the fair market value of the New Equity, New Warrants, Exit Rights, and 2L MyT Distribution received
in the exchange and (b) the U.S. Holder’s adjusted tax basis in its Claim. The character of any such gain or
loss as capital or ordinary will be determined by a number of factors including the tax status of the U.S.
Holder, whether the Claim constitutes a capital asset in the hands of the U.S. Holder, whether and to what
extent the U.S. Holder had previously claimed a bad-debt deduction with respect to its Claim, and the
potential application of the accrued interest and market discount rules discussed below. If any such
recognized gain or loss is capital in nature, it generally would be long-term capital gain if the U.S. Holder
held its Claim for more than one year at the time of the exchange. The holding period for the New Equity,
New Warrants, Exit Rights, and 2L MyT Distribution received in the exchange should begin on the day
following the Effective Date and the U.S. Holder should obtain a tax basis in such New Equity, New
Warrants, Exit Rights, and 2L MyT Distribution equal to the fair market value of such property.

       U.S. Holders should consult their own tax advisers regarding the treatment of the Restructuring
Transactions for U.S. federal income tax purposes.

                         Consequences to Holders of Class 3, Class 4, Class 10, and Class 11 Claims.

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release, and discharge
of their Claims, (a) each U.S. Holder of an Allowed ABL Loan Secured Claim or an Allowed FILO Secured
Claim shall receive, in full and final satisfaction of such Claim, (i) payment in full in Cash, (ii) consensual
refinancing or other consensual modification of the ABL Loans or the FILO Facility, as applicable, giving
rise to such ABL Loan Secured Claims or FILO Secured Claims, as applicable, or (iii) other treatment
consistent with the Bankruptcy Code and the Disclosure Statement Order, and (b) each U.S. Holder of an
Allowed General Unsecured Claim shall receive, in full and final satisfaction of such Claim, its Pro Rata
share of (i) MYT Series B Preferred Stock, and (ii) Cash, as applicable, and in accordance with the treatment
for Class 10 and Class 11.


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         Each U.S. Holder of Class 3, Class 4, Class 10, and Class 11 Claims will be treated as receiving its
distribution under the Plan in a taxable exchange under section 1001 of the IRC. Other than with respect
to any amounts received that are attributable to accrued but untaxed interest, each such U.S. Holder should
recognize gain or loss in an amount equal to the difference, if any, between (a) the sum of (1) the Cash and
(2) the fair market value (or issue price, in the case of debt instruments) of non-cash consideration
(including the MYT Series B Preferred Stock) received, and (b) the U.S. Holder’s adjusted tax basis in its
Claim.

         The character of any such gain or loss as capital or ordinary will be determined by a number of
factors including the tax status of the U.S. Holder, whether the Claim constitutes a capital asset in the hands
of the U.S. Holder, whether and to what extent the U.S. Holder had previously claimed a bad-debt deduction
with respect to its Claim, and the potential application of the accrued interest and market discount rules
discussed below. If any such recognized gain or loss is capital in nature, it generally would be long-term
capital gain if the U.S. Holder held its Claim for more than one year at the time of the exchange.
The holding period for any non-Cash consideration received (including, for the Holders of Class 10 and
Class 11 Claims, the MYT Series B Preferred Stock received) should begin on the day following
the Effective Date and the U.S. Holder should obtain a tax basis in such non-Cash consideration equal to
the fair market value (or issue price, in the case of debt instruments) of such property.

                          Accrued Interest.

        To the extent that any amount received by a U.S. Holder of a Claim under the Plan is attributable
to accrued interest or original issue discount (“OID”) during its holding period on the debt instruments
constituting the surrendered Claim, the receipt of such amount should be taxable to the U.S. Holder as
ordinary interest income (to the extent not already taken into income by the U.S. Holder). Conversely, a
U.S. Holder of a Claim may be able to recognize a deductible loss to the extent that any accrued interest on
the debt instruments constituting such Claim was previously included in the U.S. Holder’s gross income
but was not paid in full by the Debtors. Such loss may be ordinary, but the tax law is unclear on this point.

         If the fair market value of the consideration received by a U.S. Holder is not sufficient to fully
satisfy all principal and interest on Claims, the extent to which such consideration will be attributable to
accrued interest is unclear. Under the Plan, the aggregate consideration to be distributed to Claims in each
Class will be allocated first to the principal amount of Claims, with any excess allocated to unpaid interest
that accrued on these Claims, if any. Certain legislative history indicates that an allocation of consideration
as between principal and interest provided in a chapter 11 plan of reorganization is binding for U.S. federal
income tax purposes, and certain case law generally indicates that a final payment on a distressed debt
instrument that is insufficient to repay outstanding principal and interest will be allocated to principal, rather
than interest. Certain Treasury Regulations treat payments as allocated first to any accrued but unpaid
interest. The IRS could take the position that the consideration received by the U.S. Holder should be
allocated in some way other than as provided in the Plan. U.S. Holders of Claims should consult their own
tax advisors regarding the proper allocation of the consideration received by them under the Plan.

                          Market Discount.

         In the case of a U.S. Holder that acquired its Claim with market discount, any gain recognized on
the sale or exchange of such Claim generally will be treated as ordinary income to the extent of the market
discount treated as accruing during such U.S. Holder’s holding period for such Claim. Any such market
discount is generally the excess of the “revised issue price” of such Claim over such U.S. Holder’s initial
tax basis in such Claim upon acquisition, if such excess equals or exceeds a statutory de minimis amount.
Such market discount is generally treated as accruing during such U.S. Holder’s holding period for such
Claim on a straight-line basis or, at the election of such U.S. Holder, on a constant yield basis, unless such


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U.S. Holder has previously elected to include such market discount in income as it accrues. For this
purpose, the “revised issue price” of a Claim generally equals its issue price, increased by the amount of
OID that has accrued over the term of the Claim. U.S. Holders who acquired their Claims other than at
original issuance should consult their own tax advisors regarding the possible application of the market
discount rules to the Restructuring Transactions.

        Although not necessarily free from doubt, the “market discount” provisions of the IRC are arguably
inapplicable to the kind of General Unsecured Claims that constitute the Class 10 Claims. U.S. Holders
holding Class 10 Claims should consult with their own tax advisors regarding the potential application of
the “market discount” rules to their Claims.

                         U.S. Federal Income Tax Consequences to U.S. Holders of Owning and
                         Disposing of New Equity.

                         (a)      Dividends on New Equity.

         Any distributions made on account of the New Equity will constitute dividends for U.S. federal
income tax purposes to the extent of the current or accumulated earnings and profits of Reorganized Neiman
as determined under U.S. federal income tax principles. “Qualified dividend income” received by an
individual U.S. Holder is subject to preferential tax rates. To the extent that a U.S. Holder receives
distributions that exceed such current and accumulated earnings and profits, such distributions will be
treated first as a non-taxable return of capital reducing the U.S. Holder’s basis in its shares of the New
Equity. Any such distributions in excess of the U.S. Holder’s basis in its shares (determined on a
share-by-share basis) generally will be treated as capital gain.

         Subject to applicable limitations, distributions treated as dividends paid to U.S. Holders that are
corporations generally will be eligible for the dividends-received deduction so long as there are sufficient
earnings and profits. However, the dividends-received deduction is only available if certain holding period
requirements are satisfied. The length of time that a shareholder has held its stock is reduced for any period
during which the shareholder’s risk of loss with respect to the stock is diminished by reason of the existence
of certain options, contracts to sell, short sales, or similar transactions. In addition, to the extent that a
corporation incurs indebtedness that is directly attributable to an investment in the stock on which the
dividend is paid, all or a portion of the dividends-received deduction may be disallowed.

                         (b)      Sale, Redemption, or Repurchase of New Equity.

        Unless a non-recognition provision applies, U.S. Holders generally will recognize capital gain or
loss upon the sale, redemption, or other taxable disposition of the New Equity. Such capital gain will be
long-term capital gain if at the time of the sale, exchange, retirement, or other taxable disposition, the U.S.
Holder has held the New Equity for more than one year, taking into account the holding period rules
described above. Long-term capital gains of an individual taxpayer generally are taxed at preferential rates.
The deductibility of capital losses is subject to certain limitations as described above.

                         U.S. Federal Income Tax Treatment, and Ownership, Exercise, and
                         Disposition of, the Exit Rights and the New Warrants.

        Although such position is not free from doubt, the Debtors intend to treat the New Warrants as
warrants for U.S. federal income tax purposes and intend to treat the issuance of the Exit Rights and their
subsequent exercise for U.S. federal income tax purposes as an issuance and exercise of options to acquire
a portion of the Exit Facility for U.S. federal income tax purposes.




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         A U.S. Holder that elects to exercise the New Warrants or its Exit Rights will generally be treated
as purchasing, (a) in exchange for its New Warrants and the amount of cash funded by the U.S. Holder to
exercise the New Warrants, the New Equity it is entitled to purchase pursuant to the New Warrants and
(b) in exchange for its Exit Rights and the amount of cash funded by the U.S. Holder to exercise the Exit
Rights, the Exit Facility it is entitled to purchase pursuant to the Exit Rights. In each case, such purchase
will generally be treated as the exercise of an option under general tax principles and the U.S. Holder
therefore should not recognize income, gain or loss for U.S. federal income tax purposes. A U.S. Holder’s
aggregate tax basis in the New Equity received upon exercise of a New Warrant or the Exit Facility received
upon exercise of the Exit Rights will generally equal the sum of (a) the amount of cash paid by the U.S.
Holder to exercise its New Warrants or Exit Rights, as applicable, plus (b) such U.S. Holder’s tax basis in
its New Warrants or Exit Rights, as applicable, immediately before such New Warrants or Exit Rights are
exercised. A U.S. Holder’s holding period in the New Equity or Exit Facility, as applicable, will begin on
the day after the exercise date of the New Warrants or Exit Rights.

         A U.S. Holder that elects not to exercise the New Warrants or its Exit Rights and instead allows
the New Warrants or Exit Rights to lapse may be entitled to claim a capital loss upon expiration of the New
Warrants or Exit Rights in an amount equal to the amount of tax basis allocated to the New Warrants or
Exit Rights, subject to any limitations on such U.S. Holder’s ability to utilize capital losses. Such U.S.
Holders are urged to consult with their own tax advisors as to the tax consequences of either electing to
exercise or electing not to exercise the New Warrants or the Exit Rights. Additionally, in the event that a
U.S. Holder sells its New Warrants or Exit Rights in a taxable transaction, the U.S. Holder will generally
recognize gain or loss upon such sale in an amount equal to the difference between the amount realized
upon such sale and the U.S. Holder’s tax basis in the New Warrants or Exit Rights, as applicable. Such gain
or loss will be treated as gain or loss from the sale or exchange of property which has the same character as
the New Equity or Exit Facility to which the New Warrants or Exit Rights relate, respectively, would have
had in the hands of the U.S. Holder if such New Equity or Exit Facility had been acquired by the U.S.
Holder upon exercise. If such sale gives rise to capital gain or loss to the U.S. Holder, such gain or loss
will be long-term or short-term in character based upon the length of time such U.S. Holder has held its
New Warrants or Exit Rights, as discussed above.

        Each U.S. Holder should consult its own tax advisor regarding the proper characterization of
the Exit Rights and the New Warrants for U.S. federal income tax purposes and the consequences to it of
such treatment given its particular circumstances.

                         U.S. Federal Income Tax Consequences to U.S. Holders of Ownership and
                         Disposition of the Exit Facility.

        The following discussion assumes that the “contingent payment debt instrument” rules do not apply
to the Exit Facility. U.S. Holders should consult their own tax advisors regarding the application of these
rules.

                         (a)      Payments of Qualified Stated Interest.

         Payments or accruals of “qualified stated interest” (as defined below) on the Exit Facility will be
includible in the U.S. Holder’s gross income as ordinary interest income and taxable at the time that such
payments are accrued or are received in accordance with such U.S. Holder’s regular method of accounting
for U.S. federal income tax purposes. The term “qualified stated interest” generally means stated interest
that is unconditionally payable in cash or property (other than debt instruments of the issuer) at least
annually during the entire term of the Exit Facility, at a single fixed rate of interest, or, subject to certain
conditions, based on one or more interest indices.




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                          (b)     Original Issue Discount.

        A debt instrument, such as the Exit Facility, is treated as issued with OID for U.S. federal income
tax purposes if its issue price is less than its stated redemption price at maturity by more than a de minimis
amount. A debt instrument’s stated redemption price at maturity includes all principal and interest payable
over the term of the debt instrument, other than “qualified stated interest.”

         Because payments other than payments of qualified stated interest will be required before maturity,
for purposes of determining whether there is OID, the de minimis amount is generally equal to ¼ of
1 percent of the principal amount of the Exit Facility multiplied by the weighted average maturity of the Exit
Facility (as determined under applicable Treasury Regulations). If the Exit Facility is treated as issued with
OID (including as a result of an allocation due to the Exit Term Loan Participation Fee, as described below),
a U.S. Holder generally (i) will be required to include the OID in gross income as ordinary interest income
as it accrues on a constant yield to maturity basis over the term of the Exit Facility, in advance of the receipt
of the cash attributable to such OID and regardless of the holder’s method of accounting for U.S. federal
income tax purposes, but (ii) will not be required to recognize additional income upon the receipt of any
cash payment on the Exit Facility that is attributable to previously accrued OID that has been included in
its income. If the amount of OID on the Exit Facility is de minimis, rather than being characterized as
interest, any payment attributable to the de minimis OID will be treated as gain from the sale of the Exit
Facility, and a pro rata amount of such de minimis OID must be included in income as principal payments
are received on the Exit Facility.

         Where U.S. Holders receive debt instruments and also receive other property in an exchange (such
as in exchange for cash), the “investment unit” rules may apply to the determination of the “issue price” for
any such debt instrument. Because the Exit Term Loan Participation Fee will be paid in New Equity, a U.S.
Holder that purchases a portion of the Exit Facility pursuant to the exercise of its Exit Rights will be treated
as receiving a debt instrument (the Exit Facility) as well as other property (i.e., New Equity in the form of
the Exit Term Loan Participation Fee) in exchange for its cash exercise price. Accordingly, the “investment
unit” rules are expected to apply to determine the “issue price” of the Exit Facility. The issue price of the
Exit Facility will depend, in part, on the issue price of the “investment unit” (i.e., the Exit Facility and New
Equity), and the respective fair market values of the elements of consideration that compose the investment
unit. The issue price of an investment unit is generally determined in the same manner as the issue price of
a debt instrument. As a result, because the investment unit in this case is acquired for cash, the issue price
of the investment unit will generally be equal to the first price at which a substantial amount of the
investment unit is sold for money (not including sales to bond houses, brokers or similar persons or
organizations acting in the capacity of underwriters, placement agents or wholesalers). Such issue price
determined for the investment unit under the above rules is allocated among the elements of consideration
making up the investment unit (i.e., the Exit Facility and the New Equity) based on their relative fair market
values, with such allocation determining the issue price of the Exit Facility. Because, as discussed above,
the value of the New Equity cannot be determined until after the Plan is consummated, any such allocation
(and accordingly, whether the Exit Facility will be treated as issued with an amount of OID that is not de
minimis) will not be determinable until the consummation of the Plan. An issuer’s allocation of the issue
price of an investment unit is binding on all U.S. Holders of the investment unit unless a U.S. Holder
explicitly discloses a different allocation on a timely filed income tax return for the taxable year that
includes the acquisition date of the investment unit.

         Notwithstanding the foregoing, there may be situations in which the holders of Exit Rights are
entitled to receive all or a portion of the Exit Term Loan Participation Fee without a corresponding
obligation to fund cash in exchange for the Exit Facility. In such case, the treatment of the receipt of all or
a portion of the Exit Term Loan Participation Fee for U.S. federal income tax purposes is not clear and may



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be different than that described above. U.S. Holders are urged to consult with their own tax advisors as to
the tax consequences of receipt of the Exit Term Loan Participation Fee in such case.

                          (c)      Acceleration of Income Recognition for Certain U.S. Holders.

        Accrual method U.S. Holders that prepare an “applicable financial statement” (as defined in section
451 of the IRC) generally will be required to include certain items of income such as OID no later than the
time such amounts are reflected on such a financial statement. This could result in an acceleration of income
recognition for income items differing from the above description, although proposed Treasury Regulations
provide that OID and market discount on the Exit Facility would not be subject to acceleration under these
rules.

                          (d)      Sale, Taxable Exchange or other Taxable Disposition.

         Upon the disposition of the Exit Facility by sale, exchange, retirement, redemption or other taxable
disposition, a U.S. Holder will generally recognize gain or loss equal to the difference, if any, between
(a) the amount realized on the disposition (other than amounts attributable to accrued but unpaid interest,
which will be taxed as ordinary interest income to the extent not previously so taxed) and (b) the U.S.
Holder’s adjusted tax basis in the Exit Facility, as applicable. The calculation of a U.S. Holder’s adjusted
tax basis in the Exit Facility is discussed above. A U.S. Holder’s adjusted tax basis will generally be
increased by any accrued OID previously included in such U.S. Holder’s gross income. A U.S. Holder’s
gain or loss will generally constitute capital gain or loss and will be long-term capital gain or loss if the U.S.
Holder has held the Exit Facility for longer than one year. Non-corporate taxpayers are generally subject to
a reduced federal income tax rate on net long-term capital gains. The deductibility of capital losses is
subject to certain limitations.

                          Limitations on Use of Capital Losses.

         A U.S. Holder who recognizes capital losses will be subject to limits on their use of capital losses.
For a non-corporate U.S. Holder, capital losses may be used to offset any capital gains (without regard to
holding periods) plus ordinary income to the extent of the lesser of (a) $3,000 ($1,500 for married
individuals filing separate returns) or (b) the excess of the capital losses over the capital gains.
A non-corporate U.S. Holder may carry over unused capital losses and apply them to capital gains and a
portion of their ordinary income for an unlimited number of years. For corporate U.S. Holders, losses from
the sale or exchange of capital assets may only be used to offset capital gains. A corporate U.S. Holder
who has more capital losses than can be used in a tax year may be allowed to carry over the excess capital
losses for use in succeeding tax years. Corporate U.S. Holders may only carry over unused capital losses
for the five years following the capital loss year, but are allowed to carry back unused capital losses to the
three years preceding the capital loss year.

                          Medicare Tax.

         Certain U.S. Holders that are individuals, estates, or trusts are required to pay an additional
3.8 percent tax on, among other things, interest, dividends and gains from the sale or other disposition of
capital assets. U.S. Holders that are individuals, estates, or trusts should consult their own tax advisors
regarding the effect, if any, of this tax provision on their ownership and disposition of any consideration to
be received under the Plan.




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         D.     Certain U.S. Federal Income Tax Consequences of the Plan to Non-U.S. Holders of
                 Allowed Claims.

        The following discussion assumes that the Debtors will undertake the Restructuring Transactions
currently contemplated by the Plan and includes only certain U.S. federal income tax consequences of
the Plan to Non-U.S. Holders. This discussion does not include any non-U.S. tax considerations. The rules
governing the U.S. federal income tax consequences to Non-U.S. Holders are complex. Each Non-U.S.
Holder is urged to consult its own tax advisor regarding the U.S. federal, state, local, non-U.S., and
non-income tax consequences of the consummation of the Plan and the Restructuring Transactions to such
Non-U.S. Holder.

                         Gain Recognition.

         Gain, if any, recognized by a Non-U.S. Holder on the exchange of its Claim generally will not be
subject to U.S. federal income taxation unless (a) the Non-U.S. Holder is an individual who was present in
the United States for 183 days or more during the taxable year in which the Restructuring Transactions
occur and certain other conditions are met or (b) such gain is effectively connected with the conduct by
such Non-U.S. Holder of a trade or business in the United States (and, if an income tax treaty applies, such
gain is attributable to a permanent establishment maintained by such Non-U.S. Holder in the United States).

          If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income
tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty)
on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital
losses allocable to U.S. sources during the taxable year of the exchange. If the second exception applies,
the Non-U.S. Holder generally will be subject to U.S. federal income tax with respect to any gain realized
on the exchange if such gain is effectively connected with the Non-U.S. Holder’s conduct of a trade or
business in the United States in the same manner as a U.S. Holder (except that the Medicare tax would
generally not apply). In addition, if such a Non-U.S. Holder is a corporation, it may be subject to a branch
profits tax equal to 30 percent (or such lower rate provided by an applicable treaty) of its effectively
connected earnings and profits for the taxable year, subject to certain adjustments.

                         U.S. Federal Income Tax Consequences to Non-U.S. Holders of Owning and
                         Disposing of New Equity.

                         (a)     Dividends on New Equity.

         Any distributions made with respect to New Equity (other than certain distributions of stock of
Reorganized Neiman) will constitute dividends for U.S. federal income tax purposes to the extent of the
current or accumulated earnings and profits of Reorganized Neiman, as determined under U.S. federal
income tax principles (and thereafter first as a return of capital which reduces basis and then, generally, as
gain from the sale or exchange of such stock, as described below under “—Sale, Redemption, or Repurchase
of New Equity”). Except as described below, dividends paid with respect to New Equity held by a Non-
U.S. Holder that are not effectively connected with a Non-U.S. Holder’s conduct of a U.S. trade or business
(or, if an income tax treaty applies, are not attributable to a permanent establishment maintained by such
Non-U.S. Holder in the United States) will be subject to U.S. federal withholding tax at a rate of 30 percent
(or at a reduced rate or exemption from tax under an applicable income tax treaty). A Non-U.S. Holder
generally will be required to satisfy certain IRS certification requirements in order to claim a reduction of
or exemption from withholding under a tax treaty by filing IRS Form W-8BEN or W-8BEN-E, as applicable
(or such successor form as the IRS designates), upon which the Non-U.S. Holder certifies, under penalties
of perjury, its status as a non-U.S. person and its entitlement to the lower treaty rate or exemption from tax
with respect to such payments. Dividends paid with respect to New Equity held by a Non-U.S. Holder that


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are effectively connected with a Non-U.S. Holder’s conduct of a U.S. trade or business (and, if an income
tax treaty applies, are attributable to a permanent establishment maintained by such Non-U.S. Holder in
the United States) generally will be subject to U.S. federal income tax in the same manner as a U.S. Holder,
and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
branch profits tax with respect to such Non-U.S. Holder’s effectively connected earnings and profits that
are attributable to the dividends at a rate of 30 percent (or at a reduced rate or exemption from tax under an
applicable income tax treaty).

                         (b)      Sale, Redemption, or Repurchase of New Equity.

        A Non-U.S. Holder generally will not be subject to U.S. federal income tax with respect to any
gain realized on the sale or other taxable disposition (including a cash redemption) of New Equity unless:

              x   such Non-U.S. Holder is an individual who is present in the United States for 183 days or
                  more in the taxable year of disposition or who is subject to special rules applicable to
                  former citizens and residents of the United States;

              x   such gain is effectively connected with such Non-U.S. Holder’s conduct of a U.S. trade
                  or business (and, if an income tax treaty applies, such gain is attributable to a permanent
                  establishment maintained by such Non-U.S. Holder in the United States); or

              x   the issuer of such New Equity is or has been during a specified testing period a “U.S. real
                  property holding corporation” (a “USRPHC”) under the FIRPTA rules (as defined and
                  discussed below).

          If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income
tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty)
on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital
losses allocable to U.S. sources during the taxable year of disposition of New Equity. If the second
exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax with respect to
such gain in the same manner as a U.S. Holder, and a Non-U.S. Holder that is a corporation for U.S. federal
income tax purposes may also be subject to a branch profits tax with respect to earnings and profits
effectively connected with a U.S. trade or business that are attributable to such gains at a rate of 30 percent
(or at a reduced rate or exemption from tax under an applicable income tax treaty). With respect to the
third exception, the FIRPTA rules are discussed in greater detail below.

                         U.S. Federal Income Tax Consequences to Non-U.S. Holders of Ownership,
                         Exercise, and Disposition, of the Exit Rights and the New Warrants.

        The U.S. federal income tax treatment of the New Warrants and Exit Rights to a Non-U.S. Holder
are generally expected to be the same as those described above for U.S. Holders. However, in the event
that a Non-U.S. Holder sells its New Warrants or Exit Rights in a taxable transaction, a Non-U.S. Holder
generally will not be subject to U.S. federal income tax with respect to any gain realized on such sale unless:

              x   such Non-U.S. Holder is an individual who is present in the United States for 183 days or
                  more in the taxable year of disposition or who is subject to special rules applicable to
                  former citizens and residents of the United States;

              x    such gain is effectively connected with such Non-U.S. Holder’s conduct of a U.S. trade
                  or business (and, if an income tax treaty applies, such gain is attributable to a permanent
                  establishment maintained by such Non-U.S. Holder in the United States); or



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              x   with respect to a sale of the New Warrants, the issuer of such New Warrants is or has
                  been during a specified testing period a USRPHC under the FIRPTA rules (as defined
                  and discussed below).

          If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income
tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty)
on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital
losses allocable to U.S. sources during the taxable year of disposition of the New Warrants or Exit Rights.
If the second exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax
with respect to such gain in the same manner as a U.S. Holder, and a Non-U.S. Holder that is a corporation
for U.S. federal income tax purposes may also be subject to a branch profits tax with respect to earnings
and profits effectively connected with a U.S. trade or business that are attributable to such gains at a rate of
30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty). With respect
to the third exception the FIRPTA rules are discussed in greater detail below.

                         U.S. Federal Income Tax Consequences to Non-U.S. Holders of Payments of
                         Interest and of Owning and Disposing of the Exit Facility.

         The following discussion assumes that the “contingent payment debt instrument” rules do not apply
to the Exit Facility. Non-U.S. Holders should consult their own tax advisors regarding the application of
these rules.

                         (a)      Payments of Interest (Including Interest Attributable to Accrued but
                                  Untaxed Interest).

         Subject to the discussion of backup withholding and FATCA, interest income (which, for purposes
of this discussion of Non-U.S. Holders, includes OID and accrued but untaxed interest, including in each
case any such amounts paid to a Non-U.S. Holder under the Plan) of a Non-U.S. Holder that is not
effectively connected with a U.S. trade or business carried on by the Non-U.S. Holder will qualify for the
so-called “portfolio interest exemption” and, therefore, will not be subject to U.S. federal income tax or
withholding, provided that:

          x       the Non-U.S. Holder does not own, actually or constructively, 10 percent or more of the
                  voting power in Reorganized Neiman within the meaning of Section 871(h)(3) of the IRC
                  and Treasury Regulations thereunder;

          x       the Non-U.S. Holder is not a controlled foreign corporation related to Reorganized
                  Neiman, actually or constructively through the ownership rules under Section 864(d)(4)
                  of the IRC;

          x       the Non-U.S. Holder is not a bank that is receiving the interest on an extension of credit
                  made pursuant to a loan agreement entered into in the ordinary course of its trade or
                  business; and

          x       the beneficial owner gives Reorganized Neiman or Reorganized Neiman’s paying agent
                  or other withholding agent an appropriate IRS Form W-8 (or suitable substitute or
                  successor form or such other form as the IRS may prescribe) that has been properly
                  completed and duly executed establishing its status as a non-U.S. person.

         If all of these conditions are not met, interest on the Exit Facility paid to a Non-U.S. Holder or
interest paid to a Non-U.S. Holder pursuant to the Plan that is not effectively connected with a U.S. trade
or business carried on by the Non-U.S. Holder will generally be subject to U.S. federal income tax and


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withholding at a 30 percent rate, unless an applicable income tax treaty reduces or eliminates such
withholding and the Non-U.S. Holder claims the benefit of that treaty by providing an appropriate IRS
Form W-8 (or a suitable substitute or successor form or such other form as the IRS may prescribe) that has
been properly completed and duly executed.

        If interest on the Exit Facility or interest paid to a Non-U.S. Holder pursuant to the Plan is
effectively connected with a trade or business in the United States (“ECI”) carried on by the Non-U.S.
Holder, the Non-U.S. Holder will be required to pay U.S. federal income tax on that interest on a net income
basis generally in the same manner as a U.S. Holder (and the 30 percent withholding tax described above
will not apply, provided the appropriate statement (generally a properly executed IRS Form W-8ECI or
suitable substitute or successor form or such other form as the IRS may prescribe) is provided to
Reorganized Neiman or Reorganized Neiman’s paying agent or other withholding agent) unless an
applicable income tax treaty provides otherwise. If a Non-U.S. Holder is eligible for the benefits of any
income tax treaty between the United States and its country of residence, any interest income that is ECI
will be subject to U.S. federal income tax in the manner specified by the treaty if the Non-U.S. Holder
claims the benefit of the treaty by providing an appropriate IRS Form W-8 (or a suitable substitute or
successor form or such other form as the IRS may prescribe) that has been properly completed and duly
executed. In addition, a corporate Non-U.S. Holder may, under certain circumstances, be subject to an
additional “branch profits tax” at a 30 percent rate, or, if applicable, a lower treaty rate, on its effectively
connected earnings and profits attributable to such interest (subject to adjustments).

        The certifications described above must be provided to the applicable withholding agent prior to
the payment of interest and, as applicable, must be updated periodically. Non-U.S. Holders that do not
timely provide the applicable withholding agent with the required certification, but that qualify for a
reduced rate under an applicable income tax treaty, may obtain a refund of any excess amounts withheld
by timely filing an appropriate claim for refund with the IRS. Non-U.S. Holders should consult their tax
advisors regarding their entitlement to benefits under any applicable income tax treaty.

                         (b)      Sale, Taxable Exchange, or Other Disposition of the Exit Facility.

         A Non-U.S. Holder will generally not be subject to U.S. federal income tax on any gain realized
on a sale, exchange, retirement, redemption or other taxable disposition of the Exit Facility (other than any
amount representing accrued but unpaid interest on the loan) unless:

              x   the gain is ECI (and, if required by an applicable income tax treaty, is attributable to a
                  U.S. permanent establishment that such Non-U.S. Holder maintains in the United States);
                  or

              x   in the case of a Non-U.S. Holder who is a nonresident alien individual, such Non-U.S.
                  Holder is present in the United States for 183 or more days in the taxable year of
                  disposition and certain other requirements are met.

         If a Non-U.S. Holder falls under the first of these exceptions, unless an applicable income tax treaty
provides otherwise, the Non-U.S. Holder will generally be taxed on the net gain derived from the disposition
of the Exit Facility under the graduated U.S. federal income tax rates that are applicable to U.S. Holders
and, if the Non-U.S. Holder is a foreign corporation, it may also be subject to the branch profits tax
described above. If an individual Non-U.S. Holder falls under the second of these exceptions, the Non-
U.S. Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (unless a lower
applicable treaty rate applies) on the amount by which the gain derived from the disposition exceeds such
Non-U.S. Holder’s capital losses allocable to sources within the United States for the taxable year of the
disposition.



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                          FIRPTA.

         Under the Foreign Investment in Real Property Tax Act (“FIRPTA”), gain on the disposition of
certain investments in U.S. real property is subject to U.S. federal income tax in the hands of Non-U.S.
Holders and treated as ECI that is subject to U.S. federal net income tax even if a Non-U.S. Holder is not
otherwise engaged in a U.S. trade or business.

         With respect to New Equity and New Warrants, rules with respect to USRPHCs may apply. In
general, a corporation is a USRPHC if the fair market value of the corporation’s U.S. real property interests
(as defined in the IRC and applicable Treasury Regulations) equals or exceeds 50 percent of the aggregate
fair market value of its worldwide real property interests and its other assets used or held for use in a trade
or business (applying certain look-through rules to evaluate the assets of subsidiaries) at any time within
the shorter of the 5-year period ending on the effective time of the applicable disposition or the period of
time the Non-U.S. Holder held an interest in such corporation. Taxable gain from the disposition of an
interest in a USRPHC (generally equal to the difference between the amount realized and such Non-U.S.
Holder’s adjusted tax basis in such interest) will constitute ECI. Further, the buyer of the New Equity or
New Warrants may be required to withhold a tax equal to 15 percent of the amount realized on the sale.
The amount of any such withholding would be allowed as a credit against the Non-U.S. Holder’s U.S.
federal income tax liability and may entitle the Non-U.S. Holder to a refund, provided that the Non-U.S.
Holder properly and timely files a tax return with the IRS. The Debtors currently anticipate that
Reorganized Neiman likely is, or that Reorganized Neiman is likely to be, a USRPHC, although no
guarantees can be made in that regard.

         Under the FIRPTA rules, if the stock of a USRPHC is regularly traded on an established securities
market, a person that holds 5 percent or less of such stock (after taking into account certain attribution rules)
will not be subject to substantive FIRPTA taxation or FIRPTA withholding upon a disposition of its shares,
and FIRPTA withholding upon dispositions will generally be inapplicable other than in the case of certain
distributions and redemptions by the issuer. Whether and when the New Equity will be considered regularly
traded on an established securities market will depend, in part, on whether a market develops in such equity,
and cannot currently be determined.

         The FIRPTA rules will also not apply if, at the time of a disposition, the corporation does not
directly or indirectly hold any United States real property interests (“USRPIs”) and it had directly or
indirectly disposed of all of the USRPIs it directly or indirectly owned in one or more fully taxable
transactions.

                          FATCA.

         Under legislation commonly referred to as the Foreign Account Tax Compliance Act (“FATCA”),
foreign financial institutions and certain other foreign entities must report certain information with respect
to their U.S. account holders and investors or be subject to withholding at a rate of 30 percent on the receipt
of “withholdable payments.” For this purpose, “withholdable payments” are generally U.S. source
payments of fixed or determinable, annual or periodical income, and, subject to the paragraph immediately
below, also include gross proceeds from the sale of any property of a type which can produce U.S. source
interest or dividends. FATCA withholding will apply even if the applicable payment would not otherwise
be subject to U.S. federal nonresident withholding.

       FATCA withholding rules were previously scheduled to take effect on January 1, 2019, that would
have applied to payments of gross proceeds from the sale or other disposition of property of a type that can
produce U.S. source interest or dividends. However, such withholding has effectively been suspended
under proposed Treasury Regulations that may be relied on until final regulations become effective.


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Nonetheless, there can be no assurance that a similar rule will not go into effect in the future. Each Non-
U.S. Holder should consult its own tax advisor regarding the possible impact of FATCA withholding rules
on such Non-U.S. Holder.

         E.     Information Reporting and Back-Up Withholding.

         The Debtors and applicable withholding agents will withhold all amounts required by law to be
withheld from payments of interest and dividends, whether in connection with distributions under the Plan
or in connection with payments made on account of consideration received pursuant to the Plan, and will
comply with all applicable information reporting requirements. The IRS may make the information returns
reporting such interest and dividends and withholding available to the tax authorities in the country in which
a Non-U.S. Holder is resident. In general, information reporting requirements may apply to distributions
or payments under the Plan. Additionally, under the backup withholding rules, a Holder may be subject to
backup withholding (currently at a rate of 24 percent) with respect to distributions or payments made
pursuant to the Plan unless that Holder: (a) comes within certain exempt categories (which generally
include corporations) and, when required, demonstrates that fact; or (b) timely provides a correct taxpayer
identification number and certifies under penalty of perjury that the taxpayer identification number is
correct and that the Holder is not subject to backup withholding (generally in the form of a properly
executed IRS Form W-9 for a U.S. Holder, and, for a Non-U.S. Holder, in the form of a properly executed
applicable IRS Form W-8 (or otherwise establishes such Non-U.S. Holder’s eligibility for an exemption).
Backup withholding is not an additional tax but is, instead, an advance payment that may be refunded to
the extent it results in an overpayment of tax; provided that the required information is timely provided to
the IRS.

         In addition, from an information reporting perspective, Treasury Regulations generally require
disclosure by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the
taxpayer participated, including, among other types of transactions, certain transactions that result in the
taxpayer’s claiming a loss in excess of specified thresholds. Holders subject to the Plan are urged to consult
their tax advisors regarding these regulations and whether the transactions contemplated by the Plan would
be subject to these regulations and require disclosure on the Holders’ tax returns.

THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX.
THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF U.S.
FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR
HOLDER IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX
SITUATION. ALL HOLDERS OF CLAIMS AND INTERESTS ARE URGED TO
CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY THE
PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL OR
NON-U.S. TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.




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XV.     RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and provides
for a larger distribution to the Debtors’ creditors than would otherwise result in any other scenario.
Accordingly, the Debtors recommend that Holders of Claims entitled to vote on the Plan vote to accept
the Plan and support Confirmation of the Plan.

Dated: August 3, 2020

                                                      Respectfully submitted,

                                                      Neiman Marcus Group LTD LLC,
                                                      on behalf of itself and each of the other Debtors

                                                          By:      /s/ Mark Weinsten
                                                          Name:    Mark Weinsten
                                                          Title:   Chief Restructuring Officer
                                                                   Neiman Marcus Group LTD LLC




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                                  Exhibit A

                            Plan of Reorganization




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

                                                                         )
       In re:                                                            )   Chapter 11
                                                                         )
                                                       1
       NEIMAN MARCUS GROUP LTD LLC, et al.,                              )   Case No. 20-32519 (DRJ)
                                                                         )
                                  Debtors.                               )   (Jointly Administered)
                                                                         )
                       DEBTORS’ FIRST AMENDED JOINT PLAN OF REORGANIZATION
                PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE (SOLICITATION VERSION)

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                                                                Co-Counsel to the Debtors
                                                                and Debtors in Possession
Dated: August 3, 2020


   1      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
          number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman, Inc. (5530); Bergdorf Graphics, Inc.
          (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings, LLC
          (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage
          Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust
          (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664);
          NMG Notes Propco LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term
          Loan Propco LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group LLC
          (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The location of the
          debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.

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                                                 INTRODUCTION

         The Debtors propose this Plan for the resolution of the outstanding Claims against and Interests in the Debtors
pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the
meanings ascribed to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes,
the Plan constitutes a separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to
the Bankruptcy Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for
a discussion of the Debtors’ history, businesses, assets, results of operations, historical financial information, and
projections of future operations, as well as a summary and description of this Plan, the Restructuring Transactions,
and certain related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

      ALL HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

       1.       “2013 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2020.

          2.      “2013 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2013 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        3.       “2013 Term Loans Deficiency Claim” means any 2013 Term Loans Claim that is not a 2013 Term
Loans Secured Claim.

        4.     “2013 Term Loans Lenders” means those banks, financial institutions, and other lenders holding
2013 Term Loans under the Term Loan Credit Agreement.

         5.       “2013 Term Loans Secured Claim” means any 2013 Term Loans Claim that is a Secured Claim.

       6.       “2019 Term Loans” means those certain term loans issued under and on the terms set forth in the
Term Loan Credit Agreement with a maturity date of October 25, 2023.

          7.      “2019 Term Loans Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2019 Term Loans and the guarantees in respect thereof under the Term Loan Credit Agreement.

        8.      “2019 Term Loans Deficiency Claim” means any 2019 Term Loans Claim that is not a 2019 Term
Loans Secured Claim.

        9.     “2019 Term Loan Lenders” means those banks, financial institutions, and other lenders holding
2019 Term Loans under the Term Loan Credit Agreement.

         10.      “2019 Term Loans Secured Claim” means any 2019 Term Loans Claim that is a Secured Claim.

        11.     “2028 Debentures” means the 7.125% Senior Debentures due 2028 issued pursuant to the 2028
Debentures Indenture.




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        12.       “2028 Debentures Indenture” means that certain indenture dated as of May 27, 1998, as
supplemented by the first supplemental indenture, dated as of July 11, 2006, the second supplemental indenture, dated
as of August 14, 2006, and the third supplemental indenture, dated as of June 7, 2019, by and among The Neiman
Marcus Group LLC (f/k/a The Neiman Marcus Group, Inc.), the guarantors party thereto and Wilmington Savings
Fund Society, FSB (as successor to The Bank of New York Mellon Trust Company, N.A.), as trustee.

          13.     “2028 Debentures Claim” means any Claim arising under, derived from, secured by, based on, or
related to the 2028 Debentures.

        14.     “2028 Debentures Deficiency Claim” means any 2028 Debentures Claim that is not a 2028
Debentures Secured Claim.

         15.      “2028 Debentures Secured Claim” means any 2028 Debentures Claim that is a Secured Claim.

        16.      “2028 Debentures Trustee” means Wilmington Savings Fund Society, FSB, solely in its capacity as
successor to The Bank of New York Mellon Trust Company, N.A., or any successor thereto.

         17.      “2L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Second Lien Noteholders with respect to MyTheresa, as set forth in
the Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such security
or instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through the New
MyT Documents.

         18.       “3L MyT Distribution” means a security or instrument in form and substance to be agreed upon
among the Required Consenting Noteholders, the Consenting Parent, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed) and the Required Consenting Term Loan Lenders
(solely with respect to their own rights and obligations thereunder and matters related to the Reorganized Debtors, if
any) that memorializes the prepetition rights of Third Lien Noteholders with respect to MyTheresa, as set forth in the
Existing MyT Transaction Documents. The parties shall reasonably cooperate to determine whether such security or
instrument shall take the form of a distribution by any Debtor or shall be otherwise effectuated through the New MyT
Documents.

         19.      “ABL Agent” means Deutsche Bank AG New York Branch, solely in its capacity as administrative
and collateral agent under the ABL Credit Agreement.

         20.     “ABL Credit Agreement” means that certain Revolving Credit Agreement, dated as of October 25,
2013, by and among NMG LTD and certain Debtors, as co-borrowers, each of the guarantors party thereto, the ABL
Agent, and the ABL Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

       21.      “ABL Lenders” means those banks, financial institutions, and other lenders party to the ABL Credit
Agreement from time to time.

       22.        “ABL Loans” means those certain loans issued under and on the terms set forth in the ABL Credit
Agreement.

         23.    “ABL Loan Claim” means any Claim arising under, derived from, secured by, based on, or related
to the ABL Loans and the guarantees in respect thereof under the ABL Credit Agreement.

         24.      “ABL Loan Secured Claim” means any ABL Loan Claim that is a Secured Claim.



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         25.       “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of the
Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; and (c) all fees and charges assessed against
the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930.

        26.      “Administrative Claims Bar Date” means the deadline for filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date.

         27.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        28.      “Agents” means any administrative agent, collateral agent, or similar Entity under any of the ABL
Credit Agreement, the Term Loan Credit Agreement, the Exit Facility Credit Agreement, and the DIP Credit
Agreement, including any successors thereto.

         29.      “Aggregate DIP Equity Fees” means the: (a) DIP Backstop Fee; and (b) DIP Exit Fee.

         30.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that
is evidenced by a Proof of Claim Filed by the Claims Bar Date or a request for payment of an Administrative Claim
Filed by the Administrative Claim Bar Date, as applicable (or for which Claim under the Plan, the Bankruptcy Code,
or pursuant to a Final Order, a Proof of Claim or request for payment of Administrative Claim is not or shall not be
required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed,
and for which no Proof of Claim, as applicable, has been timely Filed; or (c) a Claim allowed pursuant to the Plan or
a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above,
such Claim shall be considered Allowed only if and to the extent that with respect to such Claim no objection to the
allowance thereof is interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by
a Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed,
and for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by a Final Order,
is not considered Allowed and shall be expunged without further action by the Debtors and without further notice to
any party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no
Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such
Entity pays in full the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For the
avoidance of doubt, a Proof of Claim Filed after the Claims Bar Date or a request for payment of an Administrative
Claim Filed after the Administrative Claim Bar Date, as applicable, shall not be Allowed for any purposes whatsoever
absent entry of a Final Order allowing such late-filed Claim. “Allow” and “Allowing” shall have correlative meanings.

         31.       “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in interest
have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or
under similar or related state or federal statutes and common law.

         32.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

         33.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         34.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

        35.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

          36.       “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

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        37.     “Cash Pay Notes” means those certain 8.000% senior unsecured notes due 2021 issued pursuant to
the Cash Pay Notes Indenture.

        38.      “Cash Pay Notes Claims” means all Claims against the Debtors arising under, derived from, or
based upon the Cash Pay Notes Indenture and the Cash Pay Notes.

         39.      “Cash Pay Notes Indenture” means that certain indenture, dated as of October 25, 2013, by and
among the Notes Issuers, the guarantors party thereto, and the Cash Pay Notes Trustee, as supplemented by the first
supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental indenture, dated
as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time to time.

        40.      “Cash Pay Notes Trustee” means UMB Bank, N.A., solely in its capacity as successor to Drivetrain
Trust Company LLC and U.S. Bank National Association, or any successor thereto, as trustee under the Cash Pay
Notes Indenture.

          41.       “Causes of Action” means any action, claim, cause of action, controversy, demand, right, action,
lien, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset, power,
privilege, and license of any kind or character whatsoever, whether known, unknown, contingent or non-
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Cause of Action” includes: (a) any
right of setoff, counterclaim, or recoupment and any Claim for breach of contract or for breach of duties imposed by
law or in equity; (b) any Claim based on or relating to, or in any manner arising from, in whole or in part, tort, breach
of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or voidable transaction law,
violation of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim pursuant to Section 362 or chapter 5 of the Bankruptcy
Code or similar local, state, or federal U.S. or non-U.S. law; (d) any Claim or defense including fraud, mistake, duress,
and usury, and any other defenses set forth in section 558 of title 11 of the United States Code; (e) any state or foreign
law pertaining to actual or constructive fraudulent transfer, fraudulent conveyance, or voidable transactions; and
(f) any “lender liability” or equitable subordination claims or defenses.

          42.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

           43.    “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors.

        44.       “Claims and Noticing Agent” means Stretto, the claims, noticing, and solicitation agent retained by
the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

          45.      “Claims Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
must be Filed with respect to such Claims, other than Administrative Claims, Claims held by Governmental Units, or
other Claims or Interests for which the Bankruptcy Court entered an order excluding the holders of such Claims or
Interests from the requirement of Filing Proofs of Claim.

         46.    “Claims Register” means the official register of Claims and Interests in the Debtors maintained by
the Claims and Noticing Agent.

         47.      “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
section 1122(a) of the Bankruptcy Code.

           48.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

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        49.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       50.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

         51.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on confirmation of the
Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

         52.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         53.      “Consenting 2L Parties” means Holders of Second Lien Notes Claims that are or become parties to
the Restructuring Support Agreement.

         54.      “Consenting 3L Parties” means Holders of Third Lien Notes Claims that are or become parties to
the Restructuring Support Agreement.

          55.      “Consenting Debentures Parties” means Holders of 2028 Debentures Claims that are or become
parties to the Restructuring Support Agreement.

        56.    “Consenting Lender Fees and Expenses” has the meaning ascribed to such term in the Restructuring
Support Agreement.

         57.      “Consenting Noteholder Group” means the group or committee of Consenting Noteholders
represented by the Consenting Noteholder Group Advisors.

        58.     “Consenting Noteholder Group Advisors” means, collectively, Paul, Weiss, Rifkind, Wharton &
Garrison LLP, Porter Hedges LLP, and Houlihan Lokey, Inc.

        59.    “Consenting Noteholders” means the Noteholders that are or become party to the Restructuring
Support Agreement.

         60.      “Consenting Parent” means NMG, Inc.

         61.       “Consenting Term Loan Lender Group” means the group of Consenting Term Loan Lenders
represented by the Consenting Term Loan Lender Group Advisors, the membership of which, for purposes of this
Plan, shall not change after the Petition Date absent the consent of each current member of the group or committee.

        62.     “Consenting Term Loan Lender Group Advisors” means, collectively, Wachtell, Lipton, Rosen &
Katz, Vinson & Elkins LLP, and Ducera Partners LLC.

         63.       “Consenting Term Loan Lenders” means the Holders of Term Loan Claims that are or become party
to the Restructuring Support Agreement.

         64.     “Consenting Sponsors” means, collectively: (a) Ares Corporate Opportunities Fund III, L.P.;
(b) Ares Corporate Opportunities Fund IV, L.P.; (c) CPP Investment Board USRE Inc.; and (d) the foregoing Entities’
investment funds or vehicles that directly or indirectly hold or control equity interests in the Debtors, but not including
any operating portfolio company of any of the foregoing.

       65.      “Consenting Stakeholders” means any party (other than the Debtors) to the Restructuring Support
Agreement, including (a) each Consenting Debentures Party; (b) each Consenting Noteholder; (c) each Consenting
Term Loan Lender; (d) the Consenting Parent; and (e) each Consenting Sponsor.

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         66.      “Consummation” means the occurrence of the Effective Date.

         67.      “Creditors Committee” means the Official Committee of Unsecured Creditors in these chapter 11
cases.

        68.       “Cure” means a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

         69.     “Debtors” means, collectively, each of the following: Neiman Marcus Group LTD LLC, Bergdorf
Goodman Inc., Bergdorf Graphics, Inc., BG Productions, Inc., Mariposa Borrower, Inc., Mariposa Intermediate
Holdings LLC, NEMA Beverage Corporation, NEMA Beverage Holding Corporation, NEMA Beverage Parent
Corporation, NM Bermuda, LLC, NM Financial Services, Inc., NM Nevada Trust, NMG California Salon LLC, NMG
Florida Salon LLC, NMG Global Mobility, Inc., NMG Notes PropCo LLC, NMG Salon Holdings LLC, NMG Salons
LLC, NMG Term Loan PropCo LLC, NMG Texas Salon LLC, NMGP, LLC, The Neiman Marcus Group LLC, The
NMG Subsidiary LLC, and Worth Avenue Leasing Company.

         70.      “Debtor Release” means the release set forth in Article VIII.C of this Plan.

          71.      “Definitive Documentation” means the definitive documents and agreements governing the
Restructuring Transactions (including any related orders, agreements, instruments, schedules, or exhibits) that are
contemplated by and referenced in the Plan (as amended, modified, or supplemented from time to time), including the
following: (a) the Plan (and all exhibits, ballots, solicitation procedures, and other documents and instruments related
thereto); (b) Definitive Documents (as defined in the Restructuring Support Agreement); (c) the Confirmation Order;
(d) the order of the Bankruptcy Court approving the Disclosure Statement and the other Solicitation Materials; (e) the
Plan Supplement; (f) the DIP Orders, the DIP Credit Agreement, and the other DIP documents, and related
documentation; (g) the Exit Credit Agreement; (h) the Governance Documents (as defined in the Restructuring
Support Agreement); (i) the New MyT Documents, and (j) all other material documents necessary or customarily
required to consummate the Restructuring Transactions.

         72.      “Description of Transaction Steps” means the description of the steps to be carried out to effectuate
the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement.

        73.     “DIP Agent” means Cortland Products Corp., as administrative and collateral agent under the DIP
Credit Agreement.

          74.      “DIP Backstop Fee” means a backstop fee equal to 6.0% of the full principal commitment of the
DIP Facility, payable in shares of New Equity in an aggregate amount equal to the DIP Backstop Fee (expressed in
dollars) divided by 65.0% of the Plan Equity Value, and payable ratably to each member of the Consenting Term Loan
Lender Group and Consenting Noteholder Group in accordance with its DIP Facility backstop commitment.

       75.       “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit
agreement, dated as of May 11, 2020, by and among Mariposa Intermediate Holdings LLC, NMG LTD, NMG, and
NMG Subsidiary, the guarantors party thereto, the DIP Agent, and the DIP Lenders, as approved by the DIP Order.

         76.      “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other agreements,
documents, instruments, and amendments related thereto, including the DIP Order and any guaranty agreements,
pledge and collateral agreements, UCC financing statements or other perfection documents, intercreditor agreements,
subordination agreements, fee letters, commitment letters, and other security agreements.

         77.      “DIP Credit Party” means, individually or collectively, the DIP Agent and/or the DIP Lenders.

         78.      “DIP Exit Fee” means an exit fee equal to 3.0% of the full principal commitment of the DIP Facility,
payable in shares of New Equity in an aggregate amount equal to the DIP Exit Fee (expressed in dollars) divided by
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65.0% of the Plan Equity Value, and payable ratably to each DIP Lender based on such DIP Lender’s DIP Facility
Claims immediately prior to satisfaction in full thereof.

       79.        “DIP Facility” means that certain debtor-in-possession credit facility created under the DIP Credit
Agreement.

         80.       “DIP Facility Claim” means any and all Claims held by any of the DIP Lenders or the DIP Agent
arising under, derived from, or based upon the DIP Credit Agreement, any other agreement, instrument or document
executed at any time in connection therewith, including, without limitation, all Obligations under (and as defined in)
the DIP Credit Agreement Documents, or the DIP Order.

       81.        “DIP Lenders” means the banks, financial institutions, and other lenders under the DIP Credit
Agreement.

         82.      “DIP Order” means, collectively, the Interim DIP Order and the Final DIP Order.

          83.     “Disbursing Agent” means, as applicable, the Reorganized Debtors or any Entity the Reorganized
Debtors select to make or to facilitate distributions in accordance with the Plan, which Entity may include the Claims
and Noticing Agent; provided, however, that with respect to the (a) Second Lien Notes, the Disbursing Agent shall
consult with the Second Lien Notes Trustee with respect to distributions to the Second Lien Noteholders on account
of the Second Lien Notes Claim to be made in accordance with the Plan; (b) Third Lien Notes, the Third Lien Notes
Trustee shall make or facilitate distributions to the Third Lien Noteholders on account of the Third Lien Notes Claim
in accordance with the Plan; and (c) General Unsecured Claims, the GUC Claims Administrator shall make or facilitate
distributions to Holders of General Unsecured Claims in accordance with the Plan.

         84.     “Disclosure Statement” means the Disclosure Statement Relating to the Debtors’ First Amended
Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules
thereto.

        85.       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure
Statement, the Solicitation Materials, and the solicitation of the Plan.

         86.      “Disinterested Manager Settlement” has the meaning assigned to such term in Article IV.A.

          87.       “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed;
(b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect to
which a party in interest has filed a Proof of Claim or otherwise made a written request to a Debtor for payment,
without any further notice to or action, order, or approval of the Bankruptcy Court.

         88.      “Distribution Record Date” means, other than with respect to publicly held securities, the record
date for purposes of making distributions under the Plan on account of Allowed Claims, which date shall be the first
day of the Confirmation Hearing.

         89.      “DTC” means the Depository Trust Company.

          90.      “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A. of the Plan have been satisfied or waived in accordance with Article IX.B. of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        91.       “Employment Obligations” means any existing obligations to employees to be assumed, reinstated,
or honored, as applicable, in accordance with Article IV.O of the Plan.

         92.      “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

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         93.      “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code.

         94.      “ERISA” means Title IV of the Employee Retirement Income Security Act of 1974, as amended.

         95.       “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

         96.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) the Creditors Committee and each of its members; and (c) with respect to each of the foregoing entities, each such
Entity’s current and former predecessors, successors, Affiliates (regardless of whether such interests are held directly
or indirectly), subsidiaries, direct and indirect equity holders, Professionals, and advisors.

         97.     “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

          98.       “Existing Equity Interests” means any Equity Security, including all issued, unissued, authorized,
or outstanding shares of capital stock and any other common stock, preferred stock, limited liability company interests,
and any other equity, ownership, or profit interests of Mariposa Intermediate, including all options, warrants, rights,
stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable, or exchangeable securities, or other agreements, arrangements, or commitments of any
character relating to, or whose value is related to, any such interest or other ownership interest in Mariposa
Intermediate, whether or not arising under or in connection with any employment agreement and whether or not
certificated, transferable, preferred, common, voting, or denominated “stock” or a similar security.

          99. “Existing MYT Transaction Documents” means (a) the Letter Agreement made and entered into as of
June 7, 2019, by and between MYT Parent Co. and MYT Holding Co. pertaining to, among other things, the MYT
Waterfall (as defined therein); (b) the Amended and Restated Certificate of Incorporation of MYT Holding Co., as
filed with the Secretary of State of Delaware on June 5, 2019; (c) the Certificate of Designation of Cumulative Series
A Preferred Stock of MYT Holding Co., as filed with the Secretary of State of Delaware on June 6, 2019; (d) the
Certificate of Designation of Cumulative Series B Preferred Stock of MYT Holding Co., as filed with the Secretary
of State of Delaware on June 6, 2019; (e) the Guarantee and Collateral Agreement, dated as of June 7, 2019, among
MYT Parent Co., each Grantor party thereto, and Ankura Trust Company, LLC, as Trustee and as Collateral Agent;
and (f) the Pledge Agreement, dated and effective as of June 7, 2019, between MYT Parent Co., as the Pledgor, MYT
Holding Co., Wilmington Trust, National Association, as the 8.000% Third Lien Notes Trustee as 8.750% Third Lien
Notes Trustee and Collateral Agent.

          100.     “Exit Facility” means either (a) the new financing in the aggregate principal amount of $750 million,
consisting of a new term loan facility and/or, to the extent agreed upon by the Debtors, the Consenting Term Loan
Lender Group and the Consenting Noteholder Group, secured notes, in each case consistent with the terms and
conditions set forth in the Exit Facility Term Sheet and entered into on the Effective Date on the terms and conditions
set forth in the Exit Facility Documents or (b) another secured exit financing (including in the form of secured notes)
in the approximate aggregate principal amount of $750 million entered into in connection with the consummation of
the Plan, on terms mutually agreed among the Consenting Term Loan Lender Group, the Consenting Noteholder
Group and the Debtors.

           101.     “Exit Facility Credit Agreement” means the credit agreement governing the Exit Facility, which
shall (i) be on the terms set forth in the Exit Facility Term Sheet and otherwise in accordance with this Agreement and
(ii) become effective on the Effective Date.

         102.     “Exit Facility Documents” means the agreements memorializing the Exit Facility, including the
Exit Facility Credit Agreement and any amendments, modifications, supplements thereto, and together with any
related notes, certificates, agreements, intercreditor agreements, security agreements, mortgages, deeds of trust,
documents, and instruments (including any amendments, restatements, supplements, or modifications of any of the
foregoing) related to or executed in connection with the Exit Facility.


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            103.   “Exit Facility Lenders” means those lenders party to the Exit Facility Credit Agreement.

         104.     “Exit Facility Term Sheet” means the Exit Facility Term Sheet attached as Exhibit 2 to Exhibit B of
the Restructuring Support Agreement.

         105.    “Exit Rights” means the rights to participate in the Exit Facility in accordance with the Exit Rights
Offering Procedures.

         106.     “Exit Rights Offering Procedures” means the procedures for participation in the Exit Facility set
forth in the “Exit Loan Rights Offering Procedures” in the form attached to the Disclosure Statement Order as
Schedule 12.

         107.     “Exit Term Loan Backstop Fee” means a backstop fee equal to 6.50% of the aggregate principal
amount of the fully committed Exit Facility, payable in shares of New Equity in the aggregate amount equal to such
fee divided by 65.0% of the Plan Equity Value, and payable ratably to each of the Exit Term Loan Backstop Parties
based on such Exit Term Loan Backstop Parties’ commitment percentage to fund the full amount of the Exit Facility.

          108.     “Exit Term Loan Backstop Parties” means the parties listed on Schedule 1 to Exhibit 2 to Exhibit B
to the Restructuring Support Agreement (as such Schedule shall have been amended from time to time in accordance
with the terms thereof, including pursuant to the Exit Syndication Procedures (as defined in the Restructuring Support
Agreement)).

        109.      “Exit Term Loan Equity Fees” means (a) the Exit Term Loan Backstop Fee; and (b) the Exit Term
Loan Participation Fee.

          110.      “Exit Term Loan Participation Fee” means a fee equal to 30.0% of New Equity (subject to dilution
from the Management Incentive Plan and New Warrants), payable ratably to each 2019 Term Loan Lender, 2013
Term Loan Lender, 2028 Debentures Holder, Second Lien Noteholder, and/or Third Lien Noteholder who commits
to participate in the Exit Facility in accordance with the Exit Rights Offering Procedures and, if required to do so,
funds its commitment and, unless the Exit Facility takes the form described in clause (b) of the definition of Exit
Facility, funds its commitment.

            111.   “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        112.     “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the Chapter
11 Cases. “Filed” and “Filing” shall have correlative meanings.

         113.    “FILO Claim” means any Claim arising under, derived from, secured by, based on, or related to,
and the guarantees in respect thereof under the FILO Facility.

       114.        “FILO Facility” means the $100.0 million last-out term loan facility under the ABL Credit
Agreement.

            115.   “FILO Secured Claim” means any FILO Claim that is a Secured Claim.

            116.   “FILO Lenders” means those banks, financial institutions, and other lenders under the FILO
Facility.

          117.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment could be appealed or from which certiorari
could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no modification of such
order, or has otherwise been dismissed with prejudice.
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         118.     “Final DIP Order” means the Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition
Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
(III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 850].

         119.     “Funded-Debt General Unsecured Claim” means any Cash Pay Notes Claim or PIK Toggle Notes
Claim.

         120.      “General Unsecured Claim” means any Claim that is not (a) an Administrative Claim, (b) a
Professional Fee Claim, (c) a Priority Tax Claim, (d) a DIP Facility Claim, (e) an Other Secured Claim, (f) an Other
Priority Claim, (g) an ABL Loan Secured Claim, (h) a FILO Secured Claim, (i) a 2019 Term Loans Secured Claim,
(j) a 2013 Term Loans Secured Claim, (k) a 2028 Debentures Secured Claim, (l) a Second Lien Notes Secured Claim,
(m) a Third Lien Notes Secured Claim, an (n) an Intercompany Claim; (o) a 2013 Term Loans Deficiency Claim; (p)
a 2019 Term Loans Deficiency Claim; (q) a 2028 Debentures Deficiency Claim; (r) a Second Lien Notes Deficiency
Claim; or (s) a Third Lien Notes Deficiency Claim.

         121.    “Governance Term Sheet” means the Governance Term Sheet attached as Exhibit F to the
Restructuring Support Agreement.

         122.     “Governing Body” means the board of directors, board of managers, manager, general partner,
investment committee, special committee, or such similar governing body of any of the Debtors or the Reorganized
Debtors, as applicable.

        123.    “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.

        124.    “GUC Claims Administrator” means any Entity the Creditors Committee appoints to reconcile
General Unsecured Claims after the Effective Date. The GUC Claims Administrator shall be identified in the Plan
Supplement and shall have a budget of $1.5 million, which shall be funded by the Reorganized Debtors.

         125.     “Holder” means an Entity holding a Claim or Interest.

         126.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        127.      “Indentures” means the 2028 Debenture Indenture, the Cash Pay Notes Indenture, the PIK Toggle
Notes Indenture, the Second Lien Notes Indenture, and the Third Lien Notes Indentures.

         128.       “Intercompany Claims” means any Claim against a Debtor that is held by another Debtor or a direct
or indirect subsidiary of a Debtor.

        129.     “Intercompany Interests” means an Interest in a Debtor held by another Debtor and, for the
avoidance of doubt, excludes the Existing Equity Interests.

         130.     “Interest” means, collectively, (a) any Equity Security, or any other equity or ownership interest
(including any such interest in a partnership, limited liability company, or other Entity), in any Debtor, (b) any other
rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
repurchase rights, convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other ownership interest
in any Debtor, and (c) any and all Claims that are otherwise determined by the Court to be an equity interest, including
any Claim or debt that is recharacterized as an equity interest or subject to subornation as an equity interest pursuant
to section 510(b) of the Bankruptcy Code.

         131.     “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
(III) Modifying the Automatic Stay (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket
No. 254].
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          132.    “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

        133.      “Insurance Policies” means all insurance policies that have been issued at any time that provide
coverage, benefits, or proceeds to any of the Debtors (or their predecessors) and all agreements, documents, or
instruments relating thereto.

          134.      “Insurer” means any company or other Entity that issued an Insurance Policy, any third party
administrator of or for any Insurance Policy or self-insured claims, and any respective predecessors, successors, and/or
affiliates of any of the foregoing.

          135.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

          136.    “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        137.     “Management Incentive Plan” means the management incentive plan to be adopted by the New
Board on or substantially contemporaneously with the Effective Date.

         138.   “Mariposa Borrower” means Mariposa Borrower, Inc., a Delaware corporation and a direct
subsidiary of NMG LTD.

       139.       “Mariposa Intermediate” means Mariposa Intermediate Holdings LLC, a Delaware limited liability
company.

      140.     “MYT Holding Co.” means MYT Holding Co., a Delaware corporation and direct subsidiary of
MYT Parent Co.

          141.    “MYT Parent Co.” means MYT Parent Co., a Delaware corporation and direct subsidiary of NMG,
Inc.

          142.    “MYT Series A Preferred Stock” means the shares of Series A Preferred Stock, par value $0.001 per
share, issued by MYT Holding Co.

          143.    “MYT Series B Preferred Stock” means the shares of Series B Preferred Stock, par value $0.001 per
share, issued by MYT Holding Co.

          144.    “MyTheresa” means collectively, MYT Parent Co. and each of its subsidiaries.

         145.     “MyTheresa Guarantee and Collateral Agreement” means the Guarantee and Collateral Agreement,
dated as of June 7, 2019, among MYT Parent Co., each Grantor Party thereto, and Ankura Trust Company, LLC, as
Trustee and as Collateral Agent.

        146.   “Neiman Retirement Plan” means the Neiman Marcus Group LLC Retirement Plan, which is
sponsored by NMG and is a qualified defined benefit pension plan under the Internal Revenue Code and covered by
ERISA.

          147.    “New Board” means the board of directors or the board of managers of Reorganized Neiman.

         148.     “New Equity” means the common equity interests in Reorganized Neiman to be authorized, issued,
or reserved on the Effective Date pursuant to the Plan.

          149.    “New Equity Documentation” means any and all documentation required to implement, issue, and
distribute the New Equity.

         150.     “New Equity Holders” means Holders of Claims entitled to receive New Equity under Article III of
the Plan and the participants in the Management Incentive Plan.
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         151.      “New MyT Documents” means any agreements and/or transactions necessary and appropriate to
ensure that the economic and governance rights of the Second Lien Noteholders, the Third Lien Noteholders, the
Consenting Sponsors, and the Consenting Parent with respect to MyTheresa are consistent with their prepetition rights,
claims and controls, the Existing MyT Transaction Documents and the Transaction Support Agreement (including
documentation that gives effect to and preserves the economic and governance effect of the turnover and waterfall
provisions concerning MyTheresa set forth in the Transaction Support Agreement and the equivalent provisions in
any other prepetition documents and agreements, except to the extent expressly waived in the Plan), which documents,
agreements and/or transactions shall be acceptable to the Consenting Parent, the Required Consenting Noteholders,
the Consenting Sponsors, the Required Consenting Term Loan Lenders (solely with respect to their own rights and
obligations thereunder and matters related to the Reorganized Debtors, if any), and the Debtors (such consent not to
be unreasonably withheld, conditioned, or delayed). The Sponsors, Consenting 2L Parties and Consenting 3L Parties
shall agree in principle on the general terms of the New MyT Documents, including the 2L MyT Distribution and the
3L MyT Distribution, and the parties reserve their rights with respect to definitive documents to be filed with the Plan
Supplement.

         152.     “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, consistent with the Restructuring Support Agreement and section 1123(a)(6)
of the Bankruptcy Code, as applicable and, in each case, in form and substance reasonably acceptable to the Debtors,
and the Required Consenting Stakeholders to the extent set forth in the Restructuring Support Agreement and
otherwise consistent with the Restructuring Support Agreement .

          153.     “New Warrants” means warrants exercisable for 25.0% of the New Equity (subject to dilution from
the Management Incentive Plan) with a seven-year tenor (and no Black-Scholes protection) and at an aggregate equity
value strike price equal to $2.025 billion.

         154.    “New Warrant Agreement” means that certain agreement providing for, among other things, the
issuance and terms of the New Warrants, the form of which shall be Filed pursuant to the Plan Supplement.

          155.    “NMG” means The Neiman Marcus Group LLC, a Delaware limited liability company.

          156.    “NMG, Inc.” means Neiman Marcus Group, Inc., a Delaware corporation.

          157.    “NMG LTD” means Neiman Marcus Group LTD LLC, a Delaware limited liability company.

          158.    “NMG Subsidiary” means The NMG Subsidiary LLC, a Delaware limited liability company.

        159.    “Non-Funded Debt General Unsecured Claim” means any General Unsecured Claim that is not a
  Cash Pay Notes Claim or PIK Toggle Notes Claim.

          160.    "Notes Issuers" means NMG LTD, NMG, NMG Subsidiary, and Mariposa Borrower.

          161.     “Noteholders” means, collectively, the Holders of Second Lien Notes Claims and Third Lien Notes
Claims.

        162.       “Other Priority Claims” means any Claim, other than an Administrative Claim or a Priority Tax
Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        163.     “Other Secured Claims” means any Secured Claim against the Debtors other than a 2013 Term
Loans Secured Claim, a 2019 Term Loans Secured Claim, 2028 Debentures Secured Claim, Second Lien Notes
Secured Claim, or a Third Lien Notes Secured Claim.

          164.    “PBGC” means the Pension Benefit Guaranty Corporation.

          165.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.
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         166.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

        167.     “PIK Toggle Notes Claim” means all Claims against the Debtors arising under, derived from, or
based upon the PIK Toggle Notes Indenture and the PIK Toggle Notes.

         168.     “PIK Toggle Notes” means those certain 8.750%/9.500% Senior PIK Toggle Notes due 2021 issued
pursuant to the PIK Toggle Notes Indenture.

         169.     “PIK Toggle Notes Indenture” means that certain indenture, dated as of October 25, 2013, by and
among the Notes Issuers, the guarantors party thereto, and the PIK Toggle Notes Trustee, as supplemented by the first
supplemental indenture, dated as of October 25, 2013, as supplemented by the second supplemental indenture, dated
as of June 6, 2019, and as further amended, restated, modified, supplemented, or replaced from time to time.

       170.    “PIK Toggle Notes Trustee” means UMB Bank, N.A., as successor to Drivetrain Trust Company
LLC and U.S. Bank National Association, or any successor thereto, as trustee under the PIK Toggle Notes Indenture.

        171.    “Plan” means this Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter 11 of
the Bankruptcy Code, including the Plan Supplement, which is incorporated herein by reference.

          172.      “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with the Plan.

         173.     “Plan Equity Value” means the deemed per share value of the New Equity.

        174.    “Plan Securities” means, collectively, the New Equity, the New Warrants, the 2L MyT Distribution,
the 3L MyT Distribution, and the MYT Series B Preferred Stock issued under the Plan.

         175.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than fourteen (14) days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest, including the
following: (a) the New Organizational Documents; (b) the identity and members of the New Board and any executive
management for the Reorganized Debtors; (c) the Schedule of Retained Causes of Action; (d) the Exit Facility
Documents; (e) the Description of Transaction Steps; (f) the Schedules of Assumed and Rejected Contracts; (g) the
New MyT Documents; (h) the 2L MyT Distribution; (i) the 3L MyT Distribution; (j) the key terms of the Management
Incentive Plan; (k) the Tax Sharing Agreement (if agreed pursuant to Article VI.F); (l) the ABL Treatment Instrument
(as defined in the Disclosure Statement Order and if applicable); (m) the FILO Treatment Instrument (as defined in
the Disclosure Statement Order and if applicable); (n) the identity of the GUC Claims Administrator; and (o) any
additional documents Filed with the Bankruptcy Court prior to the Effective Date as amendments to the Plan
Supplement.

         176.     “Prepetition Secured Parties” shall have the meaning ascribed to such term in the DIP Order.

        177.      “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

          178.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

         179.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

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          180.      “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses of Professionals estimate they have incurred or will incur in rendering services to the Debtors
as set forth in Article II.B of the Plan.

        181.    “Professional Fee Claim” means a Claim by a professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

        182.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         183.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date or the Administrative Claims Bar Date, as applicable.

         184.    “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests, that
the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

          185.     “Released Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the 2028
Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting Noteholder
Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders
of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the following clause
(o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each of their respective
current and former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors, partners, attorneys
(including any other attorneys or professionals retained by any current or former director or manager in his or her
capacity as director or manager of an Entity), accountants, investment bankers, and other professional advisors;
provided that in each case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases contained
in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the
releases contained in the Plan that is not resolved before Confirmation.

          186.     “Releasing Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the Term Loan Lenders; (f) the 2028
Debentures Holders; (g) the Second Lien Noteholders; (h) the Third Lien Noteholders; (i) the Consenting Noteholder
Group; (j) the Consenting Term Loan Lender Group; (k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders
of Claims and Interests; (n) each current and former Affiliate of each Entity in clause (a) through the following clause
(o); and (o) with respect to each of the foregoing Entities in clauses (a) through this clause (o), each of their respective
current and former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors, partners, attorneys
(including any other attorneys or professionals retained by any current or former director or manger in his or her
capacity as director or manager of an Entity), accountants, investment bankers, and other professional advisors;
provided that in each case, an Entity shall not be a Releasing Party if it: (x) elects to opt out of the releases contained
in the Plan; or (y) timely files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the
releases contained in the Plan that is not resolved before Confirmation.

        187.      “Reorganized Debtors” means, collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date. For purposes of this Plan, Reorganized Neiman shall be
a Reorganized Debtor.

         188.     “Reorganized Neiman” means either: (a) NMG LTD, as reorganized pursuant to and under the Plan,
or any successor or assign thereto, by merger, amalgamation, consolidation, or otherwise, on or after the Effective
Date; or (b) to the extent agreed reasonably by the Debtors, the Required Consenting Term Loan Lenders, the
Consenting Parent (such consent not to be unreasonably withheld, conditioned, or delayed), the Consenting Sponsors,
and the Required Consenting Noteholders, (x) Mariposa Intermediate, as reorganized pursuant to and under the Plan,
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or any successor or assign thereto, by merger, amalgamation, consolidation or otherwise, on or after the Effective Date
or (y) a new corporation or limited liability company that may be formed to, among other things, directly or indirectly
acquire substantially all of the assets and/or stock of the Debtors and issue the New Equity to be distributed pursuant
to the Plan.

         189.      “Required Consenting 2L Noteholders” means, as of the relevant date, Consenting 2L Parties
holding at least a majority of the aggregate outstanding principal amount of Second Lien Notes that are held by the
Consenting 2L Parties.

        190.      “Required Consenting 3L Noteholders” means, as of the relevant date, Consenting 3L Parties
holding at least a majority of the aggregate outstanding principal amount of Third Lien Notes that are held by the
Consenting 3L Parties.

         191.      “Required Consenting Debentures Parties” means as of the relevant date, Consenting Debentures
Parties holding at least a majority of the aggregate outstanding principal amount of 2028 Debentures that are held by
Consenting Debentures Parties.

        192.     “Required Consenting Noteholders” means, as of the relevant date, the Required Consenting 2L
Noteholders and the Required Consenting 3L Noteholders.

        193.     “Required Consenting Stakeholders” means the Required Consenting Term Loan Lenders, the
Required Consenting Debenture Parties, the Required Consenting Noteholders, the Consenting Parent, and each of
the Consenting Sponsors.

         194.     “Required Consenting Term Loan Lenders” means, as of the relevant date, Consenting Term Loan
Lenders comprising not fewer than three (3) unaffiliated Consenting Term Loan Lenders holding at least 66.67% of
the aggregate outstanding principal amount of Term Loans that are held by Consenting Term Loan Lenders.

         195.     “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

         196.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as
of May 7, 2020, by and among the Debtors and the other parties thereto, as may be amended, modified, or
supplemented from time to time, in accordance with its terms. In the event the Restructuring Support Agreement is
terminated, any reference herein to the Restructuring Support Agreement shall mean the Restructuring Support
Agreement as in effect immediately prior to such termination and any reference to any party to the Restructuring
Support Agreement shall mean the parties to the Restructuring Support Agreement immediately prior to such
termination.

         197.      “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time with the consent (such consent not to be unreasonably withheld) of the Required
Consenting Term Loan Lenders; the Required Consenting Noteholders; the Required Consenting Debentures Parties;
and the Debtors.

          198.    “Schedules” means, collectively, the schedules of assets and liabilities, Schedule of Retained Causes
of Action, and statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code, the
official bankruptcy forms, and the Bankruptcy Rules, as they may be amended, modified, or supplemented from time
to time.

        199.      “Schedules of Assumed and Rejected Contracts” means the schedules of certain Executory Contracts
and Unexpired Leases to be assumed, assumed and assigned, or rejected by the Debtors pursuant to the Plan, as the
same may be amended, modified, or supplemented from time to time by the Debtors, which schedules shall be
acceptable to the Required Consenting Term Loan Lenders and the Required Consenting Noteholders.



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        200.    “Second Lien Notes” means those certain 14.0% Second Lien Notes due 2024 issued pursuant to the
Second Lien Notes Indenture.

         201.     “Second Lien Noteholder” means any Holder of Second Lien Notes.

        202.     “Second Lien Notes Claim” means any Claim against the Debtors arising under, derived from, or
based upon the Second Lien Notes Indenture and the Second Lien Notes.

        203.     “Second Lien Notes Deficiency Claim” means any Second Lien Notes Claim that is not a Second
Lien Notes Secured Claim.

        204.      “Second Lien Notes Indenture” means that certain indenture, dated as of June 7, 2019, by and among
the Notes Issuers, the guarantors party thereto, and the Second Lien Notes Trustee.

         205.     “Second Lien Notes Secured Claims” means any Second Lien Notes Claim that is a Secured Claim.

         206.     “Second Lien Notes Trustee” means Ankura Trust Company, LLC, or any successor thereto, in its
capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or related to the
Second Lien Note Indenture.

         207.       “Secured Claim” means a Claim: (a) secured by a valid, perfected and enforceable Lien on collateral
to the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code
or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

         208.      “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.

         209.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         210.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

         211.     “Segregated Cash” means the Cash of the Debtors held in segregated collateral accounts.

          212.       “Solicitation Materials” means the Disclosure Statement and related documentation to be
distributed to holders of Claims entitled to vote on the Plan, which shall include the Exit Rights Offering Procedures
and a list of all of the Debtors’ store leases indicating which leases are intended to be assumed or rejected.

         213.     “Sponsor Contribution” has the meaning assigned to such term in Article IV.A.

        214.    “Sponsors” means any party that directly or indirectly holds or controls equity interests in the
Consenting Parent, including the Consenting Sponsors.

         215. “Tax Sharing Agreement” means a tax sharing agreement between NMG, Inc. and its non-Debtor
  subsidiaries that are part of the consolidated U.S. federal income tax group (and any similar state and local tax
  group), and the Debtors that are part of the consolidated U.S. federal income tax group (and any similar state and
  local tax group) that provides for the allocation of responsibility for various tax costs of the consolidated group
  members, allocations of refunds of any tax refunds received by or on behalf of members of the consolidated group,
  allocation of costs relating to the preparation and filing of tax returns of the consolidated group, and conduct of tax
  contests and allocation of costs relating to tax contests and other similar matters.

        216.      “Term Loan Agent” means Credit Suisse AG, Cayman Islands Branch, in its capacity as
administrative agent and collateral agent under the Term Loan Credit Agreement.
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         217.    “Term Loan Credit Agreement” means that certain credit agreement, dated as of October 25, 2013,
by and among Neiman Marcus Group LTD LLC, The Neiman Marcus Group LLC, and NMG Subsidiary, as
borrowers, Mariposa Intermediate Holdings LLC, each of the other guarantors party thereto, the Term Loan Agent,
and the Term Loan Lenders, as amended, restated, amended and restated, supplemented or otherwise modified, or
replaced from time to time.

        218.    “Term Loan Lenders” means those banks, financial institutions, and other lenders party to the Term
Loan Credit Agreement from time to time.

         219.     “Term Loans” means, collectively, the 2019 Terms Loans and the 2013 Term Loans.

         220.     “Third Lien Noteholder” means any Holder of Third Lien Notes Claims.

         221.     “Third Lien Notes” means those certain 8.000% and 8.750% Third Lien Notes due 2024 issued
pursuant to the Third Lien Notes Indentures.

        222.     “Third Lien Notes Claim” means any Claim against the Debtors arising under, derived from, or
based upon the Third Lien Notes Indentures and the Third Lien Notes.

        223.    “Third Lien Notes Deficiency Claim” means any Third Lien Notes Claim that is not a Third Lien
Notes Secured Claim.

       224.      “Third Lien Notes Indentures” means those certain indentures, dated as of June 7, 2019, by and
among the Notes Issuers, the guarantors party thereto, and the Third Lien Notes Trustee, as amended, restated,
supplemented or otherwise modified from time to time.

         225.     “Third Lien Notes Secured Claims” means any Third Lien Notes Claim that is a Secured Claim.

          226.     “Third Lien Notes Trustee” means Wilmington Trust, National Association (or any successor
thereto), in its capacity as trustee, notes collateral agent, registrar, custodian, and in any other capacities under or
related to the Third Lien Note Indentures.

         227.     “Third-Party Release” means the release set forth in Article VIII.D of this Plan.

         228.      “Transaction Support Agreement” means that certain Transaction Support Agreement, together with
all exhibits, annexes, and schedules thereto, dated as of March 15, 2019, and as amended on April 10, 2019, by and
among NMG, Inc. and its subsidiaries, the Consenting Sponsors, an ad hoc committee of holders of 2013 Term Loans,
an ad hoc committee of holders of Cash Pay Notes and PIK Toggle Notes, and each of the additional parties who
delivered a joinder thereto.

        229.     “Trustee” means any trustee or agent or similar Entity under the Second Lien Notes Indenture, Third
Lien Notes Indentures, 2028 Debentures Indenture, Cash Pay Notes Indenture, and PIK Toggle Notes Indenture.

        230.      “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          231.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
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particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document created or entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) unless otherwise specified, the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation”; (10) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan; (11) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply;
(12) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules,
as the case may be; (13) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (14) all references to statutes, regulations,
orders, rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (15) any immaterial effectuating provisions may be interpreted by the Reorganized Debtors
in such a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity; (16) all references herein to consent, acceptance, or
approval may be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail; and (17) unless otherwise specified, any action to be taken on the Effective Date may be
taken on or as soon as reasonably practicable thereafter.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.




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F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan, and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan shall control (unless stated otherwise in such Plan document or in the Confirmation
Order). In the event of an inconsistency between the Confirmation Order and the Plan, the Confirmation Order shall
control.

H.       Consent Rights.

          Notwithstanding anything herein to the contrary, any and all consent rights of the parties to the Restructuring
Support Agreement set forth in the Restructuring Support Agreement with respect to the form and substance of this
Plan, all exhibits to the Plan, the Plan Supplement, and the Definitive Documentation, including any amendments,
restatements, supplements, or other modifications to such agreements and documents, and any consents, waivers, or
other deviations under or from any such documents, shall be incorporated herein by this reference (including to the
applicable definitions in section A hereof) and be fully enforceable as if stated in full herein.

                                   ARTICLE II.
 ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, PRIORITY CLAIMS, AND UNITED STATES
                            TRUSTEE STATUTORY FEES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Facility Claims,
Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the
United States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to
the amount of such Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim
is Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or,
if not then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if
such Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on
which an order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
course of their business after the Petition Date in accordance with the terms and conditions of the particular transaction
giving rise to such Allowed Administrative Claim without any further action by the Holders of such Allowed
Administrative Claim; (4) at such time and upon such terms as may be agreed upon by such Holder and the Debtors
or the Reorganized Debtors, as applicable; or (5) at such time and upon such terms as set forth in an order of the
Bankruptcy Court.

         Except as otherwise provided in this Article II.A of the Plan, and except with respect to Administrative
Claims that are DIP Facility Claims, Professional Fee Claims, or Cure Claims, requests for payment of Administrative
Claims must be Filed with the Bankruptcy Court and served on the Debtors pursuant to the procedures specified in
the Confirmation Order and the notice of entry of the Confirmation Order no later than the Administrative Claims Bar
Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for payment of such
Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting such Administrative
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Claims against the Debtors or their property and such Administrative Claims shall be deemed discharged as of the
Effective Date.

B.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All requests for payment of Professional Fee Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional
Fee Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee Escrow Account,
which the Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional
Fee Amount on the Effective Date.

         2.   Professional Fee Escrow Account.

          On the Effective Date, the Reorganized Debtors shall, without duplication of any account or amount
established for the benefit of Professionals pursuant to a DIP Order, establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount, which shall be funded by the Reorganized Debtors. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not be
considered property of the Estates of the Debtors or the Reorganized Debtors. The amount of Professional Fee Claims
owing to the Professionals shall be paid in Cash to such Professionals by the Reorganized Debtors from the
Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are Allowed.
When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in the
Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further action or
order of the Bankruptcy Court.

         3.   Professional Fee Amount.

          Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than two (2) Business Days before the Effective Date; provided, however, that such
estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of the Professional’s
final request for payment of Filed Professional Fee Claims. If a Professional does not provide an estimate, the Debtors
or Reorganized Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

C.       DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed for all purposes as fully Secured Claims in an amount
equal to (i) the principal amount outstanding under the DIP Facility on such date, (ii) all interest accrued and unpaid
thereon to the date of payment, and (iii) any and all accrued and unpaid fees, expenses, and indemnification or other
obligations of any kind payable under the DIP Credit Agreement Documents. Such DIP Facility Claims shall not be
subject to any avoidance, reduction, setoff, offset, recoupment, recharacterization, subordination (whether equitable,
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contractual, or otherwise), counterclaim, cross-claim, defense, disallowance, impairment, objection, or any other
challenge under any applicable law or regulation by any Entity.

          Except to the extent that a Holder of an Allowed DIP Facility Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of each Allowed DIP Facility Claim, on the Effective
Date, each Holder thereof shall receive payment in full in Cash, other than the Aggregate DIP Equity Fees, which
shall be payable in full in New Equity.

D.           Priority Tax Claims.

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.           United States Trustee Statutory Fees

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee quarterly fees
under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on all disbursements,
including Plan payments and disbursements in and outside the ordinary course of the Debtors’ or Reorganized
Debtors’ business (or such amount agreed to with the United States Trustee or ordered by the Bankruptcy Court), for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever
occurs first.

                                           ARTICLE III.
                      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.           Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with section 1122 and
1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular Class
only to the extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class
and has not been paid, released, or otherwise satisfied prior to the Effective Date.

             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                  Claims and Interests                      Status                   Voting Rights
 Class 1         Other Secured Claims                              Unimpaired    Not Entitled to Vote (Deemed to Accept)

 Class 2         Other Priority Claims                             Unimpaired    Not Entitled to Vote (Deemed to Accept)

 Class 3         ABL Loan Secured Claims                           Impaired      Entitled to Vote

 Class 4         FILO Secured Claims                               Impaired      Entitled to Vote

 Class 5         2019 Term Loans Claims                          Impaired        Entitled to Vote

 Class 6         2013 Term Loans Claims                          Impaired        Entitled to Vote

 Class 7         2028 Debentures Claims                            Impaired      Entitled to Vote


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     Class                   Claims and Interests                         Status                 Voting Rights
 Class 8          Second Lien Notes Claims                             Impaired    Entitled to Vote

 Class 9          Third Lien Notes Claims                              Impaired    Entitled to Vote

 Class 10         Funded-Debt General Unsecured Claims                 Impaired    Entitled to Vote

 Class 11         Non-Funded Debt General Unsecured Claims             Impaired    Entitled to Vote
                                                                    Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 12         Intercompany Claims
                                                                    Impaired       Reject)
                                                                    Unimpaired /   Not Entitled to Vote (Deemed to Accept /
 Class 13         Intercompany Interests
                                                                    Impaired       Reject)
 Class 14         Existing Equity Interests                            Impaired    Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such
Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized
Debtors and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or
as soon as reasonably practicable thereafter.

             1.   Class 1 - Other Secured Claims

                      (a)        Classification: Class 1 consists of any Other Secured Claims.

                      (b)        Treatment: Each Holder of an Allowed Other Secured Claim shall receive, in full and final
                                 satisfaction of such Claim, at the option of the Debtors, in consultation with the Required
                                 Consenting Term Loan Lenders and the Required Consenting Noteholders, either:

                                 (i)          payment in full in Cash of such Holder’s Allowed Other Secured Claim;

                                 (ii)         delivery of the collateral securing such Holder’s Allowed Other Secured Claim
                                              and payment of any interest required under section 506(b) of the Bankruptcy
                                              Code;

                                 (iii)        Reinstatement of such Holder’s Allowed Other Secured Claim; or

                                 (iv)         such other treatment rendering such Holder’s Allowed Other Secured Claim
                                              Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                      (c)        Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                                 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                                 Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                                 Plan.




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   2.   Class 2 - Other Priority Claims

            (a)      Classification: Class 2 consists of any Other Priority Claims.

            (b)      Treatment: Each Holder of an Allowed Other Priority Claim shall receive, in full and final
                     satisfaction of such Claim, at the option of the Debtors, either:

                     (i)      payment in full in Cash;

                     (ii)     Reinstatement of such Holder’s Allowed Other Priority Claim; or

                     (iii)    such other treatment rendering such Holder’s Allowed Other Priority Claim
                              Unimpaired in accordance with section 1124 of the Bankruptcy Code.

            (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Claims in Class 2 are
                     conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                     Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                     Plan.

   3.   Class 3 - ABL Loan Secured Claims

            (a)      Classification: Class 3 consists of any ABL Loan Secured Claims.

            (b)      Treatment: Each Holder of an Allowed ABL Loan Secured Claim shall receive, in full and
                     final satisfaction of such Claim,

                     (i)      payment in full in Cash;

                     (ii)     consensual refinancing or other consensual modification of the ABL Loans giving
                              rise to such ABL Loan Secured Claims; or

                     (iii)    other treatment consistent with the Bankruptcy Code and the Disclosure
                              Statement Order.

            (c)      Voting: Class 3 is Impaired under the Plan and Holders of Allowed Claims in Class 3 are
                     entitled to vote to accept or reject the Plan.

   4.   Class 4 - FILO Secured Claims

            (a)      Classification: Class 4 consists of any FILO Secured Claims.

            (b)      Treatment: Each Holder of an Allowed FILO Secured Claim shall receive, in full and final
                     satisfaction of such Claim

                     (i)      payment in full in Cash;

                     (ii)     consensual refinancing or other consensual modification of the FILO Facility
                              giving rise to such FILO Secured Claims; or

                     (iii)    other treatment consistent with the Bankruptcy Code and the Disclosure




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                             Statement Order.

            (c)     Voting: Class 4 is Impaired under the Plan and Holders of Allowed Claims in Class 4 are
                    entitled to vote to accept or reject the Plan.

   5.   Class 5 - 2019 Term Loans Claims

            (a)     Classification: Class 5 consists of any 2019 Term Loans Claims.

            (b)     Allowance: On the Effective Date, the 2019 Term Loans Claims shall be Allowed in the
                    aggregate principal amount of $2,240,501,378.16, plus accrued and unpaid allowed interest
                    on such principal amount, plus any other unpaid premiums, fees, costs, or other amount
                    due and owing pursuant to the Term Loan Credit Agreement, in each case up to but not
                    including the Petition Date.

            (c)     Treatment: On the Effective Date, each Holder of an Allowed 2019 Term Loans Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      87.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                             the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise
                             of the New Warrants, and subject to upward adjustment if Class 6 does not vote
                             in favor of the Plan; and

                    (ii)     87.5% of the Exit Rights, subject to upward adjustment if Class 6 does not vote
                             in favor of the Plan.

            (d)     Voting: Class 5 is Impaired under the Plan and Holders of Allowed Claims in Class 5 are
                    entitled to vote to accept or reject the Plan.

   6.   Class 6 - 2013 Term Loans Claims

            (a)     Classification: Class 6 consists of any 2013 Term Loans Claims.

            (b)     Allowance: On the Effective Date, the 2013 Term Loans Claims shall be Allowed in the
                    aggregate principal amount of $12,597,197.75, plus accrued and unpaid allowed interest
                    on such principal amount, plus any other unpaid premiums, fees, costs or other amount due
                    and owing pursuant to the Term Loan Credit Agreement, in each case up to but not
                    including the Petition Date.

            (c)     Treatment: On the Effective Date:

                    (i)      if Class 6 votes in favor of the Plan, each Holder of an Allowed 2013 Term Loans
                             Claim shall receive, in full and final satisfaction of such Claim, its Pro Rata share
                             of and interest in (a) 0.2% of the New Equity, subject to dilution by the
                             Management Incentive Plan, the Exit Term Loan Equity Fees, the Aggregate DIP
                             Equity Fees, and the exercise of the New Warrants, and (b) 0.2% of the Exit
                             Rights; or

                    (ii)     if Class 6 votes to reject the Plan, each Holder of an Allowed 2013 Term Loans
                             Claim shall receive, in full and final satisfaction of such Claim, value as of the
                             Effective Date equal to the Allowed amount of such Claim, provided that such
                             value shall not exceed the value of each Holder’s interest in the estate’s interest


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                             in the property securing such Claim.

            (d)     Voting: Class 6 is Impaired under the Plan and Holders of Allowed Claims in Class 6 are
                    entitled to vote to accept or reject the Plan.

   7.   Class 7 - 2028 Debentures Claims

            (a)     Classification: Class 7 consists of any 2028 Debentures Claims.

            (b)     Allowance: On the Effective Date, the 2028 Debentures Claims shall be Allowed in the
                    aggregate principal amount of $125,000,000, plus accrued and allowed unpaid interest on
                    such principal amount, plus any other unpaid premiums, fees, costs, or any other amounts
                    due and owing pursuant to the 2028 Debentures Indenture, in each case up to but not
                    including the Petition Date.

            (c)     Treatment: On the Effective Date, each Holder of an Allowed 2028 Debentures Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      2.8% of the New Equity, subject to dilution by the Management Incentive Plan,
                             Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise of
                             New Warrants and subject to upward adjustment if Class 6 does not vote in favor
                             of the Plan; and

                    (ii)     2.8% of the Exit Rights, subject to upward adjustment if Class 6 does not vote in
                             favor of the Plan.

            (d)     Voting: Class 7 is Impaired under the Plan and Holders of Allowed Claims in Class 7 are
                    entitled to vote to accept or reject the Plan.

   8.   Class 8 - Second Lien Notes Claims

            (a)     Classification: Class 8 consists of any Second Lien Notes Claims.

            (b)     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed in the
                    aggregate principal amount of $561,733,333, plus accrued and unpaid allowed interest on
                    such principal amount, plus any other unpaid premiums, fees costs, or other amounts due
                    and owing pursuant to the Second Lien Notes Indenture, in each case up to but not
                    including the Petition Date.

            (c)     Treatment: On the Effective Date, each Holder of an Allowed Second Lien Notes Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      1.0% of the New Equity, subject to dilution by the Management Incentive Plan,
                             the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise




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                             of the New Warrants;

                    (ii)     1.0% of the Exit Rights;

                    (iii)    the New Warrants; and

                    (iv)     the 2L MyT Distribution.

            (d)     Voting: Class 8 is Impaired under the Plan and Holders of Allowed Claims in Class 8 are
                    entitled to vote to accept or reject the Plan.

   9.   Class 9 - Third Lien Notes Claims

            (a)     Classification: Class 9 consists of any Third Lien Notes Claims.

            (b)     Allowance: On the Effective Date, the Third Lien Notes Claims shall be Allowed in the
                    aggregate principal amount of $1,228,383,150, plus accrued and unpaid allowed interest
                    on such principal amount, plus any other unpaid premiums, fees, costs, or other amounts
                    due and owing pursuant to the Third Lien Notes Indenture, in each case, up to but not
                    including the Petition Date.

            (c)     Treatment: On the Effective Date, each Holder of an Allowed Third Lien Notes Claim
                    shall receive, in full and final satisfaction of such Claim, its Pro Rata share of and interest
                    in:

                    (i)      8.5% of the New Equity, subject to dilution by the Management Incentive Plan,
                             the Exit Term Loan Equity Fees, the Aggregate DIP Equity Fees, and the exercise
                             of the New Warrants; and

                    (ii)     8.5% of the Exit Rights; and

                    (iii)    the 3L MyT Distribution.

            (d)     Voting: Class 9 is Impaired under the Plan and Holders of Allowed Claims in Class 9 are
                    entitled to vote to accept or reject the Plan.

   10. Class 10 - Funded-Debt General Unsecured Claims

            (a)     Classification: Class 10 consists of all Funded-Debt General Unsecured Claims.

            (b)     Treatment: Each Holder of an Allowed Funded Debt General Unsecured Claim shall
                    receive, in full and final satisfaction of such Claim, on or as reasonably practicable after
                    the Effective Date, its Pro Rata share (determined based on all Allowed General Unsecured
                    Claims, together with Holders of Allowed Non-Funded Debt General Unsecured Claims)
                    of (A) the Sponsor Contribution and (B) $10,000,000 of Cash to be funded by the Debtors
                    or Reorganized Debtors.

            (c)     Voting: Class 10 is Impaired under the Plan and Holders of Allowed Claims in Class 10
                    are entitled to vote to accept or reject the Plan.




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   11. Class 11 - Non-Funded Debt General Unsecured Claims

           (a)      Classification: Class 11 consists of all Non-Funded Debt General Unsecured Claims.

           (b)      Treatment: Each Holder of an Allowed Non-Funded Debt General Unsecured Claim shall
                    receive, in full and final satisfaction of such Claim, on or as reasonably practicable after
                    the Effective Date, its Pro Rata share (determined based on all Allowed General Unsecured
                    Claims, together with Holders of Allowed Funded-Debt General Unsecured Claims) of (A)
                    the Sponsor Contribution and (B) $10,000,000 of Cash to be funded by the Debtors or
                    Reorganized Debtors.

           (c)      Voting: Class 11 is Impaired under the Plan and Holders of Allowed Claims in Class 11
                    are entitled to vote to accept or reject the Plan.

   12. Class 12 - Intercompany Claims

           (a)      Classification: Class 12 consists of all Intercompany Claims.

           (b)      Treatment: Intercompany Claims shall be, at the option of the Reorganized Debtors, in
                    consultation with the Consenting Term Loan Lender Group and the Consenting Noteholder
                    Group, either:

                    (i)      Reinstated; or

                    (ii)     cancelled, released, and extinguished without any distribution on account of such
                             Claims.

           (c)      Voting: Class 12 is Unimpaired if the Class 12 Claims are Reinstated or Impaired if the
                    Class 12 Claims are cancelled. Holders of Class 12 Claims are conclusively deemed to
                    have accepted the Plan pursuant to section 1126(f) or rejected the Plan pursuant to section
                    1126(g) of the Bankruptcy Code. Holders of Class 12 Claims are therefore not entitled to
                    vote to accept or reject the Plan.

   13. Class 13 - Intercompany Interests

           (a)      Classification: Class 13 consists of all Intercompany Interests.

           (b)      Treatment: Intercompany Interests shall be, at the option of Reorganized Debtors, in
                    consultation with the Consenting Term Loan Lender Group and the Consenting Noteholder
                    Group, either:

                    (i)      Reinstated; or

                    (ii)     cancelled, released, and extinguished without any distribution on account of such
                             Interests.

           (c)      Voting: Class 13 is Unimpaired if the Class 13 Interests are Reinstated or Impaired if the
                    Class 13 Interests are cancelled. Holders of Class 13 Interests are conclusively deemed to
                    have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the
                    Plan pursuant to section 1126(g) of the Bankruptcy Code. Holders of Class 13 Interests
                    are therefore not entitled to vote to accept or reject the Plan.




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         14. Class 14 - Existing Equity Interests

                  (a)      Classification: Class 14 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, Existing Equity Interests will be cancelled, released,
                           and extinguished without any distribution on account of such Existing Equity Interests.

                  (c)      Voting: Class 14 is Impaired under the Plan and Holders of Class 14 Interests are
                           conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                           Bankruptcy Code. Holders of Class 14 Interests are therefore not entitled to vote to accept
                           or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claims, including, all rights regarding legal and equitable defenses to, or
setoffs or recoupments against, any such Unimpaired Claims.

D.       Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Equity, and in exchange for the Debtors’
and Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall seek
Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of
Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the Plan to the
extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including
by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests
Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.


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I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the Restructuring Support Agreement,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests; Disinterested Manager Settlement.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, among
the Debtors, the parties to the Restructuring Support Agreement, the Releasing Parties, the Released Parties, and the
Holders of Claims and Interests in Classes 1 through 14 of the Plan. Distributions made to Holders of Allowed Claims
and Allowed Interests in any Class are intended to be final. Notably, the Plan reflects a good faith compromise and
settlement by the disinterested manager of NMG LTD, on behalf of the Debtors, the Consenting Parent, the Consenting
Sponsors, and the Debtors’ secured lenders and bondholders otherwise entitled to assert deficiency claims of any
potential estate claims or causes of actions against the Consenting Parent and the Sponsors (the “Disinterested
Manager Settlement”). In full and final satisfaction of potential Claims the Estates may have against the Consenting
Parent, its directors and officers, and the Sponsors, the Consenting Parent and Consenting Sponsors shall cause to be
delivered to Reorganized Neiman on the Effective Date the sum of 140,000,000 shares of MYT Series B Preferred
Stock which shares of MYT Series B Preferred Stock, for the avoidance of doubt, shall include all rights associated
with the MYT Series B Preferred Stock and any cumulative dividends accrued through the Effective Date of the Plan
or thereafter (the “Sponsor Contribution”). In connection with the Disinterested Manager Settlement, the Consenting
Term Loan Lenders will, subject to confirmation of the Plan, waive their challenges to the security/ownership interests
of the Debtors’ consignors.

          The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such Claims,
Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to
be and shall be final.

B.       Restructuring Transactions.

          On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any transactions
and shall take any actions as may be necessary or appropriate to effectuate the Restructuring Transactions (as agreed
and in accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder), including to establish Reorganized Neiman and, if applicable, to transfer assets of the Debtors to
Reorganized Neiman or a subsidiary thereof. The applicable Debtors or the Reorganized Debtors will take any actions
as may be necessary or advisable to effect a corporate restructuring of the overall corporate structure of the Debtors,
to the extent agreed in accordance with the consent rights in the Restructuring Support Agreement and provided herein,
in the Description of Transaction Steps, or in the Definitive Documentation, including the issuance of all securities,
notes, instruments, certificates, and other documents required to be issued pursuant to the Plan, one or more
intercompany mergers, consolidations, amalgamations, arrangements, continuances, restructurings, conversions,
dissolutions, transfers, liquidations, or other corporate transactions.

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          On the Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any of
the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear of all Liens, Claims, charges,
Causes of Action, or other encumbrances. To the extent provided in the Description of Transaction Steps, each Debtor,
other than Reorganized Neiman, may be deemed dissolved in accordance with applicable law, without any further
notice to or action, order, or approval of the Bankruptcy Court or any other Entity. Reorganized Neiman shall be the
issuer of New Equity to the applicable Holders of Claims and Interests as set forth herein.

           The actions to implement the Restructuring Transactions may include, in each case if and as agreed in
accordance with the Restructuring Support Agreement and subject to the applicable consent and approval rights
thereunder: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable parties may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, duty, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant
to applicable law; (4) all transactions necessary to provide for the purchase of substantially all of the assets or Interests
of any of the Debtors by one or more Entities to be wholly owned by Reorganized Neiman, which purchase, if
applicable, may be structured as a taxable transaction for United States federal income tax purposes; and (5) all other
actions that the applicable parties determine to be necessary, including making filings or recordings that may be
required by applicable law in connection with the Plan.

C.       The Reorganized Debtors.

         On the Effective Date, the New Board shall be established, and each Reorganized Debtor shall adopt its New
Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements, documents,
and instruments and to take any other actions contemplated under the Plan as necessary to consummate the Plan.

D.       Sources of Consideration for Plan Distributions.

         1.   Exit Facility.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of which will be
set forth in the Exit Facility Documents. Confirmation of the Plan shall be deemed approval of the Exit Facility and
the Exit Facility Documents, as applicable, and all transactions contemplated thereby, and all actions to be taken,
undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection therewith, including
the payment of all fees, indemnities, expenses, and other payments provided for therein and authorization of the
Reorganized Debtors to enter into and execute the Exit Facility Documents and such other documents as may be
required to effectuate the treatment afforded by the Exit Facility.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the Exit Facility
Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the Exit Facility Documents, (c) shall be
deemed automatically perfected on the Effective Date, subject only to such Liens and security interests as may be
permitted under the Exit Facility Documents, and (d) shall not be subject to recharacterization or equitable
subordination for any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances
under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the persons and
entities granted such Liens and security interests shall be authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other law that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order and any such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties.
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         2.   New Equity.

         On the Effective Date, upon cancellation of the Existing Equity Interests, Reorganized Neiman shall issue
the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan. The issuance of the New
Equity, including New Equity reserved under the Management Incentive Plan, shall be authorized without the need
for any further corporate action and without any further action by the Holders of Claims or Interests or the Debtors or
the Reorganized Debtors, as applicable.

         All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable. Each distribution and issuance referred to in Article VI hereof shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance.

         3.   New Warrants

        On the Effective Date, Reorganized Neiman shall issue the New Warrants in accordance with the New
Warrant Agreement and distribute them to the Holders of Claims in Class 8, in accordance with Article VI.D.2. All
of the New Warrants issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and
non-assessable.

         4.   2L MyT Distribution

          On the Effective Date, one or more applicable parties shall issue a security or instrument in accordance with
the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders of Claims in Class 8, in
accordance with Article VI.D.2 of the Plan. Upon issuance, the 2L MyT Distribution shall be duly authorized, validly
issued, fully paid, and non assessable.

         5.   3L MyT Distribution

          On the Effective Date, one or more applicable parties shall issue a security or instrument in accordance with
the Restructuring Support Agreement and Plan Supplement and distribute it to the Holders of Claims in Class 9, in
accordance with Article VI.D.2 of the Plan. Upon Issuance, the 3L MyT Distribution shall be duly authorized, validly
issued, fully paid, and non assessable.

         6.   General Unsecured Creditor Recovery

         On the Effective Date, the Sponsor Contribution and $10,000,000 of Cash will be available for distribution
to Holders of Allowed General Unsecured Claims in accordance with the treatment set forth in the Plan for Classes
10 and 11. The GUC Claims Administrator shall have responsibility for reconciling General Unsecured Claims,
including asserting any objections thereto; provided, that the Debtors or Reorganized Debtors shall retain the right to
object to asserted Class 10 Claims.

E.       Limited Waiver of Transaction Support Agreement and MyTheresa Turnover Provision

         Notwithstanding anything to the contrary in the Plan, in connection with the Disinterested Manager
Settlement, the Consenting Parent, the Sponsors, and any applicable creditors expressly waive any right they may
have to enforce a turnover of the Sponsor Contribution or any other consideration pursuant to this Plan that might be
enforceable against the Debtors or any of their creditors pursuant to the Existing MYT Transaction Documents and
the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements; provided, that to the extent the Consenting 2L Parties and the Consenting 3L Parties do
not agree to waive the Second Lien Notes Deficiency Claims and the Third Lien Notes Deficiency Claims, (i) the
turnover and waterfall provisions concerning MyTheresa as set forth in the Existing MYT Transaction Documents
and the Transaction Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements, shall apply with respect to such distributions in respect of such Claims, and (ii) the Parent
and Sponsors agree that any recovery received by Parent or Sponsors pursuant to turnover of distributions received
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on account of the Second Lien Notes Deficiency Claim and the Third Lien Notes Deficiency Claims shall be
distributed to Holders of Allowed General Unsecured Claims. The Sponsors acknowledge and support the waiver of
turnover rights in connection with the Disinterested Manager Settlement for purposes of this Plan only and only to the
extent necessary to implement the terms of this Plan. To the extent the Plan is not effectuated, all rights are reserved.

F.       Corporate Existence.

          Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor shall continue
to exist after the Effective Date as a separate corporate Entity, limited liability company, partnership, or other form,
as the case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as the
case may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is incorporated or
formed and pursuant to the respective certificate of incorporation and bylaws (or other formation documents) in effect
prior to the Effective Date, except to the extent such certificate of incorporation and by-laws (or other formation
documents) are amended under the Plan or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval (other than any requisite
filings required under applicable state, provincial, or federal law).

G.       Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated
herein, on the Effective Date, all property in each Debtor’s Estate, all Causes of Action, and any property acquired by
any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens,
Claims, charges, Causes of Action, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

H.       Cancellation of Existing Agreements and Interests.

          On the later of the Effective Date and the date on which distributions are made pursuant to the Plan (if not
made on the Effective Date), except for the purpose of evidencing a right to and allowing Holders of Claims and
Interests to receive a distribution under the Plan or to the extent otherwise specifically provided for in the Plan or set
forth in the Description of Restructuring Transactions, (a) all notes, instruments, certificates, and other documents
evidencing Claims or Interests, and any other certificate, equity security, share, note, bond, indenture, purchase right,
option, warrant, or other instrument or document directly or indirectly evidencing or creating any indebtedness or
obligation of or ownership interest in the Debtors giving rise to any Claim or Interest (except such agreements,
certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or ownership interest
in the Debtors that are reinstated or amended and restated pursuant to the Plan), shall be cancelled, and the obligations
of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled, discharged, and of
no force or effect, and the Agents and Trustees shall not have any continuing duties or obligations thereunder and
shall be discharged; and (b) the obligations of the Debtors pursuant, relating, or pertaining to any credit document or
agreement, the Indentures, any agreements, certificates of designation, bylaws or certificate, or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
options, or other instruments or documents evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtors (except such agreements, certificates, notes, or other instruments evidencing indebtedness or
obligation of or ownership interest in the Debtors that are specifically reinstated, amended and reinstated, or entered
into pursuant to the Plan) shall be released and discharged; provided, however, that the applicable credit document,
agreement, or Indentures shall continue in effect for the purposes of: (i) allowing the Agents and Trustees to receive
distributions from the Debtors and to make further distributions to the applicable Holders of Claims (subject to any
applicable charging liens), and allowing such Holders to accept distributions, on account of such Claims;
(ii) preserving the Agents’ and Trustees’ rights to payment of reasonable and documented fees and expenses (to be
documented in accordance with the terms of the applicable credit document(s), agreement(s), or Indenture(s)), and
allowing the maintenance, exercise, and enforcement of any applicable charging lien and priority of payment rights
for the payment of reasonable and documented fees and expenses (to be documented in accordance with the terms of
the applicable credit document(s), agreement(s), or Indenture(s)), including the Agent’s or Trustee’s charging liens

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and priority of payment rights pursuant and subject to the terms of the applicable credit document(s), agreement(s),
or Indenture(s), or any related or ancillary document, instrument, agreement, or principle of law, against any money
or property distributed or allocable on account of such Claims, as applicable; (iii) seeking compensation and
reimbursement for any reasonable and documented fees and expenses incurred by or on behalf of the Agents and
Trustees in connection with the implementation of the Plan; (iv) allowing the Agents and Trustees to enforce their
respective rights, claims, and interests against any Entity that is not a Released Party; (v) preserving the right of Agents
and Trustees to exculpation and, indemnification from the Debtors or any other Entity pursuant and subject to the
terms of the applicable credit document(s), agreement(s), or Indenture(s), and permitting each of the Agents and
Trustees to maintain, enforce, and exercise its respective charging liens in connection therewith; (vi) maintaining,
enforcing, and exercising any right or obligation to compensation, indemnification, exculpation, expense
reimbursement, or contribution, or any other claim or entitlement that the Agents and Trustees may have under the
applicable credit document(s), agreement(s), or Indenture(s), permitting each of the Agents and Trustees to maintain,
enforce, and exercise its respective charging liens in connection therewith; (vii) permitting the Agents and Trustees to
perform any functions that are necessary to effectuate the forgoing; and (viii) preserving the Agents’ and Trustees’
right to appear and be heard in the Chapter 11 Cases or in any other proceeding in the Bankruptcy Court, including
but not limited to enforcing any obligations owed to it under the Plan, Confirmation Order, or under the applicable
credit document(s), agreement(s), or Indenture(s); provided that (a) nothing in this Plan shall affect the discharge of
Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan and (b) except as otherwise provided in
the Plan, the terms and provisions of the Plan shall not modify any existing contract or agreement that would in any
way be inconsistent with distributions under the Plan; provided, further, that all provisions in credit documents,
agreements, or Indentures that by their own terms survive the termination, discharge, expiration, or maturity thereof,
shall also survive and continue in full force and effect. On the Effective Date, each holder of a certificate or instrument
evidencing a Claim that is discharged by the Plan shall be deemed to have surrendered such certificate or instrument
in accordance with the applicable Indenture(s) or credit agreement that governs the rights of such holder of such Claim.
Such surrendered certificate or instrument shall be deemed cancelled as set forth in, and subject to the exceptions set
forth in, this Article VI.H.

         On and after the Effective Date, the duties and responsibilities of the Agents and Trustees under the respective
credit agreement or document or Indenture(s), as applicable, shall be discharged and released, except (i) to the extent
required to effectuate the Plan including, but not limited to, making distributions under the Plan to the holders of
Allowed Claims under their respective credit agreement or document or Indenture(s) and (ii) with respect to any rights
of the Agents and Trustees to payment of reasonable and documented fees, expenses, and indemnification obligations
(to be documented in accordance with the terms of the applicable credit document(s), agreement(s), or Indenture(s))
as against any money or property distributable to holders of Claims or Interests pursuant and subject to the terms of
the applicable credit document(s), agreement(s), or Indenture(s), including any rights to priority of payment and/or to
exercise charging liens. After the performance by the Agents and Trustees and their respective representatives and
professionals of any obligations and duties required under or related to the Plan or the Confirmation Order, the Agents
and Trustees shall be deemed to be forever relieved of and released from any obligations and duties arising thereunder.

          After the Effective Date, the distributions to holders on account of Second Lien Notes Claims, and the
payment of all fees and expenses of, and other amounts due to, the Second Lien Notes Trustees (including, without
limitation, attorneys’ fees and expenses), the Debtors or the Reorganized Debtors, at their expense, may, in their sole
discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence the release of any and all
mortgages, deeds of trust, Liens, pledges, and other security interests with respect to the Second Lien Notes Claims,
including, without limitation, the preparation and filing, in form, substance, and content reasonably acceptable to the
Second Lien Notes Trustees, of any and all documents necessary to terminate, satisfy, or release any mortgages, deeds
of trust, Liens, pledges, and other security interests held by the Second Lien Notes Trustees, including, without
limitation, UCC-3 termination statements.

         On and after the final distribution on account of the Allowed Second Lien Notes Claims, the Second Lien
Notes shall be deemed to be worthless, and the DTC shall take down the relevant positions at the request of the Second
Lien Notes Trustee without any requirement of indemnification or security on the part of the Second Lien Notes
Trustee.

          After the Effective Date, the distributions to holders on account of Third Lien Notes Claims, and the payment
of all fees and expenses of the Third Lien Notes Trustees (including, without limitation, attorneys’ fees and expenses),
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the Debtors or the Reorganized Debtors, at their expense, may, in their sole discretion, take any action necessary to
terminate, cancel, extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens, pledges, and
other security interests with respect to the Third Lien Notes Claims, including, without limitation, the preparation and
filing, in form, substance, and content reasonably acceptable to the Third Lien Notes Trustees, of any and all
documents necessary to terminate, satisfy, or release any mortgages, deeds of trust, Liens, pledges, and other security
interests held by the Third Lien Notes Trustees, including, without limitation, UCC-3 termination statements.

          On and after the final distribution on account of the Allowed Third Lien Notes Claims, the Third Lien Notes
shall be deemed to be worthless, and DTC shall take down the relevant positions at the request of the Third Lien Notes
Trustee without any requirement of indemnification or security on the part of the Third Lien Notes Trustee.

          After the Effective Date, the distributions to Holders on account of Cash Pay Notes Claims and PIK Toggle
Notes Claims, and the payment of all fees and expenses of, and other amounts due to, the Cash Pay Notes Trustee and
PIK Toggle Notes Trustee (including, without limitation, attorneys’ fees and expenses), the Debtors or the
Reorganized Debtors, at their expense, may, in their sole discretion, take any action necessary to terminate, cancel,
extinguish, and/or evidence the release of any and all mortgages, deeds of trust, Liens, pledges, and other security
interests with respect to the Cash Pay Notes Claims and PIK Toggle Notes Claims, including, without limitation, the
preparation and filing, in form, substance, and content reasonably acceptable to the Cash Pay Notes Trustee and PIK
Toggle Notes Trustee, of any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of
trust, Liens, pledges, and other security interests held by the Cash Pay Notes Trustee and PIK Toggle Notes Trustee,
including, without limitation, UCC-3 termination statements.

I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Employment Obligations; (2) selection of
the directors, officers, or managers for the Reorganized Debtors; (3) the distribution of the New Equity;
(4) implementation of the Restructuring Transactions; (5) entry into the Exit Facility Documents; (6) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (7) adoption of the New
Organizational Documents; (8) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (9) the amendment of the MYT Series B Preferred Stock certificate of designation
and technical modification of related documents to give effect to the distributions of the MYT Series B Preferred
Stock contemplated by the Plan; and (10) all other acts or actions contemplated or reasonably necessary or appropriate
to promptly consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or
after the Effective Date). All matters provided for in the Plan involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate action required by the Debtors or the Reorganized Debtor, as applicable, in
connection with the Plan shall be deemed to have occurred and shall be in effect, without any requirement of further
action by the security Holders, directors, officers, or managers of the Debtors or the Reorganized Debtors, as
applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the Reorganized
Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated under the Plan (or necessary or desirable to effect the transactions
contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the New Equity, the
New Organizational Documents, the Exit Facility, the Exit Facility Documents, and any and all other agreements,
documents, securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by
this Article IV.I shall be effective notwithstanding any requirements under non-bankruptcy law.

J.       New Organizational Documents.

         The New Organizational Documents shall, among other things: (a) authorize the issuance and distribution of,
and reservation of New Equity underlying, the New Warrants to the entities entitled to receive such Interests under
the Plan; and (b) pursuant to and only to the extent required by section 1123(a)(6) of the Bankruptcy Code, prohibit
the issuance of non-voting equity Securities.

        On or immediately prior to the Effective Date, each of the Reorganized Debtors will file its New
Organizational Documents with the applicable Secretaries of State and/or other applicable authorities in its state of

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incorporation or formation in accordance with the applicable laws of their respective state of incorporation or
formation, to the extent required for such New Organizational Documents to become effective. After the Effective
Date, each Reorganized Debtor may amend and restate their formation, organizational, and constituent documents as
permitted by the laws of its respective jurisdiction of formation and the terms of such documents.

         On the Effective Date, the Consenting Parent shall, at the expense of the Debtors, change its corporate name
and will no longer be known as Neiman Marcus Group, Inc. or any other corporate name that references “Neiman
Marcus” or could otherwise reasonably be confused with the Reorganized Debtors.

K.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors of the Debtors shall expire,
and the members for the initial term of the New Board shall be appointed. The initial members of the New Board will
be identified in the Plan Supplement, to the extent known at the time of filing, pursuant to the terms of the
Restructuring Support Agreement. Each such member and officer of the Reorganized Debtors shall serve from and
after the Effective Date pursuant to the terms of the New Organizational Documents and other constituent documents
of the Reorganized Debtors.

          The New Board shall consist of seven directors, or such other number as approved pursuant to the
Governance Term Sheet and shall initially be comprised of (i) the then-serving Chief Executive Officer of the
Reorganized Debtors; (ii) three directors designated by Pacific Investment Management Company LLC (“PIMCO”);
(iii) one director designated by Davidson Kempner Capital Management LP; (iv) one director designated by Sixth
Street Partners, LLC; and (v) one independent director designated by holders of New Equity (other than PIMCO)
representing at least 50% of the New Equity to be outstanding as of the Effective Date (other than New Equity to be
issued to PIMCO).

L.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, Reorganized Neiman and the New Board are authorized to and may issue,
execute, deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary to effectuate, implement, and further evidence the terms and conditions of
the Plan and the Securities issued pursuant to the Plan in the name of and on behalf of Reorganized Neiman, without
the need for any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

M.       Certain Securities Law Matters

          The Plan Securities will be issued without registration under the Securities Act or any similar federal, state,
or local law in reliance upon section 1145 of the Bankruptcy Code and/or section 4(a)(2) under the Securities Act.
The Plan Securities issued under the Plan in reliance upon section 1145 of the Bankruptcy Code are exempt from,
among other things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. state
or local law requiring registration prior to the offering, issuance, distribution, or sale of securities. The Plan Securities
issued pursuant to section 1145 of the Bankruptcy Code: (a) are not “restricted securities” as defined in Rule 144(a)(3)
under the Securities Act; and (b) are freely tradable and transferable by any holder thereof that (i) is not an “affiliate”
of the Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate”
within ninety (90) days of such transfer, (iii) has not acquired the Plan Securities from an “affiliate” within one year
of such transfer, and (iv) is not an Entity that is an “underwriter” as defined in section 1145(b) of the Bankruptcy
Code. Such Plan Securities will be freely tradable in the United States by the recipients thereof, subject to the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 1145(b)
of the Bankruptcy Code, and compliance with applicable securities laws and any rules and regulations of the United
States Securities and Exchange Commission, if any, applicable at the time of any future transfer of such Securities or
instruments and subject to any restrictions in the New Organizational Documents, the New Warrant Agreement, and
the New MyT Documents, as applicable. To the extent the Plan Securities are issued pursuant to section 4(a)(2) under
the Securities Act, they will be considered “restricted securities” as defined by Rule 144 of the Securities Act and may
not be resold under the Securities Act and applicable state securities laws absent an effective registration statement,
or pursuant to an applicable exemption from registration, under the Securities Act and pursuant to applicable state
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securities laws. The New Equity issued pursuant to this Plan will (i) be DTC eligible, (ii) entitle the beneficial owner
of such securities on a confidential basis to certain information as set forth in the Governance Term Sheet, and (iii)
entitle the beneficial owner to attend quarterly management calls with Q&A (which may be joint with lenders);
provided, that the foregoing shall not be required with respect to such securities to the extent that, as a result thereof,
the Reorganized Debtors will be (or will be required to be) an SEC registered entity.

           DTC shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a legal
opinion regarding whether such securities are exempt from registration and/or eligible for DTC book-entry delivery,
settlement, and depository services. Notwithstanding anything to the contrary in the Plan, no legal opinion regarding
the offering, issuance, and distribution of any Securities contemplated by the Plan, including, for the avoidance of
doubt, whether the New Equity is exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services shall be required.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant
of collateral as security for any or all of the Exit Facility; or (6) the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of, contemplated
by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sales or use tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental
officials or agents shall forego the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, recordation
fee, or governmental assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of section 1146(c) of
the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall accept for
filing and recordation any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

O.       Employee Matters.

         The Reorganized Debtors shall: (a) assume all qualified pension plans and collective bargaining agreements;
and (b) assume or reject, as the case may be, each of the written contracts, agreements, policies, programs and plans
for compensation, bonuses, reimbursement, health care benefits, disability benefits, deferred compensation benefits,
travel benefits, vacation and sick leave benefits, savings, severance benefits, retirement benefits, welfare benefits,
relocation programs, life insurance and accidental death and dismemberment insurance, including written contracts,
agreements, policies, programs and plans for bonuses and other incentives or compensation for the Debtors’ current
and former employees, directors, officers, and managers, including executive compensation programs and existing
compensation arrangements for the employees of the Debtors, in each case to the extent set forth in the Schedules of
Assumed and Rejected Contracts. Except to the extent provided by Article VIII of the Plan, nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or the Reorganized Debtors’ defenses, claims, Causes of Action, or
other rights with respect to any such employment agreements. Notwithstanding the foregoing, pursuant to
section 1129(a)(13) of the Bankruptcy Code, from and after the Effective Date, all retiree benefits (as such term is
defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with applicable law.

         With respect to the Neiman Retirement Plan, no provision of the Disclosure Statement, this Plan, the
Confirmation Order, or section 1141 of the Bankruptcy Code shall be construed to discharge, release, or relieve the
Reorganized Debtors from liabilities or requirements imposed under ERISA or the Internal Revenue Code with respect

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to the Neiman Retirement Plan solely as a result of the Debtors’ reorganization proceedings or confirmation of this
Plan. The PBGC and the Neiman Retirement Plan will not be enjoined or precluded from enforcing any liability
arising under ERISA or the Internal Revenue Code with respect to the Neiman Retirement Plan as a result of the
Debtors’ reorganization proceedings, this Plan’s provisions, or this Plan’s confirmation; provided, however, that
nothing herein affects any of the Debtors’ or the Reorganized Debtors’ rights related thereto and all such rights are
fully preserved.

P.       Management Incentive Plan.

         The New Board shall be authorized to implement the Management Incentive Plan on or after the Effective
Date, the form of which shall be included in the Plan Supplement.

Q.       Preservation of Causes of Action; Waiver of Avoidance Actions.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action, whether arising before or after the Petition Date, including any actions specifically enumerated in
the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the Causes
of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan, including in Article
VIII.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the Plan,
the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action
against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including
Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, Reorganized Neiman expressly
reserve all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against any
Entity shall vest in Reorganized Neiman, except as otherwise expressly provided in the Plan, including Article VIII
of the Plan. The Reorganized Debtors, through its authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy Court.

       On the Effective Date, the Reorganized Debtors shall waive and release all Avoidance Actions and
Avoidance Actions shall not be Retained Causes of Action.

R.       MyTheresa

         This Plan is not intended to affect, alter or impair any stakeholder’s economic and governance rights with
respect to MyTheresa, except as to the Sponsor Contribution and as otherwise set forth herein.

          Upon the occurrence of the Effective Date, each Second Lien Noteholder shall also receive its respective
share of the 2L MyT Distribution on account of its prepetition rights, claims, and interests with respect to MyTheresa.
For the avoidance of doubt, (a) the Second Lien Noteholders’ rights in respect of the limited guarantee under the
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MyTheresa Guarantee and Collateral Agreement, and all claims related thereto against non-Debtors, shall not be
affected by the Plan and shall be preserved through the New MYT Documents, and (b) the 2L MyT Distribution is
intended to effectuate such preservation and shall not represent a claim against or interest in the Reorganized Debtors.

         Upon the occurrence of the Effective Date, each Third Lien Noteholder shall also receive its respective share
of the 3L MyT Distribution on account of its prepetition rights, claims, and interests with respect to MyTheresa. For
the avoidance of doubt, the (a) Third Lien Noteholders’ rights in respect of the pledge of 50% of the common stock
of MYT Holding Co., and all claims against non-Debtors related thereto, shall not be affected by the Plan and shall
be preserved through the New MYT Documents, and (b) the 3L MyT Distribution is intended to effectuate such
preservation and shall not represent a claim against or interest in the Reorganized Debtors.

         In furtherance of the foregoing, except to the extent expressly waived in the Plan, the Plan Supplement shall
contain documentation sufficient to give ongoing effect to the turnover and waterfall provisions concerning
MyTheresa as set forth in the Existing MYT Transaction Documents and the Transaction Support Agreement, and the
equivalent turnover and waterfall provisions in any other prepetition documents and agreements, which, if agreed
among the Consenting Parent, the Required Consenting Noteholders, the Consenting Sponsors, the Debtors (such
consent not to be unreasonably withheld, conditioned, or delayed), and the Required Consenting Term Loan Lenders
(such consent not to be unreasonably withheld, conditioned, or delayed), shall be restated pursuant to the terms of one
or more tradeable securities with terms consistent with those contemplated by the Restructuring Support Agreement
and otherwise to be agreed and consented to on the same basis by such parties.

S.       Closing the Chapter 11 Cases.

          Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to close all of the
Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Reorganized Debtors, the Required
Consenting Term Loan Lenders, the Required Consenting Noteholders, and the Required Consenting Debentures
Parties, and all contested matters relating to each of the Debtors, including objections to Claims, shall be administered
and heard in such Chapter 11 Case.


                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease
(including those set forth as assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed
as of the Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code, unless
such Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned, or rejected by the
Debtors; (2) previously expired or terminated pursuant to its own terms; (3) is identified as rejected on the Schedules
of Assumed and Rejected Contracts; or (4) is the subject of a motion to reject that is pending on the Effective Date.
On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease that is
identified as rejected on the Schedules of Assumed and Rejected Contracts shall be deemed rejected as of the Effective
Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

          Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments, and rejections, as
applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, and the Schedules of Assumed
and Rejected Contracts, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any motions to
assume, assume and assign, or reject Executory Contracts or Unexpired Leases pending on the Effective Date shall be
subject to approval by the Bankruptcy Court on or after the Effective Date by a Final Order. Unless otherwise specified
in the Plan Supplement, the Schedules of Assumed and Rejected Contracts, or an applicable Court order, assumptions,
assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Executory Contract and Unexpired Lease assumed pursuant to the Plan or by
any order of the Bankruptcy Court, which has not been assigned to a third party prior to the Confirmation Date, shall

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re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms,
except as such terms may be modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing
and providing for its assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan,
the Debtors or the Reorganized Debtors, as applicable, shall have the right to alter, amend, modify, or supplement the
Schedules of Assumed and Rejected Contracts identified in this Article V.A of the Plan and in the Plan Supplement
at any time through and including 45 days after the Effective Date; provided, however, that after the date of the
Confirmation Hearing, the Debtors may not subsequently reject any Unexpired Lease previously designated as
assumed or assumed and assigned on the Schedules of Assumed and Rejected Contracts absent the consent of the
applicable lessor.

         To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed and
assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached
by, the assumption or assumption and assignment of such Executory Contract or Unexpired Lease (including
any “change of control” provision), then such provision shall be deemed modified such that the transactions
contemplated by the Plan shall not entitle the non-Debtor party or parties to such Executory Contract or Unexpired
Lease to terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
respect thereto.

B.       Indemnification Obligations.

          Upon the Effective Date and consummation of the Plan on the terms set forth herein, all indemnification
obligations in place as of the Effective Date under the Debtors’ organizational documents (including in the by-laws,
certificates of incorporation or formation, limited liability company agreements, and other organizational or formation
documents,) for the current and former directors, officers, managers, and employees of the Debtors, as applicable,
shall be assumed and remain in full force and effect after the Effective Date, and shall not be modified, reduced,
discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective of
when such obligation arose; provided, however, that the foregoing shall not apply to any obligations to indemnify any
person or entity (other than natural-person managers or officers in their capacities as such serving as of the Effective
Date, including the disinterested managers of Mariposa Intermediate and NMG LTD, respectively) in connection with
any claims or causes of action related to the designation of MyTheresa as an unrestricted subsidiary or the distribution
of MyTheresa by or through certain Debtors to NMG, Inc. and related transactions.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on the Debtors or
Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or
the Reorganized Debtors, the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, and be subject to the permanent injunction set forth in Article VIII.F of the
Plan, including any Claims against any Debtor listed on the Schedules as unliquidated, contingent, or disputed.
All Allowed Claims arising from the rejection by any Debtor of any Executory Contract or Unexpired Lease shall be
treated as a General Unsecured Claim in accordance with Article III.B and Article III.C of the Plan.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall pay Cures, if any, on the Effective Date or as
soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all requests for payment of Cure that differ from the amounts paid or proposed
to be paid by the Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court on

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or before thirty (30) days after the Effective Date. Any such request that is not timely filed shall be disallowed and
forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any other party in interest or any further notice to
or action, order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and
discharged upon payment by the Debtors or the Reorganized Debtors of the Cure; provided that nothing herein shall
prevent the Reorganized Debtors from paying any Cure despite the failure of the relevant counterparty to File such
request for payment of such Cure. The Reorganized Debtors also may settle any Cure without any further notice to
or action, order, or approval of the Bankruptcy Court. In addition, any objection to the assumption of an Executory
Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or before 30 days after the
Effective Date. Any such objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or
Reorganized Debtors’, as applicable, first scheduled omnibus hearing for which such objection is timely filed. Any
counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed assumption of
any Executory Contract or Unexpired Lease will be deemed to have consented to such assumption.

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure amount in Cash
on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such Executory
Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any
payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure payments
required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order or orders
resolving the dispute and approving the assumption; provided that the Reorganized Debtors may settle any such
dispute without any further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity;
provided, further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving
any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the Reorganized
Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is subject to dispute,
whether by amending the Schedules of Assumed and Rejected Contracts in accordance with Article V.A of the Plan
or otherwise.

          At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall provide for
notices of proposed assumption or assumption and assignment and proposed Cure amounts to be sent to applicable
third parties, which notices will include procedures for objecting thereto and resolution of disputes by the Bankruptcy
Court. Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or
assumption and assignment or related Cure amount must be Filed, served, and actually received by the Debtors no
later than seven days prior to the first day of the Confirmation Hearing. Any counterparty to an Executory Contract
or Unexpired Lease that fails to timely object to the proposed assumption or Cure amount will be deemed to have
assented to such assumption or assumption and assignment and cure amount.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article V.D shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any and all Proofs of
Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant to this
Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed or
assumed and assigned shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired
Leases related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options, rights

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of first refusal, and any other interests, unless any of the foregoing agreements has been previously rejected or
repudiated or is rejected or repudiated under the Plan.
         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any Claims
that may arise in connection therewith.
F.       Surety Bonds.

          On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers as set forth
in the Order (I) Authorizing the Debtors to Continue Their Surety Bond Program and (II) Granting Related
Relief [Docket No. 244] shall be deemed reaffirmed by the Reorganized Debtors, including as applicable: (i) surety
payment and indemnity agreements, setting forth the sureties’ rights against the Debtors, and the Debtors’ obligations
to pay and indemnify the sureties from any loss, cost, or expense that the sureties may incur, in each case, on account
of the issuance of any surety bonds on behalf of the Debtors; (ii) surety collateral agreements governing collateral, if
any, in connection with the Debtors’ surety bonds; and/or (iii) ordinary course premium payments to any surety for
the Debtors’ surety bonds.

G.       Insurance Policies.

          Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, the Plan Supplement, the
Confirmation Order, any bar date notice or claim objection, any other document related to any of the foregoing, or
any other order of the Bankruptcy Court (including, without limitation, any other provision that purports to be
preemptory or supervening, grants an injunction, discharge or release, or requires a party to opt out of any releases):
(1) on the Effective Date, the Debtors shall be deemed to have assumed all Insurance Policies in their entirety pursuant
to sections 105 and 365 of the Bankruptcy Code and such Insurance Policies shall revest in the Reorganized Debtors,
and the Reorganized Debtors shall remain liable in full for all of their and the Debtors’ obligations thereunder,
regardless of whether such obligations arise before or after the Effective Date, without the requirement or need for
any Insurer to file a Proof of Claim, an Administrative Claim, a Cure claim, or to object to any Cure amount; (2)
nothing shall alter, modify, amend, affect, impair, or prejudice the legal, equitable, or contractual rights, obligations,
and defenses of the Insurers, the Debtors (or, after the Effective Date, the Reorganized Debtors), or any other
individual or Entity, as applicable, under any Insurance Policies, and all such rights and obligations shall be determined
under the Insurance Policies and applicable non-bankruptcy law as if the Chapter 11 Cases had not occurred; and (3)
the automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in Article VIII of the Plan,
if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit:
(a) claimants with valid workers’ compensation claims or direct action claims against an Insurer under applicable non-
bankruptcy law to proceed with their claims; (b) the Insurers to administer, handle, defend, settle, and/or pay, in the
ordinary course of business and without further order of this Bankruptcy Court, (i) workers’ compensation claims, (ii)
claims where a claimant asserts a direct action claim against any Insurer under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its
claim, and (iii) all costs in relation to each of the foregoing; (c) the Insurers to draw against any or all of the collateral
or security provided by or on behalf of the Debtors (or the Reorganized Debtors, as applicable) at any time and to hold
the proceeds thereof as security for the obligations of the Debtors (and the Reorganized Debtors, as applicable) and/or
apply such proceeds to the obligations of the Debtors (and the Reorganized Debtors, as applicable) under the Insurance
Policies, in such order as the applicable Insurer may determine; and (d) the Insurers to cancel any Insurance Policy,
and take other actions relating to the Insurance Policies (including effectuating a setoff), to the extent permissible
under applicable non-bankruptcy law, and in accordance with the terms of the Insurance Policies.

H.       Reservation of Rights.

        Nothing contained in the Plan or the Plan Supplement, shall constitute an admission by the Debtors that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors
have any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have


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thirty (30) days following entry of a Final Order resolving such dispute to alter its treatment of such contract or lease
under the Plan.

I.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

J.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan or Confirmation Order, on the Effective Date (or if a Claim or Interest
is not an Allowed Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes
an Allowed Claim or Allowed Interest, or as soon as reasonably practicable thereafter), each holder of an Allowed
Claim or Allowed Interest (as applicable) shall receive the full amount of the distributions that the Plan provides for
Allowed Claims or Allowed Interest (as applicable) in the applicable Class. In the event that any payment or act under
the Plan is required to be made or performed on a date that is not a Business Day, then the making of such payment
or the performance of such act may be completed on the next succeeding Business Day, but shall be deemed to have
been completed as of the required date. If and to the extent that there are Disputed Claims or Disputed Interests,
distributions on account of any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions
set forth in Article VII hereof. Except as otherwise provided in the Plan, holders of Claims or Interests shall not be
entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless of whether such
distributions are delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Disbursing Agent on the Effective Date. The
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise
ordered, all costs and expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.




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         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the manner of
such distributions shall be determined at the discretion of the Reorganized Debtors; provided further that the address
for each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder.

         Subject to the Second Lien Notes Trustee’s charging lien and priority of payment rights, distributions of the
(i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the form of a distribution by
a Debtor, the 2L MyT Distribution in respect of Allowed Second Lien Notes Claims will be made through the facilities
of DTC in accordance with DTC’s customary practices; provided, however, that such distributions will only be issued
in accordance with DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a single holder
for purposes of distributions.

           The Second Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Second Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the
Plan with Holders of the Second Lien Notes Claims to the extent consistent with the customary practices of DTC, and
all distributions of (i) New Equity, (ii) New Warrants, and (iii) to the extent the 2L MyT Distribution takes the form
of a distribution by a Debtor, the 2L MyT Distribution, to be made to Holders of Second Lien Notes Claims shall be
delivered to the Second Lien Notes Trustee in a form that is eligible to be distributed through the facilities of DTC.

         Without in any way limiting the provisions of the Second Lien Notes Indenture, to the extent the Second Lien
Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date, including,
without limitation, reasonable and documented professional fees, related to or in connection with the Plan, the
Confirmation Order, or the Second Lien Notes Indenture (as applicable), including, without limitation, in connection
with making distributions to Holders of Second Lien Notes Claims under the Plan, the Second Lien Notes Trustee
shall be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval, payment, in
Cash, of reasonable compensation for such services and reimbursement of such expenses (including, without
limitation, reasonable and documented attorneys’ fees and expenses) incurred in connection with such services. Upon
presentation of a summary invoice, payment of such compensation and reimbursement of such expenses shall be made
as soon as reasonably practicable, but in any case within the earlier of (i) the date upon which the Second Lien Notes
Trustee releases any Liens under the Plan or (ii) ten (10) days following the Second Lien Notes Trustee’s notification
to the Reorganized Debtors of the amount of such costs or expenses. On the Effective Date, the Debtors shall pay to
the Second Lien Notes Trustee the amount of $23,500 for compensation for its services pursuant to Section 7.6 of the
Second Lien Notes Indenture and the Schedule of Fees entered into in connection with the Second Lien Notes
Indenture. This payment shall be in addition to all other fees and expenses the Second Lien Notes Trustee is entitled
to receive under the Plan, the Confirmation Order and the Second Lien Notes Indenture or otherwise. The Second
Lien Notes Trustee shall not bear any responsibility or liability for any distributions made under or pursuant to the
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Plan; provided, however, that the Second Lien Notes Trustee will not be relieved of any such responsibility or liability
to the extent inconsistent with the provisions of the Second Lien Notes Indenture.

          Subject to the Third Lien Notes Trustee’s charging lien and priority of payment rights, distributions of (i) the
New Equity and (ii) to the extent the 3L MyT Distribution takes the form of a distribution by a Debtor, the 3L MyT
Distribution, in respect of Allowed Third Lien Notes Claims will be made through the facilities of DTC in accordance
with DTC’s customary practices; provided, however, that such distributions will only be issued in accordance with
DTC bookentry procedures. For the avoidance of doubt, DTC shall be considered a single holder for purposes of
distributions.

           The Third Lien Notes Trustee shall transfer or direct the transfer of such distributions, if any, through the
facilities of DTC. The Third Lien Notes Trustee shall be entitled to recognize and deal for all purposes under the Plan
with Holders of the Third Lien Notes Claims to the extent consistent with the customary practices of DTC, and all
distributions of (i) the New Equity, (ii) the New Warrants, and (iii) to the extent the 3L MyT Distribution takes the
form of a distribution by a Debtor, the 3L MyT Distribution, to be made to Holders of Third Lien Notes Claims shall
be delivered to the Third Lien Notes Trustee in a form that is eligible to be distributed through the facilities of DTC.

          Without in any way limiting the provisions of the Third Lien Notes Indentures, to the extent the Third Lien
Notes Trustee provides services or incurs out-of-pocket costs or expenses on or after the Effective Date, including,
without limitation, reasonable and documented, professional fees, related to or in connection with the Plan, the
Confirmation Order, or the Third Lien Notes Indentures (as applicable), including, without limitation, in connection
with making distributions to Holders of Third Lien Notes Claims under the Plan, the Third Lien Notes Trustee shall
be entitled to receive from the Reorganized Debtors, without further Bankruptcy Court approval, payment, in Cash,
of reasonable compensation for such services and reimbursement of such expenses (including, without limitation,
reasonable and documented attorneys’ fees and expenses) incurred in connection with such services. Upon
presentation of a summary invoice, payment of such compensation and reimbursement of such expenses shall be made
as soon as reasonably practicable, but in any case within the earlier of (i) the date upon which the Third Lien Notes
Trustee releases any Liens under the Plan or (ii) ten (10) days following the Third Lien Notes Trustee’s notification
to the Reorganized Debtors of the amount of such costs or expenses. On the Effective Date, the Debtors shall pay to
the Third Lien Notes Trustee the amount of $[____] for compensation for its services pursuant to Section 7.6 of the
Third Lien Notes Indentures and the Schedule of Fees entered into in connection with the Third Lien Notes Indentures.
This payment shall be in addition to all other fees and expenses the Third Lien Notes Trustee is entitled to receive
under the Plan, the Confirmation Order and the Third Lien Notes Indentures or otherwise. The Third Lien Notes
Trustee shall not bear any responsibility or liability for any distributions made under or pursuant to the Plan; provided,
however, that the Third Lien Notes Trustee will not be relieved of any such responsibility or liability to the extent
inconsistent with the provisions of the Second Lien Notes Indenture.

          Subject to the Cash Pay Notes Trustee’s and PIK Toggle Trustee’s charging lien and priority of payment
rights, distributions of the Series B Preferred Stock and Cash in respect of Allowed Funded-Debt General Unsecured
Claims will be made, to the extent practicable, through the facilities of DTC in accordance with DTC’s customary
practices. For the avoidance of doubt, DTC shall be considered a single holder for purposes of distributions.
Notwithstanding anything to the contrary in this Plan, the Cash Pay Notes and PIK Toggle Notes shall remain
outstanding solely so that the Debtors may continue to make all distributions, including post-Effective Date
distributions, to Holders of Allowed Funded-Debt General Unsecured Claims pursuant to the Plan.

         3.   De Minimis Distributions; Minimum Distributions.

          No fractional shares of New Equity shall be distributed and no Cash shall be distributed in lieu of such
fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed Interest
(as applicable) would otherwise result in the issuance of a number of shares of New Equity that is not a whole number,
the actual distribution of shares of New Equity shall be rounded as follows: (a) fractions of one-half (½) or greater
shall be rounded to the next higher whole number and (b) fractions of less than one-half (½) shall be rounded to the
next lower whole number with no further payment therefore. The total number of authorized shares of New Equity to
be distributed to Holders of Allowed Claims and Allowed Interests (as applicable) shall be adjusted as necessary to
account for the foregoing rounding.

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          The Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim or an Allowed
Interest on account of such Allowed Claim or Allowed Interest of New Equity, New Warrants, Exit Rights, if
applicable, or Cash where such distribution is valued, in the reasonable discretion of the Disbursing Agent, at less than
$100.00, and each Claim or Interest to which this limitation applies shall be discharged pursuant to Article VIII of the
Plan and its Holder shall be forever barred pursuant to Article VIII of the Plan from asserting that Claim against or
Interest in the Reorganized Debtors or their property.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that either (a) a distribution to any Holder is returned as undeliverable or (b) the Holder of an
Allowed Claim or Allowed Interest does not respond to a request by the Debtors or the Disbursing Agent for
information necessary to facilitate a particular distribution, no distribution to such Holder shall be made unless and
until the Disbursing Agent has determined the then-current address of such Holder or received the necessary
information to facilitate a particular distribution, at which time such distribution shall be made to such Holder without
interest, dividends, or other accruals of any kind; provided that such distributions shall be deemed unclaimed property
under section 347(b) of the Bankruptcy Code on the date that is six months after the later of (x) the Effective Date and
(y) the date of the distribution. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding
any applicable local, state, federal, or foreign escheat, abandoned, or unclaimed property laws to the contrary), and
the Claim or Interest of any Holder to such property or interest in property shall be discharged and forever barred.

E.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax
withholding and reporting requirements imposed on them by any Governmental Unit, and all distributions made
pursuant to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Reorganized Debtors and the Disbursing Agent shall (x) be authorized to take all actions
necessary to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions, or establishing any other
mechanisms they believe are reasonable and appropriate and (y) shall reasonably cooperate with the relevant recipients
to minimize any such withholding to the extent permitted by applicable Law. The Reorganized Debtors reserve the
right to allocate all distributions made under the Plan in compliance with all applicable wage garnishments, alimony,
child support, and other spousal awards, Liens, and encumbrances.

          The Debtors and the Consenting Stakeholders will negotiate in good faith with respect to the Debtors’ and
Consenting Parent’s (and Consenting Parent’s non-Debtor subsidiaries’) rights and responsibilities with respect to the
tax assets and obligations of the consolidated tax group (and any state and local tax group), which may be documented
in a Tax Sharing Agreement, and the Debtors’ and Consenting Parent’s (and Consenting Parent’s non-Debtor
subsidiaries’) rights and responsibilities with respect to the foregoing are reserved subject to resolution of the
foregoing and absent resolution of the foregoing, any claims or causes of action with respect to these rights and
obligations shall not be included in the releases in Article VIII of the Plan.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.



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H.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan or the Confirmation Order, or required by applicable
bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any prepetition Claims against
the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to interest accruing on or after
the Petition Date on any such prepetition Claim. Additionally, and without limiting the foregoing, interest shall not
accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a final
distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

I.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal (National Edition), on the Effective
Date.

J.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and Holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of
competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of any
Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all claims,
rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the applicable Holder.
In no event shall any Holder of Claims against, or Interests in, the Debtors be entitled to recoup any such Claim or
Interest against any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless
such Holder actually has performed such recoupment and provided notice thereof in writing to the Debtors in
accordance with Article XII.G of the Plan on or before the Effective Date, notwithstanding any indication in any Proof
of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result
in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the 14-day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to pay in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then immediately

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upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, payment distributions to Holders of Allowed Claims covered by
Insurance Policies shall be in accordance with the provisions of any applicable Insurance Policy. Nothing contained
in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold
against any other Entity, including Insurers under any policies of Insurance Policies, nor shall anything contained
herein constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
Insurers.

                                ARTICLE VII.
  PROCEDURES FOR RESOLVING CONTINGENT, AND UNLIQUIDATED CLAIMS OR INTERESTS


A.       Allowance of Claims.

         After the Effective Date and subject to the terms of this Plan, each of the Reorganized Debtors and the GUC
Claims Administrator, as applicable, shall have and retain any and all rights and defenses such Debtor had with respect
to any Claim or Interest immediately prior to the Effective Date. The Debtors may affirmatively determine to deem
Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable non-bankruptcy law.

B.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors and
the GUC Claims Administrator, as applicable, shall have the sole authority: (1) to File, withdraw, or litigate to
judgment, objections to Claims or Interests; (2) to settle or compromise any Disputed Claim without any further notice
to or action, order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy
Court. For the avoidance of doubt, except as otherwise provided herein, from and after the Effective Date, each
Reorganized Debtor and the GUC Claims Administrator, as applicable, shall have and retain any and all rights and
defenses that any Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest.

C.       Estimation of Claims.

          Before, on, or after the Effective Date, the Debtors or the Reorganized Debtors, or the GUC Claims
Administrator, as applicable, may (but are not required to) at any time request that the Bankruptcy Court estimate any
Claim pursuant to applicable law, including, without limitation, pursuant to section 502(c) of the Bankruptcy Code
for any reason, regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and
1334 to estimate any such Claim, including during the litigation of any objection to any Claim or during the pendency
of any appeal relating to such objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has
been expunged from the Claims Register, but that either is subject to appeal or has not been the subject of a Final
Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
that the Bankruptcy Court estimates any Claim, such estimated amount shall constitute a maximum limitation on such
Claim for all purposes under the Plan (including for purposes of distributions and discharge) and may be used as
evidence in any supplemental proceedings, and the Debtors or Reorganized Debtors may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any Holder of a Claim that has been estimated pursuant to section 502(c) of the
Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has Filed a
motion requesting the right to seek such reconsideration on or before seven (7) days after the date on which such
Claim is estimated. Each of the foregoing Claims and objection, estimation, and resolution procedures are cumulative
and not exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.
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D.       Adjustment to Claims or Interests without Objection.

          Any Claim or Interest that has been paid, satisfied, amended, superseded, cancelled, or otherwise expunged
(including pursuant to the Plan) may be adjusted or expunged on the Claims Register at the direction of the
Reorganized Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the GUC
Claims Administrator having to File an application, motion, complaint, objection, or any other legal proceeding
seeking to object to such Claim or Interest and without any further notice to or action, order, or approval of the
Bankruptcy Court. Additionally, any Claim or Interest that is duplicative or redundant with another Claim or Interest
against the same Debtor may be adjusted or expunged on the Claims Register at the direction of the Reorganized
Debtors or the GUC Claims Administrator, as applicable, without the Reorganized Debtors or the GUC Claims
Administrator having to File an application, motion, complaint, objection, or any other legal proceeding seeking to
object to such Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Time to File Objections to Claims.

         Any objections to Claims shall be Filed on or before the later of (a) one-hundred-eighty (180) days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtors, the Reorganized
Debtors, or the GUC Claims Administrator, as applicable, or by a Final Order of the Bankruptcy Court for objecting
to such claims.

F.       Amendments to Proofs of Claim

         A Proof of Claim against any Debtor may be amended before the Confirmation Date only as agreed upon by
the Debtors or the GUC Claims Administrator, as applicable, and the Holder of such Claim or Interest or as otherwise
permitted by the Bankruptcy Court, the Bankruptcy Rules, or applicable nonbankruptcy law. On or after the Effective
Date, except as provided in the Plan or the Confirmation Order, a Proof of Claim may not be Filed or amended without
the prior authorization of the Bankruptcy Court or the Reorganized Debtors or the GUC Claims Administrator, as
applicable, and any such new or amended Proof of Claim Filed shall be deemed disallowed in full and expunged
without any further action, order, or approval of the Bankruptcy Court absent prior Bankruptcy Court approval or
agreement by the Debtors, Reorganized Debtors, or the GUC Claims Administrator, as applicable; provided that the
foregoing shall not apply to Administrative Claims other than 503(b)(9) Claims.

G.       Disallowance of Claims or Interests.

        Except as otherwise provided herein or as agreed to by the Reorganized Debtors and/or the GUC
Claims Administrator, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date shall be
deemed disallowed and expunged as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account
of such Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order.

                                        ARTICLE VIII.
                  SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Debtor Intercompany Claims resolved or compromised after the
Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities
of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties, regardless
of whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims and
Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed by employees of
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the Debtors before the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date, and all
debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not:
(1) a Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event of
default” by the Debtors or Affiliates with respect to any Claim or Interest that existed immediately before or on account
of the filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests subject to the
Effective Date occurring.

B.         Release of Liens.

          Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or any
contract, instrument, release, or other agreement or document created pursuant to the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to reinstate in accordance with Article III.B.1 hereof, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall
be fully released and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds
of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors
and assigns. Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property
of any Debtor (including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Lien, including the execution, delivery, and filing or recording of such releases.
The presentation or filing of the Confirmation Order to or with any federal, state, provincial, or local agency
or department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.

C.         Releases by the Debtors.

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after
the Effective Date, each Released Party is deemed released and discharged by the Debtors, the Reorganized
Debtors, and their Estates from any and all Causes of Action, including any derivative claims asserted on behalf
of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest, or that any Holder of any Claim or Interest could have asserted on behalf of the Debtors, based on or
relating to, or in any manner arising from, in whole or in part:
     (a)   the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
           preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
           of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
           including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
           under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
         the Effective Date.


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        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (a) in exchange for the good and valuable consideration provided by the Released Parties, including,
without limitation, the Released Parties’ contributions to facilitating the Restructuring and implementing the
Plan; (b) a good faith settlement and compromise of the Claims released by the Debtor Release; (c) in the best
interests of the Debtors and all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given
and made after due notice and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized
Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.



D.         Releases by Holders of Claims and Interests.

        As of the Effective Date, each Releasing Party is deemed to have released and discharged each Debtor,
Reorganized Debtor, and Released Party from any and all Causes of Action, including any derivative claims
asserted on behalf of the Debtors, that such Entity would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in part:
      (a) the Debtors, the Debtors’ restructuring efforts, intercompany transactions, the formulation,
          preparation, dissemination, negotiation, or filing of the Restructuring Support Agreement;
     (b) any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including providing any legal opinion requested by any Entity regarding any transaction, contract,
         instrument, document, or other agreement contemplated by the Plan or the reliance by any Released
         Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
         connection with the Restructuring Support Agreement, the Disclosure Statement, or the Plan;
     (c)   the Chapter 11 Cases, the Disclosure Statement, the Plan, the filing of the Chapter 11 Cases, the pursuit
           of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
           including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property
           under the Plan or any other related agreement; or
     (d) any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
         the Effective Date.
        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan and do not release any agreements under the Transaction Support Agreement or any
documents or agreements executed in connection therewith related to any party’s rights, claims, and controls
with respect to MyTheresa (including but not limited to the waterfall and turnover provisions set forth in the
Existing MyT Transaction Documents and the Transaction Support Agreement, and the equivalent turnover
and waterfall provisions in any other prepetition documents and agreements, except to the extent expressly
waived in the Plan).


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         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for
the good and valuable consideration provided by the Released Parties; (d) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (e) in the best interests of the Debtors and their
Estates; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing;
and (h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the
Third-Party Release.

E.      Exculpation.

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, filing, or termination of the Restructuring Support Agreement and
related prepetition transactions, the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document (including providing any legal opinion requested
by any Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such legal
opinion) created or entered into in connection with the Disclosure Statement or the Plan, the filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, except for claims related to any act or omission that
is determined in a final order to have constituted actual fraud, willful misconduct, or gross negligence, but in
all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.      Injunction.

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may hold claims or
interests that have been released pursuant to the Plan, shall be discharged pursuant to the Plan, or are subject
to exculpation pursuant to the Plan, are permanently enjoined, from and after the Effective Date, from taking
any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, or any of the Released
Parties: (i) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such claims or interests; (ii) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against such Entities on account of
or in connection with or with respect to any such claims or interests; (iii) creating, perfecting, or enforcing any
lien or encumbrance of any kind against such Entities or the property or the estates of such Entities on account
of or in connection with or with respect to any such claims or interests; (iv) asserting any right of setoff,
subrogation, or recoupment of any kind against any obligation due from such Entities or against the property
of such Entities on account of or in connection with or with respect to any such claims or interests unless such

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Entity has timely asserted such setoff right in a document filed with the Bankruptcy Court explicitly preserving
such setoff, and notwithstanding an indication of a claim or interest or otherwise that such Entity asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (v) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such claims or interests released or settled pursuant to the Plan.

G.         Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.         Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.         Reimbursement or Contribution.

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to section
502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of allowance or
disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of the Bankruptcy
Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent or (2) the relevant
Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been
entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                          ARTICLE IX.
                       CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.         Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date of the Plan that the following conditions shall have been satisfied
or waived pursuant to the provisions of Article IX.B hereof:

              1.   the Confirmation Order shall have been entered and shall not have been stayed;

              2. the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
     documents that are necessary to implement and effectuate the Restructuring Transactions, including the Plan, the
     Restructuring Support Agreement shall remain in full force and effect, and there shall have been no determination
     by the Debtors, including by the disinterested managers on behalf of the Debtors, to not grant any of the releases to
     Consenting Stakeholders contemplated by the Restructuring Support Agreement;

              3.   the Final DIP Order shall remain in full force and effect;

              4. the final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
     therein, and all other schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the
     Restructuring Support Agreement in all material respects, and shall have been filed in a manner consistent with the
     Restructuring Support Agreement;

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             5. all Allowed Professional Fee Claims shall have been paid in full or amounts sufficient to pay such
     Allowed Professional Fee Claims after the Effective Date shall have been placed in the Professional Fee Escrow
     Account pending approval of the Professional Fee Claims by the Bankruptcy Court;

             6. the fees and expenses of the Consenting Noteholder Group Advisors, as well as the Consenting Lender
     Fees and Expenses, shall have been paid in full in accordance with the Restructuring Support Agreement

              7. the Restructuring Support Agreement shall remain in full force and effect and shall not have been
     terminated;

              8. entry into the Exit Facility Documents, and all conditions precedent to the consummation of such Exit
     Facility Documents, shall have been waived or satisfied in accordance with their terms thereof and the closing of
     such Exit Facility Documents shall have occurred;

              9. entry into the Definitive Documentation (including, without limitation, the New MYT Documents) as
     contemplated under the Restructuring Support Agreement, and all conditions to the entry into and/or consummation
     of such Definitive Documentation, as applicable, shall have been waived or satisfied in accordance with their terms
     and the terms of the Restructuring Support Agreement; and

              10. the New Equity shall have been issued by Reorganized Neiman.

B.         Waiver of Conditions.

         The conditions to Confirmation and Consummation set forth in this Article IX may be waived by the Debtors
only with the prior written consent of the Consenting Parent (to the extent material or adverse to the interests of the
Consenting Parent), the Consenting Sponsors (to the extent material or adverse to the interests of the Consenting
Sponsors), Required Consenting Term Loan Lenders, the Required Consenting Noteholders, and the Required
Consenting Debentures Parties (email shall suffice), without notice, leave, or order of the Bankruptcy Court or any
formal action other than proceedings to confirm or consummate the Plan.

C.         Effect of Failure of Conditions.

          If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the Debtors, Claims, or
Interests; (2) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity;
or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or
Interests, or any other Entity.

                                          ARTICLE X.
                     MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.         Modification and Amendments.

          Except as otherwise specifically provided in the Plan and to the extent permitted by the Restructuring Support
Agreement, the Debtors reserve the right to modify the Plan, whether such modification is material or immaterial, and
seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to those restrictions on modifications set forth in the Plan and the requirements of section 1127 of the
Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections
1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke
or withdraw, or, to alter, amend, or modify the Plan with respect to such Debtor, one or more times, after Confirmation,
and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan,
or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.



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B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                ARTICLE XI.
                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

          1.    allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
status, or amount of any Claim or Interest, including the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims or Interests;

         2.    decide and resolve all matters related to the granting and denying, in whole or in part, any applications
for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the Bankruptcy
Code or the Plan;

         3.      resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to section
365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or Unexpired
Lease that is assumed; (c) the Reorganized Debtors amending, modifying, or supplementing, after the Effective Date,
pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of Executory Contracts and
Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is
or was executory or expired;

        4.    ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
accomplished pursuant to the provisions of the Plan;

         5.    adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective Date;

         6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         7.     enter and implement such orders as may be necessary to execute, implement, or consummate the
provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents created
in connection with the Plan or the Disclosure Statement;
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        8.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

          9. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection with
the Plan;

          10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
restrain interference by any Entity with Consummation or enforcement of the Plan;

         11. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;

         12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Article VI.K hereof;

         13. enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
stayed, reversed, revoked, or vacated;

        14. determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

         15.    enter an order concluding or closing the Chapter 11 Cases;

         16.    adjudicate any and all disputes arising from or relating to distributions under the Plan;

         17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         18. determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
of the Bankruptcy Code;

        19. hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

         20. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code;

         21. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions and releases granted in the Plan, including under Article VIII hereof, regardless
of whether such termination occurred prior to or after the Effective Date;

         22.    enforce all orders previously entered by the Bankruptcy Court; and

         23.    hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the Exit Facility shall
be governed by the jurisdictional provisions therein and the Bankruptcy Court shall not retain any jurisdiction with
respect thereto.


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                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the Plan
Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized
Debtors, and any and all Holders of Claims or Interests (irrespective of whether such Claims or Interests are deemed
to have accepted the Plan), all Entities that are parties to or are subject to the settlements, compromises, releases,
discharges, and injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all non-
Debtor parties to Executory Contracts and Unexpired Leases with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may File with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and members
thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases. The
Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of or
advisors to any statutory committees after the Effective Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the
Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.




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G.      Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

        1.   if to the Debtors, to:

                   Neiman Marcus Group LTD LLC
                   One Marcus Square
                   1618 Main Street
                   Dallas, TX 75201
                   Attention: Tracy M. Preston
                   Email address: tracy_preston@neimanmarcus.com

                   with copies to:

                   Kirkland & Ellis LLP
                   300 North LaSalle
                   Chicago, Illinois 60654
                   Facsimile: (312) 862-2200
                   Attention: Anup Sathy, P.C., Chad J. Husnick, P.C., Dan Latona, and Carole Wurzelbacher
                   E-mail addresses: anup.sathy@kirkland.com, chad.husnick@kirkland.com,
                   dan.latona@kirkland.com, carole.wurzelbacher@kirkland.com

                   -and-

                   Kirkland & Ellis LLP
                   601 Lexington Avenue
                   New York, New York 10022
                   Facsimile: (212) 446-4900
                   Attention: Matthew C. Fagen, Gary Kavarsky, Maya Ben Meir, and Lara Luo
                   E-mail addresses: matthew.fagen@kirkland.com, gary.kavarsky@kirkland.com,
                   maya.benmeir@kirkland.com, lara.luo@kirkland.com

        2.   if to the Official Committee of Unsecured Creditors, to:

                   Cole Schotz P.C.
                   301 Commerce Street, Suite 1700
                   Fort Worth, Texas 76102
                   Attention: Michael D. Warner and Benjamin L. Wallen
                   E-mail addresses: mwarner@coleschotz.com, bwallen@coleschotz.com

                   -and-

                   Pachulski Stang Ziehl & Jones LLP
                   10100 Santa Monica Boulevard, 13th Floor
                   Los Angeles, California 90067-4100
                   Attention: Richard M. Pachulski, Jeffrey N. Pomerantz, Alan J. Kornfeld, Maxim B. Litvak,
                   Steven W. Golden
                   E-mail addresses: rpachulski@pszjlaw.com, jpomerantz@pszjlaw.com, akornfeld@pszjlaw.com,
                   mlitvak@pszjlaw.com, sgolden@pszjlaw.com



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        After the Effective Date, the Debtors have authority to send a notice to Entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents pursuant
to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

          Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement) supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://cases.stretto.com/nmg or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall
control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, but only so as to be consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not
be deleted or modified without the Debtors’ consent, provided, that any such deletion or modification must be
consistent with the Restructuring Support Agreement; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code, the
Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold under
the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized Debtors
will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of votes on
the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous
plan.
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M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument, including
the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority, secured or not
subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if such agreement
was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court prior to the
Confirmation Date.



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Dated: August 3, 2020


                                        /s/ Mark Weinsten
                                        Mark Weinsten
                                        Chief Restructuring Officer of
                                        Neiman Marcus Group LTD LLC




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                                  Exhibit B

                          Disclosure Statement Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                               ENTERED
                                                                                                                   07/30/2020
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
                                                             1       )   Case No. 20-32519 (DRJ)
    NEIMAN MARCUS GROUP LTD LLC, et al.,
                                                                     )
                              Debtors.                               )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No.  

                    ORDER (I) APPROVING THE ADEQUACY
               OF THE DISCLOSURE STATEMENT, (II) APPROVING
             THE SOLICITATION AND NOTICE PROCEDURES WITH
        RESPECT TO CONFIRMATION OF THE DEBTORS’ PROPOSED JOINT
      PLAN OF REORGANIZATION, (III) APPROVING THE FORMS OF BALLOTS
      AND NOTICES IN CONNECTION THEREWITH, (IV) SCHEDULING CERTAIN
      DATES WITH RESPECT THERETO, AND (V) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), authorizing the Debtors to

(a) approve the adequacy of the Disclosure Statement for the Debtors’ First Amended Joint Plan

of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”),

(b) approving the Solicitation and Voting Procedures, (c) approving the Voting Record Date,

(d) approving the manner and form of the Solicitation Packages and the materials contained




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530); Bergdorf Graphics, Inc.
      (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings LLC
      (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage
      Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust
      (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664);
      NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term
      Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group
      LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The Debtors’
      service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.

2      Capitalized terms used and not defined herein have the meanings ascribed to them in the Motion.
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therein, (e) approving the Plan Supplement Notice, (f) approving the Non-Voting Status Notices,

(g) approving the form of notices to counterparties to Executory Contracts and Unexpired Leases

that will be assumed or rejected pursuant to the Plan, (h) approving the Voting and Tabulation

Procedures, (i) approving the Confirmation Hearing Notice, (j) scheduling certain dates and

deadlines related thereto, and (k) granting related relief, all as more fully set forth in the Motion;

and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

I.      Approval of the Disclosure Statement.

        1.     The Disclosure Statement, attached hereto as Schedule 1, is hereby approved as

providing Holders of Claims and Interests entitled to vote on the Plan with adequate information

to make an informed decision as to whether to vote to accept or reject the Plan in accordance with

section 1125(a)(1) of the Bankruptcy Code.

        2.     The Disclosure Statement (including all applicable exhibits thereto) provides

Holders of Claims and Interests with sufficient notice of the injunction, exculpation, and release

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provisions contained in Article VIII of the Plan, in satisfaction of the requirements of Bankruptcy

Rule 3016(c).

II.        Approval of the Solicitation and Voting Procedures.

           3.       The Debtors shall solicit, receive, and tabulate votes to accept the Plan in

accordance with the Solicitation and Voting Procedures attached hereto as Schedule 2, which are

hereby approved in their entirety.

III.       Approval of the Materials and Timeline for Soliciting Votes and the Procedures for
           Confirming the Plan.

           A.       Approval of Certain Dates and Deadlines with Respect to the Plan and
                    Disclosure Statement.

           4.       The following dates are hereby established (subject to modification, as necessary)

with respect to the solicitation of votes to accept, and voting on, the Plan and confirming the Plan

(all times prevailing Central Time):

                          Event                                                    Date
    Disclosure Statement Objection Deadline               July 10, 2020, at 4:00 p.m., prevailing Central
                                                          Time
    Voting Record Date                                    July 15, 2020
    Solicitation Deadline                                 August 3, 2020
    Publication Deadline                                  August 3, 2020
    Voting Deadline                                       August 31, 2020, at 4:00 p.m., prevailing
                                                          Central Time3
    Plan Objection Deadline                               August 31, 2020, at 4:00 p.m., prevailing
                                                          Central Time
    Deadline to File Voting Report                        September 3, 2020, at 4:00 p.m., prevailing
                                                          Central Time
    Confirmation Hearing Date                             September 4, 2020, at 9:00 a.m., prevailing
                                                          Central Time

3      The Voting Deadline for any counterparty to an Unexpired Lease which is identified as rejected on a Schedules
       of Assumed and Rejected Contracts filed later than one Business Day prior to the Voting Deadline shall be
       extended to the date of the Confirmation Hearing.


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        B.        Approval of the Form of, and Distribution of, Solicitation Packages to Parties
                  Entitled to Vote on the Plan.

        5.        In addition to the Disclosure Statement and exhibits thereto, including the Plan and

this Order (without exhibits, except the Solicitation Procedures), the Solicitation Packages to be

transmitted on or before August 3, 2020 (the “Solicitation Deadline”) to those Holders of Claims

and Interests in the Voting Classes entitled to vote on the Plan as of the Voting Record Date, shall

include the following, the form of each of which is hereby approved:4

                  a.       a copy of the Solicitation and Voting Procedures;

                  b.       an appropriate form of Ballot attached hereto as Schedules 3A, 3B,
                           3C, 3D, 3E, 3F, 3G, 3H, 3I, 3J, 3K, 3L, 3M, 3N, 3O, 3P, 3Q, 3R,
                           3S, 3T, and 3U respectively, for each Voting Class in which such
                           Holder holds a Claim;5

                  c.       the Cover Letter attached hereto as Schedule 7;

                  d.       the Confirmation Hearing Notice attached hereto as Schedule 8;

                  e.       the Disclosure Statement (and exhibits thereto, including the Plan);

                  f.       this Order (without exhibits, except the Solicitation and Voting
                           Procedures, as set forth above); and

                  g.       a list of all of the Debtors’ store leases indicating which leases are
                           intended to be assumed or rejected, attached hereto as Schedule 13.

        6.        The Solicitation Packages provide the Holders of Claims and Interests entitled to

vote on the Plan with adequate information to make informed decisions with respect to voting on




4   In addition to the Solicitation Packages, certain Holders of Claims eligible to participate in the Exit Facility will
    receive the Exit Rights Offering Procedures, attached hereto as Schedule 12.

5   The Debtors will make every reasonable effort to ensure that any Holder of a Claim who has filed duplicate
    Claims against the Debtors (whether against the same or multiple Debtors) that are classified under the Plan in
    the same Voting Class, receives no more than one Solicitation Package (and, therefore, one Ballot) on account of
    such Claim and with respect to that Class.


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the Plan in accordance with Bankruptcy Rules 2002(b) and 3017(d), the Bankruptcy Code, and

the Local Rules.

       7.      The Debtors shall distribute Solicitation Packages to all Holders of Claims and

Interests entitled to vote on the Plan on or before the Solicitation Deadline. Such service shall

satisfy the requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

       8.      The Debtors are authorized, but not directed or required, to distribute the Plan,

the Disclosure Statement, and this Order to Holders of Claims and Interests entitled to vote on

the Plan in electronic format (i.e., on a CD-ROM or flash drive). Only the Ballots, the Cover

Letter, and the Confirmation Hearing Notice will be provided in paper form. On or before

the Solicitation Deadline, the Debtors shall provide (a) complete Solicitation Packages to the U.S.

Trustee and (b) the Order (in electronic format) and the Confirmation Hearing Notice to all parties

on the 2002 List as of the Voting Record Date.

       9.      Any party that receives materials in electronic format, but would prefer to receive

materials in paper format, may contact the Balloting Agent and request paper copies of the

corresponding materials previously received in electronic format (to be provided at the Debtors’

expense).

       10.     The Balloting Agent is authorized to assist the Debtors in (a) distributing

the Solicitation Package; (b) receiving, tabulating, and reporting on Ballots cast to accept or reject

the Plan by Holders of Claims and Interests; (c) responding to inquiries from Holders of Claims

and Interests and other parties in interest relating to the Disclosure Statement, the Plan, the Ballots,

the Solicitation Packages, and all other related documents and matters related thereto, including

the procedures and requirements for voting to accept or reject the Plan and for objecting to




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the Plan; (d) soliciting votes on the Plan; and (e) if necessary, contacting creditors and equity

holders regarding the Plan.

       11.     The Balloting Agent is also authorized to accept Ballots via electronic online

transmission through a customized online balloting portal on the Debtors’ case website.

The encrypted ballot data and audit trail created by such electronic submission shall become part

of the record of any Ballot submitted in this manner and the creditor’s electronic signature will be

deemed to be immediately legally valid and effective.

       C.      Approval of the Confirmation Hearing Notice.

       12.     The Confirmation Hearing Notice, in the form attached hereto as Schedule 8, filed

by the Debtors and transmitted to parties in interest in the chapter 11 cases on or before

August 3, 2020, constitutes adequate and sufficient notice of the hearing to consider approval of

the Plan, the manner in which a copy of the Plan could be obtained, and the time fixed for filing

objections thereto, in satisfaction of the requirements of the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. The Debtors shall submit for

publication the Confirmation Hearing Notice (in a format modified for publication) one time, in

no event later than August 3, 2020 in New York Times (national edition) and Dallas Morning News.

       13.     The Confirmation Hearing Notice provides Holders of Claims, Holders of Interest,

and other parties in interest with sufficient notice of the release provisions contained in Article VIII

of the Plan and the effect thereof.

       D.      Approval of Notice of Filing of the Plan Supplement.

       14.     The Debtors shall send notice of the filing of the Plan Supplement, which will be

filed and served no later than fourteen (14) days prior to the Confirmation Hearing (or such later

date as may be approved by this Court on notice to parties in interest in the chapter 11 cases),



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substantially in the form attached hereto as Schedule 9, on the date the Plan Supplement is filed

pursuant to the terms of the Plan.

       E.      Notices to Holders of ABL Loan Secured Claims and FILO Secured Claims.

       15.     In the event the Debtors contemplate potentially providing any treatment to Holders

of ABL Loan Secured Claims and/or FILO Secured Claims, other than payment in full in Cash or

consensually refinancing the respective loans, the Debtors shall file detailed term sheets (the “ABL

Treatment Term Sheet” and “FILO Treatment Term Sheet”, respectively) with respect to any such

other treatment by July 31, 2020, which shall include the principal economic terms of any

instrument proposed to be provided (including the tenor, rate, and amortization schedule), any

material borrowing base or collateral mechanics, any material covenants or baskets, and any other

material deviations from the existing ABL Credit Agreement.             To the extent the Debtors

contemplate potentially providing any treatment to Holders of ABL Loan Secured Claims and/or

FILO Secured Claims, other than payment in full in Cash or consensually refinancing such loans

by the filing of the initial Plan Supplement, the initial Plan Supplement shall include the credit

agreements or other instruments relating to such treatment (the “ABL Treatment Instrument” and

“FILO Treatment Instrument”, respectively), which shall not deviate materially from the ABL

Treatment Term Sheet and/or FILO Treatment Term Sheet, as applicable.

       F.      Approval of the Form of Notices to Non-Voting Classes.

       16.     Except to the extent that the Debtors determine otherwise, the Debtors are not

required to provide Solicitation Packages to Holders of Claims or Interests in Non-Voting Classes,

as such Holders are not entitled to vote on the Plan. Instead, on or before the Solicitation Deadline,

the Balloting Agent shall mail (first-class postage prepaid) a Non-Voting Status Notice in lieu of

Solicitation Packages, the form of each of which is hereby approved, to those parties, outlined

below, who are not entitled to vote on the Plan:

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      Class(es)                      Status                                   Treatment

 1, 2              Unimpaired—Deemed to Accept              Will receive a notice, substantially in the form
                                                            attached to the Order as Schedule 4, in lieu of
                                                            a Solicitation Package.
 14                Impaired—Deemed to Reject                Will receive a notice, substantially in the form
                                                            attached to the Order as Schedule 5, in lieu of
                                                            a Solicitation Package.
 N/A               Disputed Claims                          Holders of Claims or Interests that are subject
                                                            to a pending objection by the Debtors are not
                                                            entitled to vote the disputed portion of their
                                                            Claim or Interest. As such, Holders of such
                                                            Claims or Interests will receive a notice,
                                                            substantially in the form attached to the Order
                                                            as Schedule 6 (which notice shall be served
                                                            together with such objection).

          17.     The Debtors are not required to provide the Holders of Class 12 Intercompany

Claims or Class 13 Intercompany Interests with a Solicitation Package, or any other type of notice

in connection with solicitation.

          18.     The Debtors are not required to mail Solicitation Packages or other solicitation

materials to: (a) Holders of Claims and Interests that have already been paid in full during the

chapter 11 cases or that are authorized to be paid in full in the ordinary course of business pursuant

to an order previously entered by this Court; or (b) any party to whom the Disclosure Statement

Hearing Notice was sent but was subsequently returned as undeliverable.

          G.      Approval of Notices to Contract and Lease Counterparties.

          19.     The Debtors shall mail a notice of assumption or rejection of any Executory

Contracts or Unexpired Leases (and any corresponding Cure Claims), substantially in the forms

attached hereto as Schedule 10 and Schedule 11, to the applicable counterparties to the Executory

Contracts and Unexpired Leases that will be assumed or rejected pursuant to the Plan (as the case

may be), within the time periods specified in the Plan.




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         H.    Approval of the Procedures for Filing Objections to the Plan.

         20.   Objections to the Plan will not be considered by this Court unless such objections

are timely filed and properly served in accordance with this Order. Specifically, all objections to

confirmation of the Plan or requests for modifications to the Plan, if any, must: (a) be in writing;

(b) conform to the Bankruptcy Rules and the Local Rules; (c) state, with particularity, the legal

and factual bases for the objection and, if practicable, a proposed modification to the Plan

(or related materials) that would resolve such objection; and (d) be filed with this Court

(contemporaneously with a proof of service) and served upon the notice parties identified in

the Confirmation Hearing Notice.

IV.      Non-Substantive Modifications.

         21.   The Debtors are authorized to make non-substantive or immaterial changes to the

Disclosure Statement, the Plan, the Solicitation Package, and related documents without further

order of the Court and to make conforming changes among the Disclosure Statement, the Plan and

related documents (including the appendices thereto) where, in the Debtors’ reasonable discretion,

doing so would better facilities the solicitation process. Subject to the foregoing, the Debtors are

authorized to solicit, receive, and tabulate votes to accept or reject the Plan in accordance with this

order, without further order of the Court.

V.       Miscellaneous.

         22.   The automatic stay, pursuant to section 362 of the Bankruptcy Code, is hereby

vacated and modified to the extent necessary to permit the Consenting Stakeholders (as defined in

the Restructuring Support Agreement) to provide any notices, including notices of termination

with respect to the Restructuring Support Agreement in accordance with and subject to the terms

thereof.



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        23.    The Debtors reserve the right to modify the Plan, in accordance with the terms

thereof and the Restructuring Support Agreement, without further order of this Court in accordance

with Article X of the Plan, including the right to withdraw the Plan as to an individual Debtor at

any time before the Confirmation Date.

        24.    Nothing in this Order shall be construed as a waiver of the right of the Debtors or

any other party in interest, as applicable, to object to a proof of Claim after the Voting Record

Date.

        25.    All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        26.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        27.    Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and

the Local Rules are satisfied by such notice.

        28.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        29.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        30.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
    Signed:
 Dated:      July 30, 2020.
        ___________,  2020
                                                  DAVID R. JONES
                                                 ____________________________________
                                                  UNITED STATES BANKRUPTCY JUDGE
                                                 DAVID R. JONES
                                                 UNITED STATES BANKRUPTCY JUDGE




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                                  Exhibit C

                             Financial Projections




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                                      Neiman Marcus Group Ltd. LLC
                                          Financial Projections

FINANCIAL PROJECTIONS

The Company developed financial projections (the "Financial Projections") to support the feasibility of the
Debtors’ Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the "Plan"). The
Financial Projections are reflective of the “Company”, which is comprised of the Debtors.

THE FINANCIAL PROJECTIONS ARE BASED UPON A NUMBER OF SIGNIFICANT ASSUMPTIONS.
ACTUAL OPERATING RESULTS AND VALUES MAY VARY SIGNIFICANTLY FROM THESE FINANCIAL
PROJECTIONS.

Overview of Financial Projections

         As a condition to Confirmation, the Bankruptcy Code requires, among other things, the
Bankruptcy Court to find that Confirmation is not likely to be followed by either a liquidation or the need
to further reorganize the Company. In connection with developing the Plan, and for purposes of
determining whether the Plan satisfies feasibility standards, the Company’s management
(“Management”) has, through the development of the Financial Projections, analyzed the Reorganized
Company’s ability to meet its obligations under the Plan and to maintain sufficient liquidity and capital
resources to conduct its business. The Financial Projections will also assist each holder of an Allowed Claim
in determining whether to vote to accept or reject the Plan. The Company prepared the Financial
Projections in good faith, based upon estimates and assumptions made by Management. The estimates
and assumptions in the Financial Projections, while considered reasonable by Management, may not be
realized, and are inherently subject to uncertainties and contingencies. They are also based on factors
such as industry performance, general business, economic, competitive, regulatory, market and financial
conditions, all of which are inherently difficult to predict and generally beyond the Company’s control.
Because future events and circumstances may well differ from those assumed and unanticipated events
or circumstances may occur, the Company expects that the actual and projected results will differ, and
the actual results may be materially greater or materially less than those contained in the Financial
Projections. No representations can be made as to the accuracy of the Financial Projections or the
Company’s ability to achieve the projected results. Therefore, the Financial Projections may not be relied
upon as a guarantee or as any other form of assurance as to the actual results that will occur. The inclusion
of the Financial Projections herein should not be regarded as an indication that the Company considered
or considers the Financial Projections to reliably predict future performance. The Financial Projections are
subjective in many respects, and thus are susceptible to multiple interpretations and periodic revisions
based on actual experience and future developments. The Company does not intend to update or
otherwise revise the Financial Projections to reflect the occurrence of future events, even in the event
that assumptions underlying the Financial Projections are not borne out. The Financial Projections should
be read in conjunction with the assumptions and qualifications set forth herein.
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         In general, as illustrated by the Financial Projections, the Company believes it should have
sufficient liquidity to pay and service their debt obligations, and to operate their businesses. The Company
believes that Confirmation and Consummation are not likely to be followed by the liquidation or further
reorganization of the Company. Accordingly, the Company believes that the Plan satisfies the feasibility
requirement of section 1129(a)(11) of the Bankruptcy Code.

THE COMPANY DID NOT PREPARE THE FINANCIAL PROJECTIONS WITH A VIEW TOWARDS COMPLYING
WITH THE GUIDELINES FOR PROSPECTIVE FINANCIAL STATEMENTS PUBLISHED BY THE AMERICAN
INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS. THE COMPANY’S INDEPENDENT AUDITOR HAS
NEITHER COMPILED NOR EXAMINED THE ACCOMPANYING PROSPECTIVE FINANCIAL INFORMATION TO
DETERMINE THE REASONABLENESS THEREOF AND, ACCORDINGLY, HAS NOT EXPRESSED AN OPINION
OR ANY OTHER FORM OF ASSURANCE WITH RESPECT THERETO. THE COMPANY DOES NOT, AS A
MATTER OF COURSE, PUBLISH FINANCIAL PROJECTIONS OF THEIR ANTICIPATED FINANCIAL POSITION,
RESULTS OF OPERATIONS, OR CASH FLOWS.

ACCORDINGLY, NEITHER THE COMPANY NOR THE REORGANIZED COMPANY INTEND TO, AND EACH
DISCLAIMS ANY OBLIGATION TO: (A) FURNISH UPDATED FINANCIAL PROJECTIONS TO HOLDERS OF
CLAIMS OR EQUITY INTERESTS PRIOR TO THE EFFECTIVE DATE OR TO ANY OTHER PARTY AFTER THE
EFFECTIVE DATE; (B) INCLUDE ANY SUCH UPDATED INFORMATION IN ANY DOCUMENTS THAT MAY BE
REQUIRED TO BE FILED WITH THE SECURITIES AND EXCHANGE COMMISSION; OR (C) OTHERWISE
MAKE SUCH UPDATED INFORMATION PUBLICLY AVAILABLE.

         The Company prepared the Financial Projections based on, among other things, the anticipated
future financial condition and results of operations of the Company using the business plan. Management
developed and refined the business plan and prepared consolidated Financial Projections of the Company
for the fiscal years ending July 2021 (fiscal year 2021) through July 2025 (fiscal year 2025) (the "Projection
Period").

         The Financial Projections assume that the Plan will be consummated in accordance with its terms
and that all transactions contemplated by the Plan will be consummated by August 31, 2020 (the
"Effective Date"). Any significant delay in the Effective Date may have a significant negative impact on the
operations and financial performance of the Company including, but not limited to, an increased risk or
inability to meet sales forecasts and the incurrence of higher reorganization expenses. Although the
Financial Projections represent the Company’s best estimates and good faith judgment (for which the
Company believes it has a reasonable basis), of the results of future operations, financial position, and
cash flows of the Company, they are only estimates and actual results may vary considerably from such
Financial Projections. Consequently, the inclusion of the Financial Projections herein should not be
regarded as a representation by the Company, the Company’s advisors or any other person that the
projected results of operations, financial position, and cash flows of the Company will be achieved.

The Company does not intend to update or otherwise revise the Financial Projections to reflect
circumstances that may occur after their preparation, or to reflect the occurrence of unanticipated events,
even in the event that any or all of the underlying assumptions are shown to be in error.

        Additional information relating to the principal assumptions used in preparing the Financial
Projections are set forth below.
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General Assumptions and Methodology

        The Company is a luxury, multi-branded, omni-channel fashion retailer conducting integrated
store and online operations under the Neiman Marcus, Bergdorf Goodman, Neiman Marcus Last Call, and
Horchow brand names.

        The Financial Projections consist of the following unaudited pro forma financial statements:
projected consolidated statements of operations, projected consolidated balance sheets, and projected
statements of cash flows for each year in the Projection Period. The Financial Projections are based on
the Company’s fiscal year 2021 – fiscal year 2025 business plan.

        The Financial Projections have been prepared using accounting policies that are materially
consistent with those applied in the Company’s historical financial statements. The Financial Projections
do not reflect the formal implementation of reorganization accounting pursuant to FASB Accounting
Standards Codification Topic 852, Reorganizations (“ASC 852”). Overall, the implementation of ASC 852 is
not anticipated to have a material impact on the underlying economics of the Plan.

         The Financial Projections: a) are based upon current and projected market conditions in which
the Company operates; b) are forecasted by the Company’s primary sales channels; c) assume emergence
from Chapter 11 on the Effective Date under terms substantially similar to those set forth in the Plan; d)
contemplate the closing of eighteen of the twenty-two Last Call brand locations and rationalization of
remaining full-line stores; e) assume re-opening all other locations in mid-July timeframe; and f) reflect
capital expenditures related to normal course maintenance and renovation capital expenditures related
to retail stores in combination with continued investments in technology during the Projection Period.
Assumptions have not been made to depreciation and amortization to reflect “fresh start” accounting.

Income Statement Assumptions

          Revenue: The Company is a luxury, multi-branded, omni-channel fashion retailer conducting
integrated store and online operations under the Neiman Marcus, Bergdorf Goodman, Neiman Marcus
Last Call, and Horchow brand names. Consolidated revenue is projected to be approximately $3.4 billion
in fiscal year 2021, $4.0 billion in fiscal year 2022, $4.1 billion in fiscal year 2023, $4.3 billion in fiscal year
2024, and $4.4 billion in fiscal year 2025 which represents a compound annual growth rate of
approximately 5% beginning fiscal year 2020. Comparable growth percentages in fiscal years 2021, 2022,
2023, 2024, and 2025 are projected to be 10%, 17%, 5%, 3%, and 4%, respectively, as stores begin to re-
open and retail sales continue to rebound to pre-pandemic levels. As of the Petition Date, more than 30%
of the Company’s total annual revenue is from online sales. The Company expects to maintain this level
of online sales penetration through fiscal year 2025.

        The Company maintains a proprietary credit card program pursuant to an agreement with a third-
party credit provider. Revenue under this program is projected as approximately 1% of net retail sales
throughout the Projection Period, which is consistent with historical levels.

        Cost of Goods Sold (including Buying & Occupancy Costs) and Gross Margin: Cost of Goods Sold
primarily includes merchandise, freight, store occupancy, and supply chain costs related to the
procurement, distribution, and fulfillment of inventory. Consolidated Company gross margin as a
percentage of net sales in fiscal years 2021, 2022, 2023, 2024, and 2025 is projected to be 28%, 32%, 33%,
34%, and 34%, respectively. The consolidated Company gross margins reflect cost savings initiatives that
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Management has identified and has begun the process of implementing as of the Petition Date. These
cost savings initiatives including the closing of eighteen Last Call store locations to de-leverage the
business and focus on core full price offerings and other margin initiatives.

         Selling, General & Administrative Expenses ("SG&A"): SG&A expenses include payroll, salaries and
benefits for corporate and store personnel, marketing / advertising costs, professional fees, insurance,
bank charges, utilities, supplies, and other corporate administrative costs not allocated to cost of sales.
SG&A as a percentage of net sales in fiscal years 2021, 2022, 2023, 2024, and 2025 is projected to be 26%,
24%, 23%, 23%, and 23%, respectively. The improvement is driven by Management identified cost savings
initiatives primarily from payroll, taxes, benefits due to store and corporate headcount reductions, online
marketing, information technology, store operations, procurement, and other areas of the business. The
majority of these initiatives have already been implemented as of the Petition Date and will therefore be
fully realized for the Projection Period.

        Other Expenses: Other expenses consist primarily of non-operating expenses incurred related to
severance, corporate retention, store closing costs, consulting and professional fees in connection with
key strategic operational initiatives and projects, legal expenses and restructuring expenses. Restructuring
expenses consist of estimated fees for bankruptcy professionals and other costs directly attributable to
preparing for and conducting the Chapter 11 case.

       Depreciation and Amortization Expenses: Depreciation of property, plant and equipment and
amortization of intangible assets (primarily customer lists and favorable lease commitments).

        Interest Expense: Interest expense over the Projection Period is based upon the Company’s
anticipated debt structure immediately before and following the consummation of the Plan.

         Income Tax Expense / (Benefit): Income tax expense reflects the application of the estimated
effective tax rate of 25.9% to taxable income for all years in the Projection Period. A consolidated tax
benefit is projected for fiscal year 2021, fiscal year 2022 and fiscal year 2023 due to net operating losses.
Consolidated income tax expense for fiscal year 2024 and beyond increases over the Projection Period
due to increasing profitability levels during the Projection Period. The projections assume no tax obligation
as a result of consummating the Plan. These amounts could vary significantly pending final tax analysis of
the transaction.

        Adjusted EBITDA: Adjusted EBITDA reflects earnings from operations and excludes costs related
to non-recurring expenses, costs associated with the restructuring, bankruptcy costs and non-cash rent.

Balance Sheet Assumptions

        The Company’s projected balance sheets and statements of cash flow were developed based
upon the Company’s existing balance sheet and the estimated pre-emergence balance sheet as of fiscal
month end August 2020 (the first calendar month of fiscal year 2021), adjusted for the impact of the exit
transaction, and further adjusted for projected results of operations and cash flows over the Projection
Period.

The projected balance sheets reflect the satisfaction per the Plan of Reorganization of the: i) Pre-petition
ABL Facility, ii) Pre-petition FILO Facility, iii) DIP Term Loan, iv) 2013 Term Loans, v) Cash Pay Extended
Term Loans, vi) Cash Pay/PIK Extended Term Loans, vii) Second Lien Notes, viii) 8.000% Third Lien Notes,
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ix) 8.750% Third Lien Notes, x) 7.125% Senior Debentures and xi) General Unsecured Claims (including
Unsecure Notes Claims). For the periods following the Effective Date, the projected balance sheets reflect
a capital structure comprised of the i) Exit ABL Facility, ii) Exit FILO Facility and iii) Exit Term Loan Facility.

          Other assumptions impacting the projected balance sheets are outlined in further detail in the
“Cash Flow Statement Assumptions” below. The projected balance sheets do not reflect the impact of
"fresh start" accounting, which could result in a material change to the projected values of assets and
liabilities.

Cash Flow Statement Assumptions

The Company’s projected statements of cash flow and liquidity were developed based on the evaluation
of Chapter 11 exit costs followed by the cash needed to support operating, investing, and financing
activities during the Projection Period. Specific items impacting the cash flow statement projections
include:

        Adjusted EBITDA: Adjusted EBITDA reflects earnings from operations and excludes costs related
to non-recurring expenses, costs associated with the restructuring, bankruptcy costs and non-cash rent.

        Cash Adjustments to EBITDA: Projected amounts primarily consist of cash items related to non-
recurring expenses and bankruptcy exit costs associated with the restructuring. All bankruptcy related
costs are assumed to be paid prior to emergence from bankruptcy.

         Changes in Working Capital: The projections for fiscal year 2021 reflect a source of cash from net
working capital primarily due to: i) impairment of trade as part of the bankruptcy followed by projected
post-bankruptcy expansion of terms with the Company’s vendors to levels still tighter than historically
experienced before bankruptcy and ii) the balancing of right-sizing inventory for the current post-COVID
environment while also maintaining appropriate levels to meet forecasted demand as stores reopen and
sales increase.

        Fiscal year 2022 projects a use of cash primarily driven by a continued increase in inventory back
closer to historical levels to meet forecasted post-COVID increases in demand. This is partially offset by
continued expansion of vendor terms closer to historical levels experienced before the bankruptcy.

        Fiscal year 2023 and onward project sources of cash from net working capital primarily driven by
continued expansion of terms with vendors to historical levels partially offset by normal projected growth
of inventory to support the year over year projected sales increases.

        Capital Expenditures: Capital expenditures are primarily driven by a combination of i)
maintenance requirements, ii) store renovations, and iii) investments in information technology during
the Projection Period. Capital expenditures are presented net of developer contributions.

        Change in Other Long-Term Liabilities: Change in other long-term liabilities primarily represents
adjustments to Projected Net Income (Loss) and Adjusted EBITDA for non-cash expenses and benefits
related to accounting for certain long-term benefits and real-estate items.

       Pension Contributions: The Company sponsors a defined benefit pension plan and is required to
make funding contributions to the plan to maintain its funded status. Funding requirements are based on,
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among other things, actuarial assumptions regarding benefit costs and anticipated future returns on plan
assets (which depend in part on future interest rates). The annual pension contributions represent
mandatory amounts required under federal law to maintain a funded status.

      Revolver Draw / Paydown: Revolver Draw / Paydown is driven by the projected net cash
consumed and/or generated from the operations, investing and financing activities of the business. The
Company projects maintaining a minimum cash balance of $50 million in all forecasted years.

        DIP Term Loan Repayment: The repayment of the DIP Term Loan reflects payment of the $525
million projected drawn amount as of the Effective Date upon receipt of exit financing proceeds. This
amount does not reflect the final $150 million draw under the $675 million DIP Term Loan facility since
the Final DIP Order does not permit that final draw until after the Effective Date.

        Exit Term Loan Amortization: Exit Term Loan Amortization is projected at 1% per annum, paid
quarterly, based on the amortization schedule defined in the Exit Term Loan Facility Term Sheet.

        Borrowing Base: The borrowing base projection assumes net orderly liquidation values (NOLV) for
inventory based on third-party appraisals. NOLVs for eligible inventory are assumed to be 100.8% at
emergence, 100.8% at fiscal year end 2021, and 102.7% at fiscal year end 2022 and beyond. The projected
borrowing base is equal to the sum of (a) 90% of the NOLV of eligible inventory, plus (b) 90% of the
amounts owed by credit card processors in respect of eligible credit card accounts constituting proceeds
from the sale or disposition of inventory, less (c) reserves at levels consistent with the pre-bankruptcy ABL
structure.
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                                        NEIMAN MARCUS GROUP LTD LLC
                              PROJECTED CONSOLIDATED STATEMENTS OF OPERATIONS
                                                (UNAUDITED)


($ in Millions)
                                                             FY 2021 1      FY 2022        FY 2023        FY 2024       FY 2025
Revenue                                                          3,407          3,982          4,148          4,271         4,435

Cost of Goods Sold (incl. B&O Costs)                              2,449          2,708          2,763         2,827          2,919

Gross Margin                                                        958          1,274          1,386         1,444          1,516

Selling, General and Administrative                                 899            939            964           985          1,017
Other Expenses                                                      105             20             20            20             20
EBITDA                                                              (45)           315            402           439            478

Depreciation & Amortization                                         289            290            294           300            300
Operating Earnings                                                 (335)            25            108           140            178

Interest Expense                                                    115            115            112           109            105
Income / (Loss) before Taxes                                       (450)           (90)            (4)           31             73

Income Tax Expense / (Benefit)                                     (117)           (23)            (1)             8            19

Net Income / (Loss)                                                (334)           (67)            (3)            23            54

Adjusted EBITDA                                                       66           342            429           467            505


                                                                                                              Excludes MyTheresa

1
    Full fiscal year 2021 includes the month of August 2020 (the first calendar month of fiscal year 2021) pre-emergence from bankruptcy.
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                                         NEIMAN MARCUS GROUP LTD LLC
                                    PROJECTED CONSOLIDATED BALANCE SHEETS
                                                 (UNAUDITED)


($ in Millions)
                                                             FY 2021        FY 2022        FY 2023        FY 2024        FY 2025
ASSETS
Current Assets:
 Cash and Cash Equivalents                                           50             50             50             50                50
 Accounts Receivable, net                                            23             31             32             33                34
 Inventory, net                                                     862            936            933            943               954
 Income Tax Receivable                                               10             10             10             10                10
 Other Current Assets                                               168            210            219            226               234
   Total Current Assets                                           1,113          1,237          1,244          1,261             1,282

Property and Equipment, net                                       1,367          1,318          1,229          1,128             1,003
Goodwill & Other Intangible Assets, net                           3,764          3,682          3,601          3,522             3,442
Other Long-Term Assets                                               36             35             35             35                35
Total Assets                                                      6,279          6,273          6,109          5,946             5,762

LIABILITIES AND MEMBER EQUITY
Current Liabilities:
 Accounts Payable                                                   147            197            224            241              258
 Accrued Liabilities                                                344            358            367            376              386
 Accrued Interest                                                    18             18             18             17               17
  Total Current Liabilities                                         510            574            610            635              661

Long-Term Liabilities:
 Debt - ABL revolver                                                456            470            348            212               46
 Debt - FILO Facility                                               100            100            100            100              100
 Debt - Exit Term Loan, net                                         744            737            729            722              714
  Total Debt                                                      1,300          1,307          1,177          1,034              860

 Other Long-Term Liabilities                                        334            299            262            221               178
 Deferred Developer Contributions                                   321            372            386            399               386
 Deferred Income Taxes                                              289            263            222            184               151
  Total Liabilities                                               2,754          2,815          2,656          2,472             2,236

Member Equity / (Deficit)                                         3,526          3,458          3,453          3,474             3,527

Total Liabilities and Member Equity                               6,279          6,273          6,109          5,946             5,762


                                                                                                               Excludes MyTheresa

Note: The projected consolidated balance sheets do not reflect the impact of "fresh start" accounting, which could result in a
material change to the projected values of assets and liabilities.
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                                        NEIMAN MARCUS GROUP LTD LLC
                              PROJECTED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                (UNAUDITED)


($ in Millions)
                                              Emergence 1     FY 2021 2      FY 2022        FY 2023        FY 2024       FY 2025
Adjusted EBITDA                                                      66           342            429            467           505

(-) Cash Adjustments to EBITDA                                      (140)           (20)           (20)          (20)           (20)
(+/-) ' in Net Working Capital                                       153            (60)            30             9              6
(-) Capital Expenditures, Net                                        (96)           (98)           (99)          (95)           (95)
(-) ' in Other Long-Term Liabilities                                 (11)           (12)           (18)          (24)           (28)
(-) Pension Contribution                                             (34)           (32)           (31)          (30)           (29)
(-) (Cash Taxes) / Refund                                             20             (7)           (44)          (50)           (57)
Unlevered Free Cash Flow                                             (41)           112            246           257            284

(-) Cash Interest - ABL/FILO                                         (18)           (19)           (16)          (15)           (12)
(-) Cash Interest - New DIP/New Exit Term Loan                       (97)           (96)           (95)          (94)           (93)
(+/-) Other                                                           (5)            (4)            (4)           (4)            (4)
Levered Free Cash Flow                                              (161)            (7)           130           143            174

Beginning Cash Balance                                               285             50             50            50             50
(+/-) Levered Free Cash Flow                                        (161)             (7)          130           143            174
(+/-) Borrowings / (Repayments) at Emergence                         225            -              -             -              -
(-) Exit Term Loan Amortization                                       (6)             (8)            (8)           (8)            (8)
(+/-) Revolver Draw / (Repayment)                                   (293)             15          (123)         (136)          (166)
Ending Cash Balance                                     50            50              50             50            50             50

Borrowing Base                                         870           739            823            821           830            841
(-) ABL Outstanding                                   (492)         (456)          (470)          (348)         (212)           (46)
(-) LCs Outstanding                                     (9)           (9)            (9)            (9)           (9)            (9)
ABL Availability                                       369           274            343            465           609            786

Total Liquidity                                        419           324            393            515           659            836


                                                                                                               Excludes MyTheresa

1
    Assumes the Company emerges from Chapter 11 on August 31, 2020.
2
    Full fiscal year 2021 includes the month of August 2020 (the first calendar month of fiscal year 2021) pre-emergence from bankruptcy.
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                                  Exhibit D

                              Valuation Analysis




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                 Valuation Analysis of Reorganized Neiman Marcus Group

     THE INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR
GUARANTEE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH
THE SALE OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN. THE
INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO
ENABLE THE HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN AND SHOULD NOT BE
USED OR RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING THE PURCHASE OR
SALE OF CLAIMS AGAINST THE DEBTORS OR ANY OF THEIR AFFILIATES.

   THE VALUATION ANALYSIS DOES NOT CONSTITUTE A RECOMMENDATION TO
ANY HOLDER OF ALLOWED CLAIMS OR ANY OTHER PERSON AS TO HOW SUCH
PERSON SHOULD VOTE OR OTHERWISE ACT WITH RESPECT TO THE PLAN.
LAZARD HAS NOT BEEN REQUESTED TO, AND DOES NOT EXPRESS ANY VIEW AS
TO, THE POTENTIAL TRADING VALUE OF REORGANIZED NEIMAN MARCUS
GROUP’S SECURITIES ON ISSUANCE OR AT ANY OTHER TIME.

   A. Lazard’s Estimated Valuation
        Solely for the purposes of the Plan and the Disclosure Statement, Lazard Frères & Co. LLC
(“Lazard”), as investment banker to the Debtors, has estimated a range of total enterprise value
(“Enterprise Value”) for Reorganized Neiman Marcus Group on a consolidated going-concern
basis and pro forma for the transactions contemplated by the Plan (the “Valuation Analysis”). The
Valuation Analysis is based on financial information and projections provided by the Debtors’
management, including the financial projections attached to the Disclosure Statement as Exhibit
C (collectively the “Projections”), and information that is publicly available or was provided by
other sources. The Valuation Analysis assumes that the Effective Date will occur on August 30,
2020. The valuation estimates set forth herein represent valuation analyses of Reorganized
Neiman Marcus Group based on the application of customary valuation techniques to the extent
deemed appropriate by Lazard.

    Based on the Projections and solely for the purposes of the Plan, Lazard estimates that the
potential range of Enterprise Value for Reorganized Neiman Marcus Group is approximately
$2.07 to $2.54 billion. Based on the potential range of Enterprise Value and assumed net debt of
$1.29 billion as of the Effective Date, Lazard estimates an imputed range of potential equity
value for Reorganized Neiman Marcus Group of $0.79 to $1.25 billion. For purposes of the
Valuation Analysis, Lazard assumed that, between the date of filing of the Disclosure Statement
and the assumed Effective Date, no material changes will occur that would affect the Projections
or Valuation Analysis. Lazard’s Valuation Analysis does not constitute an opinion as to fairness
from a financial point of view of the consideration to be received or paid under the Plan, of the
terms and provisions of the Plan, or with respect to any other matters.

   B. Valuation Methodology

    Lazard has estimated the consolidated value of Reorganized Neiman Marcus Group by
primarily relying on two generally accepted valuation techniques: (i) Discounted Cash Flow
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(“DCF”) Analysis and (ii) Comparable Public Company Analysis. While Lazard recognizes that
the precedent transaction methodology is often used, Lazard believes that this methodology has
less relevance for purposes of assessing the Enterprise Value of Reorganized Neiman Marcus
Group due to the lack of recent comparable precedent transactions, among other factors.

   (i)     Discounted Cash Flow Analysis:
                 DCF analysis is a forward-looking enterprise valuation methodology that
           estimates the value of an asset or business by calculating the present value of
           expected future cash flows to be generated by that asset or business. Under this
           methodology, projected future cash flows are discounted by the weighted average
           cost of capital (the “Discount Rate”) of the business. The Discount Rate reflects the
           estimated rate of return that would be required by debt and equity investors to invest
           in the business. The Enterprise Value of the firm is determined by calculating the
           present value of the unlevered after-tax free cash flows based on the Projections plus
           an estimate for the value of the firm beyond the Projection Period, known as the
           terminal value. The terminal value is derived using the normalized unlevered after-
           tax free cash flow in the final year of the Projection Period, and discounted back to
           the assumed Effective Date.

   (ii)    Comparable Public Company Analysis:

                 Comparable Public Company Analysis estimates the value of a company
           relative to other publicly traded companies with similar business and financial
           characteristics. Lazard first selected a set of publicly traded companies that it
           believes exhibit similar business and financial characteristics to Reorganized Neiman
           Marcus Group. Criteria for the selected reference group included, among other
           relevant characteristics, similarity in operations, business risks, growth prospects,
           product mix, customer base, margins, market presence, size and scale of operations.
           The selected reference group may not be comparable to Reorganized Neiman Marcus
           Group in all aspects, and may differ materially in certain specific respects.

                 In deriving Enterprise Value ranges under the Comparable Public Company
           Analysis methodology, Lazard used earnings before interest, taxes, depreciation and
           amortization (“EBITDA”) as its primary valuation metric. Lazard calculated last
           twelve months prior to COVID-19 (“Pre-COVID LTM”) (representing the period
           twelve months prior to Neiman Marcus Group’s fiscal quarter ending February 1,
           2020) and FY2022E (representing Neiman Marcus Group’s fiscal year ending July
           30, 2022) multiples of this reference group, applying certain qualitative judgments
           based on the characteristics of Reorganized Neiman Marcus Group and the selected
           reference group. Lazard then applied a range of multiples to Reorganized Neiman
           Marcus Group’s implied Pre-COVID LTM and FY2022E EBITDA.

   (iii)   Precedent Transaction Analysis:

                Precedent Transaction analysis estimates value by examining comparable
           precedent merger and acquisition transactions. The valuations paid in such
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        acquisitions or implied in such mergers are analyzed as ratios of various financial
        metrics. These transaction multiples are calculated based on the purchase price paid
        to acquire companies that are comparable to Reorganized Neiman Marcus Group.
        Precedent Transaction analysis reflects aspects of value other than the intrinsic value
        of a company, and the transactions analyzed invariably will have occurred in different
        operating and financial environments. As a result, there are inherent limitations in the
        application of Precedent Transaction analysis to determining the Enterprise Value for
        Reorganized Neiman Marcus Group. While Lazard considered precedent
        transactions since 2010, Lazard believes that the transactions identified have less
        relevance when assessing the Enterprise Value of Reorganized Neiman Marcus
        Group due to the lack of recent and comparable observations, among other factors.


     THE VALUATION ANALYSIS REFLECTS WORK PERFORMED BY LAZARD ON
THE BASIS OF INFORMATION IN RESPECT OF THE BUSINESSES AND ASSETS OF THE
DEBTORS AVAILABLE TO LAZARD AS OF JUNE 29, 2020. IT SHOULD BE
UNDERSTOOD THAT, ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY HAVE
AFFECTED OR AFFECT LAZARD'S CONCLUSIONS, LAZARD DOES NOT HAVE ANY
OBLIGATION TO UPDATE, REVISE, OR REAFFIRM ITS VALUATION ANALYSIS AND
DOES NOT INTEND TO DO SO. LAZARD IS NOT MAKING ANY ASSESSMENT
REGARDING IMPACT OR THE ECONOMIC EFFECTS OF THE COVID-19 VIRUS,
INCLUDING WITH RESPECT TO THE POTENTIAL IMPACT OR EFFECTS ON THE
FUTURE      FINANCIAL     PERFORMANCE       OF    THE     REORGANIZED
DEBTORS. SUBSEQUENT DEVELOPMENTS, INCLUDING, WITHOUT LIMITATION, IN
RELATION TO COVID-19, MAY AFFECT THE PROJECTIONS AND OTHER
INFORMATION THAT LAZARD UTILIZED IN THE VALUATION ANALYSIS. LAZARD
ASSUMES NO RESPONSIBILITY FOR UPDATING OR REVISING THE VALUATION
ANALYSIS BASED ON CIRCUMSTANCES OR EVENTS AFTER THE DATE HEREOF.

     LAZARD DID NOT INDEPENDENTLY VERIFY THE PROJECTIONS OR OTHER
INFORMATION THAT LAZARD USED IN THE VALUATION ANALYSIS, AND NO
INDEPENDENT VALUATIONS OR APPRAISALS OF THE DEBTORS WERE SOUGHT OR
OBTAINED IN CONNECTION THEREWITH. THE VALUATION ANALYSIS WAS
DEVELOPED SOLELY FOR PURPOSES OF THE PLAN AND THE ANALYSIS OF
POTENTIAL RELATIVE RECOVERIES TO CREDITORS THEREUNDER.             THE
VALUATION ANALYSIS REFLECTS THE APPLICATION OF VARIOUS VALUATION
TECHNIQUES, DOES NOT PURPORT TO BE AN OPINION AND DOES NOT PURPORT TO
REFLECT OR CONSTITUTE AN APPRAISAL, LIQUIDATION VALUE, OR ESTIMATE OF
THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH THE SALE OF
ANY SECURITIES TO BE ISSUED OR ASSETS TO BE SOLD PURSUANT TO THE PLAN,
WHICH MAY BE SIGNIFICANTLY DIFFERENT THAN THE AMOUNTS SET FORTH IN
THE VALUATION ANALYSIS.

     THE VALUE OF AN OPERATING BUSINESS IS SUBJECT TO NUMEROUS
UNCERTAINTIES AND CONTINGENCIES THAT ARE DIFFICULT TO PREDICT AND
WILL FLUCTUATE WITH CHANGES IN FACTORS AFFECTING THE FINANCIAL
CONDITION AND PROSPECTS OF SUCH A BUSINESS. AS A RESULT, THE VALUATION
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ANALYSIS IS NOT NECESSARILY INDICATIVE OF ACTUAL OUTCOMES, WHICH MAY
BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN THOSE SET FORTH HEREIN.
BECAUSE SUCH ESTIMATES ARE INHERENTLY SUBJECT TO UNCERTAINTIES,
NEITHER THE DEBTORS, LAZARD, NOR ANY OTHER PERSON ASSUMES
RESPONSIBILITY FOR THEIR ACCURACY.        IN ADDITION, THE POTENTIAL
VALUATION OF NEWLY ISSUED SECURITIES IS SUBJECT TO ADDITIONAL
UNCERTAINTIES AND CONTINGENCIES, ALL OF WHICH ARE DIFFICULT TO
PREDICT. ACTUAL MARKET PRICES OF SUCH SECURITIES AT ISSUANCE WILL
DEPEND UPON, AMONG OTHER THINGS, PREVAILING INTEREST RATES,
CONDITIONS IN THE FINANCIAL MARKETS, THE ANTICIPATED INITIAL SECURITIES
HOLDINGS OF PREPETITION CREDITORS, SOME OF WHICH MAY PREFER TO
LIQUIDATE THEIR INVESTMENT RATHER THAN HOLD IT ON A LONG-TERM BASIS,
THE POTENTIALLY DILUTIVE IMPACT OF CERTAIN EVENTS, INCLUDING THE
ISSUANCE OF EQUITY SECURITIES PURSUANT TO ANY MANAGEMENT INCENTIVE
COMPENSATION PLAN, AND OTHER FACTORS THAT GENERALLY INFLUENCE THE
PRICES OF SECURITIES.

        Management of the Debtors advised Lazard that the Projections were reasonably prepared
in good faith and on a basis reflecting the Debtors’ best estimates and judgments as to the future
operating and financial performance of Reorganized Neiman Marcus Group. The Valuation
Analysis assumes that the actual performance of Reorganized Neiman Marcus Group will
correspond to the Projections in all material respects. If the business performs at levels below or
above those set forth in the Projections, such performance may have a materially negative or
positive impact, respectively, on the Valuation Analysis and estimated potential ranges of
Enterprise Value therein.

        In preparing the Valuation Analysis, Lazard: (a) reviewed certain historical financial
information of the Debtors for recent years and interim periods; (b) reviewed certain financial and
operating data of the Debtors, including the Projections and anticipated store closure plan;
(c) discussed the Debtors’ operations and future prospects with the Debtors’ senior management
team and third-party advisors; (d) reviewed certain publicly available financial data for, and
considered the market value of, public companies that Lazard deemed generally relevant in
analyzing the value of Reorganized Neiman Marcus Group; (e) reviewed certain publicly
available financial data for transactions involving companies similar in certain respects to
Reorganized Neiman Marcus Group; (f) considered certain economic and industry information
that Lazard deemed generally relevant to Reorganized Neiman Marcus Group; and (g) conducted
such other studies, analyses, inquiries, and investigations as Lazard deemed appropriate. Lazard
assumed and relied on the accuracy and completeness of all financial and other information
furnished to it by the Debtors’ management and other parties as well as publicly available
information.

       Lazard did not estimate the value of any tax attributes nor did it estimate the impact of any
cancellation of indebtedness income on the Reorganized Debtors’ projections. Any changes to the
assumptions on the availability of tax attributes or the impact of cancellation of indebtedness
income on the Reorganized Debtors’ projections could materially impact Lazard’s valuation
analysis.
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     THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE
DESCRIPTION OF THE VALUATION ANALYSIS PERFORMED BY LAZARD. THE
PREPARATION    OF   A   VALUATION     ANALYSIS   INVOLVES    VARIOUS
DETERMINATIONS AS TO THE MOST APPROPRIATE AND RELEVANT METHODS OF
FINANCIAL ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE
PARTICULAR CIRCUMSTANCES AND, THEREFORE, SUCH AN ANALYSIS IS NOT
READILY SUITABLE TO SUMMARY DESCRIPTION. THE VALUATION ANALYSIS
PERFORMED BY LAZARD IS NOT NECESSARILY INDICATIVE OF ACTUAL VALUES
OR FUTURE RESULTS, WHICH MAY BE SIGNIFICANTLY MORE OR LESS FAVORABLE
THAN THOSE DESCRIBED HEREIN.

     LAZARD IS ACTING AS INVESTMENT BANKER TO THE DEBTORS, AND HAS
NOT BEEN, WILL NOT BE RESPONSIBLE FOR, AND WILL NOT PROVIDE ANY TAX,
ACCOUNTING, ACTUARIAL, LEGAL, OR OTHER SPECIALIST ADVICE.
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                                  Exhibit E

                             Liquidation Analysis




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                                             LIQUIDATIONANALYSIS
                                                        
                                              GeneralAssumptions

HypotheticalChapter7recoveriessetforthinthisanalysis(this“LiquidationAnalysis”)weredetermined
throughmultiplesteps,assetforthbelow.ThebasisoftheLiquidationAnalysisistheDebtors’projected
cashbalanceandassetsasofAugust31,2020(the“ConversionDate”)andthenetcoststoexecutethe
administrationofthewinddownoftheEstates.TheLiquidationAnalysisassumesthattheDebtorswould
commenceaChapter7liquidationonorabouttheConversionDateunderthesupervisionofacourtͲ
appointed Chapter 7 trustee. The Liquidation Analysis reflects the wind down and liquidation of
substantiallyalloftheDebtors’remainingassetsandthedistributionofavailableproceedstoHoldersof
AllowedClaimsduringtheperiodaftertheConversionDate.

THE DEBTORS BELIEVE THAT ANY ANALYSIS OF A HYPOTHETICAL LIQUIDATION IS NECESSARILY
SPECULATIVE.THEREAREANUMBEROFESTIMATESANDASSUMPTIONSUNDERLYINGTHELIQUIDATION
ANALYSIS THAT ARE INHERENTLY SUBJECT TO SIGNIFICANT UNCERTAINTIES AND CONTINGENCIES
BEYONDTHECONTROLOFTHEDEBTORSORACHAPTER7TRUSTEE.NEITHERTHEANALYSIS,NORTHE
FINANCIALINFORMATIONONWHICHITISBASED,HASBEENEXAMINEDORREVIEWEDBYINDEPENDENT
ACCOUNTANTS IN ACCORDANCE WITH STANDARDS PROMULGATED BY THE AMERICAN INSTITUTE OF
CERTIFIEDPUBLICACCOUNTANTS.THERECANBENOASSURANCETHATACTUALRESULTSWOULDNOT
VARYMATERIALLYFROMTHEHYPOTHETICALRESULTSPRESENTEDINTHELIQUIDATIONANALYSIS.

SummaryNotestoLiquidationAnalysis

1. Dependence on assumptions. The Liquidation Analysis depends on a number of estimates and
assumptions.Althoughdevelopedandconsideredreasonablebythemanagementandtheadvisorsofthe
Debtors, the assumptions are inherently subject to significant economic, business, regulatory and
competitiveuncertaintiesandcontingenciesbeyondthecontroloftheDebtorsortheirmanagement.The
Liquidation Analysis is also based on the Debtors’ best judgment of how numerous decisions in the
liquidationprocesswouldberesolved.Accordingly,therecanbenoassurancethatthevaluesreflected
intheLiquidationAnalysiswouldberealizediftheDebtorswere,infact,toundergosuchaliquidation
andactualresultscouldvarymateriallyandadverselyfromthosecontainedherein.

2.Dependenceonaforecastedbalancesheet.ThisLiquidationAnalysiscontainsnumerousestimatesthat
arestillunderreviewanditremainssubjecttofurtherlegalandaccountinganalysis.

3.PreͲPetitionABL,FILOandDIPFacilityRecoveryAssumptions.TheLiquidationAnalysisassumesthat
uponconversionoftheChapter11casetoChapter7,thePreͲPetitionABL/FILOandDIPAgentswillseek
relieffromtheautomaticstaytoforecloseontheDebtors’assetsunderthejurisdictionoftheBankruptcy
Court to recover on their outstanding Claims. For purposes of this analysis, it is assumed that the
conversion from Chapter 11 to Chapter 7 would take place on the Conversion Date. The PreͲPetition
ABL/FILO and DIP Agents would have the ability to recover on their respective secured positions on
substantiallyalloftheDebtors’assets.

4.Chapter7liquidationprocess.TheliquidationoftheDebtors’assetsisassumedtobecompletedovera
twelvemonthperiod.Duringthefirstfourmonths,theDebtorswouldcompletegoingͲoutͲofͲbusiness
sales for all remaining store inventory, furniture, fixtures, and equipment, along with the sale of all
intellectualproperty.Duringmonths5–8,theDebtorswouldprimarilyfocusonmonetizingandcollecting


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otherassetswhilethroughoutthe12monthperiodtheDebtorswouldalsobeworkingonadministrative
activities,suchasfinalcreditordistributionsneededtocompletethewinddownoftheEstates.

5.ClaimsEstimates.InpreparingthisLiquidationAnalysis,theDebtorshavepreliminarilyestimatedan
amountofAllowedClaimsforeachClassbaseduponareviewoftheDebtors’estimatedbalancesheet.
DIPClaimswereestimatedbasedontheUpdatedDIPBudgetasoftheConversionDate.AdditionalClaims
were estimated to include certain Chapter 7 administrative obligations incurred after the Conversion
Date.TheestimateofallallowedclaimsinthisLiquidationAnalysisisbasedonthebookvalueofthose
claims.NoorderorfindinghasbeenenteredormadebytheBankruptcyCourtestimatingorotherwise
fixing the amount of Claims at the estimated amounts of Allowed Claims set forth in this Liquidation
Analysis.TheestimateoftheamountofAllowedClaimssetforthinthisLiquidationAnalysisshouldnot
berelieduponforanyotherpurpose,including,withoutlimitation,anydeterminationofthevalueofany
distribution to be made on account of Allowed Claims under the Plan. The actual amount of Allowed
ClaimscouldbemateriallydifferentfromtheamountofClaimsestimatedinthisLiquidationAnalysis.
                                   




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Neiman Marcus Group                                                Est. / Book            Percent Recovery     Estimated Recovery
($ in Millions)                                             Note     Value                Low         High      Low         High
I. Liquidation of Assets
    Cash On Hand                                             1                     129      100%        100%        129         129
    ABL Segregated Cash                                      2                      50      100%        100%         50          50
    Accounts Receivable                                      3                      20       90%        100%         18          20
    Other Receivables                                        4                      25       90%        100%         23          25
    Merchandise Inventory, net                               5                     900       94%        104%        843         933
    Prepaid Merchandise and Other Deposits                   6                      50       25%         50%         13          25
    Current Asset Subtotal                                                       1,124       75%         83%      1,075       1,182
    Intellectual Property                                    7                    125        50%        100%         62         125
    Real Estate Assets                                       8                    N/A        N/A         N/A       381          476
    Other Assets                                             9                    139         0%          5%       -              7
    Litigation and Preference / Avoidance Actions           10                    N/A        N/A         N/A       -            275
    Non-Current Asset Subtotal                                                    263                              443          883
   Total Estimated Proceeds from Liquidation of Assets                           1,387                            1,518       2,065
II. Administrative Claims & Liquidation Costs
    Accrued Payroll and Benefits                            11                    (16)      100%        100%        (16)        (16)
    Accrued Sales Tax                                       11                    (13)      100%        100%        (13)        (13)
    Severance / PTO / KERP                                  12                      (8)     100%        100%         (8)         (8)
    Property Taxes and Other Taxes                          13                    (10)      115%        100%        (12)        (10)
    Recovery from Professional Fee Escrow                   14                     11       100%        100%         11          11
    Other Priority and Administrative Claims                15                    (39)      115%        100%        (45)        (39)
    Chapter 7 Trustee Fees                                  16             Variable         100%        100%        (25)        (28)
    Total Wind Down Expenses                                17                   (121)      115%        100%       (139)       (121)
    Total Administrative Claims & Liquidation Costs                              (196)                             (247)       (224)
 Proceeds Available After Wind Down                                                                               1,272       1,841

III. Secured Claims
   Pre-Petition ABL Facility (incl. letters of credit)      18                     765      100%        100%        765         765
   Pre-Petition FILO Facility                               19                     102      100%        100%        102         102
   DIP Term Loan                                            20                     531       76%        100%        405         531
   Amended Term Loan (Cash Pay)                             21                   1,201        0%          7%          -          90
   Amended Term Loan (Cash / PIK)                           21                   1,054        0%          7%          -          79
   Term Loan- Stub Portion                                  21                      13        0%          0%          -           -
   14.000% Second Lien Notes                                22                     606        0%          0%          -           -
   8.000% Third Lien Notes                                  23                     763        0%          0%          -           -
   8.750% Third Lien Notes                                  23                     522        0%          0%          -           -
   7.125% First Lien Debentures                             21                     129        0%          0%          -           -
   Estimated Secured Claims Recovery                                             5,686                            1,272       1,566

   Total Secured Claims                                                                                           5,686       5,686
   Estimated Secured Claims Recovery %                                                                             22%         28%

 Proceeds Available For General Unsecured Creditors                                                                   -         275

 General Unsecured Creditors' Claims                        24                                                    5,288       4,848
 Estimated General Unsecured Creditor's Claims Recovery %                                                            0%          6%
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GeneralAssumptions
                
I.GrossLiquidationProceeds

1CashOnHand                  
Assumes 100% of estimated recovery of cash on hand in stores and in company bank accounts at
ConversionDate.Cashonhandinrestrictedaccountsforworker'scompensationandinsuranceliabilities
is assumed to fund extended claims tail payments beyond the Conversion Date with no estimated
recovery.
          
2ABLSegregatedCash            
ABLsegregatedcashrepresentscashfundedtoasegregatedaccountpursuanttotheFinalDIPorderas
adequateprotection.A100%recoveryonABLsegregatedcashisassumed.
          
3AccountsReceivable
TheDebtor'saccountsreceivablesconsistprimarilyofreceivablesfrominstoreandonlinecreditcard
sales.Theassumedrecoveryis90%to100%.

4OtherReceivables 
Otherreceivablesrelatetoanticipatedincometaxrefundsfromfederalandstateauthoritiesalongwith
miscellaneousreceivables.Theassumedrecoveryis90%to100%.

5MerchandiseInventory,net 
The Debtor's estimate that total eligible net inventory as of the Conversion Date will be $900 million.
Inventoryisassumedtobesold"asis,whereis"throughafifteenͲweekorderlyliquidationandrecovery
values are based on a thirdͲparty inventory appraisal. The recovery shown reflects the net orderly
liquidation value ("NOLV") of the inventory, which accounts for costs related to selling through the
inventorysuchasoccupancy,payroll,liquidationfees,freight,andothergeneralsellingexpenses.The
recovery rate on inventory is assumed to be between 94% and 104% with the low end of the range
providingforconsiderationofthepotentialpostcoronavirusimpactonrecoveries.

6PrepaidMerchandiseandOtherDeposits 
PrepaidmerchandiseincludespreͲpetitiondebitbalancesrelatedtodepositsandadvancespaidbythe
Debtorstomerchandisevendors.Theassumedrecoveryis25%to50%.

7IntellectualProperty
TheDebtor'sintellectualpropertyconsistsoftheCompany’sportfoliooftrademarkportfolio,internet
assets,customerdata,designlibrary, tradesecrets,and proprietarycontent. Theassumedrecoveryis
basedonathirdͲpartyappraisalthatreflectsaforcedliquidationvaluewiththediscontinuanceofthe
ongoingretailandeͲcommercebusiness.Theassumedrecoveryforintellectualpropertyis50%to100%
oftheappraisedforcedliquidationvalue.

8RealEstateAssets
Realestateassetsconsistofcompanyownedandleasedstoreproperties,alongwithcorporateproperties
anddistributioncenters.TheassumedrecoveryrangeisbasedinreferencetoathirdͲpartyappraisaland
managementestimatesthatreflectadarkforcedliquidationvaluewiththediscontinuanceoftheongoing
retailandeͲcommercebusiness.



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
9OtherAssets
OtherassetsincludetheDebtor’sminorityinterestinvestmentsandfurniture,fixturesandequipment
locatedinstore,DCandcorporateproperties.A0%to5%recoveryonbookvalueisassumed.

10LitigationandPreference/AvoidanceActions           
Potential recoveries from litigation and preference / avoidance actions are uncertain. The Liquidation
Analysisassumesarecoveryrangefrom$0to$275millionrelatedtoMyTlitigationanddoesnottake
intoaccountpotentialfeesthatmaybeincurredinconnectionwithsuchlitigation,whichwouldreduce
recoveries.

II.AdministrativeClaims&LiquidationCosts

11AccruedEmployeeObligationsandSalesTax
EmployeeobligationsandaccruedsalestaxarepreͲconversionadministrativeclaimsbutareincludedas
acaseadministrationexpensebecausefailuretopaytheseexpenseswouldlikelyhaveanimmediateand
significant destabilizing effect on the orderly wind down of the Debtor's estates. Accrued employee
obligationsareestimatedbasedonestimatedrunͲrateexpensesattheConversionDate.Accruedsales
taxisestimatedbasedontheDIPBudget.

12Severance/PTO/KERP
Forthepurposesofthisanalysis,itisassumedthataprogramforSeverance/PTO/KERPwouldbeput
intoplaceinordertoretaincriticalemployeesforthewinddownoftheDebtors’estate.

13PropertyTaxesandOtherTaxes 
Claimsforpropertyandothertaxesareestimatedat$10millionto$12million.

14RecoveryfromProfessionalFeeEscrow
ProfessionalsconsistofadvisorstotheDebtors,advisorstotheDIPLenders,advisorstotheRestructuring
SupportParties,andadvisorstotheUnsecuredCreditors’Committee.TheLiquidationAnalysisassumes
thatattheConversionDateestimatedprofessionalfeesfortheadvisorstotheDebtorsandUnsecured
Creditors’CommitteethroughAugust2020andthePostDefaultTriggerCarveͲOutamountwillhavebeen
fundedtoaprofessionalescrowoutsideoftheDebtors’estateinaccordancewiththeFinalDIPOrder,
whichreflectsfundingof120%oftheestimatedprofessionalfees.Uponconversion,itisassumedthat
thePostͲDefaultCarveͲOutamountwillbeutilizedtopayremainingpostͲdefaultperiodprofessionalfees
incurredbytheDebtors’andUnsecuredCreditors’Committeeprofessionals.Theresultisanestimated
net recovery from the professional fee escrow account of $11 million after paying for all accrued and
unpaidChapter11professionalfees.

15OtherPriorityandAdministrativeClaims
OtherPriorityandAdministrativeClaimsrepresentsamountssuchas503(b)(9)claims,postͲpetition
accountspayable,potentialWARNclaimsandotheradministrativeclaimsestimatesattheConversion
Date.

16Chapter7TrusteeFees
Pursuanttosection326oftheBankruptcycode,thecourtmayallowreasonablecompensationforthe
trustee’sservices,nottoexceed25%onthefirst$5,000orless,10%onanyamountinexcessof$5,000
butnotinexcessof$50,000,5%onanyamountinexcessof$50,000butnotinexcessof$1million,and


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reasonable compensation not to exceed 3% of such moneys in excess of $1 million, upon all moneys
disbursed or turned over in the case by the trustee to parties in interest, excluding the debtor, but
includingholdersofsecuredclaims.Forthepurposeofthisanalysis,theestimatefortheTrustee'sfees
havebeensimplifiedto3%ofgrossliquidationproceeds.Theproceedsfromborrowingbaseassetsare
charged against the collateral of the ABL. The proceeds from all other assets are charged against the
collateralofthetermloan.

17WindDownExpenses
WinddownexpensesreflectoperatingcostsoveratwelveͲmonth,whichconsistsofa4monthsaleperiod,
a 4 month operational wind down and a 4 month tail period to cover final expenses. The wind down
expenseestimateexcludescoststhatareconsideredinthestoreclosureandinventoryliquidationprocess
mentionedinNote4.Thebudgetprimarilyconsistsofcorporateanddistributionoverheadsalaries,wages
andbenefitsaswellascorporateanddistributioncenteroccupancyandITcosts.

III.SecuredClaims

18PreͲPetitionABLFacility(includingLettersofCredit)            
ThePreͲPetitionABLFacilityclaimrepresentsthebalancefromrevolvingcreditfacilityalongwithrelated
lettersofcreditasofthepetitiondate.ThePreͲPetitionABLhaspriorityaheadoftheDIPtermloanon
theDebtor’sworkingcapitalassetsincludingcashonhand,segregatedcash,eligibleaccountsreceivable
andinventory.ThePreͲPetitionABLFacilityclaimisestimatedtobe$755millionandthelettersofcredit
areestimatedtobe$9million,reflectingprincipalamountsborrowedalongwithinterestaccruedinthe
postͲpetitionperiodinaccordancewiththeFinalDIPOrderthroughtheConversionDate.TheLiquidation
AnalysisestimatesafullrecoveryonthePreͲPetitionABLFacility.

19PreͲPetitionFILOFacility 
The PreͲPetition FILO Facility shares the same lien priority with the PreͲPetition ABL Facility on the
company’sworkingcapitalassetsbutissubordinatedinrightofpayment.AswiththePreͲPetitionABL
Facility,thePreͲPetitionFILOFacilityreceivespriorityabovetheDIPTermLoanonremainingproceeds
fromworkingcapitalassetsafterfullsatisfactionofPreͲPetitionABLFacility.ThePrepetitionFILOFacility
claimisestimatedat$102millionasofthepetitiondate,reflectingprincipalamountsborrowedalong
with interest accrued in the postͲpetition period in accordance with the Final DIP Order through the
ConversionDate.TheLiquidationAnalysisestimatesafullrecoveryonthePreͲPetitionFILOFacility.

20DIPTermLoan
TheDIPTermLoanclaimsconsistof$531millionofnewmoneyDIPfinancingestimatedtobedrawnby
the Conversion Date, reflecting principal amounts borrowed along with interest accrued in the postͲ
petitionperiod.TheLiquidationAnalysisdoesnotreflectthefinal$150Mdrawunderthe$675millionDIP
TermLoanfacilitysincetheFinalDIPOrderdoesnotpermitthatfinaldrawuntilaftertheConversion
Date.TheDIPTermLoanisjuniorinlienprioritytotheABLandFILOontheDebtor’sworkingcapital
assets,whichincludecashonhand,segregatedcash,eligibleaccountsreceivableandinventory.TheDIP
Term Loan is assumed to receive the highest priority lien on proceeds from all other company assets
includingproceedsfromcompany’sintellectualproperty,realestateholdings,andotherassetsthrough
theConversionDate.ThisanalysisassumesthattheDIPlenderrecoversfirstfromcollateralpledgedto
theNMGNotesPropCoLLC.TheLiquidationAnalysisestimatesa$405millionto$531millionrecoveryon
theDIPTermLoan.
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
21SeniorSecuredTermLoans            
TheSeniorSecuredTermLoansincludetheAmendedTermLoans(CashPayandCash/PIK),theTerm
Loan Stub Portion, and 7.125% First Lien Debentures. All Senior Secured Term Loans are considered
subordinateinlienprioritytotheDIPTermLoanontheDebtor’snonͲworkingcapitalassets.TheSenior
SecuredTermLoansreceiveprioritytotheSecondLienNotes(seeNote20)andtheThirdLienNotes(see
Note21)ontheassetsofNMGTermLoanPropCoLLC,alongwithotherassets.TheSeniorSecuredTerm
LoansaresubordinatetoSecondLienNotesandThirdLienNotesontheassetsofNMGNotesPropCoLLC.
TheLiquidationAnalysisestimatesa$0to$168millionrecoveryontheestimated$2.4billionofestimated
claimsfortheSeniorSecuredTermLoans.

22SecondLienNotes 
The14.000%SecondLienNoteshaveprioritybehindtheDIPTermLoanandtheThirdLienNotesonthe
realestateassetsofNMGNotesPropCoLLC.TheLiquidationAnalysisestimatesa$0recoveryonthe
$606millioninestimatedclaimsfortheSecondLienNotes.

23ThirdLienNotes 
TheThirdLienNotesincludethe8.000%ThirdLienNotesandthe8.75%ThirdLienNotes.TheThirdLien
NotesarejuniortotheDIPTermLoanontherealestateassetsinNMGNotesPropCoLLC,andanycash
proceedswouldbedistributedproratabetweenthefacilities.TheLiquidationAnalysisestimatesa$0
recoveryonthe$1.3billionofestimatedclaimsfortheThirdLienNotes.

24GeneralUnsecuredCreditors’Claims
General unsecured claims include the estimated range of deficiency claims of the above debtholders,
tradeclaims,leaserejectionclaims,andotherunsecuredclaimsestimatedasoftheConversionDate.The
LiquidationAnalysisestimatesarangeofrecoveryfrom$0to$275millionfortheGeneralUnsecured
Creditors’ClaimsresultingfromassumedproceedsrelatedtoMyTlitigationasreferencedinNote10.

ItshouldbenotedthatnoorderorfindinghasbeenenteredormadebytheBankruptcyCourtestimating
orotherwisefixingtheamountofClaimsattheestimatedamountsofAllowedClaimssetforthinthis
LiquidationAnalysis.TheestimateoftheamountofAllowedClaimssetforthinthisLiquidationAnalysis
shouldnotberelieduponforanyotherpurpose,including,withoutlimitation,anydeterminationofthe
valueofanydistributiontobemadeonaccountofAllowedClaimsunderthePlan.Theactualamountof
Allowed Claims could be materially different from the amount of Claims estimated in this Liquidation
Analysis.






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                                 Exhibit F

                       Organizational Structure Chart
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                                                                Exhibit G

                                                        Lien Priorities

                                                                                     Notes Priority
                                                                                      Real Estate
                                                                                      Collateral
                                    2019 Term        Original                         and Notes          Term
                                   Loan Priority      Term                ABL          PropCo         Loan PropCo    Limited
                                    Real Estate    Loan Priority         Priority       Equity           Equity     Guarantee
                                    Collateral      Collateral          Collateral     Interests        Interests   Collateral
 2019 Term Loans and
   2013 Term Loans ........             1               1                   2             3               1           None
 2013 Term Loans .............         None             1                   2            None            None         None
 Asset-Based Revolving
   Credit Facility .............        4               4                  1               4               4          None
 Second Lien Notes ...........          2               2                  3              2(i)             2           1
 Third Lien Notes .............         3               3                  4              1(ii)            3          None
 2028 Debentures ..............        1(iii)          1(iii)             None            3(iii)          1(iii)      None

(i)        Recovery not to exceed $200.0 million, together with recovery for Second Lien Notes obligations.

(ii)       Recovery not to exceed $200.0 million, together with recovery for the Third Lien Notes obligations.

(iii)      Priority will be pari passu with the 2019 Term Loan liens (or if there are no 2019 Term Loan liens
           or 2013 Term Loan liens, the highest priority lien on the relevant asset) solely on assets if and to
           the extent required by the “equal and ratable clause” set forth in the indenture governing the 2028
           Debentures and related documentation in effect as of the issue date thereof.




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                                 Exhibit D

                        Disclosure Statement Redline
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       )
In re:                                                                 ) Chapter 11
                                                                       )
                                                             1
NEIMAN MARCUS GROUP LTD LLC, et al.,                                   ) Case No. 20-32519 (DRJ)
                                                                       )
                            Debtors.                                   ) (Jointly Administered)
                                                                       )

                            DISCLOSURE STATEMENT
                 FOR THE DEBTORS’ FIRST AMENDED JOINT PLAN OF
         REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THIS DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE COURT. THIS DISCLOSURE STATEMENT IS BEING
SUBMITTED FOR APPROVAL BUT HAS NOT BEEN APPROVED BY THE COURT. THE
INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO CHANGE. THIS DISCLOSURE
STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT SOLICITING AN OFFER
TO BUY ANY SECURITIES


Matthew D. Cavenaugh (TX Bar No. 24062656)                         Anup Sathy, P.C. (admitted pro hac vice)
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1   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530); Bergdorf Graphics, Inc. (9271); BG
    Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa Intermediate Holdings LLC (5829); NEMA Beverage
    Corporation (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage Parent Corporation (9262); NM
    Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242);
    NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon
    Holdings LLC (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue
    Leasing Company (5996). The Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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     THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE
STATEMENT TO HOLDERS OF CLAIMS AND INTERESTS FOR PURPOSES OF
SOLICITING VOTES TO ACCEPT OR REJECT THE DEBTORS’ FIRST AMENDED JOINT
PLAN OF REORGANIZATION REORGANIZATION PURSUANT TO CHAPTER 11 OF THE
BANKRUPTCY CODE. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE RELIED
UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. BEFORE DECIDING
WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER ENTITLED TO
VOTE SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS
DISCLOSURE STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE
X HEREIN.

      THE PLAN IS SUPPORTED BY THE DEBTORS AND CERTAIN PARTIES IN
INTEREST THAT HAVE EXECUTED THE RESTRUCTURING SUPPORT AGREEMENT,
INCLUDING HOLDERS OF APPROXIMATELY 99 PERCENT OF THE DEBTORS’ FIRST
LIEN TERM LOANS, 100 PERCENT OF THEIR SECOND LIEN NOTES, 70 PERCENT OF
THEIR THIRD LIEN NOTES, AND 78 PERCENT OF THEIR DEBENTURES. [THE
CREDITORS COMMITTEE SUPPORTS THE PLAN, SUBJECT TO CERTAIN CAVEATS
AND/OR CONDITIONS THE COMMITTEE MAY ARTICULATE.] 2SUBJECT TO THE
CONDITIONS SET FORTH HEREIN.

     HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS
OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS,
FINANCIAL, OR TAX ADVICE. THE DEBTORS URGE EACH HOLDER OF A CLAIM OR
INTEREST TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL,
FINANCIAL, SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS
DISCLOSURE STATEMENT, THE PLAN, AND THE PROPOSED TRANSACTIONS
CONTEMPLATED THEREBY. FURTHERMORE, THE COURT’S APPROVAL OF THE
ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
DOES NOT CONSTITUTE THE COURT’S APPROVAL OF THE PLAN.

     THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS,
SUMMARIES OF THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN
ANTICIPATED EVENTS IN THE DEBTORS’ CHAPTER 11 CASES. ALTHOUGH THE
DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE, THESE
SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE EXTENT THAT THEY DO
NOT SET FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY
PROVISIONS OR EVERY DETAIL OF SUCH ANTICIPATED EVENTS. IN THE EVENT OF
ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS
DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY
OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH
OTHER DOCUMENTS WILL GOVERN FOR ALL PURPOSES.            THE DEBTORS’
MANAGEMENT, EXCEPT WHERE OTHERWISE SPECIFICALLY NOTED, HAS PROVIDED
THE FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT. THE
DEBTORS DO NOT REPRESENT OR WARRANT THAT THE INFORMATION CONTAINED




2   [The Debtors are awaiting confirmation of the support of the Creditors Committee and statements regarding support and
    conditionality are anticipated to be made on the record of the Disclosure Statement Hearing. The Disclosure Statement will
    be modified accordingly prior to solicitation.]




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HEREIN OR ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY OR
OMISSION.

     IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON
FINANCIAL DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON
VARIOUS ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESS.       WHILE THE
DEBTORS BELIEVE THAT SUCH FINANCIAL INFORMATION FAIRLY REFLECTS THE
FINANCIAL CONDITION OF THE DEBTORS AS OF THE DATE HEREOF AND THAT THE
ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT REASONABLE BUSINESS
JUDGMENTS, NO REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE
ACCURACY OF THE FINANCIAL INFORMATION CONTAINED HEREIN OR
ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESS AND THEIR FUTURE RESULTS
AND OPERATIONS. THE DEBTORS EXPRESSLY CAUTION READERS NOT TO PLACE
UNDUE RELIANCE ON ANY FORWARD LOOKING STATEMENTS CONTAINED HEREIN.

     THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE
CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER.
THE DEBTORS AND THE GUC CLAIMS ADMINISTRATOR, AS APPLICABLE, MAY SEEK
TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS
AFTER THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF
WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR
OBJECTIONS TO CLAIMS.

     THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF
THE DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE
DEBTORS MAY SUBSEQUENTLY UPDATE THE INFORMATION IN THIS DISCLOSURE
STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO SO, AND
EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD LOOKING
STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR
OTHERWISE. HOLDERS OF CLAIMS OR INTERESTS REVIEWING THIS DISCLOSURE
STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS
SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT
WAS FILED. INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION,
MODIFICATION, OR AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO FILE AN
AMENDED OR MODIFIED PLAN AND RELATED DISCLOSURE STATEMENT FROM TIME
TO TIME, SUBJECT TO THE TERMS OF THE PLAN AND RESTRUCTURING SUPPORT
AGREEMENT.

     THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY
INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT WHICH IS
CONTAINED IN THIS DISCLOSURE STATEMENT.    THE DEBTORS HAVE NOT
AUTHORIZED ANY REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE
OF THEIR PROPERTY OTHER THAN AS SET FORTH IN THIS DISCLOSURE
STATEMENT.

     IF THE PLAN IS CONFIRMED BY THE COURT AND THE EFFECTIVE DATE
OCCURS, ALL HOLDERS OF CLAIMS AND INTERESTS (INCLUDING THOSE HOLDERS
OF CLAIMS AND INTERESTS WHO MAY BE ELIGIBLE TO SUBMIT BALLOTS BUT DO
NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, OR WHO ARE NOT




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ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN
AND THE RESTRUCTURING TRANSACTION CONTEMPLATED THEREBY.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS
NOT NECESSARILY PREPARED IN ACCORDANCE WITH FEDERAL OR STATE
SECURITIES LAWS OR OTHER SIMILAR LAWS.

     THIS DISCLOSURE STATEMENT WAS NOT FILED WITH THE SECURITIES AND
EXCHANGE COMMISSION OR ANY STATE AUTHORITY AND NEITHER THE
SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE AUTHORITY HAVE
PASSED UPON THE ACCURACY OR ADEQUACY OF THIS DISCLOSURE STATEMENT OR
UPON THE MERITS OF THE PLAN.

       THE SECURITIES DESCRIBED HEREIN WILL BE ISSUED WITHOUT
REGISTRATION UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED,
(THE “SECURITIES ACT”) OR ANY SIMILAR FEDERAL, STATE OR LOCAL LAW, IN
RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 1145 OF THE BANKRUPTCY
CODE TO THE MAXIMUM EXTENT PERMITTED AND APPLICABLE AND TO THE
EXTENT THAT SECTION 1145 IS EITHER NOT PERMITTED OR NOT APPLICABLE, THE
EXEMPTION SET FORTH IN SECTION 4(A)(2) OF THE SECURITIES ACT, THE
EXEMPTION SET FORTH IN SECTION 701 PROMULGATED UNDER THE SECURITIES
ACT OR ANOTHER EXEMPTION THEREUNDER. IN ACCORDANCE WITH SECTION
1125(E) OF THE BANKRUPTCY CODE, A DEBTOR OR ANY OF ITS AGENTS THAT
PARTICIPATES, IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE
PROVISIONS OF THE BANKRUPTCY CODE, IN THE OFFER, ISSUANCE, SALE, OR
PURCHASE OF A SECURITY, OFFERED OR SOLD UNDER THE PLAN, OF THE DEBTOR,
OF AN AFFILIATE PARTICIPATING IN A JOINT PLAN WITH THE DEBTOR, OR OF A
NEWLY ORGANIZED SUCCESSOR TO THE DEBTOR UNDER THE PLAN, IS NOT LIABLE,
ON ACCOUNT OF SUCH PARTICIPATION, FOR VIOLATION OF ANY APPLICABLE LAW,
RULE, OR REGULATION GOVERNING THE OFFER, ISSUANCE, SALE, OR PURCHASE OF
SECURITIES.




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EXHIBIT B   Disclosure Statement Order

EXHIBIT C   Financial Projections

EXHIBIT D   Valuation Analysis

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I.         INTRODUCTION

        Neiman Marcus Group LTD LLC (“NMG LTD LLC”) and its debtor affiliates, as debtors and
debtors in possession (collectively, the “Debtors” or “NMG”), submit this disclosure statement (as
amended, modified, or supplemented, from time to time, the “Disclosure Statement”) pursuant to section
1125 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) to Holders of Claims
against and Interests in the Debtors in connection with the solicitation of acceptances with respect to the
Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code
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(as amended, modified, or supplemented, from time to time, the “Plan”). A copy of the Plan is attached
hereto as Exhibit A and incorporated herein by reference.

THE DEBTORS BELIEVE THIS IS THE BEST AVAILABLE ALTERNATIVE FOR
COMPLETING THE CHAPTER 11 CASES. THE DEBTORS STRONGLY RECOMMEND
THAT YOU VOTE TO ACCEPT THE PLAN.


II.        PRELIMINARY STATEMENT

         For over 100 years, the Debtors have been the leader in retail luxury, innovation, and customer
experiences. Since opening in 1907 with just one store in Dallas, Texas, the Debtors have strategically
grown to 67 stores across the United States, including their marquee luxury Neiman Marcus and
Bergdorf Goodman locations, Horchow e-commerce website, and off-price Last Call stores. Each
Neiman Marcus and Bergdorf Goodman store offers a distinctive selection of apparel, handbags, shoes,
cosmetics, and precious and designer jewelry from premier luxury and fashion designers. Horchow
offers luxury home furnishings and accessories, and Last Call provides a more affordable option for
price-sensitive yet fashion-minded customers. To complement its store footprint, NMG operates the
largest luxury e-commerce platform in the world. More than 30 percent of NMG’s total annual revenue
is from online sales. The Debtors’ non-Debtor affiliates own and operate a single store under the
THERESA brand and an e-commerce platform under the MyTheresa brand. As of the Petition Date, the
Debtors have funded-debt obligations of approximately $5.5 billion.

         In 2019, NMG de-stressed its capital structure in a comprehensive and highly consensual series
of amend-and-extend transactions (the “Recapitalization Transactions”) with holders of over 91 percent
of the Unsecured Notes (as defined below) and holders of over 99 percent of 2013 Term Loans (as
defined below). This transaction afforded NMG meaningful runway and flexibility to meet its earnings
targets and implement new cost-savings and business initiatives to address adverse macro trends in the
retail industry, such as a general transition from brick-and-mortar to online retail channels, and a shift in
consumer demographics. Prior to February 2020, NMG was on track to meet all of its budget, earnings,
and savings targets for the fiscal year ending in July 2020. NMG also posted comparable store sales
growth for seven of the ten previous quarters and significantly expanded gross margins during the last
holiday season in line with its goal of profitable and sustainable growth.


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      Capitalized terms used but not immediately defined in this Disclosure Statement shall have the meanings assigned to them
      elsewhere in this Disclosure Statement, in the Declaration of Mark Weinsten, Chief Restructuring Officer of Neiman
      Marcus Group LTD LLC, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 86] (the
      “First Day Declaration”), the Plan, or the Debtors’ Motion For Entry of an Order (I) Approving the Adequacy of the
      Disclosure Statement, (II) Approving The Solicitation and Notice Procedures With Respect to Confirmation of The
      Debtors’ Proposed Joint Plan of Reorganization, (III) Approving The Forms of Ballots and Notices in Connection
      Therewith, (V) Scheduling Certain Dates With Respect Thereto, and (VI) Granting Related Relief [Docket No. 773], as
      applicable. The summary of the Plan provided herein is qualified in its entirety by reference to the Plan. In the case of any
      inconsistency between this Disclosure Statement and the Plan, the Plan will govern.




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        Then, on March 11, 2020, the World Health Organization declared COVID-19 a pandemic.
In response to COVID-19, national, state, and local governments in the United States and throughout the
world imposed quarantines, social distancing protocols, and shelter-in-place orders. To protect the health
and safety of NMG’s customers and employees, on March 18, 2020, NMG voluntarily closed all of its
stores and dramatically reduced supply chain operations.43 These unprecedented events have severely
impacted NMG’s business and liquidity.

         To navigate these market conditions, NMG knew it needed to proactively address its liquidity
position and capital structure. NMG engaged Kirkland & Ellis LLP (“Kirkland”) as restructuring
counsel and Lazard Frères & Co. LLC (“Lazard”) as investment banker to work with NMG and BRG to
analyze financing needs and consider NMG’s capital structure alternatives. NMG encouraged its term
loan lenders and noteholders to organize and retain advisors. An ad hoc group of lenders who
collectively hold approximately 78 percent of NMG’s term loan debt and 78 percent of the Company’s
debentures (the “Term Loan Lender Group”) quickly organized and retained Wachtell, Lipton, Rosen &
Katz (“Wachtell”) as counsel and Ducera Partners LLC (“Ducera”) as investment banker to represent the
Term Loan Lender Group in negotiations with NMG. Shortly thereafter, an ad hoc group of holders of
approximately 99 percent of NMG’s Second Lien Notes (as defined below) and approximately 70 percent
of NMG’s Third Lien Notes (as defined below) (collectively, the “Noteholder Group”) also organized
and retained Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”) as counsel and Houlihan
Lokey, Inc. (“Houlihan”) to represent the Noteholder Group in negotiations with NMG.

        Following several weeks of extensive, arm’s length negotiations, NMG and the Term Loan
Lender Group were extremely close to reaching agreement on a comprehensive, pre-negotiated
restructuring that would substantially deleverage the Debtors’ balance sheet, a fully-backstopped $625
million postpetition financing facility, and a fully-backstopped $750 million exit facility (the “Exit
Facility”).

         To further the Debtors’ evaluation of their capital structure alternatives and negotiations with
their stakeholders, on April 28, 2020, Mariposa Intermediate Holdings LLC (“Holdings”), the Debtor
parent of NMG LTD LLC, appointed disinterested manager Anthony Horton to its Board of Managers,
and NMG LTD LLC appointed disinterested managers Marc Beilinson and Scott Vogel to its Board of
Managers. Holdings has retained Katten Muchin Rosenman LLP as legal counsel and Alix Partners LLP
as financial advisor to advise Mr. Horton with respect to certain matters delegated to Mr. Horton, as
described in more detail herein. At a status conference held before the Court on June 19, 2020, the
Debtors reported that Mr. Beilinson had tendered his resignation as a disinterested manager of Neiman
Marcus Group LTD LLC due to unforeseen health concerns. NMG LTD LLC has retained Willkie Farr
& Gallagher LLP as legal counsel and Alvarez & Marsal North America, LLC as financial advisors to
advise Mr. Vogel with respect to certain matters delegated to Mr. Vogel, as described in more detail
herein. Around this time, NMG received a modified restructuring proposal from the Noteholder Group,
including upsizing the postpetition financing facility to $675 million (the “DIP Facility”). NMG believed
that further stakeholder support for its restructuring plans would provide significant additional value to
its stakeholders and actively pursued a tri-party negotiation with the Term Loan Lender Group and
Noteholder Group to achieve more consensus.

       NMG’s efforts to garner additional support for its restructuring process have borne fruit. NMG’s
proposed restructuring pursuant to its restructuring support agreement (the “Restructuring Support
Agreement”) and proposed Plan will substantially deleverage NMG’s balance sheet and allow the
Debtors to emerge from these cases as a stronger, better-capitalized enterprise positioned for sustained


43   Nearly all stores have since opened.




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success. Pursuant to the Restructuring Support Agreement, the Plan has a remarkable level of support
throughout the Debtors’ capital structure: with the submission of joinders to the Restructuring Support
Agreement following the Petition Date, holders of approximately 99 percent of the Debtors’ Term Loans,
100 percent of their Second Lien Notes, 70 percent of their Third Lien Notes, and 78 percent of their
2028 Debentures (as defined below), and 100 percent of the direct equity ownership in the Debtors have
committed to support the Debtors’ restructuring.

       The material terms of the Plan are as follows:

           •   each holder of 2019 Term Loans, 2028 Debentures, Second Lien Notes, and Third Lien
               Notes was eligible to participate in the DIP Facility pursuant to syndication procedures
               implemented following entry of the Interim DIP Order;

           •   holders of claims on account of the Asset-Based Revolving Credit Facility and FILO
               Facility will receive value, as of the effective date of the Plan, equal to the allowed
               amount of such claims, as applicable, in each case not to exceed the value of such
               holders’ interests in the Debtors’ interest in the property securing such claims;

           •   holders of 2019 Term Loan Claims shall receive their pro rata share of and interest in (a)
               87.5 percent of the reorganized equity (subject to dilution) and (b) 87.5 percent of the
               rights to participate in the Exit Facility (the “Exit Rights”), subject, in each case, to
               upward adjustment if the holders of 2013 Term Loan Claims do not vote in favor of the
               Plan;

           •   if the class of 2013 Term Loan Claims votes in favor of the Plan, holders of 2013 Term
               Loans shall receive their pro rata share of and interest in (a) 0.2 percent of the
               reorganized equity (subject to dilution) and (b) 0.2 percent of the Exit Rights, or, if the
               class of 2013 Term Loan Claims does not vote in favor of the Plan, holders of 2013 Term
               Loan Claims will receive value, as of the Effective Date of the Plan, equal to the allowed
               amount of such claims not to exceed the value of each holder’s interest in the estate’s
               interest in the property securing such claims;

           •   holders of 2028 Debentures Claims will receive their pro rata share of and interest in (a)
               2.8 percent of the reorganized equity (subject to dilution) and (b) 2.8 percent of the Exit
               Rights, subject, in each case, to upward adjustment if the holders of 2013 Term Loan
               Claims do not vote in favor of the Plan;

           •   holders of Second Lien Notes Claims shall receive their pro rata share of and interest in
               (a) 1.0 percent of the reorganized equity (subject to dilution), (b) 1.0 percent of the Exit
               Rights, and (c) seven-year warrants (no Black-Scholes protection) to purchase up to 25.0
               percent of the reorganized equity at an agreed-upon strike price;

           •   holders of Third Lien Notes Claims shall receive their pro rata share of and interest in (a)
               8.5 percent of reorganized equity (subject to dilution) and (b) 8.5 percent of the Exit
               Rights;

           •   holders of Funded-Debt General Unsecured Claims shall receive their pro rata share
               (together with Holders of Allowed Non-Funded Debt General Unsecured Claims) of (A)
               140,000,000 shares of MYT Series B Preferred Stock and (B) $10,000,000 of Cash;




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                  •   holders of Non-Funded Debt General Unsecured Claims shall receive their pro rata share
                      (together with Holders of Allowed Funded-Debt General Unsecured Claims) of (A)
                      140,000,000 shares of MYT Series B Preferred Stock and (B) $10,000,000 of Cash;4 and

                  •   stakeholders’ economic and governance rights with respect to MyTheresa shall be
                      consistent with such stakeholders’ prepetition rights, claims, and controls, except as to
                      the Sponsor Contribution and as otherwise set forth in the Plan.

        The Restructuring Transactions embodied by the Plan and Restructuring Support Agreement are
a significant achievement for the Debtors in the wake of a historically challenging operating
environment. The Debtors strongly believe that the Plan is in the best interests of the Debtors’ estates,
and represents the best available alternative at this time. The Debtors are confident that they can
implement the Restructuring Transactions contemplated by the Plan to maximize stakeholder recoveries
and ensure that NMG can efficiently emerge from chapter 11 and continue to fulfill its promise as leaders
in luxury, innovation, and customer experiences. For these reasons, the Debtors strongly recommend that
Holders of Claims or Interests entitled to vote on the Plan vote to accept the Plan.



III.       QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND
           THE PLAN

             A.        What is Chapter 11?

        Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition
to permitting debtor rehabilitation, chapter 11 promotes equality of treatment for creditors and similarly
situated equity interest holders, subject to the priority of distributions prescribed by the Bankruptcy
Code.

        The commencement of a chapter 11 case creates an estate that comprises all of the legal and
equitable interests of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code
provides that the debtor may continue to operate its business and remain in possession of its property as a
“debtor in possession.” Consummating a chapter 11 plan is the principal objective of a chapter 11 case.
A bankruptcy court’s confirmation of a plan binds the debtor, any person acquiring property under the
plan, any creditor or equity interest holder of the debtor, and any other entity as may be ordered by the
bankruptcy court. Subject to certain limited exceptions, the order issued by a bankruptcy court
confirming a plan provides for the treatment of the debtor’s liabilities in accordance with the terms of the
confirmed plan.

           B.          Why are the Debtors sending this Disclosure Statement?

        The Debtors are seeking to obtain Court approval of the Plan. Before soliciting acceptances of
the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure statement
containing adequate information of a kind, and in sufficient detail, to enable a hypothetical reasonable
investor to make an informed judgment regarding acceptance of the Plan and to share such disclosure



4      The Debtors and Creditors Committee are considering the addition of a convenience class, and if such a class is created, a
       portion of the cash consideration currently contemplated for distribution to Holders of Allowed General Unsecured Claims
       shall be proposed to be made available to Holders of Allowed General Unsecured Claims in such potential convenience
       class.




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statement with all holders of claims or interests whose votes on the Plan are being solicited. This
Disclosure Statement is being submitted in accordance with these requirements.

            C.       Am I entitled to vote on the Plan?

        Your ability to vote on, and your distribution under, the Plan, if any, depends on what type of
Claim or Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of
the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s
respective voting status is set forth below.

    Class         Claim / Equity Interests                            Status                       Voting Rights
      1      Other Secured Claims                                   Unimpaired            Not Entitled to Vote (Deemed to
                                                                                                      Accept)
     2       Other Priority Claims                                  Unimpaired            Not Entitled to Vote (Deemed to
                                                                                                      Accept)
      3      ABL Loan Secured Claims                                 Impaired                     Entitled to Vote
      4      FILO Secured Claims                                     Impaired                     Entitled to Vote
      5      2019 Term Loans Claims                                  Impaired                     Entitled to Vote
     6       2013 Term Loans Claims                                  Impaired                     Entitled to Vote
      7      2028 Debentures Claims                                  Impaired                     Entitled to Vote
     8       Second Lien Notes Claims                                Impaired                     Entitled to Vote
      9      Third Lien Notes Claims                                 Impaired                     Entitled to Vote
     10      Funded Debt General Unsecured                           Impaired                     Entitled to Vote
             Claims
     11      Non-Funded Debt General                                 Impaired                       Entitled to Vote
             Unsecured Claims
     12      Intercompany Claims                            Unimpaired/Impaire            Not Entitled to Vote (Deemed to
                                                                    d                             Accept / Reject)
     13      Intercompany Interests                         Unimpaired/Impaire            Not Entitled to Vote (Deemed to
                                                                    d                             Accept / Reject)
     14      Existing Equity Interests                          Impaired                  Not Entitled to Vote (Deemed to
                                                                                                       Reject)

            D.       What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims and
Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may vary
from the final amounts allowed by the Court. Your ability to receive distributions under the Plan
depends upon the ability of the Debtors to obtain Confirmation and meet the conditions necessary to
consummate the Plan.

     THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE.

     PLEASE REFERENCE THE PLAN FOR A COMPLETE DESCRIPTION OF THE
DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS.5



5
      The recoveries set forth below may change based upon changes in the amount of Claims that are “Allowed” as well as other
      factors related to the Debtors’ business operations and general economic conditions and the valuation of the consideration
      that may be provided to Holders of Claims and Interest, which is some instances are not currently knowable. “Allowed”


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                                    SUMMARY OF EXPECTED RECOVERIES
                                                                                                                       Projected
                                                                                                   Projected           Recovery
          Claim/Equity                                                                             Amount of            Under
Class       Interest                Treatment of Claim and Equity Interest                          Claims             the Plan
                               Classified Claims Against and Interests in the Debtors

 1        Other Secured         Each Holder of an Allowed Other Secured Claim                           N/A              100.0%
          Claims                shall receive, in full and final satisfaction of such
                                Claim, at the option of the Debtors, in
                                consultation with the Required Consenting Term
                                Loan Lenders and the Required Consenting
                                Noteholders, either: (i) payment in full in Cash of
                                such Holder’s Allowed Other Secured Claim;
                                (ii) delivery of the collateral securing such
                                Holder’s Allowed Other Secured Claim and
                                payment of any interest required under section
                                506(b) of the Bankruptcy Code; (iii)
                                Reinstatement of such Holder’s Allowed Other
                                Secured Claim; or (iv) such other treatment
                                rendering such Holder’s Allowed Other Secured
                                Claim Unimpaired in accordance with section
                                1124 of the Bankruptcy Code.
 2        Other Priority        Each Holder of an Allowed Other Priority Claim                          N/A              100.0%
          Claims                shall receive, in full and final satisfaction of such
                                Claim, at the option of the Debtors, either:
                                (i) payment in full in Cash; (ii) Reinstatement of
                                such Holder’s Allowed Other Priority Claim; or
                                (iii) such other treatment rendering such Holder’s
                                Allowed Other Priority Claim Unimpaired in
                                accordance with section 1124 of the Bankruptcy
                                Code.
 3        ABL Loan              Each Holder of an Allowed ABL Loan Secured                        $749,000,000           100.0%
          Secured               Claim shall receive, in full and final satisfaction
          Claims                of such Claim, (i) payment in full in Cash, (ii)
                                consensual refinancing or other consensual
                                modification of the ABL Loans giving rise to such
                                ABL Loan Secured Claims, or (iii) other
                                treatment consistent with the Bankruptcy Code




     shall mean, as to a claim or an interest (each as defined in the Bankruptcy Code), a claim or an interest allowed under the
     Plan, under the Bankruptcy Code, or by a final order, as applicable.




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                           SUMMARY OF EXPECTED RECOVERIES
                                                                                                Projected
                                                                                Projected       Recovery
        Claim/Equity                                                            Amount of        Under
Class     Interest         Treatment of Claim and Equity Interest                Claims         the Plan
                       Classified Claims Against and Interests in the Debtors
                       and the Disclosure Statement Order.
 4      FILO Secured   Each Holder of an Allowed FILO Secured Claim            $100,000,000      100.0%
        Claims         shall receive, in full and final satisfaction of such
                       Claim, (i) payment in full in Cash, (ii) consensual
                       refinancing or other consensual modification of
                       the FILO Facility giving rise to such FILO
                       Secured Claims, or (iii) other treatment consistent
                       with the Bankruptcy Code and the Disclosure
                       Statement Order.
 5      2019 Term      On the Effective Date, each Holder of an Allowed        $2,254,942,973    32.99%
        Loans Claims   2019 Term Loans Claim shall receive, in full and
                       final satisfaction of such Claim, its Pro Rata share
                       of and interest in: (i) 87.5% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, the Exit Term Loan Equity Fees, the
                       Aggregate DIP Equity Fees, and the exercise of
                       the New Warrants, and subject to upward
                       adjustment if Class 6 does not vote in favor of the
                       Plan; and (ii) 87.5% of the Exit Rights, subject to
                       upward adjustment if Class 6 does not vote in
                       favor of the Plan.
 6      2013 Term      On the Effective Date: (i) if Class 6 votes in           $12,641,822      12.75%
        Loans Claims   favor of the Plan, each Holder of an Allowed
                       2013 Term Loans Claim shall receive, in full and
                       final satisfaction of such Claim, its Pro Rata share
                       of and interest in (a) 0.2% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, the Exit Term Loan Equity Fees, the
                       Aggregate DIP Equity Fees, and the exercise of
                       the New Warrants, and (b) 0.2% of the Exit
                       Rights; or (ii) if Class 6 votes to reject the Plan,
                       each Holder of an Allowed 2013 Term Loans
                       Claim shall receive, in full and final satisfaction
                       of such Claim, value as of the Effective Date
                       equal to the Allowed amount of such Claim,
                       provided that such value shall not exceed the
                       value of each Holder’s interest in the estate’s
                       interest in the property securing such Claim.
 7      2028           On the Effective Date, each Holder of an Allowed        $128,859,375      18.76%
        Debentures     2028 Debentures Claim shall receive, in full and
        Claims         final satisfaction of such Claim, its Pro Rata share


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                           SUMMARY OF EXPECTED RECOVERIES
                                                                                               Projected
                                                                               Projected       Recovery
        Claim/Equity                                                           Amount of        Under
Class     Interest         Treatment of Claim and Equity Interest               Claims         the Plan
                       Classified Claims Against and Interests in the Debtors
                       of and interest in: (i) 2.8% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, Exit Term Loan Equity Fees, the Aggregate
                       DIP Equity Fees, and the exercise of New
                       Warrants and subject to upward adjustment if
                       Class 6 does not vote in favor of the Plan; and (ii)
                       2.8% of the Exit Rights, subject to upward
                       adjustment if Class 6 does not vote in favor of the
                       Plan.
 8      Second Lien    On the Effective Date, each Holder of an Allowed       $605,805,994      1.40%
        Notes Claims   Second Lien Notes Claim shall receive, in full and
                       final satisfaction of such Claim, its Pro Rata share
                       of and interest in: (i) 1.0% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, the Exit Term Loan Equity Fees, the
                       Aggregate DIP Equity Fees, and the exercise of
                       the New Warrants; (ii) 1.0% of the Exit Rights;
                       (iii) the New Warrants; and (iv) the 2L MyT
                       Distribution.
 9      Third Lien     On the Effective Date, each Holder of an Allowed       $1,285,583,214    5.62%
        Notes Claims   Third Lien Notes Claim shall receive, in full and
                       final satisfaction of such Claim, its Pro Rata share
                       of and interest in: (i) 8.5% of the New Equity,
                       subject to dilution by the Management Incentive
                       Plan, the Exit Term Loan Equity Fees, the
                       Aggregate DIP Equity Fees, and the exercise of
                       the New Warrants; (ii) 8.5% of the Exit Rights;
                       and (iii) the 3L MyT Distribution.




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                                   SUMMARY OF EXPECTED RECOVERIES
                                                                                                                 Projected
                                                                                                  Projected      Recovery
            Claim/Equity                                                                          Amount of       Under
Class         Interest              Treatment of Claim and Equity Interest                         Claims        the Plan
                              Classified Claims Against and Interests in the Debtors
    10     Funded-Debt         Each Holder of an Allowed Funded Debt General                     $137,300,0006    1.7%7-
           General             Unsecured Claim shall receive, in full and final                                   34.4%8
           Unsecured           satisfaction of such Claim, on or as reasonably
           Claims              practicable after the Effective Date, its Pro Rata
                               share (determined based on all Allowed General
                               Unsecured Claims, together with Holders of
                               Allowed Non-Funded Debt General Unsecured
                               Claims) of (A) the Sponsor Contribution and (B)
                               $10,000,000 of Cash to be funded by the Debtors
                               or Reorganized Debtors.
    11     Non-Funded          Each Holder of an Allowed Non-Funded Debt                         $339,700,000-
           Debt General        General Unsecured Claim shall receive, in full                    $434,700,0009
           Unsecured           and final satisfaction of such Claim, on or as                        1011




6    The projected amount of all Funded-Debt General Unsecured Claims and Non-Funded Debt General Unsecured Claims
     excludes approximately $3.20 billion to $3.67 billion of Deficiency Claims on account of 2019 Term Loan Deficiency
     Claims, 2028 Debentures Deficiency Claims, Second Lien Notes Deficiency Claims, and Third Lien Notes Deficiency
     Claims, which are effectively proposed to be waived as part of the Disinterested Manager Settlement.

7    Low-end projection assumes the MYT Series B Preferred Stock is worth $0 in the aggregate.

8    High-end projection assumes the MYT Series B Preferred Stock is worth $275 million in the aggregate.

911 The projected amount of all Funded-Debt General Unsecured Claims and Non-Funded Debt General Unsecured Claims
     excludes approximately $3.20 billion to $3.67 billion of Deficiency Claims on account of 2019 Term Loan Deficiency
     Claims, 2028 Debentures Deficiency Claims, Second Lien Notes Deficiency Claims, and Third Lien Notes Deficiency
     Claims, which are effectively proposed to be waived as part of the Disinterested Manager Settlement.




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                                    SUMMARY OF EXPECTED RECOVERIES
                                                                                                                      Projected
                                                                                                  Projected           Recovery
            Claim/Equity                                                                          Amount of            Under
Class         Interest               Treatment of Claim and Equity Interest                        Claims             the Plan
                               Classified Claims Against and Interests in the Debtors
           Claim                reasonably practicable after the Effective Date, its                                  1.7%1012-
                                Pro Rata share (determined based on all Allowed                                       34.4%1113
                                General Unsecured Claims, together with Holders                                           ;
                                of Allowed Funded-Debt General Unsecured
                                Claims) of (A) the Sponsor Contribution and (B)
                                $10,000,000 of Cash to be funded by the Debtors
                                or Reorganized Debtors.9
    12     Intercompany         Intercompany Claims shall be, at the option of the                     N/A               0% /
           Claims               Reorganized Debtors, in consultation with the                                            100%
                                Consenting Term Loan Lender Group and the
                                Consenting Noteholder Group, either:            (i)
                                Reinstated; or (ii) cancelled, released, and
                                extinguished without any distribution on account
                                of such Claims.
    13     Intercompany         Intercompany Interests shall be, at the option of                      N/A               0% /
           Interests            Reorganized Debtors, in consultation with the                                            100%
                                Consenting Term Loan Lender Group and the
                                Consenting Noteholder Group, either:           (i)
                                Reinstated; or (ii) cancelled, released, and
                                extinguished without any distribution on account
                                of such Interests.
    14     Existing Equity      On the Effective Date, Existing Equity Interests                       N/A                 0%
           Interests            will be cancelled, released, and extinguished
                                without any distribution on account of such
                                Existing Equity Interests.

        In the event the Debtors contemplate potentially providing any treatment to Holders of ABL
Loan Secured Claims and/or FILO Secured Claims, other than payment in full in Cash or consensually
refinancing the respective loans, the Debtors shall file detailed term sheets (the “ABL Treatment Term
Sheet” and “FILO Treatment Term Sheet”, respectively) with respect to any such other treatment by
July 31, 2020, which shall include the principal economic terms of any instrument proposed to be
provided (including the tenor, rate, and amortization schedule), any material borrowing base or collateral
mechanics, any material covenants or baskets, and any other material deviations from the existing ABL


9    The Debtors and Creditors Committee are considering the addition of a convenience class, and if such a class is created, a
     portion of the cash consideration currently contemplated for distribution to Holders of Allowed General Unsecured Claims
     shall be proposed to be made available to Holders of Allowed General Unsecured Claims in such potential convenience
     class.

12012      Low-end projection assumes the MYT Series B Preferred Stock is worth $0 in the aggregate.




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Credit Agreement. To the extent the Debtors contemplate potentially providing any treatment to Holders
of ABL Loan Secured Claims and/or FILO Secured Claims, other than payment in full in Cash or
consensually refinancing such loans by the filing of the initial Plan Supplement, the initial Plan
Supplement shall include the credit agreements or other instruments relating to such treatment (the “ABL
Treatment Instrument” and “FILO Treatment Instrument”, respectively), which shall not deviate
materially from the ABL Treatment Term Sheet and/or FILO Treatment Term Sheet, as applicable.

         E.      What will I receive from the Debtors if I hold an Administrative Claim,
                 Professional Fee Claim, DIP Facility Claim, Priority Tax Claim, or United States
                 Trustee Statutory Fee Claim?

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP
Facility Claims, Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are
excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

                1.       Administrative Claims.

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors
or the Reorganized Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than
Holders of Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter
123 of title 28 of the United States Code) will receive in full and final satisfaction of its Administrative
Claim an amount of Cash equal to the amount of such Allowed Administrative Claim in accordance with
the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed
Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative
Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an
order allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the
ordinary course of their business after the Petition Date in accordance with the terms and conditions of
the particular transaction giving rise to such Allowed Administrative Claim without any further action by
the Holders of such Allowed Administrative Claim; (4) at such time and upon such terms as may be
agreed upon by such Holder and the Debtors or the Reorganized Debtors, as applicable; or (5) at such
time and upon such terms as set forth in an order of the Bankruptcy Court.

         Except as otherwise provided in Article II.A of the Plan, and except with respect to
Administrative Claims that are DIP Facility Claims, Professional Fee Claims, or Cure Claims, requests
for payment of Administrative Claims must be Filed with the Bankruptcy Court and served on the
Debtors pursuant to the procedures specified in the Confirmation Order and the notice of entry of the
Confirmation Order no later than the Administrative Claims Bar Date. Holders of Administrative Claims
that are required to, but do not, File and serve a request for payment of such Administrative Claims by
such date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Debtors or their property and such Administrative Claims shall be deemed discharged as of
the Effective Date.

                2.       Professional Fee Claims.

                         i.              Final Fee Applications and Payment of Professional Fee Claims.

        All requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the
Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee
Claims after notice and a hearing in accordance with the procedures established by the Bankruptcy Court.


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The Reorganized Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court
allows, including from the Professional Fee Escrow Account, which the Reorganized Debtors will
establish in trust for the Professionals and fund with Cash equal to the Professional Fee Amount on the
Effective Date.

                        ii.              Professional Fee Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, without duplication of any account or
amount established for the benefit of Professionals pursuant to a DIP Order, establish and fund the
Professional Fee Escrow Account with Cash equal to the Professional Fee Amount, which shall be
funded by the Reorganized Debtors. The Professional Fee Escrow Account shall be maintained in trust
solely for the Professionals. Such funds shall not be considered property of the Estates of the Debtors or
the Reorganized Debtors. The amount of Professional Fee Claims owing to the Professionals shall be
paid in Cash to such Professionals by the Reorganized Debtors from the Professional Fee Escrow
Account as soon as reasonably practicable after such Professional Fee Claims are Allowed. When all
such Allowed amounts owing to Professionals have been paid in full, any remaining amount in the
Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further
action or order of the Bankruptcy Court.

                        iii.             Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid
fees and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and
shall deliver such estimate to the Debtors no later than two (2) Business Days before the Effective Date;
provided, however, that such estimate shall not be deemed to limit the amount of the fees and expenses
that are the subject of the Professional’s final request for payment of Filed Professional Fee Claims. If a
Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

                        iv.              Post-Confirmation Fees and Expenses.

        Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the
Debtors shall, in the ordinary course of business and without any further notice to or action, order, or
approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or
other fees and expenses related to implementation of the Plan and Consummation incurred by the
Debtors. Upon the Confirmation Date, any requirement that Professionals comply with sections 327
through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and the Debtors may employ and pay any Professional in the
ordinary course of business without any further notice to or action, order, or approval of the Bankruptcy
Court.

                3.      DIP Facility Claims.

         The DIP Facility Claims shall be deemed to be Allowed for all purposes as fully Secured Claims
in an amount equal to (i) the principal amount outstanding under the DIP Facility on such date, (ii) all
interest accrued and unpaid thereon to the date of payment, and (iii) any and all accrued and unpaid fees,
expenses, and indemnification or other obligations of any kind payable under the DIP Credit Agreement
Documents. Such DIP Facility Claims shall not be subject to any avoidance, reduction, setoff, offset,
recoupment, recharacterization, subordination (whether equitable, contractual, or otherwise),
counterclaim, cross-claim, defense, disallowance, impairment, objection, or any other challenge under
any applicable law or regulation by any Entity.



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        Except to the extent that a Holder of an Allowed DIP Facility Claim agrees to a less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of each Allowed DIP Facility
Claim, on the Effective Date, each Holder thereof shall receive payment in full in Cash, other than the
Aggregate DIP Equity Fees, which shall be payable in full in New Equity.

                4.      Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

                5.      United States Trustee Statutory Fees.

         The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
quarterly fees under 28 U.S.C. § 1930(a)(6), plus any interest due and payable under 31 U.S.C. § 3717 on
all disbursements, including Plan payments and disbursements in and outside the ordinary course of the
Debtors’ or Reorganized Debtors’ business (or such amount agreed to with the United States Trustee or
ordered by the Bankruptcy Court), for each quarter (including any fraction thereof) until the Chapter 11
Cases are converted, dismissed, or closed, whichever occurs first.

         F.      Are any regulatory approvals required to consummate the Plan?

        No. There are no known regulatory approvals that are required to consummate the Plan.
However, to the extent such any such regulatory approvals or other authorizations, consents, rulings, or
documents are necessary to implement and effectuate the Plan, it is a condition precedent to the Effective
Date that they be obtained.

         G.     What happens to my recovery if the Plan is not confirmed or does not go effective?

        In the event that the Plan is not confirmed or does not go effective, there is no assurance that
the Debtors will be able to reorganize their businesses. It is possible that any alternative to the Plan may
provide Holders of Claims and Interests with less than they would have received pursuant to the Plan.
For a more detailed description of the consequences of an extended chapter 11 case, or of a liquidation
scenario, see “Confirmation of the Plan - Best Interests of Creditors/Liquidation Analysis,” which begins
on page 69 of this Disclosure Statement, and the Liquidation Analysis attached as Exhibit E.

         H.      If the Plan provides that I get a distribution, do I get it upon Confirmation or
                 when the Plan goes effective, and what is meant by “Confirmation,” “Effective
                 Date,” and “Consummation?”

        “Confirmation” of the Plan refers to approval of the Plan by the Court. Confirmation of the Plan
does not guarantee that you will receive the distribution indicated under the Plan. After Confirmation of
the Plan by the Court, there are conditions that need to be satisfied or waived so that the Plan can go
effective. Initial distributions to holders of Allowed Claims will only be made on the date the Plan
becomes effective/is consummated—the “Effective Date”—or as soon as practicable thereafter, as
specified in the Plan. See “Confirmation of the Plan,” which begins on page 68 of this Disclosure
Statement, for a discussion of the conditions precedent to consummation of the Plan.




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         I.      What will I receive from the Debtors if I hold a General Unsecured Claim?

         140,000,000 shares of MYT Series B Preferred Stock and $10,000,000 of Cash will be available
for distribution to Holders of Allowed General Unsecured Claims in accordance with the treatment set
forth in the Plan for Classes 10 and 11. The Debtors and Creditors Committee are considering the
addition of a convenience class, and if such a class is created, a portion of the cash consideration
currently contemplated for distribution to Holders of Allowed General Unsecured Claims shall be
proposed to be made available to Holders of Allowed General Unsecured Claims in such potential
convenience class.

         J.      Will there be releases and exculpation granted to parties in interest as part of
                 the Plan?

        Yes, the Plan proposes to release the Released Parties and to exculpate the Exculpated Parties.
The Debtors’ releases, third-party releases, and exculpation provisions included in the Plan (as reflected
below) are an integral part of the Debtors’ overall restructuring efforts and were an essential element of
the negotiations between the Debtors and their key constituencies in obtaining their support for the Plan.
Nevertheless, the proposed releases are subject to the investigations of the Disinterested Managers (as
defined below), and the Debtors reserve the right to modify the release provisions to the extent necessary
to comport with the findings of the investigations.

         As defined in the Plan, “Released Party” means each of, and in each case in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the
Term Loan Lenders; (f) the 2028 Debentures Holders; (g) the Second Lien Noteholders; (h) the Third
Lien Noteholders; (i) the Consenting Noteholder Group; (j) the Consenting Term Loan Lender Group;
(k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders of Claims and Interests; (n) each current
and former Affiliate of each Entity in clause (a) through the following clause (o); and (o) with respect to
each of the foregoing Entities in clauses (a) through this clause (o), each of their respective current and
former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors,
partners, attorneys (including any other attorneys or professionals retained by any current or former
director or manager in his or her capacity as director or manager of an Entity), accountants, investment
bankers, and other professional advisors; provided that in each case, an Entity shall not be a Released
Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely files with the
Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the
Plan that is not resolved before Confirmation.

         As defined in the Plan, “Releasing Party” means each of, and in each case in its capacity as such:
(a) the Debtors; (b) the Reorganized Debtors; (c) the Consenting Stakeholders; (d) the Sponsors; (e) the
Term Loan Lenders; (f) the 2028 Debentures Holders; (g) the Second Lien Noteholders; (h) the Third
Lien Noteholders; (i) the Consenting Noteholder Group; (j) the Consenting Term Loan Lender Group;
(k) the DIP Lenders; (l) each Agent and Trustee; (m) all Holders of Claims and Interests; (n) each current
and former Affiliate of each Entity in clause (a) through the following clause (o); and (o) with respect to
each of the foregoing Entities in clauses (a) through this clause (o), each of their respective current and
former directors, officers, members, employees, partners, managers, independent contractors, agents,
representatives, principals, professionals, advisory board members, consultants, financial advisors,
partners, attorneys (including any other attorneys or professionals retained by any current or former
director or manger in his or her capacity as director or manager of an Entity), accountants, investment
bankers, and other professional advisors; provided that in each case, an Entity shall not be a Releasing
Party if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely files with the




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Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases contained in the
Plan that is not resolved before Confirmation.

         As defined in the Plan, “Exculpated Parties” means, collectively, and in each case in its capacity
as such: (a) the Debtors; (b) any official committees appointed in the Chapter 11 Casesthe Creditors
Committee and each of their respectiveits members; and (c) with respect to each of the foregoing entities,
each such Entity’s current and former predecessors, successors, Affiliates (regardless of whether such
interests are held directly or indirectly), subsidiaries, direct and indirect equity holders, Professionals,
and advisors.

        The Debtors believe that all of the Released Parties and the Exculpated Parties have made
substantial and valuable contributions to the Debtors’ restructuring through efforts to negotiate and
implement the Plan, which will maximize and preserve the going-concern value of the Debtors for the
benefit of all parties in interest. Accordingly, each of the Released Parties and the Exculpated Parties
warrants the benefit of the release and exculpation provisions.

         All Holders of Claims that (i) vote to accept or are deemed to accept the Plan or (ii) are in voting
Classes that abstain from voting on the Plan and do not opt out of the release provisions contained in
Article VIII of the Plan or timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases
an objection to the releases contained in the Plan that is not resolved before Confirmation will be deemed
to have expressly, unconditionally, generally, individually, and collectively released and discharged all
Claims and Causes of Action against the Debtors and the Released Parties. The releases represent an
integral element of the Plan.

         Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court
of Appeals for the Fifth Circuit. Moreover, the Debtors will present evidence at the Confirmation
Hearing to demonstrate the basis for and propriety of the release and exculpation provisions. As set forth
in Article VIII of the Plan, the releases (as well as the definitions of Released Parties and Releasing
Parties) are subject to approval by the Court at the Confirmation Hearing.

                1.       Discharge of Claims and Termination of Interests.

      PURSUANT TO SECTION 1141(D) OF THE BANKRUPTCY CODE, AND EXCEPT AS
OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN OR IN ANY CONTRACT,
INSTRUMENT, OR OTHER AGREEMENT OR DOCUMENT CREATED PURSUANT TO THE
PLAN, THE DISTRIBUTIONS, RIGHTS, AND TREATMENT THAT ARE PROVIDED IN THE
PLAN SHALL BE IN COMPLETE SATISFACTION, DISCHARGE, AND RELEASE, EFFECTIVE
AS OF THE EFFECTIVE DATE, OF CLAIMS (INCLUDING ANY DEBTOR INTERCOMPANY
CLAIMS RESOLVED OR COMPROMISED AFTER THE EFFECTIVE DATE BY THE
REORGANIZED DEBTORS), INTERESTS, AND CAUSES OF ACTION OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS OR INTERESTS FROM
AND AFTER THE PETITION DATE, WHETHER KNOWN OR UNKNOWN, AGAINST,
LIABILITIES OF, LIENS ON, OBLIGATIONS OF, RIGHTS AGAINST, AND INTERESTS IN, THE
DEBTORS OR ANY OF THEIR ASSETS OR PROPERTIES, REGARDLESS OF WHETHER ANY
PROPERTY SHALL HAVE BEEN DISTRIBUTED OR RETAINED PURSUANT TO THE PLAN ON
ACCOUNT OF SUCH CLAIMS AND INTERESTS, INCLUDING DEMANDS, LIABILITIES, AND
CAUSES OF ACTION THAT AROSE BEFORE THE EFFECTIVE DATE, ANY LIABILITY
(INCLUDING WITHDRAWAL LIABILITY) TO THE EXTENT SUCH CLAIMS OR INTERESTS
RELATE TO SERVICES PERFORMED BY EMPLOYEES OF THE DEBTORS BEFORE THE
EFFECTIVE DATE AND THAT ARISE FROM A TERMINATION OF EMPLOYMENT, ANY



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CONTINGENT OR NON-CONTINGENT LIABILITY ON ACCOUNT OF REPRESENTATIONS OR
WARRANTIES ISSUED ON OR BEFORE THE EFFECTIVE DATE, AND ALL DEBTS OF THE
KIND SPECIFIED IN SECTIONS 502(G), 502(H), OR 502(I) OF THE BANKRUPTCY CODE, IN
EACH CASE WHETHER OR NOT: (1) A PROOF OF CLAIM BASED UPON SUCH DEBT OR
RIGHT IS FILED OR DEEMED FILED PURSUANT TO SECTION 501 OF THE BANKRUPTCY
CODE; (2) A CLAIM OR INTEREST BASED UPON SUCH DEBT, RIGHT, OR INTEREST IS
ALLOWED PURSUANT TO SECTION 502 OF THE BANKRUPTCY CODE; OR (3) THE HOLDER
OF SUCH A CLAIM OR INTEREST HAS ACCEPTED THE PLAN. ANY DEFAULT OR “EVENT
OF DEFAULT” BY THE DEBTORS OR AFFILIATES WITH RESPECT TO ANY CLAIM OR
INTEREST THAT EXISTED IMMEDIATELY BEFORE OR ON ACCOUNT OF THE FILING OF
THE CHAPTER 11 CASES SHALL BE DEEMED CURED (AND NO LONGER CONTINUING) AS
OF THE EFFECTIVE DATE. THE CONFIRMATION ORDER SHALL BE A JUDICIAL
DETERMINATION OF THE DISCHARGE OF ALL CLAIMS AND INTERESTS SUBJECT TO THE
EFFECTIVE DATE OCCURRING.

            2.    Release of Liens.

      EXCEPT AS OTHERWISE PROVIDED IN THE EXIT FACILITY DOCUMENTS, THE
PLAN, THE CONFIRMATION ORDER, OR ANY CONTRACT, INSTRUMENT, RELEASE, OR
OTHER AGREEMENT OR DOCUMENT CREATED PURSUANT TO THE PLAN, ON THE
EFFECTIVE DATE AND CONCURRENTLY WITH THE APPLICABLE DISTRIBUTIONS MADE
PURSUANT TO THE PLAN AND, IN THE CASE OF A SECURED CLAIM, SATISFACTION IN
FULL OF THE PORTION OF THE SECURED CLAIM THAT IS ALLOWED AS OF THE
EFFECTIVE DATE, EXCEPT FOR OTHER SECURED CLAIMS THAT THE DEBTORS ELECT TO
REINSTATE IN ACCORDANCE WITH ARTICLE III.B OF THE PLAN, ALL MORTGAGES,
DEEDS OF TRUST, LIENS, PLEDGES, OR OTHER SECURITY INTERESTS AGAINST ANY
PROPERTY OF THE ESTATES SHALL BE FULLY RELEASED AND DISCHARGED, AND ALL
OF THE RIGHT, TITLE, AND INTEREST OF ANY HOLDER OF SUCH MORTGAGES, DEEDS OF
TRUST, LIENS, PLEDGES, OR OTHER SECURITY INTERESTS SHALL REVERT TO THE
REORGANIZED DEBTORS AND THEIR SUCCESSORS AND ASSIGNS. ANY HOLDER OF SUCH
SECURED CLAIM (AND THE APPLICABLE AGENTS FOR SUCH HOLDER) SHALL BE
AUTHORIZED AND DIRECTED, AT THE SOLE COST AND EXPENSE OF THE REORGANIZED
DEBTORS, TO RELEASE ANY COLLATERAL OR OTHER PROPERTY OF ANY DEBTOR
(INCLUDING ANY CASH COLLATERAL AND POSSESSORY COLLATERAL) HELD BY SUCH
HOLDER (AND THE APPLICABLE AGENTS FOR SUCH HOLDER), AND TO TAKE SUCH
ACTIONS AS MAY BE REASONABLY REQUESTED BY THE REORGANIZED DEBTORS TO
EVIDENCE THE RELEASE OF SUCH LIEN, INCLUDING THE EXECUTION, DELIVERY, AND
FILING OR RECORDING OF SUCH RELEASES. THE PRESENTATION OR FILING OF THE
CONFIRMATION ORDER TO OR WITH ANY FEDERAL, STATE, PROVINCIAL, OR LOCAL
AGENCY OR DEPARTMENT SHALL CONSTITUTE GOOD AND SUFFICIENT EVIDENCE OF,
BUT SHALL NOT BE REQUIRED TO EFFECT, THE TERMINATION OF SUCH LIENS.

            3.    Releases by the Debtors.

     PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD AND
VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED
PARTY IS DEEMED RELEASED AND DISCHARGED BY THE DEBTORS, THE REORGANIZED
DEBTORS, AND THEIR ESTATES FROM ANY AND ALL CAUSES OF ACTION, INCLUDING
ANY DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE DEBTORS, THAT THE
DEBTORS, THE REORGANIZED DEBTORS, OR THEIR ESTATES WOULD HAVE BEEN
LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR



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COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST, OR THAT
ANY HOLDER OF ANY CLAIM OR INTEREST COULD HAVE ASSERTED ON BEHALF OF THE
DEBTORS, BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART:
  A.   THE DEBTORS, THE DEBTORS’ RESTRUCTURING EFFORTS, INTERCOMPANY
       TRANSACTIONS,    THE    FORMULATION,   PREPARATION,   DISSEMINATION,
       NEGOTIATION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT;
  B.   ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
       OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL
       OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION,
       CONTRACT, INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED
       BY THE PLAN OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
       CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED
       INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
       DISCLOSURE STATEMENT, OR THE PLAN;
  C.   THE CHAPTER 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF
       THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
       CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
       INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE
       PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
       RELATED AGREEMENT; OR
  D.   ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
       OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
RELEASES SET FORTH ABOVE DO NOT RELEASE ANY POST-EFFECTIVE DATE
OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE
SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN AND DO
NOT RELEASE ANY AGREEMENTS UNDER THE TRANSACTION SUPPORT AGREEMENT OR
ANY DOCUMENTS OR AGREEMENTS EXECUTED IN CONNECTION THEREWITH RELATED
TO ANY PARTY’S RIGHTS, CLAIMS, AND CONTROLS WITH RESPECT TO MYTHERESA
(INCLUDING BUT NOT LIMITED TO THE WATERFALL AND TURNOVER PROVISIONS SET
FORTH IN THE EXISTING MYT TRANSACTION DOCUMENTS AND THE TRANSACTION
SUPPORT AGREEMENT, AND THE EQUIVALENT TURNOVER AND WATERFALL
PROVISIONS IN ANY OTHER PREPETITION DOCUMENTS AND AGREEMENTS, EXCEPT TO
THE EXTENT EXPRESSLY WAIVED IN THE PLAN).

       ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE DEBTOR RELEASE,
WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND
DEFINITIONS CONTAINED IN THE PLAN, AND FURTHER, SHALL CONSTITUTE THE
BANKRUPTCY COURT’S FINDING THAT THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR
THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY THE RELEASED PARTIES,
INCLUDING, WITHOUT LIMITATION, THE RELEASED PARTIES’ CONTRIBUTIONS TO
FACILITATING THE RESTRUCTURING AND IMPLEMENTING THE PLAN; (B) A GOOD FAITH
SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY THE DEBTOR RELEASE;
(C) IN THE BEST INTERESTS OF THE DEBTORS AND ALL HOLDERS OF CLAIMS AND
INTERESTS; (D) FAIR, EQUITABLE, AND REASONABLE; (E) GIVEN AND MADE AFTER DUE
NOTICE AND OPPORTUNITY FOR HEARING; AND (F) A BAR TO ANY OF THE DEBTORS,


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THE REORGANIZED DEBTORS, OR THE DEBTORS’ ESTATES ASSERTING ANY CLAIM OR
CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

            4.    Releases by Holders of Claims and Interests.

      AS OF THE EFFECTIVE DATE, EACH RELEASING PARTY IS DEEMED TO HAVE
RELEASED AND DISCHARGED EACH DEBTOR, REORGANIZED DEBTOR, AND RELEASED
PARTY FROM ANY AND ALL CAUSES OF ACTION, INCLUDING ANY DERIVATIVE CLAIMS
ASSERTED ON BEHALF OF THE DEBTORS, THAT SUCH ENTITY WOULD HAVE BEEN
LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED
ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART:
  A. THE DEBTORS, THE DEBTORS’ RESTRUCTURING EFFORTS, INTERCOMPANY
     TRANSACTIONS,    THE    FORMULATION,   PREPARATION,   DISSEMINATION,
     NEGOTIATION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT;
  B. ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
     OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL
     OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION,
     CONTRACT, INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED
     BY THE PLAN OR THE RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
     CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION) CREATED OR ENTERED
     INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
     DISCLOSURE STATEMENT, OR THE PLAN;
  C. THE CHAPTER 11 CASES, THE DISCLOSURE STATEMENT, THE PLAN, THE FILING OF
     THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF
     CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
     INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE
     PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
     RELATED AGREEMENT; OR
  D. ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
     OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
RELEASES SET FORTH ABOVE DO NOT RELEASE ANY POST-EFFECTIVE DATE
OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE
SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN AND DO
NOT RELEASE ANY AGREEMENTS UNDER THE TRANSACTION SUPPORT AGREEMENT OR
ANY DOCUMENTS OR AGREEMENTS EXECUTED IN CONNECTION THEREWITH RELATED
TO ANY PARTY’S RIGHTS, CLAIMS, AND CONTROLS WITH RESPECT TO MYTHERESA
(INCLUDING BUT NOT LIMITED TO THE WATERFALL AND TURNOVER PROVISIONS SET
FORTH IN THE EXISTING MYT TRANSACTION DOCUMENTS AND THE TRANSACTION
SUPPORT AGREEMENT, AND THE EQUIVALENT TURNOVER AND WATERFALL
PROVISIONS IN ANY OTHER PREPETITION DOCUMENTS AND AGREEMENTS, EXCEPT TO
THE EXTENT EXPRESSLY WAIVED IN THE PLAN).

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE BANKRUPTCY
COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE THIRD-PARTY
RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED PROVISIONS AND
DEFINITIONS CONTAINED HEREIN, AND, FURTHER, SHALL CONSTITUTE THE
BANKRUPTCY COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS:          (A)


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CONSENSUAL; (B) ESSENTIAL TO THE CONFIRMATION OF THE PLAN; (C) GIVEN IN
EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY THE
RELEASED PARTIES; (D) A GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS
RELEASED BY THE THIRD-PARTY RELEASE; (E) IN THE BEST INTERESTS OF THE
DEBTORS AND THEIR ESTATES; (F) FAIR, EQUITABLE, AND REASONABLE; (G) GIVEN AND
MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY OF
THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED
PURSUANT TO THE THIRD-PARTY RELEASE.

            5.    Exculpation.

      EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO EXCULPATED
PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED PARTY IS HEREBY RELEASED
AND EXCULPATED FROM ANY CAUSE OF ACTION FOR ANY CLAIM RELATED TO ANY
ACT OR OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF, THE
CHAPTER 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
FILING, OR TERMINATION OF THE RESTRUCTURING SUPPORT AGREEMENT AND
RELATED PREPETITION TRANSACTIONS, THE DISCLOSURE STATEMENT, THE PLAN, OR
ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE OR OTHER
AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL OPINION REQUESTED
BY ANY ENTITY REGARDING ANY TRANSACTION, CONTRACT, INSTRUMENT,
DOCUMENT, OR OTHER AGREEMENT CONTEMPLATED BY THE PLAN OR THE RELIANCE
BY ANY EXCULPATED PARTY ON THE PLAN OR THE CONFIRMATION ORDER IN LIEU OF
SUCH LEGAL OPINION) CREATED OR ENTERED INTO IN CONNECTION WITH THE
DISCLOSURE STATEMENT OR THE PLAN, THE FILING OF THE CHAPTER 11 CASES, THE
PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION
AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OF SECURITIES
PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR
ANY OTHER RELATED AGREEMENT, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR
OMISSION THAT IS DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED ACTUAL
FRAUD, WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE, BUT IN ALL RESPECTS SUCH
ENTITIES SHALL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE OF COUNSEL
WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN. THE
EXCULPATED PARTIES HAVE, AND UPON COMPLETION OF THE PLAN SHALL BE DEEMED
TO HAVE, PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE
LAWS WITH REGARD TO THE SOLICITATION OF, AND DISTRIBUTION OF,
CONSIDERATION PURSUANT TO THE PLAN AND, THEREFORE, ARE NOT, AND ON
ACCOUNT OF SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE
VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE
SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS
MADE PURSUANT TO THE PLAN.

      THE EXCULPATED PARTIES AND OTHER PARTIES SET FORTH ABOVE HAVE, AND
UPON CONFIRMATION OF THE PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN
GOOD FAITH AND IN COMPLIANCE WITH THE APPLICABLE LAWS WITH REGARD TO THE
SOLICITATION OF VOTES AND DISTRIBUTION OF CONSIDERATION PURSUANT TO THE
PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS SHALL
NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR
REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE
PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN.




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                 6.      Injunction.

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
OBLIGATIONS ISSUED OR REQUIRED TO BE PAID PURSUANT TO THE PLAN OR THE
CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD, HOLD, OR MAY HOLD CLAIMS
OR INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO THE PLAN, SHALL BE
DISCHARGED PURSUANT TO THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT
TO THE PLAN, ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE,
FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, OR ANY OF THE RELEASED PARTIES: (I)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING
OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS; (II) ENFORCING, ATTACHING, COLLECTING, OR
RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE, OR
ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR
ENFORCING ANY LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR
THE PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (IV)
ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND
AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE PROPERTY OF
SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH
SETOFF RIGHT IN A DOCUMENT FILED WITH THE BANKRUPTCY COURT EXPLICITLY
PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN INDICATION OF A CLAIM OR
INTEREST OR OTHERWISE THAT SUCH ENTITY ASSERTS, HAS, OR INTENDS TO PRESERVE
ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND
(V) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO
THE PLAN.

         K.       What impact does a potential Claims Bar Date have on my Claim?

         On June 25, 2020, the Bankruptcy Court entered the Order (I) Settling Bar Dates for Filing
Proofs of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing Amended
Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form of and Manner for
Filing Proofs of Claim, Including Section 503(b)(9) Requests, (IV) Approving Notice of Bar Dates, and
(V) Granting Related Relief [Docket No. 1014] (the “Bar Date Order”), setting bar dates by which the
following entities holding Claims against the Debtors that arose (or that are deemed to have arisen) prior
to the Petition Date (including, without limitation, Class 10: General Unsecured Claims), must file
proofs of claim (the “Bar Date”): (a) any entity whose claim against a Debtor is not listed in the
applicable Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if such entity desires to
participate in any of these Chapter 11 Cases or share in any distribution in any of these Chapter 11 Cases;
(b) any entity that believes that its claim is improperly classified in the Schedules or is listed in an
incorrect amount and that desires to have its claim allowed in a different classification or amount other
than that identified in the Schedules; (c) any entity that believes that its prepetition claims as listed in the
Schedules is not an obligation of the specific Debtor against which the claim is listed and that desires to
have its claim allowed against a Debtor other than that identified in the Schedules; and (d) any entity that




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believes that its claim against a Debtor is or may be an administrative expense pursuant to section
503(b)(9) of the Bankruptcy Code.

         In accordance with Bankruptcy Rule 3003(c)(2), if any person or entity that is required, but fails,
to file a proof of claim on or before the applicable Bar Date: (a) such person or entity may be forever
barred, estopped, and enjoined from asserting such Claim against the Debtors (or filing a proof of claim
with respect thereto); (b) the Debtors and their property may be forever discharged from any and all
indebtedness or liability with respect to or arising from such Claim; (c) such person or entity may not
receive any distribution in the Chapter 11 Cases on account of that Claim; and (d) such person or entity
may not be permitted to vote on any plan or plans of reorganization for the Debtors on account of these
barred Claims or receive further notices regarding such Claim. Except in the cases of governmental
units and certain other exceptions expressly set forth in the Bar Date Order, all proofs of claims of
any person or entity that is required to file a proof of claim must have been filed so that they were
actually received on or before July 20, 2020, at 5:00 p.m. (prevailing Central Time). All
governmental units holding claims that arose prior to the Petition Date must file proofs of claims
so they are actually received on or before November 3, 2020, at 5:00 p.m. (prevailing Central
Time).

         L.      What is the deadline to vote on the Plan?

       The Voting Deadline is August 31, 2020, at 4:00 p.m. (prevailing Central Time). The Voting
Deadline for any counterparty to an Unexpired Lease which is identified as rejected on a Schedules of
Assumed and Rejected Contracts filed later than one Business Day prior to the Voting Deadline shall be
extended to the date of the Confirmation Hearing.

         M.      How do I vote for or against the Plan?

         Detailed instructions regarding how to vote on the Plan are contained on the Ballots distributed
to holders of Claims and Interests that are entitled to vote on the Plan. For your vote to be counted, your
Ballot must be completed and signed so that it is actually received by August 31, 2020 at 4:00 p.m.
(prevailing Central Time) at the following address:


                           Neiman Marcus Group LTD LLC Ballot Processing
                                              c/o Stretto
                                      410 Exchange, Suite 100
                                      Irvine, California 92602



       For more detail on voting and solicitation procedures, see Article XI of this Disclosure
Statement.

         N.      Who do I contact if I have additional questions with respect to this Disclosure
                 Statement or the Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the
notice and claims agent, Stretto (the “Notice and Claims Agent”):




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      By regular, hand delivery, or
                                          By electronic mail at:                By telephone at:
           overnight mail at:
       Neiman Marcus Group LTD
                   LLC                                                     877-670-2127 (Toll-Free)
                                       NMGInquiries@stretto.com
                c/o Stretto                                               949-504-4475 (International)
        410 Exchange, Suite 100
        Irvine, California 92602

         Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in
the Chapter 11 Cases are available upon written request to the Notice and Claims Agent at the address
above or by downloading the exhibits and documents from the website of the Debtors’ notice, claims,
and solicitation agent at http://cases.stretto.com/NMG (free of charge) or the Court’s website at
https://ecf.txsb.uscourts.gov/ (for a fee).

           O.     Do the Debtors recommend voting in favor of the Plan?

         Yes. The Debtors believe the Plan provides for a larger distribution to the Debtors’ creditors
than would otherwise result from any other available alternative. The Debtors believe the Plan is in the
best interest of all Holders of Claims and Interests and that other alternatives fail to realize or recognize
the value inherent under the Plan.

           P.     What is the effect of the Plan on the Debtors’ ongoing business?

         The Debtors are seeking to reorganize under chapter 11 of the Bankruptcy Code. Confirmation
means that the Debtors will not be liquidated or forced to go out of business. Following Confirmation,
the Plan will be consummated on the Effective Date, which is a date selected by the Debtors that is a
Business Day on which: (a) no stay of the Confirmation Order is in effect; (b) all conditions precedent
specified in Article IX.A of the Plan have been satisfied or waived (in accordance with Article IX.B of
the Plan); and (c) the Plan is declared effective. On or after the Effective Date, and unless otherwise
provided in the Plan, the Reorganized Debtors may operate or wind-down their businesses, as applicable,
and, except as otherwise provided by the Plan, may use, acquire, or dispose of property and compromise
or settle any Claims, Interests, or Causes of Action without supervision or approval by the Court and free
of any restrictions of the Bankruptcy Code or Bankruptcy Rules. Additionally, upon the Effective Date,
all actions contemplated by the Plan will be deemed authorized and approved.

IV.       IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

           A.     Additional Important Information.

         The confirmation and effectiveness of the Plan are subject to certain material conditions
precedent described herein and set forth in Article IX of the Plan. There is no assurance that the Plan
will be confirmed, or if confirmed, that the conditions required to be satisfied for the Plan to go effective
will be satisfied (or waived).

         You are encouraged to read this Disclosure Statement in its entirety, including the section
entitled “Risk Factors” and the Plan before submitting your ballot to vote on the Plan.




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       The Court’s approval of this Disclosure Statement does not constitute a guarantee by the
Court of the accuracy or completeness of the information contained herein or an endorsement by the
Court of the merits of the Plan.

         Summaries of the Plan and statements made in this Disclosure Statement are qualified in their
entirety by reference to the Plan. The summaries of the financial information and the documents annexed
to this Disclosure Statement or otherwise incorporated herein by reference are qualified in their entirety
by reference to those documents. The statements contained in this Disclosure Statement are made only
as of the date of this Disclosure Statement, and there is no assurance that the statements contained herein
will be correct at any time after such date. Except as otherwise provided in the Plan or in accordance
with applicable law, the Debtors are under no duty to update or supplement this Disclosure Statement.

        The information contained in this Disclosure Statement is included for purposes of soliciting
acceptances to, and Confirmation of, the Plan and may not be relied on for any other purpose. In the
event of any inconsistency between the Disclosure Statement and the Plan, the relevant provisions of the
Plan will govern.

         This Disclosure Statement has not been approved or disapproved by the SEC or any similar
federal, state, local or foreign regulatory agency, nor has the SEC or any other agency passed upon the
accuracy or adequacy of the statements contained in this Disclosure Statement.

        The Debtors have sought to ensure the accuracy of the financial information provided in
this Disclosure Statement; however, the financial information contained in this Disclosure Statement or
incorporated herein by reference has not been, and will not be, audited or reviewed by the Debtors’
independent auditors unless explicitly provided otherwise.

         Upon Confirmation of the Plan, certain of the securities described in this Disclosure Statement
will be issued without registration under the Securities Act, or similar federal, state, local, or foreign
laws, in reliance upon the exemption set forth in (a) section 1145 of the Bankruptcy Code and/or (b)
section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder. Other securities may be
issued pursuant to other applicable exemptions under the federal securities laws, if any. All securities
issued pursuant to the exemption from registration set forth in section 4(a)(2) of the Securities Act or
Regulation D promulgated thereunder will be considered “restricted securities” and may not be
transferred except pursuant to an effective registration statement under the Securities Act or an available
exemption therefrom.

        The Debtors make statements in this Disclosure Statement that are considered forward-looking
statements under federal securities laws. The Debtors consider all statements regarding anticipated or
future matters, to be forward-looking statements. Forward-looking statements may include statements
about:

            •   the Debtors’:

                    o   business strategy, plans, objectives, and expectations;

                    o   estimated future net reserves and present value thereof;

                    o   technology, supply chain and other operations;

                    o   brand partner and vendor relationships;




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                    o   arrangements with brand partners, suppliers or other institutions as they relate to:
                        (i) the manner in which goods are made available, (ii) the levels of merchandise
                        made available and (iii) the pricing and payment terms with respect to such
                        purchases;

                    o   financial condition, revenues, cash flows, and expenses;

                    o   levels of indebtedness and compliance with debt covenants;

                    o   financial strategy, budget, projections, and operating results;

                    o   amount, nature, and timing of capital expenditures;

                    o   access to capital and terms of such capital;

                    o   liquidity and cost savings as a result of the closing the Debtors’ stores;

                    o   capital resources and liquidity, including access to additional borrowing capacity
                        under the DIP Facility and the Exit Facility, and ability to satisfy future cash
                        obligations; and

                    o   integration and benefits of asset and property acquisitions or the effects of asset
                        and property acquisitions or dispositions on the Debtors’ cash position and levels
                        of indebtedness.

            •   costs of developing the Debtors’ properties and conducting other operations;

            •   general economic and business conditions;

            •   the outcome of pending and future litigation;

            •   the competitive nature of the luxury retail industry;

            •   uncertainty regarding the Debtors’ future operating results;

            •   variations in the market demand for, and prices of, the Debtors’ key product lines;

            •   the impact of regional or global pandemics or other public health issues; and

            •   the potential adoption of new governmental regulations that affect the Debtors’ business.

         Statements concerning the foregoing and other matters are not guarantees of the Reorganized
Debtors’ future performance. There are risks, uncertainties, and other important factors that could cause
the Debtors’ actual performance or achievements to be different from those they may project, and
the Debtors undertake no obligation to update the projections made herein. These risks, uncertainties,
and factors may include: the Debtors’ ability to confirm and consummate the Plan; the Debtors’ ability
to reduce its overall financial leverage; the potential adverse impact of the Chapter 11 Cases on the
Debtors’ operations, management, and employees, and the risks associated with operating the Debtors’
business during the Chapter 11 Cases; customer and vendor responses to the Chapter 11 Cases; the
Debtors’ inability to discharge or settle Claims during the Chapter 11 Cases; general economic, business
and market conditions and the impact of the recent COVID-19 outbreak; currency fluctuations; interest
rate fluctuations; price increases; exposure to litigation; a decline in the Debtors’ market share due to
competition or price pressure by customers; the Debtors’ ability to implement cost reduction initiatives in



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a timely manner; the Debtors’ ability to divest existing businesses; financial conditions of the Debtors’
customers; adverse tax changes; limited access to capital resources; changes in domestic and foreign laws
and regulations; trade balance; natural disasters; geopolitical instability; and the effects of governmental
regulation on the Debtors’ businesses.

V.      OVERVIEW OF THE PLAN

         The Plan provides for the reorganization of the Debtors as a going concern and will significantly
reduce long-term debt and annual interest payments and preserve the Debtors’ existing liquidity, resulting
in a stronger, delivered balance sheet. Specifically, the Plan contemplates a restructuring of the Debtors
through a debt-for-equity conversion. The key terms of the Plan are as follows:

         A.       The Restructuring Transactions.

         On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any
transactions and shall take any actions as may be necessary or appropriate to effectuate the Restructuring
Transactions (as agreed and in accordance with the Restructuring Support Agreement and subject to the
applicable consent and approval rights thereunder), including to establish Reorganized Neiman and, if
applicable, to transfer assets of the Debtors to Reorganized Neiman or a subsidiary thereof. The
applicable Debtors or the Reorganized Debtors will take any actions as may be necessary or advisable to
effect a corporate restructuring of the overall corporate structure of the Debtors, to the extent agreed in
accordance with the consent rights in the Restructuring Support Agreement and provided herein, in the
Description of Transaction Steps, or in the Definitive Documentation, including the issuance of all
securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements, continuances,
restructurings, conversions, dissolutions, transfers, liquidations, or other corporate transactions.

         On the Effective Date, all property in each Estate, all Causes of Action, and any property
acquired by any of the Debtors pursuant to the Plan shall vest in the Reorganized Debtors, free and clear
of all Liens, Claims, charges, Causes of Action, or other encumbrances. To the extent provided in the
Description of Transaction Steps, each Debtor, other than Reorganized Neiman, may be deemed
dissolved in accordance with applicable law, without any further notice to or action, order, or approval of
the Bankruptcy Court or any other Entity. Reorganized Neiman shall be the issuer of New Equity to the
applicable Holders of Claims and Interests as set forth herein.

        The actions to implement the Restructuring Transactions may include, in each case if and as
agreed in accordance with the Restructuring Support Agreement and subject to the applicable consent
and approval rights thereunder: (1) the execution and delivery of appropriate agreements or other
documents of merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer,
arrangement, continuance, dissolution, sale, purchase, or reorganization containing terms that are
consistent with the terms of the Plan and that satisfy the applicable requirements of applicable law and
any other terms to which the applicable parties may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, duty,
debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or
dissolution pursuant to applicable law; (4) all transactions necessary to provide for the purchase of
substantially all of the assets or Interests of any of the Debtors by one or more Entities to be wholly
owned by Reorganized Neiman, which purchase, if applicable, may be structured as a taxable transaction
for United States federal income tax purposes; and (5) all other actions that the applicable parties




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determine to be necessary, including making filings or recordings that may be required by applicable law
in connection with the Plan.

         B.      Sources of Consideration for Plan Distributions.

                1.      Exit Facility.

         On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility, the terms of
which will be set forth in the Exit Facility Documents. Confirmation of the Plan shall be deemed
approval of the Exit Facility and the Exit Facility Documents, as applicable, and all transactions
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred
by the Reorganized Debtors in connection therewith, including the payment of all fees, indemnities,
expenses, and other payments provided for therein and authorization of the Reorganized Debtors to enter
into and execute the Exit Facility Documents and such other documents as may be required to effectuate
the treatment afforded by the Exit Facility.

                 On the Effective Date, all of the Liens and security interests to be granted in accordance
with the Exit Facility Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted thereunder in accordance with the
terms of the Exit Facility Documents, (c) shall be deemed automatically perfected on the Effective Date,
subject only to such Liens and security interests as may be permitted under the Exit Facility Documents,
and (d) shall not be subject to recharacterization or equitable subordination for any purposes whatsoever
and shall not constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or
any applicable non-bankruptcy law. The Reorganized Debtors and the persons and entities granted such
Liens and security interests shall be authorized to make all filings and recordings, and to obtain all
governmental approvals and consents necessary to establish and perfect such Liens and security interests
under the provisions of the applicable state, federal, or other law that would be applicable in the absence
of the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by
virtue of the entry of the Confirmation Order and any such filings, recordings, approvals, and consents
shall not be required), and will thereafter cooperate to make all other filings and recordings that
otherwise would be necessary under applicable law to give notice of such Liens and security interests to
third parties.

                2.      New Equity.

         On the Effective Date, upon cancellation of the Existing Equity Interests, Reorganized Neiman
shall issue the New Equity directly or indirectly to Holders of Claims to the extent provided in the Plan.
The issuance of the New Equity, including New Equity reserved under the Management Incentive Plan,
shall be authorized without the need for any further corporate action and without any further action by
the Holders of Claims or Interests or the Debtors or the Reorganized Debtors, as applicable.

        All of the New Equity issued pursuant to the Plan shall be duly authorized, validly issued, fully
paid, and non-assessable. Each distribution and issuance referred to in Article VI of the Plan shall be
governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and
by the terms and conditions of the instruments evidencing or relating to such distribution or issuance,
which terms and conditions shall bind each Entity receiving such distribution or issuance.

                3.      New Warrants.

     On the Effective Date, Reorganized Neiman shall issue the New Warrants in accordance with the
New Warrant Agreement and distribute them to the Holders of Claims in Class 8, in accordance with




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Article VI.D.2 of the Plan. All of the New Warrants issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non assessable.

                4.       2L MyT Distribution.

        On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the
Holders of Claims in Class 8, in accordance with Article VI.D.2 of the Plan. Upon issuance, the 2L MyT
Distribution shall be duly authorized, validly issued, fully paid, and non assessable.

                5.       3L MyT Distribution.

        On the Effective Date, one or more applicable parties shall issue a security or instrument in
accordance with the Restructuring Support Agreement and Plan Supplement and distribute it to the
Holders of Claims in Class 9, in accordance with Article VI.D.2 of the Plan. Upon issuance, the 3L MyT
Distribution shall be duly authorized, validly issued, fully paid, and non assessable.

                6.       4. General Unsecured Creditor Recovery.

        140,000,000 shares of MYT Series B Preferred Stock On the Effective Date, the Sponsor
Contribution and $10,000,000 of Cash will be available for distribution to Holders of Allowed General
Unsecured Claims in accordance with the treatment set forth in the Plan for Classes 10 and 11. The GUC
Claims Administrator shall have responsibility for reconciling General Unsecured Claims, including
asserting any objections thereto; provided, that the Debtors or Reorganized Debtors shall retain the right
to object to asserted Class 10 Claims. The Debtors and Creditors Committee are considering the addition
of a convenience class, and if such a class is created, a portion of the cash consideration currently
contemplated for distribution to Holders of Allowed General Unsecured Claims shall be proposed to be
made available to Holders of Allowed General Unsecured Claims in such potential convenience class.

         C.      Management Incentive Plan.

        The New Board shall be authorized to implement the Management Incentive Plan on or after the
Effective Date, the form of which shall be included in the Plan Supplement.

         D.      Releases.

         The Plan contains certain releases (as described more fully in Article III.J of this Disclosure
Statement), including mutual releases among the Debtors, Reorganized Debtors, and certain of their key
stakeholders. Additionally, all Holders of Claims or Interests that do not to opt out of the releases
contained in the Plan; or timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases an
objection to its inclusion as a Releasing Party under the releases contained in the Plan that is not resolved
before Confirmation will be deemed to have expressly, unconditionally, generally, individually, and
collectively consented to the release and discharge of all Claims and Causes of Action against the
Debtors and the Released Parties to the extent set forth in the Plan.

         E.     Directors and Officers of the Reorganized Debtors.

         As of the Effective Date, the term of the current members of the board of directors of the Debtors
shall expire, and the members for the initial term of the New Board shall be appointed. The initial
members of the New Board will be identified in the Plan Supplement, to the extent known at the time of
filing, pursuant to the terms of the Restructuring Support Agreement. Each such member and officer of




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the Reorganized Debtors shall serve from and after the Effective Date pursuant to the terms of the New
Organizational Documents and other constituent documents of the Reorganized Debtors.
        The New Board shall consist of seven directors, or such other number as approved pursuant to
the Governance Term Sheet and shall initially be comprised of (i) the then-serving Chief Executive
Officer of the Reorganized Debtors; (ii) three directors designated by Pacific Investment Management
Company LLC (“PIMCO”); (iii) one director designated by Davidson Kempner Capital Management LP;
(iv) one director designated by Sixth Street Partners, LLC; and (v) one independent director designated
by holders of New Equity (other than PIMCO) representing at least 50% of the New Equity to be
outstanding as of the Effective Date (other than New Equity to be issued to PIMCO).

VI.     THE DEBTORS’            CORPORATE          HISTORY,        STRUCTURE,         AND     BUSINESS
        OVERVIEW

         A.      NMG’s Corporate History.

                1.      A Century of Luxury and Innovation

         On September 10, 1907, the first Neiman Marcus store opened its doors at the corner of Elm and
Murphy in Dallas with the goal of offering style, quality, and unparalleled service. NMG has always
worked hard to provide more than “just” shopping and in the process created experiences and traditions
over the decades. For example, NMG started the first weekly retail fashion show in the 1920s. It still
sponsors fashion shows as charity events today. In the 1930s, NMG drew national attention as the first
retailer outside of New York City to run national ad campaigns in Vogue and Harper’s Bazaar. NMG
has continued to reinvent the publishing of fashion with the now-traditional Christmas Book (1939),
campaigns like the Art of Fashion (1994), and its fashion magazine the book (1996).

        In the 1940s, NMG worked to bring the industry together to celebrate fashion talent with The
Neiman Marcus Award for Distinguished Service in the Field of Fashion—the Oscar of the fashion
industry—with famous winners such as Coco Chanel and Yves Saint Laurent. Beginning in the 1950s,
NMG formalized its combination of art and style by starting the Neiman Marcus Art Collection, which
includes thousands of pieces and often features local artists.

         NMG has rebuilt itself from the ground up twice due to devastating fires at its flagship location
(the first in 1913 and the second in 1964). In 1971, NMG expanded outside of Texas for the first time,
building a store in Bal Harbour, Florida. Today, there are 43 Neiman Marcus brand stores nationwide,
each of which offers a distinctive selection of apparel, handbags, shoes, cosmetics, and precious and
designer jewelry from premier luxury and fashion designers.

        In 1972, NMG acquired the famous Fifth Avenue landmark, Bergdorf Goodman. The acquisition
gave NMG a foothold in New York City, the sole NMG location in the nation’s fashion capital until the
opening of Neiman Marcus’s Hudson Yards location in spring 2019. In 1988, NMG deepened and
expanded its product offerings with the acquisition of the Horchow Collection, a luxury décor and
furniture brand. In 1999, NMG took its business online, launching NeimanMarcus.com. Since then,
NMG’s online platform has grown into the largest luxury e-commerce platform in the world, accounting
for over 30 percent of NMG’s total revenue.

         Presently, NMG also operates Last Call, an off-price fashion brand catering to price sensitive yet
fashion-minded customers. As part of its go-forward business model, NMG will be focusing on its
full-price stores and moving away from the Last Call segment.




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                2.      2013: Ares and CPPIB Acquire Neiman Marcus

       Before 2005, Debtor The Neiman Marcus Group LLC (“NMG LLC”) (f/k/a The Neiman Marcus
Group, Inc.) was publicly traded on the New York Stock Exchange. In 2005, affiliates of TPG and
Warburg Pincus took NMG LLC private through the entity that is now Debtor Neiman Marcus Group
LTD LLC (“NMG LTD LLC”) (f/k/a Neiman Marcus Group LTD Inc. and Neiman Marcus, Inc.).

        In October 2013, affiliates of Ares and CPPIB (the “Sponsors”) acquired NMG LTD LLC (the
“Acquisition”) through non-debtor parent Neiman Marcus Group, Inc. (“NMG Inc.”) (f/k/a/ NM
Mariposa Holdings, Inc.) and Debtor Mariposa Intermediate Holdings LLC (“Mariposa Holdings”). This
resulted in the following core organizational structure:




         In connection with the Acquisition, both NMG LLC and NMG LTD LLC were renamed and
converted into Delaware limited liability companies. Consistent with the Delaware Limited Liability
Company Act, each of NMG LLC, NMG LTD LLC, and Mariposa Holdings were member-managed
limited liability companies with no board of directors or managers. The ultimate parent entity NMG Inc.
has a board of directors.

         NMG Inc. has never been an obligor or guarantor of any of the Debtors’ debt. Instead, the
Debtors’ funded debt obligations have always been issued or guaranteed by Mariposa Holdings, NMG
LTD LLC, NMG LLC, and certain of their guarantor subsidiaries. Following the Acquisition, the
Debtors’ funded debt consisted of (a) a $2.8 billion senior secured term loan facility maturing in October
2020 (the “2013 Term Loan Facility”), (b) a $900.0 million senior secured asset-based revolving credit
facility (the “Asset-Based Revolving Credit Facility” or “ABL Facility”), (c) two series of Unsecured
Notes, including $960.0 million in aggregate principal amount of 8.000% Senior Cash Pay Notes due
2021 (the “Unsecured Cash Pay Notes”) and $600.0 million in aggregate principal amount of
8.750%/9.500% Senior PIK Toggle Notes due 2021 (the “Unsecured PIK Toggle Notes” and, together
with the Cash Pay Notes, the “Unsecured Notes”), and (d) $125.0 million in 7.125% Senior Debentures
due 2028 (the “2028 Debentures”).

        The debt agreements governing these obligations included restrictive covenants limiting NMG
LTD LLC and certain of its subsidiaries from paying dividends, making investments, disposing of assets
or taking other actions. These restrictions did not apply to unrestricted subsidiaries, which were


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generally permitted to engage in transactions without being subject to the covenants. The debt
agreements also contained exceptions to the covenants known as “baskets” that allowed NMG LTD LLC
and its restricted subsidiaries to engage in certain transactions either without limitation or up to specified
dollar amounts.

        Neiman Marcus had significant flexibility afforded by the ability to designate entities as
unrestricted subsidiaries and the very broad baskets under the debt agreements. This included the
express right to distribute the equity of unrestricted subsidiaries.

                3.       2014:    Neiman Marcus Purchases MyTheresa and Designates It
                         Unrestricted Under the Term Loan and ABL Credit Facilities

         In late 2014, the Debtors acquired the online business of MyTheresa and its physical store in
Munich. Since then, MyTheresa has operated on a standalone basis, with its own CEO, CFO and
management team, as well as separate vendors, suppliers, and bank lenders. MyTheresa has never issued
a dividend to the Debtors, NMG Inc. or the Sponsors. In fact, while MyTheresa has experienced growth
in top-line sales and EBITDA since 2014, it has repeatedly generated negative free cash flow, including
in the years leading up to the Distribution. Neiman Marcus has not relied on MyTheresa as a basis to
fund its operations or debt expenses.

         The Debtors paid approximately $196 million for MyTheresa in 2014, plus $57 million in two
contingent earn-out payments to MyTheresa’s prior owners in the following years. After the acquisition,
the German entities that operate MyTheresa sat under a series of German and Luxembourg holding
entities until the Recapitalization Transactions in 2019. The highest-level foreign holding entity was
Mariposa Luxembourg I S.á.r.l., which in turn was wholly owned by the Debtors’ former subsidiary,
NMG International LLC (f/k/a NMG International, Inc.):




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         From late 2014 onwards, NMG International had no other assets besides the MyTheresa holding
and operating entities. As a result, under the Term Loan and ABL Credit Facilities, NMG International
was not a guarantor, but was treated as a foreign subsidiary holding company and 65% of its equity
interests were pledged (on a first-lien basis) in favor of the senior secured lenders. The unsecured
noteholders had no security interest in the equity interests of NMG International. Despite the pledge of
65% NMG International’s equity interests in favor of the senior secured lenders, no MyTheresa entity’s
equity was directly pledged in support of any of the Debtors’ obligations at any point.

        Simultaneously with the acquisition of the MyTheresa entities and the creation of the
Luxembourg holding entities in late 2014, NMG LTD LLC designated all of the then-existing
MyTheresa subsidiaries as unrestricted subsidiaries under both the Term Loan and ABL Credit Facilities.
In making these designations, NMG LTD LLC relied on specific baskets that it was permitted to use for
this purpose. NMG LTD LLC had several hundred million dollars of spare basket capacity under the
Term Loan and ABL Credit Facilities after the designations. As a result, from late 2014 onwards, the
MyTheresa entities were unrestricted subsidiaries that could have been distributed by the Debtors under
the Term Loan and ABL Credit Facilities. NMG LTD LLC delivered notices of the designations to the
agents under both the Term Loan and ABL Facilities. In recurring quarterly officer’s certificates
provided to the agents, the MyTheresa entities were also listed as unrestricted subsidiaries.

                4.      Early 2017: Neiman Marcus Uses Agreed-Upon Baskets To Designate
                        MyTheresa As Unrestricted and Create Unrestricted PropCo

        In early 2017, the Debtors retained Lazard to explore potential liability management transactions,
including asset sales, debt exchanges and other strategic transactions. Neiman Marcus, its advisors and
the Sponsors focused on two options: a potential transaction involving MyTheresa and a potential
“PropCo” transaction. Both transactions would involve designating MyTheresa as an unrestricted
subsidiary under the Indentures and “PropCo” as an unrestricted subsidiary under all of the Debtors’ debt
agreements. Once MyTheresa and PropCo—which would receive real properties from the Debtors
valued in an amount permitted under the debt agreements—were unrestricted subsidiaries and no longer
subject to the restrictions under the debt agreements, they would provide the Debtors with flexibility to
address their capital structure in the future.

        Neiman Marcus’ management worked with its financial and legal advisors to calculate available
basket capacity. The company also obtained third-party valuations from Duff & Phelps of MyTheresa
(approximately $282 million) and the three properties—stores in San Antonio, Texas and McLean,
Virginia and a distribution center in Longview, Texas—that would be contributed to PropCo
(approximately $73 million) to determine how much basket capacity was required. This analysis showed
that the Debtors had several hundred million dollars of spare basket capacity available after the
designations.

        On March 10, 2017, the NMG Inc. board unanimously approved the designation of MyTheresa
(the “Designation”) and the designation of and contribution of three properties to PropCo (the “PropCo
Transaction”). NMG LTD LLC publicly announced both transactions on March 14, 2017 with its
quarterly earnings. Since then, no creditor has ever brought a claim alleging that the Designation or the
PropCo Transaction violated any of Neiman Marcus’ debt agreements, including the indentures
governing the Unsecured Notes, or resulted in an event of default.

        Before the Debtors completed the Designation and the PropCo Transaction in spring 2017, they
also considered distributing MyTheresa, however, the Debtors did not proceed with the distribution at the
time. In spring 2017, the Debtors were considering a sale of their U.S. operations, called Project Harry,
to another luxury retailer. After that transaction terminated, the parties began negotiations on a different
deal, called Project Einstein, during the first half of 2018 that would have resulted in the Debtors


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obtaining another luxury retailer’s operations in exchange for the Debtors’ real estate interests. Those
discussions ended in late July 2018. Only then did the Debtors decide to distribute MyTheresa in
connection with the amend-and-extend negotiations that led to the Recapitalization Transaction.

                5.      March 2017 - August 2018: Neiman Marcus Considers Various Strategic
                        Transactions And Creditor Negotiations

        Between March 2017 and August 2018, Neiman Marcus considered multiple strategic
transactions including Project Harry and Project Einstein. Despite many months of negotiations and
substantial expenditure of time and resources around these strategic transactions, Neiman Marcus
ultimately chose not to proceed with those transactions.

        Following the Designation and PropCo Transaction, Neiman Marcus also conducted on-and-off
negotiations with its creditors’ advisors on a “standalone” amend-and-extend (i.e., a transaction that did
not involve a broader strategic transaction). In May 2017, the Debtors signed an NDA with counsel to an
ad hoc group of term loan lenders (Wachtell). In August 2017, the Debtors signed NDAs with a financial
advisor to the same ad hoc group of Term Loan Lenders (Ducera) and a financial advisor to an ad hoc
group of Unsecured Noteholders (Houlihan). In September 2017, the Debtors signed an NDA with
counsel to the ad hoc group of Unsecured Noteholders (Paul Weiss).

        While under NDA, the Debtors provided these advisors with diligence materials concerning the
Debtors, their business, and the Designation and PropCo Transaction. In November 2017, Neiman
Marcus provided a proposed term sheet for potential circulation to these advisors’ clients. The term
sheet contemplated a potential amend-and-extend transaction and “a dividend of MyTheresa.” The
members of the ad hoc lender groups never entered into confidentiality agreements and standalone
amend-and-extend discussions fell apart by early 2018 as the Debtors focused on Project Einstein.

                6.      September 2018: The Debtors Distribute MyTheresa To NMG Inc.

         After negotiations over Project Einstein ended in late July 2018, Neiman Marcus immediately
focused on completing a “standalone” amend-and-extend transaction with its creditors in late 2018. The
distribution of MyTheresa was a key component of the amend-and-extend transaction.

         In early August 2018, the Debtors’ advisors prepared an “Amendment and Extension Checklist”
of steps necessary to achieve an extension of their debt maturities. The second step on the checklist after
initial advisor diligence was the “MyTheresa Distribution.” The Debtors planned to launch the amend-
and-extend transaction simultaneously with the public announcement of the distribution and the release
of earnings on September 14, 2018. At an NMG Inc. board meeting in August 2018 discussing the
possibility of re-engaging with creditors, Lazard described the distribution of MyTheresa as a “core” part
of any amend-and-extend transaction.

        Neiman Marcus’ debt agreements expressly permitted the distribution of ownership interests in
unrestricted subsidiaries without limit. As the MyTheresa entities were all unrestricted subsidiaries in
September 2018, there was no contractual prohibition on the distribution. No creditor has ever brought a
claim alleging that the Distribution violated any of Neiman Marcus’s debt agreements, including the
Indentures, or resulted in an event of default.

        The Debtors’ management also conducted good faith efforts to evaluate the Debtors’ solvency
prior to any potential distribution. In fall 2018, the Debtors’ business had significantly improved
compared to early 2017 when the Debtors last discussed a potential distribution. The company was on
the verge of completing its fourth consecutive quarter of positive sales, all of Neiman Marcus’ stores
were four-wall EBITDA positive, and Adjusted EBITDA had increased more than 16% as compared to



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the same quarter in 2017. The Debtors also had approximately $800 million in liquidity in fall 2018.
Despite these results, testimony has indicated that the Debtors would not have been able to obtain a third-
party solvency opinion because of their near-term maturities. Accordingly, the Debtors’ Chief Financial
Officer at the time, Adam Orvos, and other members of the Debtors’ finance, accounting and legal teams
assessed the Debtors’ solvency.

         On the balance sheet, the Debtors started with their ordinary course books and records, which are
audited annually by Ernst & Young on a consolidated basis. The Debtors then used an annual valuation
of the Debtors prepared by Duff & Phelps that the Debtors received the week before the distribution to
adjust the book values of their assets to fair market values. The Debtors rely on these Duff & Phelps
valuations each year to determine their equity value for stock option awards and for impairment analyses.
Consistent with its typical practice, Duff & Phelps used a DCF and comparable companies analysis in
September 2018 to determine the fair value of the Debtors as of April 30 2018. In part because of
variability in the Debtors’ projections, Duff & Phelps had increased the small stock premium beginning
in 2017, which would in turn increase the weighted average cost of capital and reduce the valuation of
the Debtors. Ernst & Young also audits the results of these annual valuations. After making the fair
value adjustments, the Debtors then took a $100 million valuation “haircut” for conservatism and to
ensure any potential changes in asset value between the “as of” date of the Duff & Phelps valuation
(April 30, 2018) and the distribution were reflected. The analysis showed that following the distribution,
the Debtors would be solvent by $327 million.

         The Debtors then used their ordinary course projections for the cash flow and adequate
capitalization tests. They stress tested their projections by assuming that revenues in fiscal year 2019
would decline by 5% rather than increase by 1.7% as projected. The Debtors selected this downside
scenario based on the recent decline they had experienced when implementing NMG One. The Debtors
then assumed that the $300 million decline in revenue would reduce Adjusted EBITDA by $180
million—another conservative assumption given the Debtors’ historical margins and steps they would
take to mitigate these losses in a downturn. Even assuming that the Debtors would need to borrow the
$180 million under their ABL Facility in a downside scenario, they still would have approximately $380-
$695 million of availability under their $900 million ABL Facility.

        The Debtors relied on Lazard for the final piece of the adequate capitalization test—whether they
would be able to refinance their near-term debt maturities—as no one at the company had the necessary
experience to determine the likelihood of a successful refinancing. Lazard told the Debtors and
ultimately the NMG Inc. Board that they were highly confident that they would be able to complete a
successful refinancing, especially following the distribution of MyTheresa.

        The Debtors’ the Chief Financial Officer, Mr. Orvos, prepared memoranda to each of the
members of the Debtors attesting to their solvency before and after the distribution of MyTheresa. The
memoranda concluded that both before and after a potential distribution, the Debtors would be solvent on
a balance sheet basis and, for the following 12 months, Neiman Marcus would be able to pay its debts as
they came due, would not have unreasonably small assets to conduct its business, and the distribution
would not impair its ability to continue as a going concern. The memoranda made clear that the Debtors’
projections assumed a refinancing of the Debtors’ funded debt at maturity and noted Mr. Orvos’ reliance
on Lazard. All of the conclusions in Mr. Orvos’ memoranda were proved correct.

         Mr. Orvos presented his memoranda to the NMG Inc. board on September 14, 2018. The NMG
Inc. board, including its independent members, unanimously approved the MyTheresa distribution.
Mechanically, the distribution took the form of a chain of distributions from wholly owned subsidiaries
to their sole parent entities. First NMG International LLC distributed its equity interests in Mariposa
Luxembourg I to its parent NMG LLC, which in turn distributed the equity interests to NMG LTD LLC,
which in turn distributed the equity interests to Mariposa Holdings, which in turn distributed the equity


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interests to the ultimate parent NMG Inc. (the “Distribution”). The Mariposa Luxembourg I shares were
never distributed above NMG Inc. to the Sponsors. The Debtors publicly announced the Distribution on
September 18, 2018.

                7.      Fall 2018 - Spring 2019: Neiman Marcus and Creditors Holding Over 90%
                        of Its Debt Negotiate A&E Transactions That Result In An Agreed-Upon
                        Waterfall For A Potential MyTheresa Sale Or IPO

       Discussions with Neiman Marcus’ creditors commenced immediately after the Distribution was
announced. Members of the ad hoc groups agreed to become restricted in October 2018.

         The first round of negotiations among Neiman Marcus and its lender groups did not result in an
agreement. Term sheets were blown out on November 30, 2018 as the Debtors headed into the critical
holiday period. The parties initially took diametrically opposed positions on MyTheresa. Neiman
Marcus proposed that its creditors agree to the Distribution. The unsecured bondholders demanded that
MyTheresa be returned, no longer be treated as unrestricted, and provide preferred equity in NMG
International. The term loan lenders demanded a full guarantee from NMG Inc. and a first lien pledge on
the equity interests of a MyTheresa Holding Company.

        After the blowout, Marble Ridge filed a lawsuit in Dallas County challenging the Distribution as
a fraudulent transfer. That suit was dismissed with prejudice on standing grounds in March 2019.
Marble Ridge replaced the indenture trustee with UMB in August 2019, and directed UMB to file suit in
New York Supreme Court, in August 2019. The parties fully briefed motions to dismiss when the
Debtors filed for chapter 11. No other creditors ever brought suit concerning the Designation, PropCo
Transaction, or the Distribution. No one—including Marble Ridge and UMB—has ever alleged in any
lawsuit that the Debtors defaulted or otherwise violated any aspect of their debt agreements through the
Designation, the PropCo Transaction or the Distribution.

        After the holiday period, Neiman Marcus and its creditors re-engaged in amend-and-extend
negotiations. Following arms’-length negotiations in January and February 2019, the parties reached an
agreement in principle on a global amend-and-extend transaction that would also resolve any potential
disputes over the Designation, Distribution, and PropCo Transaction. On March 1, 2019, Neiman
Marcus publicly announced that agreement in principle with its creditors to restructure the company’s
debt obligations and extend its debt maturities by three years. This agreement was further documented in
a Transaction Support Agreement dated March 25, 2019 (the “TSA”). Holders of approximately 99.5
percent of the aggregate principal amount of the Term Loans and 91.5 percent of the Unsecured
Notes—which collectively represented over $4.2 billion of Neiman Marcus’ debt—ultimately
participated in the Recapitalization Transactions. The majority holder of the company’s 2028
Debentures also consented to the Recapitalization Transactions. Marble Ridge and another unsecured
noteholder were the only material holdouts.

         The Recapitalization Transactions included Neiman Marcus providing significant economic
interests in MyTheresa to participating creditors. The Recapitalization Transactions provided holders of
Unsecured Notes with an opportunity to exchange their existing notes for two types of consideration that
entitled them to distributions in the event of a future sale or IPO of MyTheresa.

        First, participating Unsecured Noteholders received new Third Lien Notes that were secured by
various interests in the Debtors’ assets. The Third Lien Notes were also supported by an equity pledge
from MYT Parent Co., a newly formed U.S. holding company of the MyTheresa entities which is wholly-
owned by NMG Inc., and would be paid down at par with 50 percent of any MyTheresa monetization




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proceeds over approximately $700 million (with the hurdle increasing by at least $50 million per year
due to a 10% dividend owed on $500 million of preferred stock ahead of the Third Lien Notes).

        Second, exchanging holders of Unsecured Notes also received their pro rata share of $250.0
million in Series A preferred stock the (“MYT Series A Preferred Stock”) of MYT Holding Co., a
holding company of MyTheresa entities and direct subsidiary of MYT Parent Co., that entitled those
holders to priority distributions of up to $250 million of proceeds plus a 10% annual dividend in the
event of a sale or other monetization of MyTheresa.

         The Sponsors and a group of Unsecured Noteholders also invested $550 million of new money
into the company as consideration for new Second Lien Notes. The proceeds from the new money
investment were used to pay down $526.9 million of Term Loans. The Second Lien Notes are
guaranteed on a senior secured basis up to $200 million by three holding companies of MyTheresa, and
are entitled to the first $200 million of proceeds from any sale or IPO of MyTheresa.

        As part of the hard-fought amend-and-extend negotiations, these creditors agreed that the
Sponsors could obtain two other indirect sources of recovery from any sale or IPO of MyTheresa. MYT
Parent Co. obtained (i) 250,000,000 shares of Series B Preferred Stock (the “MYT Series B Preferred
Stock”) of MYT Holding Co. that would recover up to $250 million plus a 10% annual dividend only in
the event of a monetization event that yielded over the $450 million (plus dividends) that was required to
go to the Second Lien Notes and MYT Series A Preferred Stock; and (ii) common equity entitled to 50
percent of any MyTheresa monetization proceeds over approximately $700 million (subject to increase
each year due to the preferred equity dividends), with the other 50 percent of those proceeds used to pay
down the Third Lien Notes.

         Collectively, these agreements among creditors created a waterfall (the “MYT Waterfall”) that
specified how all amounts from any potential MyTheresa sale or IPO would be
distributed:




        Accordingly, pursuant to the MYT Waterfall, any monetization of MyTheresa at $500 million or
less would result in substantially all of the proceeds going to the former unsecured noteholders who
participated in the Recapitalization Transactions.

        The UCC has indicated that it does not intend to challenge the $200 million senior secured
guarantee or the $250 million in Series A preferred equity or the associated dividends (of which $25
million has already accrued and which would continue to accrue at 10% per year until a monetization
event).




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                8.      Summer 2019: The Recapitalization Transactions Close and An Extensive
                        Sale Process For MyTheresa Generates Limited Interest

        The Recapitalization Transactions closed on June 7, 2019. To implement the Recapitalization
Transactions, the Mariposa Luxembourg I shares that had been distributed to NMG Inc. were moved into
a series of new MyTheresa holding entities that provided the agreed-upon guarantees, pledges, and
preferred equity to participating creditors. Specifically, NMG, Inc. contributed its interests in Mariposa
Luxembourg I S.a.r.l. (“Lux I”) through a series of newly formed Delaware holding entities: MYT Parent
Co., MYT Holding Co., and MYT Intermediate Holding Co.

          On July 24, 2019, MYT Intermediate Holding Co. contributed its interests in Lux I into a newly-
formed Dutch company, MYT Netherlands Parent B.V (“MYT Netherlands Parent”). In late summer
2019, another Luxembourg holding company, Mariposa Luxembourg II S.á.r.l., was merged into Lux I.
Lux I was then merged into MYT Netherlands Parent, with MYT Netherlands Parent as the surviving
entity resulting in the following organizational structure and grants of interests for the MyTheresa
entities:




        Beginning in May 2019, Lazard commenced a multi-month sale process with respect to
MyTheresa. Lazard sent out over 50 teasers and provided confidential information memoranda to more
than two dozen potential bidders. Lazard’s marketing materials highlighted the challenges with valuing
online retailers, and touted MyTheresa’s “impressive topline growth” of 28.5% between FY16 and FY18
and EBITDA margin of 5–7% between 2016 and 2018 but noted MyTheresa experienced near zero or
negative free cash flow for this same time period.

        Despite Lazard’s extensive marketing efforts, the sale process ended in July 2019 because the
highest and best non-binding indicative offer received was only for approximately $525 million. That
was the last market-based indication of the value of MyTheresa.




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         B.      NMG’s Business Operations.

                1.      Customer Loyalty and Customer Service.

         Neiman Marcus and Bergdorf Goodman have a longstanding heritage of providing the highest
level of personalized, concierge-style service to its customers. While many retailers have suffered in
recent years given the movement away from brick-and-mortar shopping, NMG is positioned to succeed in
the digital era.

        First, NMG has a history of rewarding loyalty. With the 1984 roll-out of InCircle, NMG’s
loyalty program, NMG became the first luxury retailer to offer a customer loyalty program. In turn,
Neiman Marcus and Bergdorf Goodman customers have rewarded NMG with high levels of engagement
and loyalty over the years. Approximately 45 percent of NMG’s revenues come from status-holding
InCircle rewards members. Further, Neiman Marcus and Bergdorf Goodman have multi-year
relationships with true luxury customers, as illustrated by the fact that NMG makes 40 percent of its sales
from Neiman Marcus and Bergdorf Goodman to customers who spend $10,000 or more annually, with an
average annual spend from these customers of $50,000.

        Second, Neiman Marcus and Bergdorf Goodman have always entailed more than shopping.
While other brick-and-mortar stores have been ill-equipped to compete with online-only retailers,
Neiman Marcus and Bergdorf Goodman stores offer a variety of in-person experiences that make every
visit an immersive luxury event. Neiman Marcus and Bergdorf Goodman stores feature stunning
architecture, beautiful art, and professional and well-trained sales associates to enhance the shopping
experience. Additionally, Neiman Marcus and Bergdorf Goodman operate 46 restaurants, bars, and
cafes, and also offer in store services and experiences such as spas with makeup, hair, nail, massage, and
waxing treatments. Neiman Marcus and Bergdorf Goodman stores also host events, including private
shopping events and charity events.

         Third, NMG is well positioned for the digital age. When customers want a blend of convenient,
quick, and high-service access to luxury brands, Neiman Marcus and Bergdorf Goodman provide an
enhanced online experience that is superior to other luxury players. NMG operates online platforms that
have 17 million visits per month and provide omni-channel services and shared inventory. In addition,
Neiman Marcus launched 65 digital stylists more than a year ago that are personal shoppers for top
online customers and equipped its 5,200 sales associates with clienteling tools that allow them to sell and
close a transaction digitally without requiring in-store presence. The significant investments in IT tools
and new roles to better integrate its bricks and mortar and online operations have resulted in a better
customer omni-channel experience, thereby increasing sales and gross margins.

                2.      NMG’s Brands.

        NMG offers brands to provide luxury in every aspect of its customers’ lives.

         Neiman Marcus. The Neiman Marcus brand caters to affluent luxury customers. Neiman
Marcus operates 43 full-line stores in marquee retail locations in major U.S. markets and its global
$1 billion e-commerce platform, neimanmarcus.com. The Neiman Marcus stores are designed to provide
a modern, luxurious ambiance by blending art, architecture, and technology. Neiman Marcus offers
distinctive luxury merchandise, including women’s couture and designer apparel, contemporary
sportswear, handbags, shoes, cosmetics, men’s clothing and accessories, precious and designer jewelry,
home, children’s apparel, and gift items.

        Bergdorf Goodman. Bergdorf Goodman is the premier retailer of ultra-high end branded goods
in the world. Bergdorf Goodman operates primarily through its two full-line stores in landmark locations



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on Fifth Avenue in New York City and its global e-commerce platform, bergdorfgoodman.com and the
Bergdorf Goodman App. Bergdorf Goodman is known for its high-luxury women’s couture and designer
apparel, contemporary sportswear, handbags, shoes, cosmetics, men’s clothing and accessories, precious
and designer jewelry, home, children’s apparel, and gift items.

        Horchow. Horchow is a leading online resource for luxury furniture, fine linens, and unique
décor. Horchow was founded by Roger Horchow in 1973 as the first luxury mail-order catalog without a
brick-and-mortar store. Today, Horchow conducts the majority of its business through its e-commerce
platform, horchow.com.

         Last Call. Last Call is the off-price segment of NMG’s fashion goods business. Customers
purchase merchandise through 22 Last Call stores and its online platform, lastcall.com. Merchandise
offered under the Last Call brand primarily includes end-of-season and post-season clearance goods
sourced directly from the Neiman Marcus or lower price-point merchandise purchased directly from
designers. During fiscal year 2017, NMG began assessing its Last Call footprint and closed four of its
Last Call stores. In fiscal year 2020, NMG closed two more Last Call stores, and on March 11, 2020,
prior to temporarily closing all of its stores, NMG announced that it would permanently close most of its
22 remaining Last Call stores to focus on NMG’s core luxury business.

         Under each of NMG’s primary brands, NMG offers its customers a curated and compelling
assortment of narrowly distributed merchandise from luxury and high-fashion designers. NMG is the
retail partner of choice for luxury designers as it offers access to loyal and affluent customers and
adheres to strict presentation, marketing, and promotional standards. Neiman Marcus and Bergdorf
Goodman also have a long history of identifying, partnering with, and nurturing emerging designers with
the potential for rapid growth. The combined offering from established and emerging designers ensures
NMG’s merchandise assortment remains unique, compelling, and relevant as fashion trends evolve.

         C.      Critical Components of the Debtors’ Cost Structure.

                1.      Supply Chain.

         NMG maintains an integrated supply chain aimed at ensuring the uninterrupted flow of
merchandise to its brick-and-mortar locations and the fulfillment of orders from its e-commerce platform.
A substantial majority of NMG’s merchandise is delivered to NMG from various designers as finished
goods and is manufactured in numerous locations, primarily in Europe, the United States, and, to a lesser
extent, Asia. NMG’s women’s and men’s apparel and fashion accessories merchandise categories are
especially dependent upon NMG’s relationships with designers. NMG monitors and evaluates the sales
performance and profitability of each designer and adjusts future purchasing decisions based on this
analysis. NMG has no guaranteed supply arrangements with its principal merchandising sources. In
addition, NMG’s designer base is diverse, with only two designers representing more than five percent of
NMG’s merchandise-sale revenues in fiscal year 2019. The breadth of NMG’s sourcing helps mitigate
risks associated with any single brand or designer.

        NMG manages its inventory on an omni-channel basis, and its processes and facilities are
designed to optimize merchandise productivity. For the last several years, NMG has utilized an
integrated merchandising and distribution system, referred to as “NMG One.” NMG One was designed
to enable NMG to purchase, share, manage, and sell its inventories across its omni-channel operations
and brands more efficiently.

         The majority of NMG’s merchandise is initially received at one of its centralized distribution
facilities. NMG utilizes distribution facilities in Longview, Texas, the Dallas-Fort Worth area, Whittier,
California, and Pittston, Pennsylvania, as well as two regional service centers in the United States.



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NMG’s distribution facilities are linked electronically to its various merchandising teams to facilitate the
distribution of goods to NMG’s stores.

                2.       Employee Compensation and Benefits.

        NMG employs approximately 13,200 employees, including approximately 9,545 full-time
employees and approximately 3,655 part-time employees. NMG offers its employees the ability to
participate in a number of insurance and benefits programs, including health benefits, vision and dental
coverage, prescription drug benefits programs, workers’ compensation, life insurance, accidental death
and dismemberment insurance, disability benefits, retirement plans, and other employee benefit plans.

        In addition, Debtor The Neiman Marcus Group LLC sponsors The Neiman Marcus Group LLC
Retirement Plan (the “Neiman Retirement Plan”) for certain current and former employees, which is a
qualified defined benefit pension plan under the Internal Revenue Code and covered by Title IV of the
Employee Retirement Income Security Act of 1974 (“ERISA”). The Neiman Retirement Plan has been
frozen since 2008, and benefit levels were frozen for all participants in 2010. The Neiman Retirement
Plan provides current and future pension benefits to approximately 10,680 participants. As of August
2019, NMG had projected Neiman Retirement Plan obligations of approximately $659 million.

        NMG pays annual premiums to the Pension Benefit Guaranty Corporation (the “PBGC”) in
connection with the Neiman Retirement Plan. The PBGC is a wholly-owned United States government
corporation and agency created under Title IV of ERISA to administer the federal pension insurance
program and to guarantee the payment of certain pension benefits upon termination of a pension plan
covered by Title IV of ERISA. The PBGC asserts that the other Debtors are each members of The
Neiman Marcus Group LLC’s controlled group, as defined in 29 U.S.C. § 1301(a)(14).

         During the bankruptcy proceeding, the Neiman Retirement Plan may terminate under the distress
termination provisions of 29 U.S.C. § 1341(c) or under the provisions for the PBGC initiation of
termination under 29 U.S.C. § 1342(a). If the Neiman Retirement Plan terminates, the PBGC will assert
a claim that the sponsor of the Neiman Retirement Plan and all members of its controlled group are
jointly and severally liable for the unfunded benefit liabilities of the terminated Neiman Retirement Plan.
The PBGC will file an estimated contingent claim, subject to termination of the Neiman Retirement Plan
during the bankruptcy proceeding, against each of the Debtors for unfunded benefit liabilities in the
amount of approximately $300,000,000. The PBGC will assert that this termination liability contingent
claim is entitled to priority under 11 U.S.C. §§ 507(a)(2) and (a)(8) in unliquidated amounts. The
Debtors and Reorganized Debtors reserve all rights relating to any asserted liability, including but not
limited to contesting the validity and amount of any such claims.

         The PBGC will assert that the sponsor of the Neiman Retirement Plan and all other members of
its controlled group are obligated to pay the contributions necessary to satisfy the minimum funding
standards under sections 412 and 430 of the Internal Revenue Code and sections 302 and 303 of ERISA.
The PBGC will file an unliquidated claim against each of the Debtors for any unpaid required minimum
contributions owed to the Neiman Retirement Plan. The PBGC will assert that the claim for required
minimum contributions owed is entitled to priority under 11 U.S.C. §§ 507(a)(2) and(a)(5) in the
amounts of the unpaid contributions. The Debtors and Reorganized Debtors reserve all rights relating to
any asserted liability, including but not limited to contesting the validity and amount of any such claims.

         The PBGC will assert that the sponsor of the Neiman Retirement Plan and all other members of
its controlled group are jointly and severally liable to the PBGC for all premium obligations owed to the
Neiman Retirement Plan. The PBGC will file a claim against each of the Debtors for unpaid statutory
premiums, if any, owed to the PBGC on behalf of the Neiman Retirement Plan in an unliquidated




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amount. The Debtors and Reorganized Debtors reserve all rights relating to any asserted liability,
including but not limited to contesting the validity and amount of any such claims.

        If the Neiman Retirement Plan terminates in a distress or the PBGC-initiated termination during
the course of the bankruptcy proceeding, the PBGC will assert that the sponsor of the Neiman Retirement
Plan and its controlled group are liable to the PBGC for a termination premium at the rate of $1,250 per
plan participant per year for three years under 29 U.S.C. § 1306(a)(7). The PBGC will assert that if the
Neiman Retirement Plan is terminated prior to confirmation of the Plan, the obligation to the PBGC for
termination premiums does not exist until after the Plan is confirmed and the Debtors have exited
bankruptcy. The PBGC will assert that under these circumstances, termination premiums are not a
dischargeable claim or debt within the meaning of the Bankruptcy Code. The PBGC estimates that the
amount of the termination premium liability for the Neiman Retirement Plan would total approximately
$39,210,000. The Debtors and Reorganized Debtors respectfully disagree with many of the PBGC’s
foregoing assertions and reserve all rights relating to any asserted liability, including but not limited to
contesting the validity and amount of any such claims.

        On the Effective Date, The Neiman Marcus Group LLC shall continue the Neiman Retirement
Plan in accordance with and subject to its terms (as such terms may be amended from time to time) and
applicable non-bankruptcy law (and the Reorganized Debtors reserve all rights thereunder), and as a
consequence the PBGC and the Debtors agree that all the PBGC claims will be deemed withdrawn as of
the Effective Date without incurring liability in the bankruptcy and without any further action of the
Debtors or the Reorganized Debtors or the PBGC and without any further action, order, or approval of
the Bankruptcy Court.

         With respect to the Neiman Retirement Plan, no provision of the Disclosure Statement, Plan,
Confirmation Order, or section 1141 of the Bankruptcy Code shall be construed to discharge, release, or
relieve the Reorganized Debtors from liabilities or requirements imposed under ERISA or the Internal
Revenue Code with respect to the Neiman Retirement Plan solely as a result of the Debtors’
reorganization proceedings or confirmation of the Plan. The PBGC and the Neiman Retirement Plan will
not be enjoined or precluded from enforcing any liability arising under ERISA or the Internal Revenue
Code with respect to the Neiman Retirement Plan as a result of the Debtors’ reorganization proceedings,
the Plan’s provisions or the Plan’s confirmation; provided, however, that nothing herein or in the Plan
affects any of the Debtors’ or the Reorganized Debtors’ rights related thereto and all such rights are fully
preserved.

                3.       Real Estate Portfolio.

         While NMG has industry-leading e-commerce platforms, the full experience is enriched by a
customer experience in one of NMG’s stores. NMG’s stores are located in prime locations and feature
engaging, luxury shopping environments. NMG’s stores are located within driving distance of 70
percent of high-net worth individuals in the United States. Several locations include restaurant offerings
to allow for a relaxed and extended experience. From the beginning, NMG has focused on selling an
experience. This remains true today. In addition to knowledgeable, professional, and well-trained sales
associates, NMG’s stores feature in-store events, including trunk shows by leading designers that feature
the latest fashions, and exclusive shopping experiences curated for the most discerning luxury clientele.

         In response to the COVID-19 crisis, NMG has closely monitored local government orders and,
since March 18, 2020, closed all of its retail stores to in-person shopping until further notice. Where
permitted, NMG is maintaining limited staff to fulfill online orders from store merchandise, and since
the Petition Date, NMG opened approximately 12 stores for present appointment.




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         D.       Prepetition Capital Structure.1214

        As of the Petition Date, the Debtors’ capital structure consists of outstanding funded-debt
obligations in the aggregate principal amount of approximately $5.1 billion. As further described below,
the Debtors’ significant funded debt obligations include: (a) a $900.0 million Asset-Based Revolving
Credit Facility, of which $749.0 million has been drawn; (b) a $100.0 million last-out term loan facility
(the “FILO Facility”); (c) a $2,253.1 million senior secured term loan facility (the “Term Loan Facility”),
which is comprised of $12.6 million outstanding of 2013 Term Loans with the original maturity date of
October 25, 2020, $1,193.8 million outstanding of 2019 Term Loans with an extended maturity date of
October 25, 2023, which pay interest entirely in cash, and $1,046.7 million outstanding of term loans
with an extended maturity date of October 25, 2023, which pay interest partially in cash and partially in
kind; (d) $561.7 million aggregate principal amount of 14.0% Second Lien Notes due 2024 (the “Second
Lien Notes”); (e) $730.5 million aggregate principal amount of 8.000% Senior Secured Third Lien Notes
due 2024 (the “8.000% Third Lien Notes”); (f) $497.8 million aggregate principal amount of 8.750%
Senior Secured Third Lien Notes due 2024 (the “8.750% Third Lien Notes” and, together with the
8.000% Third Lien Notes, the “Third Lien Notes”); (g) $80.7 million aggregate principal amount of
8.000% Senior Cash Pay Notes due 2021 (the “Unsecured Cash Pay Notes”); (h) $56.6 million aggregate
principal amount of 8.750%/9.500% Senior PIK Toggle Notes due 2021 (the “Unsecured PIK Toggle
Notes” and, together with the Unsecured Cash Pay Notes, the “Unsecured Notes”); and (i) $125.0 million
aggregate principal amount of 7.125% Senior Debentures due 2028. The following table summarizes the
Debtors’ outstanding funded-debt obligations as of the Petition Date:

                                                                                          Principal Amount
                                                                                             Outstanding
        Funded Debt                              Maturity Date        Interest Rate        (in thousands)
        Asset-Based Revolving Credit Facility    July 25, 2021           variable             $749,000
        FILO Facility                            July 25, 2021          variable              $100,000
        Cash Pay 2019 Term Loans                October 25, 2023        variable             $1,193,815       A
        Cash Pay/PIK 2019 Term Loans            October 25, 2023        variable             $1,046,687
                                                                                                              chart
                                                                                                              summ
        2013 Term Loans                         October 25, 2020        variable               $12,597
                                                                                                              arizin
        14.0% Second Lien Notes                                     8.0% cash / 6.0%                          g the
                                                 April 25, 2024                               $561,733
                                                                          PIK
                                                                                                              relati
        8.000% Third Lien Notes                 October 25, 2024         8.000%               $730,534
                                                                                                              ve
        8.750% Third Lien Notes                 October 25, 2024         8.750%               $497,849        priori
        8.000% Cash Pay Notes                   October 15, 2021         8.000%                $80,680        ties of
        8.750%/9.500% Senior PIK Toggle                                                                       vario
                                                October 15, 2021         8.750%                $56,584
        Notes                                                                                                 us
        7.125% Senior Debentures                  June 1, 2028           7.125%               $125,000        stake
        Total                                                                                $5,154,479       holde
                                                                                                              rs to
the collateral packages described below is attached as Exhibit G.

                  1.       The Asset-Based Revolving Credit Facility.

      The Debtors are party to that certain Credit Agreement, dated as of October 25, 2013 (as
amended, restated, amended and restated, supplemented, or otherwise modified from time to time, the


14214   In the event of any inconsistencies between the summaries set forth below and the provisions of the documents
    governing such prepetition debt, the provisions governing such prepetition debt, as applicable, shall control.




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“ABL Credit Agreement”), by and among NMG, as borrower, certain of the Debtors as co-borrowers
party thereto (together with NMG, the “ABL Borrowers”), Holdings, and certain of NMG’s current and
future, direct and indirect, wholly owned subsidiaries (the “ABL Subsidiary Guarantors”), as guarantors,
the FILO Facility lenders, Deutsche Bank AG New York Branch, as administrative agent and as
collateral agent, TPG Specialty Lending, Inc., as agent for the FILO Facility lenders, and the lenders
from time to time party thereto. The Asset-Based Revolving Credit Facility has a maximum committed
borrowing capacity of $900.0 million (subject to a borrowing base) and matures on July 25, 2021
(subject to the terms of the ABL Credit Agreement).

         The obligations under the Asset Based Revolving Credit Facility are secured by substantially all
of the assets of Holdings, the ABL Borrowers, and the ABL Subsidiary Guarantors, including a first
priority security interest in personal property consisting of inventory and related accounts, cash, deposit
accounts, all payments received by the ABL Borrowers or the ABL Subsidiary Guarantors from credit
card clearing houses and processors or otherwise in respect of all credit card charges for sales of
inventory by the ABL Borrowers and the ABL Subsidiary Guarantors, certain related assets and proceeds
of the foregoing (together, the “ABL Priority Collateral”).

         In addition, the obligations under the Asset-Based Revolving Credit Facility are secured by
certain other interests such as: (a) a fourth-priority pledge of 100 percent of NMG’s capital stock held by
Holdings, (b) a fourth-priority security interest on certain owned and leased real property and equipment,
(c) a fourth-priority security interest in Term Loan PropCo (as defined below), and (d) a fourth-priority
security interest in the Notes Priority Collateral (as defined below).

        As of the Petition Date, approximately $749.0 million in borrowings and approximately $9.3
million of letters of credit are outstanding under the Asset-Based Revolving Credit Facility, and there is
approximately $141.7 million of unused commitments. As of the Petition Date, there was extremely
limited availability under the Asset-Based Revolving Credit Facility.

                2.      The FILO Facility.

       The FILO Facility is governed by the ABL Credit Agreement and has a maximum committed
borrowing capacity of $100.0 million, subject to a borrowing base. The FILO Facility matures
concurrently with the Asset-Based Revolving Credit Facility on July 25, 2021 (subject to the terms of the
ABL Credit Agreement).

         As of the Petition Date, NMG had outstanding borrowings of $100.0 million under the FILO
Facility. All obligations under the FILO Facility are guaranteed by the same entities that guarantee the
Asset-Based Revolving Credit Facility and are secured by the same collateral as the Asset-Based
Revolving Credit Facility, but will be last-out in payment as set forth in the FILO Credit Agreement.

                3.      The Term Loan Facility.

         The Debtors are party to that Credit Agreement, dated as of October 23, 2013 (as amended,
restated, amended and restated, supplemented or otherwise modified from time to time), by and among
NMG, The Neiman Marcus Group LLC, and The NMG Subsidiary LLC, as borrowers (the “Term Loan
Borrowers”), Holdings and certain of NMG’s current and future subsidiaries, as guarantors (the “TL
Subsidiary Guarantors”), Credit Suisse AG, Cayman Islands Branch, as administrative agent and
collateral agent, and the lenders from time to time party thereto.

        All obligations under the Term Loan Facility, and the guarantees of those obligations, are
secured by substantially all of the assets of Holdings, the Term Loan Borrowers, and the TL Subsidiary
Guarantors, including (a) a first-priority security interest in, and mortgages on, a significant portion of
NMG’s owned real property and equipment and substantially all other tangible and intangible assets of


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the Term Loan Borrowers, Holdings, and certain subsidiary guarantors (the “Original Term Loan Priority
Collateral”); (b) a second priority security interest in the ABL Priority Collateral; and (c) solely with
respect to the 2019 Term Loans, (i) a first priority security interest in certain future foreign assets,
intercompany debt, and certain additional equity interests of new subsidiary guarantors, (ii) a first-
priority security interest in, and mortgages on, certain of the borrowers’ and any subsidiary guarantors’
owned real estate interests, real estate leasehold interests, and other real property interests (“2019 Term
Loan Priority Real Estate Collateral”), (iii) a first-priority security interest in the equity interests of NMG
Term Loan PropCo LLC, a special purpose entity that is a subsidiary of NMG (the “Term Loan PropCo”)
formed solely to hold certain real estate leases that cannot be mortgaged directly to secure the 2019 Term
Loans under the Term Loan Facility (the collateral described in the foregoing subclauses (i), (ii), and
(iii), together with the Original Term Loan Priority Collateral, collectively, the “Term Loan Priority
Collateral”), and (iv) a third-priority security interest in the Notes Priority Collateral.

        As of the Petition Date, the outstanding balance under the Term Loan Facility was $2,253.1
million comprised of (a) $12.6 million outstanding of stub term loans with the original maturity date of
October 25, 2020 (the “2013 Term Loans”), (b) $1,193.8 million outstanding of term loans with an
extended maturity date of October 25, 2023 which pay interest entirely in cash (the “Cash Pay 2019 Term
Loans”), and (c) $1,046.7 million outstanding of term loans with an extended maturity date of October
25, 2023 which pay interest partially in cash and partially in kind (the “Cash Pay/PIK 2019 Term Loans”
and, together with the Cash Pay 2019 Term Loans, the “2019 Term Loans,” and together with the 2013
Term Loans, the “Term Loans”).

                 4.      The Second Lien Notes.

         In connection with the Recapitalization Transactions (as defined below), NMG, The Neiman
Marcus Group LLC, Mariposa Borrower, Inc., and The NMG Subsidiary LLC (collectively, the “Notes
Issuers”) issued $550.0 million aggregate principal amount of Second Lien Notes under the Indenture,
dated June 7, 2019 (as amended, restated, amended and restated, supplemented, or otherwise modified
from time to time), with the Notes Issuers, as issuers, Ankura Trust Company, LLC, as trustee and notes
collateral agent, and certain of the Debtors as guarantors.

         The Second Lien Notes and related guarantees are secured by collateral that includes (a) a
second-priority security interest in the Original Term Loan Priority Collateral and the Term Loan Priority
Collateral, (b) a second priority interest in certain previously unencumbered real estate related to certain
full line Neiman Marcus stores (the “Notes Priority Real Estate Collateral”) mortgageable to the
collateral agent, and the equity interests of a special purpose entity and subsidiary of NMG (“Notes
PropCo”) formed to hold certain real estate leases that cannot be mortgaged directly to the collateral
agent (together, the “Notes Priority Collateral”) (subject to a cap on recovery equal to $200.0 million less
any amounts recovered against those assets by holders of the Third Lien Notes issued in connection with
the Recapitalization Transactions (as defined below)), (c) a third-priority security interest in the ABL
Priority Collateral, and (d) a senior secured guarantee of up to $200.0 million by three holding companies
of the MyTheresa Operating Companies—non-debtors MYT Holding Co., MYT Intermediate Holding
Co., and MYT Netherlands Parent B.V.—and a first priority pledge of the assets of such guarantors
subject to customary exceptions (the “Limited Guarantee Collateral”).

        As of the Petition Date, $561.7 million in aggregate principal amount of Second Lien Notes
remains outstanding. The Second Lien Notes mature on April 25, 2024 and require semiannual coupon
payments of 8.0% cash interest and 6.0% PIK interest on April 15 and October 15. The Debtors did not
pay the coupon payment due on April 15, 2020.




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                 5.      The Third Lien Notes.

         In connection with the Recapitalization Transactions (as defined below), the Notes Issuers issued
(a) approximately $730.5 million aggregate principal amount of 8.000% Third Lien Notes under the
Indenture, dated June 7, 2019 (as amended, restated, amended and restated, supplemented, or otherwise
modified from time to time), with the Notes Issuers, as issuers, Wilmington Trust, National Association,
as trustee and notes collateral agent, and certain of the Debtors as guarantors, and (b) approximately
$497.8 million aggregate principal amount of 8.750% Third Lien Notes under the Indenture, dated June
7, 2019, with the Notes Issuers, as issuers, Wilmington Trust, National Association, as trustee and notes
collateral agent, and certain of the Debtors as guarantors. Interest on the Third Lien Notes is payable
semiannually in arrears on April 15 and October 15. The Third Lien Notes mature on October 25, 2024.
The Debtors did not pay the coupon payment due on April 15, 2020.

         The Third Lien Notes are secured by collateral that includes (a) a first-priority security interest in
the Notes Priority Collateral (subject to a cap on recovery equal to $200.0 million), (b) a third-priority
security interest in the Original Term Loan Priority Collateral and the Term Loan Priority Collateral, (c)
a first priority pledge of 50 percent of the common equity interests of non-debtor MYT Holding Co., a
holding company of the MyTheresa business, and (d) a fourth priority security interest in the ABL
Priority Collateral. In addition, the Third Lien Notes are guaranteed, subject to certain exceptions, by
each of NMG’s current and future domestic subsidiaries and future foreign subsidiaries on a senior
secured basis.

                 6.      The Unsecured Notes.

         On October 21, 2013, NMG and Mariposa Borrower, Inc. issued $960 million aggregate
principal amount of Unsecured Cash Pay Notes under the Indenture, dated October 21, 2013 (as
amended, restated, amended and restated, supplemented, or otherwise modified from time to time), with
UMB Bank, N.A. (as successor to U.S. Bank, N.A. and Drivetrain Trust Company LLC), as trustee. As
of the Petition Date, the outstanding balance under the Unsecured Cash Pay Notes was $80.7 million.
Interest on the Unsecured Cash Pay Notes is payable semi-annually in arrears on each April 15 and
October 15. The Unsecured Cash Pay Notes mature on October 15, 2021 and are guaranteed by the same
entities that guarantee the Third Lien Notes. The Debtors did not pay the coupon payment due on April
15, 2020.

        On October 21, 2013, NMG and Mariposa Borrower, Inc. issued $600 million aggregate
principal amount of Unsecured PIK Toggle Notes under the Indenture, dated October 21, 2013 (as
amended, restated, amended and restated, supplemented, or otherwise modified from time to time), with
NMG as issuer, Mariposa Borrower, Inc., as co-issuer, certain Debtors, as guarantors, and UMB Bank,
N.A. (as successor to U.S. Bank, N.A. and Drivetrain Trust Company LLC) as trustee. As of the Petition
Date, the outstanding balance under the Unsecured PIK Toggle Notes was $56.6 million. Interest on the
Unsecured PIK Toggle Notes is payable semi-annually in arrears on each April 15 and October 15. The
Unsecured PIK Toggle Notes mature on October 15, 2021 and are guaranteed by the same entities that
guarantee the Third Lien Notes. The Debtors did not pay the coupon payment due on April 15, 2020.

                 7.      The 2028 Debentures.

        On May 27, 1998, the Neiman Marcus Group LLC issued $125.0 million aggregate principal
amount of 2028 Debentures under the Indenture, dated May 27, 1998 (as amended, restated, amended
and restated, supplemented, or otherwise modified from time to time), with Wilmington Savings Fund
Society, FSB (as successor to The Bank of New York Mellon Trust Company), as trustee. The 2028
Debentures mature on June 1, 2028.




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        The 2028 Debentures are secured by “equal and ratable” liens on certain owned real estate
properties, real estate ground leases, and real estate operating leases of NMG and on shares of capital
stock and indebtedness of certain NMG’s subsidiaries, in each case pari passu with the 2019 Term Loans.
The 2028 Debentures are guaranteed on a senior basis by NMG, Term Loan PropCo, and Notes PropCo.
The guarantees are full and unconditional. The 2028 Debentures are not otherwise guaranteed by any of
The Neiman Marcus Group LLC’s subsidiaries.

                8.       Preferred Stock of Non-Debtor MyTheresa Holding Co.

        In connection with the Recapitalization Transactions (as defined below), Parent formed three
new Delaware subsidiaries (the “MyTheresa Holding Companies”) and contributed the MyTheresa
Operating Companies to the MyTheresa Holding Companies. Further, validly tendered Unsecured Notes
were exchanged for aggregate consideration consisting of new Third Lien Notes and the MYT Series A
Preferred Stock. In addition, MYT Holding Co. issued the MYT Series B Preferred Stock to its direct
parent and a MyTheresa Holding Company, MYT Parent Co.

VII.     EVENTS LEADING TO THE CHAPTER 11 FILINGS

         A.     The Unprecedented Spread Of COVID And Store Closures Results In Neiman
                Marcus Preparing for A Chapter 11 Filing

         Between the Distribution in September 2018 and March 2020, the Debtors made all of their
regularly scheduled debt payments as they came due—a total of nearly $550 million—and were on track
to meet or exceed all of their budget, earnings, and savings targets for the fiscal year ending in July 2020.
The Debtors also had posted comparable store sales growth for seven of the ten previous quarters and
significantly expanded gross margins during the last holiday season in line with its goal of profitable and
sustainable growth.

        All of that progress came to a halt in March, as governments in the United States and throughout
the world imposed quarantines, social distancing protocols, and shelter-in-place orders in response to
COVID-19. On March 18, 2020, the Debtors voluntarily closed all of their stores to protect the health
and safety of NMG’s customers and employees and dramatically reduced supply chain operations.

        With the unexpected temporary closure of all of NMG’s brick-and-mortar locations, the Debtors
experienced an immediate reduction in cash flow of approximately 65–75%. The Debtors implemented a
number of strategies to address the capital structure and liquidity challenges, including furloughing
80–90% of their employees, eliminating or deferring most capital expense projects, limiting cash
disbursements and new inventory, reducing employee salaries and wages company-wide, and seeking
concessions from brand partners and landlords. Almost all stores have subsequently opened.

                1.       Landlord Engagement.

         Strong relationships with the Debtors’ landlords will be critical to the Debtors’ success during
these Chapter 11 Cases. Prior to the Petition Date, NMG engaged in fruitful rent relief negotiations with
its landlords.

        NMG and its advisors contacted nearly all of NMG’s landlords to discuss potential postpetition
rent concessions and other relief on a landlord-by-landlord basis. NMG’s landlords were generally
supportive and responsive, and NMG reached several agreements in principle, representing millions of
dollars in rent deferrals in April, May, and June 2020. The Debtors have continued to discuss rent
deferrals, rent concessions, and other forms of relief during these Chapter 11 Cases and will continue to
do so.



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                2.      Furlough Program.

         Due to the unprecedented and unforeseen disruption to the Debtors’ business caused by
COVID-19, the Debtors made the incredibly difficult decision to implement temporary salary reductions
and both partial and full furloughs that will affect nearly all of the Debtors’ employees (the “Furlough
Program”). While the Debtors initially maintained wages and salaries for their employees, effective
April 5, 2020, the Debtors placed approximately 11,282 full- and part-time employees on temporary
furlough (the “Furloughed Employees”) and reduced the salaries of all non-furloughed exempt
employees. The Debtors committed to a 60-day Furlough Program, although ongoing developments
concerning COVID-19 and related governmental actions remain highly uncertain and may lead to
extensions. During the duration of the Furlough Program, Furloughed Employees will remain on unpaid
leave unless otherwise scheduled to work, but will remain eligible to participate in any health benefits
programs in which such Furloughed Employees are currently enrolled. The Debtors will also maintain
approximately 2,208 active employees to maintain the Debtors’ limited business operations. The Debtors
anticipate that the Furloughed Employees will return to work once the public health crisis subsides.

        B.      Restructuring Support Agreement and DIP Financing, and Exit Facility.

                1.      Restructuring Support Agreement.

        The Restructuring Support Agreement contemplates a comprehensive reorganization achieved
through the Plan (as defined below) that will result in a substantial deleveraging of the Debtors’ balance
sheet by as much as $4 billion and provide the Debtors with $750 million of fully-committed new capital.

        Pursuant to the Restructuring Support Agreement, the Plan is intended to minimize any potential
adverse effects to the Debtors’ businesses, customers, and trade partners as a result of the restructuring,
and will position the Debtors for a timely emergence from bankruptcy.

                2.      DIP Financing.

         In response to the outbreak of COVID-19, since March 2020, the Debtors, in consultation with
their advisors, Lazard, BRG, and Kirkland, reviewed and evaluated potential financing alternatives and
cash requirements necessary to operate their businesses as a going concern. The Debtors concluded that
an out of court restructuring was not viable and that current cash was insufficient for the Debtors to
operate during these Chapter 11 Cases. Given these conclusions, and the Debtors’ work with their
advisors, the Debtors determined that procuring sufficient financing at the start of these cases would be
essential to fund its operating costs, its working capital needs, and these Chapter 11 Cases. The Debtors
further determined that this financing was needed to pursue a value maximizing restructuring for the
benefit of the Debtors’ stakeholders. The Debtors’ DIP budget forecasting also analyzes the effect of
various COVID-19 scenarios impacting, among other things, (i) the timing of reopening stores, (ii) the
potential shut down of the Debtors’ e commerce operations, and (iii) various recovery trajectories. Based
on those discussions, the Debtors, together with their advisors, determined that they require immediate
access to DIP financing to fund the costs of administering these Chapter 11 Cases, near term working
capital needs, and ongoing business operations.

        The Debtors looked for financing from sources within their existing capital structure as well as
third parties. No third-party lender provided the Debtors with a proposed out-of-court or postpetition
financing facility that was executable. As early as March 25, 2020, the Term Loan Lender Group
engaged with the Debtors regarding potential postpetition financing. In addition, after several rounds of
hard fought negotiations, the Term Loan Lender Group and Noteholder Group reached an agreement that
provided for an additional $50 million in liquidity under the DIP Facility and would allow the Noteholder
Group to backstop a portion of the DIP Facility.



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         After extensive, arm’s length negotiations with the Term Loan Lender Group and the Noteholder
Group, and as noted in the Debtors’ motion seeking authorization to enter into the DIP Facility on an
interim and final basis [Docket No. 104], the Debtors were able to secure the proposed $675 million DIP
Facility, open to all Prepetition Term Loan Lenders, and, after further negotiations, to the holders of the
Second and Third Lien Notes, backstopped by the Term Loan Lender Group and the Noteholder Group.
The DIP Facility is secured by a perfected first priming lien on substantially all of the Debtors’ assets
except for a second lien on the collateral of the lenders under the ABL Facility (the “ABL Lenders”). As
such, the DIP Facility does not purport to prime the ABL Lenders’ collateral. The Prepetition Term Loan
Lenders and the holders of the Third Lien Notes, Second Lien Notes, and 2028 Debentures have
consented to granting a priming lien on their collateral.

                3.      Committed Exit Facility.

         Concurrently with the negotiations regarding the DIP Facility, the Debtors and their advisors
engaged in good faith, arm’s length negotiations with the same group of creditors that agreed to provide
the DIP Facility, namely the Term Loan Lender Group and the Noteholder Group, on a $750 million Exit
Facility, backstopped by the Term Loan Lender Group (excluding the holders of the 2028 Debentures)
and the Noteholder Group, which is necessary to ensure the successful restructuring of the Debtors,
especially since the long term implications of COVID-19 are still unknown.

VIII.   MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE CHAPTER 11
        CASES

        A.      Expected Timetable of the Chapter 11 Cases.

        The Restructuring Support Agreement contains certain milestones in relation to the Chapter 11
Cases that apply unless extended or waived in writing. The Debtors intend to move as quickly to comply
with the remaining milestones, including:

        •    confirmation of a chapter 11 plan by September 4, 2020; and

        •    emergence from chapter 11 by December 3, 2020.

         Should the Debtors’ projected timelines prove accurate, and consistent with certain milestones
set forth in the Restructuring Support Agreement, the Debtors could emerge from chapter 11 within 210
days of the Petition Date (which is December 3, 2020) and still maintain access to the DIP Facility. No
assurances can be made, however, that the Court will enter various orders on the timetable
anticipated by the Debtors or that certain conditions precedent to the Effective Date will have
occurred by the outside date under the Restructuring Support Agreement.

        B.      Corporate Structure upon Emergence.

         Except as otherwise provided in the Plan or the Description of Transaction Steps, each Debtor
shall continue to exist after the Effective Date as a separate corporate Entity, limited liability company,
partnership, or other form, as the case may be, with all the powers of a corporation, limited liability
company, partnership, or other form, as the case may be, pursuant to the applicable law in the jurisdiction
in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to
the extent such certificate of incorporation and by-laws (or other formation documents) are amended
under the Plan or otherwise, and to the extent such documents are amended, such documents are deemed
to be amended pursuant to the Plan and require no further action or approval (other than any requisite
filings required under applicable state, provincial, or federal law).



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        C.       First/Second Day Relief.

         On the Petition Date, along with their voluntary petitions for relief under chapter 11 of
the Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”)
requesting various types of relief which were approved by the Court. The relief granted enabled the
Debtors to preserve value and efficiently administer the Chapter 11 Cases, including, among other things:
(a) an order authorizing the Debtors to obtain postpetition financing and use cash collateral during the
Chapter 11 Cases, and granting certain adequate protection to certain secured parties; (b) an order
authorizing the Debtors to continue using their existing cash management system, honor certain
prepetition obligations related thereto, maintain existing business forms, and continue to perform
intercompany transactions; (c) an order authorizing the Debtors to pay certain prepetition taxes and fees;
(d) an order authorizing the Debtors to pay their obligations under insurance policies entered into
prepetition, continue paying brokerage fees, honor the terms of their premium financing agreement and
pay premiums thereunder, enter into new premium financing agreements in the ordinary course of
business, and renew, supplement, modify, and purchase insurance coverage in the ordinary course of
business; (e) an order authorizing the Debtors to maintain the surety bond program, entering into and
performing under any other agreements related to the surety bond program, and paying any prepetition or
postpetition obligations related to the surety bond program, including any amounts owed on account of
brokerage fees; (f) an order granting authority to pay employees’ wage Claims and related obligations in
the ordinary course of business and continue certain employee benefit programs; (f) an order authorizing
the Debtors to make payment on account of prepetition Claims of certain critical vendors, lien claimants,
customs and regulatory claimants, and 503(b)(9) claimants; (g) an order approving procedures for, among
other things, determining adequate assurance for utility providers, prohibiting utility providers from
altering, refusing, or discontinuing services, and determining that the Debtors are not required to provide
additional adequate assurance; (h) an order authorizing the Debtors to continue administer the customer
programs and charity donation programs, and satisfy prepetition obligations related thereto; and (i) an
order authorizing the Debtors to retain Stretto1315 as claims, noticing, and solicitation agent.

        On June 2, 2020, the Debtors held their second day hearing before the Bankruptcy Court. At the
second day hearing, the Bankruptcy Court granted certain of the relief requested under the First Day
Motions on a final basis, including approving procedures for, among other things, determining adequate
assurance for utility providers, authority for the Debtors to continue using their existing cash
management system, authority to pay certain trade claimants, and authority to use cash collateral.

         A brief description of each of the First Day Motions and the evidence in support thereof is set
forth in the First Day Declaration, filed on the Petition Date. The First Day Motions, and all orders for
relief granted in the Chapter 11 Cases, can be viewed free of charge at https://cases.stretto.com/NMG/.

         D.      Approval of the DIP Facility.

        Based on the Debtors’ need for debtor-in-possession financing and their conclusion that the DIP
Facility represents the best terms available, the Debtors filed a motion on the Petition Date seeking
authorization to enter into the DIP Facility on an interim and final basis (the “DIP Motion”). On May
8 2020, the Court approved the DIP Motion on an interim basis [Docket No. 284]. On June 16, 2020, the
Court approved the DIP Motion on a final basis [Docket No. 850].




15315   “Stretto” is the trade name of Bankruptcy Management Solutions, Inc., and its subsidiaries.




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         E.      Other Procedural and Administrative Motions.

        The Debtors also filed several other motions subsequent to the Petition Date to further facilitate
the smooth and efficient administration of the Chapter 11 Cases and reduce the administrative burdens
associated therewith, including:

        •     Ordinary Course Professionals Motion. On June 2, 2020, the Debtors filed the Debtors’
              Motion for Entry of an Order Authorizing the Retention and Compensation of Certain
              Professionals Utilized in the Ordinary Course of Business [Docket No. 740] (the “OCP
              Motion”). The OCP Motion sought to establish procedures for the retention and
              compensation of certain professionals utilized by the Debtors in the ordinary course
              operation of their businesses. On June 25, 2020, the Court approved the OCP Motion
              [Docket No. 1009].

        •     Interim Compensation Motion. On June 3, 2020, the Debtors filed the Debtors’ Motion for
              Entry of an Order Establishing Procedures for Interim Compensation and Reimbursement of
              Expenses for Professionals [Docket No. 749] (the “Interim Compensation Motion”).
              The Interim Compensation Motion sought to establish procedures for the allowance and
              payment of compensation and reimbursement of expenses for attorneys and other
              professionals whose retentions are approved by the Bankruptcy Court pursuant to sections
              327 or 1103 of the Bankruptcy Code and who will be required to file applications for
              allowance of compensation and reimbursement of expenses pursuant to sections 330 and 331
              of the Bankruptcy Code. On June 26, 2020, the Court approved the Interim Compensation
              Motion [Docket No. 1070].

         F.      Retention of the Debtors’ Professionals.

        To assist the Debtors in carrying out their duties as debtors-in-possession and to otherwise
represent the Debtors’ interests in the Chapter 11 Cases, on June 3-4, 2020, the Debtors filed applications
requesting that the Court authorize the Debtors to retain and employ the following advisors pursuant to
sections 327 and 328 of the Bankruptcy Code: (a) Kirkland & Ellis LLP as counsel to the Debtors
[Docket No. 748]; (b) Jackson Walker LLP as co-counsel to the Debtors [Docket No. 750]; (c) Lazard
Frères & Co. LLC, Inc. as investment banker to the Debtors [Docket No. 762]; (d) Berkeley Research
Group, LLC to provide the Debtors a Chief Restructuring Officer and certain additional personnel
[Docket No. 751]; (e) Katten Muchin Rosenman LLP as counsel to Holdings at the sole direction of
Anthony Horton as disinterested manager of Holdings [Docket No. 765]; and (f) Willkie Farr &
Gallagher LLP as counsel to NMG LTD LLC at the sole direction of Scott Vogel as the disinterested
manager of NMG LTD LLC [Docket No. 763]. On June 26, 2020, the Debtors filed an application
requesting that the Court authorize the Debtors to retain and employ Alvarez & Marsal North America,
LLC, as financial advisors to NMG LTD LLC at the sole direction of Scott Vogel as the disinterested
manager of NMG LTD LLC, pursuant to sections 327 and 328 of the Bankruptcy Code [Docket No.
1050]. On June 25-26, 2020, the Court approved the retention of the following advisors: (a) Kirkland &
Ellis LLP [Docket No. 1071]; (b) Jackson Walker LLP [Docket No. 750]; and (c) Berkeley Research
Group, LLC [Docket No. 1072]. On July 7-8, 2020, the Court approved the retention of the following
advisors: (a) Katten Muchin Rosenman LLP [Docket No. 1156]; (b) Willkie Farr & Gallagher LLP
[Docket No. 1132]; and (c) Alvarez & Marsal North America, LLC [Docket No. 1131]. On July 16,
2020, the Court approved the retention of Lazard Frères & Co. LLC [Docket No. 1224].

         G.      Schedules of Assets and Liabilities and Statements of Financial Affairs.

       On the Petition Date, the Debtors filed the Debtors’ Emergency Motion for Entry of an Order
Extending Time to File Schedules of Assets and Liabilities, Schedules of Current Income and


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Expenditures, Schedules of Executory Contracts and Unexpired Leases, and Statements of Financial
Affairs [Docket No. 10] seeking an extension of the time within which the Debtors must file their
schedules of assets and liabilities and statements of financial affairs (collectively, the “Schedules”) until
June 19, 2020 for a total of 44 days from the Petition Date, which the Court granted on May 8, 2020
[Docket No. 240]. The Debtors filed their Schedules on June 19, 2020.

         H.     Establishment of a Claims Bar Date.

         As described more fully in Article III.K of this Disclosure Statement, on June 25, 2020, the
Bankruptcy Court entered the Bar Date Order setting the Bar Date by which the entities holding Claims
against the Debtors that arose (or that are deemed to have arisen) prior to the Petition Date (including,
without limitation, Class 10: General Unsecured Claims) must file proofs of claim. The Bar Date Order
establishes July 20, 2020 as the general claims bar date and November 3, 2020 as the governmental
claims bar date. Any party required to file a proof of claim under the Bar Date Order that failed to do so
before the applicable bar date will be forever barred, estopped, and enjoined from asserting such claim
against the Debtors and the Debtors will be forever discharged from any indebtedness or liability relating
to such claim. Such party will not be permitted to vote to accept or reject the Plan or receive any
recovery under the Plan.

         I.     Store Closing Process.

        On July 3, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Authorizing and
Approving the Conduct of Store Closing Sales, with Such Sales to be Free and Clear of all Liens, Claims,
and Encumbrances, and (III) Granting Related Relief [Docket No. 1115] (the “Store Closing Motion”)
seeking to implement a key component of their restructuring strategy and optimize their operations by
closing underperforming or geographically less desirable stores, or stores that no longer align with the
Debtors’ go-forward business plan. The Store Closing Motion is scheduled to be heard before the Court
on July 27, 2020. Pursuant to the Store Closing Motion, the Debtors seek to conduct store closing
procedures at seventeen (17) Last Call stores. The Debtors also seek authority to conduct store closing
procedures at additional stores after notice and, if necessary, a hearing.

        The Debtors continue to evaluate their approximately 59 additional stores and leases to
determine whether or not to assume or reject Unexpired Leases, continue store operations, or conduct
real property sales. The Debtors are in the middle of negotiations with many of their landlords regarding
the terms of the Debtors’ Unexpired Leases in an effort to procure favorable lease terms such that stores
can continue to operate. The Debtors believe that these negotiations have generally been successful, and
the resulting savings will accrue to the benefit of the Debtors’ estates and improve the profitability of the
Debtors as a going-concern.

         J.     Appointment of the Creditors Committee.

        On May 19, 2020, the United States Trustee for the Southern District of Texas (the “United
States Trustee”) filed the Notice of Appointment of Committee of Unsecured Creditors [Docket No. 455]
notifying parties in interest that the United States Trustee had appointed a statutory committee of
unsecured creditors (the “Creditors Committee”) in the Chapter 11 Cases. The Creditors Committee is
currently composed of the following members: Wilmington Trust, National Association, Pension Benefit
Guaranty Corporation, UMB Bank, N.A., Marble Ridge Capital LP, on behalf of Marble Ridge Master
Fund LP, Simon Property Group, Inc., Chanel, Inc., Kering Americas, Inc., Estée Lauder Companies, and
Ebates Performance Marketing, Inc. The Creditors Committee has retained Pachulski Stang Ziehl &
Jones as its legal counsel and MIII Partners, LLC as its financial advisor.




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         K.       The Debtors Appoint Disinterested Managers With Independent Advisors To
                  Investigate Potential Estate Claims, And The Creditors Committee And The
                  Disinterested Managers Proceed With Their Investigations

        Since 2013, the Debtors have conducted their businesses through member-managed LLCs as
discussed above. The top member of the Neiman Marcus organization is non-debtor NMG Inc., which
has a board of directors.

        In April 2020, in anticipation of a Chapter 11 filing, the NMG Inc. board unanimously agreed to
modify the LLC agreements of Mariposa Holdings and NMG LTD LLC to create Boards of Managers at
those entities that would control the Debtors’ businesses, including making all decisions with respect to
these chapter 11 cases. Neiman Marcus’ CEO, Geoffroy van Raemdonck, sits on both Boards of
Managers along with one Disinterested Manager at Holdings (Anthony Horton) and one at NMG LTD
LLC (Scott Vogel). No representative of the Sponsors sits on either Board of Managers.

        Each of the Boards of Managers executed a full delegation of authority to the Disinterested
Managers to determine in their sole judgment whether a conflict exists with respect to any issue in
connection with the Debtors’ chapter 11 cases. To the extent the Disinterested Managers determine there
is a conflict, the Disinterested Managers have full authority to assess and act upon the conflict matter.
Since its appointment, the Creditors Committee also began its own investigation of the Designation,
PropCo Transaction, Distribution and Recapitalization Transactions.

        Since the Disinterested Managers and the Creditors Committee began their investigations (each
with their own legal counsel and financial advisors), the Debtors have produced more than 76,000
documents to the Disinterested Managers and the Creditors Committee. The Sponsors, Lazard and Duff
& Phelps have produced more than 20,000 additional documents. To date, the Creditors Committee and
the Disinterested Managers have deposed ten witnesses: four Debtor witnesses (three of whom were
involved in preparing the solvency analysis and the Debtors’ 30(b)(6) representative, its current Chief
Financial Officer), two corporate representatives of Lazard, NMG Inc. independent board member
Norman Axelrod, Ares’ corporate representative and NMG Inc. board member Dennis Gies, the former
chairman of the NMG Inc. board and Ares co-founder David Kaplan, and CPPIB’s corporate
representative and NMG Inc. board member Cesare Ruggiero. Additional depositions are scheduled in
July and August.

                 1.      Disinterested Manager Investigation.

         Mr. Vogel has conducted his investigation (the “Disinterested Manager Investigation”) with
alacrity to ensure that the disputes related to the MyT Transactions do not delay the Debtors’ ability to
timely exit from these chapter 11 cases. Among other things, as part of the Disinterested Manager
Investigation, Mr. Vogel (with his advisors at Willkie and A&M) has:

        •     reviewed over 80,000 documents from, among others, the Debtors and their advisors; the
              Sponsors; and Parent;

        •     in close coordination with counsel to the Committee, deposed ten representatives and
              financial advisors of those entities, with additional depositions scheduled to occur;

        •     analyzed financial issues relevant to the Disinterested Manager Investigation, including
              whether the Company was insolvent at the time of the Distribution; and




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        •   analyzed legal issues relevant to the Disinterested Manager Investigation, including potential
            claims and related recoveries the estates might obtain through litigation.

        Based on the work completed to date, Mr. Vogel concluded that there is a strong possibility that
the Company was insolvent at the time of the Distribution, and therefore that the releases in favor of the
Parent, directors and officers, and the Sponsors set forth in the Plan should only be granted to the extent
substantial additional value is provided to the Debtors on account of the Distribution. As part of the
Disinterested Manager Investigation, Mr. Vogel identified several potential claims belonging to the estate
based on information obtained in the Disinterested Manager Investigation. Mr. Vogel’s views on those
claims, based on the substantial discovery taken to date, are described generally below.

                         (a)     The Estate Likely Has a Viable Constructive Fraudulent Conveyance
                                 Claim Against NMG Inc.

         A prepetition transaction dispensing of a debtor’s assets may constitute a fraudulent conveyance
if (a) the debtor received less than reasonably equivalent value in exchange for the asset, and (b) the
debtor was insolvent at the time of such transfer or became insolvent as a result of the transfer. As noted
above, the Distribution was structured as a dividend, and therefore the Debtors received no value in
exchange for the MyT Interests. The issue of solvency is the primary dispute in these cases.

        Based on analyses performed by A&M and the discovery obtained thus far as part of the
Disinterested Manager Investigation, Mr. Vogel believes that a court of competent jurisdiction likely
would conclude that the Company was insolvent at the time of the Distribution.

                         (b)     Claims Against NMG Inc., its Directors and Officers, and the Sponsors

        Mr. Vogel is continuing to investigate the viability of a substantial number of additional claims
arising out of the MyT Transactions that could be asserted against NMG Inc., its directors and officers,
the Sponsors, and the parties’ respective representatives.

        Potential claims against NMG Inc. include actual fraudulent conveyance, unjust enrichment,
unlawful dividend, and aiding and abetting breach of fiduciary duty claims. With respect to the directors
and officers of NMG Inc., potential claims against them include breach of fiduciary duty, unlawful
dividends, and aiding and abetting breaches of fiduciary duty. Claims against the Sponsors could include
aiding and abetting breach of fiduciary duty, civil conspiracy to breach fiduciary duty, civil conspiracy to
defraud, civil conspiracy to commit fraudulent transfer, aiding and abetting fraudulent transfer, and
unjust enrichment.

        Mr. Vogel believes that the appropriate remedy for any and all of the MyT Claims should be
measured in accordance with section 550 of the Bankruptcy Code. Section 550 provides that upon a
finding of a successful fraudulent transfer claim, “the trustee may recover, for the benefit of the estate,
the property transferred, or, if the court so orders, the value of such property.” 11 U.S.C. § 550(a).
Accordingly, whether the estates pursue a constructive fraudulent conveyance action or a multitude of
claims against a variety of defendants, Mr. Vogel does not believe the evidence adduced in discovery
would support damages in excess of the value of the property transferred.

                2.       Committee Investigation

        Since late May 2020, the Creditors Committee has conducted an investigation (the “Committee
Investigation”) regarding the estates’ potential claims against NMG Inc., the Sponsors, and their
respective non-Debtor affiliates, board members, and representatives (excluding officers running the
business, the “Litigation Targets”). As part of the Committee Investigation, the Creditors Committee and



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its expert valuation consultant, The Michel-Shaked Group, have reviewed hundreds of thousands of
pages of documents by the Litigation Targets and their professionals and conducted numerous
depositions of relevant witnesses.

         On July 17, 2020, the Creditors Committee filed with the Bankruptcy Court (i) the Preliminary
Report of the Official Committee of Unsecured Creditors Regarding the Bankruptcy Estates’ Litigation
Claims Against Neiman Marcus Group, Inc., the Sponsors and Directors of Neiman Marcus Group, Inc.,
and Other Parties (the “Preliminary Report”); (ii) the Appendix to the Preliminary Report of the Official
Committee of Unsecured Creditors Regarding the Bankruptcy Estates’ Litigation Claims Against Neiman
Marcus Group, Inc., the Sponsors and Directors of Neiman Marcus Group, Inc., and Other Parties
(the “Appendix”); (iii) the Initial Expert Report of The Michel-Shaked Group (the “Expert Report”); and
(iv) the Executive Summary to the Expert Report (the “Expert Summary,” and, together with the
Preliminary Report, Appendix, and Expert Report, the “Reports”). Based on the Committee Investigation
to date and as outlined in detail in the Reports, the Creditors Committee has reached the conclusion that
the Designation and/or Distribution of MyTheresa gave rise to, among other potential actionable claims,
actionable claims for: (1) constructive fraudulent transfer claims, (2) intentional fraudulent transfer
claims, and (3) breach of fiduciary duty claims against the Debtors’ member-managers and the directors
of the Parent.



           L.      Disinterested Manager Settlement

        The disinterested manager of NMG LTD, Mr. Vogel, with the assistance of counsel and advisors,
has undertaken an investigation into potential conflict matters and potential estate claims, and causes of
action. As a result of his investigation, Mr. Vogel determined that he could not support the releases of
certain equityholders of the Debtors absent fair consideration on account of the release of estate claims
and causes of action with respect such parties. Mr. Vogel spent several weeks negotiating at arms’ length
with the Sponsors, the Creditors Committee, and the Term Loan Lenders. Mr. Horton, in connection
with his ongoing investigation, has been kept apprised on a real-time basis of such settlement
negotiations.

         Ultimately, after several rounds of negotiation, Mr. Vogel, on behalf of the Debtors, the
Consenting Sponsors, and the Consenting Term Loan Lenders[, and the Creditors Committee] 14 reached
a settlement on account of the potential estate claims and causes of action against the Consenting Parent
and the Sponsors (the “Disinterested Manager Settlement”) that Mr. Vogel believes is fair, reasonable,
and in the best interests of creditors. Pursuant to the Disinterested Manager Settlement, the Consenting
Parent and the Consenting Sponsors will agree to return to the Debtors, for distribution to Holders of
Allowed General Unsecured Claims in accordance with the treatment provided to Classes 10 and 11 in
the Plan, 140 million shares (56% of the total shares) of MYT Series B Preferred Stock. Additionally,
the Consenting Term Loan Lenders will agree that the Reorganized Debtors will contribute $10 million
of Cash for distribution to Holders of General Unsecured Claims in accordance with the treatment
provided to Classes 10 and 11 in the Plan. And the Plan has been modified to incorporate an effective
waiver of the Deficiency Claims that may be asserted by Holders of 2019 Term Loan Claims, 2013 Term
Loan Claims, 2028 Debenture Claims, Second Lien Notes Claims, and Third Lien Notes Claims, that
would otherwise be significantly dilutive to recoveries of Holders of Allowed General Unsecured


14   [The Debtors are awaiting confirmation of the support of the Creditors Committee and statements regarding support and
     conditionality are anticipated to be made on the record of the Disclosure Statement Hearing. The Disclosure Statement will
     be modified accordingly prior to solicitation.]




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Claims. The Creditors Committee supports the Disinterested Manager Settlement. The Creditors
Committee’s support of the Plan is conditioned upon: (i) the Sponsors, Consenting 2L Parties and
Consenting 3L Parties agreeing on the general terms of the New MyT Documents, including the 2L MyT
Distribution and the 3L MyT Distribution; (ii) the amendment of documents relating to the MYT Series
B Preferred Stock to provide the same mandatory redemption, ranking, change of control, reporting,
monetization opportunity (at the appropriate level of the MYT waterfall) and other protections consistent
with the MYT Series A Preferred Stock; and (iii) the final documentation implementing the Plan being
satisfactory to the Creditors Committee. The Debtors and Creditors Committee are considering the
addition of a convenience class, and if such a class is created, a portion of the cash consideration
currently contemplated for distribution to Holders of Allowed General Unsecured Claims shall be
proposed to be made available to Holders of Allowed General Unsecured Claims in such potential
convenience class.

         In addition, notwithstanding anything to the contrary in the Plan, in connection with the
Disinterested Manager Settlement, the Consenting Parent, the Consenting Sponsors, and any applicable
creditors expressly waive any right they may have to enforce a turnover of any consideration provided
pursuant to the Plan that might be enforceable against the Debtors or any of their creditors pursuant to the
Existing MYT Transaction Documents and the Transaction Support Agreement, and the equivalent
turnover and waterfall provisions in any other prepetition documents and agreements in connection with
the Plan and only to the extent necessary to implement the terms of the Plan; provided, that to the extent
the Consenting 2L Parties and the Consenting 3L Parties do not agree to waive the Second Lien Notes
Deficiency Claims and the Third Lien Notes Deficiency Claims, (i) the turnover and waterfall provisions
concerning MyTheresa as set forth in the Existing MYT Transaction Documents and the Transaction
Support Agreement, and the equivalent turnover and waterfall provisions in any other prepetition
documents and agreements, shall apply with respect to distributions in respect of such Claims and (ii) the
Parent and Sponsors agree that any recovery received by Parent or Sponsors pursuant to turnover of
distributions received on account of the Second Lien Notes Deficiency Claims and the Third Lien Notes
Deficiency Claims shall be distributed to Holders of Allowed Funded-Debt General Unsecured Claims
and Allowed Non-Funded Debt General Unsecured Claims. To the extent the Plan is not effectuated, all
rights are reserved.

         The Debtors and Mr. Vogel believe that the Disinterested Manager Settlement provides a fair and
reasonable return to the Debtors, for the benefit of the Holders of Allowed General Unsecured Claims,
for the release of any potential estate claims and causes of action against the Sponsors and related parties.
The return of 56% of the MYT Series B Preferred Stock, $10,000,000 cash contribution effectively by
the Consenting Term Loan Lenders, and modification of the Plan to ensure that Holders of Deficiency
Claims on account of 2019 Term Loan Claims 2013 Term Loan Claims, 2028 Debenture Claims, Second
Lien Note Claims, and Third Lien Note Claims do not share in the distribution to Holders of Allowed
General Unsecured Claims, provides General Unsecured Creditors substantially more value than they
would receive if the estate retained the claims and causes of action and succeeded in a claim to return all
of the MYT Series B Preferred Stock held by the Sponsors.

         M.     Other Litigation Matters.

         In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings,
collection proceedings, and claims arising out of their business operations. The Debtors cannot predict
with certainty the outcome of these lawsuits, legal proceedings, and claims.

         With certain exceptions, the filing of the Chapter 11 Cases operates as a stay with respect to
commencement or continuation of litigation against the Debtors that was or could have been commenced
before the commencement of the Chapter 11 Cases. In addition, the Debtors’ liability with respect to
litigation stayed by the commencement of the Chapter 11 Cases generally is subject to discharge,


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settlement, and release upon confirmation of a plan under chapter 11, with certain exceptions. Therefore,
certain litigation Claims against the Debtors may be subject to discharge in connection with the Chapter
11 Cases.

         N.     Treatment of Executory Contracts and Unexpired Leases.

                1.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in the Plan, each Executory Contract and
Unexpired Lease, including the Debtors’ non-qualified compensation plans, (including those set forth as
assumed in the Schedules of Assumed and Rejected Contracts) shall be deemed assumed as of the
Effective Date by the applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code,
unless such Executory Contract or Unexpired Lease: (1) was previously assumed, assumed and assigned,
or rejected by the Debtors; (2) previously expired or terminated pursuant to its own terms; (3) is
identified as rejected on the Schedules of Assumed and Rejected Contracts; or (4) is the subject of a
motion to reject that is pending on the Effective Date. On the Effective Date, except as otherwise
provided herein, each Executory Contract and Unexpired Lease that is identified as rejected on the
Schedules of Assumed and Rejected Contracts shall be deemed rejected as of the Effective Date by the
applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

         Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the
occurrence of the Effective Date, constitute a Final Order approving the assumptions, assumptions and
assignments, and rejections, as applicable, of the Executory Contracts and Unexpired Leases as set forth
in the Plan, and the Schedules of Assumed and Rejected Contracts, as applicable, pursuant to sections
365(a) and 1123 of the Bankruptcy Code. Any motions to assume, assume and assign, or reject
Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval by
the Bankruptcy Court on or after the Effective Date by a Final Order. Unless otherwise specified in the
Plan Supplement, the Schedules of Assumed and Rejected Contracts, or an applicable Court order,
assumptions, assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases
pursuant to the Plan are effective as of the Effective Date. Each Executory Contract and Unexpired
Lease assumed pursuant to the Plan or by any order of the Bankruptcy Court, which has not been
assigned to a third party prior to the Confirmation Date, shall re vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may be
modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing
for its assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan, the
Debtors or the Reorganized Debtors, as applicable, shall have the right to alter, amend, modify, or
supplement the Schedules of Assumed and Rejected Contracts identified in Article V.A of the Plan and
in the Plan Supplement at any time through and including 45 days after the Effective Date; provided,
however, that after the date of the Confirmation Hearing, the Debtors may not subsequently reject any
Unexpired Lease previously designated as assumed or assumed and assigned on the Schedules of
Assumed and Rejected Contracts absent the consent of the applicable lessor.

        To the extent that any provision in any Executory Contract or Unexpired Lease assumed or
assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is
breached or deemed breached by, the assumption or assumption and assignment of such Executory
Contract or Unexpired Lease (including any “change of control” provision), then such provision shall be
deemed modified such that the transactions contemplated by the Plan shall not entitle the non Debtor
party or parties to such Executory Contract or Unexpired Lease to terminate such Executory Contract or
Unexpired Lease or to exercise any other default-related rights with respect thereto.




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                2.      Indemnification Obligation.

         Upon the Effective Date and consummation of the Plan on the terms set forth in the Plan, all
indemnification obligations in place as of the Effective Date under the Debtors’ organizational
documents (including in the by-laws, certificates of incorporation or formation, limited liability company
agreements, and other organizational or formation documents,) for the current and former directors,
officers, managers, and employees of the Debtors, as applicable, shall be assumed and remain in full
force and effect after the Effective Date, and shall not be modified, reduced, discharged, impaired, or
otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective of when such
obligation arose; provided, however, that the foregoing shall not apply to any obligations to indemnify
any person or entity (other than natural-person managers or officers in their capacities as such serving as
of the Effective Date, including the disinterested managers of Mariposa Intermediate and NMG LTD,
respectively) in connection with any claims or causes of action related to the designation of MyTheresa
as an unrestricted subsidiary or the distribution of MyTheresa by or through certain Debtors to NMG,
Inc. and related transactions.

                3.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with
respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the
Plan or the Confirmation Order, if any, must be Filed with the Claims and Noticing Agent and served on
the Debtors or Reorganized Debtors, as applicable, no later than thirty (30) days after the date of entry of
an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection. Any
Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed with the
Bankruptcy Court within such time will be automatically disallowed, forever barred from
assertion, and shall not be enforceable against the Debtors or the Reorganized Debtors, the Estates,
or their property without the need for any objection by the Reorganized Debtors or further notice
to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, and be subject to the permanent injunction set forth in Article
VIII.F. of the Plan, including any Claims against any Debtor listed on the Schedules as
unliquidated, contingent, or disputed. All Allowed Claims arising from the rejection by any Debtor of
any Executory Contract or Unexpired Lease shall be treated as a General Unsecured Claim in accordance
with Article III.C. of the Plan.

                4.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Reorganized Debtors, as applicable, shall pay Cures, if any, on the Effective
Date or as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the
parties to the applicable Executory Contract or Unexpired Lease, all requests for payment of Cure that
differ from the amounts paid or proposed to be paid by the Debtors or the Reorganized Debtors to a
counterparty must be Filed with the Bankruptcy Court on or before thirty (30) days after the Effective
Date. Any such request that is not timely filed shall be disallowed and forever barred, estopped, and
enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without the need
for any objection by the Reorganized Debtors or any other party in interest or any further notice to or
action, order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied, released,
and discharged upon payment by the Debtors or the Reorganized Debtors of the Cure; provided that
nothing herein shall prevent the Reorganized Debtors from paying any Cure despite the failure of the
relevant counterparty to File such request for payment of such Cure. The Reorganized Debtors also may
settle any Cure without any further notice to or action, order, or approval of the Bankruptcy Court. In
addition, any objection to the assumption of an Executory Contract or Unexpired Lease under the Plan



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must be Filed with the Bankruptcy Court on or before 30 days after the Effective Date. Any such
objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or Reorganized
Debtors’, as applicable, first scheduled omnibus hearing for which such objection is timely filed. Any
counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption of any Executory Contract or Unexpired Lease will be deemed to have consented to such
assumption.

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
of the Cure amount in Cash on the Effective Date, subject to the limitation described below, or on such
other terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the
event of a dispute regarding (1) the amount of any payments to cure such a default, (2) the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed, or (3) any other matter pertaining to assumption, the Cure payments required by section
365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order or orders resolving
the dispute and approving the assumption; provided that the Reorganized Debtors may settle any such
dispute without any further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity; provided, further, that notwithstanding anything to the contrary herein, prior to the entry of a
Final Order resolving any such dispute and approving the assumption of any such Executory Contract or
Unexpired Lease, the Reorganized Debtors shall have the right to reject any such Executory Contract or
Unexpired Lease that is subject to dispute, whether by amending the Schedules of Assumed and Rejected
Contracts in accordance with Article V.A of the Plan or otherwise.

         At least fourteen (14) days prior to the first day of the Confirmation Hearing, the Debtors shall
provide for notices of proposed assumption or assumption and assignment and proposed Cure amounts to
be sent to applicable third parties, which notices will include procedures for objecting thereto and
resolution of disputes by the Bankruptcy Court. Any objection by a counterparty to an Executory
Contract or Unexpired Lease to a proposed assumption or assumption and assignment or related Cure
amount must be Filed, served, and actually received by the Debtors no later than seven days prior to the
first day of the Confirmation Hearing. Any counterparty to an Executory Contract or Unexpired Lease
that fails to timely object to the proposed assumption or Cure amount will be deemed to have assented to
such assumption or assumption and assignment and cure amount.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and
full payment of any applicable Cure pursuant to Article V.D of the Plan shall result in the full release and
satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts or Unexpired
Leases that have been assumed in the Chapter 11 Cases, including pursuant to the Confirmation Order,
and for which any Cure has been fully paid pursuant to Article V.D of the Plan, shall be deemed
disallowed and expunged as of the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

         O.     The Surety Bond Program.

         On the Effective Date, all of the Debtors’ obligations and commitments to any surety providers
as set forth in the Order (I) Authorizing the Debtors to Continue Their Surety Bond Program and (II)
Granting Related Relief [Docket No. 244] shall be deemed reaffirmed by the Reorganized Debtors,
including as applicable: (i) surety payment and indemnity agreements, setting forth the sureties’ rights
against the Debtors, and the Debtors’ obligations to pay and indemnify the sureties from any loss, cost, or


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expense that the sureties may incur, in each case, on account of the issuance of any surety bonds on
behalf of the Debtors; (ii) surety collateral agreements governing collateral, if any, in connection with the
Debtors’ surety bonds; and/or (iii) ordinary course premium payments to any surety for the Debtors’
surety bonds.

IX.     PROJECTED FINANCIAL INFORMATION

        A projected consolidated income statement is attached hereto as Exhibit C.

         Creditors and other interested parties should see the below “Risk Factors” for a discussion of
certain factors that may affect the future financial performance of the Reorganized Debtors.

X.      RISK FACTORS

        Holders of Claims and Interests should read and consider carefully the risk factors set forth
below before voting to accept or reject the Plan. Although there are many risk factors discussed below,
these factors should not be regarded as constituting the only risks present in connection with the Debtors’
business or the Plan and its implementation.

         A.      Bankruptcy Law Considerations.

        The occurrence or non-occurrence of any or all of the following contingencies, and any others,
could affect distributions available to Holders of Allowed Claims and Interests under the Plan but will
not necessarily affect the validity of the vote of the Impaired Classes to accept or reject the Plan or
necessarily require a re-solicitation of the votes of Holders of Claims and Interests in such Impaired
Classes.

                1.       Parties in Interest May Object to the Plan’s Classification of Claims and
                         Interests.

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest
in a particular class only if such claim or equity interest is substantially similar to the other claims or
equity interests in such class. The Debtors believe that the classification of the Claims and Interests
under the Plan complies with the requirements set forth in the Bankruptcy Code because the Debtors
created Classes of Claims and Interests each encompassing Claims or Interests, as applicable, that are
substantially similar to the other Claims or Interests, as applicable, in each such Class. Nevertheless,
there can be no assurance that the Court will reach the same conclusion.

                2.       The Conditions Precedent to the Effective Date of the Plan May Not Occur.

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number of
conditions precedent. If such conditions precedent are not met or waived, the Effective Date will not
take place.

                3.       The Debtors May Fail to Satisfy Vote Requirements.

        If votes are received in number and amount sufficient to enable the Court to confirm the Plan,
the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event
sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan of
reorganization, subject to the terms of the Restructuring Support Agreement. There can be no assurance




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that the terms of any such alternative chapter 11 plan of reorganization would be similar or as favorable
to the Holders of Allowed Claims and Interests as those proposed in the Plan.

                4.       The Debtors May Not Be Able to Secure Confirmation of the Plan.

        Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11
plan, and requires, among other things, a finding by the Court that: (a) such plan “does not unfairly
discriminate” and is “fair and equitable” with respect to any non-accepting classes; (b) confirmation of
such plan is not likely to be followed by a liquidation or a need for further financial reorganization unless
such liquidation or reorganization is contemplated by the plan; and (c) the value of distributions to non-
accepting holders of claims and equity interests within a particular class under such plan will not be less
than the value of distributions such holders would receive if the debtors were liquidated under chapter 7
of the Bankruptcy Code.

         Even though certain creditors have agreed pursuant to the Restructuring Support Agreement to
support the Plan, there can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance that the Court will
confirm the Plan. A non-accepting Holder of an Allowed Claim or Interest might challenge either the
adequacy of this Disclosure Statement or whether the balloting procedures and voting results satisfy the
requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the Court determines that this
Disclosure Statement, the balloting procedures, and voting results are appropriate, the Court could still
decline to confirm the Plan if it finds that any of the statutory requirements for Confirmation are not met.
If a chapter 11 plan of reorganization is not confirmed by the Court, it is unclear whether the Debtors will
be able to reorganize their business and what, if anything, Holders of Allowed Claims and Interests
against them would ultimately receive on account of such Allowed Claims and Interests.

        The effectiveness of the Plan is also subject to certain conditions as described in Article IX of
the Plan. If the Plan is not confirmed, it is unclear what distributions, if any, Holders of Allowed Claims
and Interests will receive on account of such Allowed Claims and Interests.

        The Debtors, subject to the terms and conditions of the Plan and the Restructuring Support
Agreement, reserve the right to modify the terms and conditions of the Plan as necessary for
Confirmation. Any such modifications could result in less favorable treatment of any non-accepting
Class, as well as any Class junior to such non-accepting Class, than the treatment currently provided in
the Plan. Such a less favorable treatment could include a distribution of property with a lesser value than
currently provided in the Plan or no distribution whatsoever under the Plan.

                5.       Nonconsensual Confirmation.

         In the event that any impaired class of claims or interests does not accept a chapter 11 plan, a
bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one impaired class
(as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with such acceptance
being determined without including the vote of any “insider” in such class), and, as to each impaired
class that has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting impaired class(es). The Debtors
believe that the Plan satisfies these requirements, and the Debtors may request such nonconsensual
Confirmation in accordance with subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be
no assurance that the Court will reach this conclusion. In addition, the pursuit of nonconsensual
Confirmation or Consummation of the Plan may result in, among other things, increased expenses
relating to professional compensation.




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                6.       Continued Risk Upon Confirmation.

        Even if a chapter 11 plan of reorganization is consummated, the Debtors will continue to face a
number of risks, including certain risks that are beyond their control, such as further deterioration or
other changes in economic conditions, changes in the industry, potential revaluing of their assets due to
chapter 11 proceedings, changes in consumer demand for, and acceptance of, their products, and
increasing expenses. Some of these concerns and effects typically become more acute when a case under
the Bankruptcy Code continues for a protracted period without indication of how or when the case may
be completed. As a result of these risks and others, there is no guarantee that a chapter 11 plan of
reorganization reflecting the Plan will achieve the Debtors’ stated goals.

        In addition, at the outset of the Chapter 11 Cases, the Bankruptcy Code will give the Debtors the
exclusive right to propose the Plan and will prohibit creditors and others from proposing a plan.
The Debtors will have retained the exclusive right to propose the Plan upon filing their petitions for
chapter 11 relief. If the Court terminates that right, however, or the exclusivity period expires, the
Debtors’ ability to achieve confirmation of the Plan and achieve the Debtors’ stated goals may be
adversely affected.

         Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan, the
Debtors may need to raise additional funds through public or private debt or equity financing or other
various means to fund the Debtors’ business after the completion of the proceedings related to the
Chapter 11 Cases. Additional financing, if required, may not be available on commercially reasonable
terms, if at all.

                7.       The Chapter 11 Cases May Be Converted to Cases Under Chapter 7 of
                         the Bankruptcy Code.

         If the Court finds that it would be in the best interest of creditors and/or the debtor in a chapter
11 case, the Court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the Bankruptcy
Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtor’s assets for
distribution in accordance with the priorities established by the Bankruptcy Code. The Debtors believe
that liquidation under chapter 7 would result in significantly smaller distributions being made to creditors
than those provided for in a chapter 11 plan because of (a) the likelihood that the assets would have to be
sold or otherwise disposed of in a disorderly fashion over a short period of time rather than reorganizing
or selling in a controlled manner affecting the business as a going concern, (b) additional administrative
expenses involved in the appointment of a chapter 7 trustee, and (c) additional expenses and Claims,
some of which would be entitled to priority, that would be generated during the liquidation, and
including Claims resulting from the rejection of Unexpired Leases and other Executory Contracts in
connection with cessation of operations.

                8.       The Debtors May Object to the Amount or Classification of a Claim.

         Except as otherwise provided in the Plan, the Debtors and the GUC Claims Administrator, as
applicable, reserve the right to object to the amount or classification of any Claim or Interest under the
Plan, subject to the terms of the Restructuring Support Agreement. The estimates set forth in this
Disclosure Statement cannot be relied upon by any Holder of a Claim or Interest where such Claim or
Interest is subject to an objection. Any Holder of a Claim or Interest that is subject to an objection thus
may not receive its expected share of the estimated distributions described in this Disclosure Statement.




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                9.      Risk of Non-Occurrence of the Effective Date.

        Although the Debtors believe that the Effective Date may occur quickly after the Confirmation
Date, there can be no assurance as to such timing or as to whether the Effective Date will, in fact, occur.

                10.     Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
                        the Plan.

        The distributions available to Holders of Allowed Claims and Interests under the Plan can be
affected by a variety of contingencies, including, without limitation, whether the Court orders certain
Allowed Claims or Interests to be subordinated to other Allowed Claims or Interests. The occurrence of
any and all such contingencies, which could affect distributions available to Holders of Allowed Claims
and Interests under the Plan, will not affect the validity of the vote taken by the Impaired Classes to
accept or reject the Plan or require any sort of revote by the Impaired Classes.

        The estimated Claims, Interests, and creditor recoveries that will be forth in this Disclosure
Statement are based on various assumptions, and the actual Allowed amounts of Claims and Interests
may significantly differ from the estimates. Should one or more of the underlying assumptions ultimately
prove to be incorrect, the actual Allowed amounts of Claims or Interests may vary from the estimated
Claims and Interests contained in this Disclosure Statement. Moreover, the Debtors cannot determine
with any certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such
differences may materially and adversely affect, among other things, the percentage recoveries to Holders
of Allowed Claims and Interests under the Plan.

                11.     Releases, Injunctions, and Exculpations Provisions May Not Be Approved.

        Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including a
release of liens and third-party releases that may otherwise be asserted against the Debtors, Reorganized
Debtors, or Released Parties, as applicable. The releases, injunctions, and exculpations (including, for
the avoidance of doubt, the definitions of Released Parties, Releasing Parties, and Exculpated Parties)
provided in the Plan are subject to the approval of the parties in interest and may not be approved. If the
releases are not approved, certain parties may not be considered Released Parties, Releasing Parties, or
Exculpated Parties, and certain Released Parties may withdraw their support for the Plan.

         B.      Risks Related to Recoveries under the Plan.

                1.      The Debtors May Not Be Able to Achieve Their Financial Projections.

         The Financial Projections attached hereto as Exhibit C represent the Debtors’ management
team’s best estimate of the Debtors’ future financial performance, which is necessarily based on certain
assumptions regarding the anticipated future performance of the Reorganized Debtors’ operations, as
well as the United States and world economies in general and the retail industry, which has been
particularly affected by the recent COVID-19 outbreak and actions taken in response thereto. While the
Debtors believe that the Financial Projections attached hereto as Exhibit C are reasonable, there can be
no assurance that they will be realized. If the Debtors do not achieve their projected financial results,
(a) the value of the New Equity may be negatively affected, and the recoveries by Holders of General
Unsecured Claims that receive New Equity may be negatively affected, (b) the Debtors may lack
sufficient liquidity to continue operating as planned after the Effective Date and (c) the Debtors may be
unable to service their debt obligations as they come due. Moreover, the financial condition and results
of operations of the Reorganized Debtors from and after the Effective Date may not be comparable to the
financial condition or results of operations reflected in the Debtors’ historical financial statements.



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                2.       Reorganized Neiman’s New EquityPlan Securities May Not Be Publicly
                         Traded.

         There can be no assurance that an active market for the New EquityPlan Securities will develop,
nor can any assurance be given as to the prices at which such stock might be traded. The New
EquityPlan Securities to be issued under the Plan will not be listed on or traded on any nationally
recognized market or exchange. Further, the New EquityPlan Securities to be issued under the Plan has
not been registered under the Securities Act, any state securities laws or the laws of any other
jurisdiction. Absent such registration, the New EquityPlan Securities may be offered or sold only in
transactions that are not subject to, or that are exempt from, the registration requirements of the
Securities Act and other applicable securities laws. As explained in more detail in Article XIII of this
Disclosure Statement, most recipients of New EquityPlan Securities will be able to resell such securities
without registration pursuant to the exemption from registration provided by section 1145 of the
Bankruptcy Code, subject to any restrictions set forth in the certificate of incorporation and bylaws of
Reorganized Neiman, the New Warrant Agreement, and the New MyT Documents.

                3.       The Value of the MYT Series B Preferred Stock is Uncertain.

       The Plan contemplates distribution of a portion of the MYT Series B Preferred Stock to Holders
of Allowed General Unsecured Claims. The ultimate value of the MYT Series B Preferred Stock
depends on the value of MyTheresa, which is uncertain.

         C.      Risks Related to the Debtors’ and the Reorganized Debtors’ Business.

                1.       The Debtors and the Reorganized Debtors May Not Be Able to Generate
                         Sufficient Cash to Service All of Their Indebtedness.

         The Debtors‘ and the Reorganized Debtors’ ability to make scheduled payments on, or refinance
their debt obligations, including the DIP Facility and the Exit Facility, depends on the Debtors’ and the
Reorganized Debtors’ financial condition and operating performance, which are subject to prevailing
economic, industry, and competitive conditions and to certain financial, business, legislative, regulatory,
and other factors beyond their control (including the factors discussed in Article X.C of this Disclosure
Statement). For example, if the Debtors are mandated or recommended to keep any currently-closed
retail stores and/or distribution centers closed to contain the spread of the COVID-19 outbreak, or to
close re-opened stores, cash flows may significantly be limited. The Debtors and the Reorganized
Debtors may be unable to maintain a level of cash flow from operating activities sufficient to permit
them to pay the principal, premium, if any, and interest on their indebtedness, including the DIP Facility
and the Exit Facility.

                2.       The Debtors Will Be Subject to the Risks and Uncertainties Associated with
                         the Chapter 11 Cases.

          For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and execute a
business plan, and continue as a going concern, will be subject to the risks and uncertainties associated
with bankruptcy. These risks include the following: (a) ability to develop, confirm, and consummate the
restructuring transactions specified in the Plan or an alternative restructuring transaction; (b) ability to
obtain court approval with respect to motions filed in the Chapter 11 Cases from time to time; (c) ability
to maintain relationships with brand partners, service providers, customers, employees, and other third
parties; (d) ability to maintain contracts that are critical to the Debtors’ operations; (e) ability of third
parties to seek and obtain court approval to terminate contracts and other agreements with the Debtors;
(f) ability of third parties to seek and obtain court approval to terminate or shorten the exclusivity period
for the Debtors to propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert


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the Chapter 11 Cases to chapter 7 proceedings; and (g) the actions and decisions of the Debtors’ creditors
and other third parties who have interests in the Chapter 11 Cases that may be inconsistent with the
Debtors’ plans.

         These risks and uncertainties could affect the Debtors’ business and operations in various ways.
For example, negative events associated with the Chapter 11 Cases could adversely affect the Debtors’
relationships with brand partners, service providers, customers, employees, and other third parties, which
in turn could adversely affect the Debtors’ operations and financial condition. In addition, the Debtors
will need the prior approval of the Court for transactions outside the ordinary course of business, which
may limit the Debtors’ ability to respond timely to certain events or take advantage of certain
opportunities. Because of the risks and uncertainties associated with the Chapter 11 Cases, the Debtors
cannot accurately predict or quantify the ultimate impact of events that occur during the Chapter 11
Cases that may be inconsistent with the Debtors’ plans.

                3.      Recent Global Economic Trends, especially in Response to the COVID-19
                        Outbreak Could Adversely Affect the Debtors’ Business, Results of
                        Operations and Financial Condition, Primarily Through Disruption of
                        the Debtors’ Retail Stores.

         Recent global economic conditions, including disruption of financial markets, could adversely
affect the Debtors’ business, results of operations and financial condition, primarily through disrupting
their customers’ businesses. Higher rates of unemployment and lower levels of business activity
generally adversely affect the level of demand for certain of the Debtors’ products and services. In
addition, continuation or worsening of general market conditions in the U.S. economy or other national
economies important to the Debtors’ business may adversely affect the Debtors’ customers’ level of
spending, ability to obtain financing for purchases and ability to make timely payments to the Debtors for
their products and services, which could require the Debtors to increase the Debtors’ allowance for
doubtful accounts, negatively impact their days sales outstanding and adversely affect their results of
operations.

         The recent outbreak of COVID-19 has significantly disrupted financial markets. This outbreak
and the actions taken by federal, state and local governments in response to the outbreak have
significantly affected virtually all facets of the U.S. and global economies. Restrictions on and public
concern regarding travel and public interaction have materially curtailed retail and hospitality activity.
The COVID-19 outbreak resulted in the temporary closure of all of the Debtors’ retail stores, almost all
of which have since opened. A substantial majority of the Debtors’ merchandise is manufactured in
numerous locations, primarily in Europe, the United States, and, to a lesser extent, Asia. The timely
delivery of merchandise to the Debtors’ by their brand partners could be adversely affected by supply
chain disruptions and travel restrictions which could, in turn, negatively impact the Debtors’ ability to
meet customers’ demand.

         Global financial markets have experienced significant volatility and losses as a result of the
recent COVID-19 outbreak. Any resulting economic downturn could negatively impact customer
demand and spending in the impacted regions and cause an oversupply of goods that could result in
meaningful margin pressure. In response to anticipated liquidity pressures stemming from a potential
downturn, many companies are exploring liquidity options, including drawing on revolving debt
facilities. Subsequent to the end of the second quarter of fiscal year 2020, the Debtors’ opted to draw
down $225.0 million of additional borrowings under their Asset-Based Revolving Credit Facility to
ensure that cash on-hand is adequate to address any potential disruptions related to the COVID-19
outbreak and the related response.




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        The Debtors are closely monitoring developments in connection with this outbreak. Restrictions
on travel, quarantines and other measures imposed in response to the COVID-19 outbreak, as well as
ongoing concern regarding the virus’ potential impact, have had and will likely continue to have a
negative effect on economies and financial markets, including supply chain shortages and other business
disruptions. The Debtors expect the outbreak will materially affect results in the current and potentially
future operating periods; however, the duration and extent of potential supply chain, demand and other
disruptions is highly uncertain and will depend on future developments with respect to the spread and
severity of the virus. An extended period of further economic deterioration could exacerbate the other
risks described herein.

         Additional effects of the recent conditions in the global economy include higher rates of
unemployment, consumer hesitancy, and limited availability of credit, each of which may constrict
the Debtors’ business operations. These have had an effect on the Debtors’ revenue growth and
incoming payments, and the impact may continue. If these or other conditions limit the Debtors’ ability
to grow revenue or cause the Debtors’ revenue to decline and the Debtors cannot reduce costs on a timely
basis or at all, the Debtors’ operating results may be materially and adversely affected.

                4.       Operating in Bankruptcy for a Long Period of Time May Harm the
                         Debtors’ Business.

         The Debtors’ future results will be dependent upon the successful confirmation and
implementation of a plan of reorganization. A long period of operations under Court protection could
have a material adverse effect on the Debtors’ business, financial condition, results of operations, and
liquidity. So long as the proceedings related to the Chapter 11 Cases continue, senior management will
be required to spend a significant amount of time and effort dealing with the reorganization instead of
focusing exclusively on business operations. A prolonged period of operating under Court protection
also may make it more difficult to retain management and other key personnel necessary to the success
and growth of the Debtors’ businesses. In addition, the longer the proceedings related to the Chapter 11
Cases continue, the more likely it is that customers and brand partners will lose confidence in the
Debtors’ ability to reorganize their business successfully and will seek to establish alternative
commercial relationships.

        So long as the proceedings related to the Chapter 11 Cases continue, the Debtors will be required
to incur substantial costs for professional fees and other expenses associated with the administration of
the Chapter 11 Cases.

          Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for the
liabilities that will be subject to a plan of reorganization. Even after a plan of reorganization is approved
and implemented, the Debtors’ operating results may be adversely affected by the possible reluctance of
prospective lenders and other counterparties to do business with a company that recently emerged from
bankruptcy protection and operates in the luxury retail industry which has been dramatically affected by
the recent COVID-19 outbreak.

                5.       Financial Results May Be Volatile and May Not Reflect Historical Trends.

        During the Chapter 11 Cases, the Debtors expect that their financial results will continue to be
volatile as asset impairments, asset dispositions, restructuring activities and expenses, contract
terminations and rejections, and claims assessments significantly impact the Debtors’ consolidated
financial statements. Moreover, there have been mandates from federal, state and local authorities
requiring forced closures of non-essential retailers in response to the recent COVID-19 outbreak. The
duration of such closures and the extent of the outbreak’s effects on the Debtors’ business is highly
uncertain and will depend on future developments with respect to the spread and severity of COVID-19.


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As a result, the Debtors’ historical financial performance likely will not be indicative of their financial
performance after the Petition Date.

         In addition, if the Debtors emerge from chapter 11, the amounts reported in subsequent
consolidated financial statements may materially change relative to historical consolidated financial
statements, including as a result of revisions to the Debtors’ operating plans pursuant to a plan of
reorganization. The Debtors also may be required to adopt fresh start accounting, in which case their
assets and liabilities will be recorded at fair value as of the fresh start reporting date, which may differ
materially from the recorded values of assets and liabilities on the Debtors’ consolidated balance sheets.
The Debtors’ financial results after the application of fresh start accounting also may be different from
historical trends.

                6.       The Reorganized Debtors May Be Adversely Affected by Potential
                         Litigation, Including Litigation Arising Out of the Chapter 11 Cases.

        In the future, the Reorganized Debtors may become party to litigation. Any claims against
the Debtors, whether meritorious or not, could be time-consuming, result in costly litigation, damage
the Debtors’ reputation, require significant amounts of management time and divert significant resources.
If any of these legal proceedings were to be determined adversely to the Debtors, or the Debtors were to
enter into a settlement arrangement, the Debtors could be exposed to monetary damages or limits on
the Debtors’ ability to operate their business, which could have an adverse effect on the Debtors’
business, financial condition and results of operations. It is also possible that certain parties will
commence litigation with respect to the treatment of their Claims or Interests under the Plan. It is not
possible to predict the potential litigation that the Reorganized Debtors may become party to, nor the
final resolution of such litigation. The impact of any such litigation on the Reorganized Debtors’
businesses and financial stability, however, could be material.

                7.       The Loss of Key Personnel Could Adversely Affect the Debtors’ Operations.

         The Debtors’ operations are dependent on a relatively small group of key management personnel,
including the Debtors’ executive officers. The Debtors’ recent liquidity issues and the Chapter 11 Cases
have created distractions and uncertainty for key management personnel and employees. Because
competition for experienced personnel in the retail industry can be significant, the Debtors may be unable
to find acceptable replacements with comparable skills and experience and the loss of such key
management personnel could adversely affect the Debtors’ ability to operate their business. In addition,
a loss of key personnel or material erosion of employee morale at the corporate and/or field levels could
have a material adverse effect on the Debtors’ ability to meet customer and counterparty expectations,
thereby adversely affecting the Debtors’ businesses and the results of operations.

XI.     SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on
the Plan, is being distributed to the Holders of Claims and Interests in those Classes that are entitled to
vote to accept or reject the Plan. The procedures and instructions for voting and related deadlines are set
forth in the exhibits annexed to the Disclosure Statement Order [Docket No. [●]1400].

         In addition to the materials contained the Solicitation Package, the Debtors are distributing
(a) draft amendments to the MYT Series B Preferred Stock certificate of designation and related
documents and (b) preliminary term sheets for the general terms of the New MyT Documents.
Furthermore, the Debtors have agreed to include two versions of the term sheet setting forth the general
terms of the 3L MyT Distribution, which are separately supported by (a) the Sponsors and (b) Consenting
3L Parties. Open issues remain with respect to the terms of the 3L MyT Distribution, and the parties


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intend to negotiate such terms during the solicitation period. The documents and term sheets described
in this paragraph shall be preliminary and subject to further revision, and all applicable parties reserve
their rights thereto in all respects.

        The Disclosure Statement Order is incorporated herein by reference and should be read in
conjunction with this Disclosure Statement and in formulating a decision to vote to accept or reject
the Plan.

THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
               DISCLOSURE STATEMENT IS ONLY A SUMMARY.
 PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A
 MORE COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

         A.      Holders of Claims and Interests Entitled to Vote on the Plan.

        Under the provisions of the Bankruptcy Code, not all holders of claims against or interests in a
debtor are entitled to vote on a chapter 11 plan. The table in Article III.C of this Disclosure Statement
provides a summary of the status and voting rights of each Class (and, therefore, of each Holder within
such Class absent an objection to the Holder’s Claim or Interest) under the Plan.

         As shown in the table, the Debtors are soliciting votes to accept or reject the Plan only from
Holders of Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10, and 11 (collectively, the “Voting Classes”). Holders
of Claims in the Voting Classes are Impaired under the Plan and may, in certain circumstances, receive a
distribution under the Plan. Accordingly, Holders of Claims and Interests in the Voting Classes have the
right to vote to accept or reject the Plan.

         The Debtors are not soliciting votes from Holders of Claims and Interests in Classes 1, 2, 12, 13,
and 14. Additionally, the Disclosure Statement Order provides that certain Holders of Claims and
Interests in the Voting Classes, such as those Holders whose Claims and Interests have been disallowed
or are subject to a pending objection, are not entitled to vote to accept or reject the Plan.

         B.      Voting Record Date.

         The Voting Record Date is [●]July 15, 2020. The Voting Record Date is the date on which it
will be determined which Holders of Claims and Interests in the Voting Classes are entitled to vote to
accept or reject the Plan and whether Claims and Interests have been properly assigned or transferred
under Bankruptcy Rule 3001(e) such that an assignee or transferee, as applicable, can vote to accept or
reject the Plan as the Holder of a Claim or Interest.

         C.      Voting on the Plan.

         The Voting Deadline is August 31, 2020, at 4:00 p.m. prevailing Central Time. The Voting
Deadline for any counterparty to an Unexpired Lease which is identified as rejected on a Schedules of
Assumed and Rejected Contracts filed later than one Business Day prior to the Voting Deadline shall be
extended to the date of the Confirmation Hearing. In order to be counted as votes to accept or reject the
Plan, all Ballots must be properly executed, completed, and delivered (either by using the return envelope
provided, by first class mail, overnight courier, or personal delivery) so that the Ballots are actually
received by the Notice and Claims Agent on or before the Voting Deadline at the following address:




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                                       DELIVERY OF BALLOTS

                 NEIMAN MARCUS GROUP LTD LLC BALLOTS PROCESSING
                                   C/O STRETTO
                             410 EXCHANGE, SUITE 100
                            IRVINE, CALIFORNIA 92602


                                                     OR

                           ONLINE PORTAL AT https://balloting.stretto.com/

        PLEASE SELECT JUST ONE OPTION TO SUBMIT YOUR VOTE:
 EITHER RETURN A PROPERLY EXECUTED PAPER BALLOT WITH YOUR VOTE

                                                    OR

             VOTE ELECTRONICALLY THROUGH THE CUSTOMIZED,
          ONLINE BALLOTING PORTAL ON THE DEBTORS’ CASE WEBSITE
                   MAINTAINED BY STRETTO (“E-BALLOT”)

   Holders of claims or interests who cast a ballot via e-ballot should NOT also submit a
                                       paper ballot.

     E-BALLOT SHALL BE THE EXCLUSIVE MEANS OF VOTING
ELECTRONICALLY. STRETTO SHALL NOT ACCEPT VOTES SUBMITTED VIA E-
MAIL, FACSIMILE, OR ANY ELECTRONIC METHODS OTHER THAN E-BALLOT;
PROVIDED THAT STRETTO SHALL ACCEPT MASTER BALLOTS FROM
NOMINEES SUBMITTED VIA E-MAIL TO STRETTO.

     IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING
PROCESS, PLEASE CONTACT THE STRETTO TOLL FREE AT 877-670-2127 (TOLL
FREE) OR 949-504-4475 (INTERNATIONAL). ANY BALLOT RECEIVED AFTER
THE VOTING DEADLINE OR OTHERWISE NOT IN COMPLIANCE WITH THE
DISCLOSURE STATEMENT ORDER WILL NOT BE COUNTED EXCEPT AS
OTHERWISE PROVIDED FOR IN THE SOLICITATION PROCEDURES OR IN THE
SOLE AND ABSOLUTE DISCRETION OF THE DEBTORS.

         D.     Ballots Not Counted.

         No ballot will be counted toward Confirmation if, among other things: (i) it is illegible or
contains insufficient information to permit the identification of the Holder of the Claim; (ii) it was
transmitted by facsimile or other electronic means (other than the E-Ballot Portal); (iii) it was cast by an
entity that is not entitled to vote on the Plan; (iv) it was cast for a Claim listed in the Debtors’ schedules
as contingent, unliquidated or disputed for which the applicable Claims Bar Date has passed and no proof
of claim was timely filed; (v) it was cast for a Claim that is subject to an objection pending as of the
Voting Record Date (unless temporarily allowed in accordance with the Disclosure Statement Order and
the solicitation procedures); (vi) it was sent to the Debtors, the Debtors’ agents/representatives (other
than the Notice and Claims Agent), an administrative agent (except as otherwise permitted by the



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Disclosure Statement Order), or the Debtors’ financial or legal advisors instead of the Notice and Claims
Agent; (vii) it lacks an original signature, with the understanding that the voting party’s electronic
signature through e-ballot will be deemed an original signature; or (viii) it is not clearly marked to either
accept or reject the Plan or it is marked both to accept and reject the Plan. Please refer to the
Disclosure Statement Order for additional requirements with respect to voting to accept or reject
the Plan.

          E.    Certain Voting Matters

        It has recently come to the attention of the Debtors and the Second Lien Notes Trustee that the
outstanding principal amount of the Second Lien Notes shown on DTC’s books includes PIK interest of
approximately $16,852,000 (the “PIK Amount”) that was due on April 15, 2020. However, PIK interest
was not in fact capitalized because, on that date, as the Debtors did not authorize or issue the PIK interest
(nor did they pay the cash interest due and payable on that date). Thus, the outstanding principal balance
of the Second Lien Notes on DTC’s records on and after April 15, 2020 should be reduced by the PIK
Amount.

         Accordingly, the outstanding principal amount of the Second Lien Notes as of the Petition Date
on DTC’s records should be $561,733,333 (not $578,585,309), with the PIK Amount showing as accrued
but unpaid interest thereon. The Debtors or the Second Lien Notes Trustee may seek a court order in
connection with Confirmation that will rectify the DTC records to reflect the correct outstanding
principal amount of the Second Lien Notes as of the Petition Date ($561,733,333) for purposes of the
Debtors making distributions to Holders of Second Lien Notes Claims under the Plan. The Debtors’ use
of the the principal amount currently stated on DTC’s books ($578,585,309) for voting purposes is not
expected to affect acceptance or rejection of the Plan by Class 8. However, such use shall not ratify the
use of such amount for any other purpose in the Chapter 11 Cases.


XII.     CONFIRMATION OF THE PLAN

          A.    Confirmation Hearing.

         The Court has scheduled the Confirmation Hearing for [September 4], 2020 at [●] [9:00 a/p].m.
(prevailing Central Time). The Confirmation Hearing may be adjourned from time to time without
further notice.

         Objections to Confirmation of the Plan must be filed and served on the Debtors, and certain other
parties, by no later than August 31, 2020, at 4:00 p.m. (prevailing Central Time) in accordance with the
notice of the Confirmation Hearing that accompanies this Disclosure Statement and the Disclosure
Statement Order attached hereto as Exhibit B and incorporated herein by reference.

         The Debtors will publish the notice of the Confirmation Hearing, which will contain the deadline
for objections to the Plan and the date and time of the Confirmation Hearing, in New York Times
(national edition) and Dallas Morning News, to provide notification to those persons who may not
receive notice by mail. The Debtors may also publish the notice of the Confirmation Hearing in such
trade or other publications as the Debtors may choose.

          B.    Requirements for Confirmation of the Plan.

       Among the requirements for Confirmation of the Plan pursuant to section 1129 of the
Bankruptcy Code are: (1) the Plan is accepted by all Impaired Classes of Claims or Interests, or if



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rejected by an Impaired Class, the Plan “does not discriminate unfairly” and is “fair and equitable” as to
the rejecting Impaired Class; (2) the Plan is feasible; and (3) the Plan is in the “best interests” of holders
of Claims and Interests.

         At the Confirmation Hearing, the Court will determine whether the Plan satisfies all of the
requirements of section 1129 of the Bankruptcy Code. The Debtors believe that: (1) the Plan satisfies,
or will satisfy, all of the necessary statutory requirements of chapter 11; (2) the Debtors have complied,
or will have complied, with all of the necessary requirements of chapter 11; and (3) the Plan has been
proposed in good faith.

         C.     Best Interests of Creditors/Liquidation Analysis.

       Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a
bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to
each impaired class, that each holder of a claim or an equity interest in such impaired class either (1) has
accepted the plan or (2) will receive or retain under the plan property of a value that is not less than the
amount that the non-accepting holder would receive or retain if the debtors liquidated under chapter 7.

        Attached hereto as Exhibit E and incorporated herein by reference is a liquidation analysis
(the “Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’ advisors. As
reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors businesses under
chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be realized by
Holders of Claims and Interests as compared to distributions contemplated under the Plan.
Consequently, the Debtors and their management believe that Confirmation of the Plan will provide a
substantially greater return to Holders of Claims and Interests than would a liquidation under chapter 7 of
the Bankruptcy Code.

         If the Plan is not confirmed, and the Debtors fail to propose and confirm an alternative plan of
reorganization, the Debtors’ businesses may be liquidated pursuant to the provisions of a chapter 11
liquidating plan. In liquidations under chapter 11, the Debtors’ assets could be sold in an orderly fashion
over a more extended period of time than in a liquidation under chapter 7. Thus, a chapter 11 liquidation
may result in larger recoveries than a chapter 7 liquidation, but the delay in distributions could result in
lower present values received and higher administrative costs. Any distribution to Holders of Claims and
Interests under a chapter 11 liquidation plan would most likely be substantially delayed. Most
importantly, the Debtors believe that any distributions to creditors in a chapter 11 liquidation scenario
would fail to capture the significant going concern value of their businesses. Accordingly, the Debtors
believe that a chapter 11 liquidation would not result in distributions as favorable as those under the Plan.

         D.     Feasibility.

        Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of
reorganization is not likely to be followed by the liquidation, or the need for further financial
reorganization of the debtor, or any successor to the debtor (unless such liquidation or reorganization is
proposed in such plan of reorganization).

         To determine whether the Plan meets this feasibility requirement, the Debtors have analyzed
their ability to meet their respective obligations under the Plan. As part of this analysis, the Debtors have
prepared their Financial Projections. Creditors and other interested parties should review Article X of
this Disclosure Statement entitled “Risk Factors” for a discussion of certain factors that may affect the
future financial performance of the Reorganized Debtors.




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        The Financial Projections are attached hereto as Exhibit C and incorporated herein by reference.
Based upon the Financial Projections, the Debtors believe the Plan will meet the feasibility requirements
of the Bankruptcy Code.

           E.       Acceptance by Impaired Classes.

         The Bankruptcy Code requires, as a condition to confirmation, except as described in the
following section, that each class of claims or equity interests impaired under a plan, accept the plan.
A class that is not “impaired” under a plan is deemed to have accepted the plan and, therefore,
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solicitation of acceptances with respect to such a class is not required.

         Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
claims as acceptance by holders of at least two-thirds in a dollar amount and more than one-half in a
number of allowed claims in that class, counting only those claims that have actually voted to accept or
to reject the plan. Thus, a class of claims will have voted to accept the plan only if two-thirds in amount
and a majority in number actually cast their ballots in favor of acceptance.

         Section 1126(d) of the Bankruptcy Code provides that a class of impaired interests has accepted
a plan if the holders of at least two-third’s in amount of the allowed interests of such class have voted to
accept the plan.

        Pursuant to Article III of the Plan, if a Class contains Claims or Interests eligible to vote and no
holders of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the holders
of such Claims or Interests in such Class shall be deemed to have accepted the Plan.

           F.       No Unfair Discrimination.

        The “unfair discrimination” test applies to classes of claims or interests that are of equal priority
and are receiving different treatment under a plan. The test does not require that the treatment be the
same or equivalent, but that treatment be “fair.” In general, bankruptcy courts consider whether a plan
discriminates unfairly in its treatment of classes of claims or interests of equal rank (e.g., classes of the
same legal character). Bankruptcy courts will take into account a number of factors in determining
whether a plan discriminates unfairly. A plan could treat two classes of unsecured creditors differently
without unfairly discriminating against either class.

           G.       Fair and Equitable Test.

         The “fair and equitable” test applies to classes of different priority and status (e.g., secured
versus unsecured) and includes the general requirement that no class of claims receive more than 100
percent of the amount of the allowed claims in the class. As to the dissenting class, the test sets different
standards depending upon the type of claims or equity interests in the class. The Debtors submit that if
the Debtors were to “cramdown” the Plan pursuant to section 1129(b) of the Bankruptcy Code, the Plan
is structured so that it would not “discriminate unfairly” and would satisfy the “fair and equitable”
requirement. With respect to the unfair discrimination requirement, all Classes under the Plan are
provided treatment that is substantially equivalent to the treatment that is provided to other Classes that

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     A class of claims is “impaired” within the meaning of section 1124 of the Bankruptcy Code unless the plan (a) leaves
     unaltered the legal, equitable and contractual rights to which the claim or equity interest entitles the Holder of such claim or
     equity interest or (b) cures any default, reinstates the original terms of such obligation, compensates the Holder for certain
     damages or losses, as applicable, and does not otherwise alter the legal, equitable, or contractual rights to which such claim
     or equity interest entitles the Holder of such claim or equity interest.




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have equal rank. With respect to the fair and equitable requirement, no Class under the Plan will receive
more than 100 percent of the amount of Allowed Claims in that Class. The Debtors believe that the Plan
and the treatment of all Classes of Claims or Interests under the Plan satisfy the foregoing requirements
for nonconsensual Confirmation of the Plan.

         H.     Valuation of the Debtors.

         In conjunction with formulating the Plan and satisfying their obligations under section 1129 of
the Bankruptcy Code, the Debtors determined that it was necessary to estimate the post-Confirmation
going concern value of the Debtors. Accordingly, the Debtors, with the assistance of their advisors,
produced the valuation analysis that is set forth in Exhibit D attached hereto and incorporated herein by
reference (the “Valuation Analysis”). As set forth in the Valuation Analysis, the Debtors’ going-concern
value recoveries to creditors under the Plan are substantially higher than the recoveries such creditors
would receive in a hypothetical liquidation of the Debtors’ enterprise under chapter 7 of the Bankruptcy
Code, as illustrated in the Liquidation Analysis. Accordingly, the Valuation Analysis further supports
the Debtors’ conclusion that the treatment of Classes under the Plan is fair and equitable and otherwise
satisfies the Bankruptcy Code’s requirements for confirmation.

XIII.   CERTAIN SECURITIES LAW MATTERS

         A.     Plan Securities.

        The Plan provides for Reorganized Neiman and certain of its non-Debtor affiliates to distribute,
among other things, the New EquityPlan Securities, to certain Holders of Allowed Claims. The Debtors
believe that the New EquityPlan Securities will be “securities,” as defined in Section 2(a)(1) of the
Securities Act, Section 101 of the Bankruptcy Code, and all applicable state securities laws.

         B.     Issuance and Resale of Securities Under the Plan.

                1.      Exemptions from Registration Requirements of the Securities Act and
                        Applicable State Securities Laws.

         Section 1145(a)(1) of the Bankruptcy Code exempts the offer or sale of securities under a plan of
reorganization from registration under Section 5 of the Securities Act and state laws if three principal
requirements are satisfied: (a) the securities must be issued “under a plan” of reorganization by the debtor
or its successor under a plan or by an affiliate participating in a joint plan of reorganization with the
debtor; (b) the recipients of the securities must hold a claim against, an interest in, or a claim for
administrative expenses in the case concerning the debtor or such affiliate; and (c) the securities must be
issued in exchange for the recipient’s claim against or interest in the debtor or such affiliate, or
“principally” in such exchange and “partly” for cash or property. In reliance upon these exemptions, as
well asand/or Ssection 4(a)(2) under the Securities Act, the Debtors believe that the offer, issuance and
distribution under the Plan of (i) the New Equity to the Holders of Allowed Claims entitled to receive the
New Equity under Article II and Article III of the Plan and the participants in the Management Incentive
Plan, if any (collectively, the “New Equity Holders”), (ii) the New Warrants, and (iii) to the extent the 2L
MyT Distribution, 3L MyT Distribution, and/or the Series B Preferred Stock takes the form of a
distribution by a Debtor, to the Holders of Allowed Claims entitled to receive the New Warrants under
Article III of the Plan, and (iii) the 2L MyT Distribution, 3L MyT Distribution and the distribution of
Series B Preferred Stock, as applicable, following the filing of the Chapter 11 Cases may be made
without registration under the Securities Act or any applicable state securities laws.

      To the extent that the offer, issuance and distribution of the New EquityPlan Securities to the
New Equity Holders of Allowed Claims following the filing of the Chapter 11 Cases is covered by


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section 1145 of the Bankruptcy Code, subject to compliance with the New Organizational Documents,
suchthe New EquityWarrant Agreement and the New MyT Documents, such Plan Securities may be
resold without registration under the Securities Act or other federal securities laws, unless such holder is
an “underwriter” (as discussed below) with respect to such securities, as that term is defined in section
1145(b)(1) of the Bankruptcy Code. In addition, such New Equityany Plan Securities governed by
section 1145 of the Bankruptcy Code generally may be able to be resold without registration under
applicable state securities laws pursuant to various exemptions provided by the applicable states;
however, the availability of such exemptions cannot be known unless applicable individual state
securities laws are examined.

         Recipients of the New EquityPlan Securities are advised to consult with their own legal advisors
as to the availability of any exemption from registration under the Bankruptcy Code, the Securities Act
and any applicable state securities laws.

                2.       Resale of Certain New EquityPlan Securities; Definition of Underwriter.

         Section 1145(b)(1) of the Bankruptcy Code defines an “underwriter” as one who, except with
respect to “ordinary trading transactions” of an entity that is not an “issuer”: (a) purchases a claim
against, interest in, or claim for an administrative expense in the case concerning, the debtor, if such
purchase is with a view to distribution of any security received or to be received in exchange for such
claim or interest; (b) offers to sell securities offered or sold under a plan for the Holders of such
securities; (c) offers to buy securities offered or sold under a plan from the Holders of such securities, if
such offer to buy is (i) with a view to distribution of such securities and (ii) under an agreement made in
connection with the plan, with the consummation of the plan, or with the offer or sale of securities under
the plan; or (d) is an issuer of the securities within the meaning of section 2(a)(11) of the Securities Act.
In addition, a person who receives a fee in exchange for purchasing an issuer’s securities could also be
considered an underwriter within the meaning of section 2(a)(11) of the Securities Act.

         The definition of an “issuer” for purposes of whether a person is an underwriter under section
1145(b)(1)(D) of the Bankruptcy Code, by reference to section 2(a)(11) of the Securities Act, includes as
“statutory underwriters” all persons who, directly or indirectly, through one or more intermediaries,
control, are controlled by, or are under common control with, an issuer of securities. The reference to
“issuer,” as used in the definition of “underwriter” contained in section 2(a)(11) of the Securities Act, is
intended to cover “Controlling Persons” of the issuer of the securities. “Control,” as defined in Rule 405
of the Securities Act, means the possession, directly or indirectly, of the power to direct or cause the
direction of the management and policies of a person, whether through the ownership of voting
securities, by contract, or otherwise. Accordingly, an officer or director of a reorganized debtor or its
successor under a plan of reorganization may be deemed to be a “Controlling Person” of the debtor or
successor, particularly if the management position or directorship is coupled with ownership of a
significant percentage of the reorganized debtor’s or its successor’s voting securities. In addition, the
legislative history of section 1145 of the Bankruptcy Code suggests that a creditor who owns ten percent
(10%) or more of a class of securities of a reorganized debtor may be presumed to be a “Controlling
Person” and, therefore, an underwriter.

         Resales of the New Equity issued to the New Equity HoldersPlan Securities by Entities deemed
to be “underwriters” (which definition includes “Controlling Persons”) are not exempted by section 1145
of the Bankruptcy Code from registration under the Securities Act or other applicable law. Under certain
circumstances, holders of such New EquityPlan Securities who are deemed to be “underwriters” may be
entitled to resell their New EquityPlan Securities pursuant to the limited safe harbor resale provisions of
Rule 144 of the Securities Act. Generally, Rule 144 of the Securities Act would permit the public sale of
securities received by such person if the required holding period has been met and if current information



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regarding the issuer is publicly available and volume limitations, manner of sale requirements and certain
other conditions are met.

        Whether any particular person would be deemed to be an “underwriter” (including whether the
person is a “Controlling Person”) with respect to such New EquityPlan Securities would depend upon
various facts and circumstances applicable to that person. Accordingly, the Debtors express no view as
to whether any person would be deemed an “underwriter” with respect to the New EquityPlan Securities
issued to the New Equity Holders of Allowed Claims entitled to receive the Plan Securities under the
Plan, and, in turn, whether any person may freely resell such New EquityPlan Securities. The Debtors
recommend that potential recipients of New EquityPlan Securities consult their own counsel concerning
their ability to freely trade such securities under applicable federal securities law and state securities
laws.




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                3.      Resale of New EquityPlan Securities Issued Pursuant to Section 4(a)(2)
                        Under the Securities Act.

         Any New EquityPlan Securities distributed pursuant to section 4(a)(2) under the Securities Act
will be offered, issued and distributed without registration under the Securities Act and applicable state
securities laws and in reliance upon the exemption set forth therein. Such issuances will not be exempt
under section 1145 of the Bankruptcy Code because those securities are not being issued in exchange for
an existing Claim against the Debtors. Therefore, such New EquityPlan Securities issued pursuant to
section 4(a)(2) under the Securities Act will be considered “restricted securities” as defined by Rule 144
of the Securities Act and may not be resold under the Securities Act and applicable state securities laws
absent an effective registration statement, or pursuant to an applicable exemption from registration, under
the Securities Act and pursuant to applicable state securities laws. Generally, Rule 144 of the Securities
Act would permit the public sale of securities received by such person after a specified holding period if
current information regarding the issuer is publicly available and certain other conditions are met, and, if
such seller is an affiliate of the issuer, if volume limitations and manner of sale requirements are met.
The Debtors express no view as to whether any person may freely resell the New EquityPlan Securities
issued pursuant to Ssection 4(a)(2) under the Securities Act. The Debtors recommend that potential
recipients of the New EquityPlan Securities issued pursuant to section 4(a)(2) under the Securities Act
consult their own counsel concerning their ability to freely trade such securities without registration
under the federal securities laws and applicable state securities laws.

      IN VIEW OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION OF WHETHER
A RECIPIENT OF SECURITIES MAY BE AN UNDERWRITER OR AN AFFILIATE OF THE
REORGANIZED DEBTORS, THE DEBTORS MAKE NO REPRESENTATIONS CONCERNING
THE RIGHT OF ANY PERSON TO TRADE IN SECURITIES TO BE DISTRIBUTED PURSUANT
TO THE PLAN. ACCORDINGLY, THE DEBTORS RECOMMEND THAT POTENTIAL
RECIPIENTS OF SECURITIES CONSULT THEIR OWN COUNSEL CONCERNING WHETHER
THEY MAY FREELY TRADE SUCH SECURITIES.

XIV.    CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE
        PLAN

         A.     Introduction.

         The following discussion is a summary of certain U.S. federal income tax consequences of the
                 consummation of the Plan to the Debtors, Reorganized Neiman, and to certain Holders.
                 The following summary does not address the U.S. federal income tax consequences to
                 Holders not entitled to vote to accept or reject the Plan. This summary is based on the
                 U.S. Internal Revenue Code of 1986, as amended (“IRC”), the U.S. Treasury
                 Regulations promulgated thereunder (the “Treasury Regulations”), judicial authorities,
                 published administrative positions of the U.S. Internal Revenue Service (the “IRS”), and
                 other applicable authorities (collectively, “Applicable Tax Law”), all as in effect on the
                 date of this Disclosure Statement and all of which are subject to change or differing
                 interpretations, possibly with retroactive effect. Due to the lack of definitive judicial
                 and administrative authority in a number of areas, substantial uncertainty may exist with
                 respect to some of the tax consequences described below. No opinion of counsel has
                 been obtained and the Debtors do not intend to seek a ruling from the IRS as to any of
                 the tax consequences of the Plan discussed below. The discussion below is not binding
                 upon the IRS or the courts. No assurance can be given that the IRS would not assert, or
                 that a court would not sustain, a different position than any position discussed herein.




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         This discussion does not purport to address all aspects of U.S. federal income taxation that may
be relevant to certain Holders in light of their individual circumstances. This discussion does not address
tax issues with respect to such Holders subject to special treatment under the U.S. federal income tax
laws (including, for example, banks, governmental authorities or agencies, pass-through entities,
beneficial owners of pass-through entities, subchapter S corporations, dealers and traders in securities,
insurance companies, financial institutions, tax-exempt organizations, controlled foreign corporations,
passive foreign investment companies, U.S. Holders (as defined below) whose functional currency is not
the U.S. dollar, small business investment companies, Persons who are related to the Debtors within the
meaning of the IRC, Persons using a mark-to-market method of accounting, Holders who are themselves
in bankruptcy, real estate investment companies and regulated investment companies and those holding,
or who will hold, consideration received pursuant to the Plan as part of a hedge, straddle, conversion, or
other integrated transaction). No aspect of state, local, estate, gift, or non-U.S. taxation is addressed.
Furthermore, this summary assumes that a Holder holds only Claims in a single Class and holds Claims
as “capital assets” (within the meaning of section 1221 of the IRC). This summary also assumes that the
various debt and other arrangements to which the Debtors and Reorganized Neiman are or will be a party
will be respected for U.S. federal income tax purposes in accordance with their form, and, to the extent
relevant, that the Claims constitute interests in the Debtors “solely as a creditor” for purposes of section
897 of the IRC. This summary does not discuss differences in tax consequences to Holders that act or
receive consideration in a capacity other than any other Holder of a Claim of the same Class or Classes,
and the tax consequences for such Holders may differ materially from that described below. This
summary does not address the U.S. federal income tax consequences to Holders (a) whose Claims are
Unimpaired or otherwise entitled to payment in full in Cash under the Plan, or (b) that are deemed to
reject the Plan.

         For purposes of this discussion, a “U.S. Holder” is a Holder that for U.S. federal income tax
purposes is: (1) an individual who is a citizen or resident of the United States; (2) a corporation created
or organized under the laws of the United States, any state thereof or the District of Columbia; (3) an
estate the income of which is subject to U.S. federal income taxation regardless of the source of such
income; or (4) a trust (a) if a court within the United States is able to exercise primary jurisdiction over
the trust’s administration and one or more United States persons (within the meaning of section
7701(a)(30) of the IRC) has authority to control all substantial decisions of the trust or (b) that has a valid
election in effect under applicable Treasury Regulations to be treated as a United States person (within
the meaning of section 7701(a)(30) of the IRC). For purposes of this discussion, a “Non-U.S. Holder” is
any Holder that is not a U.S. Holder other than any partnership (or other entity treated as a partnership or
other pass-through entity for U.S. federal income tax purposes).

        If a partnership (or other entity treated as a partnership or other pass-through entity for U.S.
federal income tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner)
generally will depend upon the status of the partner (or other beneficial owner) and the activities of the
partner (or other beneficial owner) and the entity. Partnerships (or other pass-through entities) and
partners (or other beneficial owners) of partnerships (or other pass-through entities) that are Holders are
urged to consult their own respective tax advisors regarding the U.S. federal income tax consequences of
the Plan.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE
INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER. ALL HOLDERS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE U.S. FEDERAL, STATE,
LOCAL, AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.




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         B.     Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors and
                 Reorganized Neiman.

                1.       Characterization of the Restructuring Transactions.

         The Restructuring Transactions are expected to be structured as a recapitalization of Reorganized
Neiman (which is expected to be NMG LTD LLC) pursuant to which the New Equity (which is expected
to constitute all of the stock of Reorganized Neiman), together with the other consideration distributed
pursuant to the Plan, is issued to the applicable Holders in exchange for their applicable Claims and the
Existing Equity Interests are cancelled, released, and extinguished without any distribution or other
consideration on account thereof. Accordingly, because Reorganized Neiman and certain of the other
Debtors are members of a consolidated group for U.S. federal income tax purposes the common parent of
which is a non-Debtor entity, the issuance of the New Equity (and cancellation of the Existing Equity
Interests) pursuant to the Plan is expected to cause Reorganized Neiman and its subsidiaries to cease to
be members of such consolidated group and therefore cause certain members of such consolidated group
(including certain of the Debtors) to recognize certain taxable deferred intercompany gains for U.S.
federal (and applicable state and local) income tax purposes. However, as a result of such transactions,
Holdings, as the Debtor parent of Reorganized Neiman, is expected take a worthless stock deduction with
respect to its tax basis in the Existing Equity Interests. The deferred intercompany gain recognized by
the Debtors in connection with the Restructuring Transactions is expected to be fully offset by such
worthless stock deduction and is therefore not expected to result in a cash tax payment obligation for the
Debtors. As a result of such worthless stock deduction, Reorganized Neiman’s carryforward of 163(j)
Deductions (as defined below) is expected to be reduced in accordance with applicable Treasury
Regulations.

                2.       Cancellation of Debt and Reduction of Tax Attributes.

         In general, absent an exception, a taxpayer will realize and recognize cancellation of
indebtedness income (“COD Income”) upon satisfaction of its outstanding indebtedness for total
consideration less than the amount of such indebtedness. The amount of COD Income, in general, is the
excess of (a) the “adjusted issue price” (within the meaning of the Treasury Regulations) of the
indebtedness satisfied, over (b) the sum of (i) the issue price of new debt instruments, (ii) the fair market
value of other non-cash consideration (including stock of the taxpayer or a party related to the taxpayer),
and (iii) the amount of cash, in each case, given in satisfaction of such indebtedness at the time of the
exchange.

          A taxpayer will not, however, be required to include COD Income in gross income pursuant to
section 108 of the IRC if the taxpayer is under the jurisdiction of a court in a case under chapter 11 of the
Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding. Instead, as a
consequence of such exclusion, a taxpayer must reduce its net operating losses and certain other tax
attributes (collectively, “Tax Attributes”) and aggregate tax basis in assets (including the stock of
subsidiaries) by the amount of COD Income that it excluded from gross income pursuant to section 108
of the IRC. Such reduction in Tax Attributes and aggregate tax basis occurs only after the tax for the
year of the debt discharge has been determined. In general, Tax Attributes and aggregate tax basis will
be reduced in the following order: (a) net operating losses (“NOLs”) and NOL carryforwards;
(b) general business credit carryovers; (c) minimum tax credit carryovers; (d) capital loss carryovers;
(e) tax basis in assets, which includes the stock of subsidiaries (but not below the amount of liabilities to
which the debtor remains subject immediately after the discharge); (f) passive activity loss and credit
carryovers; and (g) foreign tax credits carryovers. Alternatively, a debtor with COD Income may elect
first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the IRC. In the absence
of contrary guidance, it appears to be the case that interest expense deductions allowable under



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section 163(j) of the Code (and carryforwards of any such deductions) (“163(j) Deductions”) are not
subject to reduction under these rules. Any excess COD Income over the amount of available items
described in clauses (a) through (g), above, will generally not give rise to U.S. federal income tax and
will generally have no other U.S. federal income tax impact. Where the taxpayer joins in the filing of a
consolidated U.S. federal income tax return, applicable Treasury Regulations require, in certain
circumstances, that certain tax attributes of other members of the group also be reduced.

        The Debtors are expected to realize COD Income in connection with the Restructuring
Transactions, with an attendant reduction in Tax Attributes (but in the case of tax basis where no election
is made to reduce the basis of depreciable assets as described above, only to the extent such tax basis
exceeds the amount of the Debtors’ liabilities, as determined for these purposes, immediately after the
Effective Date). The exact amount of any COD Income that will be realized by the Debtors will not be
determinable until the consummation of the Plan because the amount of COD Income will depend, in
part, on the issue price of new debt instruments and the value of non-cash consideration (including the
New Equity), neither of which can be determined until after the Plan is consummated.

                    3.        Limitation on NOLs, 163(j) Deductions, and Other Tax Attributes.

         After giving effect to the reduction in Tax Attributes and aggregate tax basis pursuant to
excluded COD Income and the worthless stock deduction (as described above), the ability of
Reorganized Neiman and its subsidiaries to use any remaining Tax Attributes post-emergence will be
subject to certain limitations under sections 382 and 383 of the IRC.17

         Under sections 382 and 383 of the IRC, if the Debtors undergo an “ownership change” as defined
under section 382 of the IRC, the amount of any remaining NOL carryforwards, tax credit carryforwards,
163(j) Deductions, and possibly certain other attributes (potentially including losses and deductions that
have accrued economically but are unrecognized as of the date of the ownership change and cost
recovery deductions) of the Debtors allocable to periods prior to the Effective Date (collectively, “Pre-
Change Losses”) that may be utilized to offset future taxable income generally are subject to an annual
limitation. For this purpose, if a corporation (or consolidated group) has a net unrealized built-in loss at
the time of an ownership change (taking into account most assets and items of “built-in” income and
deductions), then generally built-in losses (including amortization or depreciation deductions attributable
to such built-in losses) recognized during the following five years (up to the amount of the original net
unrealized built-in loss) will be treated as Pre-Change Losses and similarly will be subject to the annual
limitation. In general, a corporation’s (or consolidated group’s) net unrealized built-in loss will be
deemed to be zero unless it is greater than the lesser of (a) $10,000,000 or (b) 15 percent of the fair
market value of its assets (with certain adjustments) before the ownership change.



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     The IRS issued proposed regulations in September 2019, that would revoke IRS Notice 2003-65 and make substantial
     changes to the way limitations under section 382 of the IRC are calculated. The changes would decrease the limitation set
     forth in section 382 of the IRC in most cases and potentially cause entities that would have had a net unrealized built-in
     gain under Notice 2003-65 to instead have a net unrealized built-in loss, which would result in additional limitations on the
     ability to deduct Pre-Change Losses. Additionally, the IRS issued further proposed regulations in January 2020, that would
     provide certain transition relief for the application of any finalized regulation. Under such transition relief, any finalized
     regulations would apply only to ownership changes occurring 31 days after the regulations are finalized and certain
     specified and identifiable transactions would be subject to a “grandfathering” rule that allows for application of the prior
     IRS Notice 2003-65 rules. Additionally, the “grandfathering” rule would also apply as long as a company files its chapter
     11 case on or before the day that is 31 days following the issuance of final regulations, even where the applicable ownership
     change occurs more than 31 days after finalization of the regulations. Because the Debtors have already filed their chapter
     11 cases any such finalized regulations would not be applicable and, accordingly, the remainder of this discussion assumes
     that IRS Notice 2003-65 will apply to the Reorganized Debtors.




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        The rules of section 382 of the IRC are complicated, but an ownership change is expected to
occur as a result of the Restructuring Transactions. If such an ownership change occurs, the ability of
Reorganized Neiman and its subsidiaries to use the Pre-Change Losses will be subject to limitation
unless an exception to the general rules of section 382 of the IRC applies.

                         (a)     General Section 382 Annual Limitation.

         In general, the amount of the annual limitation to which a corporation that undergoes an
“ownership change” would be subject is equal to the product of (a) the fair market value of the stock of
the corporation (or parent of the consolidated group) immediately before the “ownership change” (with
certain adjustments), and (b) the “long-term tax-exempt rate” (which is the highest of the adjusted federal
long-term rates in effect for any month in the 3-calendar-month period ending with the calendar month in
which the ownership change occurs, currently 1.09 percent for June 2020). Under certain circumstances,
the annual limitation may be increased to the extent that the corporation (or parent of the consolidated
group) has an overall built-in gain in its assets at the time of the ownership change. If the corporation or
consolidated group has such “net unrealized built-in gain” at the time of an ownership change (taking
into account most assets and items of “built-in” income, gain, loss, and deduction), any built-in gains
recognized (or, according to the currently effective IRS Notice 2003-65, treated as recognized) during the
following five year period (up to the amount of the original net unrealized built-in gain) generally will
increase the annual limitation in the year of such recognition, such that the loss corporation or
consolidated group would be permitted to use its pre-change losses against such built-in gain income in
addition to its otherwise applicable annual limitation. Section 383 of the IRC applies a similar limitation
to capital loss carryforwards and tax credits. Any unused limitation may be carried forward, thereby
increasing the annual limitation in the subsequent taxable year. If the corporation or consolidated group
does not continue its historic business or use a significant portion of its historic assets in a new business
for at least two years after the ownership change, the annual limitation resulting from the ownership
change is reduced to zero, thereby precluding any utilization of the corporation’s pre-change losses
(absent any increases due to recognized built-in gains). As discussed below, however, special rules may
apply in the case of a corporation that experiences an ownership change as the result of a bankruptcy
proceeding.

                         (b)     Special Bankruptcy Exceptions.

        Special rules may apply in the case of a corporation that experiences an “ownership change” as a
result of a bankruptcy proceeding. An exception to the foregoing annual limitation rules generally
applies when so-called “qualified creditors” of a debtor corporation in chapter 11 receive, in respect of
their Claims, at least 50 percent of the vote and value of the stock of the debtor corporation (or a
controlling corporation if also in chapter 11) as reorganized pursuant to a confirmed chapter 11 plan (the
“382(l)(5) Exception”). If the requirements of the 382(l)(5) Exception are satisfied, a debtor’s Pre-
Change Losses would not be limited on an annual basis, but, instead, NOL carryforwards would be
reduced by the amount of any interest deductions claimed by the debtor during the three taxable years
preceding the effective date of the plan of reorganization and during the part of the taxable year prior to
and including the effective date of the plan of reorganization in respect of all debt converted into stock
pursuant to the reorganization. If the 382(l)(5) Exception applies and Reorganized Neiman undergo
another “ownership change” within two years after the Effective Date, then Reorganized Neiman’s Pre-
Change Losses thereafter would be effectively eliminated in their entirety.

        Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because
the debtor corporation does not qualify for it or the debtor corporation otherwise elects not to utilize
the 382(l)(5) Exception), another exception will generally apply (the “382(l)(6) Exception”). Under
the 382(l)(6) Exception, the annual limitation will be calculated by reference to the lesser of (a) the value
of the debtor corporation’s new stock (with certain adjustments) immediately after the ownership change


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or (b) the value of such debtor corporation’s assets (determined without regard to liabilities) immediately
before the ownership change. This differs from the ordinary rule that requires the fair market value of a
debtor corporation that undergoes an “ownership change” to be determined before the events giving rise
to the change. The 382(l)(6) Exception also differs from the 382(l)(5) Exception in that, under it, a
debtor corporation is not required to reduce its NOL carryforwards by the amount of interest deductions
claimed within the prior three-year period (and during the part of the taxable year prior to and including
the effective date of the plan of reorganization), and a debtor corporation may undergo a change of
ownership within two years without automatically triggering the elimination of its Pre-Change Losses.
The resulting limitation would be determined under the regular rules for ownership changes.

        The Debtors have not determined whether the 382(l)(5) Exception will be available or, if it is
available, whether Reorganized Neiman will elect out of its application. However, Reorganized Neiman
and its subsidiaries do not expect to have significant NOL carryforwards after the completion of the
Restructuring Transactions.

         C.     Certain U.S. Federal Income Tax Consequences of the Plan to U.S. Holders of
                 Allowed Claims Entitled to Vote.

         The following discussion assumes that the Debtors will undertake the Restructuring Transactions
currently contemplated by the Plan. U.S. Holders are urged to consult their own tax advisors regarding
the tax consequences of the Restructuring Transactions.

                1.       Consequences to Holders of Class 5, Class 6, Class 7, Class 8, and Class 9
                         Claims.

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release, and discharge
of their Claims, (a) each U.S. Holder of an Allowed 2019 Term Loans Secured Claim, an Allowed 2013
Term Loans Secured Claim, or an Allowed 2028 Debentures Secured Claim shall receive its Pro Rata
share of the New Equity and the Exit Rights (b) each U.S. Holder of an Allowed Second Lien Notes
Secured Claim shall receive its Pro Rata share of the New Equity, the Exit Rights, the New Warrants, and
the 2L MyT Distribution, and (c) each U.S. Holder of an Allowed Third Lien Notes Secured Claim shall
receive its Pro Rata share of the New Equity, the Exit Rights, the New Warrants, and the 3L MyT
Distribution.

          The U.S. federal income tax consequences to a U.S. Holder of a Claim will depend, in part, on
whether the Claim surrendered constitutes a “security” of Reorganized Neiman for U.S. federal income
tax purposes. Neither the IRC nor the Treasury Regulations promulgated thereunder define the term
“security.” Whether a debt instrument constitutes a “security” is determined based on all relevant facts
and circumstances, but most authorities have held that the length of the term of a debt instrument at
initial issuance is an important factor in determining whether such instrument is a security for U.S.
federal income tax purposes. These authorities have indicated that a term of less than five years is
evidence that the instrument is not a security, whereas a term of ten years or more is evidence that the
instrument is a security. There are numerous other factors that could be taken into account in
determining whether a debt instrument is a security, including the security for payment, the
creditworthiness of the obligor, the subordination or lack thereof with respect to other creditors, the right
to vote or otherwise participate in the management of the obligor, the convertibility of the instrument into
an equity interest of the obligor, whether payments of interest are fixed, variable, or contingent, and
whether such payments are made on a current basis or accrued. As a general matter, unsecured trade
claims entered into or incurred in the ordinary course of business do not constitute “securities.” The
stated maturity of the Allowed 2013 Term Loans Secured Claims is seven years and due to prior
restructuring transactions, the term to maturity of such Claims for U.S. federal income tax purposes is
expected to be treated as no less than six and a half years. Similarly, the Allowed 2019 Term Loans


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Secured Claims were issued as part of a modification of previously existing 2013 Term Loans in a
transaction that was expected to be treated as a “recapitalization” for U.S. federal income tax purposes
and are therefore expected to retain the same maturity as the Allowed 2013 Term Loans Secured Claims
described in the foregoing sentence. The Allowed 2028 Debentures Secured Claims were originally
issued with a term to maturity of ten years. The Allowed Third Lien Notes Secured Claims were issued
in a transaction expected to be treated as a tax-free “recapitalization” for U.S. federal income tax
purposes in exchange for other debt instruments treated as “securities” for U.S. federal income tax
purposes. The Allowed Second Lien Notes Secured Claims were originally issued for cash with a term to
maturity of less than five years. Accordingly, although it is not free from doubt, the Debtors intend to
take the position (and the following discussion assumes) that each of the Class 5, Class 6, Class 7, and
Class 9 Claims constitute “securities” and that the Class 8 Claims do not constitute “securities.” U.S.
Holders are urged to consult their own tax advisors regarding the potentially different tax treatment that
could apply if their Claims were treated other than as described in the foregoing sentence.

         Because the Class 5, Class 6, Class 7, and Class 9 Claims are expected to constitute “securities,”
a U.S. Holder of such a Claim is expected to be treated as receiving its distribution under the Plan in a
transaction treated as a “recapitalization” for U.S. federal income tax purposes. As discussed below, the
Exit Rights are expected to be treated as options to acquire a portion of the Exit Facility for U.S. federal
income tax purposes. Whether an option to acquire debt instrument is a “security” for U.S. federal
income tax purposes is uncertain and the Debtors intend to take the position (and the remainder of this
discussion assumes) that the Exit Rights are not “securities.” However, as discussed below, there may be
situations in which the holders of Exit Rights are not required to fund cash in exchange for the Exit
Facility upon exercise of their Exit Rights and in such cases, the treatment of the Exit Rights as
“securities” (and any receipt of the Exit Term Loan Participation Fee) for U.S. federal income tax
purposes is not clear and may be different than described herein. U.S. Holders are urged to consult their
own tax advisors regarding the potentially different tax treatment that could apply if the Exit Rights were
treated as “securities.” Additionally, the 3L MyT Distribution is expected to consist of one or more
instruments issued by a different entity than the issuer of the Class 9 Claims. Accordingly, the Debtors
intend to take the position that, although not free from doubt, the 3L MyT Distribution will be be treated
as “other property” received by holders of Class 9 Claims in such recapitalization transaction.

         Accordingly, a U.S. Holder of a Class 5, Class 6, or Class 7, or Class 9 Claim is expected to
recognize gain (but not loss) as a result of the Restructuring Transactions. Any gain recognized generally
will equal the lesser of (a) the amount of gain realized on the exchange (computed as the difference, if
any, between the amount realized on the exchange and the U.S. Holder’s adjusted tax basis in its Claims)
and (b) for U.S. Holders of Class 5, Class 6, or Class 7 Claims, the value of the Exit Rights received in
the exchange (excluding any amounts attributable to accrued and unpaid interest on an existing Claim)
or, for U.S. Holders of Class 9 Claims, the value of the Exit Rights and the 3L MyT Distribution received
in the exchange (excluding any amounts attributable to accrued and unpaid interest on an existing
Claim). In general, a U.S. Holder would obtain an initial tax basis in the New Equity and the New
Warrants, as applicable, received in the exchange equal to its adjusted tax basis in its existing Claim
surrendered, increased by any gain recognized on the exchange and decreased by the value of the Exit
Rights received in the exchange (in the case of a U.S. Holder of a Class 5, Class 6, or Class 7 Claim) or
the value of the Exit Rights and the 3L MyT Distribution received in the exchange (in the case of a U.S.
Holder of a Class 9 Claim), if any (excluding any amounts attributable to accrued and unpaid interest on
the applicable existing Claim). A U.S. Holder must allocate this aggregate tax basis between the New
Equity and the New Warrants, as applicable, depending on their relative fair market values on the
Effective Date. The U.S. Holder’s holding period for the New Equity and the New Warrants, as
applicable, received in the exchange (excluding any amounts attributable to accrued and unpaid interest




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on an existing Claim) will generally include its holding period for its existing Claims. A U.S. Holder
should obtain a tax basis in the Exit Rights equal to their fair market value.

         Because the Class 8 Claims are not expected to constitute “securities,” each U.S. Holder of a
Class 8 Claim will be treated as receiving its distribution under the Plan in a taxable exchange under
section 1001 of the IRC. Other than with respect to any amounts received that are attributable to accrued
but untaxed interest, the U.S. Holder should recognize gain or loss in an amount equal to the difference,
if any, between (a) the fair market value of the New Equity, New Warrants, Exit Rights, and 2L MyT
Distribution received in the exchange and (b) the U.S. Holder’s adjusted tax basis in its Claim. The
character of any such gain or loss as capital or ordinary will be determined by a number of factors
including the tax status of the U.S. Holder, whether the Claim constitutes a capital asset in the hands of
the U.S. Holder, whether and to what extent the U.S. Holder had previously claimed a bad-debt deduction
with respect to its Claim, and the potential application of the accrued interest and market discount rules
discussed below. If any such recognized gain or loss is capital in nature, it generally would be long-term
capital gain if the U.S. Holder held its Claim for more than one year at the time of the exchange. The
holding period for the New Equity, New Warrants, Exit Rights, and 2L MyT Distribution received in the
exchange should begin on the day following the Effective Date and the U.S. Holder should obtain a tax
basis in such New Equity, New Warrants, Exit Rights, and 2L MyT Distribution equal to the fair market
value of such property.

       U.S. Holders should consult their own tax advisers regarding the treatment of the Restructuring
Transactions for U.S. federal income tax purposes.

                2.       Consequences to Holders of Class 3, Class 4, Class 10, and Class 11 Claims.

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release, and discharge
of their Claims, (a) each U.S. Holder of an Allowed ABL Loan Secured Claim or an Allowed FILO
Secured Claim shall receive, in full and final satisfaction of such Claim, (i) payment in full in Cash, (ii)
consensual refinancing or other consensual modification of the ABL Loans or the FILO Facility, as
applicable, giving rise to such ABL Loan Secured Claims or FILO Secured Claims, as applicable, or (iii)
other treatment consistent with the Bankruptcy Code and the Disclosure Statement Order, and (b) each
U.S. Holder of an Allowed General Unsecured Claim shall receive, in full and final satisfaction of such
Claim, its Pro Rata share of (i) MYT Series B Preferred Stock, and (ii) Cash, as applicable, and in
accordance with the treatment for Class 10 and Class 11.

          Each U.S. Holder of Class 3, Class 4, Class 10, and Class 11 Claims will be treated as receiving
its distribution under the Plan in a taxable exchange under section 1001 of the IRC. Other than with
respect to any amounts received that are attributable to accrued but untaxed interest, each such U.S.
Holder should recognize gain or loss in an amount equal to the difference, if any, between (a) the sum of
(1) the Cash and (2) the fair market value (or issue price, in the case of debt instruments) of non-cash
consideration (including the MYT Series B Preferred Stock) received, and (b) the U.S. Holder’s adjusted
tax basis in its Claim.

         The character of any such gain or loss as capital or ordinary will be determined by a number of
factors including the tax status of the U.S. Holder, whether the Claim constitutes a capital asset in the
hands of the U.S. Holder, whether and to what extent the U.S. Holder had previously claimed a bad-debt
deduction with respect to its Claim, and the potential application of the accrued interest and market
discount rules discussed below. If any such recognized gain or loss is capital in nature, it generally
would be long-term capital gain if the U.S. Holder held its Claim for more than one year at the time of
the exchange. The holding period for any non-Cash consideration received (including, for the Holders of
Class 10 and Class 11 Claims, the MYT Series B Preferred Stock received) should begin on the day



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following the Effective Date and the U.S. Holder should obtain a tax basis in such non-Cash
consideration equal to the fair market value (or issue price, in the case of debt instruments) of such
property.

                3.       Accrued Interest.

         To the extent that any amount received by a U.S. Holder of a Claim under the Plan is attributable
to accrued interest or original issue discount (“OID”) during its holding period on the debt instruments
constituting the surrendered Claim, the receipt of such amount should be taxable to the U.S. Holder as
ordinary interest income (to the extent not already taken into income by the U.S. Holder). Conversely, a
U.S. Holder of a Claim may be able to recognize a deductible loss to the extent that any accrued interest
on the debt instruments constituting such Claim was previously included in the U.S. Holder’s gross
income but was not paid in full by the Debtors. Such loss may be ordinary, but the tax law is unclear on
this point.

         If the fair market value of the consideration received by a U.S. Holder is not sufficient to fully
satisfy all principal and interest on Claims, the extent to which such consideration will be attributable to
accrued interest is unclear. Under the Plan, the aggregate consideration to be distributed to Claims in
each Class will be allocated first to the principal amount of Claims, with any excess allocated to unpaid
interest that accrued on these Claims, if any. Certain legislative history indicates that an allocation of
consideration as between principal and interest provided in a chapter 11 plan of reorganization is binding
for U.S. federal income tax purposes, and certain case law generally indicates that a final payment on a
distressed debt instrument that is insufficient to repay outstanding principal and interest will be allocated
to principal, rather than interest. Certain Treasury Regulations treat payments as allocated first to any
accrued but unpaid interest. The IRS could take the position that the consideration received by the U.S.
Holder should be allocated in some way other than as provided in the Plan. U.S. Holders of Claims
should consult their own tax advisors regarding the proper allocation of the consideration received by
them under the Plan.

                4.       Market Discount.

         In the case of a U.S. Holder that acquired its Claim with market discount, any gain recognized on
the sale or exchange of such Claim generally will be treated as ordinary income to the extent of the
market discount treated as accruing during such U.S. Holder’s holding period for such Claim. Any such
market discount is generally the excess of the “revised issue price” of such Claim over such U.S.
Holder’s initial tax basis in such Claim upon acquisition, if such excess equals or exceeds a statutory de
minimis amount. Such market discount is generally treated as accruing during such U.S. Holder’s
holding period for such Claim on a straight-line basis or, at the election of such U.S. Holder, on a
constant yield basis, unless such U.S. Holder has previously elected to include such market discount in
income as it accrues. For this purpose, the “revised issue price” of a Claim generally equals its issue
price, increased by the amount of OID that has accrued over the term of the Claim. U.S. Holders who
acquired their Claims other than at original issuance should consult their own tax advisors regarding the
possible application of the market discount rules to the Restructuring Transactions.

        Although not necessarily free from doubt, the “market discount” provisions of the IRC are
arguably inapplicable to the kind of General Unsecured Claims that constitute the Class 10 Claims. U.S.
Holders holding Class 10 Claims should consult with their own tax advisors regarding the potential
application of the “market discount” rules to their Claims.




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                5.       U.S. Federal Income Tax Consequences to U.S. Holders of Owning and
                         Disposing of New Equity.

                         (a)     Dividends on New Equity.

         Any distributions made on account of the New Equity will constitute dividends for U.S. federal
income tax purposes to the extent of the current or accumulated earnings and profits of Reorganized
Neiman as determined under U.S. federal income tax principles. “Qualified dividend income” received
by an individual U.S. Holder is subject to preferential tax rates. To the extent that a U.S. Holder receives
distributions that exceed such current and accumulated earnings and profits, such distributions will be
treated first as a non-taxable return of capital reducing the U.S. Holder’s basis in its shares of the New
Equity. Any such distributions in excess of the U.S. Holder’s basis in its shares (determined on a
share-by-share basis) generally will be treated as capital gain.

        Subject to applicable limitations, distributions treated as dividends paid to U.S. Holders that are
corporations generally will be eligible for the dividends-received deduction so long as there are sufficient
earnings and profits. However, the dividends-received deduction is only available if certain holding
period requirements are satisfied. The length of time that a shareholder has held its stock is reduced for
any period during which the shareholder’s risk of loss with respect to the stock is diminished by reason
of the existence of certain options, contracts to sell, short sales, or similar transactions. In addition, to
the extent that a corporation incurs indebtedness that is directly attributable to an investment in the stock
on which the dividend is paid, all or a portion of the dividends-received deduction may be disallowed.

                         (b)     Sale, Redemption, or Repurchase of New Equity.

        Unless a non-recognition provision applies, U.S. Holders generally will recognize capital gain or
loss upon the sale, redemption, or other taxable disposition of the New Equity. Such capital gain will be
long-term capital gain if at the time of the sale, exchange, retirement, or other taxable disposition, the
U.S. Holder has held the New Equity for more than one year, taking into account the holding period rules
described above. Long-term capital gains of an individual taxpayer generally are taxed at preferential
rates. The deductibility of capital losses is subject to certain limitations as described above.

                6.       U.S. Federal Income Tax Treatment, and Ownership, Exercise, and
                         Disposition of, the Exit Rights and the New Warrants.

        Although such position is not free from doubt, the Debtors intend to treat the New Warrants as
warrants for U.S. federal income tax purposes and intend to treat the issuance of the Exit Rights and their
subsequent exercise for U.S. federal income tax purposes as an issuance and exercise of options to
acquire a portion of the Exit Facility for U.S. federal income tax purposes.

        A U.S. Holder that elects to exercise the New Warrants or its Exit Rights will generally be
treated as purchasing, (a) in exchange for its New Warrants and the amount of cash funded by the U.S.
Holder to exercise the New Warrants, the New Equity it is entitled to purchase pursuant to the New
Warrants and (b) in exchange for its Exit Rights and the amount of cash funded by the U.S. Holder to
exercise the Exit Rights, the Exit Facility it is entitled to purchase pursuant to the Exit Rights. In each
case, such purchase will generally be treated as the exercise of an option under general tax principles and
the U.S. Holder therefore should not recognize income, gain or loss for U.S. federal income tax purposes.
A U.S. Holder’s aggregate tax basis in the New Equity received upon exercise of a New Warrant or the
Exit Facility received upon exercise of the Exit Rights will generally equal the sum of (a) the amount of
cash paid by the U.S. Holder to exercise its New Warrants or Exit Rights, as applicable, plus (b) such
U.S. Holder’s tax basis in its New Warrants or Exit Rights, as applicable, immediately before such New



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Warrants or Exit Rights are exercised. A U.S. Holder’s holding period in the New Equity or Exit
Facility, as applicable, will begin on the day after the exercise date of the New Warrants or Exit Rights.

         A U.S. Holder that elects not to exercise the New Warrants or its Exit Rights and instead allows
the New Warrants or Exit Rights to lapse may be entitled to claim a capital loss upon expiration of the
New Warrants or Exit Rights in an amount equal to the amount of tax basis allocated to the New
Warrants or Exit Rights, subject to any limitations on such U.S. Holder’s ability to utilize capital losses.
Such U.S. Holders are urged to consult with their own tax advisors as to the tax consequences of either
electing to exercise or electing not to exercise the New Warrants or the Exit Rights. Additionally, in the
event that a U.S. Holder sells its New Warrants or Exit Rights in a taxable transaction, the U.S. Holder
will generally recognize gain or loss upon such sale in an amount equal to the difference between the
amount realized upon such sale and the U.S. Holder’s tax basis in the New Warrants or Exit Rights, as
applicable. Such gain or loss will be treated as gain or loss from the sale or exchange of property which
has the same character as the New Equity or Exit Facility to which the New Warrants or Exit Rights
relate, respectively, would have had in the hands of the U.S. Holder if such New Equity or Exit Facility
had been acquired by the U.S. Holder upon exercise. If such sale gives rise to capital gain or loss to the
U.S. Holder, such gain or loss will be long-term or short-term in character based upon the length of time
such U.S. Holder has held its New Warrants or Exit Rights, as discussed above.

        Each U.S. Holder should consult its own tax advisor regarding the proper characterization of
the Exit Rights and the New Warrants for U.S. federal income tax purposes and the consequences to it of
such treatment given its particular circumstances.

                7.       U.S. Federal Income Tax Consequences to U.S. Holders of Ownership and
                         Disposition of the Exit Facility.

        The following discussion assumes that the “contingent payment debt instrument” rules do not
apply to the Exit Facility. U.S. Holders should consult their own tax advisors regarding the application
of these rules.

                         (a)     Payments of Qualified Stated Interest.

         Payments or accruals of “qualified stated interest” (as defined below) on the Exit Facility will be
includible in the U.S. Holder’s gross income as ordinary interest income and taxable at the time that such
payments are accrued or are received in accordance with such U.S. Holder’s regular method of
accounting for U.S. federal income tax purposes. The term “qualified stated interest” generally means
stated interest that is unconditionally payable in cash or property (other than debt instruments of the
issuer) at least annually during the entire term of the Exit Facility, at a single fixed rate of interest, or,
subject to certain conditions, based on one or more interest indices.

                         (b)     Original Issue Discount.

         A debt instrument, such as the Exit Facility, is treated as issued with OID for U.S. federal income
tax purposes if its issue price is less than its stated redemption price at maturity by more than a de
minimis amount. A debt instrument’s stated redemption price at maturity includes all principal and
interest payable over the term of the debt instrument, other than “qualified stated interest.”

        Because payments other than payments of qualified stated interest will be required before
maturity, for purposes of determining whether there is OID, the de minimis amount is generally equal to
¼ of 1 percent of the principal amount of the Exit Facility multiplied by the weighted average maturity of
the Exit Facility (as determined under applicable Treasury Regulations). If the Exit Facility is treated as



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issued with OID (including as a result of an allocation due to the Exit Term Loan Participation Fee, as
described below), a U.S. Holder generally (i) will be required to include the OID in gross income as
ordinary interest income as it accrues on a constant yield to maturity basis over the term of the Exit
Facility, in advance of the receipt of the cash attributable to such OID and regardless of the holder’s
method of accounting for U.S. federal income tax purposes, but (ii) will not be required to recognize
additional income upon the receipt of any cash payment on the Exit Facility that is attributable to
previously accrued OID that has been included in its income. If the amount of OID on the Exit Facility is
de minimis, rather than being characterized as interest, any payment attributable to the de minimis OID
will be treated as gain from the sale of the Exit Facility, and a pro rata amount of such de minimis OID
must be included in income as principal payments are received on the Exit Facility.

          Where U.S. Holders receive debt instruments and also receive other property in an exchange
(such as in exchange for cash), the “investment unit” rules may apply to the determination of the “issue
price” for any such debt instrument. Because the Exit Term Loan Participation Fee will be paid in New
Equity, a U.S. Holder that purchases a portion of the Exit Facility pursuant to the exercise of its Exit
Rights will be treated as receiving a debt instrument (the Exit Facility) as well as other property (i.e.,
New Equity in the form of the Exit Term Loan Participation Fee) in exchange for its cash exercise price.
Accordingly, the “investment unit” rules are expected to apply to determine the “issue price” of the Exit
Facility. The issue price of the Exit Facility will depend, in part, on the issue price of the “investment
unit” (i.e., the Exit Facility and New Equity), and the respective fair market values of the elements of
consideration that compose the investment unit. The issue price of an investment unit is generally
determined in the same manner as the issue price of a debt instrument. As a result, because the
investment unit in this case is acquired for cash, the issue price of the investment unit will generally be
equal to the first price at which a substantial amount of the investment unit is sold for money (not
including sales to bond houses, brokers or similar persons or organizations acting in the capacity of
underwriters, placement agents or wholesalers). Such issue price determined for the investment unit
under the above rules is allocated among the elements of consideration making up the investment unit
(i.e., the Exit Facility and the New Equity) based on their relative fair market values, with such allocation
determining the issue price of the Exit Facility. Because, as discussed above, the value of the New Equity
cannot be determined until after the Plan is consummated, any such allocation (and accordingly, whether
the Exit Facility will be treated as issued with an amount of OID that is not de minimis) will not be
determinable until the consummation of the Plan.

         An issuer’s allocation of the issue price of an investment unit is binding on all U.S. Holders of
the investment unit unless a U.S. Holder explicitly discloses a different allocation on a timely filed
income tax return for the taxable year that includes the acquisition date of the investment unit.

       Accordingly, as a result of some or all of the Exit Term Equity Fees (or other similar fees paid in
New Equity), it is generally expected that the Exit Facility will be treated as issued with an amount of
OID that is not de minimis.

         Notwithstanding the foregoing, there may be situations in which the holders of Exit Rights are
entitled to receive all or a portion of the Exit Term Loan Participation Fee without a corresponding
obligation to fund cash in exchange for the Exit Facility. In such case, the treatment of the receipt of all
or a portion of the Exit Term Loan Participation Fee for U.S. federal income tax purposes is not clear and
may be different than that described above. U.S. Holders are urged to consult with their own tax advisors
as to the tax consequences of receipt of the Exit Term Loan Participation Fee in such case.

                         (c)     Acceleration of Income Recognition for Certain U.S. Holders.




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         Accrual method U.S. Holders that prepare an “applicable financial statement” (as defined in
section 451 of the IRC) generally will be required to include certain items of income such as OID no later
than the time such amounts are reflected on such a financial statement. This could result in an
acceleration of income recognition for income items differing from the above description, although
proposed Treasury Regulations provide that OID and market discount on the Exit Facility would not be
subject to acceleration under these rules.

                        (d)      Sale, Taxable Exchange or other Taxable Disposition.

         Upon the disposition of the Exit Facility by sale, exchange, retirement, redemption or other
taxable disposition, a U.S. Holder will generally recognize gain or loss equal to the difference, if any,
between (a) the amount realized on the disposition (other than amounts attributable to accrued but unpaid
interest, which will be taxed as ordinary interest income to the extent not previously so taxed) and (b) the
U.S. Holder’s adjusted tax basis in the Exit Facility, as applicable. The calculation of a U.S. Holder’s
adjusted tax basis in the Exit Facility is discussed above. A U.S. Holder’s adjusted tax basis will
generally be increased by any accrued OID previously included in such U.S. Holder’s gross income. A
U.S. Holder’s gain or loss will generally constitute capital gain or loss and will be long-term capital gain
or loss if the U.S. Holder has held the Exit Facility for longer than one year. Non-corporate taxpayers are
generally subject to a reduced federal income tax rate on net long-term capital gains. The deductibility of
capital losses is subject to certain limitations.

                8.      Limitations on Use of Capital Losses.

         A U.S. Holder who recognizes capital losses will be subject to limits on their use of capital
losses. For a non-corporate U.S. Holder, capital losses may be used to offset any capital gains (without
regard to holding periods) plus ordinary income to the extent of the lesser of (a) $3,000 ($1,500 for
married individuals filing separate returns) or (b) the excess of the capital losses over the capital gains.
A non-corporate U.S. Holder may carry over unused capital losses and apply them to capital gains and a
portion of their ordinary income for an unlimited number of years. For corporate U.S. Holders, losses
from the sale or exchange of capital assets may only be used to offset capital gains. A corporate U.S.
Holder who has more capital losses than can be used in a tax year may be allowed to carry over the
excess capital losses for use in succeeding tax years. Corporate U.S. Holders may only carry over unused
capital losses for the five years following the capital loss year, but are allowed to carry back unused
capital losses to the three years preceding the capital loss year.

                9.      Medicare Tax.

         Certain U.S. Holders that are individuals, estates, or trusts are required to pay an additional
3.8 percent tax on, among other things, interest, dividends and gains from the sale or other disposition of
capital assets. U.S. Holders that are individuals, estates, or trusts should consult their own tax advisors
regarding the effect, if any, of this tax provision on their ownership and disposition of any consideration
to be received under the Plan.

         D.     Certain U.S. Federal Income Tax Consequences of the Plan to Non-U.S. Holders of
                 Allowed Claims.

        The following discussion assumes that the Debtors will undertake the Restructuring Transactions
currently contemplated by the Plan and includes only certain U.S. federal income tax consequences of
the Plan to Non-U.S. Holders. This discussion does not include any non-U.S. tax considerations. The
rules governing the U.S. federal income tax consequences to Non-U.S. Holders are complex. Each Non-
U.S. Holder is urged to consult its own tax advisor regarding the U.S. federal, state, local, non-U.S., and



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non-income tax consequences of the consummation of the Plan and the Restructuring Transactions to
such Non-U.S. Holder.

                1.       Gain Recognition.

         Gain, if any, recognized by a Non-U.S. Holder on the exchange of its Claim generally will not be
subject to U.S. federal income taxation unless (a) the Non-U.S. Holder is an individual who was present
in the United States for 183 days or more during the taxable year in which the Restructuring Transactions
occur and certain other conditions are met or (b) such gain is effectively connected with the conduct by
such Non-U.S. Holder of a trade or business in the United States (and, if an income tax treaty applies,
such gain is attributable to a permanent establishment maintained by such Non-U.S. Holder in the United
States).

          If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal
income tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income
tax treaty) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of the exchange. If the second
exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax with respect
to any gain realized on the exchange if such gain is effectively connected with the Non-U.S. Holder’s
conduct of a trade or business in the United States in the same manner as a U.S. Holder (except that the
Medicare tax would generally not apply). In addition, if such a Non-U.S. Holder is a corporation, it may
be subject to a branch profits tax equal to 30 percent (or such lower rate provided by an applicable treaty)
of its effectively connected earnings and profits for the taxable year, subject to certain adjustments.

                2.       U.S. Federal Income Tax Consequences to Non-U.S. Holders of Owning and
                         Disposing of New Equity.

                         (a)     Dividends on New Equity.

         Any distributions made with respect to New Equity (other than certain distributions of stock of
Reorganized Neiman) will constitute dividends for U.S. federal income tax purposes to the extent of the
current or accumulated earnings and profits of Reorganized Neiman, as determined under U.S. federal
income tax principles (and thereafter first as a return of capital which reduces basis and then, generally,
as gain from the sale or exchange of such stock, as described below under “—Sale, Redemption, or
Repurchase of New Equity”). Except as described below, dividends paid with respect to New Equity
held by a Non-U.S. Holder that are not effectively connected with a Non-U.S. Holder’s conduct of a U.S.
trade or business (or, if an income tax treaty applies, are not attributable to a permanent establishment
maintained by such Non-U.S. Holder in the United States) will be subject to U.S. federal withholding tax
at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty).
A Non-U.S. Holder generally will be required to satisfy certain IRS certification requirements in order to
claim a reduction of or exemption from withholding under a tax treaty by filing IRS Form W-8BEN or
W-8BEN-E, as applicable (or such successor form as the IRS designates), upon which the Non-U.S.
Holder certifies, under penalties of perjury, its status as a non-U.S. person and its entitlement to the lower
treaty rate or exemption from tax with respect to such payments. Dividends paid with respect to New
Equity held by a Non-U.S. Holder that are effectively connected with a Non-U.S. Holder’s conduct of a
U.S. trade or business (and, if an income tax treaty applies, are attributable to a permanent establishment
maintained by such Non-U.S. Holder in the United States) generally will be subject to U.S. federal
income tax in the same manner as a U.S. Holder, and a Non-U.S. Holder that is a corporation for U.S.
federal income tax purposes may also be subject to a branch profits tax with respect to such Non-U.S.




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Holder’s effectively connected earnings and profits that are attributable to the dividends at a rate of 30
percent (or at a reduced rate or exemption from tax under an applicable income tax treaty).

                         (b)     Sale, Redemption, or Repurchase of New Equity.

        A Non-U.S. Holder generally will not be subject to U.S. federal income tax with respect to any
gain realized on the sale or other taxable disposition (including a cash redemption) of New Equity unless:

             •    such Non-U.S. Holder is an individual who is present in the United States for 183 days
                  or more in the taxable year of disposition or who is subject to special rules applicable to
                  former citizens and residents of the United States;

             •    such gain is effectively connected with such Non-U.S. Holder’s conduct of a U.S. trade
                  or business (and, if an income tax treaty applies, such gain is attributable to a
                  permanent establishment maintained by such Non-U.S. Holder in the United States); or

             •    the issuer of such New Equity is or has been during a specified testing period a “U.S.
                  real property holding corporation” (a “USRPHC”) under the FIRPTA rules (as defined
                  and discussed below).

         If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal
income tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income
tax treaty) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of disposition of New Equity. If
the second exception applies, the Non-U.S. Holder generally will be subject to U.S. federal income tax
with respect to such gain in the same manner as a U.S. Holder, and a Non-U.S. Holder that is a
corporation for U.S. federal income tax purposes may also be subject to a branch profits tax with respect
to earnings and profits effectively connected with a U.S. trade or business that are attributable to such
gains at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax
treaty). With respect to the third exception, the FIRPTA rules are discussed in greater detail below.

                 3.      U.S. Federal Income Tax Consequences to Non-U.S. Holders of Ownership,
                         Exercise, and Disposition, of the Exit Rights and the New Warrants.

        The U.S. federal income tax treatment of the New Warrants and Exit Rights to a Non-U.S.
Holder are generally expected to be the same as those described above for U.S. Holders. However, in the
event that a Non-U.S. Holder sells its New Warrants or Exit Rights in a taxable transaction, a Non-U.S.
Holder generally will not be subject to U.S. federal income tax with respect to any gain realized on such
sale unless:

             •    such Non-U.S. Holder is an individual who is present in the United States for 183 days
                  or more in the taxable year of disposition or who is subject to special rules applicable to
                  former citizens and residents of the United States;

             •     such gain is effectively connected with such Non-U.S. Holder’s conduct of a U.S. trade
                  or business (and, if an income tax treaty applies, such gain is attributable to a
                  permanent establishment maintained by such Non-U.S. Holder in the United States); or

             •    with respect to a sale of the New Warrants, the issuer of such New Warrants is or has
                  been during a specified testing period a USRPHC under the FIRPTA rules (as defined
                  and discussed below).



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         If the first exception applies, the Non-U.S. Holder generally will be subject to U.S. federal
income tax at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income
tax treaty) on the amount by which such Non-U.S. Holder’s capital gains allocable to U.S. sources
exceed capital losses allocable to U.S. sources during the taxable year of disposition of the New
EquityWarrants or Exit Rights. If the second exception applies, the Non-U.S. Holder generally will be
subject to U.S. federal income tax with respect to such gain in the same manner as a U.S. Holder, and a
Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
branch profits tax with respect to earnings and profits effectively connected with a U.S. trade or business
that are attributable to such gains at a rate of 30 percent (or at a reduced rate or exemption from tax under
an applicable income tax treaty). With respect to the third exception the FIRPTA rules are discussed in
greater detail below.

                4.       U.S. Federal Income Tax Consequences to Non-U.S. Holders of Payments of
                         Interest and of Owning and Disposing of the Exit Facility.

        The following discussion assumes that the “contingent payment debt instrument” rules do not
apply to the Exit Facility. Non-U.S. Holders should consult their own tax advisors regarding the
application of these rules.

                         (a)     Payments of Interest (Including Interest Attributable to Accrued
                                 but Untaxed Interest).

         Subject to the discussion of backup withholding and FATCA, interest income (which, for
purposes of this discussion of Non-U.S. Holders, includes OID and accrued but untaxed interest,
including in each case any such amounts paid to a Non-U.S. Holder under the Plan) of a Non-U.S. Holder
that is not effectively connected with a U.S. trade or business carried on by the Non-U.S. Holder will
qualify for the so-called “portfolio interest exemption” and, therefore, will not be subject to U.S. federal
income tax or withholding, provided that:

         •        the Non-U.S. Holder does not own, actually or constructively, 10 percent or more of the
                  voting power in Reorganized Neiman within the meaning of Section 871(h)(3) of the
                  IRC and Treasury Regulations thereunder;

         •        the Non-U.S. Holder is not a controlled foreign corporation related to Reorganized
                  Neiman, actually or constructively through the ownership rules under Section 864(d)(4)
                  of the IRC;

         •        the Non-U.S. Holder is not a bank that is receiving the interest on an extension of credit
                  made pursuant to a loan agreement entered into in the ordinary course of its trade or
                  business; and

         •        the beneficial owner gives Reorganized Neiman or Reorganized Neiman’s paying agent
                  or other withholding agent an appropriate IRS Form W-8 (or suitable substitute or
                  successor form or such other form as the IRS may prescribe) that has been properly
                  completed and duly executed establishing its status as a non-U.S. person.

         If all of these conditions are not met, interest on the Exit Facility paid to a Non-U.S. Holder or
interest paid to a Non-U.S. Holder pursuant to the Plan that is not effectively connected with a U.S. trade
or business carried on by the Non-U.S. Holder will generally be subject to U.S. federal income tax and
withholding at a 30 percent rate, unless an applicable income tax treaty reduces or eliminates such
withholding and the Non-U.S. Holder claims the benefit of that treaty by providing an appropriate IRS



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Form W-8 (or a suitable substitute or successor form or such other form as the IRS may prescribe) that
has been properly completed and duly executed.

        If interest on the Exit Facility or interest paid to a Non-U.S. Holder pursuant to the Plan is
effectively connected with a trade or business in the United States (“ECI”) carried on by the Non-U.S.
Holder, the Non-U.S. Holder will be required to pay U.S. federal income tax on that interest on a net
income basis generally in the same manner as a U.S. Holder (and the 30 percent withholding tax
described above will not apply, provided the appropriate statement (generally a properly executed IRS
Form W-8ECI or suitable substitute or successor form or such other form as the IRS may prescribe) is
provided to Reorganized Neiman or Reorganized Neiman’s paying agent or other withholding agent)
unless an applicable income tax treaty provides otherwise. If a Non-U.S. Holder is eligible for the
benefits of any income tax treaty between the United States and its country of residence, any interest
income that is ECI will be subject to U.S. federal income tax in the manner specified by the treaty if the
Non-U.S. Holder claims the benefit of the treaty by providing an appropriate IRS Form W-8 (or a
suitable substitute or successor form or such other form as the IRS may prescribe) that has been properly
completed and duly executed. In addition, a corporate Non-U.S. Holder may, under certain
circumstances, be subject to an additional “branch profits tax” at a 30 percent rate, or, if applicable, a
lower treaty rate, on its effectively connected earnings and profits attributable to such interest (subject to
adjustments).

        The certifications described above must be provided to the applicable withholding agent prior to
the payment of interest and, as applicable, must be updated periodically. Non-U.S. Holders that do not
timely provide the applicable withholding agent with the required certification, but that qualify for a
reduced rate under an applicable income tax treaty, may obtain a refund of any excess amounts withheld
by timely filing an appropriate claim for refund with the IRS. Non-U.S. Holders should consult their tax
advisors regarding their entitlement to benefits under any applicable income tax treaty.

                         (b)      Sale, Taxable Exchange, or Other Disposition of the Exit Facility.

        A Non-U.S. Holder will generally not be subject to U.S. federal income tax on any gain realized
on a sale, exchange, retirement, redemption or other taxable disposition of the Exit Facility (other than
any amount representing accrued but unpaid interest on the loan) unless:

              •   the gain is ECI (and, if required by an applicable income tax treaty, is attributable to a
                  U.S. permanent establishment that such Non-U.S. Holder maintains in the United
                  States); or

              •   in the case of a Non-U.S. Holder who is a nonresident alien individual, such Non-U.S.
                  Holder is present in the United States for 183 or more days in the taxable year of
                  disposition and certain other requirements are met.

         If a Non-U.S. Holder falls under the first of these exceptions, unless an applicable income tax
treaty provides otherwise, the Non-U.S. Holder will generally be taxed on the net gain derived from the
disposition of the Exit Facility under the graduated U.S. federal income tax rates that are applicable to
U.S. Holders and, if the Non-U.S. Holder is a foreign corporation, it may also be subject to the branch
profits tax described above. If an individual Non-U.S. Holder falls under the second of these exceptions,
the Non-U.S. Holder generally will be subject to U.S. federal income tax at a rate of 30 percent (unless a
lower applicable treaty rate applies) on the amount by which the gain derived from the disposition
exceeds such Non-U.S. Holder’s capital losses allocable to sources within the United States for the
taxable year of the disposition.




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                5.      FIRPTA.

         Under the Foreign Investment in Real Property Tax Act (“FIRPTA”), gain on the disposition of
certain investments in U.S. real property is subject to U.S. federal income tax in the hands of Non-U.S.
Holders and treated as ECI that is subject to U.S. federal net income tax even if a Non-U.S. Holder is not
otherwise engaged in a U.S. trade or business.

         With respect to New Equity and New Warrants, rules with respect to USRPHCs may apply. In
general, a corporation is a USRPHC if the fair market value of the corporation’s U.S. real property
interests (as defined in the IRC and applicable Treasury Regulations) equals or exceeds 50 percent of the
aggregate fair market value of its worldwide real property interests and its other assets used or held for
use in a trade or business (applying certain look-through rules to evaluate the assets of subsidiaries) at
any time within the shorter of the 5-year period ending on the effective time of the applicable disposition
or the period of time the Non-U.S. Holder held an interest in such corporation. Taxable gain from the
disposition of an interest in a USRPHC (generally equal to the difference between the amount realized
and such Non-U.S. Holder’s adjusted tax basis in such interest) will constitute ECI. Further, the buyer of
the New Equity or New Warrants may be required to withhold a tax equal to 15 percent of the amount
realized on the sale. The amount of any such withholding would be allowed as a credit against the Non-
U.S. Holder’s U.S. federal income tax liability and may entitle the Non-U.S. Holder to a refund, provided
that the Non-U.S. Holder properly and timely files a tax return with the IRS. The Debtors currently
anticipate that Reorganized Neiman likely is, or that Reorganized Neiman is likely to be, a USRPHC,
although no guarantees can be made in that regard.

         Under the FIRPTA rules, if the stock of a USRPHC is regularly traded on an established
securities market, a person that holds 5 percent or less of such stock (after taking into account certain
attribution rules) will not be subject to substantive FIRPTA taxation or FIRPTA withholding upon a
disposition of its shares, and FIRPTA withholding upon dispositions will generally be inapplicable other
than in the case of certain distributions and redemptions by the issuer. Whether and when the New
Equity will be considered regularly traded on an established securities market will depend, in part, on
whether a market develops in such equity, and cannot currently be determined.

         The FIRPTA rules will also not apply if, at the time of a disposition, the corporation does not
directly or indirectly hold any United States real property interests (“USRPIs”) and it had directly or
indirectly disposed of all of the USRPIs it directly or indirectly owned in one or more fully taxable
transactions.

                6.      FATCA.

        Under legislation commonly referred to as the Foreign Account Tax Compliance Act
(“FATCA”), foreign financial institutions and certain other foreign entities must report certain
information with respect to their U.S. account holders and investors or be subject to withholding at a rate
of 30 percent on the receipt of “withholdable payments.” For this purpose, “withholdable payments” are
generally U.S. source payments of fixed or determinable, annual or periodical income, and, subject to the
paragraph immediately below, also include gross proceeds from the sale of any property of a type which
can produce U.S. source interest or dividends. FATCA withholding will apply even if the applicable
payment would not otherwise be subject to U.S. federal nonresident withholding.

        FATCA withholding rules were previously scheduled to take effect on January 1, 2019, that
would have applied to payments of gross proceeds from the sale or other disposition of property of a type
that can produce U.S. source interest or dividends. However, such withholding has effectively been
suspended under proposed Treasury Regulations that may be relied on until final regulations become



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effective. Nonetheless, there can be no assurance that a similar rule will not go into effect in the future.
Each Non-U.S. Holder should consult its own tax advisor regarding the possible impact of FATCA
withholding rules on such Non-U.S. Holder.

         E.     Information Reporting and Back-Up Withholding.

         The Debtors and applicable withholding agents will withhold all amounts required by law to be
withheld from payments of interest and dividends, whether in connection with distributions under the
Plan or in connection with payments made on account of consideration received pursuant to the Plan, and
will comply with all applicable information reporting requirements. The IRS may make the information
returns reporting such interest and dividends and withholding available to the tax authorities in the
country in which a Non-U.S. Holder is resident. In general, information reporting requirements may
apply to distributions or payments under the Plan. Additionally, under the backup withholding rules, a
Holder may be subject to backup withholding (currently at a rate of 24 percent) with respect to
distributions or payments made pursuant to the Plan unless that Holder: (a) comes within certain exempt
categories (which generally include corporations) and, when required, demonstrates that fact; or (b)
timely provides a correct taxpayer identification number and certifies under penalty of perjury that the
taxpayer identification number is correct and that the Holder is not subject to backup withholding
(generally in the form of a properly executed IRS Form W-9 for a U.S. Holder, and, for a Non-U.S.
Holder, in the form of a properly executed applicable IRS Form W-8 (or otherwise establishes such Non-
U.S. Holder’s eligibility for an exemption). Backup withholding is not an additional tax but is, instead, an
advance payment that may be refunded to the extent it results in an overpayment of tax; provided that the
required information is timely provided to the IRS.

        In addition, from an information reporting perspective, Treasury Regulations generally require
disclosure by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the
taxpayer participated, including, among other types of transactions, certain transactions that result in the
taxpayer’s claiming a loss in excess of specified thresholds. Holders subject to the Plan are urged to
consult their tax advisors regarding these regulations and whether the transactions contemplated by the
Plan would be subject to these regulations and require disclosure on the Holders’ tax returns.

THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF
U.S. FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A
PARTICULAR HOLDER IN LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND
INCOME TAX SITUATION. ALL HOLDERS OF CLAIMS AND INTERESTS ARE
URGED TO CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR
TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY
THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE,
LOCAL OR NON-U.S. TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX
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XV.    RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and
provides for a larger distribution to the Debtors’ creditors than would otherwise result in any other
scenario. Accordingly, the Debtors recommend that Holders of Claims entitled to vote on the Plan vote
to accept the Plan and support Confirmation of the Plan.

Dated: JulyAugust 30, 2020

                                                  Respectfully submitted,

                                                  Neiman Marcus Group LTD LLC,
                                                  on behalf of itself and each of the other Debtors

                                                  By:      /s/ Mark Weinsten
                                                  Name:    Mark Weinsten
                                                  Title:   Chief Restructuring Officer
                                                           Neiman Marcus Group LTD LLC




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                                  Exhibit A

                            Plan of Reorganization




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                                  Exhibit B

                          Disclosure Statement Order




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                                  Exhibit C

                             Financial Projections




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                                  Exhibit D

                              Valuation Analysis




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                                  Exhibit E

                             Liquidation Analysis




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                                 Exhibit F

                       Organizational Structure Chart
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                                                       Exhibit G

                                                Lien Priorities

                                                                            Notes Priority
                                                                             Real Estate
                                                                             Collateral
                            2019 Term                                        and Notes           Term
                           Loan Priority Original Term           ABL          PropCo         Loan PropCo    Limited
                            Real Estate  Loan Priority          Priority       Equity           Equity     Guarantee
                            Collateral    Collateral           Collateral     Interests        Interests   Collateral
2019 Term Loans and
  2013 Term Loans               1              1                   2             3               1           None
2013 Term Loans                None            1                   2            None            None         None
Asset-Based Revolving
  Credit Facility               4              4                  1               4               4          None
Second Lien Notes               2              2                  3              2(i)             2           1
Third Lien Notes                3              3                  4              1(ii)            3          None
2028 Debentures                1(iii)         1(iii)             None            3(iii)          1(iii)      None

(i)       Recovery not to exceed $200.0 million, together with recovery for Second Lien Notes
          obligations.

(ii)      Recovery not to exceed $200.0 million, together with recovery for the Third Lien Notes
          obligations.

(iii)     Priority will be pari passu with the 2019 Term Loan liens (or if there are no 2019 Term Loan
          liens or 2013 Term Loan liens, the highest priority lien on the relevant asset) solely on assets if
          and to the extent required by the “equal and ratable clause” set forth in the indenture governing
          the 2028 Debentures and related documentation in effect as of the issue date thereof.




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   Style name: Color (Kirkland Default)
   Intelligent Table Comparison: Active
   Original DMS: iw://DMS.KIRKLAND.COM/LEGAL/70183091/8
   Modified DMS: iw://DMS.KIRKLAND.COM/LEGAL/70280756/11
   Changes:
   Add                                                    150
   Delete                                                 131
   Move From                                              2
   Move To                                                2
   Table Insert                                           0
   Table Delete                                           1
   Table moves to                                         0
   Table moves from                                       0
   Embedded Graphics (Visio, ChemDraw, Images etc.)       0
   Embedded Excel                                         0
   Format changes                                         0
   Total Changes:                                         286
